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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                   CORPUS CHRISTI DIVISION

                                                                       )
    In re:                                                             )       Chapter 11
                                                                       )
                                                       1
    J. C. PENNEY COMPANY, INC., et al.,                                )       Case No. 20-20182 (DRJ)
                                                                       )
                                         Debtors.                      )       (Jointly Administered)
                                                                       )

                     FIRST MONTHLY FEE STATEMENT OF
      KIRKLAND & ELLIS LLP AND KIRKLAND & ELLIS INTERNATIONAL LLP
           FOR COMPENSATION FOR SERVICES AND REIMBURSEMENT
        OF EXPENSES AS ATTORNEYS TO THE DEBTORS AND DEBTORS IN
     POSSESSION FOR THE PERIOD FROM MAY 15, 2020, THROUGH JUNE 30, 2020

                                                                Kirkland & Ellis LLP and
    Name of Applicant:
                                                                Kirkland & Ellis International LLP
    Applicant’s Role in Case:                                   Attorneys to the Debtors-in-Possession
    Date Order of Employment Signed:                            July 2, 2020, 2020 [Docket No. 962]
                                                                           Beginning of Period               End of Period
    Time period covered by this statement:                                        May 15, 2020               June 30, 2020
                                   Summary of Total Fees and Expenses Requested:
                                                                                            $7,222,863.60
    Total fees requested in this statement:
                                                                                            (80% of $9,028,579.50)
    Total expenses requested in this statement:                                             $75,655.26
    Total fees and expenses requested in this statement
                                                                                            $9,104,234.76
    (inclusive of holdback amount):
                                         Summary of Attorney Fees Requested:
    Total attorney fees requested in this statement:                                        $8,715,066.00
    Total actual attorney hours covered by this statement:                                  9,330.90
    Average hourly rate for attorneys:                                                      $934.00




1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ proposed
      claims and noticing agent at http://cases.primeclerk.com/JCPenney. The location of Debtor J. C. Penney Company, Inc.’s
      principal place of business and the Debtors’ service address in these chapter 11 cases is 6501 Legacy Drive, Plano, Texas
      75024.
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                               Summary of Paraprofessional Fees Requested:
 Total paraprofessional fees requested in this statement:                    $313,513.50
 Total actual paraprofessional hours covered by this statement:              863.30
 Average hourly rate for paraprofessionals:                                  $363.16

        Pursuant to sections 327, 330 and 331 of title 11 of the United States Code

(the “Bankruptcy Code”), rule 2016 of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”), and rule 2016-1 of the Bankruptcy Local Rules for the Southern District

of Texas (the “Bankruptcy Local Rules”), the Order Authorizing the Retention and Employment

of Kirkland & Ellis LLP and Kirkland & Ellis International LLP as Attorneys for the Debtors and

Debtors in Possession Effective as of May 15, 2020 [Docket No. 962], the Order Establishing

Procedures for Interim Compensation and Reimbursement of Expenses for Professionals

[Docket No. 995] (the “Interim Compensation Order”), the law firm of Kirkland & Ellis LLP and

Kirkland & Ellis International LLP (together, “K&E”), attorneys for J. C. Penney Company, Inc.

and certain of its affiliates, as debtors and debtors in possession (collectively, the “Debtors”),

hereby files this monthly fee statement (this “Monthly Fee Statement”) for (i) compensation in the

amount of $7,222,863.60 for the reasonable and necessary legal services K&E rendered to the

Debtors from payment of compensation for professional services rendered to the Debtors

from May 15, 2020, through and including June 30, 2020 (the “Fee Period”) (80% of

$9,028,579.50) and (ii) reimbursement for the actual and necessary expenses that K&E incurred,

in the amount of $75,655.26 during the Fee Period.




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                   Itemization of Services Rendered and Disbursements Incurred

       1.      In support this Monthly Fee Statement, attached are the following exhibits:

               •   Exhibit A is a schedule of the number of hours expended and fees incurred (on
                   an aggregate basis) by K&E partners, associates, and paraprofessionals during
                   the Fee Period with respect to each of the subject matter categories K&E
                   established in accordance with its internal billing procedures. As reflected in
                   Exhibit A, K&E incurred $9,028,579.50 in fees during the Fee Period.
                   Pursuant to this Monthly Fee Statement, K&E seeks reimbursement for 80% of
                   such fees ($7,222,863.60 in the aggregate).

               •   Exhibit B is a schedule providing certain information regarding the K&E
                   attorneys and paraprofessionals for whose work on these chapter 11 cases
                   compensation is sought in this Monthly Fee Statement. Attorneys and
                   paraprofessionals of K&E have expended a total of 10,194.20 hours in
                   connection with these chapter 11 cases during the Fee Period.

               •   Exhibit C is a schedule for the Fee Period, setting forth the total amount of
                   reimbursement sought with respect to each category of expenses for which
                   K&E is seeking reimbursement in this Monthly Fee Statement. All of these
                   disbursements comprise the requested sum for K&E’s out-of-pocket expenses.

               •   Exhibit D consists of K&E’s records of fees and expenses incurred during the
                   Fee Period in the rendition of the professional services to the Debtors and their
                   estates.

                                        Representations

       2.      Although every effort has been made to include all fees and expenses incurred in

the Fee Period, some fees and expenses might not be included in this Monthly Fee Statement due

to delays caused by accounting and processing during the Fee Period. K&E reserves the right to

make further application to this Court for allowance of such fees and expenses not included herein.

Subsequent Monthly Fee Statements will be filed in accordance with the Bankruptcy Code, the

Bankruptcy Rules, Bankruptcy Local Rules, and the Interim Compensation Order.



                          [Remainder of page intentionally left blank.]




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            WHEREFORE, K&E requests allowance of its fees and expenses incurred during the Fee

    Period in the total amount of $7,298,518.86 consisting of (a) $7,222,863.60, which is 80% of the

    fees incurred by the Debtors for reasonable and necessary professional services rendered by K&E;

    and (b) $75,655.26 for actual and necessary costs and expenses, and that such fees and expense be

    paid as administrative expenses of the Debtors’ estates.


Respectfully Submitted,
September 15, 2020

/s/ Jennifer F. Wertz
JACKSON WALKER L.L.P.                                  KIRKLAND & ELLIS LLP
Matthew D. Cavenaugh (TX Bar No. 24062656)             KIRKLAND & ELLIS INTERNATIONAL LLP
Jennifer F. Wertz (TX Bar No. 24072822)                Joshua A. Sussberg, P.C. (admitted pro hac vice)
Kristhy M. Peguero (TX Bar No. 24102776)               Christopher Marcus, P.C. (admitted pro hac vice)
Veronica A. Polnick (TX Bar No. 24079148)              Aparna Yenamandra (admitted pro hac vice)
1401 McKinney Street, Suite 1900                       601 Lexington Avenue
Houston, Texas 77010                                   New York, New York 10022
Telephone:       (713) 752-4200                        Telephone:     (212) 446-4800
Facsimile:       (713) 752-4221                        Facsimile:     (212) 446-4900
Email:           mcavenaugh@jw.com                     Email:         joshua.sussberg@kirkland.com
                 jwertz@jw.com                                        christopher.marcus@kirkland.com
                 kpeguero@jw.com                                      aparna.yenamandra@kirkland.com
                 vpolnick@jw.com

Co-Counsel to the Debtors and Debtors in Possession    Co-Counsel to the Debtors and Debtors in Possession
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                                               Exhibit A

                   Summary of Legal Fees and Expenses for the Fee Period

                                                 Total                       Total
Matter                                                     Total Fees                      Total
                  Matter Description             Billed                    Expenses
Number                                                     Requested                    Compensation
                                                 Hours                     Requested
   2       Chapter 11 Filing                      225.30    $178,110.00        $0.00      $178,110.00
           Corp., Governance & Securities
   3                                              976.30    $986,807.00        $0.00      $986,807.00
           Matters
           RSA Amend. & Compliance/DIP
   4                                            1,676.40   $1,618,310.00       $0.00     $1,618,310.00
           Fin/Cash Col
           Restruc. Trans/DS/Plan
   5                                              419.00    $427,727.50        $0.00      $427,727.50
           Conf./Emergence
           Owned Property Sales and
   6                                            1,759.50   $1,498,524.00       $0.00     $1,498,524.00
           Dispositions
           Adversary Proceedings &Contested
   7                                              307.50    $249,776.00        $0.00      $249,776.00
           Matters
   8       Automatic Stay                          71.10     $68,291.50        $0.00       $68,291.50
           Non-Retail Bus.
   9                                              378.20    $334,115.00        $0.00      $334,115.00
           Op/Contracts/Vend/Suppl.
           Retail Bus. Op./Unexpired
   10                                           1,487.40   $1,275,256.50       $0.00     $1,275,256.50
           Lease/GOB Sale
   11      Employee Issues                         75.80     $77,635.50        $0.00       $77,635.50
   12      Utilities                               84.40     $51,758.50        $0.00       $51,758.50
   13      Schedules / SOFA                        58.40     $49,519.50        $0.00       $49,519.50
   14      US Trustee Issues / Reporting            2.90      $2,650.00        $0.00        $2,650.00
   15      Creditor Committee Issues              120.20    $109,560.00        $0.00      $109,560.00
   16      Claims Analysis and Objections          16.40     $12,463.50        $0.00       $12,463.50
           K&E Fee & Employment
   17                                             278.10    $133,494.50        $0.00      $133,494.50
           Apps/Objections
           Other Fee and Employment
   18                                             208.10    $163,232.00        $0.00      $163,232.00
           Apps/Objections
   19      Case Administration                    521.80    $365,967.00         $0.00     $365,967.00
   20      Hearings                               460.60    $406,542.50         $0.00     $406,542.50
   22      Expenses                                    -           $0.00   $75,446.32       $75,446.32
   23      REIT - Property Analysis               890.90    $828,384.00         $0.00     $828,384.00
   25      REIT - Expenses                             -           $0.00     $208.94          $208.94
   26      Tax                                    133.10    $142,281.50         $0.00     $142,281.50
   27      Client vs. Amend, Michael, et al.       40.80      $46,068.50        $0.00       $46,068.50
   28      IP Asset Maintenance / Operations        2.00       $2,105.00        $0.00        $2,105.00
Totals                                         10,194.20   $9,028,579.50   $75,655.26    $9,104,234.76
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                                                 Exhibit B

      Summary of Hours Billed by K&E Attorneys and Paraprofessionals for the Fee Period

                          Position                                       Hourly      Total
                                      Year
  Professional Person     with the                  Department           Billing     Billed Total Compensation
                                     Admitted
                         Applicant                                        Rate       Hours
Margaret R. Alden        Associate     2020         Restructuring         $610.00     158.60         $96,746.00
                                                 Corporate - Capital
Taylor John Anthony      Associate     2016                               $965.00       1.70          $1,640.50
                                                       Markets
                                                  Corporate - Asset
Tyler Bartholome         Associate     2019                               $610.00     21.30          $12,993.00
                                                Finance/Securitization
Kevin S. Beckoff         Associate     2019           Real Estate         $740.00     23.70          $17,538.00
                                                     Corporate -
Jenn Betts               Associate     2016                              $1,035.00    29.80          $30,843.00
                                                 M&A/Private Equity
Jessica Bihl             Associate     2017      Corporate - General      $845.00     81.90          $69,205.50
                                                 Corporate - Capital
Justin Bosworth          Associate     2017                               $845.00       5.50          $4,647.50
                                                       Markets
Lucas W. Brown           Associate    2020          Restructuring         $610.00    276.60         $168,726.00
Chris Burkhalter         Associate   Pending     Litigation - General     $835.00      5.30           $4,425.50
Andres Cantero Jr.       Associate    2016            Real Estate         $845.00    109.50          $92,527.50
Daniel Carlomany         Associate    2019       Corporate - General      $610.00     61.40          $37,454.00
Chris Ceresa             Associate    2020          Restructuring         $610.00    226.60         $138,226.00
Rebecca Blake Chaikin    Associate    2015          Restructuring        $1,085.00   382.10         $414,578.50
Daniel Cho               Associate    2017            Real Estate         $965.00     19.30          $18,624.50
Jacob R. Clark           Associate    2017            Real Estate         $965.00     63.40          $61,181.00
Lizbeth Cordova          Associate    2020            Real Estate         $610.00    243.80         $148,718.00
Tess Elizabeth Dennis    Associate    2019       Corporate - General      $610.00     54.20          $33,062.00
Allyson N. Dillon        Associate    2020            Real Estate         $610.00     59.50          $36,295.00
Alistair Fatheazam       Associate    2019          Restructuring         $740.00    157.40         $116,476.00
Josh Fintel              Associate    2018            Real Estate         $740.00     25.60          $18,944.00
Jake Flood               Associate    2018       Corporate - General      $740.00     52.20          $38,628.00
Vanessa Gomez            Associate    2019            Real Estate         $740.00    130.00          $96,200.00
Jake William Gordon      Associate    2017          Restructuring         $845.00    297.10         $251,049.50
Jason Niels Grover       Associate    2019       Corporate - General      $610.00     21.00          $12,810.00
Jae Ha                   Associate    2019       Corporate - General      $610.00     70.00          $42,700.00
                                                     Corporate -
Key Hemyari              Associate     2017                               $845.00     60.60          $51,207.00
                                                 M&A/Private Equity
Paul Stephens
                         Associate     2014           Taxation            $975.00     98.90          $96,427.50
Hendrickson
                                                  Corporate - Debt
Timothy Conor Hughes     Associate     2016                               $965.00    273.80         $264,217.00
                                                       Finance
                                                  Corporate - Debt
Andrew Hurley            Associate     2016                               $845.00       0.50            $422.50
                                                       Finance
Michael Kalis            Associate    2014       Litigation - General    $1,025.00     7.10           $7,277.50
Natalie Kannan           Associate    2019             Taxation           $645.00      4.90           $3,160.50
Anusheh Khoshsima        Associate    2019      Labor & Employment        $610.00      0.80            $488.00
Sohil Khurana            Associate    2019            Real Estate         $740.00    108.90          $80,586.00
Talia Krause             Associate   Pending          Real Estate         $610.00    219.60         $133,956.00
Nick Krislov             Associate    2018          Restructuring         $740.00    157.20         $116,328.00
Will Lawley              Associate    2017       Corporate - General      $845.00    105.00          $88,725.00
Shelby Nicole Lindholm   Associate    2019       Corporate - General      $610.00     18.10          $11,041.00
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                            Position                                     Hourly      Total
                                        Year
  Professional Person       with the                 Department          Billing     Billed Total Compensation
                                       Admitted
                           Applicant                                      Rate       Hours
Mark Steven Lipschultz     Associate     2017          Real Estate        $845.00      55.50         $46,897.50
                                                   Corporate - Debt
Neal Loughery              Associate     2018                             $740.00     27.90          $20,646.00
                                                        Finance
Mike Lowes                 Associate     2017     Corporate - General     $845.00     32.80          $27,716.00
Christopher Mahoney        Associate     2020          Real Estate        $610.00     74.70          $45,567.00
Tiffany T. Mason           Associate     2016     Corporate - General     $740.00     95.70          $70,818.00
Ryan D. McNamara           Associate     2019     Corporate - General     $610.00     45.50          $27,755.00
Lekha Menon                Associate     2019     Litigation - General    $725.00    131.60          $95,410.00
                                                      Corporate -
Joshua Merrill             Associate     2014                            $1,085.00   171.30         $185,860.50
                                                  M&A/Private Equity
Benjamin J. Meyer          Associate     2018     Corporate - General     $610.00     16.60          $10,126.00
                                                   Technology & IP
Adine Mitrani              Associate     2017                             $965.00     34.10          $32,906.50
                                                      Transactions
                                                      Corporate -
Colin Mize                 Associate     2017                             $845.00     37.20          $31,434.00
                                                  M&A/Private Equity
Emily Morrison             Associate     2017     Employee Benefits       $845.00     14.70          $12,421.50
Eric Mossor                Associate     2019     Corporate - General     $610.00    104.50          $63,745.00
Arthur Patrick Muszynski   Associate     2019     Corporate - General     $610.00     38.00          $23,180.00
Puja Narain                Associate     2019     Corporate - General     $610.00     48.10          $29,341.00
Tyler E. Neal              Associate     2016     Corporate - General     $740.00     39.90          $29,526.00
Benjamin O'Connor          Associate     2015     Litigation - General    $970.00    140.30         $136,091.00
Thomas P. O'Connor         Associate     2016          Real Estate       $1,035.00     3.10           $3,208.50
Kimberly Pageau            Associate     2017        Restructuring        $740.00    169.40         $125,356.00
Miriam A. Peguero
                           Associate     2019        Restructuring        $740.00     11.00           $8,140.00
Medrano
Tarah Lorraine Perkins     Associate     2019     Corporate - General     $610.00     47.50          $28,975.00
                                                   Technology & IP
Jessie Perlman             Associate     2019                             $610.00     33.00          $20,130.00
                                                      Transactions
John Phelan                Associate    2019      Corporate - General     $610.00     27.90          $17,019.00
Callie Jones Poorman       Associate    2017           Real Estate        $845.00     63.70          $53,826.50
Prentis Robinson           Associate   Pending       Restructuring        $610.00    112.90          $68,869.00
Katie Roddy                Associate    2014           Real Estate       $1,085.00    49.10          $53,273.50
Lauren E. Roman            Associate    2018           Real Estate        $740.00     20.80          $15,392.00
Alexander Romano           Associate    2019      Corporate - General     $610.00     96.20          $58,682.00
Nicholas Ruge              Associate    2017      Litigation - General    $835.00    181.70         $151,719.50
Lisa Santaniello           Associate    2019      Litigation - General    $610.00     16.50          $10,065.00
Stephanie Goldkopf
                           Associate     2018         Real Estate         $740.00       1.00            $740.00
Scheer
Matthew A. Schroth         Associate     2019          Real Estate        $740.00    171.20         $126,688.00
Lauren J. Schweitzer       Associate     2014         IP Litigation      $1,025.00    12.10          $12,402.50
Conrad Steele              Associate     2013          Real Estate       $1,085.00    12.20          $13,237.00
Sam Steinman               Associate     2017          Real Estate        $965.00     72.50          $69,962.50
Steven B. Taylor           Associate     2017     Litigation - General    $725.00      6.00           $4,350.00
Gregory Tsonis             Associate     2015     Litigation - General    $970.00    148.90         $144,433.00
Allyson Smith
                           Associate     2017        Restructuring        $965.00     81.00          $78,165.00
Weinhouse
                                                  Corporate - Capital
Logan Weissler             Associate     2018                             $740.00     89.40          $66,156.00
                                                      Markets
Nancy Zambrana             Associate     2018        Real Estate          $845.00     45.10          $38,109.50
Samuel Zaretsky            Associate     2018        Real Estate          $845.00    110.50          $93,372.50
Eric Zhi                   Associate     2018        Real Estate          $740.00     62.10          $45,954.00

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                            Position                                      Hourly     Total
                                       Year
  Professional Person       with the                 Department           Billing    Billed Total Compensation
                                      Admitted
                           Applicant                                       Rate      Hours
Victoria M. Zhou           Associate    2015           Real Estate       $1,085.00    137.40        $149,079.00
Abbey Zuech                Associate    2019      Corporate - General      $610.00     40.00         $24,400.00
Christine S. Matott        Of Counsel   2006      Employee Benefits      $1,195.00       0.30          $358.50
Matthew Antinossi           Partner     1999      Employee Benefits      $1,375.00     17.00         $23,375.00
                                                       Litigation -
Jeffrey Ayer                Partner    1996                              $1,165.00    23.40          $27,261.00
                                                 Antitrust/Competition
Mike Beinus, P.C.           Partner    1999             Taxation         $1,745.00    29.30          $51,128.50
Justin Bender               Partner    2005            Real Estate       $1,275.00    10.00          $12,750.00
Scott A. Berger, P.C.       Partner    1985            Real Estate       $1,595.00     6.90          $11,005.50
John G. Caruso              Partner    1992            Real Estate       $1,385.00     7.00           $9,695.00
                                                       Executive
Kate Coverdale              Partner    2010                              $1,215.00      0.70            $850.50
                                                     Compensation
Ian Craig                   Partner    2014            Real Estate       $1,135.00   122.60         $139,151.00
Justin C. Elliott           Partner    2011            Real Estate       $1,195.00   173.90         $207,810.50
Lisa G. Esayian             Partner    1991       Litigation - General   $1,285.00     0.20            $257.00
Michael P. Esser            Partner    2009       Litigation - General   $1,165.00    37.40          $43,571.00
Joshua Faulkner             Partner    2011            Real Estate       $1,165.00     6.50           $7,572.50
Jeremy A. Fielding, P.C.    Partner    2003       Litigation - General   $1,295.00     6.70           $8,676.50
Travis C. Fleming           Partner    2007            Real Estate       $1,275.00     4.00           $5,100.00
Yates French                Partner    2008       Litigation - General   $1,165.00   120.70         $140,615.50
                                                   Corporate - Debt
Austin Glassman             Partner    2013                              $1,165.00   246.20         $286,823.00
                                                        Finance
Susan D. Golden             Partner    1988          Restructuring       $1,175.00     0.70            $822.50
John Thomas Goldman         Partner    2002            Real Estate       $1,195.00   347.70         $415,501.50
                                                       Corporate -
Scott J. Gordon             Partner    1994                              $1,645.00      3.80          $6,251.00
                                                       Derivatives
Joshua P. Hanna, P.C.       Partner    1999            Real Estate       $1,415.00      0.70            $990.50
                                                       Corporate -
Walter S. Holzer, P.C.      Partner    1995                              $1,465.00    10.30          $15,089.50
                                                 M&A/Private Equity
                                                  Corporate - Capital
Sophia Hudson, P.C.         Partner    2007                              $1,525.00      9.40         $14,335.00
                                                        Markets
                                                  Corporate - Capital
Lanchi Huynh                Partner    2006                              $1,305.00   166.60         $217,413.00
                                                        Markets
                                                       Corporate -
Melissa D. Kalka            Partner    2012                              $1,165.00   204.70         $238,475.50
                                                 M&A/Private Equity
R.D. Kohut                  Partner    2004      Labor & Employment      $1,175.00      0.60            $705.00
                                                       Corporate -
Aisha P. Lavinier           Partner    2013                              $1,135.00    95.70         $108,619.50
                                                 M&A/Private Equity
                                                       Corporate -
Marc Anthony Lipscomb       Partner    2013                              $1,135.00    39.60          $44,946.00
                                                 M&A/Private Equity
Joseph A. Loy, P.C.         Partner    2005           IP Litigation      $1,285.00     1.00           $1,285.00
Christopher Marcus, P.C.    Partner    2000          Restructuring       $1,635.00    78.80         $128,838.00
Todd F. Maynes, P.C.        Partner    1988             Taxation         $1,845.00     0.50            $922.50
Peter J. Mee                Partner    2009      Labor & Employment      $1,165.00     1.50           $1,747.50
Roberto S. Miceli           Partner    1996            Real Estate       $1,385.00     5.40           $7,479.00
                                                   Corporate - Debt
David M. Nemecek, P.C.      Partner    2003                              $1,565.00    13.10          $20,501.50
                                                        Finance
Daniel Perlman, P.C.        Partner    1985            Real Estate       $1,535.00      1.10          $1,688.50
                                                   Technology & IP
Adam V. Petravicius         Partner    1995                              $1,245.00      3.70          $4,606.50
                                                      Transactions



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                               Position                                           Hourly       Total
                                             Year
  Professional Person          with the                     Department            Billing      Billed      Total Compensation
                                            Admitted
                              Applicant                                            Rate        Hours
                                                             Executive
Scott D. Price, P.C.           Partner        1991                                $1,635.00      11.30             $18,475.50
                                                           Compensation
Jeffrey S. Quinn               Partner        1998       Employee Benefits        $1,375.00       3.40              $4,675.00
Claudia Ray                    Partner        1993          IP Litigation         $1,295.00       8.30             $10,748.50
Jeffrey S. Rheeling            Partner        1993           Real Estate          $1,385.00      41.80             $57,893.00
                                                             Corporate -
Tana Ryan, P.C.                Partner        2003                                $1,395.00      29.40             $41,013.00
                                                         M&A/Private Equity
                                                             Corporate -
Drue A. Santora                Partner        2012                                $1,175.00       3.90              $4,582.50
                                                             Derivatives
Jonathan A. Schechter,
                               Partner        1999           Real Estate          $1,525.00      70.90            $108,122.50
P.C.
                                                            Corporate -
Eric L. Schiele, P.C.          Partner        2001                                $1,595.00       0.70              $1,116.50
                                                         M&A/Private Equity
Edward J. Schneidman,                                    Corporate - Capital
                               Partner        1980                                $1,595.00      17.00             $27,115.00
P.C.                                                         Markets
                                                            Corporate -
Cephas Sekhar                  Partner        2011                                $1,215.00       5.20              $6,318.00
                                                         M&A/Private Equity
                                                           Environment -
Christian Semonsen             Partner        1999                                $1,235.00      21.00             $25,935.00
                                                           Transactional
Anthony Vincenzo
                               Partner        2011            Taxation            $1,265.00      29.70             $37,570.50
Sexton
Jennifer Sheehan               Partner        2009           Real Estate          $1,275.00      25.70             $32,767.50
Michael B. Slade               Partner        1999      Litigation - General      $1,395.00     134.90            $188,185.50
Al Stemp, P.C.                 Partner        2002           Real Estate          $1,415.00       2.10              $2,971.50
Josh Sussberg, P.C.            Partner        2004         Restructuring          $1,635.00     143.10            $233,968.50
                                                            Corporate -
Christopher Thomas, P.C.       Partner        2009                                $1,215.00       5.50              $6,682.50
                                                       M&A/Private Equity
                                                             Litigation -
Michael D. Thorpe              Partner        2009                                $1,165.00       1.10              $1,281.50
                                                       Antitrust/Competition
Stephen G. Tomlinson,
                               Partner        1984           Real Estate          $1,535.00      25.00             $38,375.00
P.C.
                                                            Corporate -
Steve Toth                     Partner        2005                                $1,295.00      12.40             $16,058.00
                                                         M&A/Private Equity
                                                          Technology & IP
Seth Traxler, P.C.             Partner        1997                                $1,495.00       6.00              $8,970.00
                                                            Transactions
Andrew R. Van Noord,
                               Partner        2008           Real Estate          $1,395.00      61.90             $86,350.50
P.C.
Aparna Yenamandra              Partner        2013          Restructuring         $1,165.00      309.40           $360,451.00
Totals for Attorneys                                                                           9,330.90          $8,715,066.00



                                                                                     Hourly      Total
Paraprofessional        Position with the      Year                                                              Total
                                                               Department            Billing     Billed
    Person                 Applicant          Admitted                                                        Compensation
                                                                                      Rate       Hours
Allison Biolsi           Junior Paralegal       N/A         Corporate - General      $275.00        1.00              $275.00
Tiffany Lang                                                  Corporate - Debt
                         Junior Paralegal       N/A                                  $255.00        4.20            $1,071.00
Chau                                                              Finance
                                                                Corporate -
Andrew Levy              Junior Paralegal       N/A                                  $275.00        2.50              $687.50
                                                             Investment Funds



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                                                                            Hourly      Total
Paraprofessional    Position with the     Year                                                       Total
                                                        Department          Billing     Billed
    Person             Applicant         Admitted                                                 Compensation
                                                                             Rate       Hours
Marjorie
                     Junior Paralegal      N/A       Litigation - General   $275.00      85.60        $23,540.00
Melicharek
Kathryn Adele
                     Junior Paralegal      N/A       Corporate - General    $275.00        6.50        $1,787.50
Scott
Lydia Yale           Junior Paralegal      N/A         Restructuring        $275.00      57.20        $15,730.00
April B. Abrams         Paralegal          N/A           Real Estate        $460.00      81.00        $37,260.00
                                                        Corporate -
Joanna Aybar            Paralegal          N/A                              $340.00      10.50         $3,570.00
                                                    M&A/Private Equity
Curt E. Bersche         Paralegal          N/A           Real Estate        $375.00      14.40         $5,400.00
                                                     Corporate - Debt
Joseph A. Correia       Paralegal          N/A                              $445.00      26.10        $11,614.50
                                                          Finance
Ben Fahey-Burke         Paralegal          N/A      Litigation - General    $415.00       6.80         $2,822.00
Julia R. Foster         Paralegal          N/A         Restructuring        $340.00     115.30        $39,202.00
Meghan E.
                        Paralegal          N/A       Litigation - General   $445.00     112.70        $50,151.50
Guzaitis
Sara Handibode          Paralegal          N/A           Real Estate        $445.00        7.80        $3,471.00
David P.
                        Paralegal          N/A           Real Estate        $445.00      48.80        $21,716.00
Liebowitz
Meg McCarthy            Paralegal          N/A       Litigation - General   $340.00        1.50          $510.00
Carrie Therese
                        Paralegal          N/A          Restructuring       $445.00        8.20        $3,649.00
Oppenheim
Laurie Ruxton            Paralegal         N/A          Real Estate         $445.00      19.30         $8,588.50
Christina Soriano        Paralegal         N/A          Real Estate         $460.00      20.30         $9,338.00
John Ackerman       Conflicts Analyst      N/A       Conflicts Analysis     $265.00       9.60         $2,544.00
                    Litigation Support
Megan Buenviaje                            N/A       Litigation - General   $395.00      14.60         $5,767.00
                         Specialist
Michael Y. Chan     Conflicts Analyst      N/A       Conflicts Analysis     $265.00      46.50        $12,322.50
Library Factual
                     Library Services      N/A        Library Services      $375.00        2.50          $937.50
Research
                    Litigation Support
Song Lin                                   N/A       Litigation - General   $410.00      17.60         $7,216.00
                         Specialist
Corinna Luschini    Conflicts Analyst      N/A       Conflicts Analysis     $265.00      26.60         $7,049.00
Eric Nyberg         Conflicts Analyst      N/A       Conflicts Analysis     $265.00      30.50         $8,082.50
Kenneth Sampson     Conflicts Analyst      N/A       Conflicts Analysis     $395.00      14.00         $5,530.00
Elaine Santucci     Conflicts Analyst      N/A       Conflicts Analysis     $395.00      10.70         $4,226.50
Arissa Scott        Conflicts Analyst      N/A       Conflicts Analysis     $230.00      16.00         $3,680.00
                    Litigation Support
Josh Urban                                 N/A       Litigation - General   $390.00      30.80        $12,012.00
                         Specialist
Amy Zayed           Conflicts Analyst      N/A       Conflicts Analysis     $265.00      14.20         $3,763.00
Totals for Paraprofessionals                                                            863.30       $313,513.50

                                           Total Fees Requested                       10,194.20     $9,028,579.50




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                                       Exhibit C

                       Summary of Expenses for the Fee Period

                            Expense Categories                   Amount
Third Party Telephone Charges                                     $2,274.76
Standard Copies or Prints                                         $2,667.20
Binding                                                               $6.30
Tabs/Indexes/Dividers                                                $21.71
Color Copies or Prints                                            $3,328.60
File Conversion                                                      $86.70
OCR Only                                                            $410.61
4" Binders                                                           $52.00
Outside Messenger Services                                          $375.21
Other Travel Expenses                                             $2,344.15
Court Reporter Fee/Deposition                                     $4,090.35
Other Court Costs and Fees                                            $1.00
Outside Printing Services                                         $5,753.15
Outside Copy/Binding Services                                       $545.27
Working Meals/K&E Only                                              $295.28
Catering Expenses                                                   $276.00
Outside Retrieval Service                                        $14,880.30
Computer Database Research                                        $3,919.66
Westlaw Research                                                  $8,746.83
LexisNexis Research                                               $3,812.41
Overtime Transportation                                              $13.50
Secretarial Overtime                                                  $0.00
Document Services Overtime                                        $2,694.81
Miscellaneous Office Expenses                                    $17,975.30
Overnight Delivery - Hard                                           $143.82
Computer Database Research - Soft                                   $731.40
REIT - Third Party Telephone Charges                                 $17.14
REIT - Standard Copies or Prints                                     $25.92
REIT - Color Copies or Prints                                        $72.05
REIT - Westlaw Research                                              $53.72
REIT - Overtime Meals - Attorney                                     $39.11
REIT - Computer Database Research - Soft                              $1.00
Total                                                            $75,655.26
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                                Exhibit D

         Detailed Description of Fees, Expenses and Disbursements
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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                          FEIN XX-XXXXXXX




September 15, 2020

J.C. Penney Company, Inc.
6501 Legacy Drive
Plano, TX 75024

Attn: Brandy Treadway

                                                                            Invoice Number: 1050032368
                                                                              Client Matter: 47223-2

In the Matter of Chapter 11 Filing




For legal services rendered through June 30, 2020
(see attached Description of Legal Services for detail)                                                      $ 178,110.00
Total legal services rendered                                                                                $ 178,110.00




  Beijing Boston Chicago Dallas Hong Kong Houston London Los Angeles Munich Palo Alto Paris San Francisco Shanghai Washington, D.C.
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Legal Services for the Period Ending June 30, 2020          Invoice Number:    1050032368
J.C. Penney Company, Inc.                                    Matter Number:       47223-2
Chapter 11 Filing




                                         Summary of Hours Billed

Name                                                     Hours         Rate      Amount
Margaret R. Alden                                         10.80      610.00      6,588.00
Joanna Aybar                                              10.50      340.00      3,570.00
Chris Ceresa                                              10.70      610.00      6,527.00
Rebecca Blake Chaikin                                     27.20    1,085.00     29,512.00
Alistair Fatheazam                                        16.20      740.00     11,988.00
Julia R. Foster                                           25.60      340.00      8,704.00
Austin Glassman                                            3.80    1,165.00      4,427.00
Jake William Gordon                                       17.10      845.00     14,449.50
Walter S. Holzer, P.C.                                     0.50    1,465.00        732.50
Timothy Conor Hughes                                       3.60      965.00      3,474.00
Lekha Menon                                                5.20      725.00      3,770.00
David M. Nemecek, P.C.                                     6.70    1,565.00     10,485.50
Carrie Therese Oppenheim                                   7.20      445.00      3,204.00
Prentis Robinson                                           9.00      610.00      5,490.00
Nicholas Ruge                                             10.80      835.00      9,018.00
Drue A. Santora                                            0.50    1,175.00        587.50
Michael B. Slade                                           6.50    1,395.00      9,067.50
Josh Sussberg, P.C.                                        6.00    1,635.00      9,810.00
Allyson Smith Weinhouse                                   23.00      965.00     22,195.00
Lydia Yale                                                14.70      275.00      4,042.50
Aparna Yenamandra                                          8.20    1,165.00      9,553.00
Abbey Zuech                                                1.50      610.00        915.00

TOTALS                                                   225.30               $ 178,110.00




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Legal Services for the Period Ending June 30, 2020             Invoice Number:            1050032368
J.C. Penney Company, Inc.                                       Matter Number:               47223-2
Chapter 11 Filing


                                       Description of Legal Services

Date     Name                                  Hours Description
05/15/20 Margaret R. Alden                      10.80 Revise first day declaration (3.9); correspond
                                                      with J. Gordon, A. Weinhouse re same (.5);
                                                      correspond with Alix, K&E team re critical
                                                      vendors motion (1.0); correspond with same
                                                      re declaration re same (.3); correspond with
                                                      A. Patel, C. Ceresa re customer programs
                                                      motion (.2); prepare first day motions for
                                                      filing (1.3); telephone conferences with JW,
                                                      K&E re same (1.3); revise talking points
                                                      (1.0); correspond with K&E team re same
                                                      (1.3).
05/15/20 Joanna Aybar                           10.50 Prepare materials for chapter 11 Filing (3.9);
                                                      assist with chapter 11 Filing (5.6); revise
                                                      Notice of Commencement (1.0).
05/15/20 Chris Ceresa                           10.70 Review and revise pleadings for filing (3.1);
                                                      prepare for filing (2.0); telephone conferences
                                                      with K&E team re same (1.9); revise talking
                                                      points for first day pleadings (1.5);
                                                      correspond with Alix and K&E team re
                                                      various filing issues (2.2).
05/15/20 Rebecca Blake Chaikin                  20.20 Prepare for filing (5.0); coordinate escrow
                                                      agreement and wires (1.5); revise talking
                                                      points (3.0); store closing coordinating call
                                                      (.5); telephone conference with Alix re
                                                      supplier issues (.5); telephone conference
                                                      with A. Weinhouse re cash management
                                                      issues (.5); telephone conferences with
                                                      Milbank re deal, filing (1.3); telephone
                                                      conferences with Otterbourg, K&E team, Alix
                                                      re cash collateral order (2.9); file cases and
                                                      related paper (5.0).




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Legal Services for the Period Ending June 30, 2020             Invoice Number:             1050032368
J.C. Penney Company, Inc.                                       Matter Number:                47223-2
Chapter 11 Filing

Date     Name                                  Hours Description
05/15/20 Alistair Fatheazam                     16.20 Review, analyze comments from counsel on
                                                      cash management motion (3.9); telephone
                                                      conference with Alix, Company and A.
                                                      Weinhouse re cash management issues (.8);
                                                      correspond with Alix, Company and A.
                                                      Weinhouse re edits to cash management
                                                      motion (2.1); review, revise cash management
                                                      talking points (2.2); telephone conference
                                                      with Alix and A. Weinhouse re follow-up
                                                      issues on cash management motion (.8);
                                                      telephone conference with K&E team re filing
                                                      process (.8); finalize first day pleadings for
                                                      filing (5.6).
05/15/20 Julia R. Foster                        20.00 Prepare materials for chapter 11 filing (12.4);
                                                      assist with chapter 11 filing (7.6).
05/15/20 Austin Glassman                         3.80 Assist with chapter 11 preparations (2.8);
                                                      correspond with K&E team re same (1.0).
05/15/20 Jake William Gordon                    17.10 Review, revise first day declaration (3.9); file
                                                      same (.5); prepare materials for filing (2.5);
                                                      review, analyze issues re same (3.9); draft
                                                      docs re same (3.4); correspondences with
                                                      K&E team re same (2.9).
05/15/20 Walter S. Holzer, P.C.                  0.50 Correspond with K&E team re filing and next
                                                      steps.
05/15/20 Lekha Menon                             5.20 Revise first day presentation (2.8); correspond
                                                      with J. Gordon, K&E team re same (1.0);
                                                      revise suggestion of bankruptcy notice (1.4).
05/15/20 David M. Nemecek, P.C.                  6.70 Prepare for chapter 11 filing (5.7); review
                                                      cash collateral order and DIP (1.0).
05/15/20 Carrie Therese Oppenheim                7.20 Prepare proposed orders for first day hearing
                                                      (3.2); assist with chapter 11 filing (3.8);
                                                      correspond with J. Foster re filing status and
                                                      preparations (.2).
05/15/20 Prentis Robinson                        9.00 Draft talking points re motion to seal (.3);
                                                      review, revise bar date motion (2.1); draft
                                                      talking points re same (.8); correspond with
                                                      R. Chaikin and A. Weinhouse re bar date
                                                      motion (.4); review, revise first day
                                                      declaration (3.5); telephone conferences with
                                                      R. Chaikin and K&E team re work in process
                                                      (1.9).




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J.C. Penney Company, Inc.                                       Matter Number:               47223-2
Chapter 11 Filing

Date     Name                                  Hours Description
05/15/20 Nicholas Ruge                          10.80 Review and revise cash collateral declaration
                                                      (3.9); analyze AlixPartners equity cushion
                                                      analysis (1.5); draft and revise pleadings and
                                                      related exhibits (3.9); coordinate and manage
                                                      filing of cash collateral motion, exhibit list
                                                      and exhibits (.5); telephone conference with
                                                      Alix re DIP motion (1.0).
05/15/20 Michael B. Slade                        6.50 Telephonically attend board conference (1.1);
                                                      telephone conferences with K&E team re first
                                                      day hearing and filing (2.8); review and edit
                                                      declaration and briefs (2.6).
05/15/20 Josh Sussberg, P.C.                     2.80 Review first day declaration (1.6); comment
                                                      on first day presentation (1.2).
05/15/20 Allyson Smith Weinhouse                23.00 Prepare for and comment on pleadings for
                                                      chapter 11 filing.
05/15/20 Lydia Yale                             14.70 Assist with chapter 11 filing.
05/16/20 Rebecca Blake Chaikin                   2.30 Correspond with interested parties re
                                                      proposed first day orders (1.6); telephone
                                                      conferences with K&E team re same (.7).
05/16/20 Julia R. Foster                         1.70 Assist with chapter 11 filing.
05/16/20 Julia R. Foster                         3.90 Prepare revised proposed orders for May 16
                                                      hearing.
05/16/20 Timothy Conor Hughes                    3.60 Assist in first day hearing preparations in
                                                      relation to debt finance questions (1.1);
                                                      telephonically attend first day hearing (2.5).
05/16/20 Aparna Yenamandra                       7.80 Prepare for and attend first day hearing (4.3);
                                                      correspond and telephone conference with
                                                      various parties re potential objections and
                                                      changes to orders (2.6); revise FDP (.9).
05/16/20 Abbey Zuech                             1.50 Review and revise resolutions.
05/18/20 Rebecca Blake Chaikin                   0.90 Correspond with K&E team re post-filing
                                                      action items.
05/21/20   Rebecca Blake Chaikin                 0.80 Coordinate postpetition key action items.
05/22/20   Aparna Yenamandra                     0.40 Correspond with K&E team re venue issues.
06/03/20   Drue A. Santora                       0.50 Correspond with A. Glassman re hedges.
06/05/20   Rebecca Blake Chaikin                 0.20 Correspond with L. Riechardt re first day
                                                      motions.
06/06/20 Rebecca Blake Chaikin                   0.20 Correspond with K&E team, Alix re UCC
                                                      comments to first day motions.
06/07/20 Rebecca Blake Chaikin                   1.80 Correspond with K&E team re final orders for
                                                      first day motions (.2); revise same (1.6).


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J.C. Penney Company, Inc.                                       Matter Number:              47223-2
Chapter 11 Filing

Date     Name                                  Hours Description
06/08/20 Rebecca Blake Chaikin                  0.80 Telephone conference with A. Weinhouse re
                                                     final orders on first day motions (.3);
                                                     correspond with Milbank, UCC, K&E team re
                                                     same (.5).
06/16/20 Josh Sussberg, P.C.                    0.70 Correspond re NDA issues and status (.3);
                                                     correspond re Synchrony and sharing of
                                                     information (.4).
06/26/20 Josh Sussberg, P.C.                    1.20 Telephone conference with management,
                                                     Lazard, Alix and R. Tysoe re case update (.5);
                                                     telephone conference with J. Soltau re status
                                                     (.3); correspond re bidder (.1); correspond re
                                                     milestones and status (.2); correspond re
                                                     retention applications and hearing (.1).
06/30/20 Josh Sussberg, P.C.                    1.30 Telephone conference with B. Wafford re
                                                     deal status (.4); review and revise update
                                                     presentation for Court (.3); correspond re real
                                                     estate matters (.3); correspond re retention
                                                     hearing (.3).

Total                                          225.30




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                          FEIN XX-XXXXXXX




September 15, 2020

J.C. Penney Company, Inc.
6501 Legacy Drive
Plano, TX 75024

Attn: Brandy Treadway

                                                                            Invoice Number: 1050032369
                                                                              Client Matter: 47223-3

In the Matter of Corp., Governance & Securities Matters




For legal services rendered through June 30, 2020
(see attached Description of Legal Services for detail)                                                      $ 986,807.00
Total legal services rendered                                                                                $ 986,807.00




  Beijing Boston Chicago Dallas Hong Kong Houston London Los Angeles Munich Palo Alto Paris San Francisco Shanghai Washington, D.C.
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Legal Services for the Period Ending June 30, 2020          Invoice Number:   1050032369
J.C. Penney Company, Inc.                                    Matter Number:      47223-3
Corp., Governance & Securities Matters




                                         Summary of Hours Billed

Name                                                     Hours         Rate     Amount
Margaret R. Alden                                         10.70      610.00     6,527.00
Jeffrey Ayer                                              18.00    1,165.00    20,970.00
Jenn Betts                                                23.30    1,035.00    24,115.50
Justin Bosworth                                            5.50      845.00     4,647.50
Lucas W. Brown                                             6.10      610.00     3,721.00
Rebecca Blake Chaikin                                     11.90    1,085.00    12,911.50
Tiffany Lang Chau                                          1.80      255.00       459.00
Joseph A. Correia                                          0.80      445.00       356.00
Tess Elizabeth Dennis                                     20.20      610.00    12,322.00
Lisa G. Esayian                                            0.20    1,285.00       257.00
Alistair Fatheazam                                         2.50      740.00     1,850.00
Julia R. Foster                                            0.30      340.00       102.00
Yates French                                               2.00    1,165.00     2,330.00
Austin Glassman                                            3.00    1,165.00     3,495.00
Jake William Gordon                                        3.80      845.00     3,211.00
Scott J. Gordon                                            2.00    1,645.00     3,290.00
Meghan E. Guzaitis                                         0.50      445.00       222.50
Jae Ha                                                     2.60      610.00     1,586.00
Key Hemyari                                               23.80      845.00    20,111.00
Walter S. Holzer, P.C.                                     1.30    1,465.00     1,904.50
Sophia Hudson, P.C.                                        8.90    1,525.00    13,572.50
Timothy Conor Hughes                                       3.50      965.00     3,377.50
Lanchi Huynh                                             125.10    1,305.00   163,255.50
Melissa D. Kalka                                         165.00    1,165.00   192,225.00
Aisha P. Lavinier                                         23.00    1,135.00    26,105.00
Shelby Nicole Lindholm                                     8.50      610.00     5,185.00
Marc Anthony Lipscomb                                     31.00    1,135.00    35,185.00
Christopher Marcus, P.C.                                   1.20    1,635.00     1,962.00
Ryan D. McNamara                                          45.50      610.00    27,755.00
Marjorie Melicharek                                        3.90      275.00     1,072.50
Lekha Menon                                                1.70      725.00     1,232.50
Joshua Merrill                                           160.30    1,085.00   173,925.50


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Legal Services for the Period Ending June 30, 2020         Invoice Number:    1050032369
J.C. Penney Company, Inc.                                   Matter Number:       47223-3
Corp., Governance & Securities Matters

Name                                                     Hours        Rate      Amount
Adine Mitrani                                              1.50     965.00      1,447.50
Colin Mize                                                15.10     845.00     12,759.50
Arthur Patrick Muszynski                                  38.00     610.00     23,180.00
David M. Nemecek, P.C.                                     0.20   1,565.00        313.00
Benjamin O'Connor                                          0.70     970.00        679.00
Jessie Perlman                                            12.50     610.00      7,625.00
John Phelan                                                4.90     610.00      2,989.00
Scott D. Price, P.C.                                       0.50   1,635.00        817.50
Nicholas Ruge                                             23.10     835.00     19,288.50
Tana Ryan, P.C.                                            7.30   1,395.00     10,183.50
Drue A. Santora                                            3.20   1,175.00      3,760.00
Lauren J. Schweitzer                                       3.50   1,025.00      3,587.50
Cephas Sekhar                                              5.20   1,215.00      6,318.00
Michael B. Slade                                           2.30   1,395.00      3,208.50
Josh Sussberg, P.C.                                        5.30   1,635.00      8,665.50
Christopher Thomas, P.C.                                   1.50   1,215.00      1,822.50
Seth Traxler, P.C.                                         2.20   1,495.00      3,289.00
Gregory Tsonis                                             1.00     970.00        970.00
Logan Weissler                                            86.50     740.00     64,010.00
Aparna Yenamandra                                         28.60   1,165.00     33,319.00
Abbey Zuech                                               15.30     610.00      9,333.00

TOTALS                                                   976.30              $ 986,807.00




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                                       Description of Legal Services

Date     Name                                  Hours Description
05/15/20 Lisa G. Esayian                         0.20 Correspond with W. Pruitt re D&O extension
                                                      and tail issues.
05/15/20 Sophia Hudson, P.C.                     6.00 Review draft 8-K revisions (1.0); negotiate
                                                      scope of disclosures with Milbank (2.0);
                                                      review backup information for blow out
                                                      information (1.0); telephone conferences with
                                                      Lazard, Milbank, Alix, Company,and K&E
                                                      team re disclosure obligations (2.0).
05/15/20 Lanchi Huynh                           16.20 Analyze cleansing materials for non-
                                                      disclosure agreement parties (8.0); correspond
                                                      and conference with Milbank, Lazard, Alix,
                                                      Company and K&E team re same (4.0); revise
                                                      8-K re RSA, DIP and cleansing materials
                                                      (4.2).
05/15/20 Ryan D. McNamara                       11.70 Review, analyze and summarize indentures
                                                      (2.6); review, analyze and summarize
                                                      precedent 10-Qs (1.7); review, analyze and
                                                      summarize non-disclosure agreements (1.3);
                                                      review and revise 8-K re filing (2.5); review
                                                      and revise press release re same (1.5); review
                                                      and revise cleansing materials (2.1).
05/15/20 Joshua Merrill                          7.20 Draft board resolutions and signature pages re
                                                      filing (3.9); review lender group non-
                                                      disclosure agreements and summarize same re
                                                      cleansing process (2.1); correspond with K&E
                                                      team re edits to non-disclosure agreement
                                                      counterparties and restrictions (1.2).
05/15/20 Arthur Patrick Muszynski               12.20 Draft, revise and review current report on
                                                      Form 8-K and related exhibits for SEC filing
                                                      (1.5); correspond and coordinate with
                                                      Donnelley printing team (.8); review proofs re
                                                      same (3.9); telephone conference re blowout
                                                      and cleansing (2.0); correspond with K&E
                                                      team re same (4.0).
05/15/20 Josh Sussberg, P.C.                     2.30 Board telephone conferences (2.0); review
                                                      and revise press release (.3).
05/15/20 Logan Weissler                          9.50 Draft, review and revise filing 8-K and
                                                      cleansing materials (2.3); review cleansing
                                                      dispute (1.7); telephone conferences and
                                                      correspond with L. Huynh re same (4.0);
                                                      coordinate proofs of filing documents with
                                                      financial printer (1.5).

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Date     Name                                  Hours Description
05/15/20 Abbey Zuech                             2.20 Research re Delaware and New York
                                                      corporation law (.5); review and analyze
                                                      bylaws for all filing entities (1.0); review and
                                                      analyze director and officer report (.5);
                                                      correspond with M. Kalka, J. Merrill, K.
                                                      Hemyari and T. Dennis re same (.2).
05/16/20 Alistair Fatheazam                      1.50 Update and compile NOL exhibits for posting
                                                      and publication (1.0); correspond with K&E
                                                      team re same (.5).
05/16/20 Lanchi Huynh                           12.50 Analyze cleansing materials for non-
                                                      disclosure agreement parties (4.5); correspond
                                                      and conferences with Milbank, Lazard and
                                                      K&E team re same (2.0); revise 8-K and
                                                      exhibits relating to RSA, DIP and cleansing
                                                      materials (6.0).
05/16/20 Aisha P. Lavinier                       2.00 Review and revise governance term sheets.
05/16/20 Joshua Merrill                          2.90 Draft resolutions of shareholders and boards
                                                      of entities in JCP structure.
05/16/20 Arthur Patrick Muszynski               12.70 Draft, review and revise current report on
                                                      Form 8-K and related exhibits (3.1); research
                                                      and review precedent disclosures re same
                                                      (3.5); review and revise printer proofs (1.7);
                                                      coordinate with Donnelley printing team
                                                      (2.9); correspond with working group re same
                                                      (1.5).
05/16/20 Logan Weissler                         14.00 Draft, review and revise filing 8-K and
                                                      cleansing materials (10.0); coordinate
                                                      revisions with printer (2.0); correspond with
                                                      Company and Lazard re same (1.0); telephone
                                                      conference with L. Huynh and A. Muszynski
                                                      re same (1.0).
05/17/20 Jenn Betts                              2.50 Draft governance term sheet.
05/17/20 Alistair Fatheazam                      1.00 Review, revise NOL notice of order (.7);
                                                      correspond with S. Golden re publication of
                                                      same (.3).
05/17/20 Lanchi Huynh                            7.00 Analyze cleansing materials for non-
                                                      disclosure agreement parties (3.0); multiple
                                                      correspondence and conferences with
                                                      Milbank, Lazard, JCPenney and K&E team re
                                                      same (4.0).
05/17/20 Ryan D. McNamara                        5.20 Review and revise filing 8-K (3.7); review,
                                                      analyze and summarize precedent 8-Ks (1.5).



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Date     Name                                  Hours Description
05/17/20 Arthur Patrick Muszynski                5.70 Draft, review and revise current report on
                                                      Form 8-K and related exhibits (1.7); research
                                                      and review precedent disclosures re same
                                                      (1.0); review and revise printer proofs (.7);
                                                      correspond with Donnelley printing team (.9);
                                                      correspond with working group re same (1.4).
05/17/20 Logan Weissler                         15.00 Draft, review 8-K and cleansing materials
                                                      (3.9); revise re same (3.9); correspond with
                                                      Company, Milbank and Lazard re various
                                                      cleansing materials issues (3.7); telephone
                                                      conferences with L. Huynh, A. Muszynski
                                                      and R. McNamara re same (3.5).
05/18/20 Jenn Betts                              0.50 Telephone conference with K&E team re term
                                                      sheets (.3); correspond with K&E team re
                                                      governance term sheet (.2).
05/18/20 Rebecca Blake Chaikin                   0.20 Revise board meeting presentation.
05/18/20 Tess Elizabeth Dennis                   1.00 Correspond with K&E team re non disclosure
                                                      agreements (.4); compile same (.2); revise
                                                      internal memorandum re same (.4).
05/18/20 Yates French                            2.00 Review documents for production.
05/18/20 Walter S. Holzer, P.C.                  0.40 Telephone conference with K&E team re
                                                      corporate governance term sheet.
05/18/20 Lanchi Huynh                            7.70 Review OTC transition issues (.8);
                                                      correspond with K&E team and Company re
                                                      cleansing materials for non-disclosure
                                                      agreement parties (.7); review investor
                                                      relations issues (1.9); analyze issues re
                                                      cleansing materials (1.5); correspond with
                                                      Milbank team re cleansing materials and non-
                                                      disclosure agreement (.9); telephone
                                                      conference with advisors re next steps (.8);
                                                      analyze issues relating to DIP participation
                                                      (.8); review landlord call script (.3).
05/18/20 Melissa D. Kalka                        0.70 Review and comment on various resolutions
                                                      to replace officers and directors (.4);
                                                      correspond with J. Merrill re same (.3).
05/18/20 Shelby Nicole Lindholm                  0.50 Revise opinion diligence chart for JCP
                                                      entities (.2); review formation and governing
                                                      documents (.3).
05/18/20 Ryan D. McNamara                        1.80 Review, analyze requirements for listing on
                                                      over-the-counter markets (.4); review, analyze
                                                      and summarize precedent 8-Ks re delisting
                                                      (.5); review and revise 8-K re Chapter 11
                                                      filing (.9).

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Date     Name                                  Hours Description
05/18/20 Joshua Merrill                         2.40 Revise resolutions for all filers reflecting
                                                     updated directors and officers (2.1);
                                                     correspond with Company and K&E team re
                                                     same (.3).
05/18/20 Nicholas Ruge                          0.50 Analyze and revise intercompany claims
                                                     memo.
05/18/20 Tana Ryan, P.C.                        1.00 Telephone conferences with K&E team on
                                                     term sheets and non-disclosure agreement
                                                     matters.
05/18/20 Christopher Thomas, P.C.               1.00 Telephone conference re corporate
                                                     workstreams (.5); telephone conference re
                                                     draft non-disclosure agreements (.5).
05/18/20 Seth Traxler, P.C.                     1.00 Review, analyze intra-Company trademark
                                                     issues (.5); telephone conference with K&E
                                                     team re same (.5).
05/18/20 Logan Weissler                         4.50 Coordinate 8-K filing (2.1); draft, review and
                                                     revise supplemental materials and delisting 8-
                                                     K (1.9); telephone conference with all-
                                                     advisors re same (.5).
05/18/20 Aparna Yenamandra                      1.40 Review communications materials re delisting
                                                     (.5); correspond with K&E team re blowout
                                                     issues (.9).
05/19/20 Jenn Betts                             2.50 Draft governance term sheet (1.2); correspond
                                                     with K&E team re due diligence (1.3).
05/19/20 Walter S. Holzer, P.C.                 0.40 Telephone conference with K&E team re
                                                     corporate governance term sheets.
05/19/20 Lanchi Huynh                           3.20 Revise 8-K relating to supplemental Company
                                                     materials and NYSE suspension (1.8); review
                                                     rules relating to OTC transition (.4); comment
                                                     on investor relations scripted
                                                     questions/communications (.3); telephone
                                                     conference with Milbank re due diligence
                                                     (.2); review FINRA rules relating to OTC
                                                     listing (.5).
05/19/20 Melissa D. Kalka                       4.50 Review, comment and analyze board
                                                     memorandum (4.3); correspond with J.
                                                     Gordon re same (.2).
05/19/20 Shelby Nicole Lindholm                 1.50 Review formation and governing documents
                                                     of Company entities for opinion diligence
                                                     (.8); review and revise opinion diligence chart
                                                     (.7).




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Date     Name                                  Hours Description
05/19/20 Ryan D. McNamara                       1.20 Review, analyze and summarize FINRA and
                                                     Exchange Act requirements re bankruptcy
                                                     notifications.
05/19/20 Joshua Merrill                         1.40 Review drafts of corporate resolutions to
                                                     replace board members and officers (.4);
                                                     review K&E non-disclosure agreements (.2);
                                                     review form non-disclosure agreements for
                                                     sale process and draft form of same (.8).
05/19/20 Arthur Patrick Muszynski               2.70 Research and review reporting requirements
                                                     under Rule 10b-17 and FINRA Rule 6490
                                                     (1.3); analyze and assess Company's
                                                     obligations under same (.3); draft and revise
                                                     email memorandum re same (.9); correspond
                                                     with K&E team re same (.2).
05/19/20 Drue A. Santora                        0.20 Correspond with A. Glassman re swap
                                                     terminations.
05/19/20 Logan Weissler                         2.00 Review and revise FINRA questionnaire
                                                     (1.1); correspond with L. Huynh re same (.5);
                                                     correspond with Milbank re cleansing issue
                                                     (.4).
05/19/20 Aparna Yenamandra                      3.90 Correspond with K&E team re intercreditor
                                                     issues and related objections (.5); telephone
                                                     conference with K&E team re same (.7);
                                                     revise board materials (.6); correspond with
                                                     K&E team re blow out issues (.9); correspond
                                                     re FINRA requests (.4); review 3
                                                     intercreditors (.8).
05/19/20 Abbey Zuech                            1.70 Draft resolutions re J. Roberts resignation.
05/20/20 Jenn Betts                             3.70 Draft governance term sheet (1.5); review and
                                                     revise timeline (.7); correspond with K&E
                                                     team re timeline, process and milestones (.5);
                                                     correspond with K&E team re diligence (1).
05/20/20 Rebecca Blake Chaikin                  1.20 Telephone conference with B. Treadway re
                                                     open items (.7); draft agenda for same (.1);
                                                     correspond with A. Yenamandra, S. Hudson,
                                                     L. Hyunh re same (.4).
05/20/20 Austin Glassman                        1.60 Discussions and coordination with working
                                                     group re derivatives and swap transactions
                                                     (1.1); telephone conference re intercreditor
                                                     agreements and objection rights with K&E
                                                     team (.5).




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Date     Name                                  Hours Description
05/20/20 Scott J. Gordon                        1.30 Telephone conference with hedge advisory
                                                     firm re hedge termination values (.8);
                                                     correspond with K&E team re same (.3);
                                                     document review and analysis re same (.2).
05/20/20 Key Hemyari                            0.30 Coordinate independent director requests.
05/20/20 Timothy Conor Hughes                   3.50 Telephone conference and correspond with
                                                     K&E team re term loan agency transfer (1.2);
                                                     analyze and telephone conference with K&E
                                                     team re intercreditor arrangements (2.3).
05/20/20 Lanchi Huynh                           4.40 Telephone conference with K&E and Lazard
                                                     teams re supplemental materials to creditors
                                                     (.5); revise 8-K relating to supplemental
                                                     Company materials and NYSE suspension
                                                     (1.2); review matters re supplemental
                                                     materials to creditors (1.0); review non-
                                                     disclosure agreements with creditors (.9);
                                                     review landlord script (.1); review trustee
                                                     replacement matters (.7).
05/20/20 Melissa D. Kalka                       3.30 Telephone conferences with Company re
                                                     ongoing issues (.8); review and comment on
                                                     various resolutions and correspond with J.
                                                     Merrill re same (.3); review and analyze non-
                                                     disclosure agreement tracker and correspond
                                                     with K&E team and Lazard re same (.8);
                                                     correspond with K&E team re amendments to
                                                     non-disclosure agreements (.5); review and
                                                     comment on form non-disclosure agreement
                                                     for third party process and correspond with S.
                                                     Toth re same (.9).
05/20/20 Shelby Nicole Lindholm                 2.90 Review formation and governing documents
                                                     re opinion diligence (1.9); review and revise
                                                     opinion diligence chart (1.0).
05/20/20 Ryan D. McNamara                       4.70 Review, analyze and summarize redemption
                                                     and consent provisions in indentures (3.2);
                                                     review and revise 8-K re delisting and
                                                     regulation FD disclosure (1.5).
05/20/20 Joshua Merrill                         3.40 Review non-disclosure agreements to
                                                     determine termination provisions and
                                                     restrictions (1.1); revise resolutions re
                                                     resigned members of JCP entity boards and
                                                     correspond with M. Kalka and Company re
                                                     same (.9); draft form marketing process non-
                                                     disclosure agreement (1.1); correspond with
                                                     K&E team re same (.3).


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Date     Name                                  Hours Description
05/20/20 Arthur Patrick Muszynski               1.90 Research and review obligations under first
                                                     lien notes indenture for pro rata payments
                                                     (.8); telephone conference with L. Weissler
                                                     and R. McNamara re same (.4); review Form
                                                     8-K printer proof (.3); correspond with K&E
                                                     team re same (.4).
05/20/20 David M. Nemecek, P.C.                 0.20 Review correspondence re intercreditor
                                                     agreement objections and conference with A.
                                                     Glassman re same.
05/20/20 Drue A. Santora                        2.50 Review swap termination payment mechanics
                                                     in ISDAs (.4); telephone conference with A.
                                                     Glassman and S. Gordon re hedge termination
                                                     (.3); telephone conference with counterparty,
                                                     A. Glassman and S. Gordon re same (.9);
                                                     telephone conference with A. Glassman and
                                                     S. Gordon re same (.1); telephone conference
                                                     with S. Gordon and J. Madell re same (.8).
05/20/20 Logan Weissler                         4.80 Review and revise supplemental materials and
                                                     delisting 8-K (1.0); correspond with L. Huynh
                                                     and Milbank re same (1.0); review non-
                                                     disclosure agreement extension and cleansing
                                                     matter (1.3); review first lien indenture re
                                                     repurchase considerations and conference
                                                     with R. McNamara re same (1.0); telephone
                                                     conference with Lazard re next steps on
                                                     supplemental materials cleansing (.5).
05/20/20 Aparna Yenamandra                      3.70 Telephone conference re blow out materials
                                                     (.5); correspond with advisors re same (.8);
                                                     draft board slides (.9); correspond re non-
                                                     disclosure agreements (.6); correspond re IT
                                                     updates and resignations (.9).
05/21/20 Jenn Betts                             1.60 Revise corporate checklist (.8); correspond
                                                     with K&E team re diligence (.8).
05/21/20 Lucas W. Brown                         3.80 Draft response to FINRA inquiry (1.4); revise
                                                     same (.8); research and analyze precedent re
                                                     same (1.1); correspond with K&E team and
                                                     Alix team re same (.5).




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Date     Name                                  Hours Description
05/21/20 Rebecca Blake Chaikin                  3.20 Telephone conference with H. Kaplan re
                                                     trustee transfer (.6); telephone conference
                                                     with M. Sommerstein re same (.2);
                                                     correspond with K&E team re same and
                                                     tripartite agreement with Company, K&E
                                                     team (1.1); telephone conference with
                                                     independent directors re matter status (.5);
                                                     revise board presentation (.6); revise FINRA
                                                     responses (.2).
05/21/20 Austin Glassman                        1.40 Review case materials (.4); review board
                                                     materials (.3); telephone conference with
                                                     K&E team and advisors re same (.3);
                                                     correspond with K&E team re agent and
                                                     trustee replacements (.4).
05/21/20 Jake William Gordon                    1.30 Telephone conference with independent
                                                     directors re status (.5); research, analyze
                                                     intercompany issues (.8).
05/21/20 Lanchi Huynh                           0.90 Review cleansing materials for creditors
                                                     matter (.7); correspond with K&E team re
                                                     replacement of trustee for unsecured notes
                                                     (.2).
05/21/20 Melissa D. Kalka                       6.70 Review and comment on non-disclosure
                                                     agreement amendment (1.5); review and
                                                     comment on third party non-disclosure
                                                     agreements and research precedent re same
                                                     (2.5); draft resolutions for board meeting and
                                                     correspond with L. Huynh re same (.9);
                                                     correspond with A. Yenamandra and R.
                                                     Chaikin re status of various corporate
                                                     workstreams (.5); correspond with A.
                                                     Yenamandra, L. Huynh and J. Merrill re
                                                     blowout provisions of various non-disclosure
                                                     agreements and review underlying non-
                                                     disclosure agreements re same (1.3).
05/21/20 Shelby Nicole Lindholm                 1.30 Review formation and governing documents
                                                     of entities for opinion diligence (.6);
                                                     correspond with K&E team re same (.2);
                                                     review and revise opinion diligence chart (.5).
05/21/20 Ryan D. McNamara                       2.30 Review, analyze and summarize unsecured
                                                     indentures re certain obligations and
                                                     requirements.




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Date     Name                                  Hours Description
05/21/20 Joshua Merrill                         2.00 Draft omnibus amendment to non-disclosure
                                                     agreements (1.0); draft amendment to non-
                                                     disclosure agreement (.5); correspond with
                                                     K&E team re non-disclosure agreement
                                                     matters (.3); correspond with D. Wolverton re
                                                     corporate resolutions and written consents
                                                     (.2).
05/21/20 Nicholas Ruge                          1.70 Review and revise intercompany claims
                                                     memorandum (1.4); correspond with G.
                                                     Tsonis re same (.2); correspond with ID
                                                     counsel re same (.1).
05/21/20 Logan Weissler                         1.00 Correspond with Company and L. Huynh re
                                                     4-wall EBITDA blowout (.5); correspond
                                                     with K&E team re non-disclosure agreement
                                                     extension (.5).
05/21/20 Aparna Yenamandra                      1.90 Correspond with K&E team, Lazard,
                                                     Milbank, Deutsche Bank teams re blowout
                                                     issues (.9); telephone conference with M.
                                                     Kalka re same (.4); correspond with K&E
                                                     team re tripartite issues (.6).
05/21/20 Aparna Yenamandra                      0.60 Telephone conference with independent
                                                     director counsel re case status.
05/22/20 Jenn Betts                             1.10 Correspond with K&E team re corporate and
                                                     real estate matters (.4); correspond with K&E
                                                     team re diligence (.7).
05/22/20 Rebecca Blake Chaikin                  0.30 Correspond with Company, Alix, trustee
                                                     counsel re indenture trustee transition.
05/22/20 Tiffany Lang Chau                      1.10 Prepare .zip folder re org documents (.5);
                                                     inventory charters, bylaws and good standings
                                                     for each loan party (.2); correspond with third
                                                     party service provider re Puerto Rico charter
                                                     (.2); research and review of old charter for
                                                     JCPenney Puerto Rico, Inc. (.2).
05/22/20 Tess Elizabeth Dennis                  0.50 Revise non-disclosure agreement tracker and
                                                     compile executed non-disclosure agreements
                                                     (.3); correspond with K&E team re same (.2).




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Date     Name                                  Hours Description
05/22/20 Lanchi Huynh                           6.50 Review resolutions for trustee replacement
                                                     (.4); revise 8-K relating to supplemental
                                                     materials and NYSE suspension (.4);
                                                     correspond with Milbank, K&E and Lazard
                                                     teams re supplemental materials (1.6); review
                                                     supplemental materials (.4); revise tripartite
                                                     agreements with successor trustees (2.2);
                                                     analyze issues relating to prior director RSU
                                                     grants (1.5).
05/22/20 Melissa D. Kalka                       5.80 Review and comment on form non-disclosure
                                                     agreement (3.0); correspond with J. Merrill re
                                                     form non-disclosure agreement (.6); review
                                                     and comment on board resolutions for trustee
                                                     replacements (.2); review indenture (.5);
                                                     correspond with J. Merrill re directors and
                                                     officer resolutions and corporate governance
                                                     matters (.4); correspond with debt finance
                                                     team re director and officer resolutions and
                                                     DIP deliverables (.5); correspond with A.
                                                     Yenamandra re non-disclosure agreement
                                                     amendments and governance matters (.4);
                                                     correspond with the Company re
                                                     organizational documents (.2).
05/22/20 Ryan D. McNamara                       0.40 Review, edit and revise 8-K re delisting and
                                                     Regulation FD (.3); coordinate filing of same
                                                     (.1).
05/22/20 Joshua Merrill                         4.20 Review and revise marketing process non-
                                                     disclosure agreement and incorporate M.
                                                     Kalka's comments to same (2.3); finalize
                                                     board written consents and send Company
                                                     same (1.9).
05/22/20 John Phelan                            4.20 Draft unanimous written consent of boards of
                                                     J. C. Penny Company and J. C. Penny
                                                     Corporation re change of Trustee (3.2);
                                                     review and revise form non-disclosure
                                                     agreement (1.0).
05/22/20 Christopher Thomas, P.C.               0.50 Telephone conference with K&E team re
                                                     transactions and structuring.
05/22/20 Gregory Tsonis                         0.40 Correspond with N. Ruge re intercompany
                                                     claims memo.
05/22/20 Logan Weissler                         2.20 Review and revise supplemental materials and
                                                     delisting 8-K (1.2); correspond with L. Huynh
                                                     and Milbank re same (.5); correspond with
                                                     Milbank re non-disclosure agreement
                                                     extension and 4-wall EBITDA issue (.5).

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05/22/20 Aparna Yenamandra                      2.10 Attend board telephone conference (.5);
                                                     correspond with K&E team re blowout issues
                                                     (.7); correspond with K&E team re
                                                     agent/trustee transition (.9).
05/23/20 Lucas W. Brown                         0.70 Draft and revise response re FINRA filing
                                                     inquiry (.5); correspond with K&E team re
                                                     same (.2).
05/23/20 Jae Ha                                 2.60 Draft omnibus resolutions (1.4); review
                                                     executed and draft consents of credit parties
                                                     (1.2).
05/23/20 Lanchi Huynh                           1.30 Analyze issues relating to prior director RSU
                                                     grants (.8); analyze precedent 10-Q
                                                     disclosures (.5).
05/23/20 Melissa D. Kalka                       0.30 Correspond with Company re matters
                                                     requiring board approval.
05/24/20 Lucas W. Brown                         1.60 Draft and revise response re FINRA inquiry
                                                     (.9); review and analyze precedent re same
                                                     (.5); correspond with K&E team re same (.2).
05/24/20 Rebecca Blake Chaikin                  0.40 Telephone conference with H. Kaplan re
                                                     indenture trustee issues.
05/24/20 Melissa D. Kalka                       4.10 Review and comment on non-disclosure
                                                     agreement letter agreements from Milbank
                                                     (1.0); review and comment on non-disclosure
                                                     agreement amendment (1.0); review
                                                     underlying non-disclosure agreements (.8);
                                                     correspond with J. Merrill re letter agreements
                                                     (.8); correspond with Company re non-
                                                     disclosure agreement amendments (.5).
05/24/20 Ryan D. McNamara                       2.50 Review, analyze and summarize precedent
                                                     annual and quarterly prepetition.
05/24/20 Joshua Merrill                         2.10 Correspond with K&E team re non-disclosure
                                                     agreement amendment (.8); revise non-
                                                     disclosure agreement amendment (.9);
                                                     correspond with Company re amendment and
                                                     MNPI (.4).
05/24/20 Arthur Patrick Muszynski               1.60 Research and review precedent 10-Q filer
                                                     disclosures re bankruptcy proceedings and
                                                     COVID-19 (.8); draft and review
                                                     correspondence re same (.4); review
                                                     correspondence re reporting requirements
                                                     (.4).




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Date     Name                                  Hours Description
05/25/20 Margaret R. Alden                      2.20 Draft, revise tripartite agreements (1.5);
                                                     correspond with Company, K&E team re
                                                     same (.5); research precedent re same (.2).
05/25/20 Rebecca Blake Chaikin                  3.00 Telephone conference with H. Kaplan re
                                                     indenture trustee transition (.2); correspond
                                                     with Company, trustee counsel, K&E team,
                                                     Alix re same (1.2); review tripartite
                                                     agreement markups (1.6).
05/25/20 Julia R. Foster                        0.30 Compile debtor entity charters and good
                                                     standings for attorney review.
05/25/20 Key Hemyari                            2.00 Correspond with K&E team re documents
                                                     provided to independent director counsel
                                                     (1.0); draft tracker re document requests (1.0).
05/25/20 Lanchi Huynh                           5.90 Review non-disclosure agreement
                                                     amendments drafts (1.4); review and analyze
                                                     issues relating to director equity awards (.5);
                                                     review and analyze Regulation FD issues (.8);
                                                     review and revise tripartite agreements with
                                                     trustees (3.2).
05/25/20 Melissa D. Kalka                       5.90 Correspond with Company re non-disclosure
                                                     agreements amendments (.5); correspond with
                                                     A. Yenamandra, R. Chaikin and L. Huynh re
                                                     non-disclosure agreement amendments and
                                                     resolutions for trustee replacements (.9);
                                                     correspond with J. Merrill re non-disclosure
                                                     agreement amendments and resolutions for
                                                     trustee replacements (1.0); review indentures
                                                     (.7); review tripartite agreement (.8); review
                                                     and comment on resolutions for trustee
                                                     replacements (1.0); review and comment on
                                                     non-disclosure agreement amendments (1.0).
05/25/20 Ryan D. McNamara                       4.00 Review, analyze and summarize trustee
                                                     requirements in indentures (2.1); review and
                                                     revise written consents re trustees (1.9).
05/25/20 Lekha Menon                            0.50 Attend telephone conference with M. Slade,
                                                     A. Yenamandra, K&E team re disinterested
                                                     director document requests.
05/25/20 Joshua Merrill                         3.00 Revise non-disclosure agreement amendments
                                                     (1.1); revise board consents for change in
                                                     trustee and transmit same to Company (1.4);
                                                     finalize form non-disclosure agreement for
                                                     marketing process and send to Lazard for
                                                     review (.5).



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Date     Name                                  Hours Description
05/25/20 Arthur Patrick Muszynski               1.20 Draft and review correspondence re trustee
                                                     succession on existing notes (.8); correspond
                                                     with R. McNamara and K&E team re same
                                                     (.4).
05/25/20 Nicholas Ruge                          0.40 Correspond with M Slade, A. Yenamandra, J.
                                                     Gordon re document requests from
                                                     independent directors' document requests (.3);
                                                     correspond with K. Hemyari re responses to
                                                     independent directors' document requests (.1).
05/25/20 Logan Weissler                         0.70 Review and revise tripartite agreement (.4);
                                                     correspond with L. Huynh and R. Chaikin re
                                                     same (.3).
05/25/20 Aparna Yenamandra                      0.60 Telephone conference re document requests.
05/25/20 Abbey Zuech                            4.00 Review and research documents for Katten
                                                     diligence requests.
05/26/20 Margaret R. Alden                      4.00 Draft, revise tripartite agreements re trustee
                                                     transition (1.1); research re same (1.2);
                                                     correspond with Company, counsels, K&E
                                                     team re same (1.1); compile materials re same
                                                     (.6).
05/26/20 Jenn Betts                             0.50 Telephone conference with K&E team and
                                                     Millbank re corporate process.
05/26/20 Rebecca Blake Chaikin                  0.80 Correspond with Company, K&E team re
                                                     tripartite agreements re indentures.
05/26/20 Scott J. Gordon                        0.70 Correspond with K&E team re default interest
                                                     on swaps.
05/26/20 Lanchi Huynh                           2.00 Correspond with K&E team re diligence and
                                                     market test (.1); review and revise tripartite
                                                     agreements with trustees (1.4); correspond
                                                     with K&E team re pension filings (.5).
05/26/20 Melissa D. Kalka                       3.00 Correspond with Company re governance
                                                     matters (.5); review and comment on non-
                                                     disclosure agreements from third parties and
                                                     correspond with T. Dennis, J. Merrill and M.
                                                     Lipscomb re same (1.4); correspond with
                                                     Lazard re third party bidding process and non-
                                                     disclosure agreement process (.7); review and
                                                     comment on non-disclosure agreement tracker
                                                     (.4).




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Date     Name                                  Hours Description
05/26/20 Aisha P. Lavinier                      1.60 Review, analyze plan process and prepare
                                                     governance term sheet, including conferences
                                                     re same (.9); telephone conference with
                                                     Milbank and K&E team re transaction process
                                                     (.7).
05/26/20 Shelby Nicole Lindholm                 2.30 Review signature pages to ensure the
                                                     signatories, entity names and formatting are
                                                     accurate (1.0); review and revise opinion
                                                     diligence chart with information from latest
                                                     resolutions (1.0); correspond with K&E taem
                                                     re executed written consents and an updated
                                                     D&O slate (.1); telephone conference with J.
                                                     Correia and J. Ha re signature pages (.2).
05/26/20 Marc Anthony Lipscomb                  1.50 Review and revise non-disclosure agreement
                                                     re market test (1.3); correspond with M.
                                                     Kalka re same (.2).
05/26/20 Ryan D. McNamara                       0.60 Review, analyze and summarize post-chapter
                                                     11 public filing requirements.
05/26/20 Joshua Merrill                         0.40 Correspond with Company re written
                                                     consents and coordinate signature pages re
                                                     same.
05/26/20 Nicholas Ruge                          0.10 Correspond with K. Hemyari and W. Lawley
                                                     re responses to independent directors'
                                                     document requests.
05/26/20 Tana Ryan, P.C.                        1.30 Telephone conference re corporate matters
                                                     with Milbank (.5); follow up with same re
                                                     same (.3); review initial market test materials
                                                     (.5).
05/26/20 Drue A. Santora                        0.50 Correspond with Lazard, Alix and K&E team
                                                     re swaps and default interest (.3); correspond
                                                     with Lazard re same (.2).
05/26/20 Logan Weissler                         1.70 Review, analyze new trustee CUSIP matter
                                                     and correspond with L. Huynh re same (.7);
                                                     research NOL rights plan termination 8-Ks
                                                     (.7); correspond with L. Huynh re same (.3).
05/26/20 Abbey Zuech                            2.00 Review and revise Katten diligence tracker.
05/27/20 Justin Bosworth                        1.00 Review quarterly report deadline and COVID
                                                     grace period re same (.6); correspond with
                                                     K&E team re same (.4).




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Date     Name                                  Hours Description
05/27/20 Tess Elizabeth Dennis                  3.00 Compile executed joint written consents and
                                                     omnibus consents (1.0); revise director and
                                                     officer slate (.5); revise non-disclosure
                                                     agreement tracker for type of party/interest
                                                     column (1.0); compile executed non-
                                                     disclosure agreements (.5).
05/27/20 Melissa D. Kalka                       0.40 Correspond with Company re governance
                                                     matters and status of governance
                                                     workstreams.
05/27/20 Joshua Merrill                         4.00 Review compiled written consents and
                                                     facilitate update of D&O slate (.8); prepare
                                                     non-disclosure agreement to address specific
                                                     counter party's concern (.5); prepare clean
                                                     team agreement with bidder (1.5); review and
                                                     revise sale process non-disclosure agreements
                                                     with counter parties (1.2).
05/27/20 Jessie Perlman                         2.00 Telephone conference with A. Mitrani and C.
                                                     Ray re intercompany claims analysis (.5);
                                                     correspond with A. Mitrani re same (1.0);
                                                     review and analyze intercompany claims
                                                     memo (.5).
05/27/20 Logan Weissler                         0.50 Review indenture re payment of trustee
                                                     expenses.
05/27/20 Aparna Yenamandra                      0.50 Correspond with Lazard re board slides.
05/27/20 Abbey Zuech                            1.50 Review and revise Katten diligence tracker
                                                     (1.0); correspond with K&E teams, Alix and
                                                     Company re same (.5).
05/28/20 Margaret R. Alden                      0.90 Correspond with counsel, Company, K&E
                                                     team re successor trustees, KYC, independent
                                                     directors (.6); compile documents re same
                                                     (.3).
05/28/20 Justin Bosworth                        4.50 Review quarterly reports and related
                                                     disclosure re in-court bankruptcy
                                                     considerations (2.2); draft and revise updated
                                                     disclosure for upcoming 10-Q re same (2.3).
05/28/20 Rebecca Blake Chaikin                  0.30 Correspond with Company re indenture
                                                     trustee issues.




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Date     Name                                  Hours Description
05/28/20 Melissa D. Kalka                       6.20 Review and comment on clean team
                                                     agreement and correspond with J. Merrill re
                                                     same (1.5); review and comment on multiple
                                                     non-disclosure agreements (3.7); review
                                                     diligence request list and correspond with K.
                                                     Hemyari, J. Gordon and R. Chaikin re
                                                     diligence request questions from counsel for
                                                     independent directors (.8); correspond with
                                                     Company re diligence matters for independent
                                                     directors (.2).
05/28/20 Aisha P. Lavinier                      1.20 Prepare warrant term sheet and revise
                                                     corporate governance term sheet.
05/28/20 Marc Anthony Lipscomb                  0.40 Telephone conference with S. Toth re
                                                     standstill matters (.2); telephone conference
                                                     with M. Kalka re same (.2).
05/28/20 Ryan D. McNamara                       1.00 Review, analyze and summarize quarterly
                                                     filing requirements post-Chapter 11.
05/28/20 Joshua Merrill                         4.80 Review and revise clean team agreement
                                                     (1.1); review and revise M&A process non-
                                                     disclosure agreements and transmit same to
                                                     Company and counterparties (3.7).
05/28/20 Adine Mitrani                          0.70 Telephone conference with Alix re
                                                     intercompany claims (.6); prepare for same
                                                     (.1).
05/28/20 Jessie Perlman                         1.50 Telephone conference with Alix re
                                                     intercompany claims (.5); prepare for same
                                                     (.1); review and analyze intercompany IP
                                                     claims (.3); correspond with A. Mitrani re
                                                     same (.6).
05/28/20 Nicholas Ruge                          3.50 Correspond with Alix re intercompany claims
                                                     issue (.5); draft analysis re same (.8); research
                                                     and compile diligence requests (.8);
                                                     correspond with K&E team re responses to
                                                     same (.3); prepare exhibits for hearing (1.1).
05/28/20 Lauren J. Schweitzer                   3.50 Research re intercompany trademark issues
                                                     (3.0); correspond with C. Ray re same (.5).
05/28/20 Gregory Tsonis                         0.60 Attend telephone conference with
                                                     AlixPartners re intercompany claims.
05/28/20 Logan Weissler                         2.00 Review, analyze potential disclosure of status
                                                     conference presentation (1.5); correspond
                                                     with L. Huynh re same (.5).




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Date     Name                                  Hours Description
05/28/20 Aparna Yenamandra                      2.90 Attend standing independent director update
                                                     telephone conference (.5); prepare for and
                                                     attend board telephone conference (.6);
                                                     finalize board materials (.4); correspond with
                                                     JCP, K&E team re blowout issues (.7);
                                                     correspond with K&E team re DD diligence
                                                     requests (.7).
05/28/20 Abbey Zuech                            2.10 Review and revise diligence tracker (1.0);
                                                     correspond with K&E team, Alix and
                                                     Company re diligence requests (1.1).
05/29/20 Tiffany Lang Chau                      0.70 Review and proof UCC-1 financing
                                                     statements (.5); review charters re exact name
                                                     analysis of entities (.1); review principle
                                                     addresses (.1).
05/29/20 Joseph A. Correia                      0.80 Review UCC-1 drafts (.2); receive and
                                                     process UCC results from Puerto Rico (.3);
                                                     correspond with K&E team next steps re
                                                     bring down good standings (.3).
05/29/20 Marc Anthony Lipscomb                  4.00 Correspond with M. Kalka, J. Merrill, H.
                                                     Marshall, C. Mize and T. Dennis re standstill
                                                     considerations with respect to non-disclosure
                                                     agreement negotiations (.7); review and revise
                                                     non-disclosure agreement (2.8); correspond
                                                     with M. Kalka re same (.5).
05/29/20 Nicholas Ruge                          0.10 Coordinate information flow between
                                                     AlixPartners team and ID counsel.
05/29/20 Abbey Zuech                            1.80 Review and revise Katten diligence tracker
                                                     (1.0); correspond with K. Hemyari re same
                                                     (.8).
06/01/20 Margaret R. Alden                      2.30 Draft, revise escrow agreement (1.4);
                                                     correspond with K&E team, Company re
                                                     same (.5); correspond with counsel,
                                                     Company, K&E teams re successor trustee
                                                     KYC (.4).
06/01/20 Tess Elizabeth Dennis                  0.80 Revise non disclosure agreement tracker (.5);
                                                     correspond with K&E team re same (.3).
06/01/20 Melissa D. Kalka                       2.70 Telephone conference with Company re data
                                                     room process (.7); correspond with Alix and
                                                     Lazard re non disclosure agreements (.2);
                                                     review and comment on various non
                                                     disclosure agreements and correspond with J.
                                                     Merrill re same (1.3); review and comment on
                                                     non disclosure agreement tracker (.2); review
                                                     and comment on clean team agreement (.3).

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Date     Name                                  Hours Description
06/01/20 Aisha P. Lavinier                      2.00 Revise process letter and various conferences
                                                     re same.
06/01/20 Marc Anthony Lipscomb                  0.90 Review and revise non disclosure agreement.
06/01/20 Joshua Merrill                         7.50 Review and revise M&A non disclosure
                                                     agreements (5.9); telephone conference with
                                                     opposing counsel re edits to non disclosure
                                                     agreements (.5); review and provide
                                                     comments on non disclosure agreement
                                                     tracker (.3); correspond with Company re
                                                     draft non disclosure agreements (.8).
06/01/20 Jessie Perlman                         1.50 Review and analyze vendor agreement and
                                                     addendum (1.0); correspond with A. Mitrani
                                                     re same (.5).
06/02/20 Tess Elizabeth Dennis                  0.70 Compile executed non disclosure agreements
                                                     (.2); revise non disclosure agreement tracker
                                                     re same (.5).
06/02/20 Lanchi Huynh                           0.80 Analyze issues relating to DIP budget
                                                     disclosures (.6); correspond with K&E team
                                                     re same (.2).
06/02/20 Melissa D. Kalka                       1.50 Review and comment on non disclosure
                                                     agreements with various parties and
                                                     correspond with J. Merrill re same (1.0);
                                                     correspond with Company re data room and
                                                     non disclosure agreement matters (.5).
06/02/20 Aisha P. Lavinier                      2.50 Revise process letter and various conferences
                                                     re same.
06/02/20 Marc Anthony Lipscomb                  1.20 Review and revise non disclosure agreement
                                                     with RAMCO property acquisitions.
06/02/20 Joshua Merrill                         2.70 Review and revise non disclosure agreement's
                                                     with M&A counterparties (1.6); telephone
                                                     conference with Company and counterparty re
                                                     data room issues (.5); telephone conference
                                                     with non disclosure agreement counterparty re
                                                     provisions contained therein (.6).
06/02/20 Jessie Perlman                         1.50 Telephone conference with S. Traxler, A.
                                                     Petravicius and A. Mitrani re intercompany
                                                     claims and vendor contract addendum (.7);
                                                     review and analyze same (.8).
06/02/20 Seth Traxler, P.C.                     0.70 Analyze intracompany claims (.2); analyze
                                                     Oracle amendment (.5).
06/03/20 Margaret R. Alden                      0.50 Correspond with Company, Citi, Alix re KYC
                                                     re escrow agreement.



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Date     Name                                  Hours Description
06/03/20 Rebecca Blake Chaikin                  0.40 Telephone conference with B. Treadway, S.
                                                     Hudson, L. Huynh re 8-Ks.
06/03/20 Tess Elizabeth Dennis                  0.50 Compile executed non disclosure agreements
                                                     (.2); update non disclosure agreement tracker
                                                     re same (.3).
06/03/20 Sophia Hudson, P.C.                    0.60 Correspond with K&E team re upcoming 8-K.
06/03/20 Lanchi Huynh                           4.40 Review and revise 8-K re DIP credit
                                                     agreement (2.3); analyze issues relating to
                                                     store closure disclosures (1.3); telephone
                                                     conference with K&E team re store closure
                                                     disclosures (.2); telephone conference with
                                                     JCP legal team and K&E team re upcoming
                                                     8-K filing (.4); review court status conference
                                                     call slide deck (.2).
06/03/20 Melissa D. Kalka                       5.80 Review and comment on various non
                                                     disclosure agreements and correspond with J.
                                                     Merrill re same (3.7); telephone conference
                                                     with M. Ayers and J. Merrill re follow up re
                                                     same (.3); correspond with Lazard re data
                                                     room access and categorizing buyers (.7);
                                                     correspond with A. Lavinier re various non
                                                     disclosure agreements and access (.3);
                                                     telephone conference with Macy’s legal
                                                     counsel re clean team process (.8).
06/03/20 Aisha P. Lavinier                      1.10 Review nondisclosure agreements and
                                                     diligence process and various correspondence
                                                     re the same.
06/03/20 Marc Anthony Lipscomb                  0.90 Review and revise comments to sale process
                                                     non disclosure agreement (.6); correspond
                                                     with M. Kalka and J. Merrill re same (.3).
06/03/20 Joshua Merrill                         3.80 Telephone conference with J. Ayer re antitrust
                                                     issues associated with M&A process (.2);
                                                     telephone conference with opposing counsel,
                                                     Company, J. Ayer and M. Kalka re antitrust
                                                     issues (.4); telephone conference with non
                                                     disclosure agreement opposing counsel (.6);
                                                     correspond with Lazard re antitrust issues and
                                                     categorization of counterparties (.3); review
                                                     and revise non disclosure agreements (2.3).




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Date     Name                                  Hours Description
06/03/20 Logan Weissler                         4.30 Draft, review and revise DIP credit agreement
                                                     8-K and conference with L. Huynh re same
                                                     (3.0); review previous DIP credit agreement
                                                     exchange act reports (.8); analyze store
                                                     closures and resulting charges for materiality
                                                     determination (.5).
06/03/20 Aparna Yenamandra                      0.90 Prepare for and attend board call.
06/04/20 Jenn Betts                             0.80 Draft process letter.
06/04/20 Tess Elizabeth Dennis                  0.50 Revise non disclosure agreement tracker (.3);
                                                     correspond with K&E team re same (.2).
06/04/20 Lanchi Huynh                           4.60 Review and revise 8-K re DIP credit
                                                     agreement (1.4); review DIP credit agreement
                                                     (1.5); telephone conference with K&E team re
                                                     DIP credit agreement (.2); review and analyze
                                                     disclosures relating to store exits (.6);
                                                     correspond re DIP roll-up process (.9).
06/04/20 Melissa D. Kalka                       3.90 Review and comment on various non
                                                     disclosure agreements and correspond with J.
                                                     Merrill re same (2.6); prepare for, attend and
                                                     follow-up from call with M. Ayers and J.
                                                     Merrill (.3); correspond with Lazard re data
                                                     room access and categorizing buyers (.7);
                                                     correspond with A. Lavinier re various non
                                                     disclosure agreements and access (.3).
06/04/20 Aisha P. Lavinier                      1.50 Review antitrust analysis for various potential
                                                     bidders.
06/04/20 Marc Anthony Lipscomb                  0.70 Telephone conference with non disclosure
                                                     agreement party re non disclosure agreement
                                                     matters (.5); correspond with J. Merrill re
                                                     same (.2).
06/04/20 Joshua Merrill                         4.60 Telephone conference with Company and
                                                     K&E team re antitrust related concerns (.4);
                                                     review and revise non disclosure agreements
                                                     (3.1); telephone conference with counsel for
                                                     non disclosure agreement counterparties re
                                                     same (.4); correspond with K&E team re
                                                     clean team agreements (.3); correspond with
                                                     K&E team re non disclosure agreement
                                                     amendments (.4).
06/04/20 Logan Weissler                         4.80 Draft, review and revise DIP credit agreement
                                                     8-K (3.5); correspond with K&E team and
                                                     Company re same (1.0); correspond with
                                                     K&E team re non disclosure agreement issue
                                                     (.3).

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Date     Name                                  Hours Description
06/05/20 Tess Elizabeth Dennis                  0.50 Compile executed non disclosure agreements
                                                     (.2); revise non disclosure agreement tracker
                                                     re same (.3).
06/05/20 Lanchi Huynh                           0.40 Review and revise 8-K re DIP credit
                                                     agreement.
06/05/20 Melissa D. Kalka                       3.90 Review and comment on various non
                                                     disclosure agreements and correspond with J.
                                                     Merrill re same (3.0); correspond with Lazard
                                                     re data room process (.5); correspond with A.
                                                     Yenamandra re process and status of various
                                                     non disclosure agreements (.4).
06/05/20 Aisha P. Lavinier                      1.00 Review clean team arrangements and
                                                     diligence matters.
06/05/20 Marc Anthony Lipscomb                  2.40 Review and revise non disclosure agreement
                                                     with counterparty (1.6); review and revise non
                                                     disclosure agreement with counterparty (.4);
                                                     correspond with M. Kalka re same (.2);
                                                     correspond with counterparty re sale process
                                                     non disclosure agreement (.2).
06/05/20 Joshua Merrill                         5.90 Telephone conference re marketing process
                                                     non disclosure agreement (.5); telephone
                                                     conferences with opposing counsel re
                                                     marketing process non disclosure agreement
                                                     (1.2); correspond with K&E teams re Milbank
                                                     non disclosure agreements and follow up re
                                                     the same (.5); review and revise non
                                                     disclosure agreements with various marketing
                                                     process counterparties (3.1); correspond with
                                                     K&E team re real estate issues and review
                                                     clean team agreement comments (.6).
06/05/20 Logan Weissler                         1.70 Draft, review and revise credit agreement 8-K
                                                     (1.0); correspond with Company re filing
                                                     timeline (.2); telephone conference with L.
                                                     Huynh re same (.5).
06/06/20 Tess Elizabeth Dennis                  0.30 Revise non disclosure agreement tracker.
06/06/20 Melissa D. Kalka                       2.50 Review and comment on various non
                                                     disclosure agreements and correspond with J.
                                                     Merrill re same (2.0); correspond with J.
                                                     Merrill and M. Ayers re data room restrictions
                                                     (.1); correspond with Lazard re data room
                                                     access (.4).
06/06/20 Aisha P. Lavinier                      0.20 Review anti-trust and diligence matters.




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Date     Name                                  Hours Description
06/06/20 Joshua Merrill                         2.90 Review and revise non disclosure agreements
                                                     with marketing process counterparties (2.5);
                                                     correspond with K&E team re data room,
                                                     antitrust concerns and information requests
                                                     from interested parties (.4).
06/07/20 Tess Elizabeth Dennis                  0.30 Revise non disclosure agreement tracker.
06/07/20 Melissa D. Kalka                       2.00 Review and comment on various non
                                                     disclosure agreements (1.3); correspond with
                                                     M. Lipscomb re non disclosure agreements
                                                     (.3); correspond with J. Merrill re non
                                                     disclosure agreements (.4).
06/07/20 Marc Anthony Lipscomb                  0.70 Review and revise non disclosure agreement
                                                     (.6); correspond with M. Kalka re same (.1).
06/07/20 Joshua Merrill                         1.10 Review and revise non disclosure agreements.
06/07/20 Josh Sussberg, P.C.                    0.70 Telephone conference with D. Kurtz and B.
                                                     Wafford re H2 (.3); correspond with K&E
                                                     team re milestones/business plan (.4).
06/08/20 Tess Elizabeth Dennis                  0.50 Compile executed non disclosure agreements
                                                     (.2); revise non disclosure agreement tracker
                                                     (.3).
06/08/20 Lanchi Huynh                           1.70 Revise 8-K re DIP credit agreement (.5);
                                                     revise 8-K relating to 10-Q filing extension
                                                     and COVID impacts (.6); review issues
                                                     relating to business plan parameters (.3);
                                                     revise 8-K relating to Q1 flash numbers (.3).
06/08/20 Melissa D. Kalka                       7.70 Correspond with J. Merrill re various non
                                                     disclosure agreement proposals (1.5);
                                                     correspond with M. Lipscomb re various non
                                                     disclosure agreement proposals (.3);
                                                     correspond with L. Huynh re blow out
                                                     materials (.2); correspond with J. Ayers re
                                                     antitrust matters (.7); correspond with Lazard
                                                     re diligence and non disclosure agreement
                                                     matters (1.0); telephone conference with Real
                                                     Estate Task Force re same (.5); telephone
                                                     conference with Company re antitrust matters
                                                     (.5); review and comment on non disclosure
                                                     agreements (3.0).
06/08/20 Marc Anthony Lipscomb                  0.50 Correspond with M. Weitz, M. O'Grady and
                                                     O. Vasilenko re non disclosure agreement
                                                     negotiation and information access matters.




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Date     Name                                  Hours Description
06/08/20 Ryan D. McNamara                       6.20 Review and revise 8-K re DIP credit
                                                     agreement (3.7); draft, revise exhibits to 8-K
                                                     re DIP credit agreement (1.4); review,
                                                     analyze, and summarize precedent Section 16
                                                     filings (1.1).
06/08/20 Joshua Merrill                         4.90 Correspond with Company re antitrust and
                                                     non disclosure agreement matters (.6);
                                                     telephone conference with Company re
                                                     various real estate investors (.3); telephone
                                                     conference with Lazard re transaction, next
                                                     steps (.5); review and revise non disclosure
                                                     agreements with various marketing process
                                                     counterparties (3.5).
06/08/20 John Phelan                            0.70 Review and revise non-disclosure agreements.
06/08/20 Josh Sussberg, P.C.                    2.30 Telephone conference with management re
                                                     status (.6); telephone conference with D.
                                                     Kurtz re lenders (.2); correspond with
                                                     Milbank re non-disclosure agreement (.4);
                                                     telephone conference with Company advisors,
                                                     Milbank, Houlihan and DB re next step (1.1).
06/08/20 Logan Weissler                         2.50 Draft, review and revise credit agreement 8-K
                                                     (1.0); telephone conference with K&E team
                                                     and L. Huynh re same (.5); review insider
                                                     sales analysis (1.0).
06/09/20 Jeffrey Ayer                           3.70 Review materials in data room (1.2);
                                                     telephone conference re clean team issues
                                                     (.5); edit clean team agreement (.7); resolve
                                                     issues for categorization of bidders for clean
                                                     room access (1.0); email to corporate team re
                                                     gun jumping analysis (.3).
06/09/20 Tess Elizabeth Dennis                  0.50 Compile executed non disclosure agreements
                                                     (.2); revise non disclosure agreement tracker
                                                     (.3).
06/09/20 Key Hemyari                            2.00 Review independent director diligence.
06/09/20 Sophia Hudson, P.C.                    0.50 Telephone conference with B. Treadway and
                                                     D. Wolverton re KPMG 8-K comments.




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Date     Name                                  Hours Description
06/09/20 Lanchi Huynh                           3.70 Telephone conference with Joele Frank re
                                                     possible insider sales of stock (.3); analyze
                                                     issues relating to possible insider sales of
                                                     stock (2.2); telephone conference with JCP
                                                     legal re possible insider sales of stock (.2);
                                                     correspond with K&E team re non disclosure
                                                     agreements (.1); revise 8-K re 10-Q filing
                                                     extension per KPMG comments (.3); review
                                                     KPMG comments (.4); telephone conference
                                                     with JCP legal re same (.2).
06/09/20 Melissa D. Kalka                       9.30 Correspond with J. Merrill re various non
                                                     disclosure agreement proposals (2.0);
                                                     correspond with M. Lipscomb re various non
                                                     disclosure agreement proposals (.2);
                                                     correspond with L. Huynh re blow out
                                                     materials (.3); correspond with J. Ayers re
                                                     antitrust matters (.7); correspond with Lazard
                                                     re diligence and non disclosure agreement
                                                     matters (1.0); telephone conference with
                                                     Latham re same (.5); review and comment on
                                                     non disclosure agreements (4.0); correspond
                                                     with A. Yenamandra re same (.6).
06/09/20 Marc Anthony Lipscomb                  2.00 Review and revise non disclosure agreement
                                                     (1.6); correspond with M. Kalka re same (.2);
                                                     correspond with counterparty re outstanding
                                                     non disclosure agreement matters (.2).
06/09/20 Ryan D. McNamara                       1.50 Review and revise exhibits to 10-K re DIP
                                                     credit agreement.
06/09/20 Lekha Menon                            0.30 Review pending litigation re independent
                                                     directors' diligence request.
06/09/20 Joshua Merrill                         8.80 Review and revise marketing process non
                                                     disclosure agreements (5.2); telephone
                                                     conference with various non disclosure
                                                     agreement counterparties re non disclosure
                                                     agreements (.6); review and revise H/2 non
                                                     disclosure agreement (2.4); telephone
                                                     conference with Company re real estate
                                                     matters (.3); telephone conference with
                                                     opposing counsel re antitrust matters (.3).
06/09/20 Nicholas Ruge                          3.20 Research diligence questions from
                                                     independent directors (2.8); correspond with
                                                     K&E team re production of diligence
                                                     documents to independent directors (.4).



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Date     Name                                  Hours Description
06/09/20 Logan Weissler                         2.70 Review and revise credit agreement 8-K (1.5);
                                                     telephone conference with Company, L.
                                                     Huynh and Joelle Frank re securities
                                                     questions (.7); telephone conference with
                                                     Company re auditor comments (.5).
06/10/20 Jeffrey Ayer                           3.00 Draft talking points for Company re gun
                                                     jumping and due diligence (1.4); telephone
                                                     conference with Company re same (.5);
                                                     telephone conference re data room issues (.5);
                                                     edit clean room agreement (.6).
06/10/20 Jake William Gordon                    0.50 Correspond with K&E team re independent
                                                     director issues (.2); analyze production issues
                                                     re same (.3).
06/10/20 Jake William Gordon                    0.90 Prepare business update.
06/10/20 Lanchi Huynh                           2.70 Telephone conference with JCP legal and
                                                     K&E team re cleansing matters (.5); revise 8-
                                                     K re Q1 preliminary results per audit chair
                                                     comments (.4); telephone conference with
                                                     Milbank re cleansing and non disclosure
                                                     agreements (.8); revise 8-K relating to DIP
                                                     credit agreement (1.0).
06/10/20 Melissa D. Kalka                       9.20 Telephone conference with Company re
                                                     cleaning protocols and anti-trust matters (.7);
                                                     telephone conference with Milbank re same
                                                     (1.0); correspond with Milbank re same (.3);
                                                     correspond with Company re non disclosure
                                                     agreement matters (.5); review and comment
                                                     on various non disclosure agreements (4.0);
                                                     correspond with J. Merrill re vsame (1.2);
                                                     correspond with Lazard re same (1.0);
                                                     correspond with J. Ayer re same (.5).
06/10/20 Aisha P. Lavinier                      1.20 Telephone conferences with K&E team re
                                                     diligence process (.5); review and analyze
                                                     categories for potential bidders (.7).
06/10/20 Ryan D. McNamara                       1.70 Review and revise 8-K re DIP credit
                                                     agreement.
06/10/20 Joshua Merrill                         8.20 Review and revise non disclosure agreements
                                                     with marketing process counterparties and
                                                     with H/2 group (6.5); telephone conference
                                                     with antitrust and capital markets counsel re
                                                     data room and cleansing process (.9);
                                                     telephone conference with Milbank team re
                                                     cleansing protocol (.8).



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Date     Name                                  Hours Description
06/10/20 Logan Weissler                         1.50 Telephone conference with Company re
                                                     cleansing matters (.5); telephone conference
                                                     with Milbank re cleansing matters and draft
                                                     non disclosure agreement (1.0).
06/11/20 Jeffrey Ayer                           2.50 Telephone conference re data room (.5);
                                                     review documents for gun jumping issues
                                                     (2.0).
06/11/20 Jenn Betts                             3.30 Telephone conference with Millbank re deal
                                                     update (.5); telephone conference with K&E
                                                     team re due diligence (.5); review and analyze
                                                     diligence materials (2.1); correspond with
                                                     K&E team re diligence (.2).
06/11/20 Key Hemyari                            1.00 Review and revise independent director
                                                     tracker and production folders.
06/11/20 Sophia Hudson, P.C.                    0.50 Telephone conference with Company re stock
                                                     ownership guidelines.
06/11/20 Lanchi Huynh                           4.00 Telephone conference with Milbank re non
                                                     disclosure agreements (.1); correspond with
                                                     Milbank re cleansing matters (.7); analyze
                                                     issues relating to possible insider sales (2.6);
                                                     telephone conference with JCP and Joele
                                                     Frank re same (.6).
06/11/20 Melissa D. Kalka                       7.80 Telephone conference re data room with Alix
                                                     and Lazard (.8); telephone conference with J.
                                                     Ayer and J. Betts re data room (.5); telephone
                                                     conference re cleansing materials (.5);
                                                     correspond with A. Yenamandra re non
                                                     disclosure agreement matters (1.0);
                                                     correspond with J. Ayers re diligence matters
                                                     (1.0); review and comment on various non
                                                     disclosure agreements and related
                                                     amendments (4.0).
06/11/20 Aisha P. Lavinier                      4.60 Telephone conferences re antitrust concerns
                                                     and general diligence process with Lazard,
                                                     AlixPartners and K&E teams (1.0); review
                                                     and analyze diligence tracker, matrix and
                                                     materials in data room prior to data room
                                                     transfer (2.4); telephone conferences with
                                                     K&E team re corporate related term sheets
                                                     and general deal process (.5); review and
                                                     analyze sources and uses (.7).
06/11/20 Marc Anthony Lipscomb                  0.60 Correspond with W. Lee re non disclosure
                                                     agreement matters.



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Date     Name                                  Hours Description
06/11/20 Joshua Merrill                         7.00 Telephone conference with Alix, K&E and
                                                     Lazard teams re data room setup (.5);
                                                     telephone conference with TJX counsel re
                                                     non disclosure agreement (.4); review and
                                                     revise non disclosure agreements with various
                                                     counterparties (6.1).
06/11/20 Cephas Sekhar                          3.20 Revise draft confidentiality agreement with
                                                     non disclosure agreement counterparty (2.7);
                                                     correspond same with K&E team (.5).
06/11/20 Logan Weissler                         0.70 Telephone conference with Milbank re
                                                     cleansing matters (.5); telephone conference
                                                     with Company and Joelle Frank re insider
                                                     sales (.2).
06/11/20 Aparna Yenamandra                      0.50 Attend standing independent director update
                                                     telephone conference.
06/12/20 Jeffrey Ayer                           2.00 Review documents in data room for gun
                                                     jumping issues.
06/12/20 Jenn Betts                             0.20 Telephone conference with K&E team re
                                                     corporate and real estate update.
06/12/20 Tess Elizabeth Dennis                  0.50 Compile executed non disclosure agreements
                                                     (.2); revise non disclosure agreement tracker
                                                     (.3).
06/12/20 Jake William Gordon                    0.70 Review, analyze correspondence with
                                                     independent directors (.2); telephone
                                                     conference with K&E team re same (.2);
                                                     analyze production re same (.3).
06/12/20 Key Hemyari                            1.00 Review and revise independent director
                                                     tracker and production folders.
06/12/20 Sophia Hudson, P.C.                    0.80 Telephone conference re director and
                                                     employee stock sales.
06/12/20 Melissa D. Kalka                       8.30 Review and comment on various non
                                                     disclosure agreements (4.0); review and
                                                     comment on various amendments to non
                                                     disclosure agreements (.4); correspond with
                                                     T. Dennis re non disclosure agreement status
                                                     (.3); review and comment on side letter (.3);
                                                     correspond with J. Merrill re non disclosure
                                                     agreements (1.3); correspond with Lazard re
                                                     data room and non disclosure agreement
                                                     (1.0); correspond with the Company re data
                                                     room; correspond with A. Yenamandra re non
                                                     disclosure agreements and certain
                                                     amendments (1.0).


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Date     Name                                  Hours Description
06/12/20 Aisha P. Lavinier                      3.20 Review and analyze diligence matrix and
                                                     diligence process to maintain clean and
                                                     confidential arrangements (2.0); review and
                                                     revise clean team agreement (.5); review and
                                                     analyze diligence tracker (.7).
06/12/20 Marc Anthony Lipscomb                  2.90 Review and revise various non disclosure
                                                     agreements (2.6); correspond with M. Kalka
                                                     re non disclosure agreement matters (.3).
06/12/20 Lekha Menon                            0.70 Review pending litigation re independent
                                                     directors' diligence request (.3); correspond
                                                     with Company re same (.2); correspond with
                                                     G. Tsonis, A. Weinhouse re pending litigation
                                                     (.2).
06/12/20 Joshua Merrill                         6.90 Correspond and telephone conference with
                                                     K&E team re data room issues (.5); review
                                                     and revise non disclosure agreements with
                                                     marketing process counterparties (4.3); revise
                                                     H/2 and ad hoc group non disclosure
                                                     agreements (2.1).
06/12/20 Scott D. Price, P.C.                   0.50 Discuss stock holding policy.
06/12/20 Cephas Sekhar                          1.70 Review response from non disclosure
                                                     agreement counterparty on confidentiality
                                                     agreement (.9); revise confidentiality
                                                     agreement and recirculate (.8).
06/12/20 Aparna Yenamandra                      1.00 Correspond re independent director
                                                     information requests.
06/13/20 Rebecca Blake Chaikin                  0.80 Telephone conference with Milbank re
                                                     cleansing (.5); correspond with same re same
                                                     (.3).
06/13/20 Tess Elizabeth Dennis                  1.00 Compile executed non disclosure agreements
                                                     (.3); update non disclosure agreement tracker
                                                     (.4); correspond with team re same (.3).
06/13/20 Key Hemyari                            1.50 Review and revise independent director
                                                     tracker and production folders (1.0); draft
                                                     related correspondence (.5).
06/13/20 Lanchi Huynh                           2.10 Telephone conferences with Milbank re
                                                     cleansing and disclosure related matters (1.0);
                                                     correspond with Company re same (.5);
                                                     review cleansing and disclosure related
                                                     matters (.6).




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Date     Name                                  Hours Description
06/13/20 Melissa D. Kalka                       2.20 Correspond with L. Huynh and A.
                                                     Yenamandra re non disclosure agreement and
                                                     blow out obligations (.8); review and
                                                     comment on various non disclosure
                                                     agreements (.7); correspond with J. Merrill
                                                     (.7).
06/13/20 Joshua Merrill                         1.90 Prepare non disclosure agreements and review
                                                     executed H/2 and group non disclosure
                                                     agreements.
06/14/20 Rebecca Blake Chaikin                  1.30 Correspond with K&E team re cleansing
                                                     issues.
06/14/20 Melissa D. Kalka                       3.60 Telephone conference with Company re data
                                                     room categorization (.7); correspond with J.
                                                     Ayers re data room (.4); review and comment
                                                     on various non disclosure agreements (2.0);
                                                     correspond with M. Lipscomb re non
                                                     disclosure agreements (.2); correspond with
                                                     Lazard re non disclosure agreements (.3).
06/14/20 Aisha P. Lavinier                      0.90 Review and analyze diligence materials for
                                                     antitrust competitive concerns and
                                                     conferences re same.
06/14/20 Joshua Merrill                         0.70 Telephone conference with Company and
                                                     K&E antitrust re data room issues.
06/14/20 Nicholas Ruge                          0.30 Prepare diligence responses re requests from
                                                     Katten and Quinn.
06/15/20 Margaret R. Alden                      0.50 Correspond with counsel, Company, K&E
                                                     teams re KYC re successor trustee.
06/15/20 Tess Elizabeth Dennis                  0.80 Compile executed non disclosure agreements
                                                     (.3); update non disclosure agreement tracker
                                                     (.5).
06/15/20 Jake William Gordon                    0.40 Review intercompany analysis (.2); telephone
                                                     conference with K&E team re same (.2).
06/15/20 Key Hemyari                            1.50 Review and revise independent director
                                                     tracker and production folders (1.0); draft
                                                     related correspondence (.5).




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Date     Name                                  Hours Description
06/15/20 Lanchi Huynh                           2.80 Review matters relating to disclosure
                                                     requirements under DIP credit agreement (.4);
                                                     review matters relating to store closings
                                                     disclosures (.5); review matters relating to
                                                     lease negotiations disclosures (.4); correspond
                                                     with Lazard re cleansing and disclosure
                                                     related matters (.5); review matters relating to
                                                     Expeditors contract disclosures (.2); review
                                                     matters relating to disbursement allocation
                                                     (.3); review matters relating to cleansing and
                                                     disclosure (.5).
06/15/20 Melissa D. Kalka                       6.20 Telephone conference with A. Yenamandra
                                                     and J. Ayer re data room and anti-trust
                                                     considerations (.5); review and comment on
                                                     multiple non disclosure agreements and
                                                     comments to certain amendments to non
                                                     disclosure agreements (3.0); correspond with
                                                     Lazard (.5); correspond with J. Merrill re
                                                     same (1.2); correspond with M. Lipscomb
                                                     (.2); correspond with Latham re same (.3);
                                                     correspond with J. Ayer re same (.5).
06/15/20 Marc Anthony Lipscomb                  2.00 Review and revise non disclosure agreement
                                                     (.9); correspond with M. Kalka re non
                                                     disclosure agreement (.2); correspond with J.
                                                     Merrill re non disclosure agreement (.5);
                                                     correspond with counterparty re non
                                                     disclosure agreement matters (.4).
06/15/20 Joshua Merrill                         6.00 Review and revise non disclosure agreements
                                                     with counterparties (4.7); telephone
                                                     conference with marketing process non
                                                     disclosure agreement counterparties (.4);
                                                     correspondence re data room and antitrust and
                                                     competitive issues related thereto (.9).
06/15/20 Jessie Perlman                         0.50 Correspond with K&E team re intercompany
                                                     claims questions.
06/15/20 Cephas Sekhar                          0.30 Finalize non disclosure agreement with
                                                     counterparty.
06/15/20 Aparna Yenamandra                      1.20 Correspond with K&E team re DIP waiver
                                                     disclosure (.4); correspond with same re
                                                     blowout issues (.8).
06/16/20 Jeffrey Ayer                           0.70 Resolve clean team issues.
06/16/20 Tess Elizabeth Dennis                  0.50 Compile executed non disclosure agreements
                                                     (.2); revise non disclosure agreement tracker
                                                     (.3).


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Date     Name                                  Hours Description
06/16/20 Key Hemyari                            1.80 Review and revise independent director
                                                     tracker and production folders and draft
                                                     related correspondence.
06/16/20 Walter S. Holzer, P.C.                 0.50 Correspond with K&E team re potential
                                                     structures and transactions.
06/16/20 Lanchi Huynh                           4.40 Review matters relating to store closing
                                                     disclosures (.8); telephone conference with
                                                     Company re same (.2); review matters
                                                     relating to critical vendors disclosures (.3);
                                                     review matters relating to disclosures required
                                                     by DIP credit agreement (1.4); review matters
                                                     relating to cash collateral (.6); correspond
                                                     with Milbank re cleansing and disclosure
                                                     related matters (.8); review issues relating to
                                                     propco/opco portfolios (.3).
06/16/20 Melissa D. Kalka                       7.20 Review and comment on multiple non
                                                     disclosure agreements and comments to
                                                     certain amendments to non disclosure
                                                     agreements (4.0); correspond with Lazard
                                                     (.7); correspond with J. Merrill (1.5);
                                                     correspond with M. Lipscomb (.2);
                                                     correspond with J. Ayer (.8).
06/16/20 Marc Anthony Lipscomb                  1.80 Review and revise non disclosure agreement
                                                     (1.6); correspond with M. Kalka re same (.2).
06/16/20 Joshua Merrill                         6.10 Review and revise marketing process non
                                                     disclosure agreements (4.2); review non
                                                     disclosure agreements related to data room
                                                     and disclosure issues and correspondence
                                                     with Lazard and K&E teams re the same
                                                     (1.9).
06/16/20 Colin Mize                             4.20 Review NDA (1.3); revise same (1.2);
                                                     correspond with J. Merrill re same (.7); draft
                                                     correspondence summary re same (1.0).
06/16/20 Nicholas Ruge                          1.60 Compile and prepare diligence for
                                                     independent directors (1.2); review and
                                                     analyze diligence for independent directors
                                                     (.3); correspond with E. Mossor re production
                                                     to independent directors (.1).
06/16/20 Nicholas Ruge                          2.80 Correspond with M. Slade and Y. French re
                                                     privilege issues in diligence requests from
                                                     independent directors (.1); research same (.2);
                                                     review and revise the Katten and Quinn
                                                     diligence spreadsheets (2.5).



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Date     Name                                  Hours Description
06/16/20 Logan Weissler                         0.50 Telephone conference with Milbank re 4-wall
                                                     profitability MNPI (.2); telephone conference
                                                     with L. Huynh re same (.2); correspond with
                                                     K&E team re same (.1).
06/16/20 Aparna Yenamandra                      0.80 Correspond with K&E team re independent
                                                     directors document requests.
06/17/20 Jeffrey Ayer                           0.70 Review documents for placement in data
                                                     room.
06/17/20 Tess Elizabeth Dennis                  0.50 Revise non disclosure agreement tracker (.3);
                                                     compile executed non disclosure agreements
                                                     (.2).
06/17/20 Key Hemyari                            2.00 Review and revise independent director
                                                     tracker and production folders (.9); draft
                                                     related correspondence and coordinate
                                                     distribution with K&E team (1.1).
06/17/20 Lanchi Huynh                           2.70 Review matters relating to 4-wall profitability
                                                     disclosures (.4); telephone conference with
                                                     Lazard, Alix and Company re same (.4);
                                                     review matters relating to disclosures required
                                                     by DIP credit agreement (1.1); correspond
                                                     with Milbank re cleansing and disclosure
                                                     related matters (.4); correspond with Lazard
                                                     re cleansing and disclosure related matters
                                                     (.4).
06/17/20 Melissa D. Kalka                       5.30 Correspond with Lazard re diligence requests,
                                                     non disclosure agreements and non disclosure
                                                     agreement amendments (2.4); correspond
                                                     with A. Glassman re non disclosure
                                                     agreement matters (.5); correspond with Alix
                                                     (.2); review and comment on non disclosure
                                                     agreements (.7); correspond with J. Merrill
                                                     (.6); correspond with J. Ayer re diligence
                                                     matters and clean-team agreement (.5);
                                                     review and comment on clean team
                                                     agreements (.4).
06/17/20 Marc Anthony Lipscomb                  0.50 Correspond with Z. Gajduskova, M. Kalka,
                                                     and C. Blevins re non disclosure agreements
                                                     re matters.
06/17/20 Lekha Menon                            0.20 Correspond with N. Ruge re independent
                                                     director document requests.




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Legal Services for the Period Ending June 30, 2020             Invoice Number:            1050032369
J.C. Penney Company, Inc.                                       Matter Number:               47223-3
Corp., Governance & Securities Matters

Date     Name                                  Hours Description
06/17/20 Joshua Merrill                         6.10 Review, analyze negotiation clean team
                                                     agreements, non disclosure agreement
                                                     amendments and non disclosure agreement
                                                     with counterparties involved in marketing
                                                     process (5.2); telephone conference with M.
                                                     Kalka re data room and competition issues
                                                     and correspondence re data room disclosures
                                                     (.9).
06/17/20 Jessie Perlman                         0.50 Correspond with advisor team re
                                                     intercompany claims.
06/17/20 Nicholas Ruge                          7.10 Correspond with B. O'Connor re privilege
                                                     issues re independent directors' diligence (.3);
                                                     correspond with K. Hemyari and E. Mossor re
                                                     diligence for independent directors (.8);
                                                     review and analyze diligence for independent
                                                     directors re attorney Company privilege (4.0);
                                                     research and compile responsive documents
                                                     to independent directors' diligence requests
                                                     (1.8); coordinate productions to independent
                                                     directors (.2).
06/17/20 Michael B. Slade                       0.70 Attend telephone conference with UCC team
                                                     re diligence.
06/17/20 Logan Weissler                         0.40 Telephone conference with Company re 4-
                                                     wall profitability information (.3); telephone
                                                     conference with L. Huynh re same (.1).
06/18/20 Jenn Betts                             0.50 Telephone conference with Milbank re
                                                     structuring update.
06/18/20 Tess Elizabeth Dennis                  0.50 Compile executed non disclosure agreements
                                                     (.2); revise non disclosure agreement tracker
                                                     (.3).
06/18/20 Key Hemyari                            3.00 Telephone conference with K&E team re JCP
                                                     independent director (1.0); review and revise
                                                     JCP independent director tracker and related
                                                     folders (2.0).
06/18/20 Lanchi Huynh                           1.30 Review matters relating to lease negotiations
                                                     disclosures (.6); correspond with K&E team
                                                     re cleansing related matters (.2); telephone
                                                     conference with Milbank re cleansing and
                                                     disclosure related matters (.5).




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Corp., Governance & Securities Matters

Date     Name                                  Hours Description
06/18/20 Melissa D. Kalka                       3.50 Correspond with L. Huynh, L. Weissler and J.
                                                     Merrill re non disclosure agreement and
                                                     cleansing material matters (1.0); correspond
                                                     with J. Merrill re non disclosure agreements
                                                     and diligence matters (.7); correspond with A.
                                                     Yenamandra re diligence matters (.3);
                                                     correspond with Lazard re non disclosure
                                                     agreements and data room access (.5); review
                                                     non disclosure agreements (.5); correspond
                                                     with Company re data room access and
                                                     diligence matters (.5).
06/18/20 Marc Anthony Lipscomb                  8.00 Research re general corporate legal news.
06/18/20 Christopher Marcus, P.C.               1.20 Telephone conference with board.
06/18/20 Marjorie Melicharek                    2.90 Compile materials re independent directors
                                                     productions.
06/18/20 Joshua Merrill                         6.30 Review non disclosure agreements
                                                     reconfidential information sharing (1.1);
                                                     correspond with M. Kalka, K&E team and
                                                     Lazard team re same (.8); review and revise
                                                     non disclosure agreement amendments, clean
                                                     team agreements and non disclosure
                                                     agreements with marketing process
                                                     counterparties (4.4).
06/18/20 Nicholas Ruge                          1.70 Correspond with K. Hemyari, E. Mossor and
                                                     W. Lawley re diligence requests (1.0); draft
                                                     instructions to M. Guzaitis and M. Melicharek
                                                     re production logs for independent directors'
                                                     productions (.5); review and reviset draft
                                                     correspondence by E. Mossor re diligence
                                                     collection for independent directors (.2).
06/18/20 Logan Weissler                         0.50 Telephone conference with L. Huynh re lease
                                                     negotiation cleansing (.3); correspond with
                                                     K&E team re same (.2).
06/18/20 Aparna Yenamandra                      1.60 Prepare for and attend board call (.5);
                                                     correspond with K&E team re various
                                                     blowout issues (1.1).
06/19/20 Tess Elizabeth Dennis                  0.50 Compile executed non disclosure agreements
                                                     (.2); correspond with K&E team re same (.3).
06/19/20 Lanchi Huynh                           2.10 Review matters relating to lease negotiations
                                                     disclosures (.5); telephone conference with J.
                                                     Goldman re lease negotiations (.4);
                                                     conference with Milbank re cleansing related
                                                     matters (.9); telephone conference with
                                                     Company re cleansing related matters (.3).

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J.C. Penney Company, Inc.                                      Matter Number:             47223-3
Corp., Governance & Securities Matters

Date     Name                                  Hours Description
06/19/20 Melissa D. Kalka                       4.60 Telephone conference re diligence requests
                                                     with Company (.5); correspond with J. Ayer
                                                     re clean team agreement comments and
                                                     various diligence requests (1.0); review and
                                                     comment on various non disclosure
                                                     agreements (.5); correspond with J. Sussberg
                                                     and A. Yenamandra re diligence requests and
                                                     various non disclosure agreement
                                                     amendments (1.0); review various non
                                                     disclosure agreements for amendment
                                                     purposes (1.0); correspond with J. Merrill
                                                     (.6).
06/19/20 Joshua Merrill                         5.00 Telephone conference with Lazard, Alix,
                                                     K&E team and Company re data room and
                                                     information requests (.4); telephone
                                                     conference with J. Ayer and M. Kalka re
                                                     clean team agreement (.3); telephone
                                                     conference with Lazard and Alix re data room
                                                     access (.4); draft summary of parties' rights
                                                     and obligations under non disclosure
                                                     agreements (1.0); prepare non disclosure
                                                     agreement amendments, clean team (1.0);
                                                     draft waiver (1.5); correspond with K&E team
                                                     re same (.4).
06/19/20 Adine Mitrani                          0.80 Telephone conference with K&E team re
                                                     open diligence questions (.3); telephone
                                                     conference with K&E team re status and next
                                                     steps (.5).
06/19/20 Jessie Perlman                         1.00 Telephone conference with K&E team re
                                                     current status (.5); correspond with K&E team
                                                     re intercompany claims and diligence (.5).
06/20/20 Tess Elizabeth Dennis                  0.30 Revise non disclosure agreement tracker.
06/21/20 Marjorie Melicharek                    1.00 Draft summary re independent director
                                                     production for attorney review.
06/22/20 Margaret R. Alden                      0.30 Correspond with Company, K&E team,
                                                     counsel re KYC re successor trustee.
06/22/20 Tess Elizabeth Dennis                  1.50 Revise disclosure statement (1.0); revise non
                                                     disclosure agreement tracker (.2); correspond
                                                     with K&E team re non disclosure agreements
                                                     (.3).
06/22/20 Key Hemyari                            2.00 Review and revise independent director
                                                     tracker and production folders (1.5); draft
                                                     related correspondence and coordinate
                                                     distribution of same to K&E team (.5).


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J.C. Penney Company, Inc.                                      Matter Number:              47223-3
Corp., Governance & Securities Matters

Date     Name                                  Hours Description
06/22/20 Melissa D. Kalka                       2.50 Correspond with Lazard re diligence requests
                                                     and non disclosure agreements (.6);
                                                     correspond with and review materials from
                                                     Alix (.4); review and comment on non
                                                     disclosure agreements (.5); correspond with J.
                                                     Merrill (.2); correspond with J. Ayer re
                                                     diligence matters and clean-team agreement
                                                     (.3); review data room and correspond with N.
                                                     Ruge re same (.5).
06/22/20 Joshua Merrill                         4.90 Review and revise non disclosure agreements
                                                     with various marketing process counterparties
                                                     (2.4); correspond with K&E team re executed
                                                     non disclosure agreements and review same
                                                     in connection therewith (1.2); correspond
                                                     with Lazard re marketing process, data room
                                                     and non disclosure agreements and review
                                                     same in connection therewith (1.3).
06/22/20 Colin Mize                             2.20 Review comments to form NDA (1.2); revise
                                                     same NDA (1.0).
06/22/20 Jessie Perlman                         1.00 Correspond with A. Mitrani and team re
                                                     intercompany claims diligence.
06/23/20 Tess Elizabeth Dennis                  0.50 Revise non disclosure agreement tracker.
06/23/20 Key Hemyari                            2.00 Review and revise Independent Director
                                                     Tracker and production folders and draft
                                                     related correspondence and coordinate
                                                     distribution.
06/23/20 Lanchi Huynh                           5.70 Review matters relating to disclosures
                                                     required by DIP credit agreement (1.4);
                                                     review and analyze issues relating to business
                                                     plan and delivery and disclosure of same
                                                     (1.7); telephone conference with Milbank re
                                                     cleansing related matters (1.3); conference
                                                     with JCP legal and accounting team re
                                                     monthly financials (.6); correspond with
                                                     Company re disclosure and cleansing
                                                     obligations (.7).
06/23/20 Melissa D. Kalka                       2.00 Correspond with Lazard re diligence requests
                                                     and non disclosure agreements (.3); review
                                                     and comment on non disclosure agreements
                                                     (.6); correspond with J. Merrill (.2);
                                                     correspond with K&E team re diligence
                                                     requests (.9).
06/23/20 Ryan D. McNamara                       0.70 Review, analyze and summarize precedent 8-
                                                     Ks re monthly operating reports.


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J.C. Penney Company, Inc.                                      Matter Number:              47223-3
Corp., Governance & Securities Matters

Date     Name                                  Hours Description
06/23/20 Joshua Merrill                         3.30 Review and revise non disclosure agreements
                                                     with marketing process counterparties (2.7);
                                                     correspond with counterparties re data room
                                                     and information requests received from
                                                     counterparties and review same (.6).
06/23/20 Colin Mize                             1.20 Review comments to form NDA (.5); revise
                                                     same (.4); correspond with J. Merrill and M.
                                                     Kalka re same (.3).
06/23/20 Jessie Perlman                         1.00 Telephone conference re intercompany IP
                                                     claims.
06/23/20 Logan Weissler                         3.00 Draft, review and revise monthly financials 8-
                                                     K (1.5); correspond with K&E team re
                                                     monthly reports, cleansing data and lease
                                                     rejections (1.0); telephone conference with
                                                     Company re same (.5).
06/24/20 Jeffrey Ayer                           1.70 Respond to clean room question (.4); resolve
                                                     clean team issues for potential bidder (1.3).
06/24/20 Tess Elizabeth Dennis                  3.50 Review and revise disclosure statement (3.0);
                                                     update non disclosure agreement tracker (.5).
06/24/20 Key Hemyari                            1.50 Review and revise independent director
                                                     tracker and production folders (1.0); draft
                                                     related correspondence and coordinate
                                                     distribution to K&E team re same (.5).
06/24/20 Lanchi Huynh                           7.10 Correspond with Milbank re cleansing related
                                                     matters (.4); telephone conference with
                                                     Milbank re cleansing matters (1.3); telephone
                                                     conference with Lazard re cleansing related
                                                     matters (.2); correspond with Company re
                                                     cleansing related matters (1.0); review and
                                                     revise 8-K re monthly financials (.5); review
                                                     matters relating to cleansing materials (2.9);
                                                     correspond with Company re monthly
                                                     financials (.2); review correspondence
                                                     relating to lender deliverables and milestones
                                                     (.4); review matters relating to lender non
                                                     disclosure agreement amendments (.2).




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J.C. Penney Company, Inc.                                      Matter Number:              47223-3
Corp., Governance & Securities Matters

Date     Name                                  Hours Description
06/24/20 Melissa D. Kalka                       4.50 Correspond with Lazard re diligence requests
                                                     (.3); review and comment on non disclosure
                                                     agreements and clean team agreements (.7);
                                                     correspond with J. Merrill (.2); correspond
                                                     with K&E team re diligence requests (.8);
                                                     review non disclosure agreements with
                                                     blowout provisions and correspond with A.
                                                     Yenamandra re disclosure dates in such non
                                                     disclosure agreements (.7); correspond with J.
                                                     Ayer re diligence matters and related clean
                                                     team agreements (.8); correspond with J.
                                                     Sussberg re clean team agreement (.7);
                                                     correspond with the Company re diligence
                                                     requests (.3).
06/24/20 Joshua Merrill                         6.40 Draft amendments to ad hoc group non
                                                     disclosure agreements (3.7); review and
                                                     revise clean team agreement (1.0); correspond
                                                     with Company and K&E team re same (.3);
                                                     and review and revise marketing process non
                                                     disclosure agreements (1.2); correspond with
                                                     K&E team re diligence requests (.2).
06/24/20 Benjamin O'Connor                      0.70 Attend telephone conference with Company
                                                     legal team re intercompany relationships,
                                                     claims.
06/24/20 Jessie Perlman                         1.50 Prepare for intercompany brand issues call
                                                     (.5); telephone conference with K&E team
                                                     attend intercompany brand issues call (1.0).
06/24/20 Nicholas Ruge                          0.10 Correspond with E. Mossor re diligence for
                                                     independent directors.
06/24/20 Seth Traxler, P.C.                     0.50 Review and analyze inter-Company claims.
06/24/20 Logan Weissler                         1.00 Review and revise monthly financials 8-K
                                                     (.7); correspond with K&E team re 8-K and
                                                     cleansing matters with Company (.3).
06/24/20 Aparna Yenamandra                      0.70 Correspond with K&E team re blowout
                                                     issues.
06/25/20 Jeffrey Ayer                           2.00 Resolve clean room issues for potential bidder
                                                     (.7); review documents for data room (1.3).
06/25/20 Jenn Betts                             1.30 Telephone conference with Milbank re
                                                     governance issues (.5); draft corporate
                                                     checklist (.8).
06/25/20 Tess Elizabeth Dennis                  0.50 Revise non disclosure agreement tracker.




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J.C. Penney Company, Inc.                                       Matter Number:              47223-3
Corp., Governance & Securities Matters

Date     Name                                  Hours Description
06/25/20 Key Hemyari                            1.50 Review and revise independent director
                                                     tracker and production folders (1.0); draft
                                                     related correspondence re same (.2);
                                                     telephone conference with K&E team re same
                                                     (.3).
06/25/20 Lanchi Huynh                           4.00 Correspond with Company re cleansing
                                                     related matters (.6); review Reg FD disclosure
                                                     issues (.2); review matters relating to lender
                                                     non disclosure agreements (.2); review
                                                     matters relating to cleansing materials (.4);
                                                     revise cleansing materials (.9); correspond
                                                     with K&E team re cleansing related matters
                                                     (.6); review and comment on 8-K relating to
                                                     quarterly financials (.4); telephone conference
                                                     with Milbank re cleansing related matters and
                                                     DIP roll-up (.7).
06/25/20 Melissa D. Kalka                       5.40 Correspond with Lazard re data room (.6);
                                                     correspond with L. Cordova and T. Krause re
                                                     real estate diligence requests (.2); review and
                                                     comment on non disclosure agreements (1.0);
                                                     correspond with C. Mize and J. Merrill re non
                                                     disclosure agreements (.7); correspond with J.
                                                     Ayer re data room requirements (.8);
                                                     correspond with L. Huynh (.3); correspond
                                                     with A. Yenamandra and Lazard re non
                                                     disclosure agreements and parties discussions
                                                     re a potential transaction (1.0); review
                                                     previously executed non disclosure
                                                     agreements and amendments (.8).
06/25/20 Joshua Merrill                         3.30 Telephone conference with marketing process
                                                     counterparties (1.1); review and revise non
                                                     disclosure agreements with marketing process
                                                     counterparties (2.2).
06/25/20 Colin Mize                             5.50 Telephone conference re NDA (.5); review
                                                     and revise NDA (2.1); correspond with J.
                                                     Merrill and M. Kalka re same (.4); review and
                                                     revise NDA (2.5).
06/25/20 Tana Ryan, P.C.                        2.50 Telephone conference with Milbank re status
                                                     (1.0); review and revise opco/propco checklist
                                                     (1.5).
06/25/20 Logan Weissler                         3.00 Draft, review and revise quarterly financials
                                                     8-K (1.2); review and revise monthly
                                                     financials 8-K (1.0); review cleansing issues
                                                     (.3); correspond with L. Huynh, Lazard and
                                                     Company re same (.5).

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J.C. Penney Company, Inc.                                       Matter Number:              47223-3
Corp., Governance & Securities Matters

Date     Name                                  Hours Description
06/25/20 Aparna Yenamandra                      0.70 Correspond with advisors re independent
                                                     director counsel update.
06/26/20 Jeffrey Ayer                           1.00 Resolve clean room issue for potential bidder.
06/26/20 Jenn Betts                             2.60 Telephone conference with K&E team re
                                                     transaction status (.5); correspond with K&E
                                                     team re emergence checklist (2.1).
06/26/20 Tess Elizabeth Dennis                  0.50 Compile executed non disclosure agreements
                                                     (.2); revise non disclosure agreement tracker
                                                     (.3).
06/26/20 Lanchi Huynh                           1.40 Revise 8-K with monthly financials.
06/26/20 Melissa D. Kalka                       2.80 Correspond with Company re clean team
                                                     access and agreements (.7); correspond with
                                                     Company re potential non disclosure
                                                     agreements (.5); correspond with Lazard re
                                                     data room (.3); correspond with L. Cordova
                                                     and T. Krause re real estate diligence requests
                                                     (.2); review and comment on non disclosure
                                                     agreements (.8); correspond with C. Mize
                                                     (.3).
06/26/20 Joshua Merrill                         1.80 Review and revise non disclosure agreements
                                                     (1.2); correspond with K&E team re data
                                                     room and diligence requests (.6).
06/26/20 Colin Mize                             1.00 Revise NDA (.8); correspond with D.
                                                     Zussman re same (.2).
06/26/20 Jessie Perlman                         0.50 Correspond with K&E team re intercompany
                                                     claims.
06/26/20 Tana Ryan, P.C.                        1.50 Follow up with same re opco/propco checklist
                                                     matters.
06/26/20 Logan Weissler                         2.00 Draft, review and revise 8-K and REIT
                                                     checklist (1.5); correspond with L. Huynh and
                                                     K&E team re same (.5).
06/26/20 Aparna Yenamandra                      0.50 Telephone counsel with independent directors
                                                     re update.
06/27/20 Jenn Betts                             1.70 Draft corporate checklist (1.2); telephone
                                                     conference with K&E team re corporate status
                                                     (.5).
06/27/20 Melissa D. Kalka                       0.50 Review comments to non disclosure
                                                     agreements (.3); correspond with Company re
                                                     coverage under existing non disclosure
                                                     agreements (.2).




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J.C. Penney Company, Inc.                                      Matter Number:              47223-3
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Date     Name                                  Hours Description
06/27/20 Colin Mize                             1.00 Review NDA (.6); correspond with K&E,
                                                     Lazard teams and potential bidder re same
                                                     (.2); correspond with the K&E, Lazard teams
                                                     and potential bidder re same (.2).
06/28/20 Jeffrey Ayer                           0.20 Email re all access data room (.1); review
                                                     documents for clean rooms (.1).
06/28/20 Melissa D. Kalka                       0.40 Review officer and authorized signatory list
                                                     and correspond with M. Alden re same (.2);
                                                     correspond with J. Ayer and Lazard re data
                                                     room (.2).
06/28/20 Michael B. Slade                       0.60 Review board minutes.
06/29/20 Meghan E. Guzaitis                     0.50 Prepare review of organizational and
                                                     corporate governance documents (.3)
                                                     conference with K&E team re same (.2).
06/29/20 Key Hemyari                            0.30 Coordinate diligence with Alix Partners.
06/29/20 Sophia Hudson, P.C.                    0.50 Telephone conference re REIT planning.
06/29/20 Lanchi Huynh                           1.60 Review correspondence relating to work in
                                                     process and milestones (.3); review DIP credit
                                                     agreement deliverable requirements (.4);
                                                     review and comment on press release relating
                                                     to quarterly financials (.6); correspond with
                                                     M. Alden re court status update slides (.3).
06/29/20 Melissa D. Kalka                       5.00 Correspond with J. Merrill (.7); correspond
                                                     with Company (1.4); review filing entity
                                                     D&O slates (.5); correspond with L. Huynh
                                                     (.6); review non disclosure agreement
                                                     amendments re disclosure requirements (.9);
                                                     correspond with Lazard (.4); correspond with
                                                     A. Yenamandra (.5).
06/29/20 Joshua Merrill                         2.90 Correspond with K&E team re Company
                                                     corporate structure and schedules (.2);
                                                     correspond with Company re same (.2);
                                                     facilitate order of corporate documents from
                                                     Delaware secretary of state (.2); review non
                                                     disclosure agreements and tracker re
                                                     provisions for disclosure of counterparty
                                                     names (1.1); review non disclosure
                                                     agreements to determine blowout triggers in
                                                     connection with DIP credit agreement (.9);
                                                     correspond with Company re replacement of
                                                     departed directors and officers (.3).
06/29/20 Aparna Yenamandra                      0.80 Correspond re blowout issues.
06/30/20 Jeffrey Ayer                           0.50 Attend to clean team issues.


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J.C. Penney Company, Inc.                                       Matter Number:              47223-3
Corp., Governance & Securities Matters

Date     Name                                  Hours Description
06/30/20 Jenn Betts                             0.50 Telephone conference with Quinn & Katten
                                                     re deal update.
06/30/20 Key Hemyari                            0.40 Correspond with AlixPartner re Coordinating
                                                     diligence with AlixPartners.
06/30/20 Melissa D. Kalka                       3.80 Correspond with Lazard re data room and
                                                     diligence requests from third parties (.8);
                                                     review and comment on non disclosure
                                                     agreements (.5); correspond with C. Mize
                                                     (.1); correspond with L. Huynh (.2);
                                                     correspond with J. Merrill (.7); review
                                                     formation documents for certain subsidiaries
                                                     (.6); review previously executed non
                                                     disclosure agreements for blowout provisions
                                                     (.3); correspond with Alix re non disclosure
                                                     agreements with factoring arrangements (.2);
                                                     correspond with J. Ayer (.4).
06/30/20 Joshua Merrill                         3.50 Correspond with K&E team re provisions in
                                                     non disclosure agreements and review same
                                                     (.6); correspond with K&E teams re corporate
                                                     structure (.3); review and revise marketing
                                                     process non disclosure agreements (1.7);
                                                     correspondence re data room and information
                                                     requests (.9).
06/30/20 Tana Ryan, P.C.                        1.00 Telephone conference with independent board
                                                     advisors re update (.5); follow up with K&E
                                                     team re same (.5).
06/30/20 Michael B. Slade                       1.00 Review board minutes.
06/30/20 Aparna Yenamandra                      2.30 Draft illustrative timelines re board materials
                                                     (1.1); correspond with K&E team re blowout
                                                     issues (1.2).

Total                                          976.30




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                          FEIN XX-XXXXXXX




September 15, 2020

J.C. Penney Company, Inc.
6501 Legacy Drive
Plano, TX 75024

Attn: Brandy Treadway

                                                                            Invoice Number: 1050032370
                                                                              Client Matter: 47223-4

In the Matter of RSA Amend. & Compliance/DIP Financing/Cash Collateral and Management




For legal services rendered through June 30, 2020
(see attached Description of Legal Services for detail)                                                   $ 1,618,310.00
Total legal services rendered                                                                             $ 1,618,310.00




  Beijing Boston Chicago Dallas Hong Kong Houston London Los Angeles Munich Palo Alto Paris San Francisco Shanghai Washington, D.C.
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J.C. Penney Company, Inc.                                    Matter Number:      47223-4
RSA Amend. & Compliance/DIP Financing/Cash
Collateral and Management




                                         Summary of Hours Billed

Name                                                     Hours         Rate     Amount
Margaret R. Alden                                          7.60      610.00     4,636.00
Matthew Antinossi                                          1.10    1,375.00     1,512.50
Mike Beinus, P.C.                                          6.70    1,745.00    11,691.50
Justin Bender                                              1.50    1,275.00     1,912.50
Lucas W. Brown                                            40.70      610.00    24,827.00
Chris Ceresa                                               2.00      610.00     1,220.00
Rebecca Blake Chaikin                                      8.00    1,085.00     8,680.00
Tiffany Lang Chau                                          2.40      255.00       612.00
Joseph A. Correia                                         25.30      445.00    11,258.50
Alistair Fatheazam                                         5.50      740.00     4,070.00
Julia R. Foster                                            1.20      340.00       408.00
Yates French                                              70.90    1,165.00    82,598.50
Austin Glassman                                          222.90    1,165.00   259,678.50
John Thomas Goldman                                       12.50    1,195.00    14,937.50
Jake William Gordon                                      176.80      845.00   149,396.00
Scott J. Gordon                                            1.80    1,645.00     2,961.00
Meghan E. Guzaitis                                        21.20      445.00     9,434.00
Jae Ha                                                    67.10      610.00    40,931.00
Key Hemyari                                                4.00      845.00     3,380.00
Paul Stephens Hendrickson                                 11.30      975.00    11,017.50
Walter S. Holzer, P.C.                                     0.30    1,465.00       439.50
Timothy Conor Hughes                                     266.70      965.00   257,365.50
Lanchi Huynh                                              19.80    1,305.00    25,839.00
Melissa D. Kalka                                           2.00    1,165.00     2,330.00
Anusheh Khoshsima                                          0.80      610.00       488.00
R.D. Kohut                                                 0.40    1,175.00       470.00
Nick Krislov                                             107.30      740.00    79,402.00
Aisha P. Lavinier                                          3.00    1,135.00     3,405.00
Shelby Nicole Lindholm                                     9.60      610.00     5,856.00
Christopher Marcus, P.C.                                  23.50    1,635.00    38,422.50
Christine S. Matott                                        0.30    1,195.00       358.50
Marjorie Melicharek                                       11.60      275.00     3,190.00

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RSA Amend. & Compliance/DIP Financing/Cash
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Name                                                      Hours         Rate        Amount
Lekha Menon                                                26.00      725.00       18,850.00
Adine Mitrani                                              15.00      965.00       14,475.00
David M. Nemecek, P.C.                                      3.70    1,565.00        5,790.50
Benjamin O'Connor                                          66.60      970.00       64,602.00
Thomas P. O'Connor                                          0.60    1,035.00          621.00
Carrie Therese Oppenheim                                    0.30      445.00          133.50
Miriam A. Peguero Medrano                                   0.50      740.00          370.00
Jessie Perlman                                              1.50      610.00          915.00
Jeffrey S. Quinn                                            1.40    1,375.00        1,925.00
Prentis Robinson                                           65.90      610.00       40,199.00
Nicholas Ruge                                              83.70      835.00       69,889.50
Drue A. Santora                                             0.20    1,175.00          235.00
Jonathan A. Schechter, P.C.                                 3.60    1,525.00        5,490.00
Edward J. Schneidman, P.C.                                  0.50    1,595.00          797.50
Matthew A. Schroth                                          3.60      740.00        2,664.00
Anthony Vincenzo Sexton                                     4.10    1,265.00        5,186.50
Michael B. Slade                                           30.20    1,395.00       42,129.00
Josh Sussberg, P.C.                                        40.30    1,635.00       65,890.50
Stephen G. Tomlinson, P.C.                                  3.00    1,535.00        4,605.00
Seth Traxler, P.C.                                          0.40    1,495.00          598.00
Gregory Tsonis                                             45.00      970.00       43,650.00
Josh Urban                                                  0.90      390.00          351.00
Allyson Smith Weinhouse                                     0.50      965.00          482.50
Lydia Yale                                                  1.10      275.00          302.50
Aparna Yenamandra                                         142.00    1,165.00      165,430.00

TOTALS                                                   1,676.40              $ 1,618,310.00




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                                       Description of Legal Services

Date     Name                                  Hours Description
05/15/20 Lucas W. Brown                         9.70 Review matter correspondence (1.0); draft
                                                     weekly case report (.6); correspond with K&E
                                                     team re same (.5); telephone conferences with
                                                     N. Krislov re DIP and cash collateral motion
                                                     (.5); review and revise cash collateral and DIP
                                                     motion (2.5); correspond with K&E team re
                                                     same (1.1); telephone conference with R.
                                                     Chaikin, K&E team and JW team re matter
                                                     status (.5); review and revise cash collateral
                                                     talking points (2.0); correspond with K&E
                                                     team re same (.3); revise WIP (.5); correspond
                                                     with K&E team re same (.2).
05/15/20 Yates French                           1.80 Telephone conference with K&E team re cash
                                                     collateral motion.
05/15/20 Austin Glassman                        6.00 Negotiate RSA, DIP and other transaction
                                                     terms (3.8); telephone conferences with
                                                     multiple constituents, Company, and advisors
                                                     re strategic discussions, negotiations (2.0);
                                                     correspond with Company re assistance in
                                                     Company management and credit compliance
                                                     (.2).
05/15/20 Jake William Gordon                    2.60 Telephone conferences with K&E team and
                                                     advisors re DIP and cash collateral issues.
05/15/20 Meghan E. Guzaitis                     5.50 Revise and compile exhibits for cash
                                                     collateral terms (2.5); correspond with K&E
                                                     team re edits to same after attorney
                                                     conferences with bankers and Company (2.0);
                                                     correspond with K&E team re edits to
                                                     declarations (1.0).
05/15/20 Jae Ha                                 4.00 Draft collateral questionnaire.
05/15/20 Key Hemyari                            4.00 Draft, review and revise debtor consents for
                                                     filing, RSA, DIP, collateral and professionals
                                                     (.5); draft omnibus consent for filing, RSA,
                                                     DIP (.5); review and revise signature packets
                                                     (.5); review and revise signature checklist
                                                     (.3); review all signature packets (.3); review
                                                     and revise petitions (.3); telephone
                                                     conferences re work in process (.5); review
                                                     received signatures and begin compiling
                                                     executed packets (.5); telephone conferences
                                                     with K&E team (.3); prepare for filing (.3).

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Date     Name                                  Hours Description
05/15/20 Timothy Conor Hughes                   20.70 Prepare comments to DIP term sheet,
                                                      commitment letter, DIP order, cash collateral
                                                      order (4.9); coordinate signature pages and
                                                      ancillary documents for filing (2.1);
                                                      coordinate completion of documents for filing
                                                      (3.3); analyze and prepare revised draft of
                                                      DIP motion (6.5); telephone conferences and
                                                      correspond re same (3.9).
05/15/20 Nick Krislov                           19.00 Draft, revise cash collateral and DIP financing
                                                      motion (5.3); telephone conference with K&E
                                                      team re same (1.7); draft, revise summary
                                                      terms chart (2.2); compile exhibits to cash
                                                      collateral and DIP financing motion (.5);
                                                      finalize cash collateral and DIP financing
                                                      motion for filing (.6); draft, revise talking
                                                      points (.9); correspond with K&E team re
                                                      same(.6); correspond with K&E team re
                                                      financing motion declaration (1.3); revise
                                                      cash collateral and DIP financing declaration
                                                      (1.4); review, analyze diligence and reporting
                                                      on cash collateral data (1.9); draft, revise cash
                                                      collateral checklist (1.2); revisecash collateral
                                                      and DIP financing motion for K&E team
                                                      comments (1.4).
05/15/20 Aisha P. Lavinier                       3.00 Review, analyze transaction process and
                                                      timeline (.5); telephone conferences with J.
                                                      Betts re same (.3); analyze restructuring
                                                      support agreement and restructuring term
                                                      sheet (1.2); prepare corporate governance
                                                      term sheet (1.0).
05/15/20 Christopher Marcus, P.C.                5.00 Telephone conference re cash collateral
                                                      strategy (.5); review hearing preparation and
                                                      negotiate cash collateral order (4.5).
05/15/20 Prentis Robinson                        2.00 Review, revise DIP and cash collateral
                                                      motion.
05/15/20 Nicholas Ruge                           3.20 Telephone conference with board of directors,
                                                      K&E team re DIP negotiation (1.1); review
                                                      and revise DIP motion (2.1).
05/15/20 Josh Sussberg, P.C.                     2.60 Telephone conference with K&E team,
                                                      advisors re financing (1.6); correspond with
                                                      same re covenants (.5); correspond with same
                                                      re cash collateral (.5).
05/15/20 Josh Urban                              0.90 Revise graphic exhibit to cash collateral
                                                      declaration chart.

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Date     Name                                  Hours Description
05/15/20 Aparna Yenamandra                      20.10 Draft and finalize final DIP term sheet (1.4);
                                                      correspond with K&E team re finalizing first
                                                      day motions for filing (2.9); correspond re
                                                      DIP fees and logistics re payment of same
                                                      (1.2); revise cash collateral order (1.9); attend
                                                      multiple board telephone conferences re filing
                                                      and prepare for same (1.4); revise slides re
                                                      same (.6); correspond re final
                                                      communications materials (.8); correspond re
                                                      cash collateral motion (1.1); prepare non
                                                      consensual cash collateral materials (3.0);
                                                      telephone conferences re consensual cash
                                                      collateral order (3.2); telephone conferences
                                                      re budget issues and milestones (2.6).
05/16/20 Lucas W. Brown                          0.40 Draft and revise talking points re cash
                                                      collateral and DIP (.3); correspond with K&E
                                                      team re same (.1).
05/16/20 Austin Glassman                         3.70 Negotiate cash collateral order with ABL
                                                      lenders and counsel (2.2); review and revise
                                                      cash collateral order in connection therewith
                                                      (1.5).
05/16/20 Jake William Gordon                     5.40 Correspond with various objectors re cash
                                                      collateral order (2.3); revise same (3.1).
05/16/20 Nick Krislov                            3.10 Revise financing motion (1.2); draft,revise
                                                      talking points for same (1.6); correspond with
                                                      K&E team re financing motion (.3).
05/16/20 David M. Nemecek, P.C.                  0.20 Review cash collateral order and
                                                      correspondence related thereto.
05/16/20 Josh Sussberg, P.C.                     1.20 Telephone conferences re cash collateral.
05/16/20 Aparna Yenamandra                       1.90 Telephone conference with K&E team re final
                                                      cash collateral order (1.2); correspond with
                                                      same re same (.7).
05/17/20 Margaret R. Alden                       4.20 Review, analyze deal documents re Company
                                                      milestones (2.5); draft internal memorandum
                                                      re same (1.5); correspond with Lazard, Alix,
                                                      K&E teams re same (.2).
05/17/20 Lanchi Huynh                            5.00 Revise 8-K and exhibits relating to RSA, DIP
                                                      and cleansing materials.
05/17/20 Nicholas Ruge                           0.50 Review and analyze Y. French analysis of
                                                      potential objections by creditor groups to DIP
                                                      proposal (.3); telephone conference with Y.
                                                      French re same (.2).


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Date     Name                                  Hours Description
05/17/20 Michael B. Slade                       0.50 Correspond with K&E team re DIP discovery.
05/18/20 Lucas W. Brown                         0.70 Draft and revise summary work in process re
                                                     DIP (.5); correspond with K&E team re same
                                                     (.2).
05/18/20 Yates French                           4.70 Coordinate production of documents in
                                                     advance of contested DIP hearing (2.7);
                                                     research re DIP hearing (1.0); review loan
                                                     documents re creditor standing (1.0).
05/18/20 Austin Glassman                        2.60 Correspond with K&E team re deliverables
                                                     for DIP credit agreement (.7); review
                                                     intercreditor agreements and related
                                                     documents re DIP objections (.7); correspond
                                                     re DIP objections and competing DIP
                                                     proposals with K&E team and related
                                                     advisors (1.2).
05/18/20 Jake William Gordon                    5.60 Telephone conference with K&E team re cash
                                                     collateral issues (.2); research issues re same
                                                     (2.6); revise pleadings re same (2.2);
                                                     correspond with K&E team re same (.6).
05/18/20 Meghan E. Guzaitis                     3.20 Telephone conferences with K&E team re
                                                     DIP (1.6); research re external email domains
                                                     formats for collection use (.5); telephone
                                                     conference re coding panel for document
                                                     review (.2); compile precedent case DIP
                                                     materials for attorney review (.5); review
                                                     materials collected to be batched out for
                                                     attorney review (.4).
05/18/20 Jae Ha                                 2.80 Revise collateral questionnaire, DIP schedules
                                                     and lien summary (2.7); correspond with
                                                     Company re same (.1).
05/18/20 Timothy Conor Hughes                   7.50 Prepare revised drafts of credit agreement
                                                     schedules (2.0); analyze lien search results
                                                     and provide summary of same (.3); telephone
                                                     conference and correspond re intercreditor
                                                     arrangements and DIP objection rights of
                                                     various creditors (4.6); draft chart re
                                                     intercreditor rights (.6).
05/18/20 Nick Krislov                           7.40 Revise DIP order (4.4); research, analyze
                                                     precedent re same (2.1) correspond with J.
                                                     Gordon, A. Yenamandra re same (.9).
05/18/20 Christopher Marcus, P.C.               1.00 Correspond with K&E team re DIP.




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Date     Name                                  Hours Description
05/18/20 Lekha Menon                            3.80 Research re DIP objections rights (2.3);
                                                     review, analyze DIP precedent (1.0);
                                                     telephone conference with M. Slade, Y.
                                                     French, K&E team re DIP objections (.5).
05/18/20 David M. Nemecek, P.C.                 0.50 Telephone conference re various DIP
                                                     financing workstreams.
05/18/20 Benjamin O'Connor                      0.40 Review and analyze conditions precedent to
                                                     obtaining second tranche of DIP financing.
05/18/20 Benjamin O'Connor                      1.90 Telephone conference with Y. French, N.
                                                     Ruge and L. Menon re DIP objection process
                                                     (.2); review correspondence re DIP financing
                                                     process (.1); telephone conference with M.
                                                     Slade, Y. French, N. Ruge and L. Menon re
                                                     DIP financing process (.3); review and
                                                     analyze K&E correspondence re DIP
                                                     financing process in preparation for
                                                     production to ad hoc crossover group (1.3).
05/18/20 Carrie Therese Oppenheim               0.30 Research precedent re DIP declarations.
05/18/20 Prentis Robinson                       2.30 Draft summary chart re obligations pursuant
                                                     to proposed DIP credit agreement.
05/18/20 Nicholas Ruge                          4.50 Review document collection re DIP
                                                     negotiation process.
05/18/20 Nicholas Ruge                          2.60 Telephone conference with M. Slade re DIP
                                                     objection prep (.5); analyze R. Shah
                                                     declaration (.3); coordinate research re DIP
                                                     Declarations (.1); review and analyze
                                                     Evercore DIP declarations and draft analysis
                                                     for Y. French (.3); draft litigation work
                                                     streams (.2); analyze precedent timelines on
                                                     DIP negotiation processes (.2); correspond
                                                     with K&E team re DIP negotiation timeline
                                                     (.2); analyze conditions precedent to
                                                     subsequent borrowings chart (.1); prepare
                                                     table comparing Evercore DIPs to ours (.2);
                                                     summarize corporate's analysis of creditor
                                                     objections to DIP (.5).
05/18/20 Michael B. Slade                       1.60 Telephone conferences re DIP issues with
                                                     K&E team (.7); review materials re DIP
                                                     impact on indentures (.9).
05/18/20 Josh Sussberg, P.C.                    0.30 Correspond re DIP hearing.




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Date     Name                                  Hours Description
05/18/20 Gregory Tsonis                          3.20 Telephone conference re DIP objection prep
                                                      (.5); review and analyze documents related to
                                                      DIP financing (1.9); draft summary of key
                                                      points (.8).
05/18/20 Allyson Smith Weinhouse                 0.50 Review, analyze consignment provision of
                                                      cash collateral order (.3); correspond with
                                                      Alix re same (.2).
05/18/20 Aparna Yenamandra                       2.00 Telephone conference re DIP objection prep
                                                      (.8); telephone conference with J. Gordon re
                                                      DIP reply re same (.4); correspond re DIP
                                                      order and CA (.8).
05/19/20 Austin Glassman                         2.80 Conferences with Company and advisors re
                                                      upcoming payments (.5); coordination and
                                                      correspond with advisors and K&E team re
                                                      competing DIPs and DIP objections (1.0);
                                                      review and discuss cash collateral order
                                                      provisions and related DIP provisions (.7);
                                                      coordinate K&E team re drafting of DIP
                                                      operative and deliverable documents (.6).
05/19/20 Jake William Gordon                    10.10 Revise declaration re DIP (1.4); review
                                                      analyze terms re same (3.4); research case law
                                                      re same (1.6); correspond with K&E team re
                                                      same (1.2); review DIP pleadings (2.5).
05/19/20 Meghan E. Guzaitis                      3.00 Conferences with team re collection of
                                                      correspondence re negotiation of DIP for
                                                      attorney review (1.2); search for email
                                                      domains formats to be removed from
                                                      document review (1.0); review materials
                                                      collected to be batched out for attorney
                                                      review (.8).
05/19/20 Timothy Conor Hughes                    8.00 Analyze borrowing base mechanics re
                                                      restructuring (.3); coordinate completion of
                                                      DIP schedules (1.5); analyze DIP proposal
                                                      (1.6); analysis, internal conferences and
                                                      correspondence re intercreditor arrangements
                                                      (2.5); coordinate preparation of ancillary DIP
                                                      documents (2.1).
05/19/20 Lanchi Huynh                            1.00 Conference with K&E team re DIP
                                                      participation.
05/19/20 Lanchi Huynh                            0.30 Analyze issues relating to DIP participation.
05/19/20 Nick Krislov                            3.20 Compile DIP order objection tracker (.4);
                                                      update, revise DIP order (2.1); correspond
                                                      with K&E team re same (.7).

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Date     Name                                  Hours Description
05/19/20 Benjamin O'Connor                       1.00 Telephone conference with A. Yenamandra,
                                                      M. Slade, Y. French, A. Glassman, T.
                                                      Hughes, and J. Gordon re effect of
                                                      intercreditor agreements on DIP proposal and
                                                      potential objections to DIP financing
                                                      proposal.
05/19/20 Benjamin O'Connor                       6.10 Telephone conference with M. Slade, Y.
                                                      French, N. Ruge and L. Menon re review and
                                                      analysis of K&E correspondence re DIP
                                                      financing process (.3); review and analyze
                                                      K&E correspondence re DIP financing
                                                      process in preparation for production to Ad
                                                      Hoc Crossover Group (5.6); telephone
                                                      conference and correspond with N. Ruge and
                                                      L. Menon re responsiveness of K&E
                                                      correspondence to potential documents
                                                      requests re DIP financing (.2).
05/19/20 Jeffrey S. Quinn                        0.20 Review DIP proposal.
05/19/20 Prentis Robinson                        7.40 Research precedent re non-ordinary course
                                                      payment (3.8); prepare summaries re same
                                                      (3.1); correspond with L. Brown re same (.5).
05/19/20 Nicholas Ruge                          11.00 Review correspondence from K&E team to
                                                      lenders and advisers re DIP negotiation
                                                      process (3.9); analyze re same (3.9); prepare
                                                      for DIP objections and document requests
                                                      (3.2).
05/19/20 Nicholas Ruge                           0.80 Research for Y. French questions re DIP
                                                      objections (.3); telephone conference with A.
                                                      Glassman and K&E team re intercreditor
                                                      agreement re DIP objections (.5).
05/19/20 Michael B. Slade                        3.00 Telephone conference re document review
                                                      (.5); review, analyze discovery and diligence
                                                      materials and review same (1.3); telephone
                                                      conference re proposed DIP and potential
                                                      objections and review materials re same (1.2).
05/19/20 Josh Sussberg, P.C.                     0.50 Correspond re DIP and status.
05/19/20 Aparna Yenamandra                       1.10 Revise DIP order.




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Date     Name                                  Hours Description
05/20/20 Austin Glassman                         3.80 Correspond with Milbank and K&E teams re
                                                      DIP materials, deliverables and credit
                                                      agreement (.5); review and revise operative
                                                      and ancillary DIP documents (1.2); review
                                                      and discuss with DIP budget and related
                                                      materials with Alix team (.7); review and
                                                      revise board materials relating to DIP status
                                                      and competing proposals (1.4).
05/20/20 Jake William Gordon                    10.20 Correspond with K&E team re DIP analysis
                                                      (.4); review, analyze term sheets (1.3);
                                                      research case law re ongoing issues (2.3);
                                                      correspond with Lazard re same (.4); analyze
                                                      Cash collateral order re requirements (1.6);
                                                      revise declarations (1.2); correspond with
                                                      K&E team re same (.2); review, research
                                                      issues re DIP analysis (2.8).
05/20/20 Meghan E. Guzaitis                      1.00 Review documents re negotiation of DIP for
                                                      potential production (.5) search for email
                                                      domains formats to be removed from
                                                      document review (.2) review materials
                                                      collected to be batched out for attorney
                                                      review (.3).
05/20/20 Timothy Conor Hughes                    5.00 Analyze DIP proposals and prepare board
                                                      materials re same (2.0); coordinate
                                                      completion of lender legal diligence (.5);
                                                      prepare comments to DIP order (2.5).
05/20/20 Lanchi Huynh                            0.50 Review DIP proposals.
05/20/20 Melissa D. Kalka                        2.00 Correspond and comment on work in process
                                                      checklist (.5), review and comment on real
                                                      estate milestones checklist (.5), review RSA
                                                      and related term sheet re real estate
                                                      milestones checklist (.8); correspond with T.
                                                      Dennis re same (.2).
05/20/20 Nick Krislov                            4.30 Update, revise DIP order (3.1); review,
                                                      analyze precedent re roll up language (.8);
                                                      correspond with K&E team re DIP order (.4).
05/20/20 Christopher Marcus, P.C.                2.50 Correspond with K&E team re DIP.
05/20/20 Benjamin O'Connor                       4.80 Review and analyze internal K&E
                                                      correspondence re DIP financing process.
05/20/20 Nicholas Ruge                           1.30 Draft timeline of DIP negotiations in
                                                      preparation for objections to DIP.




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Date     Name                                  Hours Description
05/20/20 Nicholas Ruge                          5.60 Review and analyze correspondence from
                                                     K&E team to lenders re DIP and cash
                                                     collateral in preparation for RFPs and
                                                     objections to DIP.
05/20/20 Michael B. Slade                       1.00 Correspondence re DIP and review materials
                                                     re same.
05/20/20 Josh Sussberg, P.C.                    3.20 Telephone conference with management and
                                                     advisors re matter update (.8); correspond
                                                     with stakeholders (1.6); telephone conference
                                                     with Milbank, DB and Houlihan (.8).
05/20/20 Gregory Tsonis                         4.90 Correspond with K&E team re DIP objection
                                                     and projects (.6); review and analyze DIP
                                                     proposals and draft summary (4.3).
05/20/20 Lydia Yale                             0.10 Research re precedent DIP order and
                                                     distribute same.
05/20/20 Aparna Yenamandra                      3.50 Telephone conference with first lien lenders
                                                     re DIP issues (.6); correspond with K&E team
                                                     re DIP research and intercreditor analysis (.8);
                                                     correspond with Lazard re competing DIP
                                                     proposal (.9); correspond re document
                                                     requests (.7); correspond re DIP funding (.5).
05/21/20 Tiffany Lang Chau                      0.30 Research and review of closing checklist re
                                                     drafting signature pages.
05/21/20 Joseph A. Correia                      0.80 Review checklist and status re signature pages
                                                     as per T. Hughes and J. Ha (.5); telephone
                                                     conference with K&E team re same (.3).
05/21/20 Austin Glassman                        2.40 Conferences with advisors, K&E and cross-
                                                     over group counsel re competing DIP options
                                                     and evaluation in connection therewith (.8);
                                                     discussions re DIP proposals and objection
                                                     defenses (.7); review credit documents and
                                                     prepare work product re competing DIP and
                                                     objection rights (.5); coordination and
                                                     management of K&E team re preparation and
                                                     completion of schedules and deliverable
                                                     documents (.4).
05/21/20 Jake William Gordon                    8.80 Review, revise DIP order (1.2); analyze case
                                                     law re same (1.3); correspond with K&E team
                                                     re same (.6); analyze, revise declarations
                                                     (1.8); revise analyze diligence re competing
                                                     DIP (1.1); correspond with K&E team re
                                                     same (.7); analyze cash collateral and DIP
                                                     research (2.1).

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Date     Name                                  Hours Description
05/21/20 Jae Ha                                 1.80 Review closing checklist and determine non-
                                                     debtor credit parties (.3); comment on same
                                                     (.8); determine list of debt deliverables and
                                                     potential changes to DIP credit agreement
                                                     (.3); review and respond to Company
                                                     correspondence re lien summary (.4).
05/21/20 Paul Stephens Hendrickson              0.10 Correspond with K&E team re draft DIP
                                                     credit agreement.
05/21/20 Timothy Conor Hughes                   8.20 Correspondence re DIP order and adequate
                                                     protection (2.6); analysis of board materials re
                                                     DIP proposals (.4); coordinate preparation of
                                                     signature pages (.3); analyze and prepare
                                                     comments to draft closing checklist (1.4);
                                                     correspondence re term loan agency transfer
                                                     (.2); analyze and conference re intercreditor
                                                     arrangements (2.3); coordinate completion of
                                                     lender diligence (.5); coordinate preparation
                                                     of resolutions and signature pages relating to
                                                     DIP financing (.5).
05/21/20 Lanchi Huynh                           1.20 Review DIP proposals (.5); conference with
                                                     K&E team re DIP proposals (.7).
05/21/20 Nick Krislov                           3.40 Update, revise DIP order (2.3); research,
                                                     analyze issues re DIP order carve out
                                                     precedent (.5); correspond with K&E team re
                                                     DIP order updates (.6).
05/21/20 Christopher Marcus, P.C.               1.00 Review DIP matters.
05/21/20 Lekha Menon                            1.30 Review, revise DIP negotiation time line (.5);
                                                     research re DIP precedent (.8).
05/21/20 David M. Nemecek, P.C.                 0.50 Telephone conference re AlixPartners issues
                                                     and DIP challenge.
05/21/20 Benjamin O'Connor                      2.40 Review and analyze K&E correspondence re
                                                     DIP financing process in preparation for
                                                     production to ad hoc crossover group (1.5);
                                                     summarize relevant documents from review
                                                     (.5); correspond with M. Slade, Y. French, N.
                                                     Ruge and L. Menon re responsiveness of
                                                     documents to ad hoc crossover group's
                                                     document requests (.4).
05/21/20 Benjamin O'Connor                      0.90 Review, analyze and revise timeline of DIP
                                                     marketing process in preparation for DIP
                                                     objection hearing.




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Date     Name                                  Hours Description
05/21/20 Michael B. Slade                       1.00 Telephone conference re DIP issues (.5);
                                                     telephone conference with Strook team and
                                                     holders re DIP proposal (.5).
05/21/20 Gregory Tsonis                         5.60 Review, analyze, and edit Kurtz declaration
                                                     and supporting documents.
05/21/20 Lydia Yale                             0.30 Research re indenture trustee agreement
                                                     precedent.
05/21/20 Aparna Yenamandra                      4.20 Telephone conference with K&E team re DIP
                                                     proposals (.7); telephone conference with
                                                     same, Stroock re DIP (.8); revise DIP order
                                                     (1.1); correspond with Alix re DIP fee
                                                     estimates (.6); review and revise DIP carveout
                                                     (.4); telephone conference re AP
                                                     considerations (.6).
05/22/20 Yates French                           1.00 Telephone conference re DIP financing.
05/22/20 Austin Glassman                        6.20 Telephone conference with Lazard and Alix
                                                     re equity cushion (.7); discussions and
                                                     coordination re letters of credit (.2);
                                                     correspond with K&E team re scheduling in
                                                     connection with DIP credit agreement (.5);
                                                     coordination and management of K&E team
                                                     re DIP documentation and deliverables (.4);
                                                     conferences with AlixPartners re reporting
                                                     (.2); review and revise DIP credit agreement
                                                     and correspond with K&E team and advisors
                                                     re same (3.4); discussions re competing DIP
                                                     proposals and legal arguments/defenses (.4);
                                                     correspond with K&E team re corporate
                                                     governance (.2); review of borrowing base
                                                     (.2).
05/22/20 Jake William Gordon                    7.10 Review, analyze equity cushion issues (.8);
                                                     telephone conference with K&E team and
                                                     Alix and Lazard re same (1.1); review,
                                                     analyze competing DIP issues (2.1); review
                                                     DIP order and credit agreement (1.2);
                                                     correspond with K&E team re same (.8);
                                                     telephone conference with Lazard re DIP
                                                     marketing (.8); draft declaration (.3).
05/22/20 Meghan E. Guzaitis                     4.00 Correspond with K&E team re production of
                                                     correspondence related to negotiation of DIP
                                                     (1.5); review materials to be produced and
                                                     quality control same (1.8); prepare production
                                                     letter re same (.3); upload to FTP and produce
                                                     same (.4).

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Date     Name                                  Hours Description
05/22/20 Jae Ha                                 7.50 Prepare list of credit parties and jurisdictions
                                                     for compiled .zip file of organizational
                                                     documents (.3); review and coordinate across
                                                     teams to ascertain missing documents and
                                                     unexecuted versions of limited liability
                                                     Company agreements (.7); review and prepare
                                                     punch list of debt deliverables per Milbank's
                                                     draft of credit agreement (.7); incorporate
                                                     Company comments to collateral
                                                     questionnaire and DIP schedules (1.0); draft
                                                     funding notice (.6); draft officer's certificate
                                                     (.8); draft omnibus resolutions (3.4).
05/22/20 Timothy Conor Hughes                   5.70 Coordinate setup of DIP proceeds accounts
                                                     (.4); coordinate completion of DIP schedules
                                                     (.2); analyze and prepare comments to term
                                                     loan successor agent agreement (1.7);
                                                     coordinate preparation of signature pages (.2);
                                                     conferences and correspondence re
                                                     intercreditor arrangements and DIP proposals
                                                     (2.5); coordinate preparation of ancillary DIP
                                                     documents (.2); analyze initial draft of DIP
                                                     credit agreement (.5).
05/22/20 Nick Krislov                           0.90 Telephone conference with K&E team,
                                                     Lazard team re DIP financing (.6); update,
                                                     revise DIP order objection chart (.3).
05/22/20 Shelby Nicole Lindholm                 3.40 Review formation and governing documents
                                                     of JCP entities for opinion diligence (.8);
                                                     correspond with K&E team re same (.2);
                                                     review and revise opinion diligence chart (.9);
                                                     revise credit agreement (.6); review credit
                                                     agreement to determine reporting and budget-
                                                     related provisions, and compile list of relevant
                                                     provisions (.9).
05/22/20 Lekha Menon                            3.90 Research re DIP terms.
05/22/20 Prentis Robinson                       7.00 Research re consent and DIP financing (3.9);
                                                     prepare summary re same (2.8); correspond
                                                     with J. Gordon re same (.3).
05/22/20 Nicholas Ruge                          2.20 Correspond with M. Weitz, M. Slade, A.
                                                     Yenamandra re adequate protection issues
                                                     with term loans and first liens (1.0); analyze
                                                     and provide feedback to L. Menon on chart
                                                     comparing DIP terms (.2); review and revise
                                                     responses to requests for production from
                                                     crossover group (1.0).

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Date     Name                                  Hours Description
05/22/20 Michael B. Slade                        1.10 Review, analyze DIP issues.
05/22/20 Josh Sussberg, P.C.                     2.10 Update telephone conference with
                                                      management (.6); participate in board
                                                      telephone conference (.7); correspond re DIP
                                                      and next steps (.8).
05/22/20 Gregory Tsonis                          4.20 Correspond with M. Weitz and K&E team re
                                                      DIP marketing process (.6); draft summary of
                                                      telephone conference (.8); draft agenda for
                                                      Kurtz telephone conference (.4); review and
                                                      analyze Kurtz declaration and DIP proposal
                                                      documents (1.7); review, analyze and edit
                                                      Kurtz declaration (.7).
05/22/20 Aparna Yenamandra                       3.80 Telephone conference re adqate protection
                                                      issues (.8); correspond re DIP funding issues
                                                      (.6); correspond re priming research (.4);
                                                      telephone conference with A. Glassman re
                                                      lien issues (.5); correspond with various LLs
                                                      re DIP issues (.8); telephone conference with
                                                      Lazard re crossover proposal (.7).
05/23/20 Rebecca Blake Chaikin                   0.40 Telephone conference with K&E team,
                                                      Lazard re DIP financing.
05/23/20 Austin Glassman                        11.70 Discussions with advisors, K&E team and
                                                      Company in connection with DIP financing
                                                      and case strategy (3.2); correspondence re
                                                      comments and negotiations related to DIP
                                                      financing and competing financing proposals
                                                      (.8); coordinate K&E team and case
                                                      management (.5); review, revise and analyze
                                                      credit agreement and related operative and
                                                      ancillary documents (7.2).
05/23/20 John Thomas Goldman                     2.00 Review and discuss DIP credit agreement.
05/23/20 Jake William Gordon                     3.60 Review, revise DIP order (2.4); correspond
                                                      with K&E team re same (.2); review DIP
                                                      objections (1.0).
05/23/20 Timothy Conor Hughes                    7.20 Coordinate specialist comments to credit
                                                      agreement and prepare revised draft of same
                                                      (6.2); analyze existing debt documents in
                                                      relation to DIP proposals (.6); coordinate
                                                      completion of legal diligence and signature
                                                      pages (.4).
05/23/20 Christopher Marcus, P.C.                0.50 Telephone conference with K&E team,
                                                      Lazard and AlixPartners re DIP.


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Date     Name                                  Hours Description
05/23/20 David M. Nemecek, P.C.                 0.30 Correspond and telephone conference with A.
                                                     Glassman re DIP.
05/23/20 Michael B. Slade                       0.50 Telephone conference with K&E and Lazard
                                                     teams re DIP issues.
05/23/20 Josh Sussberg, P.C.                    0.70 Telephone conference with Lazard and K&E
                                                     team re alternative DIP and next steps (.4);
                                                     telephone conference with D. Dunne and A.
                                                     LeBlanc re DIP (.3).
05/23/20 Aparna Yenamandra                      3.30 Telephone conference with K&E team,
                                                     Lazard re DIP proposal (.7); revise same (.8);
                                                     correspond re same (.6); telephone conference
                                                     with K&E team re DIP milestones (.4);
                                                     correspond with Alix re carveout funding (.8).
05/24/20 Rebecca Blake Chaikin                  0.40 Telephone conference with Strook re DIP
                                                     financing.
05/24/20 Austin Glassman                        6.50 Telephone conferences with advisors, K&E
                                                     team and Company re DIP financing and case
                                                     strategy (1.5); correspondence re comments
                                                     and negotiations related to DIP financing and
                                                     competing financing proposals (1.0);
                                                     coordination of K&E team and case
                                                     management (.6); review, revise and analyze
                                                     credit agreement and related operative and
                                                     ancillary documents (3.4).
05/24/20 John Thomas Goldman                    3.00 Review and provide comments to DIP credit
                                                     agreement.
05/24/20 Jake William Gordon                    3.20 Review, revise DIP pleadings (1.8); research
                                                     issues re same (1.4).
05/24/20 Timothy Conor Hughes                   8.50 Prepare revised draft of credit agreement
                                                     (4.4); correspond and conferences with
                                                     Company advisors re same (4.1).
05/24/20 Anusheh Khoshsima                      0.30 Review credit agreement.
05/24/20 Nick Krislov                           0.90 Update, revise DIP order objection tracker
                                                     (.3); analyze objections re same (.4);
                                                     correspond with J. Gordon re same (.2).
05/24/20 Christopher Marcus, P.C.               0.50 Telephone conference with Stroock re status.
05/24/20 David M. Nemecek, P.C.                 0.20 Telephone conference with Stroock re status.
05/24/20 Anthony Vincenzo Sexton                0.20 Review and revise DIP documents re tax
                                                     issues.




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Date     Name                                  Hours Description
05/24/20 Josh Sussberg, P.C.                     1.30 Telephone conference with Stroock re DIP
                                                      mark-up (.4); correspond re DIP status (.2);
                                                      telephone conference with BRG (.4);
                                                      telephone conference with C. Hershkoff (.3).
05/24/20 Aparna Yenamandra                       3.80 Telephone conference re admin allocation
                                                      (.7); correspond re DIP markup (.5); revise
                                                      same (.7); correspond re stub rent (.5); review
                                                      and revise DIP credit agreement (1.4).
05/25/20 Matthew Antinossi                       0.70 Review and revise DIP agreement (.5);
                                                      correspond with K&E team re same (.2).
05/25/20   Mike Beinus, P.C.                     1.20 Review DIP matters and related analysis.
05/25/20   Lucas W. Brown                        0.20 Correspond with K&E team re DIP.
05/25/20   Rebecca Blake Chaikin                 0.30 Review comments to credit agreement.
05/25/20   Austin Glassman                      12.30 Review, revise, analyze and negotiate
                                                      operative and ancillary documents including
                                                      DIP credit agreement (3.9); review pleadings
                                                      and case related materials re DIP financing
                                                      and cash collateral matters (3.9); coordinate
                                                      and correspond with K&E team (2.3);
                                                      telephone conferences with advisors re
                                                      competing DIP proposals, negotiations and
                                                      related matter (2.2).
05/25/20 Jake William Gordon                     6.20 Research, analyze DIP issues (2.9); revise
                                                      DIP objections (1.4); correspond with K&E
                                                      team re same (.8); revise DIP order re same
                                                      (1.1).
05/25/20 Jae Ha                                  0.50 Review requirements for insurance
                                                      deliverables in DIP credit and guaranty
                                                      agreement.
05/25/20 Paul Stephens Hendrickson               4.50 Correspond with K&E team re draft DIP
                                                      credit agreement (.3); review, analyze and
                                                      mark up same with tax comments (3.9);
                                                      correspond with A. Sexton re same (.3).
05/25/20 Timothy Conor Hughes                   14.80 Prepare revised draft of credit agreement
                                                      (2.5); conferences with Company advisors
                                                      and K&E team re credit agreement and cases
                                                      (4.3); correspond and conferences with
                                                      Company advisors re DIP financing and
                                                      process-related items (4.0); correspond and
                                                      conferences re DIP order and adequate
                                                      protection (2.5); coordinate completion of
                                                      ancillary DIP documents (1.5).


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Date     Name                                  Hours Description
05/25/20 R.D. Kohut                             0.20 Review credit agreement revisions.
05/25/20 Nick Krislov                           0.70 Correspond with K&E team re DIP objections
                                                     (.2); review, analyze updated DIP order
                                                     provisions (.3); review, analyze DIP reply
                                                     overview (.2).
05/25/20 Adine Mitrani                          2.00 Review and mark-up DIP credit agreement.
05/25/20 David M. Nemecek, P.C.                 0.50 Telephone conference with advisors re term
                                                     loan DIP and response on open issues.
05/25/20 Jeffrey S. Quinn                       0.60 Review DIP agreement (.3); comment re same
                                                     (.3).
05/25/20 Prentis Robinson                       3.00 Review, analyze precedent re consignment
                                                     provisions (1.9); prepare summary re same
                                                     (.8); correspond with J. Gordon re same (.3).
05/25/20 Nicholas Ruge                          0.10 Correspond with M. Weitz re timeline of DIP
                                                     negotiation process.
05/25/20 Anthony Vincenzo Sexton                0.70 Review and revise DIP documents re tax
                                                     issues.
05/25/20 Michael B. Slade                       0.50 Telephone conference re DIP workstreams.
05/25/20 Josh Sussberg, P.C.                    1.40 Touch base telephone conference with
                                                     management (.4); telephone conference with
                                                     Lazard, K&E team and Alix re DIP comments
                                                     (.5); telephone conference with M. Sirotta
                                                     (.2); telephone conference with A.
                                                     Yenamandra, M. Slade and C. Marcus re
                                                     status and next steps (.3).
05/25/20 Aparna Yenamandra                      1.00 Telephone conference re DIP toggle (.5); draft
                                                     DIP reply outline (.3); correspond re potential
                                                     DIP objections (.2).
05/26/20 Mike Beinus, P.C.                      0.50 Review and analyze proposals (.3);
                                                     correspond with K&E team re DIP (.2).
05/26/20 Lucas W. Brown                         2.50 Telephone conference with J. Gordon and
                                                     K&E team re DIP (.5); correspond with K&E
                                                     team re same (.1); review and analyze
                                                     precedent re same (1.4); telephone conference
                                                     with J. Gordon, K&E team, and Alix team re
                                                     same (.5).
05/26/20 Tiffany Lang Chau                      1.80 Draft and revise resolutions against director
                                                     slate for each entity (.8); research and proof
                                                     secretary's certificate against officer slate for
                                                     each loan party (.7); revise draft of secretary's
                                                     certificate (.3).


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Date     Name                                  Hours Description
05/26/20 Joseph A. Correia                       6.20 Analyze successor agent fee letter and
                                                      successor agent signature pages (.5);
                                                      distribute same for execution (.5); telephone
                                                      conference with S. Lindholm re signature
                                                      page process (.5); review, analyze checklist
                                                      (.6); research draft documents (.5); review
                                                      and revise internal tracking D&O list charts
                                                      (.7); finalize review set of signature pages re
                                                      loan documents (1.3); review and revise
                                                      secretary’s certificate signature pages (.8);
                                                      review and revise resolutions and signature
                                                      pages (.8).
05/26/20 Yates French                            6.50 Telephone conference with K&E team re DIP
                                                      objection reply (1.5); review and revise draft
                                                      reply sections (2.0); coordinate production of
                                                      documents in advance of DIP hearing (2.0);
                                                      attend telephone conference with in-house
                                                      counsel re automatic stay (1.0).
05/26/20 Austin Glassman                        11.00 Negotiate and coordinate re successor agency
                                                      transfer and related documents (1.5);
                                                      correspond and negotiate re swaps and related
                                                      adequate protection negotiations (1.2);
                                                      facilitate closing process and coordinate K&E
                                                      team (1.4); review and revise DIP credit
                                                      agreement (6.1); telephone conferences with
                                                      K&E team and advisors re DIP provisions and
                                                      competing DIP proposals (.8).
05/26/20 Jake William Gordon                     7.30 Telephone conferences with K&E team re
                                                      DIP reply (.7); telephone conference with
                                                      K&E team re ongoing DIP issues (1.4);
                                                      telephone conference with advisors re DIP
                                                      issue (1.1); review, revise DIP pleadings
                                                      (2.4); correspond with K&E team re same
                                                      (1.7).
05/26/20 Jae Ha                                  5.00 Prepare and distribute punch list of
                                                      outstanding items re schedules for Company
                                                      (.5); correspond with K&E team re signature
                                                      pages (.6); review and provide comments to
                                                      signature pages (1.5); telephone conference
                                                      with insurance brokers re insurance
                                                      requirements (.3); update schedules to DIP
                                                      credit and guaranty agreement in light of new
                                                      requirements (1.8); incorporate Company
                                                      comments to same (.3).


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Date     Name                                  Hours Description
05/26/20 Timothy Conor Hughes                   6.50 Coordinate preparation of signature pages
                                                     (1.2); prepare revised drafts of term loan
                                                     agency succession agreement and related
                                                     documents (2.5); prepare documentation re
                                                     case litigation and conferences and
                                                     correspond with K&E team re same (2.0);
                                                     prepare revised draft of credit agreement (.4);
                                                     coordinate preparation of ancillary DIP
                                                     documentation (.4).
05/26/20 Nick Krislov                           6.90 Telephone conference with K&E team re DIP
                                                     objection reply (.5); review, analyze reply
                                                     outline (.4); update, revise objection tracker
                                                     (.8); telephone conference with Alix and K&E
                                                     team re second draw on DIP (.5); correspond
                                                     with A. Yenamandra re carve-out (.6); review,
                                                     analyze objections re taxing authority liens
                                                     (.5); correspond with K&E team re objection
                                                     responses (.6); research, analyze issue re
                                                     taxing authority liens (.8); draft, revise DIP
                                                     objection reply (1.6); review, analyze
                                                     precedent re same (.6).
05/26/20 Christopher Marcus, P.C.               0.70 Correspond with K&E team and advisors re
                                                     DIP Issues.
05/26/20 Benjamin O'Connor                      1.30 Telephone conference with J. Mesterharm,
                                                     Alix and K&E team re DIP financing and
                                                     declaration in support of DIP reply (.5);
                                                     summarize same (.4); correspond with A.
                                                     Yenamandra and J. Gordon re arguments in
                                                     DIP reply (.4).
05/26/20 Prentis Robinson                       8.30 Review, analyze precedent re adequate
                                                     protection (3.0); correspond with K&E team
                                                     re same (.3); research re same (1.0); prepare
                                                     summary re DIP orders (1.5); research re roll
                                                     up (2.5).
05/26/20 Nicholas Ruge                          6.70 Correspond with B. O'Connor re DIP reply
                                                     and adequate protection case law (.2); draft
                                                     and revise DIP negotiation timeline review
                                                     correspondence (5.6); correspond with O.
                                                     Vasilenko re DIP negotiation timeline (.2);
                                                     correspond with J. Mesterharm and Alix team
                                                     re second draw of DIP loan (.5); review and
                                                     analyze DIP reply outline drafted by A.
                                                     Yenamandra (.2).
05/26/20 Michael B. Slade                       0.30 Telephone conferences re DIP issues.

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05/26/20 Josh Sussberg, P.C.                    0.70 Telephone conference with A. Yenamandra,
                                                     C. Marcus, D. Kurtz, C. Tempke and M.
                                                     Weitz re rent relief (.5); correspond re same
                                                     (.2).
05/26/20 Gregory Tsonis                         1.70 Draft summary of DIP marketing (1.2); draft
                                                     updated declaration re DIP objection (.5).
05/26/20 Aparna Yenamandra                      6.10 Telephone conference with independent
                                                     director counsel re DIP issues (.6); correspond
                                                     re terminated swap agreements (.4);
                                                     correspond re DIP order (.5); correspond re
                                                     adequate protection research and analyze
                                                     same (.6); revise DIP term sheet and
                                                     correspond re same (.9); correspond re DIP
                                                     funding issues (.7); telephone conference re
                                                     proposed allocation methodology (.7);
                                                     correspond re DIP objections (.8); correspond
                                                     re DIP reply (.9).
05/27/20 Lucas W. Brown                         3.40 Draft and revise DIP objection reply (2.3);
                                                     review and analyze precedent re same (.7);
                                                     correspond with K&E team re same (.4).
05/27/20 Chris Ceresa                           1.70 Research re adequate protection (1.3);
                                                     correspond with A. Fatheazam re same (.3);
                                                     telephone conference re same (.1).
05/27/20 Rebecca Blake Chaikin                  1.00 Telephone conference with bank re DIP
                                                     accounts (.5); telephone conferences with A.
                                                     Glassman, R. Robbins re letters of credit (.3);
                                                     telephone conference with A. Yenamandra re
                                                     same (.2).
05/27/20 Joseph A. Correia                      5.50 Review and finalize review set of signature
                                                     pages (.5); research and draft allonge and
                                                     stock power (1.0); correspond with Milbank
                                                     and Arnold Porter re signature page packet
                                                     questions and coordination (.8); deliver
                                                     successor agent signature pages in escrow
                                                     (.2); compile signature packets for 31
                                                     Company executives for execution (2.2);
                                                     correspond re execution of signature pages
                                                     (.8).
05/27/20 Yates French                           7.70 Review and revise draft reply sections (6.8);
                                                     coordinate production of documents in
                                                     advance of DIP (.9).




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Date     Name                                  Hours Description
05/27/20 Austin Glassman                         8.20 Correspond with K&E team and coordinate
                                                      escrow and controlled accounts (.9);
                                                      coordinate and correspond with K&E team re
                                                      intercreditor provisions and legal arguments
                                                      related to competing DIP proposals (1.0);
                                                      coordinate and correspond with K&E team
                                                      opposing counsel reclosing DIP facility (.7);
                                                      negotiate fees and provisions related to
                                                      agency assignments and engagements (1.0);
                                                      review and revise case pleadings and related
                                                      materials (2.0); coordinate and negotiate DIP
                                                      credit agreement and review and revise
                                                      related documentation (2.6).
05/27/20 Jake William Gordon                     4.90 Telephone conference with K&E team re DIP
                                                      reply (.7); review, revise DIP reply (3.6);
                                                      correspond with K&E team re same (.6).
05/27/20 Jae Ha                                  3.70 Draft schedules to pledge and security
                                                      agreement (2.4); compile and send to Milbank
                                                      team organizational documents and good
                                                      standings (.4); incorporate Company
                                                      comments to schedules to DIP credit
                                                      agreement (.6); consolidate funding notice
                                                      and officer's certificate (.3).
05/27/20 Paul Stephens Hendrickson               0.10 Correspond with K&E team re tax certificate
                                                      exhibit to draft DIP credit agreement.
05/27/20 Timothy Conor Hughes                   12.30 Correspond and conferences with K&E team
                                                      re intercreditor agreements and related topics
                                                      re adequate protection and access to DIP
                                                      funds (1.3); conferences and correspond with
                                                      K&E team re DIP preparation process (1.7);
                                                      prepare ancillary DIP documents including
                                                      schedules and correspondence and
                                                      conferences re same (4.8); prepare revised
                                                      draft of successor agent and internal
                                                      conferences and correspond re same (2.9);
                                                      coordinate set up of DIP accounts and
                                                      conferences and correspond re same (1.6).
05/27/20 Lanchi Huynh                            1.50 Review and analyze issues re DIP motion and
                                                      trustee fees (.9); review and analyze issues re
                                                      adequate protection (.6).
05/27/20 Nick Krislov                            3.50 Review, analyze DIP objections (1.0); update
                                                      revise objection tracker (.6); correspond with
                                                      K&E team re same (.3); draft, revise DIP
                                                      reply (1.6).

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Date     Name                                  Hours Description
05/27/20 Shelby Nicole Lindholm                 1.60 Review and revise closing checklist (.7);
                                                     telephone conference with K&E team re same
                                                     (.5); review and revise secretary's certificate
                                                     (.3); correspond with K&E team re updated
                                                     D&O slate (.1).
05/27/20 Christopher Marcus, P.C.               1.90 Telephone conference with K&E team and
                                                     adequate protection re allocation (.5); review,
                                                     analyze DIP correspondence (.5); telephone
                                                     conference re DIP (.3); telephone conference
                                                     with A. LeBlank re DIP (.3); telephone
                                                     conference with D. Fiorello re DIP (.3).
05/27/20 Marjorie Melicharek                    3.20 Identify production materials cited in DIP
                                                     timeline for attorney review.
05/27/20 Adine Mitrani                          1.70 Review and revise DIP credit agreement.
05/27/20 Benjamin O'Connor                      1.00 Review and analyze relevant intercreditor
                                                     agreements in preparation for preparing DIP
                                                     reply argument re superpriority priming of
                                                     liens (.6); telephone conference with A.
                                                     Glassman and T. Hughes re relevant
                                                     provisions of intercreditor agreements
                                                     supporting consent of secured creditors (.4).
05/27/20 Benjamin O'Connor                      2.00 Telephone conference with Y. French re
                                                     Mesterharm declaration in support of DIP
                                                     motion (.3); prepare Mesterharm declaration
                                                     (1.7).
05/27/20 Prentis Robinson                       3.70 Research re DIP roll up (1.5); prepare
                                                     summaries re same (2.0); correspond with J.
                                                     Gordon re same (.2).
05/27/20 Nicholas Ruge                          0.80 Correspond with K&E team re DIP reply (.3);
                                                     manage and review paralegal updates to DIP
                                                     negotiation timeline (.2); correspond with
                                                     Lazard re DIP negotiation timeline (.3).
05/27/20 Michael B. Slade                       0.90 DIP reply telephone conference (.4); DIP
                                                     strategy telephone conference (.5).
05/27/20 Josh Sussberg, P.C.                    3.00 Telephone conference with management (.7);
                                                     telephone conference with B. Treadway (.5);
                                                     telephone conference with Otterborg re DIP
                                                     issues (.5); telephone conference with K.
                                                     Hansen re same; correspond with Milbank
                                                     (.2); telephone conference with D. Kurtz re
                                                     status (.5); telephone conference with Alix,
                                                     Lazard, M. Jerbich and K&E team re DIP and
                                                     real estate matters (.6).

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Date     Name                                  Hours Description
05/27/20 Seth Traxler, P.C.                     0.40 Review and comment on DIP.
05/27/20 Gregory Tsonis                         1.90 Review, analyze and revise Mesterharm
                                                     declaration and supporting documents.
05/27/20 Lydia Yale                             0.70 Draft final DIP reply order.
05/27/20 Aparna Yenamandra                      4.00 Telephone conference with Alix re admin
                                                     expense allocation efforts (.6); telephone
                                                     conference with Milbank re same (.3);
                                                     telephone conference with K&E team re
                                                     contested DIP preparation (.6); telephone
                                                     conference with Otterbourg re intercreditor
                                                     issues (.6); revise DIP counter (.8);
                                                     correspond with K&E team re adequate
                                                     protection research (.4); correspond with
                                                     Neiman team re consignment language (.3);
                                                     correspond with disinterested director counsel
                                                     re DIP (.4).
05/28/20 Mike Beinus, P.C.                      0.50 Review, analyze DIP financing and loan
                                                     issues.
05/28/20 Lucas W. Brown                         3.80 Draft and revise DIP reply section (2.3);
                                                     correspond with K&E team re same (.4);
                                                     review and analyze precedent re same (1.1).
05/28/20 Joseph A. Correia                      1.20 Correspond with T. Hughes re next steps (.5);
                                                     begin inventory of incoming executed
                                                     signature pages (.7).
05/28/20 Yates French                           7.50 Review and revise draft witness declarations
                                                     (3.9); review and revise draft reply brief (3.0);
                                                     coordinate production of documents (.6).
05/28/20 Austin Glassman                        9.60 Correspond with K&E team, Company and
                                                     advisors re DIP proposals and negotiation of
                                                     key provisions (1.8); coordinate DIP closing
                                                     with opposing counsel and K&E team (1.0);
                                                     correspond and coordinate re escrow accounts
                                                     and related matters (1.2); correspond with
                                                     K&E team re competing DIP proposals and
                                                     evaluations of strategic considerations (.6);
                                                     review, revise and negotiate DIP credit
                                                     agreement and related documents (3.0);
                                                     review and negotiate agency transfer and
                                                     related fee arrangements (.5); review
                                                     pleadings and prepare for upcoming hearings,
                                                     depositions and filings (1.5).




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Date     Name                                  Hours Description
05/28/20 Jake William Gordon                     5.40 Telephone conference with K&E team re DIP
                                                      reply and declarations (1.1); telephone
                                                      conference with Company and advisors re
                                                      intercompany issue (.7); review, revise DIP
                                                      reply (3.6).
05/28/20 Jae Ha                                  6.00 Incorporate Company comments to DIP
                                                      pledge and security agreement (2.5); update
                                                      schedules to DIP credit and guaranty
                                                      agreement and lien summary (.9); closing
                                                      checklist telephone conference with Milbank
                                                      team (.5); incorporate incremental Company
                                                      comments to schedules to DIP credit and
                                                      guaranty agreement (.7); review and
                                                      inventory scans for 2016 pledged collateral
                                                      (.8) prepare, review copies of schedules and
                                                      lien summary (.3); prepare punch list of
                                                      outstanding items for Company (.3).
05/28/20 Paul Stephens Hendrickson               0.70 Correspond with K&E team and Company re
                                                      draft DIP credit agreement (.2); correspond
                                                      with K&E team re draft fee letters (.1); review
                                                      and analyze draft DIP order (.4).
05/28/20 Walter S. Holzer, P.C.                  0.30 Review, analyze DIP materials.
05/28/20 Timothy Conor Hughes                   12.30 Coordinate setup of DIP proceeds accounts
                                                      (.9); prepare comments to successor agent
                                                      agreement (.6); conference with lenders'
                                                      counsel re closing checklist (.6); coordinate
                                                      delivery of possessory collateral and
                                                      correspondence re same (.7); correspond re
                                                      tax implications of DIP financing (.2); prepare
                                                      revised drafts of prepetition term loan and
                                                      DIP fee letters (.8); coordinate execution of
                                                      DIP documents (.4); coordinate preparation of
                                                      DIP schedules (.8); prepare revised draft of
                                                      cash collateral order, along with correspond
                                                      and conferences re same (1.2); correspond
                                                      with K&E team re declarations and access to
                                                      DIP financing (.4); prepare revised draft of
                                                      Mesterharm declaration (1.2); conference re
                                                      credit agreement and preparation of issues list
                                                      in connection with same (4.5).




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Date     Name                                  Hours Description
05/28/20 Nick Krislov                           9.30 Telephone conference with K&E team and
                                                     lenders' counsel re DIP (.6); draft, revise DIP
                                                     objection reply (3.2); correspond with K&E
                                                     team re same (.7); research, analyze precedent
                                                     re same (1.1); correspond with taxing
                                                     authorities, K&E team re DIP order (1.4);
                                                     review, analyze objections (1.2); update
                                                     revise, objection tracker (.5); review, analyze
                                                     carve out account agreement (.6).
05/28/20 Shelby Nicole Lindholm                 0.50 Telephone conference with K&E team and
                                                     Milbank re closing checklist.
05/28/20 Christopher Marcus, P.C.               0.80 Analyze DIP correspondence.
05/28/20 Lekha Menon                            0.40 Telephone conference with M. Slade, K&E
                                                     team re DIP hearing.
05/28/20 David M. Nemecek, P.C.                 0.30 Review and analyze DIP financing and
                                                     internal telephone conference re same.
05/28/20 Benjamin O'Connor                      1.30 Review, analyze and revise DIP motion
                                                     hearing exhibit list (.3); correspond with M.
                                                     Slade, Y. French, G. Tsonis, N. Ruge, L.
                                                     Menon and M. Guzaitis re exhibits for
                                                     hearing (.4); compile exhibits for DIP motion
                                                     hearing (.6).
05/28/20 Benjamin O'Connor                      0.70 Review, analyze and revise Kurtz and
                                                     Mesterharm declarations in support of DIP
                                                     motion.
05/28/20 Prentis Robinson                       4.00 Prepare draft DIP reply (3.9); correspond with
                                                     J. Gordon re same (.1).
05/28/20 Nicholas Ruge                          1.70 Analyze comments from Lazard re DIP
                                                     negotiation timeline and correspond with O.
                                                     Vasilenko re same (.2); correspond with M.
                                                     Slade and Y. French re hearing preparation
                                                     and DIP objections (.4); review, revise
                                                     Mesterharm declaration (.5); review, revise
                                                     Kurtz declaration (.6).
05/28/20 Edward J. Schneidman, P.C.             0.50 Review draft DIP credit and guaranty
                                                     agreements and draft DIP order.
05/28/20 Anthony Vincenzo Sexton                0.20 Review and analyze DIP document issues.
05/28/20 Michael B. Slade                       0.80 Telephone conferences re DIP matters and
                                                     hearing.




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Date     Name                                  Hours Description
05/28/20 Stephen G. Tomlinson, P.C.             3.00 Review background materials (.9); telephone
                                                     conference with J. Goldman re same and term
                                                     sheet issues (.5); telephone conference with S.
                                                     Zaretsky (.6); review materials re same (1.0).
05/28/20 Gregory Tsonis                         3.50 Correspond with K&E team re projects and
                                                     DIP hearing preparation (.8); telephone
                                                     conference with K&E team re projects and
                                                     DIP hearing preparation (.4); review and
                                                     analyze draft declarations and supporting
                                                     documents (2.3).
05/28/20 Aparna Yenamandra                      3.90 Telephone conference with Alix team re DIP
                                                     questions (.5); telephone conference with
                                                     K&E, Lazard teams re contested DIP hearing
                                                     (.7); correspond re DIP objections (.9);
                                                     correspond with C. Marcus re allocation
                                                     issues (.4); telephone conference with K&E,
                                                     Lazard teams re DIP issues (.4); revise swaps
                                                     language in DIP order (.3); correspond with
                                                     K&E team re same (.7).
05/29/20 Margaret R. Alden                      1.10 Draft, revise escrow agreement re fees (.8);
                                                     correspond with K&E team re same (.3).
05/29/20 Matthew Antinossi                      0.40 Review revised DIP agreement (.3);
                                                     correspond with K&E team re same (.1).
05/29/20 Lucas W. Brown                         1.20 Review and revise DIP reply (.9); correspond
                                                     with K&E team re same (.3).
05/29/20 Rebecca Blake Chaikin                  0.80 Review and revise DIP reply (.3); correspond
                                                     with K&E team re same (.5).
05/29/20 Julia R. Foster                        0.70 Review and revise DIP reply.
05/29/20 Yates French                           5.20 Prepare for telephone conference re valuation
                                                     of collateral (.4); attend same (.8); review and
                                                     revise draft declarations (2.0); review and
                                                     revise draft reply brief (1.5); coordinate
                                                     production of documents (.5).




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Date     Name                                  Hours Description
05/29/20 Austin Glassman                        11.40 Correspond with UCC re DIP (.5); coordinate
                                                      and conference re credit agreement provisions
                                                      with K&E team and advisors (.7); telephone
                                                      conference with opposing counsel re credit
                                                      agreement provisions and negotiations (1.5);
                                                      review, draft, revise and analyze credit
                                                      agreement provisions (4.8); review and revise
                                                      ancillary and operative documents related to
                                                      DIP financing (1.9); coordinate re agency
                                                      transfer (.4); coordinate and correspond with
                                                      K&E team re DIP financing (1.2); correspond
                                                      with K&E team re funding mechanics and
                                                      asset sales (.4).
05/29/20 John Thomas Goldman                     3.50 Review, analyze DIP credit agreement and
                                                      issues list (2.0); correspond and telephone
                                                      conferences re DIP real estate issues (1.0);
                                                      provide comments to DIP credit agreement
                                                      (.5).
05/29/20 Jake William Gordon                    10.90 Review, revise DIP objections (.8); draft DIP
                                                      reply (4.3); correspond with K&E team re
                                                      same (.6); research re same (1.9); correspond
                                                      with objectors re objections (1.8); analyze
                                                      language re DIP order (1.5).
05/29/20 Jae Ha                                  5.10 Telephone conference with Company, K&E
                                                      team re credit agreement (.7); prepare
                                                      compiled file of stock certificates and powers
                                                      (.6); attend telephone conference with
                                                      Milbank team re credit agreement (1.2);
                                                      review Milbank's team's draft of DIP pledge
                                                      and security agreement re scheduling
                                                      requirements (.6); incorporate Company
                                                      comments to indebtedness schedule (1.0);
                                                      prepare updated punch list for Company (.4)
                                                      update schedules to DIP pledge and security
                                                      agreement (.6).
05/29/20 Paul Stephens Hendrickson               0.40 Correspond with K&E team and Company re
                                                      draft DIP credit agreement (.3); correspond
                                                      with K&E team re objections to DIP (.1).




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Date     Name                                  Hours Description
05/29/20 Timothy Conor Hughes                   16.00 Coordinate setup of DIP proceeds accounts
                                                      (1.5); prepare comments to successor agent
                                                      agreement (.9); conference with lenders'
                                                      counsel re closing checklist (.6); coordinate
                                                      delivery of possessory collateral and
                                                      correspondence re same (1.6); correspond
                                                      with K&E team re tax implications of DIP
                                                      financing (.2); prepare revised drafts of
                                                      prepetition term loan and DIP fee letters (1.6);
                                                      coordinate execution of DIP documents (.9);
                                                      coordinate preparation of DIP schedules (1.0);
                                                      prepare revised draft of cash collateral order,
                                                      along with correspondence and conferences re
                                                      same (1.9); correspond re declarations and
                                                      access to DIP financing (.9); prepare revised
                                                      draft of Mesterharm declaration (1.9);
                                                      conference re credit agreement and
                                                      preparation of issues list re same (3.0).
05/29/20 Anusheh Khoshsima                       0.50 Review credit agreement.
05/29/20 R.D. Kohut                              0.20 Review credit agreement issues (.1);
                                                      conference with J. Schruhl re same (.1).
05/29/20 Nick Krislov                            5.40 Draft, update DIP objection reply (1.8);
                                                      correspond with K&E team re same (.7);
                                                      review, analyze objections (1.2); revise,
                                                      update objection tracker (.6); correspond with
                                                      A. Yenamandra re DIP carve out (.6);
                                                      correspond with taxing authorities re DIP
                                                      order (.5).
05/29/20 Shelby Nicole Lindholm                  1.50 Telephone conference with Company, Alix B.
                                                      Riley Financial and Cushman & Wakefield re
                                                      open issues re Milbank's draft of credit
                                                      agreement (.8); telephone conference with
                                                      Milbank re Milbank's comments to credit
                                                      agreement (.7).
05/29/20 Christopher Marcus, P.C.                1.00 Analyze DIP issues.
05/29/20 Christine S. Matott                     0.30 Review and revise ERISA provisions in DIP
                                                      agreement.
05/29/20 Marjorie Melicharek                     0.20 Prepare Kurtz deposition materials for
                                                      attorney review.
05/29/20 David M. Nemecek, P.C.                  0.70 Telephone conference with K&E team re DIP
                                                      (.5); correspond re DIP structuring (.2).




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Date     Name                                  Hours Description
05/29/20 Benjamin O'Connor                      6.40 Review and analyze New York law re
                                                     enforceability of contracts (.8); review and
                                                     analyze relevant intercreditor agreements in
                                                     preparation for preparing argument that
                                                     secured creditors have consented to
                                                     superpriority priming of liens (.9); prepare
                                                     argument for reply in support of DIP motion
                                                     that secured creditors have consented to being
                                                     primed (3.9); review and analyze crossholder
                                                     group's proposed objection to DIP motion
                                                     (.8).
05/29/20 Jeffrey S. Quinn                       0.60 Review revised DIP and guaranty agreement
                                                     (.4); review DIP proposal (.2).
05/29/20 Prentis Robinson                       7.10 Review, revise DIP reply (1.3); research re
                                                     same (2.5); prepare summary re same (.8);
                                                     prepare motion to seal fee letter (2.5).
05/29/20 Nicholas Ruge                          1.70 Correspond with B. O'Connor re reply in
                                                     support of DIP (.2); review and analyze
                                                     Crossholder Group's objections to DIP (.5);
                                                     draft section of DIP reply (1.0).
05/29/20 Anthony Vincenzo Sexton                0.30 Review and analyze DIP document issues.
05/29/20 Michael B. Slade                       0.80 Correspond re DIP.
05/29/20 Josh Sussberg, P.C.                    0.60 Telephone conference with A. Yenamandra
                                                     (.4); correspond re DIP and status (.2).
05/29/20 Aparna Yenamandra                      6.80 Telephone conference re DIP credit
                                                     agreement issues list (.8); revise same (.3);
                                                     telephone conference with IDs re DIP issues
                                                     (.4); correspond re consignment objection
                                                     (.7); revise DIP order (.9); telephone
                                                     conference re first lien trustee language (.3);
                                                     review revised DIP credit agreement (.9);
                                                     telephone conference re 2L adequate
                                                     protection (.6); correspond re GLAS fee letter
                                                     (.4); correspond re landlord objections to DIP
                                                     (1.1); correspond re agency transfer (.4).
05/30/20 Joseph A. Correia                      1.50 Inventory executed signature pages from
                                                     Company (.8); collate pages into escrow set
                                                     of pages (.2); correspond with Company re
                                                     status of outstanding signature pages (.5).
05/30/20 Yates French                           4.90 Prepare for telephone conference with Lazard
                                                     re case issues (.5); attend same (.9); review
                                                     and revise draft declarations (2.6); review and
                                                     revise draft briefing (.9).

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05/30/20 Austin Glassman                        6.80 Telephone conferences with K&E team and
                                                     advisors re deposition preparations and
                                                     related documents and arguments (2.1);
                                                     review, revise, analyze and comment on DIP
                                                     credit agreement and related documents (4.0);
                                                     correspond with K&E team re credit
                                                     agreement terms and negotiate provisions
                                                     related thereto (.7).
05/30/20 Jake William Gordon                    6.10 Review, revise DIP order (2.4); correspond
                                                     with K&E team re same (.3); telephone
                                                     conferences with K&E team and other
                                                     advisors re same (1.3); correspond with
                                                     objectors re DIP order (.3); research re same
                                                     (.6); review, revise reply (1.2).
05/30/20 Jae Ha                                 1.20 Draft new Schedule 6.7 of DIP credit and
                                                     guaranty agreement re dispositions.
05/30/20 Paul Stephens Hendrickson              0.20 Review and analyze exhibits to DIP credit
                                                     agreement.
05/30/20 Timothy Conor Hughes                   0.50 Coordinate completion and execution of
                                                     ancillary DIP documentation.
05/30/20 Nick Krislov                           0.60 Review, analyze objections (.3); update,
                                                     revise objection tracker (.2); correspond with
                                                     J. Gordon re same (.1).
05/30/20 Christopher Marcus, P.C.               1.00 Review, analyze DIP.
05/30/20 Adine Mitrani                          2.80 Review and comment on credit agreement
                                                     (2.1); correspond with K&E team re
                                                     addendum (.7).
05/30/20 David M. Nemecek, P.C.                 0.50 Telephone conference with Cooley and
                                                     Milbank re hearing delay (.3); correspond re
                                                     DIP structuring (.2).
05/30/20 Benjamin O'Connor                      2.70 Telephone conference with D. Kurtz and
                                                     Lazard team re declaration of D. Kurtz in
                                                     support of DIP motion (1.0); prepare
                                                     argument for reply in support of DIP motion
                                                     that secured creditors have consented to being
                                                     primed (1.7).
05/30/20 Nicholas Ruge                          3.00 Correspond with K&E team re research
                                                     assignments and DIP reply (.5); research
                                                     506(c) claims for DIP reply (2.0); review and
                                                     revise draft reply in support of DIP (.5).
05/30/20 Anthony Vincenzo Sexton                0.10 Review and analyze DIP document issues.



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Date     Name                                  Hours Description
05/30/20 Michael B. Slade                       3.70 Telephone conference with UCC and Milbank
                                                     teams (.3); telephone conference with Lazard
                                                     and K&E teams re DIP (1.0); review and edit
                                                     witness materials (2.4).
05/30/20 Josh Sussberg, P.C.                    1.80 Telephone conference with Cooley, Cole
                                                     Schotz, Milbank and K&E team re DIP
                                                     timing (.5); correspond with K&E team,
                                                     advisors and Company re same (.3);
                                                     correspond with bidder re non-disclosure
                                                     agreement (.5); telephone conference with C.
                                                     Hershkoff (.1); telephone conference with E.
                                                     Riemer (.1); correspond re DIP hearing (.2);
                                                     telephone conference with A. LeBlanc (.1).
05/30/20 Gregory Tsonis                         3.10 Correspond with Kurtz and attorney team re
                                                     Kurtz declaration (.9); correspond with K&E
                                                     team re ongoing workstreams (.6); review and
                                                     analyze crossholder objection (.8); review and
                                                     analyze documents re exhibit list for DIP
                                                     motion (.8).
05/30/20 Aparna Yenamandra                      3.00 Correspond with K&E team re DIP objections
                                                     (2.1); correspond with K&E team re DIP
                                                     hearing (.9).
05/31/20 Lucas W. Brown                         0.50 Review filed DIP objection (.3); correspond
                                                     with K&E team re same (.2).
05/31/20 Chris Ceresa                           0.30 Correspond with A. Yenamandra re DIP
                                                     commitment letter and term sheet.
05/31/20 Rebecca Blake Chaikin                  1.00 Telephone conference with K&E team,
                                                     Milbank re DIP (.7); correspond with K&E
                                                     team, Milbank re same (.3).
05/31/20 Yates French                           4.50 Prepare for and attend telephone conference
                                                     with Lazard (1.1); review and revise draft
                                                     declarations (1.6); review and revise draft
                                                     briefing (1.8).
05/31/20 Austin Glassman                        2.90 Correspond and telephone conferences with
                                                     advisors and K&E team re DIP and
                                                     competing proposals (1.9); prepare for
                                                     priming litigation and depositions (1.0).




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Date     Name                                  Hours Description
05/31/20 Jake William Gordon                    13.30 Telephone conference with K&E team re DIP
                                                      hearing (.5); telephone conference with K&E
                                                      team re priming issues (1.2); telephone
                                                      conference with consignment counsel re DIP
                                                      issues (.3); review, analyze objections (1.8);
                                                      correspond with objectors re same (.8);
                                                      research re same (.4); prepare for and attend
                                                      telephone conference with K&E team and
                                                      opposing counsel re DIP order (1.2); revise
                                                      DIP reply (3.9); research re same (1.9);
                                                      correspond and telephone conference with
                                                      K&E team re same (1.3).
05/31/20 Jae Ha                                  0.50 Review draft debt warrant against
                                                      requirements of RSA and DIP credit
                                                      agreement (.4); provide instructions re
                                                      preparation of signature page for same (.1).
05/31/20 Timothy Conor Hughes                    2.60 Conferences with K&E team re DIP-related
                                                      declarations (.5); analyze comments to DIP
                                                      order and correspond re same (.5); correspond
                                                      and conferences with K&E team re cases (.4);
                                                      prepare ancillary DIP documents and
                                                      coordinate completion of same (1.2).
05/31/20 Lanchi Huynh                            0.50 Analyze issues re DIP.
05/31/20 Nick Krislov                            8.80 Telephone conference with Alix team, K&E
                                                      team re consignment provisions in DIP order
                                                      (1.0); telephone conference with K&E team re
                                                      objection reply brief (.5); update, revise DIP
                                                      objection chart (.7); research, analyze DIP
                                                      reply precedent re waiver issues (1.2);
                                                      correspond with K&E team re same (.4);
                                                      update, revise DIP order (3.4); correspond
                                                      with K&E team re same (.6); review, analyze
                                                      research re roll up issues (.7); correspond with
                                                      K&E team re same (.3).
05/31/20 Christopher Marcus, P.C.                0.50 Telephone conference re DIP.
05/31/20 Lekha Menon                             2.30 Telephone conference with A. Yenamandra,
                                                      F. Yates, K&E team re DIP reply (.5); draft
                                                      DIP reply (1.8).
05/31/20 Benjamin O'Connor                       2.80 Review and analyze produced documents
                                                      related to D. Kurtz in preparation for
                                                      deposition preparation of D. Kurtz.




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Date     Name                                  Hours Description
05/31/20 Benjamin O'Connor                       3.90 Telephone conference and correspond with A.
                                                      Yenamandra, J. Gordon and Y. French re
                                                      strategy for reply in support of DIP motion
                                                      (.9); review and analyze proposed objection
                                                      of crossholder group to DIP motion (.7);
                                                      correspond with M. Slade, Y. French and N.
                                                      Ruge re argument that secured creditors have
                                                      consented to being primed (.5); prepare
                                                      priming argument for reply in support of DIP
                                                      motion (1.2); review, analyze and edit
                                                      declarations of David Kurtz and James
                                                      Mesterharm in support of DIP motion (.6).
05/31/20 Prentis Robinson                        4.50 Research re DIP roll up (3.0); prepare
                                                      summary chart re same (.8); research re DIP
                                                      objections (.7).
05/31/20 Nicholas Ruge                          10.10 Research re DIP reply (3.3); draft DIP reply
                                                      sections (4.8); correspond with J. Gordon, Y.
                                                      French, A. Yenamandra and B. O'Connor re
                                                      DIP reply (.5); correspond with M. Slade, Y.
                                                      French, B. O'Connor re hearing preparation
                                                      (.4); research answers to Lazard's questions re
                                                      negotiation timeline and revise timeline (1.1).
05/31/20 Jonathan A. Schechter, P.C.             2.30 Review, analyze DIP credit agreement and
                                                      motion (1.5); review, analyze DIP objection
                                                      (.8).
05/31/20 Michael B. Slade                        3.60 Telephone conference with J. Sussberg, C.
                                                      Marcus, A. Yenamandra re DIP (.5);
                                                      telephone conference with UCC counsel re
                                                      same (.5); review, analyze work fee motion
                                                      and draft declaration re same (1.2); review,
                                                      analyze materials re depositions (1.4).
05/31/20 Josh Sussberg, P.C.                     2.40 Telephone conference with M. Sirota and S.
                                                      Van Alten (.3); telephone conference with M.
                                                      Slade, C. Tempke, C. Marcus, A.
                                                      Yenamandra re DIP (.2); telephone
                                                      conference with C. Cooley and Cole Schotz re
                                                      same (.3); telephone conference with K.
                                                      Hansen (.4); telephone conference with D.
                                                      Kurtz (.4); correspond with same re DIP (.2);
                                                      telephone conference with M. Meghji (.3);
                                                      telephone conference with A. Yenamandra re
                                                      DIP and status (.3).




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Date     Name                                  Hours Description
05/31/20 Gregory Tsonis                          4.10 Correspond with K&E team re DIP objection
                                                      (.4); telephone conference with K&E team re
                                                      DIP motion (.5); research and analyze
                                                      precedent re DIP motion (1.4); review and
                                                      analyze potential exhibits (1.8).
05/31/20 Aparna Yenamandra                       7.30 Telephone conference re 506c issues with
                                                      K&E team (.4); telephone conference with
                                                      MB re final DIP order (.8); correspond with
                                                      K&E team, Lazard re same (.7); telephone
                                                      conference with committee counsel re DIP
                                                      (.9); telephone conference with J. Gordon re
                                                      various DIP objections (.6); correspond with
                                                      J. Gordon re same (.9); review revised DIP
                                                      Order (.8); correspond with K&E team re key
                                                      DIP and Intercreditor agreement provisions
                                                      (1.1); research re same (.6); correspond with
                                                      Otto re DIP order (.5).
06/01/20 Lucas W. Brown                          6.00 Review and analyze precedent re DIP (2.2);
                                                      correspond with K&E team re same (.5); draft
                                                      summary re same (1.6); draft and revise
                                                      outline re DIP objection (1.4); correspond
                                                      with K&E team re same (.3).
06/01/20 Rebecca Blake Chaikin                   0.80 Telephone conference with S. Ware re escrow
                                                      account (.2); revise agreement re same (.4);
                                                      correspond with M. Alden re same (.2).
06/01/20 Joseph A. Correia                       0.10 Review original promissory note.
06/01/20 Yates French                            4.50 Prepare witnesses for deposition (1.2); review
                                                      and revise draft briefing (2.8); coordinate
                                                      production of documents (.5).
06/01/20 Austin Glassman                        12.90 Negotiate, review, discuss, revise and draft
                                                      credit agreement and ancillary documentation
                                                      in connection with DIP financing (4.9);
                                                      review, revise and discuss warrant requested
                                                      by lenders (.5); discuss and negotiate
                                                      reporting requirements including
                                                      disbursement and fee reports (.7); correspond
                                                      with K&E team in connection with DIP
                                                      funding and hearings (.9); prepare for
                                                      deposition and related discussions with K&E
                                                      team and advisors (2.9); review and discuss
                                                      first day pleadings with K&E team and
                                                      advisors (2.0); coordinate and manage K&E
                                                      team re same (1.0).


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Date     Name                                  Hours Description
06/01/20 John Thomas Goldman                     2.00 Review and discuss revised DIP credit
                                                      agreement.
06/01/20 Jake William Gordon                     5.80 Telephone conferences with consignors re
                                                      DIP language (1.6); review, analyze
                                                      correspondence and objection re same (.4);
                                                      telephonically attend DIP depositions (2.6);
                                                      draft DIP reply (1.2).
06/01/20 Jae Ha                                  1.20 Prepare and distribute review copies of DIP
                                                      disclosure schedules and lien summary to
                                                      Milbank team (.5); telephone conference re
                                                      DIP credit agreement (.5); draft punch list for
                                                      Company (.2).
06/01/20 Timothy Conor Hughes                   12.30 Coordinate setup of DIP proceeds accounts
                                                      (.3); prepare completion of agency transfer
                                                      (.4); prepare revised draft of DIP fee letter
                                                      and correspondence re same (.8); prepare
                                                      revised draft of credit agreement and
                                                      conferences and correspondence re same
                                                      (5.1); coordinate preparation of DIP schedules
                                                      (1.8); prepare revised drafts of DIP order and
                                                      conferences and correspondence re same
                                                      (3.9).
06/01/20 Nick Krislov                            5.20 Telephone conference with consignment
                                                      vendors, J. Gordon (.2); research, analyze
                                                      case law re DIP reply brief (1.4); correspond
                                                      with K&E team re same (.2); update, revise
                                                      DIP reply brief (1.6); review, analyze
                                                      objections (.5); update revise objection
                                                      tracker (.5); review, analyze DIP order (.6);
                                                      correspond with K&E team re same (.2).
06/01/20 Shelby Nicole Lindholm                  0.60 Telephone conference with Milbank, K&E
                                                      team, Alix and Lazard re disbursement and
                                                      professional fee reports.
06/01/20 Christopher Marcus, P.C.                2.20 Correspond and telephone conference with A.
                                                      Yenamandra re DIP (1.0); review DIP
                                                      correspondence and order (1.2).
06/01/20 Marjorie Melicharek                     2.60 Identify production documents for attorney
                                                      review.
06/01/20 Marjorie Melicharek                     0.60 Prepare summary re production documents
                                                      for attorney review.




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Date     Name                                  Hours Description
06/01/20 Lekha Menon                             2.30 Review, analyze documents re DIP
                                                      negotiations (1.5); correspond with B.
                                                      O'Connor, K&E team re DIP hearing (.3);
                                                      review, analyze documents re DIP hearing
                                                      (.5).
06/01/20 Adine Mitrani                           3.80 Review and mark-up security agreement.
06/01/20 Benjamin O'Connor                       1.70 Review and analyze DIP motion and
                                                      counsel’s proposed objection (1.1); prepare
                                                      amended exhibit list for DIP motion hearing
                                                      (.6).
06/01/20 Benjamin O'Connor                       7.60 Review and analyze documents related to D.
                                                      Kurtz and identify key documents in
                                                      preparation for his deposition (3.6); attend
                                                      deposition preparation of D. Kurtz and J.
                                                      Mesterharm re DIP financing (2.5); attend
                                                      telephone conference with Y. French and N.
                                                      Ruge re key documents re DIP negotiations
                                                      (.2); review and analyze key documents re
                                                      DIP negotiations (1.3).
06/01/20 Prentis Robinson                        2.50 Review, revise seal motion (1.6); research re
                                                      roll up (.9).
06/01/20 Nicholas Ruge                          11.40 Research transcripts and case law for reply
                                                      (1.3); draft DIP reply section (2.3); revise DIP
                                                      negotiation timeline (1.9); prepare D. Kurtz
                                                      and J. Mesterharm for their depositions (2.2);
                                                      prepare exhibits for hearing, edit exhibit list
                                                      (.1); conference with M. Guzaitis and B.
                                                      O'Connor re productions (.3); draft responses
                                                      and objections to crossholder group’s requests
                                                      for production (1.6); draft responses and
                                                      objections to requests for production (.2);
                                                      research and prepare cross rehabilitation
                                                      exhibits for Y. French deposition prep (1.5).
06/01/20 Jonathan A. Schechter, P.C.             0.50 Telephone conference with J. Goldman re
                                                      DIP items.
06/01/20 Josh Sussberg, P.C.                     2.40 Update telephone conference (.4); telephone
                                                      conference with A. Yenamandra re status (.4);
                                                      correspond re DIP status (.2); correspond re
                                                      work fee motion and U.S. Trustee comments
                                                      (.3); correspond re DIP timeline and
                                                      discovery (.2); telephone conference with E.
                                                      Riemer (.4); telephone conference with M.
                                                      Meghji (.5).


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Date     Name                                  Hours Description
06/01/20 Gregory Tsonis                          2.80 Review and analyze precedent re DIP reply
                                                      brief (2.3); draft brief (.5).
06/01/20 Aparna Yenamandra                      10.40 Attend DIP deposition prep (1.2); telephone
                                                      conference with B. Schartz re adequate
                                                      protection issues (.6); telephone conference
                                                      with C. Marcus re same (.4); telephone
                                                      conference with 1Ls, K&E team re open DIP
                                                      credit agreement points (.5); review and
                                                      revise credit agreement (.7); review and revise
                                                      DIP order (.9); correspond and telephone
                                                      conference with J. Gordon re various DIP
                                                      objections (.9); telephone conference re cross
                                                      collateralization issues (.4); telephone
                                                      conference with J. Sussberg re same (.2);
                                                      telephone conference re swap DIP issues (.4);
                                                      telephone conference with M. Slade re DIP
                                                      issues (.6); revise DIP reply (1.1); correspond
                                                      with Alix, K&E team re DIP budget (.7);
                                                      correspond re swap termination issues (.3);
                                                      correspond re sealing issues (.6); telephone
                                                      conference with C. Marcus re equity cushion
                                                      analysis (.9).
06/02/20 Margaret R. Alden                       2.00 Coordinate execution, finalization of escrow
                                                      agreement (1.1); correspond with K&E team,
                                                      Company, Citi, Alix re same (.9).
06/02/20 Lucas W. Brown                          4.90 Draft and revise section re DIP reply (1.5);
                                                      correspond with K&E team re same (.3);
                                                      review and analyze UCC objection re DIP
                                                      (1.6); draft outline re same (.7); correspond
                                                      with K&E team re same (.4); telephone
                                                      conference with P. Robinson re same (.4).
06/02/20 Rebecca Blake Chaikin                   1.60 Telephone conference with K&E team,
                                                      Lazard, B. Wafford re DIP financing (.2);
                                                      telephone conference with Alix re milestones
                                                      and deadlines (.5); correspond with Alix,
                                                      K&E team, Citi re funded reserve account
                                                      (.5); draft language for DIP credit agreement
                                                      (.2); telephone conference with A. Glassman
                                                      re same (.2).




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Date     Name                                  Hours Description
06/02/20 Joseph A. Correia                       2.50 Attention to escrow set of signature pages
                                                      (.8); process debt warrant (.2); review and
                                                      summarize new UCC searches received from
                                                      Puerto Rico (1.0); review original stock
                                                      powers, allonges and signature pages received
                                                      via FedEx from Company (.2); correspond
                                                      with Company re status of outstanding
                                                      signature pages (.3).
06/02/20 Yates French                           11.10 Prepare for and attend Mesterharm deposition
                                                      (4.5); prepare for and attend Kurtz deposition
                                                      (4.1); prepare witnesses for testimony (2.5).
06/02/20 Austin Glassman                        14.00 Review, revise and negotiate credit agreement
                                                      (3.0); discussions re reporting requirements
                                                      (.6); review, revise, discuss and facilitate
                                                      filing of DIP motion and related order in
                                                      connection (4.4); correspond with K&E team
                                                      and advisors re objections, DIP financing and
                                                      related case matters (2.1); supervise and
                                                      coordinate K&E team re DIP (.9); correspond
                                                      and negotiate re swap comments and review
                                                      of related documentation (1.1); discuss and
                                                      negotiate re ABL comments and review of
                                                      related documentation (.8); manage K&E debt
                                                      team and review schedules, deliverables and
                                                      ancillary documents (1.1).
06/02/20 Scott J. Gordon                         0.60 Correspond and analyze post-petition default
                                                      interest under swaps.
06/02/20 Jake William Gordon                    11.40 Review, revise DIP order (3.4); correspond
                                                      with objectors re same (1.3); telephone
                                                      conference with K&E and debtors advisors re
                                                      same (.6); draft DIP reply (1.6); analyze DIP
                                                      precedent re same (1.4); telephone
                                                      conferences with objectors re objections (.7);
                                                      correspond with DIP lenders re objections
                                                      (.8); prepare DIP order for filing (1.6).
06/02/20 Meghan E. Guzaitis                      1.70 Compile case materials for review in DIP
                                                      filing motions and declaration (1.3) review
                                                      pleading for filing (.4).




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Date     Name                                  Hours Description
06/02/20 Jae Ha                                  3.70 Review information from missing stock
                                                      certificates against schedules re equity
                                                      interests (.5); draft schedules re outstanding
                                                      letters of credit (.8); update schedules re
                                                      equity interests to match number of shares
                                                      given in the stock certificates (.7); telephone
                                                      conference with Milbank team re credit
                                                      agreement (.7); review additional lien search
                                                      results for JCPenney Puerto Rico, Inc. (1.0).
06/02/20 Timothy Conor Hughes                   14.00 Prepare revised draft of credit agreement and
                                                      conferences and correspond re same (4.8);
                                                      prepare revised draft of DIP order and
                                                      correspond and conferences re same (3.9);
                                                      coordinate completion of schedules to DIP
                                                      documents (2.1); coordinate finalization of
                                                      open DIP-related items and correspond with
                                                      K&E team re same (3.2).
06/02/20 Nick Krislov                            7.60 Review, analyze objections (1.7); update,
                                                      revise objection tracker (.8); correspond with
                                                      K&E team re same (.4); revise, update DIP
                                                      reply brief (2.1); correspond with K&E team
                                                      re same (.4); revise, update DIP order (1.9);
                                                      correspond with K&E team re same (.3).
06/02/20 Shelby Nicole Lindholm                  0.80 Telephone conference with Milbank re
                                                      Milbank's mark-up of DIP credit and guaranty
                                                      agreement.
06/02/20 Christopher Marcus, P.C.                3.10 Telephone conference with Lazard and B.
                                                      Wafford re DIP (.5); attention to DIP (2.1);
                                                      attention to DIP mark-up (.5).
06/02/20 Christopher Marcus, P.C.                0.50 Telephone conference with Otterbourg re cash
                                                      collateral.
06/02/20 Marjorie Melicharek                     2.00 Identify produced board materials for attorney
                                                      review.
06/02/20 Marjorie Melicharek                     1.80 Compile exhibit list documents for
                                                      confidentiality review.
06/02/20 Marjorie Melicharek                     0.30 Prepare redacted production documents for
                                                      attorney review.
06/02/20 Lekha Menon                             0.50 Correspond with B. O'Connor, K&E team re
                                                      DIP hearing.
06/02/20 Benjamin O'Connor                       5.60 Attend depositions of James Mesterharm and
                                                      David Kurtz.



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Date     Name                                  Hours Description
06/02/20 Benjamin O'Connor                       3.50 Review, analyze and revise declarations of
                                                      James Mesterharm and David Kurtz and
                                                      amended exhibit list (1.5); review and analyze
                                                      declaration and rough transcript from
                                                      deposition of David Kurtz re reply brief (.6);
                                                      prepare response to crossholder group
                                                      objection (1.4).
06/02/20 Prentis Robinson                        3.50 Research re DIP roll ups (1.1); prepare
                                                      summary re same (.4); review, revise seal
                                                      motion (1.5); prepare summary re DIP
                                                      objections (.5).
06/02/20 Nicholas Ruge                          11.80 Attend J. Mesterharm deposition (2.3);
                                                      prepare exhibits and exhibit list (.6); review
                                                      and proofread D. Kurtz declaration (.2);
                                                      attend D. Kurtz deposition (3.2); review and
                                                      analyze UCC’s objections to DIP (.3); prepare
                                                      Y. French and M. Slade for depositions and
                                                      DIP hearing (1.2); research dischargeability
                                                      issues (3.1);; draft analysis re same (.3);
                                                      analyze document requests (.1); telephone
                                                      conference with G. Tsonis re objections (.1);
                                                      prepare key pleadings re DIP hearing (.4).
06/02/20 Michael B. Slade                       10.90 Prepare for depositions and defend
                                                      depositions (7.0); draft and edit trial outlines
                                                      (3.4); attend telephone conference with K&E
                                                      team re trial prep (.5).
06/02/20 Josh Sussberg, P.C.                     4.90 Telephone conference with B. Wafford,
                                                      Lazard and Alix re lender proposal (.4);
                                                      telephone conference with A. LeBlanc re
                                                      same (.4); correspond re DIP status (.2);
                                                      telephone conference with A. Yenamandra re
                                                      DIP and work fee (.5); prepare for status
                                                      conference (.7); telephone conference with
                                                      JCP, Lazard and Alix re DIP and next steps
                                                      (.5); correspond re depositions (.4); telephone
                                                      conference with A. Yenamandra re next steps
                                                      (.3); telephone conference with D. Kurtz re
                                                      status and roll-up (.4); telephone conference
                                                      with C. Tempke re same (.3); telephone
                                                      conference with K. Hansen re potential
                                                      settlement and counter proposal (.3);
                                                      telephone conference with R. Tysoe re status
                                                      (.2); telephone conference with B. Wafford re
                                                      status and correspond re DIP (.3).


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Date     Name                                  Hours Description
06/02/20 Gregory Tsonis                          5.50 Review and analyze declarations (.5); review
                                                      and analyze precedent re DIP reply brief
                                                      (3.6); draft brief (1.4).
06/02/20 Aparna Yenamandra                      12.00 Telephone conferences re DIP order with
                                                      Milbank, K&E team (2.3); review and revise
                                                      DIP order (2.1); correspond with K&E team
                                                      re various objections (4.1); telephone
                                                      conference with Wells re DIP order (1.4);
                                                      telephone conference with advisors re DIP
                                                      credit agreement issues (1.4); telephone
                                                      conference with K&E team re Kurtz
                                                      deposition (.7).
06/03/20 Lucas W. Brown                          7.40 Review and revise section re DIP reply (2.8);
                                                      correspond with K&E team re same (.4);
                                                      review and analyze precedent re same (1.7);
                                                      review and revise precedent chart re same
                                                      (1.2); review docket re same (.6); draft and
                                                      revise presentation re same (.7).
06/03/20 Julia R. Foster                         0.50 Research precedent re recent DIP replies (.3);
                                                      research precedent re southern district of
                                                      Texas final DIP orders (.2).
06/03/20 Yates French                           11.50 Prepare witnesses for hearing (3.5);
                                                      coordinate production of documents (1.5);
                                                      review produced documents (1.3); review and
                                                      analyze hearing exhibits (3.7); prepare for
                                                      hearing (1.5).
06/03/20 Austin Glassman                        11.80 Review, revise and discuss DIP schedules
                                                      (.8); review and revise 8-K, coordination and
                                                      discussions re same (.7); review objection and
                                                      coordinate re response re same (1.9); review,
                                                      discuss and negotiate DIP order and motion
                                                      (2.2); review, discuss and coordinate with
                                                      financial advisors re credit agreement and
                                                      reporting thereunder (3.1); review and revise
                                                      DIP ancillary and deliverable documents
                                                      (1.5); coordinate with Alix re approach on
                                                      NOLVs and borrowing base reporting (.5);
                                                      correspond re funds flow and closing
                                                      mechanics (.4); discussions re swap treatment
                                                      and related provisions (.7).
06/03/20 Scott J. Gordon                         1.20 Correspond with K&E team and analyze re
                                                      default rate under terminated swaps (.8); draft
                                                      email summary re same (.4).


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Date     Name                                  Hours Description
06/03/20 Jake William Gordon                    17.60 Review, revise DIP reply (2.8); review,
                                                      analyze DIP order (2.7); correspond with
                                                      objecting consignors re language (2.5);
                                                      correspond with Company and DIP lenders re
                                                      same (1.8); telephone conferences with
                                                      Company re same (.7); correspond with K&E
                                                      team re objections (2.3); review analyze
                                                      precedent re same (1.3); research case law re
                                                      reply (2.7); correspond with K&E team re
                                                      same (.8).
06/03/20 Meghan E. Guzaitis                      0.50 Attend telephone conference with K&E team
                                                      re strategy for DIP hearing.
06/03/20 Jae Ha                                  4.60 Draft post-closing schedule re insurance (.5);
                                                      attend telephone conference with insurance
                                                      brokers re insurance deliverables (.3); review
                                                      and summarize Milbank team's comments to
                                                      disclosure schedules (.8); comment on same
                                                      (1.4); prepare summary of discrepancy in
                                                      number of shares provided by Company and
                                                      stock certificates to K&E team (.3);
                                                      correspond with Milbank team re lien
                                                      summary and schedules (.6); review and
                                                      provide comments to Milbank's subsequent
                                                      comments to disclosure schedules (.7).
06/03/20 Timothy Conor Hughes                   16.50 Analyze and prepare comments to initial draft
                                                      security agreement (5.8); prepare revised
                                                      drafts of DIP order and conferences and
                                                      correspondence re same (2.5); prepare revised
                                                      draft of DIP credit agreement and conferences
                                                      and correspondence re same (1.5); coordinate
                                                      completion of DIP funding-related items
                                                      (2.4); correspond and conferences with K&E
                                                      team re to DIP and cash collateral hearing
                                                      (1.7); coordinate ancillary DIP documents
                                                      (2.6).




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Date     Name                                  Hours Description
06/03/20 Nick Krislov                           12.10 Telephone conference with K&E team,
                                                      consignment parties re DIP order (.4); draft,
                                                      revise presentation for DIP hearing (2.2);
                                                      correspond with K&E team re same (.5);
                                                      review, analyze objections (2.6); draft, revise
                                                      objection chart and responses (1.4);
                                                      correspond with K&E team re objections (.9);
                                                      update revise DIP brief (2.4); correspond with
                                                      K&E team re same (.6); research, analyze
                                                      case law re same (1.1).
06/03/20 Shelby Nicole Lindholm                  0.40 Telephone conference with Milbank re
                                                      closing checklist.
06/03/20 Christopher Marcus, P.C.                1.30 Attention to DIP update (.3); DIP telephone
                                                      conference (1.0).
06/03/20 Marjorie Melicharek                     0.70 Prepare production documents for attorney
                                                      review.
06/03/20 Marjorie Melicharek                     0.20 Compile deposition transcripts and exhibits
                                                      for attorney review.
06/03/20 Lekha Menon                            10.20 Research issues re DIP reply (3.9); review,
                                                      revise DIP reply (3.0); prepare for DIP
                                                      hearing (3.3).
06/03/20 Adine Mitrani                           0.50 Conference with K&E team re scheduling
                                                      foreign IP.
06/03/20 Benjamin O'Connor                       0.60 Attend telephone conference with N. Ruge, G.
                                                      Tsonis and M. Weitz re identification of key
                                                      documents.
06/03/20 Benjamin O'Connor                       7.70 Review and analyze case law re DIP issues
                                                      (.3); prepare response to crossholder group
                                                      objection (1.1); review, analyze and revise
                                                      reply brief in support of DIP motion (1.9);
                                                      correspond with A. Yenamandra, J. Gordon,
                                                      and L. Menon re edits to reply brief (.6);
                                                      prepare amended exhibit list (.5); correspond
                                                      with K&E team re edits to amended exhibit
                                                      list (.6); coordinate with K&E team and Texas
                                                      counsel re filing reply brief, amended exhibit
                                                      list and exhibits for DIP motion (1.8);
                                                      correspond with K&E team, Lazard and
                                                      AlixPartners re confidentiality issues(.9).
06/03/20 Jessie Perlman                          0.50 Correspond with K&E team re DIP and IP
                                                      schedules.




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Date     Name                                  Hours Description
06/03/20 Prentis Robinson                       6.00 Research re DIP reply (1.4); prepare
                                                     presentation for DIP hearing (3.1); correspond
                                                     with K&E team re same (.2); prepare DIP
                                                     objection chart (1.3).
06/03/20 Nicholas Ruge                          2.90 Prepare M. Slade and Y. French for DIP
                                                     hearing re research and analysis of key
                                                     documents and exhibits for direct examination
                                                     outlines (1.0); research exhibits for DIP
                                                     hearing presentation (.3); analyze, proofread
                                                     and revise DIP reply brief (.9); correspond
                                                     with B. O'Connor re sealing of confidential
                                                     exhibits and preparation of exhibits (.4);
                                                     telephone conference with D. Kurtz re DIP
                                                     hearing preparation (.3).
06/03/20 Josh Sussberg, P.C.                    6.60 Update telephone conference (.6); telephone
                                                     conference with B. Wafford and D. Kurtz re
                                                     Stroock proposal (.7); telephone conference
                                                     with D. Kurtz (.5); telephone conference with
                                                     B. Wafford, D. Kurtz and R. Tysoe re same
                                                     (.5); correspond re status of settlement (.2);
                                                     telephone conference with D. Kurtz, J.
                                                     Mesterharm, M. Slade, C. Marcus and A.
                                                     Yenamandra re adequate protection (.5);
                                                     review and revise brief (.6); prepare for and
                                                     attend board call (.9); telephone conference
                                                     with K. Hansen and cross-holder group (.4);
                                                     correspond with Milbank re status (.2);
                                                     telephone conference with D. Fiorillo (.3);
                                                     telephone conference with M. Meghji (.4);
                                                     correspond re nonconsensual cash (.2); review
                                                     and revise power point for hearing and
                                                     correspond re same (.6).
06/03/20 Gregory Tsonis                         4.50 Attend telephone conference with K&E team
                                                     and D. Kurtz re hearing prep (.8); review
                                                     exhibit lists for confidentiality issues and
                                                     hearing preparation (3.7).




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Date     Name                                  Hours Description
06/03/20 Aparna Yenamandra                      19.50 Telephone conferences re DIP order with
                                                      Milbank, K&E team (1.2); review and revise
                                                      DIP order (2.3); correspond with K&E team
                                                      re various objections (3.1); telephone
                                                      conference with UCC re potential settlement
                                                      (.4); correspond with UCC re same (1.2);
                                                      revise DIP reply (7.2); research re same (.9);
                                                      telephone conference re subsequent Stroock
                                                      proposal with K&E team, Lazard, Alix (.7);
                                                      telephone conference with K&E team, Lazard
                                                      re preparing counter (.5); prepare for and
                                                      attend Kurtz deposition preparation (1.1);
                                                      telephone conference with Wells re DIP order
                                                      (.9).
06/04/20 Tiffany Lang Chau                       0.30 Draft UCC-3 termination (.2); research and
                                                      review of underlying UCC-1 financing
                                                      statement (.1).
06/04/20 Joseph A. Correia                       3.20 Compile secretary’s certificate and other
                                                      ancillary documents (1.8); review and revise
                                                      deliverables (.5); review outstanding signature
                                                      pages from Company (.7); order and
                                                      distribute bring down good standings (.2).
06/04/20 Austin Glassman                         5.60 Prepare for and coordinate in advance of DIP
                                                      hearing (.8); review and revise 8-K report
                                                      (.5); prepare and discuss re DIP documents in
                                                      connection with closing process (1.1); review,
                                                      revise and finalize credit agreement and
                                                      related operative and ancillary documents
                                                      (2.2); coordinate and facilitate DIP financing
                                                      closing process (1.0).
06/04/20 Jake William Gordon                    10.40 Prepare for DIP hearing (3.7); correspond
                                                      with K&E team re same (2.3); review, revise
                                                      order re objections (3.9); correspond with DIP
                                                      lenders re objections and resolutions (.5).
06/04/20 Meghan E. Guzaitis                      1.60 Compile case documents for attorney review
                                                      for hearing preparation (1.1) correspond with
                                                      K&E team re documents for use at hearing
                                                      (.5).




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Date     Name                                  Hours Description
06/04/20 Jae Ha                                  3.10 Draft final version of funding notice (.3);
                                                      incorporate Milbank's comments to the same
                                                      (.5); incorporate K&E IP team's comments to
                                                      schedules to DIP pledge and security
                                                      agreement (.4); update lien summary chart
                                                      and schedules to DIP credit agreement (1.0);
                                                      attend telephone conference with Milbank
                                                      team and APKS team re closing deliverables
                                                      and mechanics (.6); procure and distribute W-
                                                      9 of borrower to requesting lender group (.3).
06/04/20 Timothy Conor Hughes                   13.40 Attend DIP hearing and correspondence re
                                                      same (2.5); coordinate completion of DIP
                                                      schedules and other ancillary DIP-related
                                                      items (6.5); prepare comments to security
                                                      agreement and conferences and correspond re
                                                      same (1.0); prepare revised draft of credit
                                                      agreement and correspond and conferences re
                                                      same (2.1); conferences and correspond re
                                                      roll-up and closing mechanics (1.3).
06/04/20 Nick Krislov                            2.30 Revise, update objection chart (.4); review,
                                                      analyze objections and joinders (.5);
                                                      correspond with K&E team re same (.1);
                                                      correspond with Prime Clerk, Alix teams re
                                                      roll up logistics (.2); draft, revise status notice
                                                      to consignors re DIP order (.9); correspond
                                                      with J. Gordon re same (.2).
06/04/20 Shelby Nicole Lindholm                  0.60 Telephone conference with Milbank re DIP
                                                      closing.
06/04/20 Lekha Menon                             1.30 Research re dischargeable claims.
06/04/20 Jessie Perlman                          1.00 Review and mark up DIP IP schedules.
06/04/20 Prentis Robinson                        2.40 Review, revise presentation re DIP hearing
                                                      (2.1); review, revise DIP objection chart (.3).
06/04/20 Aparna Yenamandra                       6.70 Draft talking points for DIP hearing (2.4);
                                                      telephone conferences re same with J.
                                                      Sussberg, C. Marcus (1.1); correspond with
                                                      Milbank, Stroock, K&E re modifications to
                                                      DIP order (2.1); correspond with DIP
                                                      objectors re outstanding objections (1.1).
06/05/20 Margaret R. Alden                       0.10 Correspond with Company re KYC re escrow
                                                      agreement.
06/05/20 Joseph A. Correia                       1.00 Revise ancillary documents as per T. Hughes
                                                      and J. Ha (.8); re-order bring down good
                                                      standings from CT Corp (.2).

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Date     Name                                  Hours Description
06/05/20 Austin Glassman                        5.00 Negotiate and finalize operative and ancillary
                                                     documentation in connection with DIP
                                                     financing (1.8); discuss and coordinate roll-up
                                                     process and mechanics re same (1.0);
                                                     coordinate and correspond re facilitating
                                                     closing process (2.2).
06/05/20 Jake William Gordon                    4.80 Review, finalize DIP order (3.4); correspond
                                                     with objectors re same (1.4).
06/05/20 Meghan E. Guzaitis                     0.70 Compile pleadings for attorney review.
06/05/20 Jae Ha                                 0.60 Update and circulate executed version of
                                                     funding notice (.4); review and distribute
                                                     executed version of letter of direction (.2).
06/05/20 Timothy Conor Hughes                   9.00 Coordinate finalization of credit agreement
                                                     and ancillary DIP documents and conferences
                                                     and correspondence re same (6.9); coordinate
                                                     closing mechanics including roll-up and
                                                     payment of invoices (2.1).
06/05/20 Lanchi Huynh                           1.30 Review DIP credit agreement (.5); correspond
                                                     with K&E team re DIP roll-up process (.4);
                                                     telephone conference with Alix, Prime Clerk,
                                                     Stroock, Milbank and K&E teams re DIP roll-
                                                     up and closing (.4).
06/05/20 Nick Krislov                           1.20 Correspond and telephone conference with
                                                     advisors, roll up parties re roll up mechanics
                                                     (.6); review, analyze entered DIP order (.3);
                                                     correspond with Company, K&E team re
                                                     entered DIP order (.3).
06/05/20 Adine Mitrani                          4.20 Negotiate and mark-up security agreement
                                                     (2.0); conferece with Company re IP related
                                                     representations (2.2).
06/05/20 Josh Sussberg, P.C.                    1.00 Telephone conference with A. Yenamandra re
                                                     status (.4); correspond re DIP (.1); telephone
                                                     conference with K. Hansen (.3); telephone
                                                     conference with D. Kurtz (.2).
06/05/20 Aparna Yenamandra                      8.40 Telephone conferences re DIP order and DIP
                                                     credit agreement with K&E team, Milbank,
                                                     Stroock (4.1); research re prior permitted lien
                                                     issues (.8); revise DIP order (.6); correspond
                                                     with K&E team re revisions to order and
                                                     budget issues (2.1); correspond with K&E
                                                     team re closing issues (.8).




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Date     Name                                  Hours Description
06/06/20 Alistair Fatheazam                     1.20 Review, revise cash management final order
                                                     (.5); review, revise precedent and UCC
                                                     comments re same (.5); correspond with R.
                                                     Chaikin and A. Weinhouse re same (.2).
06/06/20 Austin Glassman                        0.60 Facilitate and coordinate closing process.
06/06/20 Jae Ha                                 1.20 Review executed versions of DIP pledge and
                                                     security agreement, omnibus secretary's
                                                     certificate, agent fee letter, funding notice and
                                                     letter of direction (.8); update signature pages
                                                     to agent fee letter (.2); provide comments to
                                                     executed version of DIP credit agreement (.2).
06/06/20 Timothy Conor Hughes                   1.50 Coordinate completion of DIP documents and
                                                     DIP funding.
06/07/20 Austin Glassman                        1.80 Coordinate and facilitate closing processes.
06/07/20 Jake William Gordon                    0.50 Review, analyze budget and coordinate filing.
06/07/20 Timothy Conor Hughes                   2.80 Review and prepare executed DIP documents
                                                     and coordinate closing.
06/07/20 Nick Krislov                           0.30 Correspond with J. Gordon re notice of
                                                     amended budget (.1); review, analyze key
                                                     case dates for DIP financing (.2).
06/07/20 Anthony Vincenzo Sexton                0.70 Review and analyze DIP materials.
06/08/20 Joseph A. Correia                      2.00 Research re final executed PDF’s and final
                                                     word versions as per T. Hughes and J. Ha
                                                     (1.4); correspond re outstanding PDF’s and
                                                     word versions (.3); compile and distribute
                                                     closing set of documentation (.3).
06/08/20 Alistair Fatheazam                     0.90 Review, revise cash management final order
                                                     (.3); review, analyze UCC and U.S. Trustee
                                                     comments re same (.3); correspond with K&E
                                                     team re same (.3).
06/08/20 Austin Glassman                        3.90 Prepare, coordinate and facilitate DIP closing
                                                     (1.6); review and coordinate re 8-K filings
                                                     and related matters (.9); correspond with
                                                     K&E team and advisors re compliance with
                                                     credit agreement and related matters (.8);
                                                     correspond with K&E team (.2); discuss re
                                                     wire confirmations (.2); discuss re post-
                                                     closing waiver (.2).




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Date     Name                                  Hours Description
06/08/20 Jake William Gordon                    3.30 Telephone conference re closing (1.1);
                                                     review, analyze reporting issues (.8);
                                                     correspond with Alix team re same (.3);
                                                     coordinate carve out issues (.9); review,
                                                     analyze DIP issues (.2).
06/08/20 Jae Ha                                 5.30 Closing telephone conference (.2); prepare
                                                     instructions for preparation of closing set (.5);
                                                     draft chart of Company's deliverables and
                                                     deadlines (3.4); prepare and send internal
                                                     calendar reminders for upcoming financing
                                                     deadlines (.4); upload deal information on
                                                     K&E deal database (.3); review closing set
                                                     (.5).
06/08/20 Paul Stephens Hendrickson              0.30 Correspond with K&E team re DIP.
06/08/20 Timothy Conor Hughes                   6.50 Review and prepare executed DIP documents
                                                     and coordinate closing and funding.
06/08/20 Shelby Nicole Lindholm                 0.20 Telephone conference with Milbank re
                                                     closing.
06/08/20 Benjamin O'Connor                      0.30 Review and analyze upcoming Company debt
                                                     payments (.2); correspond with Lazard and
                                                     K&E team re upcoming debt payments (.1).
06/08/20 Anthony Vincenzo Sexton                1.90 Telephone conference with Milbank re DIP
                                                     issues (.6); review and analyze issues re same
                                                     (1.3).
06/09/20 Joseph A. Correia                      0.30 Research and draft waiver signature pages.
06/09/20 Austin Glassman                        6.90 Prepare for and attend equity committee
                                                     hearing, assist K&E team, advisors and key
                                                     witnesses with preparation in connection
                                                     therewith (2.8); review and discuss issues
                                                     related to appraisal and borrowing base
                                                     reporting (.6); review, negotiate and discuss
                                                     waivers of certain milestones, coordination
                                                     with K&E team, advisors and Company re
                                                     open issues related to such waiver and related
                                                     milestones and reports (1.5); assist with and
                                                     discuss re deliverables and credit facility
                                                     reporting, coordination with K&E team and
                                                     Company in connection therewith (1.8);
                                                     coordinate re wires and roll-up mechanics
                                                     (.2).
06/09/20 Jake William Gordon                    2.10 Review, analyze DIP issues (1.3); correspond
                                                     with K&E team re same (.8).


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Date     Name                                  Hours Description
06/09/20 Jae Ha                                 1.20 Incorporate A. Glassman's comments to
                                                     Company deliverables chart (.7); review
                                                     broker's draft of the insurance certificates and
                                                     endorsements (.3); incorporate T. Hughes
                                                     comments to same (.2).
06/09/20 Timothy Conor Hughes                   5.70 Prepare comments to draft waiver and
                                                     conference and correspondence re same (2.8);
                                                     prepare comments to deliverables chart (1.3);
                                                     correspondence re roll-up and funding
                                                     mechanics (.4); coordinate completion of
                                                     post-closing DIP items (1.2).
06/09/20 Nick Krislov                           0.80 Review, analyze DIP order re carve out
                                                     funding (.6); correspond with J. Gordon re
                                                     same and funding dates (.2).
06/09/20 Aparna Yenamandra                      0.50 Telephone conference with advisors re ABL
                                                     issues.
06/10/20 Alistair Fatheazam                     2.00 Correspond with outside counsel re cash
                                                     management final order (.6); correspond with
                                                     A. Weinhouse re same (.4); telephone
                                                     conferences with outside counsel re proposed
                                                     changes to cash management order (.5);
                                                     review, revise cash management final order
                                                     (.5).
06/10/20 Austin Glassman                        4.90 Discuss and coordinate re cleansing
                                                     provisions and NDA negotiations (.5); discuss
                                                     and coordinate re roll-up mechanics and
                                                     necessary actions (.9); review and discuss
                                                     issues related to appraisal and borrowing base
                                                     reporting (.5); assist and discuss deliverables
                                                     and credit facility reporting, coordination with
                                                     K&E team and Company re same (1.5);
                                                     review reporting summaries at request of
                                                     restructuring team and review and revise
                                                     timelines and organizational materials used by
                                                     Company and advisors (1.2); discuss store
                                                     closings and credit compliance (.3).
06/10/20 Jae Ha                                 1.00 Incorporate final comments to deliverables
                                                     chart (.8); prepare and send closing set for
                                                     DIP term loan (.2).
06/10/20 Timothy Conor Hughes                   7.60 Prepare revised draft of deliverables chart
                                                     (1.2); prepare revised draft of restructuring
                                                     checklist and timeline (5.8); correspond with
                                                     K&E team re DIP in relation to upcoming
                                                     hearings (.6).

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06/10/20 Nick Krislov                           0.20 Telephone conference with lenders, Alix,
                                                     K&E team re roll up logistics.
06/10/20 Aparna Yenamandra                      0.80 Correspond with K&E team re DIP waiver.
06/11/20 Alistair Fatheazam                     1.40 Correspond with A. Weinhouse, Alix and
                                                     Company re cash management questions (.6);
                                                     review, analyze bank information from
                                                     Company re same (.5); review, analyze cash
                                                     management order re same (.3).
06/11/20 Austin Glassman                        5.50 Discuss and coordinate re store closingsales
                                                     and credit compliance (.5); assist and discuss
                                                     credit facility reporting and related issues
                                                     including preparation and review of
                                                     compliance materials and certificates (.9);
                                                     prepare for and attend second day hearing and
                                                     assist K&E team, advisors and key witnesses
                                                     with preparation re same (4.1).
06/11/20 Jake William Gordon                    0.60 Coordinate consignment reporting issues.
06/11/20 Jake William Gordon                    0.80 Review, analyze dip reporting issues.
06/11/20 Timothy Conor Hughes                   3.60 Attend hearing and correspond re same (2.4);
                                                     prepare form certificate for post-closing DIP
                                                     deliverables (1.2).
06/11/20 Aparna Yenamandra                      0.80 Telephone conferences with Company, K&E
                                                     team re DIP waiver.
06/12/20 Austin Glassman                        4.10 Discuss with advisors and Company re DIP
                                                     reporting, coordination and review of
                                                     materials, including compliance with credit
                                                     facilities and court orders in connection with
                                                     GOB sales, reports to be delivered and real
                                                     estate reports and assist in preparing summary
                                                     compliance materials and delivering required
                                                     items (2.6); correspond with opposing counsel
                                                     re assignments (.3); review real estate
                                                     reporting requirements (.6); review and
                                                     discuss compliance issues related to foreign
                                                     subsidiaries (.2); discuss and review
                                                     documentation in connection with NDAs and
                                                     related disclosure matters (.4).
06/12/20 Jake William Gordon                    0.70 Prepare for and attend telephone conference
                                                     re consignment reporting.




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Date     Name                                  Hours Description
06/12/20 Timothy Conor Hughes                   3.50 Coordinate completion of DIP deliverables
                                                     and correspondence re same (2.2); coordinate
                                                     completion of post-closing insurance
                                                     deliverables (.3); correspond re Company
                                                     questions on DIP financing (.4); coordinate
                                                     Company response on DIP waiver and
                                                     prepare comments to same (.6).
06/13/20 Austin Glassman                        0.50 Respond to inquiries related to UCC and
                                                     review credit documents in connection
                                                     therewith.
06/13/20 Josh Sussberg, P.C.                    0.70 Telephone conference with Company re
                                                     bidder (.2); telephone conference with D.
                                                     Kurtz re status (.2); correspond re Nike and
                                                     status (.1); correspond re GOB sales and
                                                     timing (.2).
06/14/20 Austin Glassman                        0.50 Coordination re DIP waiver, negotiation
                                                     thereof with opposing counsel and correspond
                                                     with K&E team and advisors re same.
06/14/20 Josh Sussberg, P.C.                    1.00 Telephone conference with B. Wafford and
                                                     D. Kurtz re status (.4); correspond with B.
                                                     Wafford re same (.1); correspond re GOB
                                                     sales and Hilco model (.2); correspond re
                                                     disclosure matters (.2); correspond re Nike
                                                     status (.1).
06/15/20 Margaret R. Alden                      0.20 Review, analyze requirements re authorized
                                                     payments.
06/15/20 Rebecca Blake Chaikin                  0.70 Correspond with K&E team, Company,
                                                     advisors re lease and property optimization
                                                     reports.
06/15/20 Austin Glassman                        3.00 Review and discuss materials in connection
                                                     with DIP budget (.5); review and discuss
                                                     compliance matters in connection with
                                                     appraisal and distribution thereof (.3);
                                                     coordinate advisors and Company teams in
                                                     connection with waiver and milestone
                                                     amendments (.9); discussions re strategy and
                                                     requirements related to budget updates and
                                                     negotiations between advisors re approval of
                                                     current budget and related changes to
                                                     variance testing (.9); correspondence and
                                                     coordination re amendment, real estate reports
                                                     and related compliance matters (.4).



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J.C. Penney Company, Inc.                                      Matter Number:              47223-4
RSA Amend. & Compliance/DIP Financing/Cash
Collateral and Management

Date     Name                                  Hours Description
06/15/20 Jake William Gordon                    2.30 Telephone conferences re consignment issues
                                                     (1.2); review, analyze issues re same (1.1).
06/15/20 Timothy Conor Hughes                   3.00 Coordinate completion of waiver (.4); prepare
                                                     comments to deal checklist tracker (.5);
                                                     prepare responses to Company and K&E team
                                                     questions (2.1).
06/15/20 Matthew A. Schroth                     2.60 Revise deal work in progress tracker (1.0);
                                                     revise work stream tracker (1.6).
06/16/20 Mike Beinus, P.C.                      1.80 Review re NOLs and related analysis (.5);
                                                     correspond re same (.3); analyze re DIP (1.0).
06/16/20 Austin Glassman                        4.50 Coordinate, correspond and discuss with
                                                     Company advisors and lender advisors re roll-
                                                     up and related matters (1.1); correspond and
                                                     discussions re DIP defaults, reporting waivers
                                                     and necessary amendments (1.9); coordinate
                                                     and discuss re credit agreement review related
                                                     to ABL borrowing base and related matters
                                                     (.3); discuss and coordinate documentation
                                                     related to DIP budget updates and related
                                                     changes to documents (.6); coordinate re
                                                     notice requirements, 8-Ks and NDA matters
                                                     (.6).
06/16/20 Timothy Conor Hughes                   4.10 Conference re ABL borrowing base (.4);
                                                     coordinate Company response re quarterly
                                                     financials and conferences re same (2.3);
                                                     correspond re questions on DIP documents re
                                                     sales of collateral and ABL borrowing base
                                                     (1.4).
06/16/20 Josh Sussberg, P.C.                    0.80 Correspond re DIP amendment (.3);
                                                     correspond re DIP amendment (.5).
06/16/20 Aparna Yenamandra                      0.70 Telephone conference with A. Glassman re
                                                     DIP waiver issues.




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Date     Name                                  Hours Description
06/17/20 Austin Glassman                        5.10 Coordinate, review and revise waivers and
                                                     negotiate and discuss requirements and
                                                     related items with Company, advisors, DIP
                                                     lenders and ABL lenders (2.5); discuss and
                                                     coordinate re 8-K, NDA matters and notices
                                                     (.3); coordinate re surety bonds and analyze
                                                     and review of credit facility provisions (.4);
                                                     discuss re roll-up and reconciliation (.5);
                                                     discuss and assist in preparation of
                                                     compliance materials and aid Company and
                                                     advisors in ensuring compliance with DIP
                                                     documents and order (1.3); coordination re
                                                     ratings (.1).
06/17/20 John Thomas Goldman                    1.00 Correspond and telephone conference re
                                                     Milbank request for collateral info.
06/17/20 Jake William Gordon                    2.60 Telephone conferences re consignment issues
                                                     (1.4); review, analyze issues re same (1.2).
06/17/20 Paul Stephens Hendrickson              2.90 Analzye DIP loans funding from existing debt
                                                     holders.
06/17/20 Timothy Conor Hughes                   2.50 Coordinate Company response re quarterly
                                                     financials and conferences re same (1.7);
                                                     correspond re questions on the DIP
                                                     documents including surety bonds and
                                                     milestone (.8).
06/18/20 Mike Beinus, P.C.                      1.20 Review DIP analysis (1.0); correspond re
                                                     same (.2).
06/18/20 Rebecca Blake Chaikin                  0.40 Telephone conference with A. Glassman, T.
                                                     Hughes, K. Pageau re DIP agreement consent
                                                     requirements.
06/18/20 Joseph A. Correia                      1.00 Research and draft signature pages for
                                                     amendment No. 1 (.6); research and draft
                                                     signature pages for waiver (.4).
06/18/20 Austin Glassman                        4.10 Coordinate and discuss with advisors and
                                                     K&E team re compliance matters and WIP
                                                     work streams (.9); negotiate and finalize
                                                     amendment documentation and waivers in
                                                     connection with necessary amendments under
                                                     DIP credit agreement and related reporting
                                                     changes (2.7); coordinate re swaps and
                                                     adequate protection payments (.5).
06/18/20 Jake William Gordon                    0.50 Review, analyze consignment issues.
06/18/20 Jake William Gordon                    0.60 Analyze issues re DIP order.


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RSA Amend. & Compliance/DIP Financing/Cash
Collateral and Management

Date     Name                                  Hours Description
06/18/20 Jae Ha                                 1.90 Review and provide comments to amendment
                                                     No. 1 to DIP credit agreement (1.7); review
                                                     Milbank's revised draft of same (.2).
06/18/20 Paul Stephens Hendrickson              0.70 Analyze prorata funding of DIP loans.
06/18/20 Timothy Conor Hughes                   5.60 Conference with K&E team re DIP credit
                                                     agreement consent rights and correspondence
                                                     re same (.5); prepare initial draft DIP waiver
                                                     and correspond and conferences resame (2.3);
                                                     prepare comments to initial draft DIP
                                                     amendment and correspondence re same
                                                     (2.5); correspond re questions on DIP
                                                     documents (.3).
06/18/20 Drue A. Santora                        0.20 Review swap interest inquiry.
06/19/20 Austin Glassman                        2.00 Correspond with K&E team, Company and
                                                     advisors re swap and interest payments (.2);
                                                     coordinate and facilitate waiver, amendment
                                                     closings (.8); coordinate and discuss with
                                                     advisors and opposing counsel re roll-up and
                                                     reconciliation (.3); coordinate re reporting
                                                     timeline and weekly requirements with Alix
                                                     and Company (.5); respond to diligence
                                                     inquiries (.2).
06/19/20 John Thomas Goldman                    1.00 Review and discuss DIP credit agreement,
                                                     delivery requirements and milestones.
06/19/20 Jake William Gordon                    1.10 Review, correspond with Alix re consignment
                                                     issues.
06/19/20 Timothy Conor Hughes                   2.10 Coordinate completion of DIP waiver and
                                                     amendment and ABL extensions and
                                                     correspondence re same (1.6); coordinate
                                                     responses to debt-related diligence questions
                                                     (.5).
06/19/20 Lanchi Huynh                           0.80 Telephone conference with Milbank re DIP
                                                     roll-up procedures.
06/19/20 Jonathan A. Schechter, P.C.            0.80 Attention to DIP credit agreement items and
                                                     related correspondence.
06/20/20 Josh Sussberg, P.C.                    0.50 Correspond re bidder NDA and next steps.
06/21/20 Austin Glassman                        0.50 Correspond with K&E team re reporting
                                                     matters under DIP and cash collateral order.
06/21/20 Nick Krislov                           0.20 Review, analyze deal milestones and key
                                                     dates re DIP.




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Date     Name                                  Hours Description
06/21/20 Josh Sussberg, P.C.                    0.60 Correspond re bidder NDA and next steps
                                                     (.2); telephone conference with J. Goldman re
                                                     same (.4).
06/22/20 Mike Beinus, P.C.                      1.50 Analyze DIP financing issue.
06/22/20 Austin Glassman                        2.60 Coordinate and reconcile re roll-up (.8);
                                                     correspond with Company team and
                                                     professional advisors re reporting obligations
                                                     and credit compliance matters (1.2);
                                                     correspond and coordinate re adequate
                                                     protection payments, milestones, business
                                                     plan and other deliverable requirements (.6).
06/22/20 Jake William Gordon                    0.50 Analyze DIP order re amendment issue.
06/22/20 Jae Ha                                 0.80 Review Milbank team's comments to
                                                     insurance endorsements (.3); prepare and send
                                                     instructions to insurance brokers to revise the
                                                     same in light of comments (.5).
06/22/20 Paul Stephens Hendrickson              1.40 Draft materials re DIP funding from existing
                                                     debt holdings.
06/22/20 Timothy Conor Hughes                   2.60 Coordinate Company response re quarterly
                                                     financials and compliance certificate (1.8);
                                                     correspond with K&E team re questions on
                                                     DIP documents including quarterly financials
                                                     and interest rates (.8).
06/22/20 Lanchi Huynh                           1.50 Conference with B. Riley re lease
                                                     restructuring updates (.2); conference with
                                                     Milbank re DIP roll-up financing matters (.7);
                                                     conference with Milbank, K&E team, Alix
                                                     and Prime Clerk team re DIP roll-up
                                                     financing matters (.6).
06/22/20 Aparna Yenamandra                      1.80 Correspond with advisors re mechanics for
                                                     satisfying DIP milestones (.7); correspond
                                                     with swaps counsel re payments (.3);
                                                     correspond with Alix re administrative
                                                     allocation issues (.8).
06/23/20 Justin Bender                          1.50 Review master lease term sheet (.5);
                                                     telephone conference with J. Goldman and J.
                                                     Betts re same (1.0).




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Collateral and Management

Date     Name                                  Hours Description
06/23/20 Austin Glassman                        2.40 Discuss and coordinate re monthly reporting
                                                     and confidentiality obligations (1.5);
                                                     correspond with advisors re adequate
                                                     protection payments, compliance matters and
                                                     deliverable items (.7); coordinate re successor
                                                     agent obligations and UCC diligence requests
                                                     (.2).
06/23/20 Timothy Conor Hughes                   1.90 Conference and correspond re monthly
                                                     financials and public-side deliverables (1.4);
                                                     correspond with K&E team re DIP documents
                                                     and prepetition debt documents including
                                                     public-side deliverables and unsecured
                                                     creditors diligence (.5).
06/23/20 Aparna Yenamandra                      1.50 Correspond with K&E team re monthly
                                                     reporting under DIP (.7); correspond with
                                                     Alix re allocation methodology requirement
                                                     under DIP (.4); telephone conference with
                                                     UCC counsel re same (.4).
06/24/20 Austin Glassman                        2.40 Correspond and telephone conference with
                                                     Company, advisors and K&E team re
                                                     deliverable requirements under credit facility
                                                     and relevant orders, discussions re necessary
                                                     waivers and amendments in connection
                                                     therewith and requisite consents/strategic
                                                     considerations (1.5); coordinate and manage
                                                     K&E team in connection with DIP
                                                     compliance (.4); correspond with K&E team
                                                     re deadlines and milestones (.3); coordinate re
                                                     permitted transactions and applicable
                                                     disclosure (.2).
06/24/20 Jake William Gordon                    0.50 Implement MT payment procedures.
06/24/20 Jae Ha                                 1.90 Review and provide comments to Milbank's
                                                     draft of final loan escrow account DACA.
06/24/20 Timothy Conor Hughes                   2.50 Analyze control agreement and prepare
                                                     comments to same (.9); conference with Alix
                                                     team re financial statements (.4); correspond
                                                     with K&E team re K&E questions re DIP
                                                     documents including consignment and liens
                                                     (1.2).
06/24/20 Prentis Robinson                       2.20 Prepare summary chart re consignment terms
                                                     (1.5); review, analyze final DIP order re same
                                                     (.7).
06/24/20 Matthew A. Schroth                     1.00 Revise deal work in process.


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Date     Name                                  Hours Description
06/25/20 Austin Glassman                        2.90 Correspond and telephone conference with
                                                     K&E team, advisors and Company re credit
                                                     agreement and applicable order deliverables
                                                     and deadlines (.9); coordinate and discuss
                                                     with K&E team re DIP contents, return to
                                                     vendor transactions, asset sales and
                                                     dispositions (.8); coordination re document
                                                     production and committee requests (.4);
                                                     coordinate with Alix team re borrowing base
                                                     calculations and agent requests (.3);
                                                     coordinate re adequate protection claims (.2);
                                                     coordinate re escrow account and related
                                                     DACA (.3).
06/25/20 Jae Ha                                 0.50 Review and incorporate T. Hughes' comments
                                                     to final loan escrow account DACA (.4);
                                                     distribute same to Milbank, APKS and Citi
                                                     teams (.1).
06/25/20 Timothy Conor Hughes                   3.40 Analyze control agreement and prepare
                                                     comments to same (1.2); correspond with
                                                     K&E team re internal K&E questions re DIP
                                                     documents and prepetition debt documents
                                                     including asset sales and unsecured creditors
                                                     diligence (2.2).
06/25/20 Aparna Yenamandra                      0.80 Correspond with Milbank re RE deliverables
                                                     under DIP milestones.
06/26/20 Austin Glassman                        1.70 Correspond with K&E team and advisors re
                                                     second draw requirements and timing (.3);
                                                     coordinate re salvage documents and review
                                                     thereof (.3); coordinate and discussions re
                                                     borrowing base (.1); coordinate and
                                                     discussions re business plan parameters,
                                                     monthly financials and other financial,
                                                     reporting deliverables, NDA requirements and
                                                     related disclosures (1.0).
06/26/20 Jae Ha                                 1.00 Draft funding notice for final loan (.7);
                                                     prepare list of outstanding items needed to
                                                     finalize the same (.3).
06/26/20 Timothy Conor Hughes                   2.10 Correspond re internal K&E and advisor
                                                     questions on the DIP documents and
                                                     prepetition debt documents including asset
                                                     sales, cash management, reporting
                                                     requirements and insurance.
06/26/20 Thomas P. O'Connor                     0.20 Review deal team correspondence.


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Date     Name                                  Hours Description
06/26/20 Aparna Yenamandra                      0.90 Correspond with Milbank re DIP deliverables
                                                     and status thereof.
06/27/20 Austin Glassman                        0.60 Correspond with K&E team and advisors re
                                                     lender inquiries, amendments, waivers and
                                                     milestones.
06/27/20 Timothy Conor Hughes                   0.30 Correspond re internal K&E insurance
                                                     questions re DIP documents.
06/27/20 Lanchi Huynh                           0.30 Conference with HL, Alix, Milbank teams re
                                                     DIP roll up (.1); review matters re same (.2).
06/28/20 Austin Glassman                        0.50 Correspond with K&E team and advisors re
                                                     lender inquiries, amendments, waivers and
                                                     milestones.
06/28/20 Timothy Conor Hughes                   0.20 Correspond re business plan parameters and
                                                     internal deal checklist.
06/29/20 Rebecca Blake Chaikin                  0.60 Telephone conference with K&E team, Alix,
                                                     Lazard re DIP draw (.5); correspond with
                                                     K&E team, Lazard re same (.1).
06/29/20 Austin Glassman                        1.80 Coordinate re second draw timing, strategic
                                                     considerations and necessary deliverables
                                                     (.5); coordinate and review documentation in
                                                     connection with escrow account (.5);
                                                     coordinate and discuss re milestones and
                                                     applicable disclosure (.4); coordinate re
                                                     insurance deliverables, monthly financials and
                                                     Company bank accounts (.4).
06/29/20 Jae Ha                                 0.70 Correspond with K&E team re additional
                                                     information required for deliverables (.3);
                                                     review insurance broker's comments to real
                                                     estate exhibits to endorsements (.4).
06/29/20 Timothy Conor Hughes                   1.10 Conference re second tranche and draw
                                                     mechanics (.4); correspond with K&E team,
                                                     advisors re questions on DIP documents and
                                                     prepetition debt documents including asset
                                                     sales and unsecured creditors diligence (.7).
06/29/20 Aparna Yenamandra                      0.60 Telephone conference with advisors re DIP
                                                     second draw.




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Date     Name                                  Hours Description
06/30/20 Austin Glassman                        2.90 Coordinate, manage and review Company
                                                     deliverable requirements (.6); discuss and
                                                     coordinate re timing of second draw, strategic
                                                     discussions with lenders and escrow
                                                     mechanics (.5); discuss with Company
                                                     advisors and opposing parties re roll-up
                                                     mechanics and calculations and necessary
                                                     transactions (.7); coordinate and evaluate
                                                     interest payment issues and discussions re
                                                     missed interest payment, coordination re
                                                     interest calculations and necessary waivers
                                                     (.6); review stipulation and credit agreement
                                                     re same (.5).
06/30/20 Jae Ha                                 0.30 Review CitiBank's comments to final loan
                                                     escrow account DACA (.2); send same to
                                                     Milbank and APKS teams (.1).
06/30/20 Timothy Conor Hughes                   3.10 Prepare comments to control agreement (.6);
                                                     coordinate completion of post-closing DIP
                                                     deliverables (.6); conference with advisors re
                                                     DIP deliverables (.5); correspond with K&E
                                                     team and advisors re questions on DIP
                                                     documents and prepetition debt documents
                                                     including interest payment date and delivery
                                                     of borrowing notice for second draw (1.4).
06/30/20 Lanchi Huynh                           5.90 Review proposed materials for cleansing
                                                     (1.3); review matters relating to DIP roll-up
                                                     interest payments (.6); correspond with
                                                     Company re risk factors for 10-Q relating to
                                                     chapter 11 (.3); review matters relating to
                                                     final DIP draw (.4); review issues relating to
                                                     cleansing (2.0); conference with Milbank re
                                                     cleansing matters (.9); conference with B.
                                                     Riley re cleansing matters (.4).
06/30/20 Thomas P. O'Connor                     0.40 Review deal team correspondence.
06/30/20 Miriam A. Peguero Medrano              0.50 Correspond with A. Weinhouse, Company re
                                                     BofA accounts. (.3); correspond with R.
                                                     Chaikin, JW team re 345(b) stipulation (.2).
06/30/20 Nicholas Ruge                          1.80 Correspond with M. Alden re documents in
                                                     marketing process dataroom (.3); research and
                                                     review documents in marketing process
                                                     dataroom and access to that dataroom (1.0);
                                                     correspond with data site technician re
                                                     running analytic report (.5).


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Date     Name                                  Hours Description
06/30/20 Aparna Yenamandra                      0.80 Correspond with K&E team re various real
                                                     estate deliverables under DIP.

Total                                        1,676.40




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                          FEIN XX-XXXXXXX




September 15, 2020

J.C. Penney Company, Inc.
6501 Legacy Drive
Plano, TX 75024

Attn: Brandy Treadway

                                                                            Invoice Number: 1050032371
                                                                              Client Matter: 47223-5

In the Matter of Restruc. Trans/DS/Plan Conf./Emergence




For legal services rendered through June 30, 2020
(see attached Description of Legal Services for detail)                                                      $ 427,727.50
Total legal services rendered                                                                                $ 427,727.50




  Beijing Boston Chicago Dallas Hong Kong Houston London Los Angeles Munich Palo Alto Paris San Francisco Shanghai Washington, D.C.
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Restruc. Trans/DS/Plan Conf./Emergence




                                         Summary of Hours Billed

Name                                                     Hours         Rate    Amount
Margaret R. Alden                                         24.20      610.00   14,762.00
Matthew Antinossi                                          1.00    1,375.00    1,375.00
Jenn Betts                                                 3.00    1,035.00    3,105.00
Lucas W. Brown                                            19.80      610.00   12,078.00
Chris Ceresa                                               9.70      610.00    5,917.00
Rebecca Blake Chaikin                                     25.00    1,085.00   27,125.00
Tess Elizabeth Dennis                                      7.40      610.00    4,514.00
Alistair Fatheazam                                         4.10      740.00    3,034.00
Julia R. Foster                                            3.40      340.00    1,156.00
Austin Glassman                                            8.40    1,165.00    9,786.00
John Thomas Goldman                                        6.00    1,195.00    7,170.00
Jake William Gordon                                        3.00      845.00    2,535.00
Key Hemyari                                                0.10      845.00       84.50
Walter S. Holzer, P.C.                                     5.70    1,465.00    8,350.50
Sophia Hudson, P.C.                                        0.50    1,525.00      762.50
Lanchi Huynh                                               1.00    1,305.00    1,305.00
Melissa D. Kalka                                           8.20    1,165.00    9,553.00
Talia Krause                                               3.00      610.00    1,830.00
Aisha P. Lavinier                                         50.20    1,135.00   56,977.00
Will Lawley                                                2.50      845.00    2,112.50
Marc Anthony Lipscomb                                      7.40    1,135.00    8,399.00
Christopher Marcus, P.C.                                   2.00    1,635.00    3,270.00
Joshua Merrill                                             1.90    1,085.00    2,061.50
Adine Mitrani                                              1.10      965.00    1,061.50
Thomas P. O'Connor                                         0.20    1,035.00      207.00
Carrie Therese Oppenheim                                   0.10      445.00       44.50
Jessie Perlman                                             3.00      610.00    1,830.00
John Phelan                                               20.80      610.00   12,688.00
Jeffrey S. Quinn                                           0.20    1,375.00      275.00
Claudia Ray                                                1.70    1,295.00    2,201.50
Prentis Robinson                                           4.80      610.00    2,928.00
Tana Ryan, P.C.                                            6.50    1,395.00    9,067.50


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Restruc. Trans/DS/Plan Conf./Emergence

Name                                                     Hours        Rate      Amount
Jonathan A. Schechter, P.C.                                6.00   1,525.00      9,150.00
Matthew A. Schroth                                         7.80     740.00      5,772.00
Sam Steinman                                              14.30     965.00     13,799.50
Josh Sussberg, P.C.                                       33.90   1,635.00     55,426.50
Christopher Thomas, P.C.                                   2.60   1,215.00      3,159.00
Steve Toth                                                10.20   1,295.00     13,209.00
Seth Traxler, P.C.                                         0.10   1,495.00        149.50
Gregory Tsonis                                             4.70     970.00      4,559.00
Allyson Smith Weinhouse                                    1.00     965.00        965.00
Lydia Yale                                                 0.30     275.00         82.50
Aparna Yenamandra                                         56.40   1,165.00     65,706.00
Samuel Zaretsky                                           43.60     845.00     36,842.00
Abbey Zuech                                                2.20     610.00      1,342.00

TOTALS                                                   419.00              $ 427,727.50




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                                       Description of Legal Services

Date     Name                                  Hours Description
05/15/20 Margaret R. Alden                      7.20 Revise RSA (1.5); telephone conferences and
                                                     correspond with Milbank, HL, Lazard, AP,
                                                     K&E team re deal documents (3.9); compile
                                                     execution versions re same (.3); correspond
                                                     with Company re same (1.0); correspond with
                                                     Katten, Quinn re deal documents (.5).
05/15/20 Austin Glassman                        8.40 Negotiate RSA and other transaction terms
                                                     (2.7); discussions with multiple constituents
                                                     (2.4); strategic discussions (1.6); correspond
                                                     with Company and advisors re same (.6);
                                                     assist in Company management and credit
                                                     compliance (1.1).
05/15/20 Josh Sussberg, P.C.                    3.80 Telephone conferences re deal status and next
                                                     steps (.8); review RSA (1.1); telephone
                                                     conferences with B. Wafford (.6); telephone
                                                     conferences with D. Kurtz (.7); telephone
                                                     conferences with J. Zinman (.6).
05/15/20 Steve Toth                             1.20 Analyze revised RSA and term sheet drafts
                                                     and participate in related all hands telephone
                                                     conference.
05/15/20 Aparna Yenamandra                      0.90 Draft and finalize final RSA and term sheet.
05/16/20 Margaret R. Alden                      0.30 Review, analyze deal documents re lender
                                                     issues (.2); correspond with A. Yenamandra,
                                                     R. Chaikin, A. Weinhouse re same (.1).
05/16/20 Aisha P. Lavinier                      1.70 Review and analyze RSA and term sheet.
05/17/20 Walter S. Holzer, P.C.                 0.70 Review final RSA and term sheet.
05/17/20 Aisha P. Lavinier                      1.00 Review and revise OpCo and PropCo
                                                     governance term sheets.
05/17/20 Josh Sussberg, P.C.                    1.00 Correspond re multiple issues and status (.2);
                                                     correspond re DIP milestones, timeline (.1);
                                                     telephone conference with J. Sprayregen re
                                                     status (.3); correspond re NOL matter (.2);
                                                     correspond re disclosure and 8-K (.1); review
                                                     social media update (.1).
05/18/20 Margaret R. Alden                      0.20 Review, analyze deal documents re business
                                                     plan milestones (.1); correspond with K&E
                                                     team re same (.1).




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Date     Name                                  Hours Description
05/18/20 Rebecca Blake Chaikin                  2.50 Telephone conference with JCP, Lazard, Alix
                                                     and K&E team re post-filing action items (.9);
                                                     draft summary of key dates and workstreams
                                                     re same (.8); telephone conference with K&E
                                                     team re deal and real estate workstreams (.8).
05/18/20 Tess Elizabeth Dennis                  1.50 Update disclosure statement for first day
                                                     hearing.
05/18/20 Alistair Fatheazam                     3.00 Review, analyze Sears filings re allocation
                                                     issues (2.7); correspond with A. Weinhouse
                                                     and K&E team re same (.3).
05/18/20 Walter S. Holzer, P.C.                 0.70 Conference with K&E team re RSA tasks
                                                     (.5); revise same (.2).
05/18/20 Aisha P. Lavinier                      1.50 Review, analyze property selection process
                                                     (.2); coordinate process for preparation of
                                                     term sheets and plan documentation (.6);
                                                     various conferences with J. Goldman and A.
                                                     Yenamandra re same (.2); review, analyze
                                                     diligence process (.5).
05/18/20 Will Lawley                            1.50 Telephone conference with Lazard and Alix
                                                     teams re marketing period and new diligence
                                                     requests (.3); review priority diligence
                                                     requests from investor (.8); review new
                                                     diligence tracker against old data room (.4).
05/18/20 Christopher Marcus, P.C.               1.00 Telephone conference with advisors and
                                                     management re planning.
05/18/20 Adine Mitrani                          0.70 Telephone conference with K&E team re
                                                     brand ownership structure (.3); conference
                                                     with J. Perlman re next steps (.4).
05/18/20 Jessie Perlman                         2.00 Prepare for and attend telephone conference
                                                     re intercompany claims and brand ownership
                                                     (.5); correspond with A. Mitrani re same (.7);
                                                     review and update intercompany claims
                                                     memorandum (.8).
05/18/20 Claudia Ray                            0.50 Conference with K&E team re issues re
                                                     ownership of brands and analysis of
                                                     consideration for same.
05/18/20 Josh Sussberg, P.C.                    4.40 Advisor and management update telephone
                                                     conference (.7); telephone conference with B.
                                                     Wafford, D. Kurtz and J. Mesterharm re
                                                     workstreams (.9); telephone conference with
                                                     advisors re lease analysis, workstreams (1.0);
                                                     telephone conference with potential bidder
                                                     (.7); telephone conference with D. Kurtz (.5);
                                                     respond to multiple correspondence (.6).

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Date     Name                                  Hours Description
05/18/20 Christopher Thomas, P.C.                0.70 Review and analyze final RSA.
05/18/20 Steve Toth                              2.20 Participate in telephone conference with K&E
                                                      team re corporate matters and status (.2);
                                                      analyze governance term sheet (.3);
                                                      correspond with K&E team re non disclosure
                                                      agreement (.4); prepare correspondence re
                                                      non disclosure agreements (.5); participate in
                                                      all advisor telephone conference re real estate
                                                      and store closing strategy and timing (.8).
05/19/20 Margaret R. Alden                       0.20 Correspond with L. Brown re RSA milestone
                                                      issues.
05/19/20 Lucas W. Brown                         10.30 Correspond with Alix team re RSA (.1);
                                                      review and analyze precedent re marketing
                                                      process (3.9); correspond with K&E team re
                                                      same (.9); telephone conference with P.
                                                      Robinson re same (.1); draft motion re same
                                                      (3.9); revise motion re same (1.4).
05/19/20 Chris Ceresa                            3.90 Revise store closing pleading (3.7);
                                                      correspond with R. Chaikin re same (.2).
05/19/20 Rebecca Blake Chaikin                   3.90 Telephone conference with Milbank,
                                                      Houlihan, K&E team, Lazard, Alix re deal
                                                      next steps coordination (.5); draft summary of
                                                      key dates and workstreams re same (3.1);
                                                      correspond with K&E team re same (.3).
05/19/20 Tess Elizabeth Dennis                   0.50 Participate and take notes on diligence
                                                      telephone conference.
05/19/20 Alistair Fatheazam                      1.10 Review, analyze Sears filings re allocation
                                                      issues.
05/19/20 Aisha P. Lavinier                       1.90 Conference with J. Schechter, J. Goldman, T.
                                                      Ryan, C. Thomas and S. Toth re market test
                                                      and coordination between real estate and
                                                      corporate matters (.8); coordinate with
                                                      Milbank and K&E team re potential market
                                                      test implication and documentation process
                                                      (.4); review and revise term sheets (.3);
                                                      review, analyze master timeline (.4).
05/19/20 Jessie Perlman                          1.00 Correspond with A. Mitrani, C. Ray and
                                                      Company re JCP brand issues.




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Date     Name                                  Hours Description
05/19/20 Josh Sussberg, P.C.                    3.20 Telephone conference with HL, Milbank, DB,
                                                     Lazard, Alix and K&E team (.8); telephone
                                                     conference with M. Neruda (.4); telephone
                                                     conference with B. Wafford and D. Kurtz
                                                     (.7); telephone conference with D. Kurtz (.4);
                                                     telephone conference with K. Eckstein (.5);
                                                     telephone conference with M. Sirotta and S.
                                                     Van Alten (.4).
05/19/20 Aparna Yenamandra                      1.10 Telephone conference with 1L advisors re
                                                     next steps (.6); correspond with Alix team re
                                                     admin allocation efforts (.5).
05/19/20 Aparna Yenamandra                      2.30 Correspond re work fee motion (.8);
                                                     correspond re non-disclosure agreements re
                                                     same (.7); correspond re dataroom issues (.8).
05/19/20 Abbey Zuech                            1.70 Prepare summary of real estate milestones,
                                                     plans and related consent rights.
05/20/20 Lucas W. Brown                         8.30 Draft motion re marketing process (3.9);
                                                     revise same (2.3); research and analyze
                                                     precedent re same (1.7); correspond with
                                                     K&E team re same (.4).
05/20/20 Chris Ceresa                           0.50 Revise store closing procedures.
05/20/20 Rebecca Blake Chaikin                  2.90 Revise summary of key dates and
                                                     workstreams re same (1.2); planning
                                                     telephone conference with Company, Lazard,
                                                     K&E team and Alix (.5); correspond with
                                                     K&E team re deal and postpetition action
                                                     items (1.2).
05/20/20 Tess Elizabeth Dennis                  0.50 Review and revise disclosure statement.
05/20/20 Julia R. Foster                        0.60 Draft work fee motion.
05/20/20 Walter S. Holzer, P.C.                 1.00 Review master timeline (.4); conference with
                                                     K&E team re same (.2); review non
                                                     disclosure agreement form (.4).
05/20/20 Aisha P. Lavinier                      1.20 Review and update master timeline and work
                                                     in process (1.0); coordinate process and
                                                     correspond with Milbank and K&E team re
                                                     documentation process (.2).
05/20/20 Prentis Robinson                       4.80 Research precedent re non-ordinary course
                                                     payment (2.7); prepare motion re same (1.5);
                                                     correspond with L. Brown re same (.6).
05/20/20 Tana Ryan, P.C.                        0.50 Review RSA and transaction timeline (.2);
                                                     provide comments re same (.3).




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Date     Name                                  Hours Description
05/20/20 Jonathan A. Schechter, P.C.            1.50 Review, analyze landlord term sheet and
                                                     landlord letter (1.0); review, analyze REIT
                                                     spin and other real estate matters and related
                                                     correspondence (.5).
05/20/20 Steve Toth                             0.70 Analyze non disclosure agreement draft (.5);
                                                     correspond with A. Lavinier re same (.2).
05/20/20 Allyson Smith Weinhouse                0.50 Telephone conference with Company, K&E
                                                     team, Lazard, Alix re coordination re deal.
05/21/20 Margaret R. Alden                      1.90 Research re indenture issues (1.4); correspond
                                                     with K&E team re same (.5).
05/21/20 Rebecca Blake Chaikin                  1.50 Correspond with K&E team re deal diligence
                                                     and summary of key deal dates and
                                                     workstreams (.6); revise summary of same
                                                     (.4); telephone conference with Joele Frank re
                                                     deal and matter status (.5).
05/21/20 Walter S. Holzer, P.C.                 0.50 Review master time line (.3); conference with
                                                     K&E team re same (.2).
05/21/20 Aisha P. Lavinier                      0.90 Review and revise master timeline and
                                                     conference with J. Betts re same (.7); review,
                                                     analyze real estate process in coordination
                                                     with corporate matters (.2).
05/21/20 Jonathan A. Schechter, P.C.            1.50 Review, analyze timeline for real estate items
                                                     (.5); review, analyze landlord letter items and
                                                     related correspondence (.5); review, analyze
                                                     documents (.5).
05/21/20 Josh Sussberg, P.C.                    3.80 Telephone conferences with D. Kurtz (.9);
                                                     telephone conference with M. Sommerstein re
                                                     indenture trustee (.4); telephone conference
                                                     with K. Hansen re status (.3); telephone
                                                     conference with cross over group re proposal
                                                     (.6); telephone conference with C. Marcus
                                                     (.4); correspond re lender status (.2); review
                                                     and revise motion to reimburse expenses of
                                                     purchasers (.6); telephone conference with R.
                                                     Tysoe re status (.4).
05/21/20 Aparna Yenamandra                      1.10 Telephone conference with Joele Frank re
                                                     communications issues (.5); correspond re
                                                     landlord milestones in RSA (.6).
05/22/20 Margaret R. Alden                      0.20 Correspond with Alix, A. Yenamandra re
                                                     RSA.




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Date     Name                                  Hours Description
05/22/20 Rebecca Blake Chaikin                  1.30 Telephone conference with Company, K&E
                                                     team, Alix, Lazard re deal and matter status
                                                     (.5); revise summary of deal deadlines and
                                                     workstreams (.6); telephone conference with
                                                     J. Goldman, A. Lavner re deal deliverables
                                                     (.2).
05/22/20 Aisha P. Lavinier                      0.60 Conference with R. Chaikin and J. Goldman
                                                     re documentation process and market test.
05/22/20 Christopher Marcus, P.C.               0.50 Planning telephone conference.
05/22/20 Steve Toth                             0.60 Participate in telephone conference with K&E
                                                     team re coordinating workstreams.
05/22/20 Allyson Smith Weinhouse                0.50 Telephone conference with Company
                                                     advisors re strategy, coordination.
05/22/20 Aparna Yenamandra                      1.20 Correspond with K&E team re RSA term
                                                     sheets (.7); attend standing planning
                                                     telephone conference (.5).
05/23/20 Aisha P. Lavinier                      1.20 Conference re milestones and attention to
                                                     business plan and market test.
05/23/20 Josh Sussberg, P.C.                    1.40 Telephone conference with B. Wafford, J.
                                                     Mesterharm and D. Kurtz re 1L group (.5);
                                                     telephone conference with A. Kallman (.3);
                                                     telephone conference with M. Perkal (.2);
                                                     telephone conference with D. Kurtz (.3);
                                                     correspond re Opco, PropCo (.1).
05/23/20 Aparna Yenamandra                      0.70 Review work fee motion (.4); revise same
                                                     (.3).
05/24/20 Rebecca Blake Chaikin                  0.40 Telephone conference with Alix, A.
                                                     Yenamandra re expense allocations.
05/24/20 Aisha P. Lavinier                      0.40 Conference re market test coordination and
                                                     attention to process.
05/25/20 Margaret R. Alden                      1.10 Draft, revise deal documents (.8); correspond
                                                     with K&E team re same (.3).
05/25/20 Chris Ceresa                           4.40 Research re liens on abandoned property (.6);
                                                     revise store closing procedures motion (3.3);
                                                     correspond with R. Chaikin re same and
                                                     research (.5).
05/25/20 Rebecca Blake Chaikin                  0.70 Telephone conference with Company, K&E
                                                     team, Alix, Lazard re deal and matter status
                                                     (.2); telephone conference with Milbank,
                                                     Deutsche Bank, Houlihan, Alix, K&E team,
                                                     Lazard re RSA deliverables (.5).



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Date     Name                                  Hours Description
05/25/20 Jonathan A. Schechter, P.C.            2.00 Telephone conference with advisors re real
                                                     estate items (.7); telephone conference with
                                                     CW re real estate items (.8); telephone
                                                     conference re workstream (.5).
05/25/20 Matthew A. Schroth                     2.80 Review due diligence materials.
05/25/20 Sam Steinman                           2.00 Review and revise documentation and
                                                     diligence re proposed transaction.
05/25/20 Aparna Yenamandra                      1.00 Attend standing telephone conference (.6);
                                                     revise RSA (.4).
05/26/20 Margaret R. Alden                      0.40 Draft, revise deal documents (.3); correspond
                                                     with K&E team re same (.1).
05/26/20 Joshua Merrill                         1.90 Review and revise M&A process non-
                                                     disclosure agreements (1.6); correspond with
                                                     Company re same (.3).
05/26/20 Jeffrey S. Quinn                       0.20 Review PropCo emergence framework.
05/26/20 Claudia Ray                            0.70 Review and analyze intercompany claims
                                                     memorandum, trademark schedule and
                                                     purchasing agreements (.5); correspond with
                                                     J. Perlman and A. Mitrani re same (.2).
05/26/20 Josh Sussberg, P.C.                    2.70 Telephone conference with R. Tysoe (.6);
                                                     telephone conference with B. Wafford, J.
                                                     Mesterharm, D. Kurtz, C. Tempke and M.
                                                     Weitz re real estate considerations and
                                                     emergence framework (.8); telephone
                                                     conference with Cushman, D. Kurtz, B.
                                                     Wafford, C. Tempke, J. Mesterharm and M.
                                                     Weitz re same (.7); telephone conference with
                                                     A. Yenamandra re status (.6).
05/26/20 Seth Traxler, P.C.                     0.10 Review questions re emergence framework
                                                     and propco branding.
05/26/20 Aparna Yenamandra                      1.10 Correspond re OpCo/PropCo considerations
                                                     re RSA term sheet (.7); revise Stroock RSA
                                                     (.4).
05/27/20 Rebecca Blake Chaikin                  0.50 Telephone conference with Company, Lazard,
                                                     K&E team, Alix re deal and matter status.
05/27/20 Josh Sussberg, P.C.                    0.30 Telephone conference with potential bidder re
                                                     interest.
05/27/20 Gregory Tsonis                         4.70 Review and analyze documents re Kurtz
                                                     declaration (3.0); draft same (1.7).
05/27/20 Aparna Yenamandra                      0.60 Attend standing planning telephone
                                                     conference.



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Date     Name                                  Hours Description
05/28/20 Marc Anthony Lipscomb                  7.40 Review and revise non-disclosure agreements
                                                     (3.9); correspond with S. Toth re same (.2);
                                                     correspond with M. Kalka re non-disclosure
                                                     agreement negotiations (1.3); draft and revise
                                                     summary re non-disclosure agreement
                                                     negotiations (2.0).
05/28/20 Claudia Ray                            0.50 Review and analyze additional information re
                                                     possible intercompany claims (.1); correspond
                                                     with L. Schweitzer re results of trademark
                                                     research and possible next steps re same (.4).
05/29/20 Rebecca Blake Chaikin                  0.20 Telephone conference with Company, Lazard,
                                                     K&E, Alix re deal and matter status.
05/29/20 Josh Sussberg, P.C.                    0.80 Update telephone conference with
                                                     management, Lazard and Alix (.5); telephone
                                                     conference with D. Kurtz and G. Davis re
                                                     potential bidder (.3).
05/29/20 Aparna Yenamandra                      0.50 Telephone conference with M. Slade re work
                                                     fee motion.
05/31/20 Chris Ceresa                           0.90 Review and revise store closing procedures
                                                     motion (.6); research precedent re same (.3).
05/31/20 Josh Sussberg, P.C.                    0.30 Correspond re work fee motion.
06/01/20 Rebecca Blake Chaikin                  0.80 Telephone conference with Company, K&E
                                                     team, Lazard, Alix re deal negotiations and
                                                     matter status (.3); telephone conference with
                                                     K&E team, Lazard, Alix re emergence
                                                     balance sheet (.5).
06/01/20 Aparna Yenamandra                      0.50 Attend standing daily planning call.
06/01/20 Aparna Yenamandra                      1.30 Telephone conference with Cooley re work
                                                     fee motion (.4); correspond with J. Gordon,
                                                     U.S. Trustee re same (.9).
06/01/20 Abbey Zuech                            0.50 Coordinate and attend telephone conference
                                                     with M. Kalka, W. Lawley, Alix and Lazard
                                                     re data room process.
06/02/20 Sam Steinman                           1.50 Review, analyze, and revise documentation
                                                     and diligence re proposed transaction.
06/02/20 Steve Toth                             0.80 Participate in telephone conference with A.
                                                     Lavinier and T. Ryan re marketing process
                                                     letter (.4); conference re marketing process
                                                     letter with Lazard and K&E team (.4).
06/02/20 Samuel Zaretsky                        6.00 Review Lease Review Term Sheet (2.5);
                                                     review precedent OpCo / PropCo lease (3.5).



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Date     Name                                  Hours Description
06/03/20 Rebecca Blake Chaikin                  0.30 Telephone conference with Company, K&E
                                                     team, Lazard, Alix re deal negotiations and
                                                     matter status.
06/03/20 Aisha P. Lavinier                      1.80 Revise process letter and various
                                                     correspondences re the same.
06/03/20 Sam Steinman                           1.50 Review, analyze, and revise documentation
                                                     and diligence re proposed transaction.
06/03/20 Aparna Yenamandra                      0.50 Attend standing planning call.
06/04/20 Rebecca Blake Chaikin                  0.60 Review market test process letter (.3);
                                                     correspond with M. Kalka re non disclosure
                                                     agreements (.3).
06/04/20 Aisha P. Lavinier                      3.80 Revise process letter and various
                                                     correspondences re same (2.8); attention to
                                                     nondisclosure agreements and diligence
                                                     process (1.0).
06/04/20 Adine Mitrani                          0.40 Conference with K&E team re vendor
                                                     agreements in DIP documents.
06/04/20 Tana Ryan, P.C.                        1.00 Coordinate process letter and market test
                                                     process.
06/04/20 Sam Steinman                           5.30 Review, analyze, and revise documentation
                                                     and diligence re proposed transaction.
06/05/20 Jenn Betts                             2.00 Telephone conference with K&E team re real
                                                     estate process (.5); correspond with K&E
                                                     team re diligence process (1.5).
06/05/20 Julia R. Foster                        0.30 Draft class 3 ballot.
06/05/20 Tana Ryan, P.C.                        0.50 Status telephone conference with RE and
                                                     corporate teams.
06/05/20 Sam Steinman                           4.00 Review, analyze, and revise documentation
                                                     and diligence re proposed transaction.
06/05/20 Josh Sussberg, P.C.                    0.90 Correspond re bidder status and article (.3);
                                                     correspond re bidder non disclosure
                                                     agreement and next steps (.3); correspond re
                                                     interest party non disclosure agreement (.3).
06/05/20 Aparna Yenamandra                      0.60 Telephone conference with Lazard re market
                                                     test and non disclosure agreement
                                                     considerations.
06/06/20 Rebecca Blake Chaikin                  2.20 Deal implementation coordination telephone
                                                     conference with K&E team, Lazard, Alix (.9);
                                                     telephone conference with J. Goldman re real
                                                     estate workstreams re same (.4); draft action
                                                     plan for same (.9).



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Date     Name                                  Hours Description
06/06/20 Aparna Yenamandra                      1.10 Telephone conference with Company
                                                     advisors re 1L strategy.
06/07/20 Margaret R. Alden                      2.60 Review, analyze cash collateral order, DIP
                                                     documents re go-forward advisor obligations
                                                     re RSA, plan. confirmation (1.4); draft, revise
                                                     internal memorandum re same (1.2).
06/07/20 Aisha P. Lavinier                      2.20 Review and analyze illustrative emergence
                                                     framework (2.0); attention to non disclosure
                                                     agreement process (.2).
06/08/20 Margaret R. Alden                      1.60 Draft, revise notice re RSA (.7); correspond
                                                     with J. Gordon, K&E team, Lazard team re
                                                     tabulation re same (.5); revise deal work in
                                                     process (.4).
06/08/20 Rebecca Blake Chaikin                  1.20 Deal implementation coordination telephone
                                                     conference with K&E team, Lazard, Alix (.3);
                                                     telephone conference with K&E team,
                                                     Lazard, Alix, Milbank, Hilco re deal status
                                                     (.5); revise master deal work in process (.4).
06/08/20 Lanchi Huynh                           1.00 Review master deal work in process outline
                                                     and timeline.
06/08/20 Aisha P. Lavinier                      3.00 Conference with 1L advisors re information
                                                     sharing; conference with JCP and K&E re the
                                                     same (1.7); review and analyze related
                                                     process (.3); revise warrant term sheet (1.0).
06/08/20 Carrie Therese Oppenheim               0.10 Compile precedent re RSA amendment
                                                     notice.
06/08/20 Christopher Thomas, P.C.               0.40 Participate in telephone conferences with
                                                     K&E team re potential transactions.
06/08/20 Lydia Yale                             0.30 Draft a notice of filing amended plan support
                                                     agreement.
06/08/20 Aparna Yenamandra                      6.70 Attend standing telephone conference with
                                                     Company (.5); telephone conference with
                                                     Company advisors, 1L advisors re next steps
                                                     (1.0); telephone conferences re principal non
                                                     disclosure agreement (1.4); correspond with
                                                     same re same (1.1); correspond with Alix re
                                                     allocation (.6); correspond with Lazard,
                                                     Milbank, K&E team re cleansing issues and
                                                     protocol (2.1).
06/09/20 Margaret R. Alden                      0.30 Revise notice of further executed RSA (.1);
                                                     correspond with J. Gordon, Lazard re same
                                                     (.2).
06/09/20 Key Hemyari                            0.10 Review advisor non disclosure agreement.

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Date     Name                                  Hours Description
06/09/20 Aisha P. Lavinier                      2.20 Attend conferences re diligence process and
                                                     information sharing with JCP and K&E team
                                                     and advisors and review and analyze
                                                     confidentiality arrangements with various
                                                     potential buyers (1.7); conference re antitrust
                                                     matters (.5).
06/09/20 John Phelan                            0.90 Review and revise non-disclosure agreements.
06/09/20 Jonathan A. Schechter, P.C.            0.50 Telephone conference with K&E team re
                                                     business plan.
06/10/20 Rebecca Blake Chaikin                  0.50 Deal implementation coordination telephone
                                                     conference with K&E team, Lazard, Alix.
06/10/20 Josh Sussberg, P.C.                    1.70 Telephone conference with counterparty re
                                                     non-disclosure agreement (.3); telephone
                                                     conference with D. Kurtz re same (.5);
                                                     correspond with K&E team re non-disclosure
                                                     agreement (.3); telephone conference with A.
                                                     Yenamandra re status (.6).
06/10/20 Aparna Yenamandra                      4.00 Telephone conferences re non disclosure
                                                     agreement and antitrust issues (3.1);
                                                     correspond with same re same (.9).
06/11/20 Matthew Antinossi                      1.00 Review and revise PBGC proposed language
                                                     to disclosure statement and plan of
                                                     reorganization (.9); correspond with A.
                                                     Yenamandra re same (.1).
06/11/20 Lucas W. Brown                         1.20 Research and analyze precedent re plan (.7);
                                                     draft summary re same (.3); correspond with
                                                     K&E team re same (.2).
06/11/20 Tess Elizabeth Dennis                  0.60 Compile executed non disclosure agreements
                                                     (.2); update non disclosure agreement tracker
                                                     (.4).
06/11/20 Walter S. Holzer, P.C.                 0.50 Review non disclosure agreement
                                                     counterparty materials.
06/11/20 Josh Sussberg, P.C.                    0.20 Attend telephone conference with A.
                                                     Yenamandra re non disclosure agreement.
06/11/20 Josh Sussberg, P.C.                    0.70 Correspond with K&E team re non disclosure
                                                     agreement for lenders (.3); attend telephone
                                                     conference with Gordon Caplan re same (.4).
06/11/20 Aparna Yenamandra                      3.00 Telephone conference re allocation
                                                     considerations under RSA (.6); telephone
                                                     conference re cleansing (.7); telephone
                                                     conferences with Company, K&E team, Alix
                                                     team re store closing sale delays (1.7).



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J.C. Penney Company, Inc.                                      Matter Number:              47223-5
Restruc. Trans/DS/Plan Conf./Emergence

Date     Name                                  Hours Description
06/11/20 Aparna Yenamandra                      1.90 Telephone conferences re finalizing non
                                                     disclosure agreement with 1Ls, K&E team.
06/11/20 Aparna Yenamandra                      4.80 Attend standing call with management (.5);
                                                     telephone conferences re non disclosure
                                                     agreement and antitrust issues (3.4);
                                                     correspond with same re same (.9).
06/12/20 Margaret R. Alden                      0.80 Correspond with Alix, K&E team re DIP
                                                     deadlines, consummation (.3); draft, revise
                                                     internal memorandum re same (.5).
06/12/20 Rebecca Blake Chaikin                  0.30 Deal implementation coordination telephone
                                                     conference with K&E team, Lazard, Alix.
06/12/20 John Thomas Goldman                    1.00 Correspond with K&E team re delivery of
                                                     real estate milestones (.4); telephone
                                                     conferences with same re same (.6).
06/12/20 John Phelan                            1.10 Review and revise non-disclosure agreements.
06/12/20 Josh Sussberg, P.C.                    1.20 Correspond re non disclosure agreements and
                                                     related issues (.3); telephone conference with
                                                     H2, Brigade and Milbank re same (.3);
                                                     telephone conference with G. Kaplan re same
                                                     (.3); telephone conference with M. Okin re ad
                                                     hoc equity committee (.3).
06/12/20 Aparna Yenamandra                      2.80 Telephone conference re allocation
                                                     methodology (.4); telephone conferences with
                                                     1L advisors, Company advisors re finalizing
                                                     non disclosure agreement and next steps (2.4).
06/13/20 Margaret R. Alden                      0.20 Revise deal deliverables timeline (.1);
                                                     correspond with J. Gordon, R. Chaikin re
                                                     same (.1).
06/14/20 Margaret R. Alden                      0.30 Correspond with K&E teams re deal
                                                     deliverables.
06/14/20 Walter S. Holzer, P.C.                 0.50 Review master deal work in process.
06/14/20 Jonathan A. Schechter, P.C.            0.50 Correspond re milestones and master deal
                                                     work in process.
06/14/20 Aparna Yenamandra                      1.90 Correspond with 1L advisors re cleansing
                                                     issues.




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Date     Name                                  Hours Description
06/15/20 Margaret R. Alden                      2.60 Review, analyze milestone documents, docket
                                                     re milestones, deal deliverables (.4);
                                                     correspond with J. Gordon re same (.1);
                                                     correspond with C. Ceresa, M. Schroth, R.
                                                     Chaikin re same (.4); review, analyze real
                                                     estate documents re same (.2); draft, revise
                                                     internal memorandum re deal document
                                                     deliverables (1.1); correspond with K&E
                                                     restructuring team re same (.4).
06/15/20 Rebecca Blake Chaikin                  0.80 Deal implementation coordination telephone
                                                     conference with K&E team, Lazard, Alix (.2);
                                                     correspond with K&E team re same (.6).
06/15/20 Aisha P. Lavinier                      2.50 Analyze diligence materials and
                                                     confidentiality arrangements and various
                                                     conferences re diligence materials.
06/15/20 Christopher Marcus, P.C.               0.50 Telephone conference re planning.
06/15/20 John Phelan                            5.10 Review and revise non-disclosure agreements.
06/15/20 Josh Sussberg, P.C.                    0.30 Correspond with K&E team re non-disclosure
                                                     agreement issues.
06/15/20 Aparna Yenamandra                      3.50 Attend standing telephone conference with
                                                     Company (.5); correspond with K&E team,
                                                     Company, third parties re non disclosure
                                                     agreements (1.9); telephone conference with
                                                     Lazard re same (.4); review Joele Frank
                                                     communication materials (.7).
06/15/20 Aparna Yenamandra                      2.00 Telephone conference with Company,
                                                     advisors and UCC advisors re RE call (.8);
                                                     telephone conference with same re plan issues
                                                     (1.2).
06/16/20 Margaret R. Alden                      0.50 Revise internal memorandum re deal
                                                     deliverables, milestones (.4); correspond with
                                                     J. Gordon, R. Chaikin re same (.1).
06/16/20 Aisha P. Lavinier                      0.80 Attention to diligence related matters.
06/16/20 John Phelan                            2.10 Review and revise non-disclosure agreements.
06/16/20 Aparna Yenamandra                      1.50 Correspond with K&E team re non disclosure
                                                     agreement issues (.9); correspond with Alix
                                                     team re allocation methodology milestone
                                                     (.6).
06/17/20 Margaret R. Alden                      0.20 Correspond with L. Brown, J. Baranowski re
                                                     deal deliverables, milestones.
06/17/20 Rebecca Blake Chaikin                  1.20 Deal implementation coordination telephone
                                                     conference with K&E team, Lazard, Alix (.4);
                                                     correspond with K&E team re same (.8).

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Date     Name                                  Hours Description
06/17/20 John Phelan                            0.90 Review and revise non-disclosure agreements.
06/17/20 Aparna Yenamandra                      0.50 Attend standing Company telephone
                                                     conference.
06/17/20 Aparna Yenamandra                      0.60 Telephone conference with Alix team re
                                                     allocation methodology.
06/18/20 Margaret R. Alden                      0.60 Telephone conference with L. Brown re
                                                     milestones (.1); correspond with K&E team re
                                                     same (.2); review, analyze DIP waiver
                                                     documents re same (.2); correspond with J.
                                                     Baranowski re same (.1).
06/18/20 Julia R. Foster                        2.00 Draft disclosure statement motion.
06/18/20 Aisha P. Lavinier                      1.30 Attention to REIT spinoff, including general
                                                     documentation and various conferences re
                                                     general transaction.
06/18/20 John Phelan                            0.70 Review and revise non-disclosure agreements.
06/18/20 Tana Ryan, P.C.                        1.00 Telephone conference with Milbank re deal
                                                     and follow up re same.
06/18/20 Josh Sussberg, P.C.                    2.10 Correspond with K&E team re status (.6);
                                                     attend board call (.7); correspond with ad hoc
                                                     equity committee and UCC members re non-
                                                     disclosure agreement issues (.8).
06/19/20 Jake William Gordon                    0.20 Review, revise plan of reorganization.
06/19/20 John Phelan                            1.20 Review and revise non-disclosure agreements.
06/19/20 Tana Ryan, P.C.                        1.00 Telephone conference with K&E team re deal
                                                     status and follow up on next steps.
06/19/20 Matthew A. Schroth                     2.00 Analyze credit agreement and restructuring
                                                     support agreement.
06/19/20 Josh Sussberg, P.C.                    1.40 Telephone conferences and correspond re
                                                     bidder non disclosure agreement (.4);
                                                     correspond re Simon and Brookfield non
                                                     disclosure agreement and telephone
                                                     conference with D. Kurtz re same (.5);
                                                     correspond re lease issues (.2); telephone
                                                     conference with T. Ryan re status (.3).
06/19/20 Aparna Yenamandra                      3.70 Telephone conference with Alix team re
                                                     allocation methodology (.9); telephone
                                                     conference with D. Kurtz re non disclosure
                                                     agreement issues (.7); correspond with
                                                     advisors, third parties re same (1.2); telephone
                                                     conference with Milbank to resolve (.9).
06/21/20 Tess Elizabeth Dennis                  3.00 Review and revise disclosure statement.



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Date     Name                                  Hours Description
06/21/20 Walter S. Holzer, P.C.                 0.50 Correspond with K&E team re Opco/Popco
                                                     process (.3); review updated key dates related
                                                     to same (.2).
06/22/20 Margaret R. Alden                      0.90 Telephone conference with J. Baranowski re
                                                     deal deliverables timeline (.1); correspond
                                                     with J. Gordon re same (.5); draft, revise
                                                     internal memorandum re upcoming deadlines
                                                     (.2); correspond with R. Chaikin re same (.1).
06/22/20 Jenn Betts                             1.00 Draft Opco/Propco checklist.
06/22/20 Rebecca Blake Chaikin                  0.30 Deal implementation coordination telephone
                                                     conference with K&E team, Lazard, Alix.
06/22/20 Julia R. Foster                        0.50 Research precedent re Sears plan supplements
                                                     (.3); research precedent re exit financing
                                                     checklists (.2).
06/22/20 Walter S. Holzer, P.C.                 0.50 Attend telephone conference re Opco/Propco
                                                     structure (.3); review materials re same (.2).
06/22/20 Tana Ryan, P.C.                        1.50 Telephone conference re opco/propco process
                                                     (.7); follow up on prepping checklist for same
                                                     (.8).
06/22/20 Josh Sussberg, P.C.                    1.40 Update call with management (.5); review
                                                     OpCo/PropCo structure (.4); correspond with
                                                     K&E team re NDA (.5).
06/22/20 Christopher Thomas, P.C.               0.50 Participate in telephone conference with K&E
                                                     team re transaction and structuring matters.
06/22/20 Steve Toth                             1.00 Discuss REIT structure and process with
                                                     K&E team (.6); review related REIT materials
                                                     and correspondence (.4).
06/22/20 Aparna Yenamandra                      0.50 Telephone conference with K&E team re
                                                     Opco/PropCo considerations.
06/23/20 Margaret R. Alden                      0.30 Correspond with K&E team re plan
                                                     deliverables.
06/23/20 Rebecca Blake Chaikin                  1.80 Telephone conference with K&E team re deal
                                                     implementation and strategy (1.0); correspond
                                                     with same re same (.8).
06/23/20 Aisha P. Lavinier                      4.20 Revise and review REIT spinoff checklist and
                                                     various conferences re the same (2.7); attend
                                                     conference re 1L property selection and lease
                                                     term sheets (1.5).
06/23/20 Tana Ryan, P.C.                        1.00 Telephone conference with H2 re transaction
                                                     process and follow up re same.
06/23/20 Matthew A. Schroth                     1.00 Attend telephone conference with K&E team
                                                     re REIT propco.


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Date     Name                                  Hours Description
06/23/20 Christopher Thomas, P.C.               1.00 Participate in telephone conference with
                                                     various parties and advisors re potential
                                                     Propco-Opco structure and related issues.
06/23/20 Steve Toth                             0.50 Participate in all hands telephone conference
                                                     re REIT structure and process.
06/23/20 Aparna Yenamandra                      1.20 Telephone conference with H2 and key
                                                     advisors re next steps (.8); correspond with
                                                     K&E team re checklist re same (.4).
06/23/20 Samuel Zaretsky                        0.50 Attend telephone conference with creditor re
                                                     REIT term sheet.
06/24/20 Margaret R. Alden                      1.00 Revise internal memorandum re go-forward
                                                     deliverables, deal, emergence (.4); correspond
                                                     with R. Chaikin re same (.3); correspond with
                                                     Alix, Lazard, K&E team, B. Riley, C&W,
                                                     Jackson Walker re same (.3).
06/24/20 Rebecca Blake Chaikin                  0.20 Deal implementation coordination telephone
                                                     conference with K&E team, Lazard, Alix.
06/24/20 John Thomas Goldman                    3.00 Review and correspond with K&E team re
                                                     REIT Master Lease and term sheets.
06/24/20 Melissa D. Kalka                       0.20 Correspond with T. Dennis re disclosure
                                                     statement.
06/24/20 Aisha P. Lavinier                      3.90 Review and revise REIT spinoff checklist and
                                                     conferences re same (3.4); review and analyze
                                                     deal work in process tracking document and
                                                     RSA (.5).
06/24/20 Matthew A. Schroth                     1.00 Attend telephone conference with J. Goldman
                                                     re REIT.
06/24/20 Josh Sussberg, P.C.                    1.20 Telephone conference with management and
                                                     advisors re status (.4); correspond with same
                                                     re next steps on OpCo/PropCo (.2);
                                                     correspond with K&E team re bidder
                                                     information (.2); telephone conference with T.
                                                     Lauria re HQ (.1); telephone conference with
                                                     B. Wafford re same (.2); correspond with T.
                                                     Lauria re same (.1).
06/24/20 Steve Toth                             0.60 Analyze draft corporate and REIT checklist
                                                     and prepare related correspondence.
06/24/20 Aparna Yenamandra                      0.90 Attend standing telephone conference re case
                                                     update (.5); telephone conference with B.
                                                     Treadway re same (.4).




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Date     Name                                  Hours Description
06/24/20 Samuel Zaretsky                        10.50 Review and analyze master lease term sheet
                                                      against Seritage (9.6); correspond with J.
                                                      Goldman, M. Schroth, S. Tomlinson and T.
                                                      Krause re scope of review (.9).
06/25/20 Talia Krause                            1.00 Conference with S. Zaretsky and S.
                                                      Tomlinson re the Master Lease term sheet.
06/25/20 Aisha P. Lavinier                       2.80 Draft REIT spin-off checklist and various
                                                      conferences re same (1.8); evaluate clean
                                                      room queries and due diligence matters,
                                                      including blowout process (1.0).
06/25/20 Will Lawley                             1.00 Review and revise structuring checklist.
06/25/20 Thomas P. O'Connor                      0.20 Review deal team correspondence.
06/25/20 Matthew A. Schroth                      1.00 Attend telephone conference with K&E team
                                                      re REIT master lease term sheet.
06/25/20 Josh Sussberg, P.C.                     0.60 Correspond re Beall ownership and removal
                                                      (.2); correspond with K&E team re
                                                      OpCo/PropCo next steps (.2); correspond
                                                      with K&E team re milestones and lenders
                                                      status (.2).
06/25/20 Samuel Zaretsky                        14.00 Review and revise master lease comparison
                                                      against Seritage (13.5); attend telephone
                                                      conference with S. Tomlinson, J. Goldman,
                                                      A. Van Noord re same (.5).
06/26/20 Margaret R. Alden                       0.40 Revise internal memorandum re deal
                                                      deliverables (.2); correspond with Company,
                                                      advisors re same (.2).
06/26/20 Rebecca Blake Chaikin                   0.50 Deal implementation coordination telephone
                                                      conference with K&E team, Lazard, Alix.
06/26/20 John Thomas Goldman                     2.00 Review Owned Property plan
                                                      proposed/approved by 1Ls.
06/26/20 Walter S. Holzer, P.C.                  0.80 Review Opco/Propco checklist and lease
                                                      terms (.4); review optimization strategy (.4).
06/26/20 Sophia Hudson, P.C.                     0.50 Telephone conference re opco/propco work
                                                      stream.
06/26/20 Melissa D. Kalka                        2.00 Review and comment on RSA (1.0); research
                                                      and review precedent for similar RSAs (1.0).
06/26/20 Talia Krause                            1.00 Attend telephone conference with J.
                                                      Goldman, S. Tomlinson re term sheet.
06/26/20 Aisha P. Lavinier                       2.80 Attend conference re process for REIT to be
                                                      publicly traded (.6); review and revise
                                                      checklists and coordinate re conferences with
                                                      various parties re same (2.2).


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Date     Name                                  Hours Description
06/26/20 Steve Toth                             0.90 Participate in weekly telephone conference
                                                     with K&E teams (.5); discuss public
                                                     Company requirements with K&E team (.4).
06/26/20 Aparna Yenamandra                      0.50 Attend standing planning call.
06/26/20 Samuel Zaretsky                        6.10 Review and revise master lease term sheet
                                                     (5.2); correspond with S. Tomlinson re same
                                                     (.5); review comments to same with T. Krause
                                                     (.4).
06/27/20 Melissa D. Kalka                       3.00 Review and comment on RSA.
06/27/20 Aisha P. Lavinier                      1.20 Revise OpCo and PropCo and REIT spinoff
                                                     checklist (.8); coordinate conferences re
                                                     transaction process and various conferences re
                                                     same (.4).
06/27/20 Josh Sussberg, P.C.                    0.50 Correspond with K&E team re OpCo/PropCo
                                                     and next steps (.2); telephone conference with
                                                     interested party re same (.2); correspond with
                                                     K&E team re same (.1).
06/28/20 Margaret R. Alden                      0.40 Revise internal memorandum re deal
                                                     deliverables (.2); correspond with Company,
                                                     advisors re same (.2).
06/28/20 Rebecca Blake Chaikin                  0.30 Review master deal work in process.
06/28/20 Jake William Gordon                    0.70 Telephone conference re tax consequences of
                                                     opco/propco.
06/28/20 Melissa D. Kalka                       3.00 Review and comment on RSA.
06/28/20 Talia Krause                           1.00 Attend conference with S. Tomlinson, M.
                                                     Schroth and S. Zaretsky re Master Lease term.
06/28/20 Aisha P. Lavinier                      1.30 Correspond with K&E team re transaction
                                                     process and prepare transaction checklist.
06/28/20 John Phelan                            2.10 Review and revise disclosure statement.
06/28/20 Steve Toth                             0.60 Participate in all advisors telephone
                                                     conference re valuation and related tax
                                                     considerations.
06/28/20 Samuel Zaretsky                        6.50 Attend telephone conference with M. Schroth
                                                     and T. Krause re status of master lease term
                                                     sheet (.7); attend telephone conference with
                                                     M. Schroth, T. Krause and S. Tomlinson re
                                                     scope of framework for termination and
                                                     operational rights of master lease (.5); prepare
                                                     draft of framework (4.5); correspond with M.
                                                     Schroth and T. Krause re same (.8).
06/29/20 Rebecca Blake Chaikin                  0.10 Deal implementation coordination telephone
                                                     conference with K&E team, Lazard, Alix.


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Date     Name                                  Hours Description
06/29/20 Tess Elizabeth Dennis                  1.30 Review and revise disclosure statement (.7);
                                                     correspond with K&E team re same (.3);
                                                     review and analyze disclosure prohibitions in
                                                     non disclosure agreements (.3).
06/29/20 Jake William Gordon                    1.50 Revise plan of reorganization.
06/29/20 Aisha P. Lavinier                      4.00 Attend conferences re REIT spinoff and
                                                     M&A process with Lazard, Company, K&E
                                                     teams and Milbank, H2, DB and prepare for
                                                     the same (2.5); review and analyze lease
                                                     optimization plan and related documents
                                                     (1.5).
06/29/20 John Phelan                            2.90 Review and revise disclosure statement.
06/29/20 Steve Toth                             1.10 Participate in telephone conference with
                                                     Lazard and K&E team re transaction checklist
                                                     and related considerations (.5); participate in
                                                     telephone conference with Lazard, H2 and
                                                     advisors, Milbank and K&E team re
                                                     transaction checklist (.6).
06/29/20 Aparna Yenamandra                      0.50 Attend standing planning call.
06/29/20 Aparna Yenamandra                      0.70 Correspond re plan and disclosure statement
                                                     timing.
06/30/20 Jake William Gordon                    0.60 Review disclosure statement.
06/30/20 Aisha P. Lavinier                      2.00 Review and analyze and attend various
                                                     conferences re lease optimization and real
                                                     estate property selection.
06/30/20 John Phelan                            3.80 Review and revise disclosure statement.
06/30/20 Aparna Yenamandra                      0.70 Correspond re business plan parameters.

Total                                          419.00




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                          FEIN XX-XXXXXXX




September 15, 2020

J.C. Penney Company, Inc.
6501 Legacy Drive
Plano, TX 75024

Attn: Brandy Treadway

                                                                            Invoice Number: 1050032372
                                                                              Client Matter: 47223-6

In the Matter of Owned Property Sales and Dispositions




For legal services rendered through June 30, 2020
(see attached Description of Legal Services for detail)                                                   $ 1,498,524.00
Total legal services rendered                                                                             $ 1,498,524.00




  Beijing Boston Chicago Dallas Hong Kong Houston London Los Angeles Munich Palo Alto Paris San Francisco Shanghai Washington, D.C.
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J.C. Penney Company, Inc.                                    Matter Number:      47223-6
Owned Property Sales and Dispositions




                                         Summary of Hours Billed

Name                                                     Hours         Rate     Amount
April B. Abrams                                           67.60      460.00    31,096.00
Margaret R. Alden                                          0.70      610.00       427.00
Kevin S. Beckoff                                           9.00      740.00     6,660.00
Mike Beinus, P.C.                                          0.60    1,745.00     1,047.00
Scott A. Berger, P.C.                                      5.30    1,595.00     8,453.50
Curt E. Bersche                                            2.80      375.00     1,050.00
Allison Biolsi                                             1.00      275.00       275.00
Andres Cantero Jr.                                        66.20      845.00    55,939.00
Chris Ceresa                                              15.40      610.00     9,394.00
Rebecca Blake Chaikin                                      5.90    1,085.00     6,401.50
Jacob R. Clark                                             4.90      965.00     4,728.50
Lizbeth Cordova                                          149.50      610.00    91,195.00
Ian Craig                                                 46.80    1,135.00    53,118.00
Tess Elizabeth Dennis                                     10.90      610.00     6,649.00
Allyson N. Dillon                                         40.40      610.00    24,644.00
Justin C. Elliott                                        162.00    1,195.00   193,590.00
Josh Fintel                                               11.60      740.00     8,584.00
Jake Flood                                                 9.30      740.00     6,882.00
Julia R. Foster                                            5.70      340.00     1,938.00
John Thomas Goldman                                      124.20    1,195.00   148,419.00
Vanessa Gomez                                             23.20      740.00    17,168.00
Jake William Gordon                                        4.10      845.00     3,464.50
Jason Niels Grover                                         2.50      610.00     1,525.00
Sara Handibode                                             7.80      445.00     3,471.00
Melissa D. Kalka                                          12.00    1,165.00    13,980.00
Sohil Khurana                                             60.50      740.00    44,770.00
Talia Krause                                             116.30      610.00    70,943.00
Aisha P. Lavinier                                         14.20    1,135.00    16,117.00
Will Lawley                                               51.10      845.00    43,179.50
David P. Liebowitz                                        41.90      445.00    18,645.50
Mark Steven Lipschultz                                    47.50      845.00    40,137.50
Marc Anthony Lipscomb                                      1.20    1,135.00     1,362.00


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Owned Property Sales and Dispositions

Name                                                      Hours         Rate        Amount
Mike Lowes                                                 19.10      845.00       16,139.50
Christopher Mahoney                                        71.90      610.00       43,859.00
Joshua Merrill                                              8.60    1,085.00        9,331.00
Puja Narain                                                 5.30      610.00        3,233.00
Tyler E. Neal                                              10.60      740.00        7,844.00
Thomas P. O'Connor                                          2.00    1,035.00        2,070.00
Tarah Lorraine Perkins                                      7.00      610.00        4,270.00
Callie Jones Poorman                                       20.70      845.00       17,491.50
Prentis Robinson                                            4.00      610.00        2,440.00
Katie Roddy                                                42.60    1,085.00       46,221.00
Lauren E. Roman                                            20.80      740.00       15,392.00
Alexander Romano                                            3.50      610.00        2,135.00
Laurie Ruxton                                              16.00      445.00        7,120.00
Tana Ryan, P.C.                                             4.30    1,395.00        5,998.50
Jonathan A. Schechter, P.C.                                12.60    1,525.00       19,215.00
Matthew A. Schroth                                         68.80      740.00       50,912.00
Jennifer Sheehan                                            2.80    1,275.00        3,570.00
Christina Soriano                                          20.30      460.00        9,338.00
Conrad Steele                                               2.70    1,085.00        2,929.50
Sam Steinman                                               58.20      965.00       56,163.00
Al Stemp, P.C.                                              1.00    1,415.00        1,415.00
Michael D. Thorpe                                           0.90    1,165.00        1,048.50
Steve Toth                                                  1.60    1,295.00        2,072.00
Seth Traxler, P.C.                                          0.20    1,495.00          299.00
Andrew R. Van Noord, P.C.                                  23.60    1,395.00       32,922.00
Lydia Yale                                                  0.80      275.00          220.00
Aparna Yenamandra                                           2.60    1,165.00        3,029.00
Nancy Zambrana                                             39.70      845.00       33,546.50
Samuel Zaretsky                                            17.60      845.00       14,872.00
Eric Zhi                                                   34.70      740.00       25,678.00
Victoria M. Zhou                                          112.90    1,085.00      122,496.50

TOTALS                                                   1,759.50              $ 1,498,524.00




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                                       Description of Legal Services

Date     Name                                  Hours Description
05/17/20 Allyson N. Dillon                      0.20 Revise real property review closing checklist.
05/17/20 Aisha P. Lavinier                      0.80 Coordinate re general sale process and review
                                                     related materials for timeline and milestones.
05/17/20 Will Lawley                            0.50 Review correspondence with investor re
                                                     Lucernex contents against request list to
                                                     ascertain coverage (.3); review bidder request
                                                     list against prior diligence tracker re priority
                                                     items (.2).
05/18/20 April B. Abrams                        6.50 Review data site indexes (1.0), search for files
                                                     on data site (1.4); download survey, title and
                                                     environmental reports (.9); upload documents
                                                     to internal data base (.6); populate excel
                                                     spread sheet with documents uploaded (2.6).
05/18/20 John Thomas Goldman                    2.50 Telephone conferences to coordinate asset
                                                     sale and valuation process (1.5); review draft
                                                     PSA form (1.0).
05/18/20 Melissa D. Kalka                       0.50 Review and comment on non-disclosure
                                                     agreement tracker (.2); correspond with
                                                     Lazard re same (.3).
05/18/20 Sohil Khurana                          2.50 Review and analyze title, survey and
                                                     environmental documents re each store (1.8);
                                                     pull relevant title and survey documents and
                                                     inventory in document management system
                                                     (.7).
05/18/20 Aisha P. Lavinier                      2.00 Conference with S. Toth, T. Ryan re non-
                                                     disclosure agreements (.5); prepare draft of
                                                     form non-disclosure agreement for sale
                                                     process (1.5).
05/18/20 Christopher Mahoney                    1.50 Review and organize title, survey and
                                                     environmental reports.
05/18/20 Sam Steinman                           3.30 Review, analyze and comment upon
                                                     documentation and diligence re proposed
                                                     transaction.
05/19/20 April B. Abrams                        5.00 Review data site indexes (.6); search for files
                                                     on data site (1.3); download survey, title and
                                                     environmental reports (.7); upload documents
                                                     to internal data base (.4); populate excel
                                                     spread sheet with documents uploaded (2.0).




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Date     Name                                  Hours Description
05/19/20 Tess Elizabeth Dennis                  4.00 Draft real estate milestone dates and plans
                                                     presentation (3.5); update non-disclosure
                                                     agreement tracker (.5).
05/19/20 Aisha P. Lavinier                      2.20 Draft non-disclosure agreement for bidders.
05/19/20 Christopher Mahoney                    2.30 Review and organize title, survey and
                                                     environmental reports.
05/19/20 Laurie Ruxton                          1.00 Correspond with A. Dillon re assignment (.2);
                                                     work on review data site documentation re
                                                     real estate title, surveys, environmental
                                                     reports (.8).
05/19/20 Sam Steinman                           4.00 Review, analyze, and comment upon
                                                     documentation and diligence re proposed
                                                     transaction.
05/20/20 Tess Elizabeth Dennis                  5.50 Update, review and revise real estate
                                                     milestones and plans deck (2.0); review and
                                                     analyze executed non-disclosure agreements
                                                     for prohibitions re disclosing party identity
                                                     and expiration dates (2.0); update non-
                                                     disclosure agreement tracker re same (1.0);
                                                     review signature page tracker and signature
                                                     pages (.5).
05/20/20 John Thomas Goldman                    2.50 Review asset sale issues (1.5); telephone
                                                     conference with K&E team re same (1.0).
05/20/20 Sohil Khurana                          0.90 Populate data room with real estate diligence
                                                     items.
05/20/20 Aisha P. Lavinier                      1.60 Analyze standstill provisions for bidder non-
                                                     disclosure agreements and draft non-
                                                     disclosure agreement form (1.2); conferences
                                                     with S. Toth and M. Kalka re same (.4).
05/20/20 Tyler E. Neal                          1.50 Review and analyze leases.
05/20/20 Lauren E. Roman                        0.80 Prepare for and review real estate diligence
                                                     materials.
05/20/20 Nancy Zambrana                         0.30 Correspond with K&E team re real estate
                                                     diligence.
05/20/20 Victoria M. Zhou                       3.80 Review diligence instruction from L. Cordova
                                                     (.3); review data room (.5); review document
                                                     index for assignment properties and identify
                                                     relevant documents to be reviewed (2.5);
                                                     participate in telephone conference with
                                                     paralegal re organizing and printing
                                                     documents to be reviewed (.5).




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Date     Name                                  Hours Description
05/21/20 April B. Abrams                        7.00 Review data site indexes, search for files on
                                                     data site, download survey, title and
                                                     environmental reports and upload documents
                                                     to DMS and populate excel spread sheet with
                                                     documents uploaded.
05/21/20 Lizbeth Cordova                        4.20 Organize real estate due diligence (2.0);
                                                     review real estate due diligence documents
                                                     (2.2).
05/21/20 Ian Craig                              1.80 Correspond re landlord term sheets (1.0);
                                                     correspond re diligence matters (.6); review,
                                                     analyze lease summary (.2).
05/21/20 Tess Elizabeth Dennis                  0.60 Review signature pages and update signature
                                                     page tracker re same (.3); update non-
                                                     disclosure agreement tracker (.3).
05/21/20 David P. Liebowitz                     2.60 Review, locate properties (.4); download and
                                                     review indexes (1.0); download, review title,
                                                     survey and environmental reports (.8); revise
                                                     tracker (.4).
05/21/20 Laurie Ruxton                          1.00 Review diligence re existing title, survey
                                                     documentation.
05/22/20 April B. Abrams                        5.00 Review, analyze data site indexes (.4); search
                                                     for files on data site (.6); download survey,
                                                     title and environmental reports (1.1); upload
                                                     documents to internal data site (.7); populate
                                                     excel spread sheet with documents uploaded
                                                     (2.2).
05/22/20 Callie Jones Poorman                   6.00 Review owned property operating
                                                     agreements.
05/22/20 Lauren E. Roman                        4.10 Review and summarize real estate diligence
                                                     materials.
05/22/20 Sam Steinman                           3.80 Review, analyze and comment on
                                                     documentation and diligence re proposed
                                                     transaction.
05/23/20 Kevin S. Beckoff                       1.00 Review real property ground leases and
                                                     reciprocal easement agreements (.6); update
                                                     summary chart re same (.4).
05/23/20 Jacob R. Clark                         1.90 Draft issue and response list re real estate
                                                     issues.
05/23/20 Sohil Khurana                          2.40 Review, analyze diligence materials re
                                                     Company's ground leased and owned
                                                     properties (.9); chart and summarize diligence
                                                     findings (1.5).



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Date     Name                                  Hours Description
05/23/20 Sohil Khurana                          0.60 Prepare for and participate in telephone
                                                     conference with L. Cordova re operating
                                                     covenant analysis per review of Company's
                                                     ground leases (.3); prepare for and participate
                                                     in additional telephone conference re analysis
                                                     of tenant prohibited uses restrictions in leases
                                                     (.3).
05/23/20 Sohil Khurana                          3.00 Review and analyze leases and other related
                                                     diligence materials re Company's owned and
                                                     ground leased properties (2.0); chart and
                                                     summarize diligence findings (1.0).
05/23/20 Sohil Khurana                          1.30 Review and analyze title, survey, zoning and
                                                     environmental documents per Company's real
                                                     property (.7); inventory relevant title reports
                                                     and surveys (.6).
05/23/20 Will Lawley                            3.30 Perform third party lease diligence.
05/23/20 Mark Steven Lipschultz                 4.50 Review documents re four ground lease sites
                                                     including ground leases, real estate assets, and
                                                     other relevant materials (2.7); complete chart
                                                     re research (1.8).
05/23/20 Mike Lowes                             6.20 Review and summarize real estate leases.
05/23/20 Tyler E. Neal                          0.80 Compile and organize agreements.
05/23/20 Katie Roddy                            1.50 Review and analyze real estate assets and
                                                     related documents re owned real property
                                                     (1.0); draft summary chart re same (.5).
05/23/20 Lauren E. Roman                        1.90 Review real estate diligence materials (1.0);
                                                     summarize same (.9).
05/23/20 Alexander Romano                       2.90 Review and analyze terms of lease
                                                     agreements and lease-related documents (1.7);
                                                     draft summary chart re same (1.2).
05/23/20 Matthew A. Schroth                     3.00 Review due diligence materials.
05/23/20 Nancy Zambrana                         4.50 Review real estate due diligence documents
                                                     (3.5); draft summary chart re same (1.0).
05/23/20 Nancy Zambrana                         0.20 Correspond with K&E team re real estate
                                                     diligence.
05/23/20 Samuel Zaretsky                        9.00 Review and analyze Company leases (3.9);
                                                     draft summary re same (3.9); correspond with
                                                     K&E team re same (1.2).
05/23/20 Victoria M. Zhou                       9.00 Review REAs (3.9); summarize material
                                                     provisions re same (3.9); correspond with
                                                     K&E team re same (1.2).



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Date     Name                                  Hours Description
05/24/20 April B. Abrams                        2.50 Review indexes re title and survey documents
                                                     (1.5); draft excel spreadsheet re same (1.0).
05/24/20 Kevin S. Beckoff                       4.00 Review real property ground leases (2.5);
                                                     draft summary chart re same (1.5).
05/24/20 Kevin S. Beckoff                       4.00 Review real property reciprocal easement
                                                     agreements (2.8); draft summary chart re
                                                     same (1.2).
05/24/20 Jacob R. Clark                         1.80 Draft issue and response list re real estate
                                                     issues (1.6); correspond with J. Goldman re
                                                     same (.2).
05/24/20 Ian Craig                              4.00 Correspond re landlord term sheets (.2);
                                                     correspond re credit agreement (.8); review
                                                     credit agreement (3.0).
05/24/20 Allyson N. Dillon                      1.00 Review existing property diligence
                                                     documents (.5); organize same (.5).
05/24/20 Talia Krause                           3.80 Coordinate due diligence of Company's
                                                     owned and lease properties.
05/24/20 Will Lawley                            1.80 Review third party lease diligence.
05/24/20 Mark Steven Lipschultz                 5.00 Review documents re four ground lease sites
                                                     including ground leases, REAs, and other
                                                     relevant materials (3.9); complete chart re
                                                     research (1.1).
05/24/20 Mike Lowes                             2.70 Review real estate leases (1.7); draft summary
                                                     re same (1.0).
05/24/20 Lauren E. Roman                        4.20 Review real estate diligence materials (3.0);
                                                     draft summary re same (1.2).
05/25/20 Lizbeth Cordova                        7.00 Organize real estate due diligence review
                                                     (2.0); review existing property documents
                                                     (3.5); prepare summary re same (1.5).
05/25/20 Ian Craig                              3.30 Review and revise credit agreement (1.8);
                                                     correspond re same (.6); correspond re lease
                                                     and REA review (.9).
05/25/20 Allyson N. Dillon                      5.00 Review existing property diligence
                                                     documents (2.5); organize same (2.5).




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Date     Name                                  Hours Description
05/25/20 Josh Fintel                            11.00 Review and organize ground lease
                                                      documentation re eight facilities re financing
                                                      restrictions, use restrictions, lender
                                                      protections, and landlord termination rights
                                                      (3.9); correspond with J. Goldman and T.
                                                      Krause re use restrictions related to shopping
                                                      center association documentation (.3); draft
                                                      ground lease summary chart re financing
                                                      restrictions, use restrictions, and lender
                                                      protections re eight ground leased sites (3.9);
                                                      revise same (2.9).
05/25/20 John Thomas Goldman                     3.50 Review ordinary course real estate operations
                                                      (.7); correspond re same (.3); telephone
                                                      conference re work stream status and next
                                                      steps (.5); coordinate preparation of sale
                                                      motions (1.0); review owned store diligence
                                                      (1.0).
05/25/20 Talia Krause                            8.00 Coordinate due diligence re Company's
                                                      owned and lease properties (3.9); correspond
                                                      with K&E team re same (3.7); compile
                                                      documents re same (.4).
05/25/20 Will Lawley                             3.50 Review diligence list from Katten (.3); review
                                                      and analyze diligence on third party leases
                                                      (3.2).
05/25/20 Mike Lowes                              7.80 Review Company real estate leases (3.9);
                                                      draft summary re same (3.9).
05/25/20 Tyler E. Neal                           4.00 Review Company leases (2.1); draft summary
                                                      re same (1.9).
05/25/20 Callie Jones Poorman                    7.00 Review restrictive easement agreements for
                                                      owned properties.
05/25/20 Lauren E. Roman                         1.90 Organize real estate diligence documents.
05/25/20 Lauren E. Roman                         6.10 Review real estate diligence materials (3.9);
                                                      draft summary re same (2.2).
05/25/20 Laurie Ruxton                           4.50 Correspond with A. Dillon re ongoing issues
                                                      (1.3); review diligence re same (1.3); revise
                                                      diligence chart (.5); review existing surveys,
                                                      title policies (.7); organize and compile same
                                                      (.7).
05/25/20 Aparna Yenamandra                       0.90 Telephone conference with 1L advisors re
                                                      real estate workstreams (.4); telephone
                                                      conference with K&E team re same (.5).




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Date     Name                                  Hours Description
05/25/20 Aparna Yenamandra                      1.10 Correspond with K&E team re bidder non-
                                                     disclosure agreements (.4); correspond re
                                                     blowout issues (.7).
05/25/20 Nancy Zambrana                         3.60 Review real estate due diligence documents
                                                     (2.1); prepare summary chart re same (1.5).
05/25/20 Samuel Zaretsky                        5.00 Review Company leases (3.9); correspond
                                                     with K&E team re same (1.1).
05/25/20 Eric Zhi                               6.20 Review and analyze REAs and ground lease
                                                     (3.9); draft summery re same (2.3).
05/25/20 Victoria M. Zhou                       7.00 Review REA (3.9); draft summary re same
                                                     (3.1).
05/26/20 April B. Abrams                        4.80 Review diligence re survey, title and
                                                     environmental reports (2.5); organize and
                                                     compile same (1.0); draft excel spreadsheet re
                                                     same (1.3).
05/26/20 Lizbeth Cordova                        8.20 Review lease documents (3.9); draft summary
                                                     re same (3.9); correspond with K&E team re
                                                     same (.4).
05/26/20 Ian Craig                              6.80 Correspond re lease review (.5); review and
                                                     revise lease summary chart (3.9); review
                                                     credit agreement (.4); correspond re same
                                                     (.1); review checklists and background
                                                     documentation re REIT-spin (1.9).
05/26/20 Allyson N. Dillon                      4.40 Review existing property diligence
                                                     documents (2.2); organize same (2.2).
05/26/20 Josh Fintel                            0.60 Prepare ground lease summary chart re
                                                     financing restrictions, use restrictions, and
                                                     lender protections re three ground leased sites.
05/26/20 Jake Flood                             5.00 Draft lease review chart (3.9); revise same
                                                     (1.1).
05/26/20 John Thomas Goldman                    4.00 Coordinate inbound requests for property sale
                                                     information (1.0); attend real estate task force
                                                     telephone conference (1.0); telephone
                                                     conference with title Company re title search
                                                     process and costs (.9); telephone conference
                                                     re sale motions and open issues (1.1).
05/26/20 Melissa D. Kalka                       0.50 Correspond with A. Lavinier re anti-trust
                                                     review and diligence for third party process.
05/26/20 Sohil Khurana                          1.50 Review and analyze owned real property
                                                     diligence items (1.0); summarize and chart
                                                     prohibited uses, financing restrictions and
                                                     lender protections re same (.5).


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Date     Name                                  Hours Description
05/26/20 Talia Krause                           6.50 Coordinate due diligence of Company's
                                                     owned and lease properties (3.9); correspond
                                                     with K&E team re same (2.6).
05/26/20 Aisha P. Lavinier                      1.20 Review, analyze antitrust matters and related
                                                     non-disclosure agreements (.9); review and
                                                     analyze market test diligence process (.3).
05/26/20 Will Lawley                            7.00 Perform third party lease diligence (3.9);
                                                     review, analyze Katten diligence requests
                                                     (1.3); review, analyze questions re
                                                     competitively sensitive information with
                                                     K&E, Lazard teams (1.8).
05/26/20 Mark Steven Lipschultz                 0.50 Review matter correspondence (.3); compile
                                                     documents re REA review (.2).
05/26/20 Mike Lowes                             2.40 Review real estate leases (1.4); draft summary
                                                     re same (1.0).
05/26/20 Christopher Mahoney                    2.20 Review and organize title, survey and
                                                     environmental reports.
05/26/20 Callie Jones Poorman                   2.00 Review and analyze Company's owned
                                                     properties re diligence.
05/26/20 Katie Roddy                            8.50 Review and analyze REAs and related
                                                     documents for Company's owned real
                                                     property (3.9); draft summary chart re same
                                                     (3.9); correspond with K&E team re same
                                                     (.7).
05/26/20 Sam Steinman                           5.50 Review, analyze documentation and diligence
                                                     re proposed transaction (3.9); revise same
                                                     (1.6).
05/26/20 Lydia Yale                             0.80 Research re precedent sale motions.
05/26/20 Nancy Zambrana                         0.20 Correspond with K&E team re real estate
                                                     diligence.
05/26/20 Nancy Zambrana                         6.50 Review real estate due diligence documents
                                                     (3.5); prepare summary chart re same (3.0).
05/26/20 Eric Zhi                               7.40 Review ground lease and REA documents
                                                     (3.9); draft summary re same (3.5).
05/26/20 Victoria M. Zhou                       5.00 Revise REA summaries (2.0); identify REA
                                                     and other material documents for 10 sites
                                                     (3.0).
05/27/20 Andres Cantero Jr.                     0.70 Review REA documents for store #241.
05/27/20 Rebecca Blake Chaikin                  0.20 Telephone conference with M. Schroth, L.
                                                     Cordova re asset sale motion.
05/27/20 Ian Craig                              5.00 Correspond re diligence matters (1.1); review
                                                     and revise lease summaries (3.9).

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Date     Name                                  Hours Description
05/27/20 Allyson N. Dillon                      5.20 Attend telephone conference with M Schroth
                                                     re title policies for Company's owned stores
                                                     and diligence work streams (1.0); review
                                                     existing property diligence documents (2.1);
                                                     organize existing property diligence
                                                     documents (2.1).
05/27/20 Justin C. Elliott                      1.20 Correspond with K&E team re matter (.4);
                                                     review and analyze real property diligence
                                                     (.3); draft summary chart re same (.5).
05/27/20 Julia R. Foster                        1.40 Draft de minimis asset sale procedures motion
                                                     (.5); draft sale motion (.9).
05/27/20 John Thomas Goldman                    4.00 Review and discuss existing PSA questions
                                                     and issues (2.0); review and discuss REA
                                                     diligence (1.0); attend real estate task force
                                                     telephone conference (1.0).
05/27/20 Melissa D. Kalka                       1.20 Correspond with A. Lavinier re third party
                                                     process (.2); prepare for telephone conference
                                                     with Alix and Lazard re third party process
                                                     (.1); attend same (.4); prepare for telephone
                                                     conference with Lazard re competitively
                                                     sensitive information in data room and
                                                     process for disclosure (.1); attend same (.4).
05/27/20 Melissa D. Kalka                       2.40 Review and revise non-disclosure agreements
                                                     from third parties (.5); correspond with J.
                                                     Merrill re same (.2); correspond with Lazard
                                                     re non-disclosure agreements and non-
                                                     disclosure agreement process (1.0); review
                                                     and revise non-disclosure agreement tracker
                                                     (.6); correspond with T. Dennis re same (.1).
05/27/20 Sohil Khurana                          2.80 Review and analyze real property diligence
                                                     materials (2.0); summarize and chart
                                                     diligence findings (.5); prepare for telephone
                                                     conference with L. Cordova re use restrictions
                                                     in REAs (.1); participate in same (.2).
05/27/20 Sohil Khurana                          2.50 Review and analyze real property diligence
                                                     materials (1.5); chart and summarize same
                                                     (1.0).
05/27/20 Talia Krause                           4.70 Coordinate due diligence of owned and leased
                                                     properties (3.9); correspond with K&E team
                                                     re same (.8).




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Date     Name                                  Hours Description
05/27/20 Aisha P. Lavinier                      3.70 Attend conference with Lazard, AlixPartners
                                                     and K&E team re market test data room and
                                                     diligence process (.6); attend conference with
                                                     Lazard and K&E team re antitrust concerns
                                                     (.7); prepare antitrust guidelines and
                                                     correspondence re same (.8); correspond re
                                                     clean team agreements and prepare same (.4);
                                                     review and analyze diligence matrix and
                                                     correspond with M. Thorpe and J.
                                                     Baranowski re same (1.2).
05/27/20 Will Lawley                            8.10 Attend telephone conferences re clean room
                                                     protocols and competitively sensitive
                                                     information (1.0); review and revise diligence
                                                     tracker for Katten (.7); review, analyze third
                                                     party lease diligence (3.9); draft summary re
                                                     same (2.5).
05/27/20 Mark Steven Lipschultz                 7.50 Review REAs and supplemental agreements
                                                     for three properties (3.9); revise diligence
                                                     chart re same (3.6).
05/27/20 Christopher Mahoney                    4.30 Review title, survey and environmental
                                                     reports (3.9); organize same (.4).
05/27/20 Joshua Merrill                         1.50 Telephone conference with Lazard, Alix and
                                                     K&E teams re data room and diligence
                                                     requests (1.0); update non-disclosure
                                                     agreement tracker (.5).
05/27/20 Callie Jones Poorman                   2.20 Review and analyze owned property
                                                     agreements.
05/27/20 Katie Roddy                            1.50 Draft REA summary chart.
05/27/20 Tana Ryan, P.C.                        0.80 Telephone conference re non-disclosure
                                                     agreement matters (.5); follow up re same
                                                     (.3).
05/27/20 Jonathan A. Schechter, P.C.            0.80 Review, analyze due diligence items and
                                                     related correspondence.
05/27/20 Matthew A. Schroth                     5.70 Draft asset sale motion (2.0); attend telephone
                                                     conference re store liquidations (.3); attend
                                                     telephone conference with real estate task
                                                     force (.6); analyze due diligence review (1.8);
                                                     revise lease term sheets (1.0).
05/27/20 Sam Steinman                           9.80 Review, analyze documentation and diligence
                                                     re proposed transaction (3.9); revise same
                                                     (3.9); correspond with K&E team re same
                                                     (2.0).



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Date     Name                                  Hours Description
05/27/20 Michael D. Thorpe                      0.70 Telephone conference with Lazard and K&E
                                                     team re prospective bidders.
05/27/20 Nancy Zambrana                         0.30 Correspond with K&E team re real estate
                                                     diligence.
05/27/20 Nancy Zambrana                         4.80 Review real estate due diligence documents
                                                     (2.8); draft summary chart re same (2.0).
05/27/20 Victoria M. Zhou                       6.80 Telephone conference with B. Daniel re
                                                     documents (.3); review REA related diligence
                                                     materials (3.9); draft summary re same (2.6).
05/28/20 April B. Abrams                        4.00 Review data indexes title survey and
                                                     environmental reports (2.0); organize same
                                                     (1.2); draft spreadsheet re same (.8).
05/28/20 Chris Ceresa                           0.10 Telephone conference with M. Schroth re de
                                                     minimis asset sales.
05/28/20 Lizbeth Cordova                        7.00 Organize real estate due diligence (2.0);
                                                     compile real estate due diligence charts (2.5);
                                                     review and revise active purchase and sale
                                                     contracts tracker (.5); draft de minimis sale
                                                     motion (2.0).
05/28/20 Ian Craig                              1.40 Correspond re real estate diligence matters
                                                     (1.3); correspond re credit agreement (.1).
05/28/20 Tess Elizabeth Dennis                  0.30 Update non-disclosure agreement tracker.
05/28/20 Allyson N. Dillon                      7.90 Review property diligence documents (2.5);
                                                     organize property diligence documents (2.5);
                                                     revise term sheets to include option language
                                                     (.5); review, analyze correspondence with title
                                                     Company re questions on existing title
                                                     commitments and issues accessing large file
                                                     transfer (.4); compile property diligence
                                                     document review (1.0); draft diligence request
                                                     list (.5); review distribution center property
                                                     documents (.5).
05/28/20 Justin C. Elliott                      2.30 Correspond with K&E team (.3); review,
                                                     analyze real property diligence (.7); draft
                                                     summary chart re same (1.3).
05/28/20 John Thomas Goldman                    4.50 Attend real estate task force telephone
                                                     conference (2.0); telephone conferences re
                                                     sale process and form optimization (1.0);
                                                     coordinate inbound expressions of interest
                                                     (.5); review and coordinate diligence (1.0).
05/28/20 Sohil Khurana                          2.80 Review and analyze owned real property
                                                     diligence materials (2.0); summarize and
                                                     chart diligence findings (.8).

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Date     Name                                  Hours Description
05/28/20 Sohil Khurana                          3.00 Review and analyze real property diligence
                                                     materials (2.0); summarize diligence findings
                                                     (1.0).
05/28/20 Christopher Mahoney                    0.80 Review and organize title, survey and
                                                     environmental reports.
05/28/20 Jonathan A. Schechter, P.C.            1.00 Review, analyze sales precedent materials.
05/28/20 Matthew A. Schroth                     8.00 Analyze due diligence review (3.0); attend
                                                     telephone conference with real estate task
                                                     force (1.0); draft store sale motion (3.5);
                                                     revise lease term sheets (.5).
05/28/20 Steve Toth                             0.70 Analyze non-disclosure agreement (.5);
                                                     correspond with M. Lipscomb (.2).
05/28/20 Eric Zhi                               3.80 Review and revise ground lease abstract.
05/28/20 Victoria M. Zhou                       7.50 Review and summarize REA documents.
05/29/20 Lizbeth Cordova                        5.10 Organize real estate due diligence (2.0);
                                                     compile real estate due diligence charts (1.3);
                                                     draft de minimis sale motion (1.8).
05/29/20 Ian Craig                              3.10 Review and revise credit agreement (2.2);
                                                     correspond re same (.5); correspond re real
                                                     estate diligence matters (.4).
05/29/20 Tess Elizabeth Dennis                  0.50 Revise non-disclosure agreement tracker.
05/29/20 Allyson N. Dillon                      1.00 Revise deal term sheets (.5); review
                                                     distribution center property documents (.5).
05/29/20 Justin C. Elliott                      2.40 Correspond with K&E team re diligence (.5);
                                                     review and analyze real property diligence
                                                     (.4); draft summary chart re same (1.5).
05/29/20 Julia R. Foster                        0.30 Review and revise de minimis asset sale
                                                     procedures motion (.2); review and revise sale
                                                     motion (.1).
05/29/20 John Thomas Goldman                    4.50 Telephone conference re headquarter property
                                                     (.5); review issues related to headquarter
                                                     foreclosure (1.1); correspond with K&E team
                                                     re same (.4); review diligence process and
                                                     summaries (.7); correspond with K&E team re
                                                     same (.3); telephone conference with buyer's
                                                     counsel for property under contract (.5);
                                                     follow up re PSA properties (1.0).
05/29/20 Melissa D. Kalka                       3.00 Review and revise non-disclosure agreements.
05/29/20 Sohil Khurana                          3.00 Review and analyze owned real property
                                                     diligence materials (2.0); summarize and
                                                     chart relevant provisions re real property
                                                     diligence (1.0).


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Date     Name                                  Hours Description
05/29/20 Aisha P. Lavinier                      0.80 Review and analyze diligence matrix (.5);
                                                     review, analyze diligence process (.3).
05/29/20 Mark Steven Lipschultz                 4.00 Review REAs (2.9); revise diligence tracker
                                                     (1.1).
05/29/20 Marc Anthony Lipscomb                  1.20 Review and revise non-disclosure agreement
                                                     (.9); correspond with M. Kalka re same (.3).
05/29/20 Joshua Merrill                         4.90 Review and revise non-disclosure agreements
                                                     with counterparties for M&A process (3.4);
                                                     telephone conference with opposing counsel
                                                     re same (.6); correspond with Company
                                                     summarizing changes to non-disclosure
                                                     agreements (.9).
05/29/20 Katie Roddy                            2.00 Review and analyze REAs and related
                                                     documents for owned real property (1.5);
                                                     draft REA summary chart (.5).
05/29/20 Matthew A. Schroth                     1.90 Attend telephone conference with landlord
                                                     purchase and sale agreement (.5); attend
                                                     telephone conference re store liquidation (.4);
                                                     draft asset sale motion (.5); correspond with
                                                     Company re purchase and sale agreement (.5).
05/29/20 Nancy Zambrana                         0.20 Correspond with K&E team re real estate
                                                     diligence.
05/29/20 Victoria M. Zhou                       8.30 Correspond with L. Cordova re REA
                                                     documents (.5); review same (3.9);
                                                     summarize same (3.9).
05/30/20 Allyson N. Dillon                      0.20 Review, analyze correspondence re deal term
                                                     sheets.
05/30/20 Justin C. Elliott                      1.40 Review and analyze real property diligence
                                                     (.8); draft summary chart re same (.6).
05/30/20 John Thomas Goldman                    1.00 Review REA diligence (.7); correspond with
                                                     K&E team re same (.3).
05/30/20 Melissa D. Kalka                       3.20 Review and revise non-disclosure agreements
                                                     with third parties (1.4); correspond with
                                                     Lazard re non-disclosure agreements (.6);
                                                     correspond with J. Merrill re non-disclosure
                                                     agreements (.7); review previously non-
                                                     disclosure agreements to determine data room
                                                     access (.5).
05/30/20 Sohil Khurana                          3.00 Review and analyze owned real property
                                                     diligence materials (2.0); summarize and
                                                     chart relevant provisions re such real property
                                                     diligence (1.0).



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Date     Name                                  Hours Description
05/30/20 Talia Krause                           0.20 Coordinate due diligence of owned and lease
                                                     properties.
05/30/20 Aisha P. Lavinier                      0.80 Correspond with K&E team, G. Schlicht and
                                                     J. Baranowski re non-disclosure agreements
                                                     and diligence process, including review,
                                                     analyze anti-trust matters.
05/30/20 Mark Steven Lipschultz                 1.50 Review REA (1.1); revise chart re same (.4).
05/30/20 Joshua Merrill                         1.60 Review and revise non-disclosure agreements
                                                     with M&A counterparties (1.3); correspond
                                                     with Company re same (.3).
05/30/20 Michael D. Thorpe                      0.20 Correspond re antitrust analysis of
                                                     transaction.
05/30/20 Eric Zhi                               6.30 Review REA documents and ground lease
                                                     (3.9); revise lease abstract (2.4).
05/31/20 Sohil Khurana                          2.00 Review and analyze owned real property
                                                     diligence materials (1.0); summarize and
                                                     chart relevant provisions re such real property
                                                     diligence (1.0).
05/31/20 Talia Krause                           1.50 Correspond with S. Zaretsky re master lease
                                                     (.5); coordinate due diligence for owned and
                                                     lease properties (1.0).
05/31/20 Mark Steven Lipschultz                 2.20 Review REAs (1.7); revise diligence chart re
                                                     same (.5).
05/31/20 Joshua Merrill                         0.30 Correspond with K&E team re non-disclosure
                                                     agreement.
05/31/20 Jonathan A. Schechter, P.C.            0.50 Review, analyze store closing motion.
05/31/20 Matthew A. Schroth                     0.10 Analyze due diligence review.
05/31/20 Aparna Yenamandra                      0.60 Telephone conference with M. Slade re work
                                                     fee declaration.
06/01/20 Allison Biolsi                         1.00 Compile and correspond re excel charts re
                                                     store leases to one master excel.
06/01/20 Ian Craig                              1.50 Communication re diligence review (.3);
                                                     review changes to credit agreement and
                                                     communication re same (1.2).
06/01/20 Allyson N. Dillon                      1.50 Revise master closing checklist tracker (1.0);
                                                     correspondence re work streams and master re
                                                     tracker (.5).
06/01/20 Justin C. Elliott                      7.90 Correspond with K&E team re real property
                                                     diligence (2.1); review and comment on real
                                                     property diligence chart (2.9); review
                                                     underlying real property documents (2.9).
06/01/20 Jake Flood                             1.50 Draft and revise lease review chart.

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Date     Name                                  Hours Description
06/01/20 John Thomas Goldman                    6.00 Review, revise and discuss owned property
                                                     optimization plan (3.0); review and discuss
                                                     asset sale motion drafts (2.0); discuss and
                                                     coordinate title (1.0).
06/01/20 Sohil Khurana                          4.00 Review and analyze real property diligence
                                                     materials (2.0); chart and summarize key
                                                     provisions (1.5); plan and prepare for
                                                     telephone conference and correspond with T.
                                                     Krause and M. Schroth re purchase option in
                                                     allocable share agreement (.5).
06/01/20 Talia Krause                           6.10 Coordinate due diligence for owned and lease
                                                     properties.
06/01/20 Will Lawley                            1.40 Attend to third party lease diligence (1.2);
                                                     attend call re permissions and roles in various
                                                     data rooms due to competition concerns (.2).
06/01/20 Mark Steven Lipschultz                 2.00 Review REA documents and insert responses
                                                     into documents.
06/01/20 Tyler E. Neal                          3.30 Review and summarize leases.
06/01/20 Alexander Romano                       0.60 Review and revise leased property summary
                                                     charts.
06/01/20 Jonathan A. Schechter, P.C.            1.00 Attention to sale motion and De minimus sale
                                                     motion.
06/01/20 Matthew A. Schroth                     4.00 Conduct due diligence review (.6); attend
                                                     telephone conference with real estate advisors
                                                     (.7); attend real estate task force telephone
                                                     conference (1.1); revise amendment to
                                                     engagement letter (1.1); attend telephone
                                                     conference with J. Goldman (.5).
06/01/20 Steve Toth                             0.50 Analyze draft process letter for marketing
                                                     process.
06/01/20 Seth Traxler, P.C.                     0.20 Review Oracle addendum.
06/01/20 Nancy Zambrana                         0.20 Correspond with K&E team re real estate
                                                     diligence.
06/01/20 Samuel Zaretsky                        2.00 Review OpCo / PropCo lease.
06/01/20 Victoria M. Zhou                       7.00 Review and summarize REA documents.
06/02/20 Andres Cantero Jr.                     0.80 Commence revisions of REA chart based on
                                                     Cushman abstracts for Store 1942.
06/02/20 Jacob R. Clark                         1.20 Correspond with lease reviewers (.2); review
                                                     lease summaries (1.0).
06/02/20 Lizbeth Cordova                        3.50 Coordinate real estate due diligence.




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Date     Name                                  Hours Description
06/02/20 Ian Craig                              6.40 Communication re diligence matters (.2);
                                                     review and made changes to lease summaries
                                                     (6.1); communication re credit agreement
                                                     matters (.1).
06/02/20 Allyson N. Dillon                      1.10 Revise real estate tracker (.9); correspond
                                                     with M. Schroth and J. Goldman re revised
                                                     real estate tracker (.2).
06/02/20 Justin C. Elliott                      6.10 Internal correspondence and discussions re
                                                     real estate matters (1.5); review and comment
                                                     on real estate due diligence chart (2.5); review
                                                     underlying diligence documents (2.1).
06/02/20 Jake Flood                             1.50 Draft and revise lease review chart.
06/02/20 John Thomas Goldman                    3.00 Telephone conference re HQ note issues
                                                     (1.0); attend K&E real estate task force call
                                                     (1.0); coordinate title searches and third party
                                                     reports (1.0).
06/02/20 Sohil Khurana                          3.20 Review, analyze and correspond with M.
                                                     Schroth and L. Cordova re purchase option
                                                     present in Allocable Share Agreement (.2);
                                                     review and analyze owned real property
                                                     diligence materials (2.0); summarize and
                                                     chart relevant provisions with respect to such
                                                     real property diligence (1.0).
06/02/20 Talia Krause                           8.50 Revise term sheet (1.0); coordinate due
                                                     diligence for owned and lease properties
                                                     (7.5).
06/02/20 Christopher Mahoney                    4.80 Review and analyze construction, operation
                                                     and reciprocal easement agreements for
                                                     assigned properties.
06/02/20 Tana Ryan, P.C.                        3.00 Telephone conferences re market test with
                                                     K&E team (1.3); review and revise process
                                                     letter (1.7).
06/02/20 Nancy Zambrana                         0.20 Correspond with K&E team re real estate
                                                     diligence.
06/02/20 Nancy Zambrana                         0.30 Review summary chart re real estate due
                                                     diligence documents.
06/02/20 Victoria M. Zhou                       3.00 Review and summarize REA documents
                                                     (2.5); review correspondence re same (.2);
                                                     correspond with B. Daniels re same (.3).
06/03/20 Ian Craig                              0.30 Correspond with K&E team re real estate
                                                     diligence matters.




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Date     Name                                  Hours Description
06/03/20 Justin C. Elliott                      6.40 Correspond with K&E team re real estate
                                                     diligence (.5); review and revise real estate
                                                     diligence chart (4.5); review diligence
                                                     information (1.4).
06/03/20 John Thomas Goldman                    5.50 Correspond and telephone conferences re
                                                     CBRE and HQ transaction with K&E team
                                                     (2.0); review and discuss REA diligence with
                                                     same (1.5); correspond and telephone
                                                     conference with C&W re diligence and
                                                     marketing (1.0); review and discuss form PSA
                                                     with K&E team (1.0).
06/03/20 Vanessa Gomez                          3.20 Additional review of reciprocal easement
                                                     agreement documents for Store 2990 (2.0);
                                                     review and revise REA summary chart re
                                                     updates for Store 2990 (1.2).
06/03/20 Sohil Khurana                          3.20 Review and analyze owned real property
                                                     diligence items (2.0); draft chart and
                                                     summarize key provisions (1.2).
06/03/20 Talia Krause                           5.00 Coordinate due diligence for owned
                                                     properties.
06/03/20 Mark Steven Lipschultz                 3.20 Review REAs (2.3); revise chart re same (.9).
06/03/20 Christopher Mahoney                    3.50 Review and analyze construction, operation
                                                     and reciprocal easement agreements for
                                                     assigned properties.
06/03/20 Tarah Lorraine Perkins                 4.00 Review lease agreements (1.7); revise lease
                                                     review chart (2.3).
06/03/20 Katie Roddy                            0.50 Correspond re REA summaries with K&E
                                                     team.
06/03/20 Matthew A. Schroth                     8.20 Attend telephone conference with Company
                                                     and Alix re store liquidation (.6); conduct due
                                                     diligence review (1.8); revise purchase and
                                                     sale agreement (3.0); attend telephone
                                                     conference with real estate task force (.5);
                                                     attend telephone conference with J. Goldman
                                                     re due diligence process (1.5); attend
                                                     telephone conference with T. Krause and L.
                                                     Cordova re due diligence (.8).
06/03/20 Nancy Zambrana                         0.30 Correspond with K&E team re real estate
                                                     diligence.
06/03/20 Nancy Zambrana                         2.20 Revise summary chart re real estate due
                                                     diligence documents.
06/03/20 Victoria M. Zhou                       3.50 Review and revise REA summary.



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Date     Name                                  Hours Description
06/04/20 Andres Cantero Jr.                     2.70 Review and revise REAs re store numbers
                                                     1590, 1831, 1940, 1948, 1951, 2083 and
                                                     2108.
06/04/20 Lizbeth Cordova                        4.00 Coordinate real estate due diligence (2.0);
                                                     draft de minimis asset sale motion (2.0).
06/04/20 Ian Craig                              2.40 Review and revise lease summary chart (1.9);
                                                     correspond re same with K&E team (.3);
                                                     correspond re diligence matters with same
                                                     (.2).
06/04/20 Justin C. Elliott                      3.80 Correspond with K&E team re owned
                                                     property (.5); review owned property
                                                     documents (.8); review and revise summary
                                                     chart (1.5); prepare PSA amendment re
                                                     bankruptcy (1.0).
06/04/20 Julia R. Foster                        1.30 Research precedent re APAs.
06/04/20 John Thomas Goldman                    8.00 Review and correspond with K&E team re
                                                     PSA and related issues (2.5); review and
                                                     discuss engagement amendment (1.0); prepare
                                                     for and participate in RE task force telephone
                                                     conference (1.0); correspond re expressions of
                                                     interest with K&E team (.5); correspond and
                                                     telephone conferences re RE optimization
                                                     plan with K&E team (2.0); correspond and
                                                     telephone conference with PSA counter
                                                     parties (1.0).
06/04/20 Vanessa Gomez                          2.20 Review reciprocal easement agreement
                                                     documents for Store 273 (1.5): review and
                                                     revise REA summary chart for updates to
                                                     Store 273 material issues (.7).
06/04/20 Sohil Khurana                          1.00 Review real property diligence materials.
06/04/20 Talia Krause                           3.50 Coordinate due diligence for owned
                                                     properties.
06/04/20 Mark Steven Lipschultz                 3.40 Review REAs (1.8); revise chart re same
                                                     (1.6).
06/04/20 Christopher Mahoney                    1.30 Review and analyze construction, operation
                                                     and reciprocal easement agreements for
                                                     assigned properties.
06/04/20 Tyler E. Neal                          1.00 Download and organize documents re
                                                     diligence.
06/04/20 Katie Roddy                            1.00 Revise REA summaries.
06/04/20 Jonathan A. Schechter, P.C.            1.00 Revise Process Letter (.5); revise PSA (.5).



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Date     Name                                  Hours Description
06/04/20 Matthew A. Schroth                     4.10 Revise form purchase and sale agreement
                                                     (2.0); revise amendment to real estate brokers
                                                     agreement (1.0); attend telephone conference
                                                     with real estate task force (.5); conduct due
                                                     diligence review (.6).
06/04/20 Victoria M. Zhou                       4.00 Review and revise REA summaries.
06/05/20 Andres Cantero Jr.                     1.50 Analyze Store #1674 re relevant REA
                                                     provisions.
06/05/20 Rebecca Blake Chaikin                  1.40 Correspond with JCP, Alix, B. Riley re real
                                                     estate PSAs (.2); telephone conference with
                                                     same, Lazard re asset optimization (1.0);
                                                     correspond with J. Goldman re same and real
                                                     estate workstreams (.2).
06/05/20 Lizbeth Cordova                        6.40 Coordinate real estate due diligence (2.9);
                                                     attend telephone conference with A. Dillon
                                                     and T. Krause re coordinating real estate due
                                                     diligence (1.3); draft de minimis asset sale
                                                     motion (2.2).
06/05/20 Allyson N. Dillon                      1.50 Attend telephone conference re lease review
                                                     diligence with K&E team (1.0); review owned
                                                     property documents (.5).
06/05/20 Justin C. Elliott                      0.50 Prepare PSA amendment.
06/05/20 Jake Flood                             1.20 Draft and revise lease review chart.
06/05/20 John Thomas Goldman                    7.20 Review and revise San Bruno PSA
                                                     amendment (2.0); review and revise
                                                     optimization plan (1.0); telephone conference
                                                     with 1L creditors re owned property
                                                     optimization plan (1.0); prepare for and attend
                                                     telephone conference with RE task force (.5);
                                                     review and correspond with K&E team re
                                                     PSA issues and questions (1.0); review and
                                                     discuss engagement letters (1.7).
06/05/20 Sohil Khurana                          2.00 Review and analyze owned real property
                                                     diligence materials (1.0); draft chart and
                                                     summarize key provisions re same (1.0).
06/05/20 Talia Krause                           2.10 Correspond with S. Zaretsky re term sheet
                                                     (.4); coordinate due diligence for owned
                                                     properties (1.7).
06/05/20 Christopher Mahoney                    1.50 Review and analyze construction, operation
                                                     and reciprocal easement agreements re
                                                     assigned properties.
06/05/20 Katie Roddy                            2.50 Revise REA summaries.



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Date     Name                                  Hours Description
06/05/20 Jonathan A. Schechter, P.C.             0.50 Review and revise amendment to San Bruno
                                                      PSA.
06/05/20 Nancy Zambrana                          0.20 Correspond with K&E team re real estate
                                                      diligence.
06/05/20 Victoria M. Zhou                        4.00 Review and revise REA summaries.
06/06/20 Andres Cantero Jr.                     10.20 Analyze Store #1674 for relevant REA
                                                      provisions (.5); analyze Store #1704 for
                                                      relevant REA provisions (2.1); analyze Store
                                                      #1794 for relevant REA provisions (2.3);
                                                      analyze Store #1823 for relevant REA
                                                      provisions (1.8); analyze Store #1869 for
                                                      relevant REA provisions (2.2); analyze Store
                                                      #1899 for relevant REA provisions (1.3).
06/06/20 Lizbeth Cordova                         7.10 Review and analyze REA summaries (3.5);
                                                      compile chart re same (3.6).
06/06/20 Talia Krause                            0.60 Coordinate due diligence for owned
                                                      properties.
06/06/20 Aisha P. Lavinier                       1.10 Correspondence re real estate optimization
                                                      plan.
06/06/20 Christopher Mahoney                     4.50 Review and analyze construction, operation
                                                      and reciprocal easement agreements for
                                                      assigned properties.
06/06/20 Callie Jones Poorman                    3.50 Review and revise diligence chart.
06/06/20 Nancy Zambrana                          0.20 Correspond with K&E team re real estate
                                                      diligence.
06/06/20 Victoria M. Zhou                        2.50 Review and revise REA summaries.
06/07/20 Andres Cantero Jr.                     10.50 Analyze Store #1899 for relevant REA
                                                      provisions (1.0); analyze Store #1956 for
                                                      relevant REA provisions (3.2); analyze Store
                                                      #1958 for relevant REA provisions (2.3);
                                                      analyze Store #1959 for relevant REA
                                                      provisions (3.1); analyze Store #1960 for
                                                      relevant REA provisions (.9).
06/07/20 Lizbeth Cordova                        11.00 Review and analyze REA summaries (5.5);
                                                      compile chart re same (5.5).
06/07/20 Ian Craig                               0.60 Review REA summaries (.5); correspond with
                                                      K&E team re same (.1).
06/07/20 Allyson N. Dillon                       1.00 Review owned property documents (.5); draft
                                                      chart re same (.5).
06/07/20 Sohil Khurana                           2.50 Review and analyze real property diligence
                                                      materials (1.5); draft chart and summarize
                                                      relevant provisions re same (1.0).


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J.C. Penney Company, Inc.                                      Matter Number:             47223-6
Owned Property Sales and Dispositions

Date     Name                                  Hours Description
06/07/20 Talia Krause                           7.20 Coordinate due diligence for owned
                                                     properties.
06/07/20 Christopher Mahoney                    2.30 Review and analyze construction, operation
                                                     and reciprocal easement agreements for
                                                     assigned properties.
06/07/20 Lauren E. Roman                        1.00 Review and summarize real estate diligence
                                                     materials.
06/07/20 Matthew A. Schroth                     4.50 Conduct due diligence review.
06/08/20 Scott A. Berger, P.C.                  0.50 Correspond with K&E team re real estate
                                                     matters.
06/08/20 Andres Cantero Jr.                     2.50 Analyze Store #1960 for relevant REA
                                                     provisions.
06/08/20 Chris Ceresa                           1.30 Research and analyze re legal issue re 363
                                                     sales free and clear (1.1); correspond with
                                                     K&E team re same (.2).
06/08/20 Rebecca Blake Chaikin                  1.80 Telephone conference with K&E team re
                                                     coordinating real estate transactions
                                                     workstreams (.7); revise action plan re same
                                                     (.2); daily telephone conference with
                                                     Company, K&E team, Alix, advisors re real
                                                     estate issues coordination (.9).
06/08/20 Lizbeth Cordova                        9.00 Review and analyze REA summaries (4.5);
                                                     draft chart re same (4.5).
06/08/20 Justin C. Elliott                      5.60 Correspond with K&E team re diligenge
                                                     items (.5); review diligence documents (2.5);
                                                     revise diligence chart re same (1.5); review
                                                     and revise PSA amendment re stalking horse
                                                     bidder (1.1).
06/08/20 John Thomas Goldman                    6.00 Review and correspond with K&E team re
                                                     asset sale motion/logistics (1.0); review and
                                                     correspond with same re workstream status
                                                     and tracker (1.0); prepare for and attend
                                                     telephone conference with RE task force
                                                     (1.0); review and revise REA diligence and
                                                     summary (3.0).
06/08/20 Vanessa Gomez                          3.00 Review reciprocal easement agreement
                                                     documents re Store 1983 (1.0); draft summary
                                                     of material terms of the reciprocal easement
                                                     agreement documents re same (.5); review
                                                     reciprocal easement agreement documents re
                                                     Store 1989 (1.0); draft summary of material
                                                     terms of the reciprocal easement agreement
                                                     documents re same (.5).


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Owned Property Sales and Dispositions

Date     Name                                  Hours Description
06/08/20 Talia Krause                            2.30 Coordinate due diligence for owned
                                                      properties.
06/08/20 Will Lawley                             3.00 Review and analyze third party lease
                                                      diligence.
06/08/20 Mark Steven Lipschultz                  4.50 Revise REA entry (3.2); review
                                                      correspondence re same (.4); review
                                                      comments re same (.9).
06/08/20 Katie Roddy                             6.30 Review and analyze REAs and related
                                                      documents for owned real property (3.3);
                                                      prepare REA summary chart (3.0).
06/08/20 Victoria M. Zhou                        0.50 Revise REA summary.
06/09/20 Scott A. Berger, P.C.                   1.10 Correspond with K&E team re real estate
                                                      status (.6); prepare for and attend telephone
                                                      conferences with K&E team re business plan
                                                      on owned assets (.5).
06/09/20 Lizbeth Cordova                        10.50 Compile REA analysis chart (.5); prepare for
                                                      and attend K&E team meeting regarding real
                                                      estate due diligence (1.0); organize real estate
                                                      due diligence review (3.0); review and revise
                                                      procedure sale motions (3.0); review and
                                                      revise de minimis sale motion (3.0).
06/09/20 Ian Craig                               1.30 Correspond with K&E team re real estate
                                                      diligence matters (.3); review changes to lease
                                                      summary chart (.8); correspond with K&E
                                                      team re credit agreement matters (.2).
06/09/20 Justin C. Elliott                       8.20 Correspond with K&E team re diligence
                                                      items (.6); review diligence documents (2.4);
                                                      draft diligence chart re same (3.5); review,
                                                      and revise same (1.7).
06/09/20 John Thomas Goldman                     4.00 Coordinate title searches and third party
                                                      reports (1.0); prepare for and participate in
                                                      telephone conference with UCC (1.0);
                                                      correspond with K&E team re diligence (2.0).
06/09/20 Vanessa Gomez                           3.30 Review reciprocal easement agreements for
                                                      Store 2055 (1.2); draft summary of material
                                                      terms re same (.6); review reciprocal
                                                      easement agreements for Store 2096 (1.0);
                                                      draft summary of material terms re same (.5).
06/09/20 Sohil Khurana                           1.50 Review and analyze real property diligence
                                                      materials (.7); draft chart and summarize
                                                      relevant provisions re same (.8).
06/09/20 Talia Krause                            1.90 Coordinate and assign due diligence for
                                                      owned properties.

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Date     Name                                  Hours Description
06/09/20 Will Lawley                            2.70 Review responses to Katten diligence requests
                                                     (1.3); correspond with K&E team re same
                                                     (.9); review diligence trackers (.3); review
                                                     Quinn diligence request list (.2).
06/09/20 Andrew R. Van Noord, P.C.              0.50 Review real estate diligence items.
06/09/20 Victoria M. Zhou                       2.50 Review title index re REAs (1.0); review
                                                     REAs (1.5).
06/10/20 Lizbeth Cordova                        7.80 Organize real estate due diligence (5.3);
                                                     attend K&E team telephone conference re real
                                                     estate due diligence (2.5).
06/10/20 Ian Craig                              0.50 Correspond with K&E team re diligence
                                                     matters.
06/10/20 Justin C. Elliott                      4.10 Correspond with K&E team diligence list (.7);
                                                     review and revise diligence chart (2.5);
                                                     review underlying documents re same (.9).
06/10/20 Vanessa Gomez                          3.80 Review reciprocal easement agreement
                                                     documents for Store 2006 (1.5); draft
                                                     summary of material terms re same (.7);
                                                     review reciprocal easement agreements for
                                                     Store 2011 (1.0); draft summary of material
                                                     terms re same (.6).
06/10/20 Talia Krause                           2.10 Coordinate and assign due diligence for
                                                     owned properties.
06/10/20 Will Lawley                            1.10 Correspond with Katten re diligence request
                                                     responses (.2); review and revise diligence
                                                     tracker re Quinn diligence requests (.9).
06/10/20 Puja Narain                            4.10 Review and analyze documents re store
                                                     #2048 (3.5); draft summary for template (.6).
06/10/20 Puja Narain                            0.60 Review and analyze instructions and
                                                     memorandum from RE team.
06/10/20 Andrew R. Van Noord, P.C.              1.50 Participate in telephone conference with J.
                                                     Goldman re real estate diligence (1.0); review
                                                     real estate diligence items (.5).
06/10/20 Victoria M. Zhou                       2.50 Review documents re title index (1.2);
                                                     compile documents re data room (.5); review
                                                     REA related documents (.8).
06/11/20 Scott A. Berger, P.C.                  1.00 Participate in telephone conference with K&E
                                                     team re status (.5); correspond with same re
                                                     same (.5).
06/11/20 Andres Cantero Jr.                     4.20 Analyze Store #2258 for relevant REA
                                                     provisions (1.8); analyze Store #2284 for
                                                     relevant REA provisions (2.2); analyze Store
                                                     # 2290 for relevant REA provisions (.2).

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Owned Property Sales and Dispositions

Date     Name                                  Hours Description
06/11/20 Lizbeth Cordova                        7.50 Compile documents re real estate due
                                                     diligence (3.2); attend K&E team telephone
                                                     conference re real estate due diligence (2.3);
                                                     review and analyze lease agreements (2.0).
06/11/20 Allyson N. Dillon                      1.00 Attend telephone conference with K&E team
                                                     re diligence updates.
06/11/20 Justin C. Elliott                      8.80 Correspond with K&E team re real estate
                                                     matters (.6); review and revise diligence chart
                                                     (6.5); review underlying documents re same
                                                     (1.7).
06/11/20 John Thomas Goldman                    3.50 Correspond and coordinate diligence process
                                                     and status with K&E team (1.0); correspond
                                                     and attend telephone conferences with K&E
                                                     team re appraisal process and engagement
                                                     (2.5).
06/11/20 Vanessa Gomez                          4.80 Review reciprocal easement agreement
                                                     documents for Store 2024 (1.0); draft
                                                     summary of material terms re same (.5);
                                                     review reciprocal easement agreements for
                                                     Store 2036 (1.0); draft summary of material
                                                     terms re same (.5); review reciprocal
                                                     easement agreements for Store 2040 (1.3);
                                                     draft summary of material terms re same (.5).
06/11/20 Talia Krause                           3.90 Coordinate and assign due diligence for
                                                     owned properties.
06/11/20 Will Lawley                            4.50 Revise and review third party lease diligence
                                                     materials (3.9); attend telephone conference
                                                     with K&E, ALix, and Lazard teams re
                                                     permissions and data room contents (.6).
06/11/20 Christopher Mahoney                    1.30 Review and analyze construction, operation
                                                     and reciprocal easement agreements for
                                                     assigned properties.
06/11/20 Katie Roddy                            2.50 Review and analyze REAs and related
                                                     documents re owned real property (1.5); draft
                                                     REA summary chart (1.0).
06/11/20 Tana Ryan, P.C.                        0.50 Attend telephone conference with Milbank
                                                     corporate team (.4); correspond with K&E
                                                     team re same (.1).
06/11/20 Jonathan A. Schechter, P.C.            1.50 Attend telephone conference with K&E team
                                                     re due diligence.




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Owned Property Sales and Dispositions

Date     Name                                  Hours Description
06/11/20 Matthew A. Schroth                     2.00 Attend telephone conference with K&E team
                                                     re due diligence process (1.0); attend
                                                     telephone conference with real estate task
                                                     force (1.0).
06/11/20 Andrew R. Van Noord, P.C.              2.70 Attend telephone conference with J. Goldman
                                                     rereal estate diligence process (1.0); review
                                                     and analyze real estate diligence tracker (1.7).
06/11/20 Nancy Zambrana                         0.10 Correspond with K&E team re real estate due
                                                     diligence review.
06/12/20 Andres Cantero Jr.                     7.80 Analyze Store #2258 for relevant REA
                                                     provisions (1.5); analyze Store #2303 for
                                                     relevant REA provisions (1.9); analyze Store
                                                     #2304 for relevant REA provisions (2.0);
                                                     analyze Store #2312 for relevant REA
                                                     provisions (2.4).
06/12/20 Lizbeth Cordova                        2.30 Organize real estate due diligence.
06/12/20 Justin C. Elliott                      6.60 Correspond with K&E team re diligence list
                                                     (.8); review and revise diligence chart (4.2);
                                                     review underlying documents re same (1.6).
06/12/20 John Thomas Goldman                    1.00 Attend telephone conferences with PSA
                                                     counterparties re impact of bankruptcy.
06/12/20 Talia Krause                           0.90 Coordinate and assign due diligence for
                                                     owned properties.
06/12/20 Will Lawley                            1.80 Review and correspond with Alix and K&E
                                                     teams re diligence questions (.4); review third
                                                     party lease diligence (1.4).
06/12/20 Christopher Mahoney                    2.80 Review and analyze construction, operation
                                                     and reciprocal easement agreements for
                                                     assigned properties.
06/12/20 Tarah Lorraine Perkins                 2.00 Review and analyze various lease agreements
                                                     (1.2); revise lease review chart (.8).
06/12/20 Lauren E. Roman                        0.30 Review and summarize real estate diligence
                                                     materials.
06/12/20 Sam Steinman                           2.50 Review, analyze, and revise diligence and
                                                     documentation re proposed transaction (1.6);
                                                     draft chart re diligence (.9).
06/12/20 Andrew R. Van Noord, P.C.              1.70 Correspond with K&E team re real estate
                                                     diligence reviews and updated reviews (.5);
                                                     review real estate diligence materials and
                                                     processes (1.2).
06/12/20 Victoria M. Zhou                       3.50 Revise REA summary chart.



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Date     Name                                  Hours Description
06/13/20 Talia Krause                           0.10 Coordinate and assign due diligence for
                                                     owned properties.
06/13/20 Will Lawley                            1.90 Review third party lease diligence re real
                                                     estate.
06/13/20 Christopher Mahoney                    3.30 Review and analyze construction, operation
                                                     and reciprocal easement agreements for
                                                     assigned properties (1.0); revise construction,
                                                     operation and reciprocal easement agreement
                                                     review chart (2.3).
06/13/20 Katie Roddy                            4.50 Review and analyze REAs and related
                                                     documents for owned real property (2.5);
                                                     draft REA summary chart (2.0).
06/14/20 Talia Krause                           0.80 Coordinate and assign due diligence for
                                                     owned properties.
06/14/20 Will Lawley                            0.50 Review and revise materials re Katten and
                                                     Quinn diligence distributions.
06/14/20 Katie Roddy                            3.50 Review and analyze REAs and related
                                                     documents for owned real property (2.5);
                                                     draft REA summary chart (1.0).
06/14/20 Nancy Zambrana                         0.10 Correspond with K&E team re real estate due
                                                     diligence review.
06/15/20 Scott A. Berger, P.C.                  1.20 Participate in telephone conference re
                                                     diligence with K&E team (.8); correspond
                                                     with K&E team re same (.4).
06/15/20 Andres Cantero Jr.                     2.20 Analyze REA review (.5); revise analysis for
                                                     Store # 241 re development restrictions and
                                                     financing protections (.6); revise analysis for
                                                     Store # 246 re same (.5); revise analysis for
                                                     Store # 251 re same (.6).
06/15/20 Lizbeth Cordova                        3.00 Organize real estate due diligence.
06/15/20 Allyson N. Dillon                      0.50 Attend telephone conference to discuss
                                                     updates to Company diligence with A. Van
                                                     Noord.
06/15/20 Justin C. Elliott                      8.90 Correspond with K&E team re real estate
                                                     diligence (.9); review and revise diligence
                                                     chart (4.3); review underlying documents re
                                                     same (2.7); review San Bruno PSA
                                                     amendment (1.0).




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Date     Name                                  Hours Description
06/15/20 John Thomas Goldman                    4.50 Correspond and attend telephone conferences
                                                     with K&E team re C&W appraisal properties
                                                     (1.0); finalize engagement for appraisals
                                                     (1.0); review and discuss San Bruno PSA and
                                                     process issues (1.5); review and discuss Glen
                                                     Allen notice letter and sale issues (1.0).
06/15/20 Talia Krause                           2.00 Coordinate and assign due diligence for
                                                     owned properties.
06/15/20 Will Lawley                            6.00 Review diligence requests from Quinn and
                                                     Katten legal teams (.5); review third party
                                                     lease diligence (5.5).
06/15/20 Jonathan A. Schechter, P.C.            0.80 Review sales items and related
                                                     correspondence.
06/15/20 Matthew A. Schroth                     3.20 Attend telephone conference re store
                                                     liquidation with Company and Alix (.6);
                                                     attend telephone conference with A. Van
                                                     Noord re due diligence process (.6); analyze
                                                     asset optimization deck (.5); attend telephone
                                                     conference with R. Chaikin re real estate
                                                     work streams (1.0); attend telephone
                                                     conference with real estate task force (.5).
06/15/20 Sam Steinman                           6.30 Review, analyze, and revise diligence and
                                                     documentation re proposed transaction (3.9);
                                                     draft chart re diligence (2.4).
06/15/20 Andrew R. Van Noord, P.C.              2.00 Review and analyze owned properties reviews
                                                     and processes.
06/15/20 Nancy Zambrana                         0.10 Correspond with K&E team re real estate due
                                                     diligence review.
06/15/20 Nancy Zambrana                         1.20 Review real estate due diligence documents
                                                     (1.0); draft summary chart re same (.2).
06/15/20 Victoria M. Zhou                       6.00 Review REA documents (2.5); draft
                                                     summaries re same (3.5).
06/16/20 Andres Cantero Jr.                     2.10 Revise analysis for Store # 304 re
                                                     development restrictions and financing
                                                     protections (.6); revise analysis for Store #
                                                     334 re same (.4); revise analysis for Store #
                                                     355 re same (.5); revise analysis for Store #
                                                     439 tre same (.6).
06/16/20 Rebecca Blake Chaikin                  0.60 Review PSA amendment.
06/16/20 Lizbeth Cordova                        3.90 Organize real estate due diligence.
06/16/20 Ian Craig                              1.10 Correspond re real estate diligence matters
                                                     with K&E team.


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Owned Property Sales and Dispositions

Date     Name                                  Hours Description
06/16/20 Allyson N. Dillon                      2.00 Correspond with title Company re existing
                                                     title documents and property addresses (.5);
                                                     review list of owned stores (.5); prepare list of
                                                     owned stores and addresses for title Company
                                                     (.5); correspond with M. Schroth and J.
                                                     Goldman re title diligence (.5).
06/16/20 Justin C. Elliott                      7.80 Correspond with K&E team re diligence lists
                                                     (.8); review and revise diligence charts (3.5);
                                                     review underlying documents re same (2.3);
                                                     review San Bruno PSA amendment (1.2).
06/16/20 John Thomas Goldman                    4.50 Correspond and attend telephone conference
                                                     with K&E team re property sale
                                                     timing/status/process (1.0); correspond and
                                                     attend telephone conferences with K&E team
                                                     re third party diligence coordination and
                                                     approvals (1.5); correspond and attend
                                                     telephone conference with K&E team re HQ
                                                     note and foreclosure (1.0); correspond and
                                                     attend telephone conferences with K&E team
                                                     re leases (1.0).
06/16/20 Talia Krause                           2.40 Coordinate and assign due diligence for
                                                     owned properties.
06/16/20 Will Lawley                            0.30 Review correspondence with Quinn and
                                                     Katten teams re distributions (.2); review
                                                     correspondence with K&E team re attorney
                                                     Company privilege (.1).
06/16/20 Mark Steven Lipschultz                 0.70 Revise REAs (.4); correspond with J. Elliot re
                                                     same (.3).
06/16/20 Christopher Mahoney                    5.50 Review and analyze construction, operation
                                                     and reciprocal easement agreements for
                                                     assigned properties (3.9); revise review chart
                                                     re same (1.6).
06/16/20 Jonathan A. Schechter, P.C.            1.00 Review San Bruno items and related
                                                     correspondence (.5); review store closing
                                                     items (.5).
06/16/20 Matthew A. Schroth                     2.30 Correspond with Company advisors re
                                                     bidding procedures (.5); correspond with
                                                     Company re San Bruno sale (.5); conduct due
                                                     diligence review (1.3).
06/16/20 Sam Steinman                           5.00 Review analyze, and revise diligence and
                                                     documentation re proposed transaction (3.9);
                                                     draft chart re diligence (1.1).
06/16/20 Andrew R. Van Noord, P.C.              0.80 Review and analyze owned properties reviews
                                                     and processes.

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Date       Name                                Hours    Description
06/16/20   Eric Zhi                             3.90    Review and revise REA abstracts.
06/16/20   Victoria M. Zhou                     3.00    Review and summarize REA documents.
06/17/20   Rebecca Blake Chaikin                0.90    Telephone conference with J. Goldman re
                                                        property sale process motions (.6); correspond
                                                        with K&E team re same (.3).
06/17/20 Lizbeth Cordova                         3.90   Organize real estate due diligence.
06/17/20 Ian Craig                               1.10   Attend telephone conference and correspond
                                                        with K&E team re diligence matters.
06/17/20 Justin C. Elliott                       7.10   Correspond with K&E team re diligence lists
                                                        (.6); review, update, and revise diligence
                                                        charts (4.2); review underlying documents re
                                                        same (1.1); review San Bruno PSA
                                                        amendment (.4); review and revise San Bruno
                                                        lease (.4); draft issues re same (.4).
06/17/20 John Thomas Goldman                     5.50   Draft, revise and correspond with K&E team
                                                        re summary of anticipated transactions,
                                                        timing and status (3.0); correspond and attend
                                                        telephone conferences with K&E team re San
                                                        Bruno leaseback (1.0); coordinate Alaska
                                                        local counsel engagement (.5); review San
                                                        Bruno lease (1.0).
06/17/20 Sohil Khurana                           3.50   Review and analyze diligence materials re
                                                        two owned properties (2.5); draft chart and
                                                        summaries re relevant provisions (1.0).
06/17/20 Talia Krause                            3.50   Coordinate and assign due diligence for
                                                        owned properties.
06/17/20 Will Lawley                             0.30   Review draft diligence productions re Katten
                                                        and Quinn requests.
06/17/20 Christopher Mahoney                     7.50   Review and analyze construction, operation
                                                        and reciprocal easement agreements for
                                                        assigned properties (6.0); revise construction,
                                                        operation and reciprocal easement agreement
                                                        review chart (1.5).
06/17/20 Jonathan A. Schechter, P.C.             0.50   Review and analyze San Bruno and other
                                                        asset items.
06/17/20 Matthew A. Schroth                      2.50   Attend telephone conference with real estate
                                                        task force (1.5); correspond with K&E team
                                                        re modeling (.5); correspond with K&E team
                                                        re San Bruno purchase and sale agreement
                                                        amendment (.5).
06/17/20 Sam Steinman                           10.00   Review, analyze, and revise diligence and
                                                        documentation re proposed transaction (7.5);
                                                        draft chart re diligence (2.5).

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Date     Name                                  Hours Description
06/17/20 Andrew R. Van Noord, P.C.              1.00 Review and analyze owned properties reviews
                                                     and processes.
06/17/20 Victoria M. Zhou                       6.00 Review and revise REA summary.
06/18/20 Scott A. Berger, P.C.                  0.50 Participate in telephone conference with K&E
                                                     team re real estate mattters (.3); correspond
                                                     with K&E team re same (.2).
06/18/20 Andres Cantero Jr.                     5.00 Revise analysis for Store # 478 to incorporate
                                                     additional provisions (.4); revise analysis for
                                                     Store # 466 to incorporate additional
                                                     provisions (.4); revise analysis for Store # 424
                                                     to incorporate additional provisions (.6);
                                                     revise analysis for Store # 1674 to incorporate
                                                     additional provisions (.5); revise analysis for
                                                     Store # 1704 to incorporate additional
                                                     provisions (.6); revise analysis for Store #
                                                     1794 to incorporate additional provisions (.6);
                                                     revise analysis for Store # 1823 to incorporate
                                                     additional provisions (.5); revise analysis for
                                                     Store # 1869 to incorporate additional
                                                     provisions (.4); revise analysis for Store #
                                                     1899 to incorporate additional provisions (.6);
                                                     revise analysis for Store # 1956 to incorporate
                                                     additional provisions (.4).
06/18/20 Lizbeth Cordova                        4.50 Organize real estate due diligence.
06/18/20 Justin C. Elliott                      2.40 Correspond with K&E team re diligence lists
                                                     (.5); review, update, and revise diligence
                                                     charts (.5); review underlying documents re
                                                     same (.4); review and analyze PSA
                                                     amendment (.4); review and revise lease (.4);
                                                     draft issues list re same (.2).
06/18/20 John Thomas Goldman                    4.50 Review, discuss and revise San Bruno
                                                     documents (2.0); correspond with K&E team
                                                     and review re marketing timeline and process
                                                     (1.5); correspond and attend telephone
                                                     conferences with K&E team re PSA and
                                                     bankruptcy process (1.0).
06/18/20 Sohil Khurana                          1.20 Review and analyze owned real property
                                                     diligence materials.
06/18/20 Talia Krause                           4.30 Coordinate and assign due diligence for
                                                     owned properties.
06/18/20 Will Lawley                            1.00 Attend telephone conference with K&E team
                                                     re diligence requests.




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J.C. Penney Company, Inc.                                        Matter Number:               47223-6
Owned Property Sales and Dispositions

Date     Name                                  Hours Description
06/18/20 Christopher Mahoney                    2.80 Review and analyze construction, operation
                                                     and reciprocal easement agreements for
                                                     assigned properties (.8); revise construction,
                                                     operation and reciprocal easement agreement
                                                     review chart (2.0).
06/18/20 Katie Roddy                            2.70 Review and analyze REAs and related
                                                     documents for owned real property (1.2);
                                                     prepare REA summary chart (1.5).
06/18/20 Jonathan A. Schechter, P.C.            1.50 Review various sales items and related
                                                     correspondence (1.0); review San Bruno
                                                     items and related correspondence (.5).
06/18/20 Matthew A. Schroth                     3.00 Attend telephone conference with real estate
                                                     task force (1.0); revise work stream organizer
                                                     (1.0); correspond with Company re San Bruno
                                                     leaseback (.5); correspond with opposing
                                                     counsel re San Bruno purchase and sale
                                                     agreement (.5).
06/18/20 Andrew R. Van Noord, P.C.              0.90 Review and analyze owned property real
                                                     estate diligence (.4); correspond with K&E
                                                     team re same (.5).
06/18/20 Victoria M. Zhou                       3.00 Review and summarize REA documents.
06/19/20 Andres Cantero Jr.                     1.70 Revise analysis for Store # 1958 to
                                                     incorporate additional provisions (.6); revise
                                                     analysis for Store # 1959 to incorporate
                                                     additional provisions (.5); revise analysis for
                                                     Store # 1960 to incorporate additional
                                                     provisions (.6).
06/19/20 Ian Craig                              0.50 Correspond with K&E team re real estate
                                                     diligence matters.
06/19/20 Allyson N. Dillon                      1.30 Review purchase and sale agreement of Glen
                                                     Allen, Virginia property (1.0); review
                                                     correspondence re confidentiality provision in
                                                     purchase and sale agreement (.3).
06/19/20 Justin C. Elliott                      4.20 Correspond with K&E team re real estate
                                                     diligence (.7); review and analyze San Bruno
                                                     issues list re lease (1.1); review diligence (.9);
                                                     review and revise summary charts (1.5).
06/19/20 John Thomas Goldman                    2.50 Attend telephone conference with RE Task
                                                     force (1.0); review and revise status tracker
                                                     (.5); correspond and attend telephone
                                                     conferences with K&E team re San Bruno
                                                     (1.0).
06/19/20 Jake William Gordon                    1.40 Review asset sale procedures.


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Owned Property Sales and Dispositions

Date     Name                                  Hours Description
06/19/20 Will Lawley                            0.20 Review correspondence re diligence
                                                     productions for independent directors.
06/19/20 Matthew A. Schroth                     3.30 Attend telephone conference with real estate
                                                     task force (1.0); analyze Glen Allen purchase
                                                     and sale agreement (.5); revise work stream
                                                     organizer (1.0); correspond with Company re
                                                     San Bruno transaction (.8).
06/19/20 Sam Steinman                           0.50 Review diligence re real estate.
06/19/20 Steve Toth                             0.40 Participate in weekly update telephone
                                                     conference with K&E team.
06/19/20 Nancy Zambrana                         1.00 Review real estate due diligence documents
                                                     (.8); prepare summary chart re same (.2).
06/19/20 Victoria M. Zhou                       1.00 Attend telephone conference with J. Elliott
                                                     (.4); review PSA and amendment (.6).
06/20/20 Ian Craig                              1.10 Correspond with K&E team re real estate
                                                     diligence matters (.7); draft correspondence re
                                                     diligence summary (.4).
06/20/20 Justin C. Elliott                      0.60 Correspond with K&E team re diligence
                                                     requests (.3); review diligence (.3).
06/20/20 Melissa D. Kalka                       0.70 Correspond with potential bidders and Lazard
                                                     re diligence requests.
06/20/20 Sohil Khurana                          2.50 Review and analyze real property diligence
                                                     materials (1.5); draft chart and summaries of
                                                     relevant provisions re same (1.0).
06/20/20 Joshua Merrill                         0.30 Correspondence re data room and information
                                                     requests from marketing process
                                                     counterparties.
06/20/20 Nancy Zambrana                         2.00 Review real estate due diligence documents
                                                     (1.5); draft summary chart re same (.5).
06/21/20 John Thomas Goldman                    1.00 Correspond and attend telephone conferences
                                                     with K&E team re third party diligence
                                                     requests.
06/21/20 Melissa D. Kalka                       0.50 Correspond with Company and Alix re
                                                     diligence requests from potential bidder.
06/21/20 Sohil Khurana                          1.20 Review and revise owned properties review
                                                     chart.
06/21/20 Talia Krause                           2.30 Revise term sheet.
06/21/20 Tarah Lorraine Perkins                 1.00 Review lease agreements (.6); revise lease
                                                     review chart (.4).
06/21/20 Katie Roddy                            1.00 Review and analyze REAs and related
                                                     documents for owned real property (.5); draft
                                                     REA summary chart (.5).

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Date     Name                                  Hours Description
06/21/20 Andrew R. Van Noord, P.C.              0.30 Correspond with K&E diligence reviewers re
                                                     owned real property.
06/21/20 Nancy Zambrana                         0.10 Correspond with K&E team re real estate due
                                                     diligence review.
06/21/20 Victoria M. Zhou                       2.50 Review and analyze leases, REAs, and
                                                     underlying title documents.
06/22/20 April B. Abrams                        1.50 Compile leases and REA documents (1.2);
                                                     correspond with K&E team re data files (.3).
06/22/20 Scott A. Berger, P.C.                  1.00 Attend telephone conferences and correspond
                                                     with K&E team re real estate matters (.5);
                                                     review matter status (.5).
06/22/20 Andres Cantero Jr.                     3.00 Revise REA chart re additional development
                                                     restrictions and lender protections for Store
                                                     #'s 241, 246, 251, 1794, 304, 334, 355, 1823,
                                                     424, 439, 466, 1869, 1899, 1674, 1956, 1704,
                                                     1958, 1959 and 1960.
06/22/20 Lizbeth Cordova                        6.00 Organize real estate due diligence (5.0);
                                                     review amendment term sheets (1.0).
06/22/20 Ian Craig                              0.90 Correspond with K&E team re real estate
                                                     diligence matters.
06/22/20 Allyson N. Dillon                      4.00 Attend telephone conference with K&E team
                                                     re diligence updates (.5); review property
                                                     diligence documents (3.5).
06/22/20 Justin C. Elliott                      8.30 Correspond with K&E team re diligence lists
                                                     (.5); draft real estate diligence charts (4.3);
                                                     review underlying real property documents re
                                                     same (3.5).
06/22/20 John Thomas Goldman                    5.00 Review and coordinate diligence work
                                                     streams (2.0); review and correspond with
                                                     K&E team re tax concerns (1.0); correspond
                                                     and telephone conferences with K&E team re
                                                     San Bruno (1.0); coordinate expressions of
                                                     interest (.5); correspond with K&E team re
                                                     Jersey City consent issues (.5).
06/22/20 Jake William Gordon                    0.50 Review, revise pleadings re sale of assets.
06/22/20 Sohil Khurana                          0.30 Review and analyze real property related
                                                     documentation.
06/22/20 Talia Krause                           3.50 Coordinate and assign due diligence for
                                                     owned properties.
06/22/20 Will Lawley                            0.20 Correspond with K&E team re third party
                                                     lease re-review.



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Date     Name                                  Hours Description
06/22/20 David P. Liebowitz                     0.50 Correspond with K&E team re Project
                                                     diligence (.2); review datasite (.3).
06/22/20 Christopher Mahoney                    4.30 Review and analyze construction, operation
                                                     and reciprocal easement agreements for
                                                     assigned properties (3.0); revise construction,
                                                     operation and reciprocal easement agreement
                                                     review chart (1.3).
06/22/20 Lauren E. Roman                        0.50 Review and revise real estate diligence
                                                     summaries.
06/22/20 Laurie Ruxton                          1.00 Correspond with T. Krause re procedures for
                                                     diligence project (.2); analyze and review
                                                     diligence documents (.4); compile and
                                                     organize same (.4).
06/22/20 Jonathan A. Schechter, P.C.            1.00 Telephone conference with K&E team re due
                                                     diligence (.5); review same (.5).
06/22/20 Matthew A. Schroth                     3.70 Attend telephone conference with real estate
                                                     task force (1.0); correspond with K&E team
                                                     re approval of engagement letter (.5); revise
                                                     work stream organizer (.7); review and
                                                     analyze request for production re documents
                                                     evidencing liens on real property (1.0); attend
                                                     telephone conference with Company re
                                                     requested mortgage release (.5).
06/22/20 Jennifer Sheehan                       0.60 Correspond with K&E team re diligence (.2);
                                                     attend telephone conference with I. Craig re
                                                     same (.2); attend telephone conference with J.
                                                     Elliott re same (.2).
06/22/20 Christina Soriano                      3.00 Review correspondence re REA documents
                                                     (.5); compile and organize documents re same
                                                     (2.5).
06/22/20 Nancy Zambrana                         1.60 Review real estate due diligence documents
                                                     (1.0); draft summary chart re same (.6).
06/22/20 Eric Zhi                               2.00 Review REAs.
06/23/20 April B. Abrams                        9.80 Organize and compile documents reREAs and
                                                     Deeds.
06/23/20 Curt E. Bersche                        2.80 Organize and compile Reciprocal Easement
                                                     Agreements.
06/23/20 Lizbeth Cordova                        6.00 Organize real estate due diligence (5.0);
                                                     review term sheets (1.0).
06/23/20 Ian Craig                              1.60 Correspond with K&E team rereal estate
                                                     diligence matters (1.1); attend telephone
                                                     conference with K&E team re diligence
                                                     matters (.5).

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Date     Name                                  Hours Description
06/23/20 Justin C. Elliott                      9.80 Review K&E team correspondence (.2);
                                                     correspond with K&E team diligence matters
                                                     (.5); review and revise underlying real
                                                     property documents and related diligence
                                                     (9.1).
06/23/20 John Thomas Goldman                    5.50 Correspond with K&E team and coordinate
                                                     diligence process and review (2.0); review
                                                     appraisal engagement and related issues (1.0);
                                                     correspond with K&E team re AK quiet title
                                                     action (.5); review and coordinate next steps
                                                     on optimization plans (2.0).
06/23/20 Jake William Gordon                    2.20 Revise de minimis asset sale procedures.
06/23/20 Jason Niels Grover                     1.80 Review diligence re store lease documents
                                                     (.7); revise lease review chart re same (1.1).
06/23/20 Sara Handibode                         1.50 Review diligence materials (.5); organize and
                                                     compile same (1.0).
06/23/20 Sohil Khurana                          1.50 Review and analyze owned property diligence
                                                     materials (1.3); attend telephone conference
                                                     with L. Cordova re purchase options (.2).
06/23/20 Talia Krause                           4.50 Coordinate and assign due diligence for
                                                     owned properties.
06/23/20 David P. Liebowitz                     8.80 Attend telephone conferences and correspond
                                                     with K&E team re diligence (.2); revise
                                                     spreadsheet re diligence (.4); review indexes
                                                     (.8); organize and review diligence documents
                                                     (7.4).
06/23/20 Christopher Mahoney                    2.80 Review and analyze construction, operation
                                                     and reciprocal easement agreements for
                                                     assigned properties (2.0); revise construction,
                                                     operation and reciprocal easement agreement
                                                     review chart (.8).
06/23/20 Puja Narain                            0.60 Review and analyze assigned real estate
                                                     summaries.
06/23/20 Laurie Ruxton                          3.50 Organize and review diligence documents.
06/23/20 Jonathan A. Schechter, P.C.            0.50 Review San Bruno materials and related
                                                     correspondence.
06/23/20 Matthew A. Schroth                     2.30 Attend telephone conference with real estate
                                                     task force (1.0); revise work stream organizer
                                                     (1.3).
06/23/20 Jennifer Sheehan                       1.00 Correspond with K&E team re diligence (.2);
                                                     attend telephone conference with A. Van
                                                     Noord re same (.3); attend telephone
                                                     conference with K&E team (.5).

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Owned Property Sales and Dispositions

Date     Name                                  Hours Description
06/23/20 Christina Soriano                      6.50 Organize and compile REA documents.
06/23/20 Conrad Steele                          2.70 Revise real estate diligence chart for stores
                                                     220, 171, 161, 157 and 130.
06/23/20 Andrew R. Van Noord, P.C.              5.40 Attend telephone conference with K&E team
                                                     re status of lease reviews (.7); review
                                                     correspondence with K&E lease reviewers re
                                                     lease issues (2.6); review document
                                                     production (1.5); coordination of owned
                                                     property reviews (.6).
06/23/20 Nancy Zambrana                         1.00 Review real estate due diligence documents
                                                     (.8); draft summary chart re same (.2).
06/23/20 Eric Zhi                               5.10 Revise REA abstract.
06/24/20 April B. Abrams                        8.00 Organize and compile deeds, REA's, separate
                                                     agreements, and declarations.
06/24/20 Lizbeth Cordova                        4.50 Manage real estate due diligence (3.0); review
                                                     and revise de minimis sale motion (1.5).
06/24/20 Justin C. Elliott                      9.90 Correspond with K&E team re real estate
                                                     diligence matters (.4); review and revise real
                                                     estate diligence charts (6.3); review
                                                     underlying documentation re same (3.2).
06/24/20 Justin C. Elliott                      0.10 Correspond with K&E team re PSA
                                                     amendment.
06/24/20 Sara Handibode                         4.00 Review diligence materials (1.5); organize
                                                     and compile same (2.5).
06/24/20 Talia Krause                           4.90 Review, coordinate and assign due diligence
                                                     for owned properties.
06/24/20 Will Lawley                            1.50 Compile documents re third party lease
                                                     review (.2); analyze third party lease re-
                                                     review (.9); review diligence request lists and
                                                     current diligence status re Katten and Quinn
                                                     productions (.4).
06/24/20 David P. Liebowitz                     7.30 Review indexes (.6); compile, organize, and
                                                     review diligence documents (6.5); revise
                                                     spreadsheet tracker re same (.2).
06/24/20 Christopher Mahoney                    5.80 Review and analyze construction, operation
                                                     and reciprocal easement agreements for
                                                     assigned properties (3.5); revise construction,
                                                     operation and reciprocal easement agreement
                                                     review chart (2.3).
06/24/20 Katie Roddy                            4.60 Review and analyze REAs and related
                                                     documents for owned real property (2.5);
                                                     draft REA summary chart (2.1).


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Date     Name                                  Hours Description
06/24/20 Laurie Ruxton                          2.50 Compile, organize, and review re diligence
                                                     documents.
06/24/20 Jonathan A. Schechter, P.C.            0.50 Review and analyze San Bruno items.
06/24/20 Matthew A. Schroth                     2.00 Attend telephone conference with real estate
                                                     task force (1.0); draft action items list (1.0).
06/24/20 Jennifer Sheehan                       0.20 Correspond with K&E team re diligence.
06/24/20 Christina Soriano                      9.00 Compile and organize REA documents.
06/24/20 Al Stemp, P.C.                         1.00 Review and revise summary of lease
                                                     provisions (.8); review correspondence re
                                                     same (.2).
06/24/20 Andrew R. Van Noord, P.C.              0.70 Review document production re bidder.
06/24/20 Nancy Zambrana                         0.10 Correspond with K&E team re real estate due
                                                     diligence review.
06/25/20 Chris Ceresa                           0.90 Draft and revise bidding procedures motion
                                                     (.6); correspond with K&E team including J.
                                                     Gordon re RSA consent for same (.3).
06/25/20 Chris Ceresa                           2.70 Draft and revise bidding procedures motion
                                                     and order.
06/25/20 Lizbeth Cordova                        6.00 Review and revise de minimis asset sale
                                                     motion (2.5); organize real estate due
                                                     diligence (3.5).
06/25/20 Ian Craig                              0.70 Correspond with K&E team re diligence
                                                     matters (.4); correspond with K&E team re
                                                     mortgage matters (.3).
06/25/20 Allyson N. Dillon                      0.80 Correspond re distribution centers with D.
                                                     Liebowitz (.2); correspond with title
                                                     Company re owned properties (.6).
06/25/20 Justin C. Elliott                      8.40 Correspond with K&E team re diligence
                                                     items (.4); review and revise real estate
                                                     diligence charts (4.5); review supporting
                                                     documentation re same (3.5).
06/25/20 Julia R. Foster                        2.00 Draft Bidding Procedures Motion and Order.
06/25/20 John Thomas Goldman                    3.50 Correspond and attend telephone conference
                                                     with K&E team re appraisal process (1.0);
                                                     correspond with Company local tax cert
                                                     counsel re valuations (.5); attend telephone
                                                     conference with Milbank re status and
                                                     approval deadlines (1.0); draft summary re
                                                     approval next steps and correspond with K&E
                                                     team re same (1.0).
06/25/20 Jason Niels Grover                     0.70 Review diligence re lease documents (.4);
                                                     revise lease review chart re same (.3).

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Date     Name                                  Hours Description
06/25/20 Sara Handibode                         2.30 Review diligence materials (.8); organize and
                                                     compile same (1.5).
06/25/20 Talia Krause                           4.90 Review, coordinate and assign due diligence
                                                     for owned properties.
06/25/20 Will Lawley                            0.50 Attend check-in telephone conference with
                                                     Milbank and real estate teams.
06/25/20 David P. Liebowitz                     5.30 Review indexes (.6); compile, organize, and
                                                     review diligence documents (4.3); correspond
                                                     with K&E team re warehouses (.3); revise
                                                     chart with re assigned properties (.1).
06/25/20 Christopher Mahoney                    2.50 Review and analyze construction, operation
                                                     and reciprocal easement agreements for
                                                     assigned properties (2.0); revise construction,
                                                     operation and reciprocal easement agreement
                                                     review chart (.5).
06/25/20 Thomas P. O'Connor                     0.30 Review real estate diligence.
06/25/20 Laurie Ruxton                          2.00 Correspond with A Abrams, D Liebowitz re
                                                     diligence project, updating of tracking chart
                                                     (.5); compile, organize, and review diligence
                                                     documents (1.5).
06/25/20 Matthew A. Schroth                     1.50 Attend telephone conference with real estate
                                                     task force (1.0); analyze list of appraisal
                                                     properties (.5).
06/25/20 Andrew R. Van Noord, P.C.              0.70 Review document production for potential
                                                     bidder.
06/25/20 Nancy Zambrana                         1.50 Review real estate due diligence documents
                                                     (1.0); draft summary chart re same (.5).
06/26/20 April B. Abrams                        7.00 Review index of ground leased sites (4.2);
                                                     organize documents re same (2.8).
06/26/20 Chris Ceresa                           4.80 Draft and revise bidding procedures motion.
06/26/20 Lizbeth Cordova                        6.00 Review and revise lease amendments (2.5);
                                                     review and revise de minimis motion (1.5);
                                                     organize real estate due diligence (2.0).
06/26/20 Allyson N. Dillon                      0.30 Draft title issue tracker (.1); correspond with
                                                     title Company re owned properties (.2).
06/26/20 Justin C. Elliott                      3.80 Correspond with K&E team diligence items
                                                     (.3); review and revise real estate diligence
                                                     charts (1.7); review supporting documentation
                                                     re same (1.8).




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Date     Name                                  Hours Description
06/26/20 Sohil Khurana                          1.60 Review and analyze owned property review
                                                     chart (.5); correspond re same with L.
                                                     Cordova (.3); review and analyze real
                                                     property diligence items (.8).
06/26/20 Talia Krause                           2.10 Review, coordinate and assign due diligence
                                                     for owned properties.
06/26/20 David P. Liebowitz                     6.30 Review indexes (.8); compile, organize, and
                                                     review diligence documents (5.5).
06/26/20 Thomas P. O'Connor                     0.10 Review real estate diligence.
06/26/20 Laurie Ruxton                          0.50 Compile, organize, and review diligence
                                                     documents.
06/26/20 Jennifer Sheehan                       0.50 Correspond with K&E team re real property
                                                     diligence.
06/26/20 Christina Soriano                      1.80 Organize and compile REA documents.
06/26/20 Andrew R. Van Noord, P.C.              1.20 Review document production for bidder (.2);
                                                     review owned real estate plan (1.0).
06/26/20 Samuel Zaretsky                        0.40 Attend telephone conference with Company.
06/26/20 Victoria M. Zhou                       2.00 Review and summarize REA documents.
06/27/20 Justin C. Elliott                      4.90 Review and revise real estate diligence charts
                                                     (1.7); review underlying documentation re
                                                     same (3.2).
06/27/20 Vanessa Gomez                          2.90 Review and revise lease and reciprocal
                                                     easement agreement summaries for Stores
                                                     2844, 2848, 2849, 2850, 2862, 90, 2866,
                                                     2868, 2873, 2876, 2877, 197, and 1306.
06/27/20 Talia Krause                           0.10 Coordinate and assign due diligence for
                                                     owned properties.
06/28/20 Mike Beinus, P.C.                      0.60 Telephone conference with Lazard re real
                                                     estate matters.
06/28/20 Lizbeth Cordova                        2.50 Organize real estate due diligence.
06/28/20 Ian Craig                              0.20 Correspond with K&E team re diligence
                                                     matters.
06/28/20 Justin C. Elliott                      1.20 Review and revise real estate diligence charts
                                                     (.4); review underlying documentation re
                                                     same (.8).
06/28/20 John Thomas Goldman                    1.00 Correspond and attend telephone conference
                                                     with K&E team re valuation issues and
                                                     questions.
06/28/20 Talia Krause                           2.30 Coordinate and assign due diligence for
                                                     owned properties.



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Date     Name                                  Hours Description
06/28/20 Jonathan A. Schechter, P.C.            0.50 Review asset optimization strategy notes and
                                                     related correspondence.
06/28/20 Nancy Zambrana                         4.20 Review real estate due diligence documents
                                                     (3.0); draft summary chart re same (1.2).
06/29/20 April B. Abrams                        1.50 Organize diligence documents.
06/29/20 Margaret R. Alden                      0.70 Review, analyze NDAs (.3); correspond with
                                                     K&E team, C. Tempke re same (.2);
                                                     correspond with K&E team re same (.2).
06/29/20 Andres Cantero Jr.                     6.40 Analyze REA for relevant provisions for
                                                     Store # 2467 (1.3); analyze REA for relevant
                                                     provisions for Store # 2477 (2.7); analyze
                                                     REA for relevant provisions for Store # 2478
                                                     (2.4).
06/29/20 Chris Ceresa                           4.10 Draft and revise bidding procedures and sales
                                                     procedures motion (3.6); telephone
                                                     conference re same with K&E team including
                                                     R. Chaikin (.3); correspond with advisors re
                                                     sale inquiry (.2).
06/29/20 Ian Craig                              0.90 Correspond with K&E team re diligence
                                                     matters.
06/29/20 Allyson N. Dillon                      0.50 Attend telephone conference with A. Van
                                                     Noord re updates on diligence.
06/29/20 Justin C. Elliott                      7.40 Correspond with K&E team re diligence
                                                     matters (.1); review and revise real estate
                                                     diligence charts (3.9); review underlying
                                                     documentation re same (3.4).
06/29/20 John Thomas Goldman                    7.50 Correspond and attend telephone conferences
                                                     with K&E team re Property Monetization
                                                     Report (3.0); correspond and attend telephone
                                                     conferences with K&E team re existing PSAs
                                                     (1.5); review and coordinate with all parties
                                                     regarding optimization plans (3.0).
06/29/20 Talia Krause                           7.00 Review, coordinate and assign due diligence
                                                     for owned properties.
06/29/20 David P. Liebowitz                     5.40 Review indexes (1.0); organize, compile, and
                                                     review documents (4.4).
06/29/20 Mark Steven Lipschultz                 1.30 Review diligence (.6); review REAs (.7).
06/29/20 Christopher Mahoney                    2.50 Review and analyze construction, operation
                                                     and reciprocal easement agreements for
                                                     assigned properties (2.0); revise construction,
                                                     operation and reciprocal easement agreement
                                                     review chart (.5).


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J.C. Penney Company, Inc.                                       Matter Number:              47223-6
Owned Property Sales and Dispositions

Date     Name                                  Hours Description
06/29/20 Prentis Robinson                        0.30 Conference with J. Gordon re bidding
                                                      procedures (.1); correspond with J. Foster re
                                                      same (.2).
06/29/20 Matthew A. Schroth                      1.20 Attend telephone conference with real estate
                                                      task force (.9); draft purchase and sale
                                                      amendment language (.3).
06/29/20 Sam Steinman                            3.50 Review, analyze, and revise diligence and
                                                      documentation ire proposed transaction (2.7);
                                                      draft chart re diligence (.8).
06/29/20 Andrew R. Van Noord, P.C.               2.50 Attend telephone conference with K&E
                                                      diligence team (1.0); correspond with K&E
                                                      diligence reviewers (1.5).
06/29/20 Nancy Zambrana                          0.50 Review real estate due diligence documents.
06/29/20 Nancy Zambrana                          0.20 Correspond with K&E team re real estate due
                                                      diligence review.
06/29/20 Samuel Zaretsky                         1.20 Review revised draft of Framework (.8);
                                                      correspond with T. Krause re same (.4).
06/29/20 Victoria M. Zhou                        7.00 Review and summarize REA documents.
06/30/20 April B. Abrams                         5.00 Compile and organize Lease diligence.
06/30/20 Andres Cantero Jr.                      4.90 Analyze REA for relevant provisions for
                                                      Store # 2480 (1.3); analyze REA for relevant
                                                      provisions for Store # 2490 (1.8); analyze
                                                      REA for relevant provisions for Store # 2495
                                                      (1.8).
06/30/20 Chris Ceresa                            1.50 Draft and revise sale/auction procedures
                                                      motion and order.
06/30/20 Rebecca Blake Chaikin                   1.00 Telephone conference with Company,
                                                      Milbank, all advisors re owned property plan.
06/30/20 Lizbeth Cordova                         2.60 Organize real estate due diligence.
06/30/20 Ian Craig                               0.30 Correspond with K&E team re diligence
                                                      matters.
06/30/20 Justin C. Elliott                      11.90 Correspond with K&E team re diligence
                                                      matters (.2); correspond with P. Narain re
                                                      diligence (.4); review real property diligence
                                                      charts and underlying diligence documents
                                                      (5.3); revise same (6.0).
06/30/20 Jake Flood                              0.10 Attend telephone conference with L. Cordova
                                                      re lender protections.
06/30/20 Julia R. Foster                         0.70 Draft Bidding Procedures/Sale Motion.




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J.C. Penney Company, Inc.                                       Matter Number:               47223-6
Owned Property Sales and Dispositions

Date     Name                                  Hours Description
06/30/20 John Thomas Goldman                    8.50 Review and correspond with K&E team re
                                                     optimization plans (3.0); coordinate
                                                     monetization report (2.0); attend telephone
                                                     conference with RE Task Force (1.0);
                                                     correspond and attend telephone conferences
                                                     with K&E team re blowout issues (1.0);
                                                     correspond and attend telephone conferences
                                                     with [K&E team re existing PSA issues (1.5).
06/30/20 Talia Krause                           2.80 Review, coordinate and assign due diligence
                                                     for owned properties.
06/30/20 David P. Liebowitz                     5.70 Correspond with K&E team re chart (.1);
                                                     revise same (.1); review indexes (1.1);
                                                     compile, organize, and review diligence
                                                     documents (4.4).
06/30/20 Mark Steven Lipschultz                 7.20 Revise REA submissions and re-review
                                                     documents.
06/30/20 Christopher Mahoney                    1.80 Review and analyze construction, operation
                                                     and reciprocal easement agreements for
                                                     assigned properties (1.3); revise construction,
                                                     operation and reciprocal easement agreement
                                                     review chart (.5).
06/30/20 Thomas P. O'Connor                     1.60 Review owned property diligence.
06/30/20 Prentis Robinson                       3.70 Prepare bidding procedures (.8); research,
                                                     review, analyze precedent re same (.9);
                                                     prepare board presentation re plan or sale
                                                     timelines (2.0).
06/30/20 Matthew A. Schroth                     2.30 Attend telephone conference with real estate
                                                     task force re owned property optimization
                                                     plan (1.2); attend telephone conference with
                                                     real estate task force (1.1).
06/30/20 Jennifer Sheehan                       0.50 Telephone conference with T. Krause re real
                                                     estate matters.
06/30/20 Sam Steinman                           4.00 Review, analyze, and revise diligence and
                                                     documentation re proposed transaction (1.7);
                                                     draft chart re diligence (2.3).
06/30/20 Andrew R. Van Noord, P.C.              1.70 Review owned property diligence summary
                                                     (.5); review document production for bidder
                                                     (.2); attend telephone conference re owned
                                                     real estate plan (1.0).
06/30/20 Nancy Zambrana                         0.20 Correspond with K&E team re real estate due
                                                     diligence review.
06/30/20 Nancy Zambrana                         1.60 Review real estate due diligence documents
                                                     (.8); prepare summary chart re same (.8).

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J.C. Penney Company, Inc.                                    Matter Number:           47223-6
Owned Property Sales and Dispositions

Date     Name                                  Hours Description
06/30/20 Victoria M. Zhou                       2.00 Review and summarize REA documents.

Total                                        1,759.50




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                          FEIN XX-XXXXXXX




September 15, 2020

J.C. Penney Company, Inc.
6501 Legacy Drive
Plano, TX 75024

Attn: Brandy Treadway

                                                                            Invoice Number: 1050032373
                                                                              Client Matter: 47223-7

In the Matter of Adversary Proceedings &Contested Matters




For legal services rendered through June 30, 2020
(see attached Description of Legal Services for detail)                                                      $ 249,776.00
Total legal services rendered                                                                                $ 249,776.00




  Beijing Boston Chicago Dallas Hong Kong Houston London Los Angeles Munich Palo Alto Paris San Francisco Shanghai Washington, D.C.
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J.C. Penney Company, Inc.                                    Matter Number:       47223-7
Adversary Proceedings &Contested Matters




                                         Summary of Hours Billed

Name                                                     Hours         Rate      Amount
Megan Buenviaje                                            6.10      395.00      2,409.50
Chris Ceresa                                               9.10      610.00      5,551.00
Rebecca Blake Chaikin                                      0.30    1,085.00        325.50
Michael P. Esser                                           1.50    1,165.00      1,747.50
Ben Fahey-Burke                                            6.80      415.00      2,822.00
Jeremy A. Fielding, P.C.                                   1.90    1,295.00      2,460.50
Yates French                                              18.40    1,165.00     21,436.00
Jake William Gordon                                        0.40      845.00        338.00
Meghan E. Guzaitis                                        48.70      445.00     21,671.50
Michael Kalis                                              0.80    1,025.00        820.00
Melissa D. Kalka                                           4.30    1,165.00      5,009.50
Marjorie Melicharek                                       31.50      275.00      8,662.50
Lekha Menon                                               52.00      725.00     37,700.00
Benjamin O'Connor                                         33.80      970.00     32,786.00
Nicholas Ruge                                             10.10      835.00      8,433.50
Michael B. Slade                                          45.80    1,395.00     63,891.00
Josh Sussberg, P.C.                                        0.40    1,635.00        654.00
Steven B. Taylor                                           6.00      725.00      4,350.00
Gregory Tsonis                                            28.80      970.00     27,936.00
Allyson Smith Weinhouse                                    0.80      965.00        772.00

TOTALS                                                   307.50               $ 249,776.00




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Adversary Proceedings &Contested Matters


                                       Description of Legal Services

Date     Name                                  Hours Description
05/18/20 Melissa D. Kalka                        2.00 Review and revise various motions (1.4);
                                                      correspond with K. Hemyari and E. Mosser re
                                                      same (.6).
05/18/20 Lekha Menon                             3.90 Review and analyze internal documents re
                                                      creditor document requests (3.5); attend
                                                      telephone conference with Y. French, B.
                                                      O'Connor, N. Ruge re same (.4).
05/18/20 Nicholas Ruge                           0.20 Correspond with Y. French, B. O'Connor and
                                                      L. Menon re defensive document review.
05/19/20 Melissa D. Kalka                        2.30 Review and revise motions (1.8); correspond
                                                      with K. Hemyari and E. Mosser re same (.5).
05/19/20 Lekha Menon                            12.40 Review and analyze internal documents re
                                                      creditor document requests (3.9); draft
                                                      summary re same (3.9); revise same (3.7);
                                                      attend telephone conference with M. Slade, Y.
                                                      French, K&E team re same (.4); correspond
                                                      with B. O'Connor, N. Ruge re same (.5).
05/20/20 Yates French                            4.70 Prepare for discovery conference (1.0);
                                                      review documents for production (1.5);
                                                      coordinate production of documents (1.2);
                                                      draft discovery responses (1.0).
05/20/20 Lekha Menon                             7.70 Review and analyze internal documents re
                                                      creditor document requests (3.9); draft
                                                      summary re same (2.6); attend telephone
                                                      conference with M. Slade, Y. French, K&E
                                                      team re same (.6); correspond with B.
                                                      O'Connor, N. Ruge re same (.6).
05/20/20 Benjamin O'Connor                       0.90 Attend telephone conference with M. Slade,
                                                      Y. French, N. Ruge, and L. Menon re strategy
                                                      for responses to ad hoc crossholder group's
                                                      request for production (.5); draft responses re
                                                      same (.4).
05/20/20 Nicholas Ruge                           0.70 Analyze requests for production (.2);
                                                      correspond with K&E team re document
                                                      review and requests for production (.5).
05/20/20 Michael B. Slade                        1.80 Attend telephone conference with opposing
                                                      counsel re discovery (.4); telephone
                                                      conference with K&E team re discovery
                                                      requests (.5); review and analyze discovery
                                                      matters (.9).


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Adversary Proceedings &Contested Matters

Date     Name                                  Hours Description
05/21/20 Yates French                           4.50 Review documents for production (2.5); draft
                                                     protective order (1.0); draft discovery
                                                     responses (1.0).
05/21/20 Lekha Menon                            3.50 Review, analyze internal documents re
                                                     creditor document request.
05/21/20 Benjamin O'Connor                      0.40 Draft protective order.
05/21/20 Michael B. Slade                       2.20 Review, analyze slides (.3); attend telephone
                                                     conference with Company re outstanding
                                                     litigation (.4); review, analyze document
                                                     review and production (1.1); review materials
                                                     re California litigation (.4).
05/22/20 Yates French                           5.20 Review documents for production (4.0);
                                                     coordinate production of documents (1.2).
05/22/20 Benjamin O'Connor                      5.50 Correspond with Y. French re production of
                                                     documents (.4); review and analyze K&E
                                                     correspondence for responsiveness to ad hoc
                                                     crossholder group's requests for production
                                                     (3.4); correspond with K&E team re
                                                     production of documents (.9); conduct quality
                                                     control review on documents prior to
                                                     production (.8).
05/22/20 Michael B. Slade                       1.70 Correspond with K&E team re discovery and
                                                     review (.4); analyze same (.8); attend
                                                     telephone conference with K&E team re
                                                     California litigation (.5).
05/23/20 Lekha Menon                            6.40 Review and analyze internal documents re
                                                     creditor document requests (3.9); draft
                                                     summary re same (2.5).
05/23/20 Benjamin O'Connor                      1.20 Review and revise protective order (.4);
                                                     review and revise confidentiality agreement
                                                     (.2); review and revise responses to
                                                     crossholder group's requests for production of
                                                     documents (.6).
05/23/20 Michael B. Slade                       1.60 Review and revise responses to document
                                                     requests, protective order (.7); review,
                                                     analyze discovery documents (.9).
05/24/20 Meghan E. Guzaitis                     0.80 Review materials for potential production (.7)
                                                     correspond with K&E team re same (.1).
05/24/20 Lekha Menon                            1.00 Review and analyze internal documents re
                                                     creditor document requests.




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Adversary Proceedings &Contested Matters

Date     Name                                  Hours Description
05/24/20 Benjamin O'Connor                      0.40 Review, analyze and revise draft protective
                                                     order (.1); review and revise confidentiality
                                                     agreement (.2); review and revise responses to
                                                     crossholder group's requests for production of
                                                     documents (.1).
05/24/20 Benjamin O'Connor                      2.20 Review, analyze and summarize contents of
                                                     virtual data rooms provided to creditors (1.8);
                                                     attend telephone conference with M. Weitz,
                                                     G. Schlicht and M. Slade re same (.4).
05/24/20 Benjamin O'Connor                      1.70 Review and analyze documents from
                                                     custodian re requests for production of
                                                     documents.
05/24/20 Michael B. Slade                       1.40 Attend telephone conference with Lazard re
                                                     data rooms (.5); review and revise protective
                                                     order and RFP responses (.3); correspond re
                                                     same (.2); review and analyze board minutes
                                                     (.4).
05/25/20 Yates French                           2.50 Coordinate production of documents (1.5);
                                                     review board minutes and board presentations
                                                     for privilege redactions (1.0).
05/25/20 Jake William Gordon                    0.40 Review materials for independent directors.
05/25/20 Meghan E. Guzaitis                     0.70 Telephone conference with K&E team re
                                                     strategy for responding to ad hoc crossholder
                                                     group's first request for production of
                                                     documents.
05/25/20 Benjamin O'Connor                      4.10 Attend telephone conference with K&E team
                                                     re strategy for gathering documents
                                                     responsive to crossholder group's document
                                                     requests and independent directors' document
                                                     requests (.3); review and analyze documents
                                                     from custodian, board minutes and board
                                                     meeting presentation re responses to
                                                     crossholder group's requests for production of
                                                     documents (3.3); correspond with Y. French,
                                                     N. Ruge and L. Menon re documents from
                                                     custodian re same (.5).
05/25/20 Michael B. Slade                       1.80 Review and analyze discovery materials (1.6);
                                                     correspond with opposing counsel (.2).
05/26/20 Rebecca Blake Chaikin                  0.30 Attend telephone conference re litigation with
                                                     plaintiff counsel.
05/26/20 Ben Fahey-Burke                        1.40 Analyze and redact documents for privilege in
                                                     preparation for production.



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Adversary Proceedings &Contested Matters

Date     Name                                  Hours Description
05/26/20 Ben Fahey-Burke                        3.80 Review potentially privileged board minutes
                                                     and presentations (.6); redact privileged
                                                     content in same in preparation for production
                                                     (2.7); revise redactions to same following
                                                     attorney review (.5).
05/26/20 Yates French                           1.50 Correspond with opposing counsel re
                                                     discovery.
05/26/20 Meghan E. Guzaitis                     1.50 Telephone conference with Alix re obtaining
                                                     documents for potential production (.5);
                                                     review and collect documents for potential
                                                     production (.5); conference with K&E team re
                                                     production of documents (.5).
05/26/20 Meghan E. Guzaitis                     3.10 Telephone conference with K&E team re
                                                     obtaining documents for potential production
                                                     (.4); review, collect documents for potential
                                                     production (1.3); telephone conference with
                                                     K&E team re redactions of documents (.7);
                                                     correspond with opposing counsel re
                                                     document production (.7).
05/26/20 Marjorie Melicharek                    2.30 Prepare production materials for attorney
                                                     review.
05/26/20 Marjorie Melicharek                    0.50 Draft production summary for attorney
                                                     review.
05/26/20 Marjorie Melicharek                    1.70 Draft summary re filings.
05/26/20 Marjorie Melicharek                    2.00 Compile filings.
05/26/20 Benjamin O'Connor                      4.80 Review and analyze documents from
                                                     custodian, board minutes and board meeting
                                                     presentation re responsiveness to crossholder
                                                     group's requests for production of documents
                                                     (3.8); correspond with Y. French, N. Ruge
                                                     and L. Menon re documents from custodian
                                                     re same (.7); prepare production letter (.2);
                                                     correspond with litigation support group re
                                                     finalizing documents for production (.1).
05/26/20 Michael B. Slade                       2.80 Review, analyze discovery and documents
                                                     and edit timeline (1.7); attend telephone
                                                     conference with opposing counsel re same
                                                     (.3); attend telephone conference with
                                                     Company re open litigation matters and
                                                     review materials re same (.8).
05/26/20 Josh Sussberg, P.C.                    0.40 Correspond with M. Slade re discovery (.2);
                                                     review discovery schedule (.2).



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Adversary Proceedings &Contested Matters

Date     Name                                  Hours Description
05/26/20 Gregory Tsonis                         2.70 Review and analyze draft exhibit list (.3);
                                                     correspond with B. O'Connor re same (.2);
                                                     review and analyze documents re exhibit list
                                                     (.8); review and analyze key documents re
                                                     crossholder objection (1.4).
05/26/20 Allyson Smith Weinhouse                0.50 Correspond with Company re litigation
                                                     matters (.3); attend telephone conference re
                                                     same (.2).
05/27/20 Meghan E. Guzaitis                     1.50 Review custodian’s documents for potential
                                                     production (.5); review, collect documents for
                                                     potential production for attorney review (.7);
                                                     telephone conference with K&E team re
                                                     production of documents (.3).
05/27/20   Marjorie Melicharek                  1.50 Draft production log for attorney review.
05/27/20   Marjorie Melicharek                  1.10 Draft summary re filings.
05/27/20   Marjorie Melicharek                  0.70 Prepare case filings re depositions.
05/27/20   Lekha Menon                          6.30 Review, analyze documents re creditor
                                                     document requests (3.9); correspond with B.
                                                     O'Connor re same (1.1); review documents re
                                                     same (1.3).
05/27/20 Benjamin O'Connor                      3.30 Review and analyze correspondence of
                                                     custodian for responsiveness to crossholder
                                                     group's requests for documents (2.8);
                                                     correspond with Y. French, N. Ruge and L.
                                                     Menon re responsiveness of correspondence
                                                     (.5).
05/27/20 Nicholas Ruge                          0.40 Review tracker of responses to independent
                                                     directors' discovery requests (.1); correspond
                                                     with T. Kozouz re intercompany claims issue
                                                     (.1); correspond with Y. French, B. O'Connor
                                                     and paralegals re document productions (.2).
05/27/20 Michael B. Slade                       1.80 Review, analyze discovery issues, exhibits
                                                     and declarations (1.2); attend telephone
                                                     conference with lenders' counsel re same (.2);
                                                     correspond with K&E team re prepetition
                                                     litigation (.4).
05/28/20 Meghan E. Guzaitis                     2.00 Compile case materials re deposition
                                                     preparation.
05/28/20 Meghan E. Guzaitis                     0.70 Correspond with K&E team re production of
                                                     documents re response to ad hoc crossholder
                                                     group's first request for production of
                                                     documents.



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Adversary Proceedings &Contested Matters

Date     Name                                  Hours Description
05/28/20 Meghan E. Guzaitis                     0.80 Compile case documents re Kurtz deposition
                                                     preparation.
05/28/20 Marjorie Melicharek                    0.50 Draft listing re pleadings for attorney review.
05/28/20 Lekha Menon                            5.60 Review documents re creditor document
                                                     request.
05/28/20 Benjamin O'Connor                      4.00 Review and analyze correspondence re
                                                     responsiveness (3.2); correspond with Y.
                                                     French, N. Ruge, and L. Menon re
                                                     responsiveness of correspondence (.5); draft
                                                     production letter (.2); correspond with
                                                     litigation support group re finalizing
                                                     documents for production (.1).
05/28/20 Michael B. Slade                       2.30 Attend board meeting (.5); review, analyze
                                                     witness statements (1.2); review, analyze
                                                     witness and exhibit list (.6).
05/28/20 Gregory Tsonis                         2.60 Review and analyze documents for
                                                     production (2.3); correspond with B.
                                                     O'Connor and N. Ruge re exhibit list (.3).
05/28/20 Allyson Smith Weinhouse                0.30 Correspond with Company, K&E team re
                                                     litigation matters (.2); review same (.1).
05/29/20 Meghan E. Guzaitis                     1.50 Compile case documents re Kurtz deposition
                                                     preparation.
05/29/20 Meghan E. Guzaitis                     1.50 Compile case documents for attorney review
                                                     in fact development for case filings.
05/29/20 Nicholas Ruge                          0.20 Prepare exhibits for hearing.
05/29/20 Michael B. Slade                       2.60 Review and analyze witnesses (1.6); attend
                                                     telephone conferences with Company re
                                                     litigation issues (1.0).
05/29/20 Gregory Tsonis                         6.20 Review and analyze documents re exhibit list
                                                     (3.9); review, analyze and revise draft
                                                     declarations and comments (2.3).
05/30/20 Lekha Menon                            3.20 Attend telephone conference with M. Slade,
                                                     K&E team re case status (.5); research issues
                                                     re appeal bond (2.7).
05/30/20 Michael B. Slade                       1.10 Attend telephone conference with K&E team
                                                     re next steps (.5); attend telephone conference
                                                     with Company and Dentons re Pittsburgh
                                                     bankruptcy (.4); review correspondence re
                                                     contested issue (.2).
05/31/20 Meghan E. Guzaitis                     1.50 Compile production documents for attorney
                                                     review in deposition preparation.
05/31/20 Lekha Menon                            1.20 Research issues re appeal bond.


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Date     Name                                  Hours Description
06/01/20 Megan Buenviaje                        2.20 Review and analyze production set (.4);
                                                     correspond with legal team re same (.4);
                                                     prepare documents for attorney review (1.4).
06/01/20 Jeremy A. Fielding, P.C.               1.20 Strategize re intervention and removal (.8);
                                                     research re same (.4).
06/01/20 Meghan E. Guzaitis                     3.80 Compile case documents for attorney review
                                                     for deposition preparation (2.5); correspond re
                                                     documents for use at deposition (.5); prepare
                                                     case materials for use at deposition (.8).
06/01/20 Meghan E. Guzaitis                     3.70 Compile case documents for attorney review
                                                     for potential production (2.3); correspond
                                                     with K&E team re document production
                                                     specifications (.5); prepare production
                                                     correspondence (.3); QC production
                                                     specifications (.2); produce documents to
                                                     opposing counsel (.4).
06/01/20 Michael Kalis                          0.80 Telephone conference with K&E team re
                                                     potential motion to intervene and removal.
06/01/20 Marjorie Melicharek                    0.20 Research re motion to defer materials for
                                                     attorney review.
06/01/20 Benjamin O'Connor                      3.30 Review and analyze documents to produce
                                                     (1.7); correspond with K&E team, Lazard and
                                                     AlixPartners re documents to produce (.9);
                                                     prepare documents for production and
                                                     produce documents to crossholder group (.7).
06/01/20 Michael B. Slade                       6.20 Review documents to prepare for depositions
                                                     (2.6); attend teleconference with witnesses re
                                                     depositions (2.0); review declarations (.8);
                                                     attend telephone conference with counsel for
                                                     UCC re case issues (.4); review document
                                                     issues re same (.4).
06/02/20 Ben Fahey-Burke                        1.30 Redact privileged content in documents in
                                                     preparation for production (.6); process
                                                     documents for production (.7).
06/02/20 Meghan E. Guzaitis                     2.80 Compile case documents for attorney review
                                                     re potential production (2.1) correspond with
                                                     K&E team re document production
                                                     specifications (.2); QC production
                                                     specifications (.2); produce documents to
                                                     opposing counsel (.3).




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J.C. Penney Company, Inc.                                      Matter Number:              47223-7
Adversary Proceedings &Contested Matters

Date     Name                                  Hours Description
06/02/20 Meghan E. Guzaitis                     3.80 Compile case documents for attorney review
                                                     for use at deposition (2.0); correspond with
                                                     K&E team re documents for use at deposition
                                                     (.5); prepare case materials for use at
                                                     deposition (1.3).
06/02/20 Marjorie Melicharek                    0.80 Draft summary re documents produced for
                                                     attorney review.
06/02/20 Steven B. Taylor                       6.00 Review precedent and procedure for
                                                     intervening and removing to bankruptcy court
                                                     (3.9); summarize and circulate findings to
                                                     K&E team (2.1).
06/03/20 Ben Fahey-Burke                        0.30 Review and process documents for
                                                     production.
06/03/20 Jeremy A. Fielding, P.C.               0.70 Review research re intervention, removal (.4);
                                                     draft summary re same (.3).
06/03/20 Meghan E. Guzaitis                     5.00 Compile case documents for attorney review
                                                     for hearing preparation (3.5) correspond with
                                                     K&E team re documents for use at hearing
                                                     (.5) prepare case materials for use at hearing
                                                     (1.0).
06/03/20 Meghan E. Guzaitis                     2.80 Compile case documents for attorney review
                                                     for potential production after redaction for
                                                     potential production (2.1); correspond with
                                                     K&E team re document production
                                                     specifications (.2); QC production
                                                     specifications (.2); produce documents to
                                                     opposing counsel (.3).
06/03/20 Benjamin O'Connor                      1.70 Correspond with Lazard re VDR access issues
                                                     (.3); review and analyze documents for
                                                     production (.5); prepare documents for
                                                     production and produce to crossholder group
                                                     (.9).
06/03/20 Michael B. Slade                       6.60 Attend telephone conferences with witnesses
                                                     re preparation for hearing (2.2); review and
                                                     revise outline, review documents (4.4).
06/04/20 Megan Buenviaje                        1.30 Prepare documents for attorney review (.9);
                                                     correspond with legal team re same (.4).
06/04/20 Marjorie Melicharek                    2.40 Draft summary re docket filings for attorney
                                                     review.
06/04/20 Michael B. Slade                       0.40 Participate in board telephone conference.
06/05/20 Marjorie Melicharek                    1.80 Prepare post prepetition filings for attorney
                                                     review.



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Legal Services for the Period Ending June 30, 2020             Invoice Number:           1050032373
J.C. Penney Company, Inc.                                       Matter Number:              47223-7
Adversary Proceedings &Contested Matters

Date     Name                                  Hours Description
06/05/20 Nicholas Ruge                          3.30 Research and draft analysis of
                                                     dischargeability issues.
06/07/20 Meghan E. Guzaitis                     1.00 Review JCP pricing exhibits for filing (.5)
                                                     correspond with K&E team re same (.3)
                                                     prepare materials for filing (.2).
06/07/20 Marjorie Melicharek                    1.30 Prepare exhibits for filing.
06/07/20 Michael B. Slade                       1.60 Review and revise brief (1.1); correspond
                                                     with K&E team re witness and exhibit list
                                                     (.3); review same (.2).
06/08/20 Chris Ceresa                           1.60 Review and analyze materials re shareholders
                                                     for hearing (.8); draft materials re same (.6);
                                                     correspond with K&E team and A. Fatheazam
                                                     (.2).
06/08/20 Meghan E. Guzaitis                     1.80 Review JCP pricing exhibits for filing (.9)
                                                     correspond with K&E team re edits to same
                                                     (.4); prepare materials for filing (.5).
06/08/20 Marjorie Melicharek                    1.40 Prepare exhibits for attorney review.
06/08/20 Gregory Tsonis                         0.70 Coordinate preparation for hearing.
06/09/20 Chris Ceresa                           5.90 Review outstanding objections for various
                                                     pleadings up for hearing on 6/11 (2.6);
                                                     analyze same (2.7); update tracking materials
                                                     re same (.6).
06/09/20 Meghan E. Guzaitis                     0.90 Compile case materials for attorney review in
                                                     preparation of pricing hearing.
06/09/20 Marjorie Melicharek                    0.70 Prepare materials re pleadings for attorney
                                                     review.
06/10/20 Meghan E. Guzaitis                     1.70 Prepare logistics for court hearing (.2);
                                                     review, compile and prepare case materials
                                                     for attorney review re pricing hearing (1.5).
06/10/20 Marjorie Melicharek                    1.50 Compile hearing materials for attorney
                                                     review.
06/10/20 Marjorie Melicharek                    0.40 Prepare hearing materials for attorney review.
06/10/20 Marjorie Melicharek                    1.40 Prepare proceeding materials re pleadings for
                                                     attorney review.
06/10/20 Lekha Menon                            0.80 Telephone conference with M. Slade, R.
                                                     Chaikin, AlixPartners re second day hearing.
06/10/20 Nicholas Ruge                          0.20 Correspond with K&E team re litigation
                                                     issues.




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Legal Services for the Period Ending June 30, 2020             Invoice Number:             1050032373
J.C. Penney Company, Inc.                                       Matter Number:                47223-7
Adversary Proceedings &Contested Matters

Date     Name                                  Hours Description
06/10/20 Michael B. Slade                       3.30 Attend telephone conference with K&E team
                                                     re hearing (.5); review witness declaration
                                                     (.4); review data re same (.4); attend
                                                     telephone conference with Company re open
                                                     litigation matters (.5); review and revise
                                                     outline (1.1); review hearing prep (.4).
06/10/20 Gregory Tsonis                         4.80 Attend telephone conference with attorney
                                                     team re hearing (.9); review and analyze
                                                     documents re assorted litigation and draft
                                                     work plan (2.2); attend telephone conference
                                                     with Company and M. Slade re assorted
                                                     litigation (.3); draft follow up correspondence
                                                     re automatic stay (1.4).
06/11/20 Chris Ceresa                           1.60 Review and analyze objections filed re 6/11
                                                     hearing.
06/11/20 Meghan E. Guzaitis                     0.50 Review, compile and prepare case materials
                                                     for attorney review re pricing hearing.
06/11/20 Marjorie Melicharek                    0.40 Compile key pleadings for attorney review.
06/12/20 Marjorie Melicharek                    1.80 Compile case materials re pleadings for
                                                     attorney review.
06/12/20 Michael B. Slade                       1.80 Attend telephone conference with Company
                                                     re litigation matters (.5); attend telephone
                                                     conference with opposing counsel re litigation
                                                     issue (.3); review lift stay motion re same (.3);
                                                     review other litigation matters (.7).
06/12/20 Gregory Tsonis                         3.40 Review pleadings and draft update re assorted
                                                     litigation and plan.
06/14/20 Nicholas Ruge                          0.30 Review and revise diligence trackers.
06/15/20 Meghan E. Guzaitis                     1.00 Review, compile and prepare case materials
                                                     for attorney review in preparation of hearing.
06/15/20 Marjorie Melicharek                    2.00 Prepare summary re pleadings for attorney
                                                     review.
06/15/20 Gregory Tsonis                         2.50 Draft correspondence re pending litigation
                                                     (1.2); coordinate and correspond with K&E
                                                     team re response to assorted litigation (1.3).
06/16/20 Marjorie Melicharek                    1.10 Prepare summary re pleadings.
06/16/20 Nicholas Ruge                          0.10 Correspond with G. Morris re pending
                                                     litigation.
06/16/20 Michael B. Slade                       0.80 Review discovery requests.




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Legal Services for the Period Ending June 30, 2020             Invoice Number:            1050032373
J.C. Penney Company, Inc.                                       Matter Number:               47223-7
Adversary Proceedings &Contested Matters

Date     Name                                  Hours Description
06/16/20 Gregory Tsonis                         1.80 Review and analyze precedent re pending
                                                     litigation (.6); draft correspondence re same
                                                     (.2); review and analyze lift stay motions (.6);
                                                     draft updated litigation tracker (.4).
06/17/20 Meghan E. Guzaitis                     0.70 Compile board presentations for attorney
                                                     review in fact development (.5) telephone
                                                     conference with K&E team re same (.2).
06/17/20 Nicholas Ruge                          3.50 Correspond with M. Slade and K&E team re
                                                     litigation workstreams (.3); review and revise
                                                     diligence trackers (3.2).
06/17/20 Michael B. Slade                       1.30 Attend telephone conference with K&E team
                                                     re open matters (.5); review and revise letter
                                                     (.8).
06/17/20 Gregory Tsonis                         1.00 Corespond with K&E team re ongoing
                                                     projects (.4); review and analyze documents
                                                     re production (.2); draft correspondence re
                                                     same (.2); correspond with N. Ruge re
                                                     production (.2).
06/18/20 Meghan E. Guzaitis                     0.90 Research re valuation issues.
06/18/20 Benjamin O'Connor                      0.30 Review and analyze proposed protective
                                                     order.
06/18/20 Michael B. Slade                       1.40 Attend telephone conference with K&E team
                                                     re litigation claims (.5); revise letter re same
                                                     (.3); attend board meeting (.6).
06/18/20 Gregory Tsonis                         2.20 Correspond with co-counsel re pending
                                                     litigation (.5); draft correspondence to
                                                     opposing counsel (.9); coordinate and
                                                     correspond with K&E team re response to
                                                     assorted litigation (.8).
06/24/20 Michael P. Esser                       1.00 Prepare for and participate in conference with
                                                     M. Slade re case dynamics and outstanding
                                                     contested matter work streams (.5); review
                                                     and analyze work in process and case
                                                     milestones re same (.5).
06/24/20 Nicholas Ruge                          1.00 Draft and prepare tracker re document
                                                     requests and responses.
06/24/20 Gregory Tsonis                         0.90 Draft summary of legal proceedings (.2);
                                                     prepare for telephone conference with M.
                                                     Esser (.2); correspond with M. Esser re case
                                                     workstreams (.5).
06/25/20 Meghan E. Guzaitis                     1.00 Compile case materials for attorney review in
                                                     preparation for hearing on applications.
06/25/20 Marjorie Melicharek                    2.00 Prepare filing materials for attorney review.

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Legal Services for the Period Ending June 30, 2020             Invoice Number:           1050032373
J.C. Penney Company, Inc.                                       Matter Number:              47223-7
Adversary Proceedings &Contested Matters

Date     Name                                  Hours Description
06/26/20 Megan Buenviaje                        2.60 Prepare Company documents for processing
                                                     (.4); review and analyze production set (.8);
                                                     correspond with K&E team re same (.6);
                                                     prepare production for attorney review and
                                                     delivery to outside counsel (.8).
06/26/20 Meghan E. Guzaitis                     1.70 Review and compile documents for
                                                     production related (.7); telephone conference
                                                     with K&E team re same (.3); prepare
                                                     documents for production (.5); produce
                                                     documents (.2).
06/26/20 Marjorie Melicharek                    2.00 Prepare production materials for attorney
                                                     review.
06/26/20 Nicholas Ruge                          0.20 Research re litigation claim.
06/26/20 Michael B. Slade                       1.30 Correspond with K&E team re discovery
                                                     issues (.4); review same (.9).
06/29/20 Michael P. Esser                       0.50 Prepare for and participate in conference with
                                                     Y. French re litigation work streams and
                                                     strategize re same.

Total                                          307.50




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                          FEIN XX-XXXXXXX




September 15, 2020

J.C. Penney Company, Inc.
6501 Legacy Drive
Plano, TX 75024

Attn: Brandy Treadway

                                                                            Invoice Number: 1050032374
                                                                              Client Matter: 47223-8

In the Matter of Automatic Stay




For legal services rendered through June 30, 2020
(see attached Description of Legal Services for detail)                                                       $ 68,291.50
Total legal services rendered                                                                                 $ 68,291.50




  Beijing Boston Chicago Dallas Hong Kong Houston London Los Angeles Munich Palo Alto Paris San Francisco Shanghai Washington, D.C.
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Legal Services for the Period Ending June 30, 2020          Invoice Number:   1050032374
J.C. Penney Company, Inc.                                    Matter Number:      47223-8
Automatic Stay




                                         Summary of Hours Billed

Name                                                     Hours         Rate     Amount
Lucas W. Brown                                             2.60      610.00     1,586.00
Chris Ceresa                                               1.20      610.00       732.00
Rebecca Blake Chaikin                                      1.00    1,085.00     1,085.00
Michael P. Esser                                           8.70    1,165.00    10,135.50
Alistair Fatheazam                                         0.50      740.00       370.00
Julia R. Foster                                            1.40      340.00       476.00
Meg McCarthy                                               1.20      340.00       408.00
Lekha Menon                                                4.70      725.00     3,407.50
Benjamin O'Connor                                          0.50      970.00       485.00
Michael B. Slade                                           3.70    1,395.00     5,161.50
Gregory Tsonis                                            44.20      970.00    42,874.00
Allyson Smith Weinhouse                                    0.30      965.00       289.50
Aparna Yenamandra                                          1.10    1,165.00     1,281.50

TOTALS                                                    71.10               $ 68,291.50




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Legal Services for the Period Ending June 30, 2020             Invoice Number:           1050032374
J.C. Penney Company, Inc.                                       Matter Number:              47223-8
Automatic Stay


                                       Description of Legal Services

Date     Name                                  Hours Description
05/18/20 Lekha Menon                            1.20 Review, revise suggestion of bankruptcy
                                                     notice (1.0); correspond with Company, A.
                                                     Weinhouse re same (.2).
05/18/20 Allyson Smith Weinhouse                0.30 Correspond with K&E team, Company re
                                                     suggestion of bankruptcy.
05/21/20 Lekha Menon                            0.30 Correspond with R. Chaikin re suggestion of
                                                     bankruptcy notice (.1); correspond with
                                                     Company re same (.2).
05/22/20 Lucas W. Brown                         2.60 Research and analyze precedent re automatic
                                                     stay (1.3); correspond with K&E team re
                                                     same (.4); draft summary re same (.9).
05/22/20 Chris Ceresa                           0.70 Research re automatic stay issues (.6);
                                                     correspond with L. Brown re same (.1).
05/22/20 Alistair Fatheazam                     0.50 Telephone conference with Company outside
                                                     counsel re automatic stay inquiries.
05/22/20 Lekha Menon                            0.20 Correspond with Company re automatic stay
                                                     issues.
05/26/20 Lekha Menon                            3.00 Correspond with M. Slade, B. O'Connor,
                                                     K&E team and Company re automatic stay
                                                     issues (1.2); analyze issues re automatic stay
                                                     (1.3); telephone conference with Company re
                                                     same (.5).
05/26/20 Benjamin O'Connor                      0.50 Telephone conference with Company counsel
                                                     re automatic stay issues.
06/09/20 Rebecca Blake Chaikin                  0.20 Correspond with J. Gordon re potential
                                                     automatic stay violation.
06/12/20 Gregory Tsonis                         0.50 Prepare for and attend telephone conference
                                                     with opposing counsel and M. Slade re
                                                     automatic stay.
06/16/20 Gregory Tsonis                         0.40 Review and analyze precedent re automatic
                                                     stay.
06/16/20 Aparna Yenamandra                      0.70 Correspond with K&E team re automatic stay
                                                     motions.
06/17/20 Gregory Tsonis                         3.20 Draft correspondence and coordinate
                                                     responses re motions/inquiries to lift
                                                     automatic stay.
06/17/20 Aparna Yenamandra                      0.40 Correspond with K&E team re lift stay
                                                     motions.



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J.C. Penney Company, Inc.                                       Matter Number:              47223-8
Automatic Stay

Date     Name                                  Hours Description
06/18/20 Gregory Tsonis                         2.00 Correspond with Company and insurer re
                                                     motions/inquiries to lift automatic stay (.6);
                                                     correspond with opposing counsel re
                                                     automatic stay motions (1.4).
06/19/20 Michael B. Slade                       1.10 Correspond with K&E team re lift stay
                                                     motions (.3); review same (.8).
06/19/20 Gregory Tsonis                         3.40 Draft summary and work plan of stay motions
                                                     (.6); review and analyze precedent re
                                                     objections to motions to lift stay (1.3); draft
                                                     objection (1.5).
06/22/20 Chris Ceresa                           0.30 Correspond with advisors and K&E team
                                                     including R. Chaikin re lift stay motion.
06/22/20 Julia R. Foster                        0.20 Research precedent re SDTX lift stay
                                                     objections.
06/22/20 Michael B. Slade                       1.20 Attend telephone conference with K&E team
                                                     re compensation issues (.4); review and revise
                                                     lift stay motions (.8).
06/22/20 Gregory Tsonis                         1.90 Draft correspondence re assorted litigation
                                                     and stay motions (.4); review and analyze
                                                     precedent and prior stay motion responses
                                                     (1.5).
06/23/20 Rebecca Blake Chaikin                  0.40 Correspond with K&E team re lift stay
                                                     motions status.
06/23/20 Michael P. Esser                       0.50 Correspond with M. Slade and G. Tsonis re
                                                     lift stay issues.
06/23/20 Julia R. Foster                        1.20 Coordinate suggestion of bankruptcy filing
                                                     logistics.
06/23/20 Gregory Tsonis                         4.30 Correspond with Company re litigation stay
                                                     issue (.2); draft correspondence re litigation
                                                     stay issue (.7); coordinate engagement of
                                                     local counsel (1.4); correspond with local
                                                     counsel re same (.4); correspond with local
                                                     counsel and opposing counsel re personal
                                                     injury claims (1.6).
06/24/20 Rebecca Blake Chaikin                  0.20 Correspond with G. Tsonis re lift stay
                                                     motions.
06/24/20 Michael P. Esser                       4.90 Review and analyze Hernandez lift stay
                                                     motion (1.5); review and analyze Oxford lift
                                                     stay motion (1.1); prepare for and participate
                                                     in conference with A. Yenamandra and G.
                                                     Tsonis re same (.6); research re self-insured
                                                     retention lift stay issues (.5); review and
                                                     analyze same (1.2).

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J.C. Penney Company, Inc.                                       Matter Number:               47223-8
Automatic Stay

Date     Name                                  Hours Description
06/24/20 Meg McCarthy                           1.20 Research precedent bankruptcy docket re
                                                     automatic stay issues (.8); organize relevant
                                                     documentation for attorney review re same
                                                     (.4).
06/24/20 Gregory Tsonis                         0.40 Draft correspondence re lift stay motions.
06/25/20 Chris Ceresa                           0.20 Correspond with advisors and K&E team
                                                     including R. Chaikin re issues related to lift
                                                     stay motion.
06/25/20 Michael P. Esser                       2.00 Review and analyze lift stay motions and
                                                     related correspondence (1.5); strategize re
                                                     witness needs and preparation issues (.5).
06/25/20 Gregory Tsonis                         6.10 Research and analyze precedent and draft lift
                                                     stay objection (4.3); correspond with
                                                     opposing counsel re lift stay motions (.3);
                                                     correspond with claimants re claims (1.5).
06/26/20 Rebecca Blake Chaikin                  0.20 Correspond with K&E team re lift-stay
                                                     motion.
06/26/20 Michael P. Esser                       0.50 Correspond with G. Tsonis re lift stay issues.
06/26/20 Gregory Tsonis                         8.90 Research and analyze precedent re lift stay
                                                     objections (4.3); draft objection re same (4.0);
                                                     correspond with opposing counsel re lift stay
                                                     motions (.6).
06/29/20 Gregory Tsonis                         6.70 Correspond with opposing counsel re lift stay
                                                     motion (.5); research and analyze precedent
                                                     and draft lift stay objections (5.6); draft
                                                     correspondence re lift stay motions (.6).
06/30/20 Michael P. Esser                       0.80 Correspond with G. Tsonis re Oxford lift stay
                                                     opposition (.5); correspond with M. Slade re
                                                     same (.3).
06/30/20 Michael B. Slade                       1.40 Attend telephone conference with K&E team
                                                     re Fischer lift stay motion (.5); attend
                                                     telephone conference with working group re
                                                     California case (.5); correspond with K&E
                                                     team re lift stay matters (.4).
06/30/20 Gregory Tsonis                         6.40 Correspond with opposing counsel re lift stay
                                                     motions (.6); research and analyze precedent
                                                     re same (1.3); draft motions re same (4.5).

Total                                           71.10




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                          FEIN XX-XXXXXXX




September 15, 2020

J.C. Penney Company, Inc.
6501 Legacy Drive
Plano, TX 75024

Attn: Brandy Treadway

                                                                            Invoice Number: 1050032375
                                                                              Client Matter: 47223-9

In the Matter of Non-Retail Business Operations / Contracts/ Vendor & Supplier Issues




For legal services rendered through June 30, 2020
(see attached Description of Legal Services for detail)                                                      $ 334,115.00
Total legal services rendered                                                                                $ 334,115.00




  Beijing Boston Chicago Dallas Hong Kong Houston London Los Angeles Munich Palo Alto Paris San Francisco Shanghai Washington, D.C.
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Legal Services for the Period Ending June 30, 2020           Invoice Number:    1050032375
J.C. Penney Company, Inc.                                     Matter Number:       47223-9
Non-Retail Business Operations / Contracts/ Vendor &
Supplier Issues




                                        Summary of Hours Billed

Name                                                       Hours        Rate      Amount
Margaret R. Alden                                            3.50     610.00      2,135.00
Lucas W. Brown                                              19.20     610.00     11,712.00
Chris Ceresa                                                 9.90     610.00      6,039.00
Rebecca Blake Chaikin                                       97.30   1,085.00    105,570.50
Alistair Fatheazam                                          12.00     740.00      8,880.00
Julia R. Foster                                              2.10     340.00        714.00
Yates French                                                 1.10   1,165.00      1,281.50
Jake William Gordon                                         21.00     845.00     17,745.00
Lanchi Huynh                                                 2.70   1,305.00      3,523.50
Nick Krislov                                                26.90     740.00     19,906.00
Aisha P. Lavinier                                            0.20   1,135.00        227.00
Peter J. Mee                                                 1.50   1,165.00      1,747.50
Lekha Menon                                                  3.40     725.00      2,465.00
Adine Mitrani                                               13.60     965.00     13,124.00
Benjamin O'Connor                                            8.00     970.00      7,760.00
Kimberly Pageau                                             90.20     740.00     66,748.00
Miriam A. Peguero Medrano                                    0.80     740.00        592.00
Jessie Perlman                                              13.50     610.00      8,235.00
Adam V. Petravicius                                          3.70   1,245.00      4,606.50
Prentis Robinson                                             8.70     610.00      5,307.00
Nicholas Ruge                                                2.40     835.00      2,004.00
Michael B. Slade                                             9.00   1,395.00     12,555.00
Josh Sussberg, P.C.                                          6.30   1,635.00     10,300.50
Seth Traxler, P.C.                                           0.30   1,495.00        448.50
Allyson Smith Weinhouse                                     19.30     965.00     18,624.50
Aparna Yenamandra                                            1.60   1,165.00      1,864.00

TOTALS                                                     378.20              $ 334,115.00




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Legal Services for the Period Ending June 30, 2020            Invoice Number:           1050032375
J.C. Penney Company, Inc.                                      Matter Number:              47223-9
Non-Retail Business Operations / Contracts/ Vendor &
Supplier Issues


                                      Description of Legal Services

Date     Name                                 Hours Description
05/16/20 Margaret R. Alden                     0.60 Telephone conference with counsel, A. Smith
                                                    Weinhouse, R. Chaikin re critical vendors
                                                    motion (.4); correspond with counsel, A.
                                                    Smith Weinhouse, R. Chaikin re same (.2).
05/17/20 Rebecca Blake Chaikin                 0.30 Telephone conference with Alix re pre-
                                                    petition and post-petition date invoice cutoff.
05/17/20 Allyson Smith Weinhouse               0.20 Telephone conference with Alix team, R.
                                                    Chaikin re timing considerations.
05/18/20 Margaret R. Alden                     1.00 Telephone conference with K&E team re
                                                    ongoing business operations issues (.5);
                                                    correspond with K&E team re same (.5).
05/18/20 Rebecca Blake Chaikin                 1.50 Telephone conference with K&E team re
                                                    brand issues (.5); telephone conference with
                                                    Company, Alix re vendor issues (1.0).
05/18/20 Kimberly Pageau                       0.90 Review, analyze precedent re vendor talking
                                                    points (.5); draft and revise same (.4).
05/18/20 Michael B. Slade                      1.60 Telephone conference with K&E team re
                                                    brand issues (.5); review and revise
                                                    documents (1.1).
05/18/20 Aparna Yenamandra                     0.60 Telephone conference with K&E team re
                                                    brand issue (.5); prepare for same (.1).
05/19/20 Margaret R. Alden                     0.30 Correspond with vendor, K&E team re trade
                                                    claimant issues.
05/19/20 Chris Ceresa                          1.10 Revise operations in bankruptcy presentation
                                                    (.9); correspond with A. Weinhouse re same
                                                    (.2).
05/19/20 Rebecca Blake Chaikin                 3.20 Correspond with Company and counsel to
                                                    vendors re vendor questions (.3); analyze
                                                    issues re same (.6) revise talking points for
                                                    vendor inquiries (.7); telephone conference
                                                    with Company re insurance matters (.6); daily
                                                    telephone conference with Company, Alix re
                                                    vendor issues (1.0).
05/19/20 Alistair Fatheazam                    0.50 Telephone conference with vendor re
                                                    outstanding issues.
05/19/20 Adine Mitrani                         0.30 Correspond with AlixPartners re private label
                                                    issues.




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Legal Services for the Period Ending June 30, 2020            Invoice Number:           1050032375
J.C. Penney Company, Inc.                                      Matter Number:              47223-9
Non-Retail Business Operations / Contracts/ Vendor &
Supplier Issues

Date     Name                                 Hours Description
05/19/20 Kimberly Pageau                       1.80 Review, revise vendor talking points (.3);
                                                    review vendor inquiries (.3); correspond with
                                                    K&E team re same (.2); attend supplier
                                                    telephone conference with Company, K&E
                                                    team (1.0).
05/20/20 Chris Ceresa                          3.00 Review, revise operations in bankruptcy deck
                                                    (2.8); correspond with Alix and A.
                                                    Weinhouse re same (.2).
05/20/20 Rebecca Blake Chaikin                 1.50 Correspond with M. Slade, JCP re marketing
                                                    contract (.7); analyze same (.8).
05/20/20 Rebecca Blake Chaikin                 1.00 Telephone conference with JCP, Alix re
                                                    vendor issues.
05/20/20 Kimberly Pageau                       1.20 Attend supplier telephone conference with
                                                    K&E team, Company, Alix (.5); review,
                                                    analyze critical vendor order (.3); correspond
                                                    with K&E team re vendor matters (.4).
05/20/20 Allyson Smith Weinhouse               1.60 Telephone conference with B. Treadway, R.
                                                    Chaikin re business operations (.9); telephone
                                                    conference with supplier management
                                                    committee team re vendor issues (.7).
05/21/20 Lucas W. Brown                        1.60 Correspond with K&E team, Company's
                                                    surety beneficiary and Alix re insurance,
                                                    surety bond order (.6); research issues re same
                                                    (.8); coordinate telephone conference re same
                                                    (.2).
05/21/20 Rebecca Blake Chaikin                 2.20 Correspond with Company re operations in
                                                    bankruptcy questions (1.4); telephone
                                                    conference with Company, Alix re vendor
                                                    issues (.8).
05/21/20 Kimberly Pageau                       0.50 Telephone conference with supplier
                                                    management committee re vendor issues.
05/21/20 Allyson Smith Weinhouse               1.80 Telephone conference with SMC team re
                                                    vendor issues (.8); correspond with Company,
                                                    Alix team re multiple vendor
                                                    outreach/inquiries (1.0).
05/22/20 Lucas W. Brown                        5.30 Telephone conference with K&E team and
                                                    Company surety beneficiary re bond
                                                    agreement (.3); prepare for same (.2);
                                                    research and analyze precedent re bond
                                                    agreements (3.3); correspond with K&E team
                                                    re same (.4); draft summary re same (1.1).



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Date     Name                                 Hours Description
05/22/20 Rebecca Blake Chaikin                 1.00 Correspond re vendor inquiries with
                                                    Company and K&E team (.2); telephone
                                                    conference re media contract with Company
                                                    (.6); prepare for same (.2).
05/22/20 Aisha P. Lavinier                     0.20 Review, analyze distribution center
                                                    optimization plan.
05/22/20 Allyson Smith Weinhouse               0.50 Telephone conference with Company re
                                                    surety claim (.3); follow up with Company re
                                                    same (.2).
05/24/20 Margaret R. Alden                     0.20 Correspond with K&E team re vendor trade
                                                    agreement issues.
05/24/20 Rebecca Blake Chaikin                 1.40 Correspond with Company re operating in
                                                    bankruptcy questions (.8); revise deck re same
                                                    (.6).
05/24/20 Seth Traxler, P.C.                    0.10 Correspond with K&E team re Company's
                                                    private brand merchandise.
05/25/20 Chris Ceresa                          1.70 Revise bankruptcy in operations deck (1.5);
                                                    correspond with K&E team re same (.2).
05/25/20 Rebecca Blake Chaikin                 1.40 Revise operating in bankruptcy deck (.6);
                                                    telephone conference with A. Yenamandra.
                                                    A. Weinhouse, J. Gordon re open items (.8).
05/26/20 Chris Ceresa                          0.30 Revise operations in bankruptcy presentation
                                                    (.2); correspond with R. Chaikin re same (.1).
05/26/20 Chris Ceresa                          1.00 Revise order for customer programs motion
                                                    (.6); correspond with TX AG, K&E team and
                                                    R. Chaikin re same (.4).
05/26/20 Rebecca Blake Chaikin                 4.50 Correspond with Company re creditor
                                                    inquiries, operating in bankruptcy and vendor
                                                    questions (1.9); telephone conference with
                                                    counsel to vendor re pre-petition claims (.3);
                                                    correspond with Alix re same (.1); telephone
                                                    conference with Company, Alix re supplier
                                                    issues (.8); revise operations in bankruptcy
                                                    deck (1.4).
05/26/20 Julia R. Foster                       0.50 Draft motion re customer programs order.
05/26/20 Kimberly Pageau                       1.90 Conference with Alix, K&E team re vendor
                                                    issues (.4); correspond with K&E team,
                                                    AlixPartners re same (1.5).
05/26/20 Allyson Smith Weinhouse               1.60 Telephone conference with Company, Alix re
                                                    supplier management committee (1.0);
                                                    correspond with K&E team, Alix re various
                                                    vendor inquiries (.6).

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Date     Name                                 Hours Description
05/27/20 Lucas W. Brown                        1.90 Research and analyze executory contracts
                                                    (1.3); correspond with K&E team re same
                                                    (.3); draft summary re same (.3).
05/27/20 Chris Ceresa                          1.10 Correspond with A. Weinhouse re customer
                                                    programs order amendment (.1); review and
                                                    analyze letters on docket (.8); correspond with
                                                    R. Chaikin re same (.2).
05/27/20 Rebecca Blake Chaikin                 3.20 Correspond with B. Treadway re operating in
                                                    bankruptcy questions (.6); telephone
                                                    conference with counsel to media vendor,
                                                    Company re media contract (.7); telephone
                                                    conference with Company re vendor contract
                                                    (.3); daily telephone conference with
                                                    Company, Alix re supplier issues (.8); analyze
                                                    issues re same (.8).
05/27/20 Kimberly Pageau                       1.20 Attend telephone conference with supplier
                                                    committee re supplier issues (.8); correspond
                                                    with vendors re vendor inquiries (.4).
05/28/20 Lucas W. Brown                        0.40 Telephone conference with interested party re
                                                    insurance claims (.2); telephone conference
                                                    with Company surety beneficiary re claim
                                                    against bond (.2).
05/28/20 Chris Ceresa                          0.30 Correspond with U.S. Trustee, JW and K&E
                                                    team re amended customer programs order.
05/28/20 Rebecca Blake Chaikin                 1.20 Correspond with L. Menon re homestead
                                                    operations questions (.1); correspond with
                                                    Company, Alix re operations and vendor
                                                    questions (1.1).
05/28/20 Peter J. Mee                          1.50 Correspond with K&E team re strategy re
                                                    reopening items.
05/28/20 Lekha Menon                           0.80 Telephone conference with P. Mee re return
                                                    to work issues (.5); correspond with Company
                                                    re same (.3).
05/28/20 Lekha Menon                           1.40 Correspond with B. O'Connor, K&E team re
                                                    return to work issues.
05/28/20 Kimberly Pageau                       1.50 Attend telephone conference with
                                                    AlixPartners, Company, K&E team re vendor
                                                    issues (1.0); correspond with K&E team re
                                                    same (.5).
05/28/20 Allyson Smith Weinhouse               0.40 Correspond with L. Brown re surety matter
                                                    (.2); review same (.2).



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Date     Name                                 Hours Description
05/29/20 Rebecca Blake Chaikin                 1.70 Correspond with Alix, K&E team re vendor
                                                    questions (.7); telephone conference with
                                                    Company, Alix re supplier issues (1.0).
05/29/20 Alistair Fatheazam                    1.80 Research re reclamation procedures (1.0);
                                                    review, analyze reclamation motion precedent
                                                    (.7); correspond with A. Weinhouse re same
                                                    (.1).
05/29/20 Kimberly Pageau                       4.40 Correspond with K&E team, AlixPartners re
                                                    ongoing vendor issues (2.3); research re
                                                    contract counterparty performance (2.1).
05/29/20 Allyson Smith Weinhouse               1.70 Review and correspond with Company re
                                                    insurance operations (.7); telephone
                                                    conference with Company re same (1.0).
05/29/20 Allyson Smith Weinhouse               0.70 Correspond with Company re contract
                                                    extension.
05/30/20 Alistair Fatheazam                    0.80 Research re reclamation procedures (.6);
                                                    correspond with A. Weinhouse and T. Smith
                                                    re same (.2).
05/30/20 Yates French                          1.10 Research re executory contracts issues.
05/30/20 Jessie Perlman                        1.00 Review and analyze vendor contract
                                                    addendum (.7); correspond with A. Mitrani re
                                                    same (.3).
05/30/20 Allyson Smith Weinhouse               0.60 Telephone conference with Company, counsel
                                                    re contract extension (.3); revise document re
                                                    same (.2); correspond with Company re same
                                                    (.1).
05/31/20   Rebecca Blake Chaikin               0.80 Correspond with vendor counsel re inquiries.
05/31/20   Jessie Perlman                      0.50 Review and analyze vendor contract.
05/31/20   Seth Traxler, P.C.                  0.20 Review, analyze vendor contract.
06/01/20   Rebecca Blake Chaikin               4.10 Correspond with vendor counsel re critical
                                                    vendor relief (.3); analyze supplier contract
                                                    issues (1.1); correspond with K. Pageau,
                                                    Company, Alix re same (.4); daily telephone
                                                    conference with Company, Alix, K&E team
                                                    re supplier issues (.8); correspond with
                                                    Company re operational questions (.7);
                                                    telephone conference with J. Bernbrock re
                                                    trade terms (.8).
06/01/20 Alistair Fatheazam                    1.40 Draft reclamation letters (.7); correspond with
                                                    A. Weinhouse and T. Smith re same (.2);
                                                    review precedent re same (.5).


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Date     Name                                 Hours Description
06/01/20 Adine Mitrani                         0.70 Conference with J. Perlman re vendor
                                                    bankruptcy addendum (.4); review and revise
                                                    follow-up questions for vendor (.3).
06/01/20 Kimberly Pageau                       2.50 Correspond and conferences with K&E team,
                                                    Company re vendor matters.
06/02/20 Rebecca Blake Chaikin                 3.30 Telephone conference with counsel re vendor
                                                    issue (.5); correspond with Company re
                                                    operational questions (.9); telephone
                                                    conference with Company, Alix, K&E team
                                                    re supplier issues (1.3); telephone conference
                                                    with S. Van Aalten re Nike (.2); analyze
                                                    supplier contract issues (.4).
06/02/20 Alistair Fatheazam                    1.00 Draft responses to reclamation letters.
06/02/20 Kimberly Pageau                       3.20 Telephone conferences with K&E team,
                                                    vendors re vendor and trade issues (1.8);
                                                    correspond with K&E team and vendors re
                                                    same (1.4).
06/02/20 Adam V. Petravicius                   0.50 Review and analyze vendor issues (.4);
                                                    correspond with A. Mitrani re same (.1).
06/03/20 Rebecca Blake Chaikin                 2.40 Correspond with Company, vendor counsel re
                                                    trade terms request (.2); telephone conference
                                                    with K&E team re software agreement (.9);
                                                    telephone conference with Company, Alix re
                                                    same (.5); analyze issues re same (.4);
                                                    correspond with Company, advisors re
                                                    operational questions (.4).
06/03/20 Alistair Fatheazam                    1.20 Draft and revise responses to reclamation
                                                    letters.
06/03/20 Kimberly Pageau                       1.50 Telephone conferences with Company, K&E
                                                    team re vendor matters (.7); correspond with
                                                    Company and K&E team re same (.8).
06/03/20 Jessie Perlman                        1.50 Attend telephone conference with working
                                                    group re vendor contracts (1.0); review and
                                                    analyze correspondence re same (.5).
06/03/20 Adam V. Petravicius                   0.70 Telephone conferences with working group re
                                                    vendor issues (.5); review and analyze same
                                                    (.2).
06/03/20 Allyson Smith Weinhouse               0.50 Telephone conference with surety re bond
                                                    issues (.3); correspond with L. Brown re same
                                                    (.2).




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Date     Name                                 Hours Description
06/04/20 Rebecca Blake Chaikin                 1.90 Correspond with Company, vendor counsel re
                                                    trade terms requests (.2); telephone
                                                    conference with working group re Expediters
                                                    (.3); daily telephone conference with
                                                    Company, Alix, K&E team re supplier issues
                                                    (1.3); telephone conference with R. Robbins
                                                    re 503(b)(9) claims (.1).
06/04/20 Alistair Fatheazam                    0.70 Draft reclamation response letters (.5);
                                                    review, analyze reclamation demands re same
                                                    (.2).
06/04/20 Kimberly Pageau                       4.10 Telephone conferences with Company, K&E
                                                    team, vendors re vendor matters (1.4);
                                                    correspond with Company, K&E team and
                                                    vendors re same (1.4); review, revise vendor
                                                    trade agreement precedent (.8); review,
                                                    analyze vendor issues and correspond with
                                                    K&E team re same (.5).
06/05/20 Rebecca Blake Chaikin                 1.90 Telephone conferences with vendor counsel
                                                    re trade terms (.8); correspond with Company,
                                                    Alix re operations questions (1.1).
06/05/20 Alistair Fatheazam                    1.20 Draft responses to reclamation demands.
06/05/20 Kimberly Pageau                       5.00 Telephone onferences with K&E team,
                                                    Company re vendor issues (.6); telephone
                                                    conference with vendor re same (.3); review,
                                                    analyze vendor issues (1.3); correspond with
                                                    K&E team, AlixPartners re same (1.3); draft
                                                    vendor agreement (1.5).
06/05/20 Michael B. Slade                      0.70 Correspond with K&E team re contracts (.5);
                                                    review materials re same (.2).
06/08/20 Lucas W. Brown                        0.70 Correspond with K&E team re same (.2);
                                                    correspond with Company surety bond
                                                    beneficiary re settlement (.3); correspond with
                                                    K&E team re same (.2).
06/08/20 Rebecca Blake Chaikin                 2.10 Correspond with K. Pageau, A. Yenamandra
                                                    re supplier issues (.5); daily telephone
                                                    conference with Company, Alix, K&E team
                                                    re supplier issues (.9); telephone conference
                                                    with J. Bernbrock re trade terms (.3); review
                                                    trade terms agreement (.4).
06/08/20 Alistair Fatheazam                    0.80 Review, revise and send reclamation response
                                                    letters.
06/08/20 Adine Mitrani                         0.80 Analyze existing vendor agreements.


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Date     Name                                 Hours Description
06/08/20 Kimberly Pageau                       3.20 Conferences and correspond with K&E team,
                                                    vendors re ongoing vendor and trade matters.
06/08/20 Jessie Perlman                        1.50 Review vendor addendums (1.0); correspond
                                                    with K&E team re same (.5).
06/08/20 Aparna Yenamandra                     0.60 Correspond with working group re vendor
                                                    issues.
06/09/20 Lucas W. Brown                        2.40 Correspond with K&E team and Company
                                                    surety bond beneficiary re Company surety
                                                    bond (.8); draft and revise stipulation re same
                                                    (1.6).
06/09/20 Rebecca Blake Chaikin                 2.80 Telephone conferences with Company, Alix
                                                    re Nike negotiations (.8); telephone
                                                    conferences with Nike counsel, UCC re same
                                                    (.9); correspond with same re same (.2);
                                                    telephone conference with K. Pageau,
                                                    opposing counsel re contract renegotiation
                                                    (.5); daily telephone conference with
                                                    Company, Alix, K&E team re supplier issues
                                                    (.4).
06/09/20 Kimberly Pageau                       2.80 Review, revise critical vendor order (.2);
                                                    review, analyze vendor issues (.5); correspond
                                                    with K&E team, working group re same (1.8);
                                                    conference with vendors re vendor matters,
                                                    agreement (.3).
06/09/20 Jessie Perlman                        0.50 Review and analyze vendor contracts.
06/10/20 Rebecca Blake Chaikin                 1.20 Telephone conference with Nike counsel re
                                                    trade terms negotiation (.3); correspond with
                                                    same, Company, K&E team, Alix re same
                                                    (.4); telephone conference with J. Sussberg,
                                                    A. Yenamandra re same (.5).
06/10/20 Adine Mitrani                         2.80 Evaluate existing vendor agreements and
                                                    revise vendor addenda.
06/10/20 Kimberly Pageau                       5.40 Review, analyze vendor issues (2.5);
                                                    telephone conferences with K&E team,
                                                    Company, AlixPartners re same (.9);
                                                    correspond with K&E team, Company and
                                                    AlixPartners re same (1.0); review, revise
                                                    critical vendor order and correspond with
                                                    working group re same (1.0).
06/10/20 Jessie Perlman                        2.50 Review and analyze vendor contracts and
                                                    addendum (2.0); correspond with A. Mitrani
                                                    re same (.5).


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Date     Name                                 Hours Description
06/10/20 Adam V. Petravicius                   0.50 Review and draft revisions to vendor
                                                    addendum (.3); correspond with vendor re
                                                    same (.2).
06/10/20 Prentis Robinson                      0.50 Research re executory contract (.3);
                                                    correspond with M. Alden re same (.2).
06/10/20 Josh Sussberg, P.C.                   1.20 Telephone conference with management re
                                                    status (.6); telephone conference with R.
                                                    Chaikin, M. Slade and A. Yenamandra re
                                                    hearing (.6).
06/11/20 Rebecca Blake Chaikin                 1.70 Telephone conferences with Company, Nike
                                                    counsel re trade terms (.4); correspond with J.
                                                    Gordon, N. Krislov, Company re Nike 9019
                                                    (.9); review proposed Nike agreement (.4).
06/11/20 Alistair Fatheazam                    2.00 Correspond with K&E team and correspond
                                                    and telephone conference with Alix re
                                                    reclamation demand (.6); review, analyze
                                                    correspondence re same (.5); revise
                                                    reclamation response letter (.4); correspond
                                                    with vendor counsel and third parties re
                                                    reclamation response (.5).
06/11/20 Julia R. Foster                       0.50 Draft 9019 motion.
06/11/20 Julia R. Foster                       0.30 Draft 9019 seal motion.
06/11/20 Jake William Gordon                   0.90 Correspond with R. Chaikin and K&E team re
                                                    Vendor issue (.4); review materials re same
                                                    (.5).
06/11/20 Nick Krislov                          3.80 Draft, revise 9019 settlement motion (2.8);
                                                    review, analyze trade agreement re same (.6);
                                                    correspond with K&E team re same (.4).
06/11/20 Adine Mitrani                         1.40 Telephone conference with Company re
                                                    vendor addenda (.5); prepare for same (.2);
                                                    telephone conference with Y. Dard re
                                                    proposed language (.7).
06/11/20 Kimberly Pageau                       3.20 Review, analyze ongoing vendor matters
                                                    (2.0); conferences with K&E team, Company,
                                                    advisors re same (.6); correspond with K&E
                                                    team, Company, advisors re same (.6).
06/11/20 Jessie Perlman                        1.00 Attend telephone conference with K&E team
                                                    re vendor addendums (.5); review updated
                                                    vendor addendums (.5).
06/11/20 Adam V. Petravicius                   0.50 Telephone conference with Company re
                                                    vendor.
06/11/20 Josh Sussberg, P.C.                   0.20 Correspond with D. Fiorillo re Sephora.

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Date     Name                                 Hours Description
06/11/20 Josh Sussberg, P.C.                   0.50 Attend telephone conference re Nike with
                                                    Company (.3); correspond with Nike and
                                                    UCC re same (.2).
06/11/20 Aparna Yenamandra                     0.40 Telephone conference re key vendor issues.
06/12/20 Lucas W. Brown                        0.60 Research and analyze precedent re executory
                                                    contracts (.4); correspond with KE team re
                                                    same (.2).
06/12/20 Rebecca Blake Chaikin                 7.90 Telephone conference with Company, Alix,
                                                    K&E team re supplier issues (.5); correspond
                                                    with Company re operations and contracts
                                                    questions (1.2); revise Nike agreement (1.7);
                                                    telephone conference with Company re same
                                                    (.5); telephone conferences with Nike counsel
                                                    re same (.6); correspond with same and
                                                    Company re same (1.4); telephone conference
                                                    with M. Cavenaugh re same (.5); telephone
                                                    conference with B. Kinney re same (.3);
                                                    correspond with J. Gordon, N. Krislov re
                                                    9019 pleadings re same (1.2).
06/12/20 Jake William Gordon                   7.80 Review, analyze issues re Nike settlement
                                                    (2.4); draft motion re same (3.9); correspond
                                                    with K&E team re same (.9); revise motion re
                                                    same (.6).
06/12/20 Nick Krislov                          6.00 Draft, revise 9019 settlement motion (3.1);
                                                    correspond with K&E team re same (.4);
                                                    review, analyze settlement agreement updates
                                                    (.4); update, revise sealing motion (1.7);
                                                    research, analyze case law re same (.4).
06/12/20 Adine Mitrani                         0.30 Review and finalize vendor addenda.
06/12/20 Kimberly Pageau                       1.70 Review, analyze vendor matters (1.0);
                                                    conferences with K&E team, Company re
                                                    same (.7).
06/12/20 Prentis Robinson                      2.10 Prepare motion to seal re Nike settlement
                                                    agreement (1.1); review precedent re same
                                                    (1.0).
06/12/20 Josh Sussberg, P.C.                   0.70 Correspond with K&E team, UCC re Nike
                                                    agreement.




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Date     Name                                 Hours Description
06/13/20 Rebecca Blake Chaikin                 12.70 Correspond with Company, K&E team, Alix,
                                                     S. Van Aalten, Milbank, Nike counsel re Nike
                                                     9019 motion and preference analysis (4.2);
                                                     revise 9019 motion and motion to seal (6.3);
                                                     telephone conference with J. Useforge re
                                                     same (.4); telephone conference with M.
                                                     Slade, J. Gordon re same (.4); telephone
                                                     conference with Milbank re same (.2);
                                                     telephone conferences with Alix, JW re
                                                     preference analysis (.6); correspond with
                                                     same and Company re same (.6).
06/13/20 Jake William Gordon                    1.90 Review, revise Nike settlement motion.
06/13/20 Nick Krislov                           2.80 Telephone conference with K&E team re
                                                     settlement motion and declarations (.4);
                                                     update, revise settlement motion (.4); draft,
                                                     revise presentation re settlement motion (1.8);
                                                     correspond with K&E team re same (.2).
06/13/20 Benjamin O'Connor                      1.40 Prepare outline for direct examination of
                                                     Robb McWilliams in support of motion to
                                                     approve settlement agreement between Nike
                                                     and Company.
06/13/20 Benjamin O'Connor                      2.20 Attend telephone conference with R. Chaikin,
                                                     M. Slade, J. Gordon, N. Ruge and others re
                                                     settlement agreement between Nike and
                                                     Company as well as motion to approve same
                                                     (.5); review and analyze settlement agreement
                                                     (.4); review and analyze Company litigation
                                                     schedule re Nike (.4); review, analyze and
                                                     revise motion to approve settlement
                                                     agreement between Nike and Company (.9).
06/13/20 Prentis Robinson                       0.30 Telephone conference with K&E team re
                                                     Nike settlement.
06/13/20 Nicholas Ruge                          0.60 Correspond with R. Chaikin, M. Slade re
                                                     Nike critical vendor motion (.4); analyze draft
                                                     correspondence and diligence tracker for
                                                     independent directors (.1); correspond with B.
                                                     O'Connor re Nike critical vendor hearing (.1).
06/13/20 Michael B. Slade                       2.10 Attend telephone conference with K&E team
                                                     re Nike issues (.4); review and revise brief
                                                     (1.3); review and revise hearing preparation
                                                     (.4).




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06/14/20 Rebecca Blake Chaikin                 2.90 Revise settlement motion and sealing motion
                                                    (1.4); telephone conferences with L. Hunyh,
                                                    B. Treadway re cleansing issue re same (.6);
                                                    telephone conference with S. Van Aalten re
                                                    preference analysis (.2); correspond with
                                                    Milbank, K&E re lender approval re Nike
                                                    agreement (.7).
06/14/20 Jake William Gordon                   1.50 Review, revise Nike settlement motion and
                                                    order.
06/14/20 Lanchi Huynh                          2.70 Telephone conferences with Milbank and
                                                    K&E teams re matters relating to Nike motion
                                                    (.5); review and comment on Nike motion
                                                    (1.6); review matters relating to same (.4);
                                                    correspond with Milbank re cleansing and
                                                    disclosure re same (.2).
06/14/20 Nick Krislov                          6.80 Update, revise 9019 motion (1.1); prepare
                                                    9019 motion for filing (.6); draft, revise 9019
                                                    motion hearing presentation (2.4); correspond
                                                    with K&E team re same (.6); draft, revise
                                                    talking points re 9019 motion (1.7);
                                                    correspond with K&E team re same (.4).
06/14/20 Benjamin O'Connor                     2.90 Review and analyze motion to approve
                                                    settlement agreement between Nike and
                                                    Company (.8); review and analyze preference
                                                    analysis re payments to Nike (.4); prepare
                                                    outline for direct examination of Robb
                                                    McWilliams in support of motion to approve
                                                    settlement agreement between Nike and
                                                    Company (1.7).
06/14/20 Nicholas Ruge                         1.80 Review draft Nike motion (.6); draft and
                                                    revise direct examination of R. McWilliams
                                                    re Nike settlement hearing (1.2).
06/14/20 Michael B. Slade                      1.90 Review and revise materials re Nike (.8);
                                                    revise outline for hearing (.7); correspond
                                                    with K&E team re same (.4).




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Legal Services for the Period Ending June 30, 2020           Invoice Number:           1050032375
J.C. Penney Company, Inc.                                     Matter Number:              47223-9
Non-Retail Business Operations / Contracts/ Vendor &
Supplier Issues

Date     Name                                 Hours Description
06/15/20 Rebecca Blake Chaikin                 7.80 Coordinate filing of Nike 9019 motions (.6);
                                                    correspond re same with UCC, Company (.8);
                                                    telephone conferences with S. Van Aalten re
                                                    same (.4); telephone conference re
                                                    preparations for hearing re same with K&E
                                                    team, JW (.5); analyze issues re same (.6);
                                                    review outline for J. Mesterharm direct re
                                                    same (.5); review vendor agreement (.2);
                                                    correspond with K. Pageau re same (.2); daily
                                                    telephone conference with Company, Alix,
                                                    K&E team re supplier issues (1.0); telephone
                                                    conferences with vendors counsel re supplier
                                                    trade terms (1.0); telephone conference with
                                                    Company re same (.3); correspond with
                                                    Company re miscellaneous operating
                                                    questions (1.7).
06/15/20 Jake William Gordon                   1.40 Telephone conferences with Company re
                                                    payment issues.
06/15/20 Jake William Gordon                   1.80 Revise Nike pleadings (1.3); correspond with
                                                    K&E team re same (.5).
06/15/20 Nick Krislov                          2.50 Update, revise 9019 motion hearing
                                                    presentation (1.3); correspond with R.
                                                    Chaikin re same (.2); update, revise talking
                                                    points re same (.7); correspond with K&E
                                                    team re same (.3).
06/15/20 Lekha Menon                           1.20 Attend telephone conference with M. Slade,
                                                    Company, advisors and Milbank re vendor
                                                    agreement (.5); analyze same (.5); correspond
                                                    with M. Slade, S. Hudson re same (.2).
06/15/20 Benjamin O'Connor                     0.80 Review and analyze outline for direct
                                                    examination of Robb McWilliams in support
                                                    of motion to confirm Nike trade agreement
                                                    (.3); attend telephone conference with Robb
                                                    McWilliams, M. Slade, R. Chaikin, and N.
                                                    Ruge re preparation for testimony in support
                                                    of motion to confirm Nike trade agreement
                                                    (.5).
06/15/20 Kimberly Pageau                       1.10 Telephone conferences with K&E team,
                                                    Company re ongoing vendor issues (.3);
                                                    correspond with K&E team and Company re
                                                    same (.3); telephone conference with K&E
                                                    team and Company re same (.5).



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J.C. Penney Company, Inc.                                      Matter Number:              47223-9
Non-Retail Business Operations / Contracts/ Vendor &
Supplier Issues

Date     Name                                 Hours Description
06/15/20 Michael B. Slade                      2.30 Review and analyze Nike prep (.9); attend
                                                    telephone conference with K&E team re
                                                    schedules (.3); review materials re same (.2);
                                                    attend telephone conference with Company
                                                    and advisors re vendor (.5); review materials
                                                    re same (.4).
06/15/20 Josh Sussberg, P.C.                   0.30 Correspond with K&E team re Nike.
06/16/20 Lucas W. Brown                        1.10 Correspond with K&E team, Company, and
                                                    Company surety bond beneficiary re
                                                    stipulation (.4); draft and revise same (.7).
06/16/20 Rebecca Blake Chaikin                 4.70 Draft talking points for Nike hearing (2.3);
                                                    present at hearing (.8); prepare for same (.3);
                                                    telephone conference with counsel to Nike
                                                    (.2); correspond with counsel to Nike and
                                                    Company re delivery of goods (.7); daily
                                                    telephone conference with Company, Alix,
                                                    K&E team re supplier issues (.4).
06/16/20 Adine Mitrani                         0.50 Review and evaluate settlement agreement
                                                    (.3); telephone conference with S. Traxler and
                                                    A. Petravicius re next steps (.2).
06/16/20 Kimberly Pageau                       1.10 Telephone conferences with K&E team,
                                                    Company re ongoing vendor issues.
06/16/20 Jessie Perlman                        1.00 Attend telephone conference re IP contract
                                                    assumption and assignment.
06/16/20 Michael B. Slade                      0.40 Review vendor issues.
06/17/20 Rebecca Blake Chaikin                 3.80 Telephone conference with counsel to Nike re
                                                    goods shipments (.2); correspond with
                                                    Company re same (.2); correspond with Alix
                                                    re critical vendor dollars approval process
                                                    (.4); telephone conference with K. Pageau,
                                                    Alix re fixtures supplier issue (.4); telephone
                                                    conference with R. Robbins, K. Pageau,
                                                    vendor counsel re supplier issues (.5);
                                                    correspond with Company, Alix re operating
                                                    questions (.8); telephone conference with D.
                                                    Bullington re escheatment questions (.6);
                                                    telephone conference with Company, Alix re
                                                    same (.3); prepare for same (.4).
06/17/20 Alistair Fatheazam                    0.60 Draft, coordinate service of reclamation
                                                    response letter.




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J.C. Penney Company, Inc.                                     Matter Number:              47223-9
Non-Retail Business Operations / Contracts/ Vendor &
Supplier Issues

Date     Name                                 Hours Description
06/17/20 Kimberly Pageau                       4.90 Correspond with K&E team, AlixPartners re
                                                    critical vendor matters, business operations
                                                    (3.5); correspond with vendor re trade
                                                    agreement (.3); attend telephone conference
                                                    with AlixPartners, Company re same (.7);
                                                    conference with vendor, K&E team re trade
                                                    terms (.4).
06/17/20 Josh Sussberg, P.C.                   3.40 Telephone conference with management re
                                                    outstanding issues (1.0); telephone conference
                                                    with UCC re same (.6); telephone conference
                                                    with Fortress re real estate (.4); correspond
                                                    with K&E team re same (.4); telephone
                                                    conference with Company, Lazard and B.
                                                    Riley re landlord matters (.7); correspond
                                                    with K&E team re DIP amendment (.3).
06/18/20 Chris Ceresa                          0.30 Review de minimis asset sale motion.
06/18/20 Kimberly Pageau                       3.40 Telephone conferences with various vendors
                                                    re ongoing trade (1.9); correspond with
                                                    various vendors re same (.8); telephone
                                                    conference with AlixPartners, K&E team re
                                                    vendor matters (.7).
06/18/20 Allyson Smith Weinhouse               0.90 Review, analyze vendor outreach/matters.
06/19/20 Kimberly Pageau                       3.10 Correspond with vendors, K&E team re
                                                    ongoing vendor matters.
06/19/20 Prentis Robinson                      0.60 Draft stipulation and agreed order re PBGC
                                                    claims.
06/22/20 Lucas W. Brown                        1.30 Telephone conference with Company surety
                                                    beneficiary re stipulation (.2); correspond
                                                    with K&E team re same (.2); review and
                                                    analyze precedent re same (.9).
06/22/20 Rebecca Blake Chaikin                 2.00 Telephone conference with vendor counsel re
                                                    trade terms (.5); review media supplier
                                                    agreement (.4); telephone conference with
                                                    Company re same (.6); correspond with K.
                                                    Pageau re same (.1); correspond with K&E
                                                    team, Company re operating questions (.4).
06/22/20 Julia R. Foster                       0.50 Draft stipulation re surety bond.
06/22/20 Adine Mitrani                         1.50 Review and evaluate settlement agreement
                                                    (.8); summarize findings and analysis for IP
                                                    team (.7).




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J.C. Penney Company, Inc.                                      Matter Number:                47223-9
Non-Retail Business Operations / Contracts/ Vendor &
Supplier Issues

Date     Name                                 Hours Description
06/22/20 Kimberly Pageau                       1.90 Telephone conferences with AlixPartners,
                                                    K&E team re vendor and contract issues
                                                    (1.0); attend supplier committee telephone
                                                    conference with Company (.9).
06/22/20 Prentis Robinson                      0.70 Correspond with Company, A. Yenamandra
                                                    and K&E team re stipulation with PBGC.
06/22/20 Allyson Smith Weinhouse               1.00 Correspond with K&E team, Alix re vendor
                                                    issues.
06/23/20 Lucas W. Brown                        1.90 Correspond with K&E team and Company
                                                    surety beneficiary re stipulation (.4); draft and
                                                    revise same (1.1); review and analyze
                                                    precedent re same (.4).
06/23/20 Chris Ceresa                          0.40 Telephone conference with vendor and K.
                                                    Pageau re outstanding issues and amendment
                                                    to contract.
06/23/20 Rebecca Blake Chaikin                 1.40 Correspond with JW, K&E team, Nike re
                                                    9019 Nike objection deadline (.3); review
                                                    CNO and proposed order re same (.3);
                                                    correspond with K&E team re open operating
                                                    in bankruptcy questions (.8).
06/23/20 Julia R. Foster                       0.30 Prepare Nike 9019 final order.
06/23/20 Jake William Gordon                   0.90 Correspond with Company re consignment
                                                    issues.
06/23/20 Benjamin O'Connor                     0.70 Prepare exhibit list for motion on final order
                                                    approving trade agreement with Nike (.2);
                                                    correspond with R. Chaikin, K&E team and
                                                    R. McWilliams re preparation for potential
                                                    hearing on motion for final order (.5).
06/23/20 Kimberly Pageau                       4.70 Telephone conferences with AlixPartners,
                                                    vendors, K&E team re various vendor matters
                                                    (1.5); review, analyze vendor issues (2.2);
                                                    telephone conference with supplier
                                                    management committee re ongoing vendor
                                                    issues (1.0).
06/23/20 Prentis Robinson                      0.20 Correspond with Company, K&E team,
                                                    PBGC re stipulation and order.
06/23/20 Allyson Smith Weinhouse               1.00 Correspond with Company, Alix team re
                                                    various vendor matters (.6); analyze same
                                                    (.4).
06/24/20 Margaret R. Alden                     1.40 Review, analyze executory contract re SOW
                                                    issues (.2); research re same (.9); correspond
                                                    with Alix, K. Pageau, K&E team re same (.3).

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J.C. Penney Company, Inc.                                     Matter Number:             47223-9
Non-Retail Business Operations / Contracts/ Vendor &
Supplier Issues

Date     Name                                 Hours Description
06/24/20 Lucas W. Brown                        0.90 Draft and revise stipulation re Company
                                                    surety beneficiary (.6); correspond with K&E
                                                    team and Company re same (.3).
06/24/20 Rebecca Blake Chaikin                 1.10 Telephone conference with Nike counsel re
                                                    9019 order (.3); correspond with Alix, K.
                                                    Pageau re contract rejection questions (.6);
                                                    telephone conference with D. Fiorillo re RTV
                                                    rights (.2).
06/24/20 Jake William Gordon                   2.10 Correspond with Company, vendors re
                                                    consignment payments.
06/24/20 Adine Mitrani                         0.80 Prepare for and participate in telephone
                                                    conference re brand issues.
06/24/20 Adine Mitrani                         0.50 Telephone conference with C. Ray re
                                                    settlement agreement.
06/24/20 Kimberly Pageau                       4.90 Telephone conferences with K&E team,
                                                    Company re vendor issues and executory
                                                    contracts (1.1); correspond with K&E team
                                                    and Company re same (1.0); analyze issues re
                                                    same (2.5); attend supplier committee
                                                    telephone conference with Company (.3).
06/24/20 Miriam A. Peguero Medrano             0.80 Review vendor contract (.5); correspond with
                                                    A. Weinhouse re same (.2); correspond with
                                                    Company re same (.1).
06/24/20 Jessie Perlman                        1.00 Review and analyze vendor contracts.
06/24/20 Prentis Robinson                      0.40 Draft stipulation and order (.2); correspond
                                                    with PBGC re same (.2).
06/24/20 Allyson Smith Weinhouse               1.60 Review and correspond re vendor issues.
06/25/20 Rebecca Blake Chaikin                 1.40 Correspond with K&E team, Alix re critical
                                                    vendor dollar requests (.9); telephone
                                                    conference with Alix re contracts questions
                                                    (.5).
06/25/20 Jake William Gordon                   2.10 Correspond with Company and consignors re
                                                    ongoing analysis.
06/25/20 Kimberly Pageau                       4.50 Telephone conference with Hilco and Gordon
                                                    Brothers re RTV rights (.2); telephone
                                                    conference with Alix re cure claim budget
                                                    (.5); analyze various vendor issues (2.9);
                                                    correspond with K&E team, Alix re same (.9).
06/25/20 Allyson Smith Weinhouse               0.20 Correspond with M. Peguero-Medrano re
                                                    stipulation.



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J.C. Penney Company, Inc.                                     Matter Number:             47223-9
Non-Retail Business Operations / Contracts/ Vendor &
Supplier Issues

Date     Name                                 Hours Description
06/26/20 Lucas W. Brown                        0.30 Correspond with K&E team and Company
                                                    surety beneficiary re joint stipulation and
                                                    order (.1); review and revise same (.2).
06/26/20 Chris Ceresa                          0.40 Correspond with Company re rent deferral
                                                    motion compliance (.2); telephone conference
                                                    with Company, advisors and R. Chaikin re
                                                    operations issues (.2).
06/26/20 Rebecca Blake Chaikin                 0.60 Telephone conference with J. DePaul re
                                                    vendor question (.2); telephone conference
                                                    with Company, Alix, K&E team re supplier
                                                    issues (.4).
06/26/20 Kimberly Pageau                       4.00 Analyze various vendor issues (3.1);
                                                    correspond with Alix, K&E team re same (.5);
                                                    attend supplier management conference with
                                                    Company re same (.4).
06/26/20 Prentis Robinson                      1.80 Review master service agreement and related
                                                    schedules (.5); research re section 365 (.4);
                                                    prepare analysis re same (.9).
06/26/20 Allyson Smith Weinhouse               2.00 Analyze various vendor issues (1.1);
                                                    correspond with Alix, K&E team re same (.5);
                                                    attend supplier management telephone
                                                    conference with Company re same (.4).
06/27/20 Lucas W. Brown                        0.80 Draft and revise stipulation re Company
                                                    surety beneficiary (.6); correspond with K&E
                                                    team re same (.2).
06/27/20 Rebecca Blake Chaikin                 0.60 Analyze issue re insurance proceeds (.4);
                                                    telephone conference with L. Walton re same
                                                    (.2).
06/27/20 Prentis Robinson                      1.10 Review master service agreement and related
                                                    schedules (.3); revise analysis re same (.8).
06/27/20 Allyson Smith Weinhouse               0.20 Correspond with L. Brown re surety matters.
06/28/20 Kimberly Pageau                       0.80 Review, analyze research re severability of
                                                    executory contracts.
06/28/20 Jessie Perlman                        0.50 Correspond with K&E team re vendor
                                                    contracts.
06/28/20 Prentis Robinson                      1.00 Revise analysis re executory contract (.8);
                                                    correspond with K. Pageau re same (.2).
06/29/20 Rebecca Blake Chaikin                 1.00 Telephone conference with D. Bullington re
                                                    unclaimed property (.5); telephone conference
                                                    with Alix re contracts questions (.5).
06/29/20 Jake William Gordon                   0.40 Correspond with consignor re payment.


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J.C. Penney Company, Inc.                                      Matter Number:             47223-9
Non-Retail Business Operations / Contracts/ Vendor &
Supplier Issues

Date     Name                                 Hours Description
06/29/20 Nick Krislov                          2.60 Research, analyze issues re consignment
                                                    (2.3); correspond with J. Gordon re same (.3).
06/29/20 Kimberly Pageau                       3.50 Analyze various ongoing vendor and trade
                                                    matters (2.5); correspond with K&E team re
                                                    same (.6); telephone conference with
                                                    Company re vendor issues (.4).
06/29/20 Kimberly Pageau                       0.50 Participate in weekly telephone conference
                                                    with K&E team, Alix re contracts.
06/29/20 Jessie Perlman                        1.00 Review and analyze vendor contracts (.5);
                                                    correspond with K&E team re same (.5).
06/29/20 Allyson Smith Weinhouse               1.80 Review, analyze vendor issues (1.4);
                                                    telephone conference with Company re same
                                                    (.4).
06/30/20 Chris Ceresa                          0.30 Correspond with Company and landlords re
                                                    insurance issues.
06/30/20 Rebecca Blake Chaikin                 3.10 Review stipulation re surety bond (.4);
                                                    telephone conference with M. Slade and local
                                                    counsel re expired checks issue (.5);
                                                    correspond with K. Pageau, A. Weinhouse re
                                                    vendor and contract questions (1.3); review
                                                    unclaimed property response letter (.3);
                                                    telephone conference re vendor question with
                                                    K&E team, Company, Alix (.4); review U.S.
                                                    Trustee stipulation re cash management (.2).
06/30/20 Jake William Gordon                   0.20 Review consignment issues.
06/30/20 Nick Krislov                          2.40 Telephone conference with Alix, J. Gordon re
                                                    drop ship and consignment vendors (.2);
                                                    research, analyze issues re same (2.0);
                                                    correspond with J. Gordon re same (.2).
06/30/20 Adine Mitrani                         4.00 Review and evaluate vendor agreements
                                                    (2.0); telephone conference with IP team re
                                                    same (.5); telephone conference with K&E
                                                    team re rejections process and share findings
                                                    with Alix team (1.0); telephone conference
                                                    with IP team re settlement agreement (.5).
06/30/20 Kimberly Pageau                       3.60 Review, analyze various vendor and contract
                                                    issues (2.1); correspond with vendors, K&E
                                                    team re same (.8); telephone conference with
                                                    Company re ongoing vendor issues (.7).




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J.C. Penney Company, Inc.                                     Matter Number:              47223-9
Non-Retail Business Operations / Contracts/ Vendor &
Supplier Issues

Date     Name                                 Hours Description
06/30/20 Kimberly Pageau                       2.20 Review, analyze executory contracts (1.1);
                                                    conference with AlixPartners re contract
                                                    issues (.6); correspond with K&E team re
                                                    executory contract rejection timelines and
                                                    issues (.5).
06/30/20 Jessie Perlman                        1.50 Review vendor license agreement and discuss
                                                    same with A. Petravicius and A. Mitrani
                                                    (1.0); attend telephone conference with K&E
                                                    team re settlement agreement (.5).
06/30/20 Adam V. Petravicius                   1.50 Review and analyze data provisions in vendor
                                                    contract being considered for rejection (.2);
                                                    review and analyze summaries of IP
                                                    ownership questions and patent settlement
                                                    agreement (.5); correspond with A. Mitrani re
                                                    same (.3); telephone conference with C. Ray,
                                                    J. Schweitzer, A. Mitrani and J. Perlman re
                                                    settlement agreement (.5).
06/30/20 Allyson Smith Weinhouse               1.00 Correspond with M. Peguero-Medrano re
                                                    stipulation (.2); correspond with K&E team,
                                                    Alix re contract assessments (.8).

Total                                        378.20




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                          FEIN XX-XXXXXXX




September 15, 2020

J.C. Penney Company, Inc.
6501 Legacy Drive
Plano, TX 75024

Attn: Brandy Treadway

                                                                            Invoice Number: 1050032376
                                                                              Client Matter: 47223-10

In the Matter of Retail Business Operations / Unexpired Leases / GOB Sales




For legal services rendered through June 30, 2020
(see attached Description of Legal Services for detail)                                                   $ 1,275,256.50
Total legal services rendered                                                                             $ 1,275,256.50




  Beijing Boston Chicago Dallas Hong Kong Houston London Los Angeles Munich Palo Alto Paris San Francisco Shanghai Washington, D.C.
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J.C. Penney Company, Inc.                                    Matter Number:     47223-10
Retail Business Operations / Unexpired Leases / GOB
Sales




                                        Summary of Hours Billed

Name                                                      Hours        Rate     Amount
April B. Abrams                                             6.00     460.00     2,760.00
Margaret R. Alden                                          10.00     610.00     6,100.00
Tyler Bartholome                                           21.30     610.00    12,993.00
Scott A. Berger, P.C.                                       0.40   1,595.00       638.00
Curt E. Bersche                                            11.60     375.00     4,350.00
Jessica Bihl                                               48.70     845.00    41,151.50
Andres Cantero Jr.                                          4.00     845.00     3,380.00
John G. Caruso                                              7.00   1,385.00     9,695.00
Chris Ceresa                                              140.70     610.00    85,827.00
Rebecca Blake Chaikin                                     158.00   1,085.00   171,430.00
Daniel Cho                                                  5.20     965.00     5,018.00
Jacob R. Clark                                             35.20     965.00    33,968.00
Lizbeth Cordova                                            55.80     610.00    34,038.00
Ian Craig                                                  72.70   1,135.00    82,514.50
Allyson N. Dillon                                           4.00     610.00     2,440.00
Justin C. Elliott                                          10.70   1,195.00    12,786.50
Alistair Fatheazam                                          8.70     740.00     6,438.00
Josh Fintel                                                13.10     740.00     9,694.00
Jake Flood                                                 22.90     740.00    16,946.00
Julia R. Foster                                             3.60     340.00     1,224.00
John Thomas Goldman                                        97.40   1,195.00   116,393.00
Vanessa Gomez                                              54.20     740.00    40,108.00
Jake William Gordon                                        27.30     845.00    23,068.50
Jason Niels Grover                                         18.50     610.00    11,285.00
Lanchi Huynh                                                1.70   1,305.00     2,218.50
Sohil Khurana                                              24.30     740.00    17,982.00
Talia Krause                                               71.00     610.00    43,310.00
Nick Krislov                                                4.20     740.00     3,108.00
Will Lawley                                                14.70     845.00    12,421.50
Andrew Levy                                                 2.50     275.00       687.50
Neal Loughery                                              27.90     740.00    20,646.00
Mike Lowes                                                  8.00     845.00     6,760.00

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J.C. Penney Company, Inc.                                      Matter Number:        47223-10
Retail Business Operations / Unexpired Leases / GOB
Sales

Name                                                       Hours         Rate        Amount
Christopher Mahoney                                          2.80      610.00        1,708.00
Tiffany T. Mason                                            30.80      740.00       22,792.00
Benjamin J. Meyer                                           16.60      610.00       10,126.00
Adine Mitrani                                                2.40      965.00        2,316.00
Puja Narain                                                 42.80      610.00       26,108.00
Tyler E. Neal                                               12.20      740.00        9,028.00
Thomas P. O'Connor                                           0.30    1,035.00          310.50
Kimberly Pageau                                              1.10      740.00          814.00
Tarah Lorraine Perkins                                      27.80      610.00       16,958.00
Callie Jones Poorman                                        40.00      845.00       33,800.00
Jeffrey S. Rheeling                                          7.00    1,385.00        9,695.00
Prentis Robinson                                             0.30      610.00          183.00
Alexander Romano                                            75.30      610.00       45,933.00
Nicholas Ruge                                                5.60      835.00        4,676.00
Tana Ryan, P.C.                                              1.00    1,395.00        1,395.00
Jonathan A. Schechter, P.C.                                 24.30    1,525.00       37,057.50
Stephanie Goldkopf Scheer                                    0.50      740.00          370.00
Matthew A. Schroth                                          55.60      740.00       41,144.00
Christian Semonsen                                           6.00    1,235.00        7,410.00
Jennifer Sheehan                                            22.90    1,275.00       29,197.50
Michael B. Slade                                             4.30    1,395.00        5,998.50
Al Stemp, P.C.                                               1.10    1,415.00        1,556.50
Josh Sussberg, P.C.                                          3.90    1,635.00        6,376.50
Christopher Thomas, P.C.                                     0.90    1,215.00        1,093.50
Andrew R. Van Noord, P.C.                                   38.30    1,395.00       53,428.50
Logan Weissler                                               0.50      740.00          370.00
Lydia Yale                                                   1.60      275.00          440.00
Aparna Yenamandra                                           10.70    1,165.00       12,465.50
Samuel Zaretsky                                             41.30      845.00       34,898.50
Eric Zhi                                                    10.20      740.00        7,548.00
Victoria M. Zhou                                             8.00    1,085.00        8,680.00

TOTALS                                                    1,487.40              $ 1,275,256.50




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                                      Description of Legal Services

Date     Name                                Hours Description
05/17/20 Ian Craig                            0.50 Correspond with K&E team re landlord term
                                                   sheets.
05/17/20 Alistair Fatheazam                   1.50 Draft store closing motion (.8); review,
                                                   analyze engagement letter re same (.7).
05/17/20 John Thomas Goldman                  1.50 Correspond with advisor team re sublease
                                                   issues (.5); review lease term sheet (1.0).
05/18/20 Chris Ceresa                         7.50 Review and revise store closing procedures
                                                   motion (3.9); correspond with K&E team
                                                   including R. Chaikin re various real estate
                                                   issues (2.6); telephone conferences with
                                                   Company, advisors, and K&E team re various
                                                   real estate issues (1.0).
05/18/20 Rebecca Blake Chaikin                2.90 Correspond re real estate and store closing
                                                   action items with K&E team, Alix, Company
                                                   (1.7); telephone conference with K&E team re
                                                   same (.3); revise landlord letter and call script
                                                   (.9).
05/18/20 Ian Craig                            2.00 Review and revise lease term sheet (1.0);
                                                   correspond with K&E team re same (.5);
                                                   review and analyze LOI precedent (.5).
05/18/20 John Thomas Goldman                  5.00 Telephone conferences with Company,
                                                   advisor teams and K&E team re coordinating
                                                   lease negotiation process (3.0); review and
                                                   analyze lease operational issues (.5);
                                                   telephone conferences with advisor group re
                                                   same (1.5).
05/18/20   Andrew Levy                        2.50 Organize, revise lease review chart.
05/18/20   Thomas P. O'Connor                 0.30 Review, analyze lease term sheet precedent.
05/18/20   Tana Ryan, P.C.                    1.00 Telephone conference re real estate process.
05/18/20   Aparna Yenamandra                  1.00 Telephone conference with working group re
                                                   real estate workstreams (.4); correspond re
                                                   landlord communications (.6).
05/19/20 Chris Ceresa                         2.60 Correspond with R. Chaikin and Alix re
                                                   various real estate issues.




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Date     Name                                Hours Description
05/19/20 Rebecca Blake Chaikin                1.70 Correspond with Joele Frank, Alix, real estate
                                                   advisors re landlord script (.3); telephone
                                                   conference with Jason Walker re store closing
                                                   motion (.2); correspond with K&E team re
                                                   same (.2); telephone conference with
                                                   Milbank, Houlihan, K&E team, Alix, real
                                                   estate advisors re real estate matters
                                                   coordination (.4); correspond with K&E team
                                                   re same (.6).
05/19/20 Ian Craig                            0.50 Correspond with K&E team re real estate
                                                   diligence matters.
05/19/20 John Thomas Goldman                  7.00 Review and analyze landlord letter (1.1);
                                                   coordinate operations re same (2.9); review
                                                   and analyze lease negotiation strategy issues
                                                   (3.0).
05/19/20 John Thomas Goldman                  1.00 Conference with K&E team re real estate
                                                   workstream plans.
05/19/20 Lanchi Huynh                         1.40 Review, analyze landlord call script.
05/19/20 Josh Sussberg, P.C.                  0.60 Correspond re real estate matters.
05/20/20 Chris Ceresa                         4.00 Draft timeline re store closing and lease
                                                   rejection (3.8); correspond with R. Chaikin re
                                                   same (.2).
05/20/20 Chris Ceresa                         0.30 Telephone conference with Company re real
                                                   estate issues.
05/20/20 Rebecca Blake Chaikin                2.00 Correspond with P. Foshee re lease rejection
                                                   questions (.3); telephone conference with
                                                   same re same (.3); telephone conference with
                                                   JW re same (.3); draft summary of store
                                                   closing and lease rejection process (.9);
                                                   correspond with C. Ceresa re same (.2).
05/20/20 Rebecca Blake Chaikin                2.80 Correspond with K&E team re store closing
                                                   motion (.3); correspond with Company, Joele
                                                   Frank, Alix re landlord letter and negotiations
                                                   kickoff (.4); review final landlord call script
                                                   (.2); correspond with K&E team, Alix, RE
                                                   advisors re real estate matters (.7); telephone
                                                   conference with Company, K&E team, Alix,
                                                   Gordon Bros., re closing stores (.5);
                                                   telephone conference with Company and
                                                   advisors re real estate task force telephone
                                                   conference (.7).
05/20/20 Jacob R. Clark                       2.50 Review correspondence re real estate issues
                                                   (.9); draft, revise issues list re same (1.6).

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Date     Name                                Hours Description
05/20/20 John Thomas Goldman                  3.00 Telephone conference with headquarter
                                                   lender counsel (.5); correspond with advisors
                                                   re HQ issues (.5); review and analyze lease
                                                   asks and term sheet revisions (1.1); telephone
                                                   conferences with advisors re same (.9).
05/20/20 Aparna Yenamandra                    0.70 Correspond with working group re real estate
                                                   issues.
05/21/20 Margaret R. Alden                    0.20 Research, analyze case law re lease issue.
05/21/20 Chris Ceresa                         1.60 Research re lease rejection issue.
05/21/20 Chris Ceresa                         1.80 Correspond with advisors and K&E team, R.
                                                   Chaikin re various real estate issues (1.3);
                                                   telephone conference with JW and K&E team
                                                   re various real estate issues (.5).
05/21/20 Chris Ceresa                         0.20 Revise store closing motion.
05/21/20 Rebecca Blake Chaikin                2.30 Correspond with Company, K&E team, JW re
                                                   sub-lease issue (1.4); telephone conference
                                                   with J. Goldman, JW re same (.5); analyze
                                                   issues re same (.4).
05/21/20 Rebecca Blake Chaikin                1.10 Correspond with Company and advisors re
                                                   store closings (.6); review proposed store
                                                   closing phasing (.3); correspond with
                                                   Company re rent questions (.2).
05/21/20 John Thomas Goldman                  6.00 Review and analyze sublease issue (1.5);
                                                   telephone conference with R. Chaikin, JW re
                                                   same (.5); telephone conferences with
                                                   advisors re lease review process and status
                                                   and specific questions (3.0); review, analyze
                                                   PSA/RE task force issues (1.0).
05/21/20 Alexander Romano                     3.80 Draft summary chart documenting analysis of
                                                   terms of lease agreements and lease-related
                                                   documents.
05/21/20 Matthew A. Schroth                   0.50 Revise work in progress tracker.
05/22/20 Chris Ceresa                         0.50 Analyze lease rejection issue.
05/22/20 Chris Ceresa                         1.90 Telephone conference with Company,
                                                   advisors and R. Chaikin re real estate issues
                                                   (.5); correspond re various real estate issues
                                                   with JW and K&E team (1.4).
05/22/20 Chris Ceresa                         0.70 Telephone conference with Jackson Walker re
                                                   store closing procedures (.1); revise store
                                                   closing procedures motion (.6).



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Date     Name                                Hours Description
05/22/20 Rebecca Blake Chaikin                4.40 Telephone conference with K&E team, Alix,
                                                   Gordon Brothers, Hilco re closing stores (.5);
                                                   revise store closing procedures motion (2.9);
                                                   correspond with K&E team re same (.3); daily
                                                   real estate task force telephone conference
                                                   with Company, K&E team, Alix, real estate
                                                   advisors, Lazard (.7).
05/22/20 Ian Craig                            0.50 Correspond re landlord term sheets (.3);
                                                   review same (.2).
05/22/20 John Thomas Goldman                  6.00 Review and analyze subtenant issues (.9);
                                                   telephone conferences with advisor team re
                                                   same (1.1); review and revise lease term sheet
                                                   (1.3); correspond with advisors re same (1.2);
                                                   coordinate diligence process (.7); review and
                                                   analyze issues re same (.4); telephone
                                                   conference with K&E team re same (.4).
05/22/20 Kimberly Pageau                      1.10 Review, analyze creditor matter re notice of
                                                   default re lease.
05/22/20 Matthew A. Schroth                   3.70 Telephone conference re headquarters
                                                   building (.4); review due diligence (1.7);
                                                   telephone conference with K&E team re
                                                   liquidation process (.6); revise landlord
                                                   negotiation term sheet (1.0).
05/24/20 Chris Ceresa                         6.30 Revise store closing procedures motion (5.4);
                                                   correspond with R. Chaikin re same (.3);
                                                   research re issue related to abandonment (.6).
05/24/20 Rebecca Blake Chaikin                6.60 Correspond with Company, Alix re store and
                                                   lease issues (1.1); revise store closing motion
                                                   (3.6); review precedent re same (1.3); revise
                                                   store closing and lease rejection process
                                                   summary (.6).
05/24/20 Matthew A. Schroth                   0.30 Revise landlord term sheet.
05/25/20 Rebecca Blake Chaikin                4.80 Revise store closing motion (2.1); correspond
                                                   with Company, K&E team, JW, Joele Frank,
                                                   Alix, Gordon Bros Hilco re same (1.2);
                                                   telephone conference with L. Downing re
                                                   same (.3); telephone conference with C&W,
                                                   B. Riley, J. Goldman re real estate issues (.5);
                                                   telephone conference with A. Yenamandra, C.
                                                   Marcus, J. Sussberg, J. Goldman re same and
                                                   deliverables (.7).
05/26/20 Chris Ceresa                         1.00 Telephone conferences with Company,
                                                   advisors and R. Chaikin re real estate issues

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Date     Name                                Hours Description
05/26/20 Chris Ceresa                         2.20 Revise store closing procedures (2.0);
                                                   correspond with R. Chaikin re same (.2).
05/26/20 Chris Ceresa                         1.90 Review and analyze precedent re 365(d)(3)
                                                   motion (.3); revise same (1.4); correspond
                                                   with K&E team including R. Chaikin re same
                                                   (.2).
05/26/20 Rebecca Blake Chaikin                3.80 Analyze contract re executory status (1.1);
                                                   telephone conference with Company re same
                                                   (.5); telephone conference with A.
                                                   Yenamandra re same (.3); telephone
                                                   conference with M. Slade re same (.3); draft
                                                   summary of same (.6); telephone conference
                                                   re rent payment with K&E team, Lazard (.3);
                                                   telephone conferences re same with A.
                                                   Yenamandra, JW team, J. Goldman (.7).
05/26/20 Rebecca Blake Chaikin                3.60 Telephone conference with Company, Joele
                                                   Frank re store closing communications (.5);
                                                   correspond re store closing motion (.8);
                                                   review precedent (.2); telephone conference
                                                   with Company, Alix re store closing motion
                                                   (.5); daily real estate task force telephone
                                                   conference with Company, K&E team, Alix,
                                                   Lazard, RE advisors (1.0); correspond with
                                                   K&E team re asset sale motions (.6).
05/26/20 Jonathan A. Schechter, P.C.          1.00 Telephone conference re real estate task force.
05/26/20 Matthew A. Schroth                   4.30 Draft amendment to real estate services
                                                   agreement (1.0); correspond with title
                                                   Company re search costs (.3); review due
                                                   diligence (1.0); telephone conference with
                                                   real estate task force (1.0); revise form lease
                                                   amendment (1.0).
05/26/20 Aparna Yenamandra                    1.20 Telephone conference with independent
                                                   director counsel re rent issues and potential
                                                   motion.
05/27/20 Margaret R. Alden                    5.00 Correspond with K&E team re declarations re
                                                   365(d)(3) motion (.7); research re same (.6);
                                                   draft, revise same (3.7).
05/27/20 Chris Ceresa                         5.50 Revise, further revise store closing procedures
                                                   and order (4.8); correspond with Company,
                                                   Alix, other advisors, R. Chaikin re same (.4);
                                                   telephone conference with Company and R.
                                                   Chaikin re same (.3).



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Date     Name                                Hours Description
05/27/20 Chris Ceresa                         1.20 Draft and revise 365(d)(3) motion and order
                                                   (1.0); correspond with K&E team re same
                                                   (.2).
05/27/20 Rebecca Blake Chaikin                9.10 Revise 365(d)(3) motion (5.2); telephone
                                                   conference with K&E team, Lazard, Alix, B.
                                                   Riley re same and DIP (.7); correspond with
                                                   K&E team, Alix re same (1.9); telephone
                                                   conferences with Alix, M. Jerbich re same
                                                   (.7); analyze issues re same (.2); telephone
                                                   conference with M. Cavenaugh, L. Freeman
                                                   re motion and open items (.4).
05/27/20 Rebecca Blake Chaikin                1.40 Telephone conference with Company re store
                                                   closing motion (.3); telephone conference
                                                   with C. Ceresa re stores and RE issues (.4);
                                                   correspond with K&E team re same (.7).
05/27/20 Lizbeth Cordova                      8.20 Review leases (2.5); analyze same (2.5); draft
                                                   summary re same (3.2).
05/27/20 Alistair Fatheazam                   7.20 Research re unexpired leases issue (3.8);
                                                   review, analyze transcripts re same (2.0);
                                                   correspond with C. Ceresa re same (.2);
                                                   telephone conference with C. Ceresa re same
                                                   (.2); draft summary of research findings (.5);
                                                   correspond with K&E team re same (.5).
05/27/20 Jake Flood                           4.30 Draft, revise lease review chart.
05/27/20 John Thomas Goldman                  3.90 Telephone conferences with K&E team,
                                                   Lazard, Alix, real estate advisors re rent relief
                                                   motion (2.1); review and provide comments
                                                   to rent relief motion (.9); correspond with
                                                   advisor team re HQ foreclosure, lease
                                                   modification (.9).
05/27/20 Jonathan A. Schechter, P.C.          0.50 Review, analyze store closing motion and
                                                   order.
05/27/20 Matthew A. Schroth                   1.00 Revise form lease amendment.
05/27/20 Aparna Yenamandra                    1.90 Correspond with Jackson Walker re rent relief
                                                   motion (.6); telephone conferences re same
                                                   with B. Riley, Lazard, AlixPartners (1.3).
05/28/20 Margaret R. Alden                    2.30 Review, analyze draft motion re lease
                                                   performance obligations extension (.4); draft,
                                                   revise declarations re same (1.7); correspond
                                                   with R. Chaikin, C. Ceresa re same (.2).




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Date     Name                                Hours Description
05/28/20 Chris Ceresa                         3.00 Review and revise 365(d)(5) motion (2.1);
                                                   correspond with Company, Alix and R.
                                                   Chaikin re same (.6); telephone conference
                                                   with Company and R. Chaikin re real estate
                                                   tax issue (.3).
05/28/20 Rebecca Blake Chaikin                7.50 Revise 365(d)(3) motion (3.3); analyze issues
                                                   re same (1.9); correspond with K&E team,
                                                   JW, Company re same (1.2); telephone
                                                   conferences with M. Cavenaugh re same (.5);
                                                   telephone conferences with J. Goldman, A.
                                                   Yenamandra re same (.6).
05/28/20 Rebecca Blake Chaikin                1.00 Telephone conference with B. Treadway, M.
                                                   Repko re store closings (.3); attend daily real
                                                   estate task force telephone conference with
                                                   Company, real estate advisors, K&E team,
                                                   Alix, Lazard (.7).
05/28/20 Julia R. Foster                      0.30 Review and revise 365 (d)(3) motion.
05/28/20 John Thomas Goldman                  4.50 Review and analyze rent deferral motion and
                                                   related issues (2.1); correspond with K&E
                                                   team re same (.4); review and analyze rent
                                                   and CAM payment issues (1.2); correspond
                                                   with K&E team re same (.8).
05/28/20 Jonathan A. Schechter, P.C.          1.00 Telephone conference with real estate task
                                                   force re real property issues.
05/28/20 Aparna Yenamandra                    1.50 Revise 365(d)(3) motion (.3); correspond with
                                                   K&E team re same (.8); telephone conference
                                                   with J. Goldman re same (.4).
05/29/20 Chris Ceresa                         0.40 Correspond with Company, advisors, K&E
                                                   team, R. Chaikin re real estate issues.
05/29/20 Chris Ceresa                         3.40 Review, analyze diligence and comments re
                                                   store closing motion (.4); review, revise,
                                                   analyze store closing motion (2.7); telephone
                                                   conference re store closing work in process
                                                   with Company, advisors, and R. Chaikin (.3).
05/29/20 Rebecca Blake Chaikin                3.10 Correspond with Alix re rent deferral and
                                                   store closings (.3); telephone conference with
                                                   Company, Alix, K&E team, Gordon Bros,
                                                   Hilco re closing stores (.4); review store
                                                   closing motion (1.1); telephone conference re
                                                   store closing communications with Company,
                                                   Joele frank (.3); daily real estate task force
                                                   telephone conference with Company, Alix,
                                                   RE advisors, Lazard (1.0).

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Date     Name                                Hours Description
05/29/20 Samuel Zaretsky                      1.00 Organize and compile lease term sheet and
                                                   related files (.5); telephone conferences with
                                                   S. Tomlinson re same (.5).
05/30/20 Matthew A. Schroth                   0.10 Revise lease term sheets.
05/31/20 Chris Ceresa                         1.10 Correspond with Company, advisors, and R.
                                                   Chaikin re various issues.
05/31/20 Rebecca Blake Chaikin                0.30 Review DIP budget re rent.
05/31/20 Rebecca Blake Chaikin                7.30 Review various communications materials re
                                                   store closings (1.1); revise store closing
                                                   motion (2.7); review precedent re same (2.3);
                                                   correspond with C. Ceresa re same (1.2).
05/31/20 Jonathan A. Schechter, P.C.          0.50 Review, analyze rent relief order.
05/31/20 Samuel Zaretsky                      6.30 Telephone conference with T. Krause re lease
                                                   term sheet and next steps (.5); review lease
                                                   term sheet (2.0); revise same (3.8).
06/01/20 Chris Ceresa                         3.50 Correspond with Company, advisors,
                                                   Milbank, Committee, K&E team and R.
                                                   Chaikin re store closing procedures motion,
                                                   exhibit and declaration (1.2); revise store
                                                   closing procedures motion (1.1); revise
                                                   declaration re same (.6); review and analyze
                                                   exhibit re same (.3); review and analyze
                                                   outstanding diligence re store closing
                                                   procedure motion (.3).
06/01/20 Rebecca Blake Chaikin                3.10 Correspond with landlord counsel re matter
                                                   inquiries (.2); correspond with J. Mesterharm
                                                   re store closing declaration (.3); telephone
                                                   conference with C. Ceresa re store closing
                                                   motion (.2); revise same (.7); correspond with
                                                   C. Ceresa, Company, U.S. Trustee re same
                                                   (.4); telephone conferences with Company,
                                                   Alix, real estate advisors re real estate open
                                                   items and coordination (1.3).
06/01/20 John Thomas Goldman                  3.00 Review lease diligence (2.0); telephone
                                                   conference with K&E team re same (1.0).
06/01/20 Jeffrey S. Rheeling                  4.50 Review lease summaries for ground leased
                                                   stores.
06/01/20 Jonathan A. Schechter, P.C.          2.00 Telephone conferences with Company and
                                                   advisors re real estate items (1.0); attend real
                                                   estate task force telephone conference (1.0).
06/01/20 Aparna Yenamandra                    0.40 Telephone conference with R. Chaikin re
                                                   365(d)(3) feedback.

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Date     Name                                Hours Description
06/02/20 Chris Ceresa                         5.90 Review, revise, analyze store closing
                                                   procedures motion, order and declaration
                                                   (2.8); draft work in process re same (.4);
                                                   correspond with Company, advisors, K&E
                                                   team and R. Chaikin re various issues re same
                                                   (1.7); telephone conference with K&E team
                                                   and R. Chaikin re same (.3); review objection
                                                   re tax liens (.4); correspond with R. Chaikin
                                                   re same (.1); research precedent re talking
                                                   points for 365(d)(3) motion and store closing
                                                   procedures motion (.2).
06/02/20 Rebecca Blake Chaikin                3.40 Telephone conference with T. Grossman re
                                                   store closing motion (.2); correspond with
                                                   Company, Alix, advisors re same (.9); revise
                                                   declaration re same (1.1); daily telephone
                                                   conference with Company, K&E team, Alix,
                                                   advisors re real estate issues coordination
                                                   (1.0); correspond with K&E team, Company,
                                                   Alix re lease rejections (.2).
06/02/20 Julia R. Foster                      1.10 Research precedent re 365(d)(3) hearing
                                                   transcripts.
06/02/20 John Thomas Goldman                  4.00 Review lease diligence (1.0); conference with
                                                   K&E team re same (1.0); correspond with,
                                                   telephone calls with same re landlord issues
                                                   (2.0).
06/02/20 Will Lawley                          1.00 Review third party leases (.8); correspond
                                                   with L. Codova re same (.2).
06/02/20 Mike Lowes                           2.50 Review and summarize real estate leases.
06/02/20 Adine Mitrani                        0.50 Telephone conference with IP team re next
                                                   steps for vendor bankruptcy addendum.
06/02/20 Tyler E. Neal                        0.40 Review and organize Leases.
06/02/20 Tarah Lorraine Perkins               1.00 Review leases for Stores 1976 and 1985.
06/02/20 Jeffrey S. Rheeling                  2.50 Review lease summaries for ground leased
                                                   properties.
06/02/20 Alexander Romano                     0.20 Review and revise leased property summary
                                                   charts.
06/02/20 Alexander Romano                     4.00 Review and revise leased property summary
                                                   charts.
06/02/20 Jonathan A. Schechter, P.C.          1.50 Telephone conference with real estate tax
                                                   force re real estate issues (1.0); review lease
                                                   amendment form and related correspondence
                                                   (.5).

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Date     Name                                Hours Description
06/02/20 Jonathan A. Schechter, P.C.          0.50 Review store closing motion.
06/02/20 Matthew A. Schroth                   6.60 Attend telephone conference with real estate
                                                   task force (1.0); conduct due diligence review
                                                   (3.6); revise form lease amendment (1.0);
                                                   revise work stream tracker (1.0).
06/03/20 Jessica Bihl                         2.30 Review and summarize lease documents re
                                                   stores 838, 852, 870, 881, 82, 890, 899 and
                                                   902.
06/03/20 Chris Ceresa                         5.70 Review and analyze objection to 365(d)(3)
                                                   motion (.4); revise materials re same (.3);
                                                   correspond with R. Chaikin re same (.2);
                                                   research, review and analyze materials re
                                                   issue re tax liens and abandoned property (.7);
                                                   correspond with K&E team and R. Chaikin re
                                                   same (.2); revise and further revise store
                                                   closing procedures motion, order, declaration
                                                   and exhibit (2.8); correspond with Company,
                                                   advisors, external parties, K&E team and R.
                                                   Chaikin re same and related issues (1.1).
06/03/20 Rebecca Blake Chaikin                6.90 Correspond with K&E team, advisors,
                                                   Company re rent deferral and store closing
                                                   motions (1.9); revise store closing motion and
                                                   declaration (4.2); telephone conference with
                                                   Company, Gordon Bros., Alix, K&E team re
                                                   store closing coordination (.5); revise
                                                   communications materials re store closing
                                                   (.3).
06/03/20 Daniel Cho                           5.20 Review lease agreements and related
                                                   documents (3.5); draft lease summary chart
                                                   (1.7).
06/03/20 Jacob R. Clark                       4.70 Review lease summaries (1.5); review lease
                                                   documents (1.2); correspond with lease
                                                   reviewers (.5); draft comments to lease
                                                   summaries (1.5).
06/03/20 Lizbeth Cordova                      5.10 Coordinate real estate due diligence (2.6);
                                                   review lease abstracts (1.0); telephone
                                                   conference with J. Goldman, M. Schroth, T.
                                                   Krause re coordinating real estate due
                                                   diligence (1.5).
06/03/20 Ian Craig                            4.10 Review and revise lease summary chart.
06/03/20 Jake Flood                           1.20 Draft and revise lease review chart.
06/03/20 Julia R. Foster                      0.20 Research precedent re rent deferral hearing
                                                   transcripts.

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Date     Name                                Hours Description
06/03/20 John Thomas Goldman                  2.50 Review leased DC rejections (.4); telephone
                                                   conference with K&E team re same (.6);
                                                   correspond and telephone conferences with
                                                   same re lease rejections and HQ lease issues
                                                   (1.5).
06/03/20 Talia Krause                         5.60 Coordinate due diligence for lease properties
                                                   (5.0); telephone conference with S.
                                                   Tomlinson and S. Zaretsky re master lease
                                                   (.6).
06/03/20 Mike Lowes                           0.60 Review and summarize real estate leases.
06/03/20 Adine Mitrani                        1.20 Prepare for and participate in telephone
                                                   conferences with K&E team, Alix and
                                                   Company re Oracle vendor bankruptcy
                                                   addendum.
06/03/20 Tyler E. Neal                        1.30 Review and summarize leases.
06/03/20 Alexander Romano                     0.70 Review and analyze revisions to space leased
                                                   property summary charts (.5); correspond
                                                   with T. Krause re outstanding items in same
                                                   (.2).
06/03/20 Jonathan A. Schechter, P.C.          1.00 Review form of lease amendment (.5);
                                                   telephone conference with real estate task
                                                   force re real estate issues (.5).
06/03/20 Jonathan A. Schechter, P.C.          0.50 Review and revise closed store motion (.3);
                                                   correspond with K&E team re same (.2).
06/03/20 Matthew A. Schroth                   1.00 Revise lease amendment.
06/03/20 Samuel Zaretsky                      0.70 Prepare for and participate in telephone
                                                   conference with S. Tomlinson and T. Krause
                                                   re master lease.
06/04/20 Chris Ceresa                         6.60 Revise de minimis asset sale motion, order,
                                                   notices (1.0); revise and further revise store
                                                   closing procedures motion, order, schedule,
                                                   and declaration (3.8); correspond with
                                                   Company, advisors, JW, external parties,
                                                   K&E team and R. Chaikin re various issues
                                                   related to store closing procedures motion,
                                                   order, schedule and declaration (1.2);
                                                   telephone conference with Company and
                                                   advisors re store closing procedures motion
                                                   (.1); correspond re stalking horse (.2); review
                                                   issue related to order for assumption-rejection
                                                   procedures order (.3).



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Date     Name                                Hours Description
06/04/20 Rebecca Blake Chaikin                4.40 Telephone conference with L. Downing re
                                                   side letters (.5); review form side letter (.2);
                                                   correspond with Company, Alix re store
                                                   closing list (.2); telephone conference with
                                                   same re same (.1); review final drafts of store
                                                   closing pleadings (1.2); coordinate with K&E
                                                   team, JW re filing of same (1.3); telephone
                                                   conference with B. Kinney re same (.2);
                                                   correspond with landlord counsel re rejection
                                                   procedures motion (.2); daily telephone
                                                   conference with Company, K&E team, Alix,
                                                   advisors re real estate issues coordination (.5).
06/04/20   Jacob R. Clark                     0.70 Update lease summaries.
06/04/20   Lizbeth Cordova                    0.50 Review lease abstracts.
06/04/20   Jake Flood                         2.50 Draft and revise lease review chart.
06/04/20   Talia Krause                       3.50 Coordinate due diligence for lease properties.
06/04/20   Tyler E. Neal                      2.40 Review and analyze leases.
06/04/20   Tarah Lorraine Perkins             2.50 Review lease agreements (1.2); revise lease
                                                   review chart (1.3).
06/04/20 Jonathan A. Schechter, P.C.          0.50 Analyze store closing items.
06/05/20 Chris Ceresa                         0.40 Correspond with K&E team re various
                                                   outstanding real estate items.
06/05/20 Chris Ceresa                         0.90 Telephone conference with L. Cordova re de
                                                   minimis sales procedures (.2); correspond
                                                   with same re same (.3); telephone conference
                                                   with M. Alden re real estate advisor retention
                                                   application (.1); revise materials for 365(d)(3)
                                                   hearing preparation (.3).
06/05/20 Rebecca Blake Chaikin                0.70 Telephone conference with Company, Gordon
                                                   Bros., Alix, K&E team re store closing
                                                   coordination (.3); review side letter and
                                                   process email re closing stores (.3);
                                                   correspond with Company, Ropes & Gray re
                                                   same (.1).
06/05/20 Jacob R. Clark                       4.30 Review lease summaries and underlying lease
                                                   documents (3.5); revise lease summaries (.8).
06/05/20 Lizbeth Cordova                      1.80 Review lease abstracts.
06/05/20 Ian Craig                            5.30 Review and revise lease summary chart.
06/05/20 Justin C. Elliott                    6.30 Review ground lease diligence chart (2.5);
                                                   review underlying ground lease documents
                                                   (3.3); correspond with K&E team re same
                                                   (.5).

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Date     Name                                Hours Description
06/05/20 Vanessa Gomez                        4.90 Review lease documents re Store 465 (1.5);
                                                   review and revise summary chart of material
                                                   lease terms re Store 465 (1.1); review lease
                                                   documents re Store 695 (1.3); review and
                                                   revise summary chart of material lease terms
                                                   re Store 695 (1.0).
06/05/20 Talia Krause                         1.50 Coordinate due diligence for leased
                                                   properties.
06/05/20 Jonathan A. Schechter, P.C.          2.00 Telephone conference with real estate task
                                                   force re real estate issues (.5); telephone
                                                   conference re asset optimization with same
                                                   (1.5).
06/05/20 Matthew A. Schroth                   2.80 Attend telephone conference re store
                                                   liquidation with Company and Alix (.5);
                                                   attend telephone conference with real estate
                                                   task force (.5); review and revise amendment
                                                   to B. Riley and C&W engagement letter (1.8).
06/05/20 Christopher Thomas, P.C.             0.40 Participate in telephone conference with K&E
                                                   team re real estate and corporate items.
06/05/20 Lydia Yale                           0.50 Compile all filed objections to rejection
                                                   motions and 365(d)(3) motion.
06/05/20 Samuel Zaretsky                      3.70 Prepare for and participate in telephone
                                                   conference with T. Krause re comments to
                                                   Lease Term Sheet (.5); review precedent
                                                   master leases (3.2).
06/06/20 Chris Ceresa                         9.40 Correspond with K&E team and R. Chaikin re
                                                   various matters related to pleadings (.9);
                                                   revise orders (.6); research and analyze
                                                   multiple sources re rent deferral (3.0); draft
                                                   objection response materials for rent deferral
                                                   motion (2.6); draft talking points for store
                                                   closing procedures, assumption, rejection
                                                   procedures and rent deferral (2.1); analyze
                                                   diligence re rent deferral (.2).
06/06/20 Rebecca Blake Chaikin                2.80 Correspond with M. Weitz re lease rejection
                                                   process (.1); review form lease amendment
                                                   (.3); review de minimis asset sale procedures
                                                   motion (1.0); review PSA amendment (1.1);
                                                   review form sale motion (.3).
06/06/20 Ian Craig                            0.50 Correspond with K&E team re real estate
                                                   matters re leases and asset sales.




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Date     Name                                Hours Description
06/06/20 John Thomas Goldman                  2.50 Prepare for and attend telephone conference
                                                   with advisors and K&E team re RE next steps
                                                   and alignment (1.5); review and discuss HQ
                                                   issues (1.0).
06/06/20 Vanessa Gomez                        4.70 Review lease and reciprocal easement
                                                   agreement documents for Store 786 (1.2);
                                                   review and revise lease summary chart for
                                                   Store 786 (1.0); review lease and reciprocal
                                                   easement agreement documents for Store 933
                                                   (1.5); review and revise lease summary chart
                                                   for Store 933 (1.0).
06/06/20 Vanessa Gomez                        3.50 Review lease documents for Store 696 (1.0);
                                                   review and revise summary chart for material
                                                   lease terms on Store 696 (.9); review Store
                                                   744 (1.0); review and revise summary chart
                                                   for material lease terms on Store 744 (.6).
06/06/20 Talia Krause                         0.70 Coordinate due diligence for leased
                                                   properties.
06/07/20 Chris Ceresa                         8.80 Telephone conference with M. Slade and R.
                                                   Chaikin re rent deferral declaration (.4);
                                                   revise 363 sale motion (1.6); correspond with
                                                   K&E team and R. Chaikin re various issues
                                                   related to rent deferral (.3); research and
                                                   analyze issues re rent deferral motion (3.7);
                                                   revise talking points and other materials for
                                                   rent deferral motion (1.7); revise orders for
                                                   the upcoming hearing on June 11 (1.1).
06/07/20 Rebecca Blake Chaikin                3.90 Correspond with C. Ceresa, K&E team re
                                                   365(d)(3) motion hearing prep (.2); prepare
                                                   for same (1.6); review transcripts and talking
                                                   points re same (1.1); telephone conference
                                                   with M. Slade, C. Ceresa re 365(d)(3)
                                                   declaration (.5); telephone conference with J.
                                                   Goldman re lease issue (.5).
06/07/20 Ian Craig                            0.20 Correspond re lease review with K&E team.
06/07/20 John Thomas Goldman                  1.00 Review and revise lease amendment form.
06/07/20 John Thomas Goldman                  4.00 Review and revise work stream status and
                                                   tracker (2.0); review and revise broker
                                                   engagement letter (1.0); correspond and
                                                   telephone conferences with K&E team re HQ
                                                   transaction (1.0).
06/07/20 Talia Krause                         6.50 Coordinate due diligence for leased
                                                   properties.

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Date     Name                                Hours Description
06/07/20 Tarah Lorraine Perkins               3.00 Review lease agreements (1.7); revise lease
                                                   review chart re same (1.3).
06/07/20 Alexander Romano                     1.20 Review and revise space lease summary chart
                                                   (1.1); correspond with T. Krause re same (.1).
06/07/20 Michael B. Slade                     0.30 Correspond with K&E team re rent extension
                                                   hearing and review materials re same.
06/07/20 Samuel Zaretsky                      8.00 Revise lease term sheet.
06/08/20 Margaret R. Alden                    0.20 Correspond with C. Ceresa re 365(d)(3)
                                                   motion declarations.
06/08/20 Chris Ceresa                         4.90 Review and analyze objections re the store
                                                   closing procedures motion and rent deferral
                                                   motion and transcripts (1.7); update materials
                                                   re same (.3); draft chart re inquiries re store
                                                   closing procedure motion (.7); revise and
                                                   analyze declaration for rent deferral motion
                                                   (1.8); correspond with K&E team and R.
                                                   Chaikin re various issues re outstanding
                                                   motions (.4).
06/08/20 Rebecca Blake Chaikin                5.60 Correspond with K&E team re REA question
                                                   (.3); revise 365(d)(3) declaration (2.1); review
                                                   precedent and transcripts re same (1.1);
                                                   correspond with K&E team re objections,
                                                   talking points re same (.2); review objection
                                                   re same (.2); correspond with A. Yenamandra,
                                                   A. Weinhouse re hearing prep and action
                                                   items (.6); telephone conference with
                                                   Company, Gordon Bros., Alix, K&E team re
                                                   store closing coordination (.3); correspond
                                                   with Company, Alix, real estate advisors re
                                                   lease rejections (.2); telephone conference
                                                   with Company, landlords re potential stay
                                                   violation (.6).
06/08/20 Ian Craig                            4.70 Review and revise lease summary chart.
06/08/20 Allyson N. Dillon                    1.00 Review property documents re landlord
                                                   contact information or legal counsel contact
                                                   information (.8); review correspondence with
                                                   K&E team re same (.2).
06/08/20 Jake Flood                           0.20 Correspond with T. Krause re lease review
                                                   chart.
06/08/20 Julia R. Foster                      0.80 Draft supplemental Mesterharm 365(d)(3)
                                                   declaration.



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Date     Name                                Hours Description
06/08/20 Talia Krause                         2.20 Coordinate due diligence for leased
                                                   properties.
06/08/20 Nick Krislov                         2.90 Correspond with K&E team re landlord issue
                                                   (.3); draft, revise motion to enforce automatic
                                                   stay (2.4); correspond with K&E team re
                                                   same (.2).
06/08/20 Mike Lowes                           1.90 Review and summarize store leases.
06/08/20 Tiffany T. Mason                     9.40 Review leases (5.0); revise lease review
                                                   summaries (4.4).
06/08/20 Tyler E. Neal                        1.00 Review and analyze leases.
06/08/20 Jonathan A. Schechter, P.C.          2.00 Analyze various real estate matters and
                                                   related correspondence (1.0); telephone
                                                   conference with K&E team re real estate work
                                                   stream (1.0).
06/08/20 Matthew A. Schroth                   7.30 Revise form lease amendment (2.0); revise
                                                   CBRE engagement letter (2.7); prepare for
                                                   and attend telephone conference re store
                                                   liquidation with Company and Alix (.5);
                                                   revise internal checklist (1.5); prepare for and
                                                   attend telephone conference re real estate
                                                   work streams with K&E real estate team (.6).
06/08/20 Christian Semonsen                   3.00 Prepare for and participate in telephone
                                                   conference with Company re environmental
                                                   liabilities and bankruptcy process.
06/09/20 Scott A. Berger, P.C.                0.40 Prepare for and attend telephone conferences
                                                   with K&E team re business plan on leased
                                                   assets.
06/09/20 Chris Ceresa                         8.20 Revise store closing procedures motion
                                                   revised order (4.6); correspond re same with
                                                   various parties (.7); correspond with Gordon
                                                   Brothers re side letters (.4); revise declaration
                                                   for rent deferral motion (2.2); correspond with
                                                   Alix, K&E team and R. Chaikin re same (.3).




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Date     Name                                Hours Description
06/09/20 Rebecca Blake Chaikin                7.70 Revise 365(d)(3) declaration (2.1); telephone
                                                   conference with Alix, Company re same (.4);
                                                   telephone conference with L. Downing re
                                                   store closing side letters (.3); review
                                                   comments and objections to store closing
                                                   order (.8); correspond with C. Ceresa and
                                                   opposing counsel re same (.9); telephone
                                                   conferences with taxing authorities re same
                                                   (.6); correspond with same re same (.6);
                                                   telephone conference with Milbank re store
                                                   closing sales (.5); telephone conferences with
                                                   T. Grossman re same (.2); correspond with
                                                   Company, Milbank re same (.5); daily
                                                   telephone conference with Company, K&E
                                                   team, Alix, advisors re real estate issues
                                                   coordination (.8).
06/09/20 Jacob R. Clark                       0.60 Correspond with M. Schroth re liquidation
                                                   sale correspondence (.1); review lease
                                                   summaries (.5).
06/09/20 Allyson N. Dillon                    2.00 Research re New York State eviction
                                                   moratorium (1.0); correspond with J.
                                                   Goldman and C. Smith re same (.5);
                                                   correspond with T. Krause re diligence
                                                   requests and bulleted summary of real estate
                                                   diligence (.5).
06/09/20 John Thomas Goldman                  1.50 Review expiring lease issues (1.0);
                                                   conference with K&E team re same (.5).
06/09/20 Talia Krause                         1.60 Coordinate and assign due diligence for
                                                   leased properties.
06/09/20 Nick Krislov                         1.30 Draft, revise motion to enforce automatic stay
                                                   (1.1); correspond with J. Gordon re same (.2).
06/09/20 Tiffany T. Mason                     2.60 Review leases (1.1); revise lease review
                                                   summaries (1.5).
06/09/20 Adine Mitrani                        0.70 Conference with K&E team re proposed
                                                   language on attorney's fee for vendor
                                                   addenda.
06/09/20 Jonathan A. Schechter, P.C.          0.50 Correspond with J. Goldman re sales and
                                                   lease amendments.




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Date     Name                                Hours Description
06/09/20 Matthew A. Schroth                    6.50 Attend telephone conference with K&E team
                                                    re due diligence process (.7); revise appraisal
                                                    engagement letter (1.5); correspond with
                                                    Company re engagement letters (.5); attend
                                                    telephone conference with real estate task
                                                    force (1.0); research New York state eviction
                                                    moratorium (.7); draft schedule of existing
                                                    purchase and sale agreements (.7); attend
                                                    telephone conference with Cushman re
                                                    appraisal engagement letter (.7); correspond
                                                    with local bankruptcy counsel re real estate
                                                    questions (.7).
06/09/20 Christian Semonsen                    3.00 Review information from Company on
                                                    environmental liabilities (2.5); participate in
                                                    telephone conference re same (.5).
06/09/20 Michael B. Slade                      1.20 Correspond with K&E team re landlord
                                                    objections and review same.
06/09/20 Aparna Yenamandra                     1.40 Telephone conferences with K&E team re
                                                    GOBs and related issues.
06/10/20 Margaret R. Alden                     2.30 Telephone conferences with K&E team re
                                                    GOBs and related issues.
06/10/20 Jessica Bihl                          6.00 Revise lease summary for store 838 (.8);
                                                    revise lease summary for store 852 (.7); revise
                                                    lease summary for store 870 (.7); revise lease
                                                    summary for store 881 (.8); revise lease
                                                    summary for store 882 (.7); revise lease
                                                    summary for store 890 (.8); revise same for
                                                    store 899 (.8); revise lease summary for store
                                                    902 (.7).
06/10/20 Chris Ceresa                          1.10 Revise store closing procedures order (.4);
                                                    correspond various parties re matters to be
                                                    heard on June 11 (.7).
06/10/20 Chris Ceresa                         11.70 Review multiple objections to matters re 6/11
                                                    hearing (3.2); analyze issues re same (2.5);
                                                    review, analyze responses re same (3.9);
                                                    update materials re same (2.1).




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Date     Name                                Hours Description
06/10/20 Rebecca Blake Chaikin                17.70 Revise declaration (.3); review objections to
                                                    store closing (.8); revise proposed order re
                                                    same (.7); correspond with Company, U.S.
                                                    Trustee re same (.8); telephone conferences
                                                    with Otterbourg re same (.4); review
                                                    objections to 365(d)(3) motion (2.4); revise
                                                    proposed order re same (1.7); telephone
                                                    conferences with M. Slade, J. Mesterharm re
                                                    same and declaration (1.3); correspond with
                                                    K&E team, Company, opposing counsel,
                                                    advisors re same (2.2); review precedent
                                                    transcripts for hearing re store closing and
                                                    365(d)(3) motions (1.3); draft talking points
                                                    for same (3.7); telephone conference with JW
                                                    re same (.3); telephone conference with J.
                                                    Sussberg, A. Yenamandra, M Slade re hearing
                                                    (.4); telephone conference with Company,
                                                    Gordon Bros., Alix, K&E team re store
                                                    closing coordination (.2); telephone
                                                    conferences with landlord counsel re inquiries
                                                    (.2); daily telephone conference with
                                                    Company, K&E team, Alix, advisors re real
                                                    estate issues coordination (1.0).
06/10/20   Jacob R. Clark                      1.60 Review lease summaries.
06/10/20   Lizbeth Cordova                     2.00 Review and analyze lease agreements.
06/10/20   Ian Craig                           0.90 Review and revise lease summary chart.
06/10/20   Jake Flood                          2.50 Draft and revise lease review chart.
06/10/20   John Thomas Goldman                 5.50 Review, revise and coordinate appraisal
                                                    engagement letter (3.0); attend telephone
                                                    conference with C&W re engagement letters
                                                    (1.0); attend telephone conference with Beal
                                                    counsel re HQ transaction (.5); correspond
                                                    and telephone conference with Company re
                                                    HQ (1.0).
06/10/20 Jake William Gordon                   3.60 Review, analyze issues re store closing order
                                                    (1.9); correspond with objectors re same (1.7).
06/10/20 Sohil Khurana                         2.00 Review and revise ground leased properties
                                                    review chart (1.0); review and analyze ground
                                                    lease property diligence materials (1.0).
06/10/20 Talia Krause                          2.20 Coordinate and assign due diligence for
                                                    leased properties.
06/10/20 Neal Loughery                         0.20 Correspond re lease review process with T.
                                                    Krause.

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06/10/20 Mike Lowes                           0.80 Review and summarize lease documents.
06/10/20 Christopher Mahoney                  2.80 Review and analyze construction, operation
                                                   and reciprocal easement agreements for
                                                   assigned properties.
06/10/20 Benjamin J. Meyer                    6.20 Review lease agreements and ancillary
                                                   documents (2.2); revise lease review chart
                                                   (3.4); correspond with L. Cordova re lease
                                                   review chart and data room (.1); review K&E
                                                   team correspondence re lease chart
                                                   instructions (.1); correspond with K&E team
                                                   and IT team re DMS matters (.2); establish
                                                   KIRA project re document review (.2).
06/10/20 Puja Narain                          3.00 Review and analyze RE documents for store
                                                   #2051 (2.2); draft summary for lease review
                                                   chart (.8).
06/10/20 Puja Narain                          0.30 Review and analyze lease review chart
                                                   template.
06/10/20 Tarah Lorraine Perkins               3.00 Review lease agreements (2.1); revise lease
                                                   review chart (.9).
06/10/20 Nicholas Ruge                        1.10 Correspond with J. Mesterharm, M. Slade and
                                                   R. Chaikin re rent deferral motion (.8); review
                                                   J. Mesterharm declaration on 365(d)(3)
                                                   motion (.3).
06/10/20 Jonathan A. Schechter, P.C.          1.30 Telephone conference with real estate task
                                                   force re real estate issues (.8); review store
                                                   closing motion (.5).
06/10/20 Jonathan A. Schechter, P.C.          0.50 Review Company headquarter items (.4);
                                                   review correspondence re same (.1).
06/10/20 Matthew A. Schroth                   3.20 Attend telephone conference re store
                                                   liquidation with Company and Alix (.5);
                                                   compile documents re amendment to brokers'
                                                   agreement (.2); attend telephone conference
                                                   with real estate task force (1.0); attend
                                                   telephone conference with Cushman &
                                                   Wakefield re engagement letter open issues
                                                   (.5); attend telephone conference with
                                                   Jackson Walker re certain real property
                                                   questions (.5); review and analyze CBRE
                                                   engagement letter questions (.5).
06/10/20 Josh Sussberg, P.C.                  0.50 Telephone conference with B. Wafford re
                                                   GOB.
06/10/20 Lydia Yale                           0.60 Compile objections to 365(d)(3) motion.


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Date     Name                                Hours Description
06/10/20 Samuel Zaretsky                      6.00 Review ground lease review chart (2.5);
                                                   revise same (3.5).
06/11/20 Tyler Bartholome                     2.10 Correspond with L. Cordova re leased
                                                   properties (.5); review and analyze lease
                                                   documents (1.6).
06/11/20 Chris Ceresa                         3.20 Correspond with various parties re store
                                                   closing procedures order and coordinating
                                                   same (1.5); review and revise same and other
                                                   pleadings (1.7).
06/11/20 Chris Ceresa                         1.10 Draft materials re store closing sales.
06/11/20 Rebecca Blake Chaikin                7.30 Telephone conferences with Company, Texas
                                                   AG, Otterbourg and Sephora counsel re store
                                                   closing order (2.3); correspond with C.
                                                   Ceresa, landlord counsel, Milbank and
                                                   Otterbourg re changes to same (1.8); revise
                                                   talking points for store closing and 365(d)(3)
                                                   hearing (1.3); review new-filed objections
                                                   (1.4); correspond with counsel to objecting
                                                   parties (.5).
06/11/20 Rebecca Blake Chaikin                0.80 Coordinate revisions to store closing order per
                                                   Judge Jones comments.
06/11/20 Ian Craig                            4.90 Correspond with K&E team re diligence
                                                   matters (.6); review lease summary chart
                                                   (2.2); revise same (2.1).
06/11/20 Jake Flood                           1.00 Draft and revise lease review chart.
06/11/20 John Thomas Goldman                  4.50 Review lease amendment form (.6); telephone
                                                   conferences with K&E team re same (.4);
                                                   review diligence (1.5); telephone conferences
                                                   with K&E team re same (.5); analyze landlord
                                                   issues (1.5).
06/11/20 Jake William Gordon                  1.80 Analyze issues re store closing order.
06/11/20 Talia Krause                         3.40 Coordinate and assign due diligence for
                                                   leased properties.
06/11/20 Neal Loughery                        2.70 Review and analyze leases.
06/11/20 Benjamin J. Meyer                    4.20 Review leases (2.2); draft and revise lease
                                                   summary review chart (1.6); organize and
                                                   compile documents re same (.2); correspond
                                                   with K&E team re lease review chart
                                                   questions (.2).
06/11/20 Puja Narain                          2.70 Review and analyze documents related to
                                                   store #2058 (1.8); draft summary for lease
                                                   review chart (.9).

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Date     Name                                Hours Description
06/11/20 Puja Narain                          2.20 Review and analyze documents related to
                                                   store #2052 (1.6); draft summary for lease
                                                   review chart (.6).
06/11/20 Puja Narain                          2.40 Review and analyze documents related to
                                                   store #2060 (1.8); draft summary for lease
                                                   review chart (.6).
06/11/20 Tarah Lorraine Perkins               2.00 Review leases (1.2); revise lease review chart
                                                   (.8).
06/11/20 Nicholas Ruge                        1.00 Review, analyze and draft summary of
                                                   objections to store closing and rent deferral
                                                   motion.
06/11/20 Jonathan A. Schechter, P.C.          1.00 Telephone conference with real estate task
                                                   force re real estate issues.
06/11/20 Matthew A. Schroth                   1.80 Review appraisal engagement letter (1.0);
                                                   review and analyze landlord objection (.4);
                                                   review and analyze question re B. Riley and
                                                   Cushman & Wakefield retainer (.4).
06/11/20 Michael B. Slade                     2.80 Prepare for second day hearing and hearing
                                                   on store closure and rent deferral motions.
06/11/20 Josh Sussberg, P.C.                  0.70 Attend telephone conferences and correspond
                                                   with K&E team and advisors re GOB sales
                                                   (.3); attend telephone conference with B.
                                                   Wafford re same (.2); correspond with
                                                   Milbank re same (.2).
06/11/20 Lydia Yale                           0.50 Compile objections to 365(d)(3) motion.
06/12/20 Chris Ceresa                         0.50 Telephone conferences with Company, R.
                                                   Chaikin re lease rejection issues.
06/12/20 Chris Ceresa                         3.90 Draft compliance material re orders entered
                                                   (1.5); review and analyze side letters (.9);
                                                   telephone conference with Company and R.
                                                   Chaikin re GOB sales (.3); correspond with
                                                   Alix and R. Chaikin re issues related to
                                                   rejections, GOB sales (.6); coordinate filing
                                                   pleadings (.6).
06/12/20 Rebecca Blake Chaikin                2.80 Telephone conference with landlord counsel
                                                   re lease rejection (.3); telephone conference
                                                   with Company re same (.3); telephone
                                                   conference with J. Goldman re same (.2);
                                                   correspond with Company, Alix re follow ups
                                                   from store closing and 365(d)(4) orders (2.0).
06/12/20 Lizbeth Cordova                      2.00 Review and analyze lease agreements.
06/12/20 Ian Craig                            4.10 Review and revise lease summary chart.

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Date     Name                                Hours Description
06/12/20 Josh Fintel                          12.30 Correspond and attend telephone conference
                                                    with T. Krause and L. Cordova re ground
                                                    lease documentation re use restrictions and
                                                    estoppel delivery obligations (.4); compile
                                                    ground lease documentation re six facilities re
                                                    financing restrictions, use restrictions,
                                                    estoppel delivery obligations, lender
                                                    protections, operating covenants, purchase
                                                    options, and landlord termination rights (3.4);
                                                    analyze same (3.9); draft ground lease
                                                    summary chart re same (4.6).
06/12/20 Jake Flood                            1.50 Draft and revise lease review chart.
06/12/20 Julia R. Foster                       0.40 Prepare lease rejection-assumption procedure
                                                    notices for circulation.
06/12/20 John Thomas Goldman                   3.00 Review lease payment issues and rent deferral
                                                    order (1.0); telephone conference with K&E
                                                    team re same (1.0); telephone conference with
                                                    real estate task force re real estate issues (1.0).
06/12/20 Vanessa Gomez                         4.90 Review lease and reciprocal easement
                                                    agreement documents for Store 2844 (2.0);
                                                    draft summary of material terms re same (.5);
                                                    review lease and reciprocal easement
                                                    agreement documents for Store 2848 (1.9);
                                                    draft summary of material terms re same (.5).
06/12/20 Sohil Khurana                         2.50 Review and analyze real property diligence
                                                    materials for ground leased properties (1.5);
                                                    summarize and chart relevant provisions
                                                    charter same (1.0).
06/12/20 Talia Krause                          0.80 Coordinate and assign due diligence for
                                                    owned properties.
06/12/20 Neal Loughery                         0.80 Review and analyze leases.
06/12/20 Tiffany T. Mason                      1.00 Review leases.
06/12/20 Benjamin J. Meyer                     2.00 Review leases (.9); draft lease review chart
                                                    (1.1).
06/12/20 Puja Narain                           2.60 Review and analyze documents related to
                                                    store #2064 (1.9); draft summary for lease
                                                    review chart (.7).
06/12/20 Puja Narain                           2.60 Review and analyze documents related to
                                                    store #2065 (1.7); draft summary for lease
                                                    review chart (.9).




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Date     Name                                Hours Description
06/12/20 Puja Narain                          2.80 Review and analyze documents related to
                                                   store #2063 (2.1); draft summary for lease
                                                   review chart (.7).
06/12/20 Matthew A. Schroth                   3.80 Attend telephone conference with Company
                                                   and Alix re store liquidation (.5); attend
                                                   telephone conference with real estate task
                                                   force (1.0); revise work stream organizer
                                                   (2.3).
06/12/20 Aparna Yenamandra                    1.20 Correspond re GOB with Company advisors,
                                                   1L advisors.
06/13/20 Chris Ceresa                         0.50 Review side letters re store closings (.4);
                                                   correspond with R. Chaikin re same (.1).
06/13/20 Vanessa Gomez                        4.90 Review of lease and reciprocal easement
                                                   agreements for Store 2849 (1.7); draft
                                                   summary of material terms re same (.5);
                                                   review lease documents and reciprocal
                                                   easement agreements for Store 2850 (2.2);
                                                   draft summary of material terms re same (.5).
06/13/20 Jason Niels Grover                   3.90 Review diligence re store lease documents
                                                   (1.0); revise lease review chart re same (2.9).
06/13/20 Sohil Khurana                        3.00 Review and revise ground leased properties
                                                   review chart (1.0); review and analyze ground
                                                   lease property diligence materials (2.0).
06/13/20 Talia Krause                         0.10 Coordinate and assign due diligence for
                                                   leased properties.
06/13/20 Neal Loughery                        5.10 Review and analyze leases.
06/13/20 Eric Zhi                             2.50 Review REA and Ground Lease documents
                                                   (1.8); revise abstract re same (.7).
06/14/20 Tyler Bartholome                     1.00 Review and analyze space lease documents.
06/14/20 Chris Ceresa                         1.20 Review and revise timeline for lease
                                                   rejections and store closings (.9); correspond
                                                   with Company, advisors and R. Chaikin re
                                                   various issues (.3).
06/14/20 Rebecca Blake Chaikin                2.90 Revise summary of store closing order
                                                   requirements.
06/14/20 John Thomas Goldman                  1.50 Correspond with K&E team re lease
                                                   amendment form (.6); telephone conference
                                                   with same re same (.4); review lease
                                                   amendment form (.5).
06/14/20 Sohil Khurana                        3.00 Review and revise ground leased properties
                                                   review chart (1.0); review and analyze ground
                                                   lease property diligence materials (2.0).

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Date     Name                                Hours Description
06/14/20 Talia Krause                         0.80 Coordinate and assign due diligence for
                                                   leased properties.
06/14/20 Neal Loughery                        5.30 Review and analyze leases.
06/14/20 Benjamin J. Meyer                    1.10 Review leases (.4); draft lease review chart
                                                   (.6); correspond with K&E team re same (.1).
06/14/20 Tarah Lorraine Perkins               0.80 Review leases (.5); revise lease review chart
                                                   (.3).
06/14/20 Matthew A. Schroth                   0.40 Correspond with K&E team re form of lease
                                                   amendment.
06/14/20 Aparna Yenamandra                    1.40 Correspond re GOB issues with 1L advisors.
06/14/20 Eric Zhi                             5.30 Review ground lease and REA documents
                                                   (3.9); revise abstract re same (1.4).
06/15/20 Tyler Bartholome                     1.10 Review and analyze documents re space
                                                   leases.
06/15/20 Tyler Bartholome                     2.60 Review and analyze space leases (1.5);
                                                   summarize same (.7); correspond with L.
                                                   Cordova re same (.4).
06/15/20 Tyler Bartholome                     2.30 Review and analyze documents re space
                                                   leases (1.5); draft summaries re same (.8).
06/15/20 Tyler Bartholome                     2.10 Review and analyze documents re space
                                                   leases (1.2); summarize same (.9).
06/15/20 Tyler Bartholome                     0.60 Review and analyze documents re space
                                                   leases.
06/15/20 Chris Ceresa                         1.90 Revise notices and rejection order (1.3);
                                                   correspond with advisors, R. Chaikin and JW
                                                   team re coordinating filing re same (.6).
06/15/20 Chris Ceresa                         2.00 Update materials re works in process related
                                                   to real estate task force (1.2); correspond re
                                                   same (.2); correspond with Company re recent
                                                   orders and compliance issues (.3); telephone
                                                   conferences with Company and R. Chaikin re
                                                   GOB and real estate updates (.3).




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Date     Name                                Hours Description
06/15/20 Rebecca Blake Chaikin                3.80 Correspond with Alix, J. Goldman, C. Ceresa
                                                   re lease rejection issues (.6); telephone
                                                   conference with Company, Gordon Bros.,
                                                   Alix, K&E team re store closing coordination
                                                   (.3); correspond with L. Hunyh re store
                                                   closing disclosures (.3); telephone conference
                                                   with J. Goldman, M. Schroth, C. Ceresa re
                                                   real estate workstreams (.7); revise chart re
                                                   same (.4); daily telephone conference with
                                                   Company, K&E team, Alix, advisors re real
                                                   estate issues coordination (1.0); correspond
                                                   with landlord re demand letters (.3); review
                                                   side letters (.2).
06/15/20 Lizbeth Cordova                      3.00 Review and analyze lease agreements.
06/15/20 Ian Craig                            4.10 Review and revise lease summary chart.
06/15/20 Josh Fintel                          0.80 Compile and analyze ground lease
                                                   documentation re two facilities re financing
                                                   restrictions, use restrictions, and estoppel
                                                   delivery obligations (.5); revise ground lease
                                                   summary chart re same (.3).
06/15/20 Jake Flood                           2.80 Draft and revise lease review chart.
06/15/20 Julia R. Foster                      0.50 Research precedent re lease sale
                                                   motion/bidding procedures motions.
06/15/20 John Thomas Goldman                  2.50 Correspond and telephone conferences with
                                                   K&E team re Baxter MN lease rejection (1.5);
                                                   review, revise lease amendment form (1.0).
06/15/20 Vanessa Gomez                        4.00 Review lease documents and reciprocal
                                                   easement agreements for Store 2862 (1.2);
                                                   draft summary of material lease and
                                                   reciprocal easement agreement terms re same
                                                   (.8); review lease and reciprocal easement
                                                   agreement documents for Store 2866 (1.0);
                                                   draft summary of material lease and
                                                   reciprocal easement agreement terms re same
                                                   (1.0).
06/15/20 Jake William Gordon                  2.10 Revise pleadings re treatment of unexpired
                                                   leases.
06/15/20 Jason Niels Grover                   2.60 Review diligence re store lease documents
                                                   (1.8); revise lease review chart re same (.8).
06/15/20 Sohil Khurana                        2.50 Review and revise ground leased properties
                                                   review chart (1.0); review and analyze ground
                                                   lease property diligence materials (1.5).


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Date     Name                                Hours Description
06/15/20 Talia Krause                         2.00 Coordinate and assign due diligence for
                                                   leased properties.
06/15/20 Neal Loughery                        5.90 Review and analyze leases.
06/15/20 Benjamin J. Meyer                    3.10 Correspond with K&E team re additional
                                                   leases (.2); organize lease documents (.3);
                                                   review leases re material terms (1.7); draft
                                                   and revise lease chart re same (.9).
06/15/20 Puja Narain                          1.50 Review and analyze documents re store
                                                   #2065 (.8); draft summary for lease review
                                                   chart re same (.2); organize documents re
                                                   same (.3); correspond with L. Cordova re
                                                   missing items and assigned summaries (.2).
06/15/20 Tarah Lorraine Perkins               1.00 Review lease agreements (.6); revise lease
                                                   review chart (.4).
06/15/20 Alexander Romano                     3.10 Review leased property documents (1.8);
                                                   draft chart summarizing same (1.3).
06/15/20 Jonathan A. Schechter, P.C.          0.80 Telephone conference with real estate task
                                                   force re real estate issues (.6); review
                                                   materials re same (.2).
06/15/20 Matthew A. Schroth                   1.60 Attend telephone conference with P. Foshee
                                                   re form of lease amendment (.6); revise lease
                                                   amendment (1.0).
06/15/20 Andrew R. Van Noord, P.C.            2.00 Review and analyze lease properties reviews
                                                   and processes.
06/15/20 Samuel Zaretsky                      2.80 Review and revise lease review chart.
06/16/20 Tyler Bartholome                     0.60 Review and analyze documents re space
                                                   leases (.3); correspond with D. Rozek re same
                                                   (.3).
06/16/20 Tyler Bartholome                     0.50 Review and analyze documents re space
                                                   leases.
06/16/20 Tyler Bartholome                     1.70 Review and analyze documents re space
                                                   leases (.9); draft summaries re same (.8).
06/16/20 Tyler Bartholome                     2.00 Review and revise documents re space leases
                                                   (1.2); draft summaries re same (.8).
06/16/20 Chris Ceresa                         0.70 Correspond with K&E team re phase 2 store
                                                   closings (.5); review and revise schedule re
                                                   same (.2).




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Date     Name                                Hours Description
06/16/20 Rebecca Blake Chaikin                1.20 Review side letter (.2); correspond with
                                                   Company re requirements under store closing
                                                   order (.2); telephone conference with
                                                   Company, Gordon Bros. re phase 2 store
                                                   closings (.6); correspond with C. Ceresa,
                                                   Company re same (.2).
06/16/20 Lizbeth Cordova                      2.90 Review summaries of lease document
                                                   analysis.
06/16/20 Ian Craig                            3.50 Revise lease summaries (.7); review and
                                                   revise lease summary charts (2.8).
06/16/20 Jake Flood                           2.80 Draft and revise lease review chart.
06/16/20 John Thomas Goldman                  3.00 Correspond with K&E team re lease
                                                   amendment form (1.8); telephone conference
                                                   with same re same (.7); correspond with same
                                                   re Lawrenceville store and rent issues (.5).
06/16/20 Jake William Gordon                  0.90 Correspond with landlords re unexpired
                                                   leases.
06/16/20 Jake William Gordon                  3.10 Review, analyze schedules and statements.
06/16/20 Jason Niels Grover                   5.70 Review diligence re store lease documents
                                                   (3.2); revise lease review chart re same (2.5).
06/16/20 Sohil Khurana                        4.00 Review and revise ground leased properties
                                                   review chart (1.0); review and analyze ground
                                                   lease property diligence materials (1.5); draft
                                                   chart and summarize relevant provisions from
                                                   real property review (1.0); draft
                                                   correspondence for M. Schroth re declarations
                                                   and development agreements with respect to
                                                   certain stores (.5).
06/16/20 Talia Krause                         2.30 Coordinate and assign due diligence for
                                                   leased properties.
06/16/20 Neal Loughery                        1.10 Review and analyze leases.
06/16/20 Tiffany T. Mason                     2.70 Review and summarize leases.
06/16/20 Puja Narain                          3.20 Review and analyze documents related to
                                                   store #2484 (2.6); draft summary for lease
                                                   review chart (.6).
06/16/20 Puja Narain                          2.30 Review and analyze documents related to
                                                   store #2485 (1.8); draft summary for lease
                                                   review chart (.5).
06/16/20 Puja Narain                          2.10 Review and analyze documents related to
                                                   store #2486 (1.6); draft summary for lease
                                                   review chart (.5).


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Date     Name                                Hours Description
06/16/20 Tyler E. Neal                        2.00 Revise lease review.
06/16/20 Tarah Lorraine Perkins               3.50 Review lease agreements (2.1); revise lease
                                                   review chart (1.4).
06/16/20 Alexander Romano                     4.30 Review documents re leased properties (3.2);
                                                   draft chart summarizing key terms re same
                                                   (1.1).
06/16/20 Jonathan A. Schechter, P.C.          0.50 Analyze real estate DD items (.4); review
                                                   related correspondence (.1).
06/16/20 Matthew A. Schroth                   3.30 Correspond with Company re lease
                                                   amendment (.8); revise work stream organizer
                                                   (1.0); revise form lease amendment (1.5).
06/16/20 Josh Sussberg, P.C.                  0.80 Participate in hearing on Nike.
06/16/20 Andrew R. Van Noord, P.C.            0.70 Review and analyze lease properties reviews
                                                   and processes.
06/16/20 Samuel Zaretsky                      6.00 Revise Master Lease Term Sheet.
06/16/20 Eric Zhi                             2.40 Review and revise ground lease abstracts.
06/17/20 Tyler Bartholome                     2.80 Review and analyze documents re space
                                                   leases (1.0); draft summaries re same (1.0);
                                                   correspond with L. Cordova re same (.8).
06/17/20 Tyler Bartholome                     1.90 Review and analyze documents re space
                                                   leases (1.1); draft summaries re same (.8).
06/17/20 Jessica Bihl                         3.80 Review and summarize lease documentation
                                                   for stores 227, 400, 528, 562, 691, 910, 921,
                                                   1226, 1531, and 1728.
06/17/20 Rebecca Blake Chaikin                1.80 Correspond with K&E team, Company re
                                                   landlord stay violation issues (.6); telephone
                                                   conference with Company, Gordon Bros.,
                                                   Alix, K&E team re store closing coordination
                                                   (.4); correspond with same re same (.4);
                                                   correspond with Company re lease
                                                   amendment questions (.4).
06/17/20 Jacob R. Clark                       2.80 Review lease documents (1.2); revise lease
                                                   summaries (1.6).
06/17/20 Lizbeth Cordova                      2.60 Review and analyze lease documents.
06/17/20 Ian Craig                            3.70 Review lease summary chart (1.0); review
                                                   and revise lease summaries (2.2); correspond
                                                   with K&E team re REIT master lease (.5).
06/17/20 Jake Flood                           2.00 Draft and revise lease review chart.




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Date     Name                                Hours Description
06/17/20 John Thomas Goldman                  3.00 Correspond with K&E team re rent deferral
                                                   and lease negotiations (1.5); review, discuss
                                                   and coordinate lease amendment process
                                                   (1.5).
06/17/20 Vanessa Gomez                        4.60 Review lease and reciprocal easement
                                                   agreements for Store 2868 (1.3); draft
                                                   material lease and reciprocal easement
                                                   agreement terms re same (.8); review lease
                                                   and reciprocal easement agreement
                                                   documents for Store 2873 (1.5); draft
                                                   summary of material lease and reciprocal
                                                   easement agreement terms re same (1.0).
06/17/20 Jason Niels Grover                   1.40 Review diligence review re store lease
                                                   documents (.6); revise lease review chart re
                                                   same (.8).
06/17/20 Lanchi Huynh                         0.30 Conference with Milbank re lease
                                                   negotiations.
06/17/20 Sohil Khurana                        3.00 Review, analyze and revise ground leased
                                                   property review chart (2.0); review
                                                   declarations and other restrictive covenant
                                                   agreements (.2); draft chart and summaries re
                                                   same (.8).
06/17/20 Talia Krause                         2.30 Coordinate and assign due diligence for
                                                   leased properties.
06/17/20 Tiffany T. Mason                     1.20 Review and summarize leases.
06/17/20 Puja Narain                          2.10 Review and analyze documents related to
                                                   store #2498 (1.4); draft summary for lease
                                                   review chart (.7).
06/17/20 Puja Narain                          1.90 Review and analyze documents related to
                                                   store #2488 (1.5); draft summary for lease
                                                   review chart (.4).
06/17/20 Puja Narain                          1.40 Review and analyze documents related to
                                                   store #2614 (1.1); draft summary for lease
                                                   review chart (.3).
06/17/20 Puja Narain                          0.60 Review and analyze documents related to
                                                   store #2616 (.4); draft summary for lease
                                                   review chart (.2).
06/17/20 Alexander Romano                     7.30 Review documents re leased properties (4.4);
                                                   draft chart summarizing key terms of same
                                                   (2.9).
06/17/20 Jonathan A. Schechter, P.C.          0.50 Telephone conference with real estate task
                                                   force caller real estate issues.

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Date     Name                                Hours Description
06/17/20 Matthew A. Schroth                   1.00 Attend telephone conference with Company
                                                   and Alix re liquidation (.5); finalize lease
                                                   form amendment (.5).
06/17/20 Andrew R. Van Noord, P.C.            1.00 Review and analyze lease properties reviews
                                                   and processes.
06/17/20 Samuel Zaretsky                      1.30 Review and revise Master Lease Term Sheet.
06/18/20 Jessica Bihl                         7.80 Review and summarize lease documentation
                                                   for stores 227, 400, 528, 562, 691, 910, 921,
                                                   1226, 1531, and 1728.
06/18/20 Rebecca Blake Chaikin                2.50 Correspond with Alix, UCC re Nike
                                                   preference analysis (1.0); telephone
                                                   conference with Oregon DOJ re closing stores
                                                   procedures (.3); correspond with same re
                                                   same (.4); correspond with Company, K&E re
                                                   landlord lockout notices (.3); daily telephone
                                                   conference with Company, K&E team, Alix,
                                                   advisors re real estate issues coordination (.5).
06/18/20 Jacob R. Clark                       0.30 Correspond with K&E team re lease
                                                   summaries (.1); review lease summary (.2).
06/18/20 Ian Craig                            4.10 Review and revise lease summary charts
                                                   (3.9); correspond with K&E team re same
                                                   (.2).
06/18/20 John Thomas Goldman                  6.00 Correspond and telephone conferences with
                                                   K&E team re landlord issues (2.0);
                                                   correspond with same re lease amendment
                                                   approval process and creditor time line for
                                                   approval (3.0); telephone conferences with
                                                   same re same (1.0).
06/18/20 Jake William Gordon                  1.80 Telephone conferences with landlords re
                                                   unexpired leases.
06/18/20 Sohil Khurana                        2.00 Review and revise ground leased properties
                                                   review chart.
06/18/20 Talia Krause                         3.80 Coordinate and assign due diligence for
                                                   leased properties.
06/18/20 Neal Loughery                        4.80 Review and analyze leases.
06/18/20 Tiffany T. Mason                     1.30 Review and summarize leases.
06/18/20 Puja Narain                          1.00 Review and analyze documents related to
                                                   store #2616 (.7); draft summary for lease
                                                   review chart (.3).
06/18/20 Puja Narain                          2.30 Review and analyze documents related to
                                                   store #2620 (1.8); draft summary for lease
                                                   review chart (.5).

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Sales

Date     Name                                Hours Description
06/18/20 Tarah Lorraine Perkins               2.50 Review lease agreements (1.6); revise lease
                                                   review chart (.9).
06/18/20 Alexander Romano                     6.20 Review documents re leased properties (3.0);
                                                   draft chart summarizing key terms re same
                                                   (3.2).
06/18/20 Jonathan A. Schechter, P.C.          1.00 Analyze new lease items, related
                                                   correspondence (.5); review work stream
                                                   items (.5).
06/18/20 Matthew A. Schroth                   1.50 Attend telephone conference re headquarters
                                                   lease with Company (.5); correspond with
                                                   Company re lease amendments (1.0).
06/18/20 Josh Sussberg, P.C.                  0.30 Correspond with Milbank re lease matters.
06/18/20 Andrew R. Van Noord, P.C.            0.50 Review and analyze lease property real estate
                                                   diligence.
06/19/20 Jessica Bihl                         1.00 Review and summarize lease documentation
                                                   for stores 227, 400, 528, 562, 691, 910, 921,
                                                   1226, 1531, and 1728.
06/19/20 Chris Ceresa                         0.90 Telephone conferences with Company and
                                                   K&E team re work in process for real estate
                                                   items (.5); correspond with advisors and K&E
                                                   team re notice for additional store closings
                                                   (.4).
06/19/20 Rebecca Blake Chaikin                2.50 Correspond with Company, K&E team, Alix
                                                   re phase 2 closing stores (.4); correspond with
                                                   A. Yenamandra, J. Goldman re lender
                                                   approval re same (.7); telephone conference
                                                   with J. Gordon, C. Ceresa re priority real
                                                   estate workstreams (.4); correspond with
                                                   K&E team re same (.5); daily telephone
                                                   conference with Company, K&E team, Alix,
                                                   advisors re real estate issues coordination (.5).
06/19/20 Julia R. Foster                      0.30 Research precedent re store closing notices
                                                   (.1); draft Notice of Store Closing (.2).
06/19/20 John Thomas Goldman                  3.00 Correspond and telephone conferences with
                                                   K&E team re lease amendments and approval
                                                   process.
06/19/20 Vanessa Gomez                        2.30 Review lease and reciprocal easement
                                                   agreement documents for Store 90 (1.3); draft
                                                   summary of material lease and reciprocal
                                                   easement agreement terms re same (1.0).
06/19/20 Jake William Gordon                  1.30 Telephone conferences with landlord re
                                                   default notices.

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Date     Name                                Hours Description
06/19/20 Sohil Khurana                        0.80 Review and revise ground leased properties
                                                   review chart (.6); review and analyze ground
                                                   lease property diligence materials (.2).
06/19/20 Neal Loughery                        2.00 Review and analyze leases.
06/19/20 Mike Lowes                           2.20 Review and summarize store lease
                                                   agreements.
06/19/20 Tiffany T. Mason                     8.00 Review and summarize leases.
06/19/20 Tarah Lorraine Perkins               1.00 Review lease agreements (.3); lease review
                                                   chart (.7).
06/19/20 Alexander Romano                     4.40 Review documents re leased properties (2.8);
                                                   draft chart summarizing key terms re same
                                                   (1.6).
06/19/20 Jonathan A. Schechter, P.C.          0.80 Review various real estate items, work stream
                                                   and related correspondence.
06/19/20 Matthew A. Schroth                   1.00 Attend telephone conference with P. Foshee
                                                   re lease amendments.
06/19/20 Christopher Thomas, P.C.             0.50 Participate in telephone conference with K&E
                                                   teams re transaction matters.
06/19/20 Andrew R. Van Noord, P.C.            2.20 Attend telephone conference with Paul
                                                   Foshee re lease amendment process (.5);
                                                   review and analyze lease amendment review
                                                   (.5); review lease amendment internal
                                                   processes (.5); review due diligence status
                                                   (.2); draft feedback to lease reviewers (.5).
06/19/20 Logan Weissler                       0.50 Attend telephone conference re lease
                                                   negotiations.
06/19/20 Victoria M. Zhou                     1.00 Review leases.
06/20/20 Chris Ceresa                         0.80 Draft notice of store closing sales and
                                                   exhibits.
06/20/20 Vanessa Gomez                        4.10 Review lease and reciprocal easement
                                                   documents for Store 2876 (1.2); draft
                                                   summary of material lease and reciprocal
                                                   easement agreement terms re same (.9);
                                                   review lease and reciprocal easement
                                                   agreements for Store 2877 (1.0); draft
                                                   summary of material lease and reciprocal
                                                   easement agreement terms re same (1.0).




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Date     Name                                Hours Description
06/20/20 Vanessa Gomez                         4.50 Review lease and reciprocal easement
                                                    agreement documents for Store 197 (1.2);
                                                    draft summary of material lease and
                                                    reciprocal easement terms re same (1.0);
                                                    review lease and reciprocal easement
                                                    agreements for Store 1306 (1.3); draft
                                                    summary of material lease and reciprocal
                                                    easement terms re same (1.0).
06/20/20 Jason Niels Grover                    1.30 Review diligence re store lease documents
                                                    (.7) revise lease review chart (.6).
06/20/20 Tarah Lorraine Perkins                0.80 Review lease agreements (.5); revise lease
                                                    review chart (.3).
06/20/20 Andrew R. Van Noord, P.C.             1.50 Review lease diligence issues.
06/21/20 Ian Craig                             1.30 Correspond with K&E team re lease
                                                    summaries (.4); review lease summary chart
                                                    (.9).
06/21/20 Vanessa Gomez                         4.30 Review leases and reciprocal easement
                                                    agreements for Stores 378 and 379 (2.8); draft
                                                    summary of material terms of leases and
                                                    reciprocal easement agreements re same (1.5).
06/21/20 Vanessa Gomez                         3.10 Review and revise lease and reciprocal
                                                    easement agreement summaries for stores
                                                    2209, 2232, 2353, 2399, 2414, 2507, 2522,
                                                    and 2524.
06/21/20 Andrew R. Van Noord, P.C.             0.20 Correspond with K&E diligence reviewers re
                                                    leases real property.
06/22/20 Jessica Bihl                         10.00 Review and summarize lease documentation
                                                    for Store Numbers: 227; 400; 528; 562; 691;
                                                    910; 921; 1226; 1531; and 1738.
06/22/20 Chris Ceresa                          0.30 Correspond with RSA parties and K&E team
                                                    re upcoming lease rejections.
06/22/20 Chris Ceresa                          1.50 Review and analyze three wages orders and
                                                    store closing procedures order (.8); draft
                                                    compliance materials re same (.5); correspond
                                                    with K&E team re same (.2).
06/22/20 Chris Ceresa                          1.30 Correspond with JW, Company, advisors, and
                                                    K&E team including R. Chaikin re Phase 2
                                                    GOB sales filing (.4); revise same (.6);
                                                    telephone conference with advisor and
                                                    Company re store operations issues (.3).




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Date     Name                                Hours Description
06/22/20 Rebecca Blake Chaikin                3.10 Telephone conference with L. Downing re
                                                   Hilco contract (.2); daily telephone
                                                   conference with Company, K&E team, Alix,
                                                   advisors re real estate issues coordination (.9);
                                                   review phase 2 store closing notice (.2);
                                                   telephone conference with Company, Alix, B.
                                                   Riley re phase 2 (.2); correspond with same re
                                                   same (.6); telephone conference with S. Stark,
                                                   Alix re store closing severance (.7); telephone
                                                   conference with Company, Gordon Bros.,
                                                   Alix, K&E team re store closing coordination
                                                   (.3).
06/22/20 Justin C. Elliott                    4.00 Review and analyze lease issues list re San
                                                   Bruno location (3.5); correspond with
                                                   Company re open items on lease issues list
                                                   (.5).
06/22/20 Jake Flood                           0.50 Draft and revise lease review chart.
06/22/20 John Thomas Goldman                  3.00 Review, discuss and coordinate third party
                                                   diligence requests (2.0); attend RE task force
                                                   call (1.0).
06/22/20 Jake William Gordon                  1.80 Telephone conferences with landlords re
                                                   demand letters.
06/22/20 Jason Niels Grover                   3.60 Conduct diligence review of store lease
                                                   documents (1.5); revise lease review chart re
                                                   same (2.1).
06/22/20 Talia Krause                         3.50 Coordinate and assign due diligence for
                                                   leased properties.
06/22/20 Puja Narain                          1.50 Review and analyze documents for store #
                                                   2629 (.8); draft summary for lease review
                                                   chart (.7).
06/22/20 Puja Narain                          1.80 Review and analyze documents related to
                                                   store # 2633 (1.2); draft summary for lease
                                                   review chart (.6).
06/22/20 Tarah Lorraine Perkins               2.00 Review lease agreements (.8); revise lease
                                                   review chart (1.2).
06/22/20 Callie Jones Poorman                 3.50 Review lease agreements re diligence.
06/22/20 Alexander Romano                     4.40 Review lease documents for various
                                                   properties (2.9); draft chart summarizing key
                                                   terms re same (1.5).
06/22/20 Jonathan A. Schechter, P.C.          0.50 Telephone conference with real estate task
                                                   force re real estate items.



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Date     Name                                Hours Description
06/22/20 Matthew A. Schroth                   0.50 Attend telephone conference with Company
                                                   and Alix re store liquidation.
06/22/20 Andrew R. Van Noord, P.C.            3.00 Review, analyze first set of lease amendments
                                                   (2.0); review lease amendment form (1.0).
06/22/20 Andrew R. Van Noord, P.C.            2.30 Attend telephone conference with K&E team
                                                   re status of lease reviews (.5); attend
                                                   telephone conference with J. Goldman and J.
                                                   Schechter re real estate work streams (.5);
                                                   review correspondence with K&E lease
                                                   reviewers re lease issues (1.3).
06/22/20 Victoria M. Zhou                     2.50 Revise lease issue list (1.5); attend telephone
                                                   conference with J. Elliot (.3); review
                                                   correspondence from Company (.3); further
                                                   revise issue list (.4).
06/23/20 Curt E. Bersche                      2.50 Organize and compile Leases.
06/23/20 Jessica Bihl                         6.00 Review and summarize lease documentation
                                                   for Store Numbers: 227; 400; 528; 562; 691;
                                                   910; 921; 1226; 1531; and 1738.
06/23/20 John G. Caruso                       1.20 Telephone conference with A. Van Noord re
                                                   lease review project (.7); review lease review
                                                   form (.5).
06/23/20 Chris Ceresa                         0.90 Review and draft summary of de minimis sale
                                                   procedures motion (.6); correspond with J.
                                                   Gordon re same (.1); correspond with Gordon
                                                   Brothers and R. Chaikin re side letters for
                                                   GOB sales (.2).
06/23/20 Rebecca Blake Chaikin                1.10 Review side letter (.2); daily telephone
                                                   conference with Company, K&E team, Alix,
                                                   advisors re real estate issues coordination (.5);
                                                   correspond with K&E team re same (.4).
06/23/20 Jacob R. Clark                       1.70 Prepare for and attend telephone conference
                                                   with K&E team re document review (1.1);
                                                   review lease summaries (.5); correspond with
                                                   L. Cordova re same (.1).
06/23/20 Lizbeth Cordova                      1.50 Draft lease amendments.
06/23/20 Ian Craig                            1.20 Review lease summaries.
06/23/20 Allyson N. Dillon                    1.00 Attend telephone conference with A. Van
                                                   Noord re lease amendments (.3); attend
                                                   telephone conference with K&E team re lease
                                                   review diligence (.5); review correspondence
                                                   re lease document diligence (.2).



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Date     Name                                Hours Description
06/23/20 Justin C. Elliott                    0.20 Correspond with K&E team re lease
                                                   amendments.
06/23/20 Jake Flood                           0.80 Draft and revise lease review chart.
06/23/20 Sohil Khurana                        1.50 Review and revise ground leased properties
                                                   review chart.
06/23/20 Talia Krause                         4.20 Coordinate and assign due diligence for
                                                   leased properties.
06/23/20   Will Lawley                        0.70 Review third party lease diligence re review.
06/23/20   Tiffany T. Mason                   3.00 Review and summarize leases.
06/23/20   Callie Jones Poorman               4.00 Review lease agreements re diligence.
06/23/20   Alexander Romano                   5.10 Review lease documents (4.0); draft chart
                                                   summarizing key terms re same (1.1).
06/23/20 Jonathan A. Schechter, P.C.          1.00 Review lease amendments (.5); Review real
                                                   estate issues (.5).
06/23/20 Jennifer Sheehan                     0.50 Review lease charts.
06/23/20 Al Stemp, P.C.                       1.10 Attend telephone conference with J. Elliot and
                                                   V. Zhou re lease issues (.4); attend telephone
                                                   conference with A. Cantero re same (.2);
                                                   review lease draft re applicable state law (.5).
06/23/20 Andrew R. Van Noord, P.C.            2.00 Review lease amendments (1.0); draft
                                                   language for B. Riley (1.0).
06/23/20 Andrew R. Van Noord, P.C.            0.60 Coordination of lease property reviews.
06/23/20 Samuel Zaretsky                      5.50 Review master lease term sheet (4.9); attend
                                                   telephone conference with S. Tomlinson, J.
                                                   Goldman, A. Van Noord and M. Schroth re
                                                   master lease term sheet markup (.6).
06/23/20 Victoria M. Zhou                     1.00 Attend telephone conference with A. Stemp
                                                   and J. Elliot re landlord issues (.3);
                                                   correspond with J. Elliott re same (.2); draft
                                                   the lease issue list re same (.5).
06/24/20 Curt E. Bersche                      9.10 Organize and compile leases and Reciprocal
                                                   Easement Agreements.
06/24/20 Jessica Bihl                         6.50 Review lease documentation and draft
                                                   revisions to the lease summaries for Store
                                                   Numbers: 1037; 1048; 1052; 1068; 1091;
                                                   1134; 1153; and 1163.
06/24/20 Andres Cantero Jr.                   4.00 Review San Bruno lease (1.8); draft summary
                                                   of key provisions (2.2).
06/24/20 John G. Caruso                       2.00 Review lease documents.



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Date     Name                                Hours Description
06/24/20 Rebecca Blake Chaikin                 0.80 Daily telephone conference with Company,
                                                    K&E team, Alix, advisors re real estate issues
                                                    coordination.
06/24/20 Jacob R. Clark                        1.70 Review lease summaries.
06/24/20 Lizbeth Cordova                      12.50 Draft lease amendments.
06/24/20 Ian Craig                             4.70 Review and revise lease summary charts
                                                    (4.5); correspond with K&E team re same
                                                    (.2).
06/24/20 John Thomas Goldman                   2.00 Review optimization plan status (.8);
                                                    telephone conference with K&E team re same
                                                    (.2); telephone conference with working
                                                    group re 1L approval of optimization plans
                                                    (1.0)
06/24/20 John Thomas Goldman                   1.00 Correspond with K&E team and review re
                                                    San Bruno amendment.
06/24/20 Talia Krause                          4.50 Review, coordinate and assign due diligence
                                                    for leased properties.
06/24/20 Will Lawley                           0.80 Review and revise checklist for structuring
                                                    and executing the REIT transaction structure.
06/24/20 Tiffany T. Mason                      0.60 Review and summarize leases.
06/24/20 Tarah Lorraine Perkins                1.70 Review lease agreements (1.1); revise lease
                                                    review chart (.6).
06/24/20 Callie Jones Poorman                  5.00 Review lease agreements re diligence.
06/24/20 Alexander Romano                      3.30 Review newly received sale-leaseback
                                                    documentation on leased property (2.0);
                                                    revise summary chart summarizing key terms
                                                    re same (1.3).
06/24/20 Nicholas Ruge                         3.00 Draft, prepare, research re landlord issues
                                                    (2.6); revise tracker re same (.4).
06/24/20 Jonathan A. Schechter, P.C.           0.50 Review real estate task force and work stream
                                                    items.
06/24/20 Matthew A. Schroth                    1.50 Attend telephone conference with Company
                                                    and Alix re store liquidation (.5); revise form
                                                    lease amendment (1.0).
06/24/20 Jennifer Sheehan                      1.80 Review and revise lease summary charts.
06/24/20 Andrew R. Van Noord, P.C.             3.50 Revise form of lease amendment (1.0); review
                                                    draft of lease amendments for 10 stores (2.5).
06/24/20 Andrew R. Van Noord, P.C.             1.50 Review correspondence with K&E lease
                                                    reviewers re lease issues.
06/24/20 Victoria M. Zhou                      2.00 Draft the issue list re landlords.


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Date     Name                                Hours Description
06/25/20 April B. Abrams                      6.00 Compile and organize lease documents and
                                                   operating agreements.
06/25/20 Jessica Bihl                         2.00 Review lease documentation (.8); revise lease
                                                   summaries for Store Numbers: 227; 400; 528;
                                                   562; 691; 910; 921; 1226; 1531; and 1738
                                                   (1.2).
06/25/20 Chris Ceresa                         0.80 Draft notice of lease rejection (.5); revise
                                                   timeline for lease rejections (.3).
06/25/20 Chris Ceresa                         0.40 Telephone conference with landlord
                                                   counterparty re side letter and other issues
                                                   related to GOB sale (.3); correspond with
                                                   landlord counterparty re same (.1).
06/25/20 Rebecca Blake Chaikin                3.30 Correspond with K&E team, Alix, B. Riley re
                                                   real estate approvals from lenders (.8); review
                                                   tracker re same (.2); telephone conferences
                                                   with Alix, J. Goldman, J. Gordon, C. Ceresa
                                                   re same (.8); correspond with Milbank re
                                                   same (.2); daily telephone conference with
                                                   Company, K&E team, Alix, advisors re real
                                                   estate issues coordination (1.0); review
                                                   summary of store closing and lease rejection
                                                   process (.3).
06/25/20 Jacob R. Clark                       2.50 Review lease documents (1.8); revise lease
                                                   summaries (.7).
06/25/20 Lizbeth Cordova                      4.40 Review and revise lease amendment
                                                   agreements.
06/25/20 Ian Craig                            5.00 Review and revise lease summary charts.
06/25/20 John Thomas Goldman                  3.00 Telephone conference with real estate task
                                                   force re real estate items (1.0); correspond
                                                   with K&E team re status of various items
                                                   (1.0); telephone conferences with K&E team
                                                   re lease amendments (1.0).
06/25/20 Jake William Gordon                  1.90 Review, analyze de minimis asset sale
                                                   procedures.
06/25/20 Talia Krause                         4.50 Review, coordinate and assign due diligence
                                                   for leased properties.
06/25/20   Will Lawley                        0.80 Review third party lease re-review.
06/25/20   Tyler E. Neal                      1.50 Review and summarize leases.
06/25/20   Callie Jones Poorman               4.50 Review lease agreements re diligence.
06/25/20   Nicholas Ruge                      0.50 Review landlord lockout and default notices
                                                   (.3); revise tracker re same (.2).


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Date     Name                                Hours Description
06/25/20 Jonathan A. Schechter, P.C.          0.80 Analyze real estate task force and work
                                                   stream items (.5); telephone conference with
                                                   J. Goldman re same (.3).
06/25/20 Jennifer Sheehan                     5.00 Review and revise lease summary charts.
06/25/20 Andrew R. Van Noord, P.C.            4.00 Distribute first set of lease amendments to
                                                   Company (.5); correspond with B. Riley re
                                                   lease term sheets and related issues (2.5);
                                                   revise lease amendments (1.0).
06/25/20 Andrew R. Van Noord, P.C.            0.80 Review correspondence with K&E lease
                                                   reviewers re lease issues.
06/25/20 Victoria M. Zhou                     1.50 Review and revise issue list re landlords.
06/26/20 Chris Ceresa                         1.20 Correspond K&E team re real estate issues
                                                   (.2); telephone conference with same re same
                                                   (.1); review and comment on real estate
                                                   diligence charts, underlying documentation
                                                   (.9).
06/26/20 Rebecca Blake Chaikin                0.70 Correspond with 1L advisors re real estate
                                                   approvals tracker (.2); telephone conference
                                                   with Company, Gordon Bros., Alix, K&E
                                                   team re store closing coordination (.5).
06/26/20 Jacob R. Clark                       3.60 Review lease and REA documents (2.9);
                                                   review and revise lease summary and REA
                                                   summary (.7).
06/26/20 Lizbeth Cordova                      1.00 Attend telephone conference with P. Foshee
                                                   re lease amendments (.5); attend telephone
                                                   conference with M. Jerbich re same (.5).
06/26/20 Ian Craig                            1.40 Review and revise lease summary charts
                                                   (1.3); correspond with K&E team re same
                                                   (.1).
06/26/20 Jake William Gordon                  0.80 Telephone conferences with landlords re
                                                   demand letters.
06/26/20 Talia Krause                         1.70 Review, coordinate and assign due diligence
                                                   for leased properties.
06/26/20 Will Lawley                          3.00 Review third party lease re-review.
06/26/20 Callie Jones Poorman                 7.00 Review lease agreements for prepetition
                                                   diligence.
06/26/20 Jonathan A. Schechter, P.C.          0.80 Review task force items, work stream items,
                                                   related correspondence.




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Date     Name                                Hours Description
06/26/20 Matthew A. Schroth                   1.50 Attend telephone conference with Company
                                                   and Alix re liquidation sales (.5); attend
                                                   telephone conference with K&E team re lease
                                                   amendments (1.0).
06/26/20 Jennifer Sheehan                     5.50 Review and revise lease summary charts
                                                   (3.3); review leases (2.2).
06/26/20 Andrew R. Van Noord, P.C.            4.00 Telephone conference with P. Foshee re
                                                   revised lease amendments and revisions to
                                                   same (1.5); draft term sheet provisions for B.
                                                   Riley (1.5); correspond with P. Foshee re
                                                   same (1.0).
06/26/20 Andrew R. Van Noord, P.C.            0.80 Review correspondence with K&E lease
                                                   reviewers re lease issues.
06/27/20 Rebecca Blake Chaikin                0.20 Correspond with Company re abandonment of
                                                   property.
06/27/20 Jake William Gordon                  0.30 Review, analyze demand letters.
06/27/20 Talia Krause                         0.10 Coordinate and assign due diligence for
                                                   leased properties.
06/27/20 Will Lawley                          2.00 Review third party lease re-review.
06/27/20 Callie Jones Poorman                 5.00 Review lease agreements for prepetition
                                                   diligence.
06/27/20 Jennifer Sheehan                     3.60 Review and revise lease summary charts re
                                                   lease review (3.2); correspond with lease
                                                   diligence team re same (.4).
06/28/20 Ian Craig                            4.10 Review and revise lease summary charts.
06/28/20 Vanessa Gomez                        4.40 Review leases and reciprocal easement
                                                   agreements for Stores 2919 and 2939 (2.9);
                                                   draft summary of material lease and
                                                   reciprocal easement agreement terms re same
                                                   (1.5).
06/28/20 Jake William Gordon                  2.50 Review, revise auction pleadings.
06/28/20 Talia Krause                         2.20 Coordinate and assign due diligence for
                                                   leased properties.
06/28/20 Will Lawley                          3.40 Review third party lease re-review.
06/28/20 Tiffany T. Mason                     1.00 Review and summarize leases.
06/28/20 Callie Jones Poorman                 2.00 Review lease agreements for prepetition
                                                   diligence.
06/28/20 Jonathan A. Schechter, P.C.          0.30 Review items re deadlines, work in process
                                                   items, related correspondence.



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Legal Services for the Period Ending June 30, 2020           Invoice Number:            1050032376
J.C. Penney Company, Inc.                                     Matter Number:              47223-10
Retail Business Operations / Unexpired Leases / GOB
Sales

Date     Name                                Hours Description
06/28/20 Andrew R. Van Noord, P.C.            1.50 Revise form of lease amendment (.8);
                                                   correspond with L. Cordova re same (.2);
                                                   correspond with B. Riley re lease amendment
                                                   terms (.5).
06/29/20 Jessica Bihl                         3.00 Organize and review lease documentation for
                                                   Store Numbers: 4; 5; 7; 55; 89; 133; 194; 199;
                                                   218; 219.
06/29/20 John G. Caruso                       3.80 Review and revise lease summaries.
06/29/20 Chris Ceresa                         0.60 Correspond with K&E team and Company
                                                   and landlord re insurance issues.
06/29/20 Chris Ceresa                         0.20 Correspond with Gordon Brothers re side
                                                   letter issue with GOB sale landlord.
06/29/20 Rebecca Blake Chaikin                0.70 Telephone conference with J. Gordon, C.
                                                   Ceresa re real estate bid procedures (.2); daily
                                                   telephone conference with Company, K&E
                                                   team, Alix, advisors re real estate issues
                                                   coordination (.5).
06/29/20 Jacob R. Clark                       3.60 Review lease documents and summaries.
06/29/20 Lizbeth Cordova                      5.60 Organize real estate due diligence (4.5);
                                                   review lease amendment term sheets and
                                                   lease amendment form (1.1).
06/29/20   Ian Craig                          6.20 Review and revise to lease summary charts.
06/29/20   Justin C. Elliott                  0.20 Correspond with K&E team re open items.
06/29/20   Jake Flood                         0.70 Draft and revise lease review chart.
06/29/20   Jake William Gordon                2.10 Review lease auction procedures.
06/29/20   Talia Krause                       6.50 Review, coordinate and assign due diligence
                                                   for leased properties.
06/29/20 Will Lawley                          3.00 Review third party lease re-review.
06/29/20 Tyler E. Neal                        3.60 Review and summarize leases.
06/29/20 Tarah Lorraine Perkins               1.00 Review lease agreements (.4); revise lease
                                                   review chart (.6).
06/29/20 Callie Jones Poorman                 7.00 Review lease agreements for prepetition
                                                   diligence.
06/29/20 Prentis Robinson                     0.30 Correspond with AlixPartners re executory
                                                   contract analysis.




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Legal Services for the Period Ending June 30, 2020           Invoice Number:            1050032376
J.C. Penney Company, Inc.                                     Matter Number:              47223-10
Retail Business Operations / Unexpired Leases / GOB
Sales

Date     Name                                Hours Description
06/29/20 Alexander Romano                     15.10 Review lease documents for various
                                                    properties (4.0); draft chart summarizing key
                                                    terms of same (4.0); revise lease chart
                                                    summaries (4.0); review newly received lease
                                                    documents for various properties (1.5); draft
                                                    summary chart re same (1.6).
06/29/20 Jonathan A. Schechter, P.C.           0.50 Telephone conference with real estate task
                                                    force re real estate issues.
06/29/20 Matthew A. Schroth                    0.40 Attend telephone conference with Company
                                                    and Alix re liquidation sales.
06/29/20 Jennifer Sheehan                      4.90 Correspond with K&E team re lease diligence
                                                    (.4); review and revise lease summary charts
                                                    (3.5); review leases (1.0).
06/29/20 Josh Sussberg, P.C.                   1.00 Attend telephone conference with G. Holihan
                                                    re status (.3); attend telephone conference
                                                    with Okin Adams, Lazard and Alix re real
                                                    estate matters (.3); correspond with K&E
                                                    team re same (.2); correspond with K&E team
                                                    and advisors re status (.1); attend telephone
                                                    conference with M. Weitz re real estate
                                                    matters (.1).
06/29/20 Andrew R. Van Noord, P.C.             1.20 Review lease amendment outstanding issues
                                                    (1.0); correspond with B. Riley, P. Foshee re
                                                    same (.2).
06/29/20 Andrew R. Van Noord, P.C.             0.50 Review lease issues.
06/30/20 Jessica Bihl                          0.30 Review and revise lease summaries.
06/30/20 Chris Ceresa                          1.40 Correspond with Company and K&E team re
                                                    rejection issues (.4); revise notice of lease
                                                    rejection (.4); correspond with JW team and
                                                    K&E team re coordinating filing CNO for
                                                    lease rejection (.4); telephone conference with
                                                    Company, advisors and K&E team re various
                                                    real estate issues (.2).
06/30/20 Chris Ceresa                          1.20 Correspond with Company re compliance
                                                    with store closing procedures order (.4);
                                                    correspond with advisors re compliance with
                                                    wages order (.4); analyze wages orders re
                                                    compliance requirements (.4).
06/30/20 Rebecca Blake Chaikin                 0.60 Correspond with K&E team re real estate
                                                    workstreams status (.2); review long-range
                                                    plan (.2); correspond with K&E team re
                                                    reporting requirements (.2).


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Legal Services for the Period Ending June 30, 2020           Invoice Number:           1050032376
J.C. Penney Company, Inc.                                     Matter Number:             47223-10
Retail Business Operations / Unexpired Leases / GOB
Sales

Date     Name                                Hours Description
06/30/20 Jacob R. Clark                        4.60 Review ground lease and sale/leaseback lease
                                                    documents (3.3); draft comments to lease
                                                    summaries (1.3).
06/30/20 Lizbeth Cordova                       2.70 Review and revise form amendments.
06/30/20 Ian Craig                             5.20 Review and revise lease summary charts
                                                    (4.5); review and revise lease summaries (.7).
06/30/20 Jake Flood                            0.10 Draft and revise lease review chart.
06/30/20 Jake William Gordon                   3.30 Review, revise auction pleadings (1.8);
                                                    review, analyze lease docs (.6); correspond
                                                    with K&E team re same (.7); review plan re
                                                    same (.2).
06/30/20 Talia Krause                          4.50 Review, coordinate and assign due diligence
                                                    for leased properties.
06/30/20 Puja Narain                           2.50 Correspond re lease review chart edits with J.
                                                    Elliott (.7); revise lease review chart (1.8).
06/30/20 Tarah Lorraine Perkins                2.00 Review lease agreements (1.2); revise lease
                                                    review chart (.8).
06/30/20 Callie Jones Poorman                  2.00 Review lease agreements.
06/30/20 Alexander Romano                     12.20 Review lease documents for various
                                                    properties (4.0); draft chart summarizing key
                                                    terms of same (4.0); revise lease summary
                                                    charts (4.0); correspond with I. Craig, T.
                                                    Krause and L. Cordova re same (.2).
06/30/20 Stephanie Goldkopf Scheer             0.50 Review lease documents re preparation of
                                                    lease abstract chart.
06/30/20 Jennifer Sheehan                      1.60 Review and revise lease summary charts with
                                                    corresponding lease review.
06/30/20 Andrew R. Van Noord, P.C.             4.00 Telephone conference with P. Foshee re
                                                    revised lease amendments and revisions to
                                                    same (1.5); draft term sheet provisions for B.
                                                    Riley and correspond with P. Foshee re same
                                                    (2.5).
06/30/20 Andrew R. Van Noord, P.C.             0.50 Review lease property diligence summary.

Total                                      1,487.40




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                          FEIN XX-XXXXXXX




September 15, 2020

J.C. Penney Company, Inc.
6501 Legacy Drive
Plano, TX 75024

Attn: Brandy Treadway

                                                                            Invoice Number: 1050032377
                                                                              Client Matter: 47223-11

In the Matter of Employee Issues




For legal services rendered through June 30, 2020
(see attached Description of Legal Services for detail)                                                       $ 77,635.50
Total legal services rendered                                                                                 $ 77,635.50




  Beijing Boston Chicago Dallas Hong Kong Houston London Los Angeles Munich Palo Alto Paris San Francisco Shanghai Washington, D.C.
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Legal Services for the Period Ending June 30, 2020          Invoice Number:   1050032377
J.C. Penney Company, Inc.                                    Matter Number:     47223-11
Employee Issues




                                         Summary of Hours Billed

Name                                                     Hours         Rate     Amount
Matthew Antinossi                                          8.70    1,375.00    11,962.50
Rebecca Blake Chaikin                                      0.50    1,085.00       542.50
Kate Coverdale                                             0.70    1,215.00       850.50
Julia R. Foster                                            1.00      340.00       340.00
R.D. Kohut                                                 0.20    1,175.00       235.00
Emily Morrison                                            14.70      845.00    12,421.50
Kimberly Pageau                                           20.30      740.00    15,022.00
Scott D. Price, P.C.                                       5.40    1,635.00     8,829.00
Jeffrey S. Quinn                                           1.40    1,375.00     1,925.00
Prentis Robinson                                           0.80      610.00       488.00
Michael B. Slade                                           1.10    1,395.00     1,534.50
Allyson Smith Weinhouse                                    4.90      965.00     4,728.50
Aparna Yenamandra                                         16.10    1,165.00    18,756.50

TOTALS                                                    75.80               $ 77,635.50




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Legal Services for the Period Ending June 30, 2020            Invoice Number:           1050032377
J.C. Penney Company, Inc.                                      Matter Number:             47223-11
Employee Issues


                                       Description of Legal Services

Date     Name                                  Hours Description
05/18/20 Scott D. Price, P.C.                   0.70 Telephone conference with A. Yenamandra re
                                                     compensation matters (.4); correspond with
                                                     same re same (.3).
05/18/20 Jeffrey S. Quinn                       0.30 Review and analyze question re 401(k) issues
                                                     (.2); correspond with M. Antinossi re same
                                                     (.1).
05/18/20 Aparna Yenamandra                      0.40 Telephone conference with S. Price re comp
                                                     issues.
05/19/20 Matthew Antinossi                      0.30 Correspond with K. Coverdale re severance
                                                     plan revisions and documentation (.1); review
                                                     files re same (.2).
05/19/20 Kate Coverdale                         0.20 Correspond with K&E team re employee and
                                                     compensation matters.
05/19/20 Julia R. Foster                        0.30 Draft wages fee motion.
05/19/20 Scott D. Price, P.C.                   0.50 Review management programs and severance
                                                     payments.
05/19/20 Prentis Robinson                       0.80 Telephone conference with A. Yenamandra re
                                                     employee benefit analysis (.3); review, revise
                                                     presentations re same (.5).
05/19/20 Aparna Yenamandra                      1.30 Correspond with P. Robinson re
                                                     compensation deck (.4); telephone conference
                                                     with P. Robinson re same (.3); correspond
                                                     with S. Stark re VARP timeline (.6).
05/20/20 Matthew Antinossi                      1.00 Review and analyze PBGC issues (.3);
                                                     telephone conferences with E. Morrison re
                                                     same (.2); telephone conference with E.
                                                     Morrison and A. Yenamandra re same (.2);
                                                     review PBGC correspondence (.1); review
                                                     correspondence from K&E and JCP teams re
                                                     severance benefits (.2).
05/20/20 Emily Morrison                         0.50 Prepare PBGC Form 10 filing.
05/20/20 Allyson Smith Weinhouse                1.40 Telephone conference with Company, K&E
                                                     team re benefits strategy, timing
                                                     considerations.
05/20/20 Aparna Yenamandra                      2.20 Telephone conference re comp/benefit
                                                     programs with JCP, K&E team (1.4);
                                                     correspond with K&E team re same (.4);
                                                     telephone conference with M. Antinossi re
                                                     PBGC (.4).



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Legal Services for the Period Ending June 30, 2020             Invoice Number:           1050032377
J.C. Penney Company, Inc.                                       Matter Number:             47223-11
Employee Issues

Date     Name                                  Hours Description
05/21/20 Matthew Antinossi                      0.20 Review correspondence from K&E and JCP
                                                     teams re employee compensation issues.
05/21/20 Rebecca Blake Chaikin                  0.30 Correspond with A. Weinhouse re employee
                                                     issues.
05/21/20 Kate Coverdale                         0.20 Correspond with S. Price, L. Huynh and S.
                                                     Hudson re disclosure and equity matters.
05/21/20 Emily Morrison                         1.70 Prepare PBGC Form 10 filing.
05/21/20 Scott D. Price, P.C.                   1.00 Correspond with advisor team re deferred
                                                     compensation matters and director equity
                                                     awards.
05/21/20 Aparna Yenamandra                      0.40 Correspond with advisor team re
                                                     compensation issues.
05/22/20 Emily Morrison                         1.00 Prepare PBGC Form 10 filing.
05/22/20 Michael B. Slade                       0.60 Telephone conference with K&E team re
                                                     labor issues (.5); review materials re same
                                                     (.1).
05/22/20 Aparna Yenamandra                      1.60 Telephone conference with K&E team re
                                                     labor issues (.5); telephone conference with
                                                     K&E team re police power issues (.6);
                                                     correspond with K&E team re GOB
                                                     severance issues (.5).
05/23/20 Emily Morrison                         1.00 Prepare PBGC Form 10 filing.
05/24/20 Matthew Antinossi                      0.10 Correspond with E. Morrison re PBGC
                                                     reporting issues and data.
05/24/20 Emily Morrison                         1.00 Prepare PBGC Form 10 filing.
05/24/20 Aparna Yenamandra                      1.00 Review labor summary (.4); correspond re
                                                     severance waiver changes (.6).
05/25/20 Emily Morrison                         2.50 Prepare PBGC Form 10 filing.
05/26/20 Matthew Antinossi                      1.90 Review and analyze draft PBGC reporting
                                                     (.5); correspond with E. Morrison re same
                                                     (.2); telephone conference with K&E, JCP
                                                     and PBGC teams re pension issues (.3);
                                                     review and revise severance plan notices (.7);
                                                     correspond with K&E team re same (.2).
05/26/20 Emily Morrison                         3.50 Prepare PBGC Form 10 filing.
05/26/20 Scott D. Price, P.C.                   0.50 Telephone conference with A. Weinhouse, S.
                                                     Stark re director equity awards.
05/26/20 Aparna Yenamandra                      0.50 Telephone conference with PBGC re pension
                                                     issues.




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Legal Services for the Period Ending June 30, 2020            Invoice Number:           1050032377
J.C. Penney Company, Inc.                                      Matter Number:             47223-11
Employee Issues

Date     Name                                  Hours Description
05/27/20 Matthew Antinossi                      0.50 Telephone conference with PBGC re pension
                                                     issues (.2); correspond with PBGC re same
                                                     (.2); correspond with K&E team re same (.1).
05/27/20 Emily Morrison                         1.20 Prepare PBGC Form 10 filing.
05/27/20 Scott D. Price, P.C.                   0.70 Draft and review correspondence re director
                                                     equity.
05/27/20 Aparna Yenamandra                      0.70 Correspond with K&E, Alix, JCP teams re
                                                     severance issues.
05/28/20 Matthew Antinossi                      1.00 Review and revise severance plan summary
                                                     and employee notice (.4); correspond with G.
                                                     Bair re same (.2); review draft PBGC Form
                                                     10 (.3); correspond with E. Morrison re same
                                                     (.1).
05/28/20 Emily Morrison                         0.50 Prepare PBGC Form 10 filing.
05/28/20 Aparna Yenamandra                      1.70 Correspond with JCP and K&E teams re
                                                     compensation and benefit issues (1.4); review
                                                     related comms materials (.3).
05/29/20 Kimberly Pageau                        1.30 Draft supplemental wages motion (1.1);
                                                     correspond with K&E team re wages matters
                                                     (.2).
05/29/20 Allyson Smith Weinhouse                0.70 Correspond with B. Tread way, S. Stark, Alix
                                                     team, A. Yenamandra re compensation
                                                     matters.
05/29/20 Aparna Yenamandra                      1.10 Correspond with advisor team re director
                                                     comp and other compensation issues (.7);
                                                     telephone conference with A. Weinhouse re
                                                     relocation issues (.4).
05/30/20 Matthew Antinossi                      0.20 Review correspondence re 409A issues (.1);
                                                     correspond with A. Yenamandra re same (.1).
05/30/20 Kimberly Pageau                        0.70 Review, revise supplemental wages motion.
06/01/20 Kimberly Pageau                        0.90 Review, review supplemental wages motion,
                                                     order and correspond with K&E team re
                                                     same.
06/02/20 Kimberly Pageau                        3.10 Conference with K&E team re wage motion
                                                     issues (.3); review, revise second
                                                     supplemental wages motion (1.9); correspond
                                                     with K&E team re same (.7); review, revise
                                                     supplemental wages order (.2).
06/03/20 Kimberly Pageau                        2.80 Conference with K&E team re compensation
                                                     matters (.9); conference with K&E team,
                                                     AlixPartners re second supplemental wages
                                                     motion (.6); review, revise re same (1.3).


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Legal Services for the Period Ending June 30, 2020            Invoice Number:          1050032377
J.C. Penney Company, Inc.                                      Matter Number:            47223-11
Employee Issues

Date     Name                                  Hours Description
06/04/20 Kimberly Pageau                        2.10 Review, revise second supplemental wages
                                                     motion and correspond with K&E team, JW
                                                     re same.
06/05/20 Rebecca Blake Chaikin                  0.20 Correspond with A. Weinhouse re employee
                                                     benefits issue.
06/05/20 Emily Morrison                         0.30 Check in with re status of PBGC Form 10
                                                     filing.
06/06/20 Emily Morrison                         0.50 Prepare final documents for PBGC Form 10
                                                     filing.
06/07/20 Matthew Antinossi                      0.50 Correspond with K&E team re PBGC filing
                                                     data and issues (.2); review and analyze
                                                     revised PBGC forms (.2); correspond with E.
                                                     Morrison re filing matters (.1).
06/07/20 Emily Morrison                         0.80 Prepare final documents for PBGC Form 10
                                                     filing.
06/08/20 Kimberly Pageau                        2.90 Correspond with K&E team, UCC re wage
                                                     and employee diligence (.5); conference with
                                                     AlixPartners, K&E team re severance items
                                                     (.4); research case law on severance (2.0).
06/08/20 Jeffrey S. Quinn                       0.20 Review, comment on WIP checklist re labor
                                                     issues.
06/08/20 Aparna Yenamandra                      0.70 Correspond with A. Weinhouse re severance
                                                     issues.
06/09/20 Matthew Antinossi                      1.00 Correspond with A. Weinhouse and A.
                                                     Yenamandra re severance issues (.3);
                                                     telephone conference with same re severance
                                                     and PBGC correspondence (.3); review and
                                                     analyze PBGC language for disclosure
                                                     statement (.3); correspond with K&E and JCP
                                                     teams re PBGC filing (.1).
06/09/20 Emily Morrison                         0.20 Provide comments re PBGC Form 10
                                                     reportable event filing.
06/09/20 Kimberly Pageau                        2.10 Review, revise wages motion orders (.5);
                                                     conference with K&E team, outside counsel,
                                                     Company re same, employee matters (1.6).
06/09/20 Aparna Yenamandra                      0.70 Correspond with K&E team re severance
                                                     issues.
06/10/20 Kimberly Pageau                        3.20 Review, revise wages orders and correspond
                                                     with K&E team, outside counsel re same
                                                     (2.5); draft talking points re same (.7).
06/11/20 Matthew Antinossi                      0.10 Correspond with K&E team re nonqualified
                                                     pension plan issues.


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Legal Services for the Period Ending June 30, 2020                  Invoice Number:          1050032377
J.C. Penney Company, Inc.                                            Matter Number:            47223-11
Employee Issues

Date       Name                                Hours        Description
06/11/20   Kate Coverdale                       0.10        Correspond with K&E team re equity matters.
06/11/20   Jeffrey S. Quinn                     0.20        Review hearing transcript.
06/11/20   Aparna Yenamandra                    0.50        Telephone conference re severance
                                                            considerations.
06/11/20 Aparna Yenamandra                       0.40       Correspond re compensation issues.
06/12/20 Matthew Antinossi                       0.20       Review correspondence from K&E and JCP
                                                            teams re severance plan issues.
06/13/20 R.D. Kohut                              0.20       Review WARN Act issues.
06/14/20 Jeffrey S. Quinn                        0.20       Review WIP/key dates and deadlines re
                                                            employee matters.
06/15/20 Kimberly Pageau                         0.40       Review wages orders and draft summary for
                                                            Company re same.
06/15/20 Scott D. Price, P.C.                    0.70       Discuss non-qualified plan.
06/17/20 Scott D. Price, P.C.                    0.50       Correspond with A. Yenamandra, A.
                                                            Weinhouse re non-qualified plans.
06/19/20 Matthew Antinossi                       0.30       Review and analyze revised stipulation re
                                                            PBGC claims (.2); review correspondence
                                                            from K&E team and PBGC re same (.1).
06/19/20 Kimberly Pageau                         0.30       Telephone conference with K&E team, WTW
                                                            re compensation matters.
06/19/20 Michael B. Slade                        0.50       Attend telephone conference with K&E team
                                                            re KERP.
06/19/20 Allyson Smith Weinhouse                 0.60       Telephone conference with K&E team, WTW
                                                            re compensation matters.
06/19/20 Aparna Yenamandra                       0.60       Telephone conference with WTW re
                                                            upcoming compensation motion.
06/21/20 Jeffrey S. Quinn                        0.10       Review dates and deadline schedule.
06/22/20 Kimberly Pageau                         0.50       Review wages and store closings summary
                                                            chart (.3); correspond with K&E team re same
                                                            (.2).
06/22/20 Scott D. Price, P.C.                    0.80       Telephone conference with A. Yenamandra,
                                                            A. Weinhouse, WTW re compensation
                                                            programs.
06/22/20 Allyson Smith Weinhouse                 1.00       Correspond with K&E team, WTW re
                                                            compensation matters (.9); correspond with
                                                            K. Pageau re summary chart (.1).
06/22/20 Aparna Yenamandra                       0.90       Telephone conference with TW, A.
                                                            Weinhouse re compensation issues (.6);
                                                            telephone conference with S. Price re same
                                                            (.3).



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Legal Services for the Period Ending June 30, 2020            Invoice Number:          1050032377
J.C. Penney Company, Inc.                                      Matter Number:            47223-11
Employee Issues

Date     Name                                  Hours Description
06/24/20 Matthew Antinossi                      1.10 Review and analyze severance plan issues
                                                     (.5); correspond with S. Stark and K.
                                                     Coverdale re same (.3); review COBRA
                                                     subsidy notice (.2); correspond with K&E
                                                     team re same (.1).
06/24/20 Kate Coverdale                         0.20 Correspond with Company re severance
                                                     matters.
06/24/20 Jeffrey S. Quinn                       0.20 Review WIP chart re employee issues.
06/25/20 Matthew Antinossi                      0.30 Correspond with K&E team re pension and
                                                     benefits issues (.1); review and analyze same
                                                     (.2).
06/25/20 Allyson Smith Weinhouse                1.20 Correspond with A. Yenamandra re 409A
                                                     relief (.7); telephone call with S. Stark re
                                                     same (.5).
06/25/20 Aparna Yenamandra                      0.70 Correspond with A. Weinhouse re 409a relief.
06/26/20 Aparna Yenamandra                      0.70 Correspond with Company team re
                                                     compensation and 409a issues.
06/28/20 Jeffrey S. Quinn                       0.20 Review key dates and deadline chart, deal
                                                     milestone WIP chart re employee issues.
06/29/20 Julia R. Foster                        0.70 Draft KERP motion.

Total                                           75.80




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                          FEIN XX-XXXXXXX




September 15, 2020

J.C. Penney Company, Inc.
6501 Legacy Drive
Plano, TX 75024

Attn: Brandy Treadway

                                                                            Invoice Number: 1050032378
                                                                              Client Matter: 47223-12

In the Matter of Utilities




For legal services rendered through June 30, 2020
(see attached Description of Legal Services for detail)                                                       $ 51,758.50
Total legal services rendered                                                                                 $ 51,758.50




  Beijing Boston Chicago Dallas Hong Kong Houston London Los Angeles Munich Palo Alto Paris San Francisco Shanghai Washington, D.C.
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Legal Services for the Period Ending June 30, 2020          Invoice Number:   1050032378
J.C. Penney Company, Inc.                                    Matter Number:     47223-12
Utilities




                                         Summary of Hours Billed

Name                                                     Hours        Rate      Amount
Lucas W. Brown                                            76.70     610.00     46,787.00
Julia R. Foster                                            0.40     340.00        136.00
Jake William Gordon                                        0.70     845.00        591.50
Eric Nyberg                                                1.00     265.00        265.00
Kenneth Sampson                                            2.50     395.00        987.50
Allyson Smith Weinhouse                                    3.10     965.00      2,991.50

TOTALS                                                    84.40               $ 51,758.50




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Legal Services for the Period Ending June 30, 2020             Invoice Number:           1050032378
J.C. Penney Company, Inc.                                       Matter Number:             47223-12
Utilities


                                       Description of Legal Services

Date     Name                                  Hours Description
05/18/20 Lucas W. Brown                         1.40 Correspond with Alix and K&E teams re
                                                     utilities order (.6); correspond with K&E team
                                                     and Company counsel re utilities order (.8).
05/19/20 Lucas W. Brown                         1.00 Review utilities order (.2); correspond with
                                                     K&E team and Alix re same (.8).
05/20/20 Lucas W. Brown                         0.20 Correspond with K&E team and Alix team re
                                                     utilities order.
05/20/20 Eric Nyberg                            1.00 Research re utilities creditors.
05/21/20 Lucas W. Brown                         4.20 Draft adequate assurance response letter (1.7);
                                                     review and analyze precedent re same (.6);
                                                     correspond with K&E team and Alix re same
                                                     (.3); draft tracker re same (1.2); telephone
                                                     conference with K&E team and Alix re same
                                                     (.2); prepare for same (.2).
05/21/20 Julia R. Foster                        0.40 Research precedent re responses to adequate
                                                     assurance letters.
05/21/20 Allyson Smith Weinhouse                0.60 Review, analyze adequate assurance requests
                                                     (.2); correspond with L. Brown re same (.1);
                                                     telephone conference with Alix re same (.3).
05/25/20 Lucas W. Brown                         2.80 Draft and revise response letters re adequate
                                                     assurance (1.7); review and analyze precedent
                                                     re same (.8); correspond with K&E team re
                                                     same (.3).
05/26/20 Lucas W. Brown                         1.90 Correspond with K&E team, utility providers
                                                     re adequate assurance responses (.7); draft
                                                     and revise same (1.2).
05/26/20 Allyson Smith Weinhouse                0.60 Correspond with Alix team, L. Brown re
                                                     adequate assurance requests, responses.
05/27/20 Lucas W. Brown                         7.20 Correspond with K&E team, Alix team,
                                                     Company and utility providers re adequate
                                                     assurance requests responses (1.2); draft and
                                                     revise tracker re same (1.3); draft and revise
                                                     responses re same (3.9); telephone
                                                     conferences with utility providers re same
                                                     (.6); telephone conference with S. Dorsey and
                                                     Alix team re same (.2).




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Legal Services for the Period Ending June 30, 2020             Invoice Number:           1050032378
J.C. Penney Company, Inc.                                       Matter Number:             47223-12
Utilities

Date     Name                                  Hours Description
05/27/20 Allyson Smith Weinhouse                1.30 Telephone conference with utility provider re
                                                     adequate assurance request (.5); correspond
                                                     with Alix team, L. Brown re adequate
                                                     assurance requests, responses (.2); review
                                                     same (.6).
05/28/20 Lucas W. Brown                         5.10 Draft and revise settlement letters (3.2);
                                                     correspond with K&E team, Alix team, and
                                                     utility providers re same (1.2); draft and
                                                     revise matter tracker re same (.7).
05/29/20 Lucas W. Brown                         3.40 Draft and revise settlement letters re adequate
                                                     assurance (2.1); correspond with K&E team,
                                                     Alix team and utility providers re same (.8);
                                                     telephone conferences with utility providers
                                                     re same (.5).
05/29/20 Kenneth Sampson                        2.50 Organize and review disclosures relating to
                                                     creditors, entities submitted as utilities.
05/31/20 Lucas W. Brown                         0.30 Correspond with K&E team re adequate
                                                     assurance requests.
06/01/20 Lucas W. Brown                         1.80 Draft and revise settlement letters re adequate
                                                     assurance (1.3); correspond with K&E, Alix
                                                     teams and Company's utility providers re
                                                     same (.5).
06/02/20 Lucas W. Brown                         1.90 Correspond with K&E and Alix teams and
                                                     Company's utility providers re adequate
                                                     assurance requests (.5); draft and revise
                                                     settlement letters re same (1.4).
06/03/20 Lucas W. Brown                         0.60 Correspond with K&E and Alix teams and
                                                     Company's utility providers re adequate
                                                     assurance requests (.3); draft and revise
                                                     settlement letters re same (.3).
06/03/20 Allyson Smith Weinhouse                0.20 Correspond with L. Brown re utilities.
06/04/20 Lucas W. Brown                         1.40 Draft and revise settlement letters re adequate
                                                     assurance requests (.7); correspond with K&E
                                                     team and Company re same (.4); review and
                                                     revise case tracker re same (.3).
06/05/20 Lucas W. Brown                         5.10 Correspond with K&E and Alix teams and
                                                     Company's utility providers re adequate
                                                     assurance requests (.8); draft and revise
                                                     settlement letters re same (.4); review and
                                                     revise tracker re same (.6); review and outline
                                                     motion to vacate re same (3.3).




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Legal Services for the Period Ending June 30, 2020             Invoice Number:            1050032378
J.C. Penney Company, Inc.                                       Matter Number:              47223-12
Utilities

Date     Name                                  Hours Description
06/06/20 Lucas W. Brown                         5.30 Research, analyze precedent re adequate
                                                     assurance requests (3.2); correspond with
                                                     K&E and Alix teams re same (.6); outline
                                                     motion to vacate re same (.7); draft and revise
                                                     settlement letters re same (.8).
06/07/20 Lucas W. Brown                         0.30 Correspond with K&E team and Company's
                                                     utility providers re adequate assurance
                                                     requests.
06/08/20 Lucas W. Brown                         3.00 Draft and revise settlement letters re adequate
                                                     assurance requests (1.8); correspond with
                                                     K&E and Alix teams re same (.4); review
                                                     motion to vacate re same (.4); telephone
                                                     conference with K&E team and Company
                                                     utility providers re same (.2); draft and revise
                                                     tracker re same (.2).
06/08/20 Jake William Gordon                    0.70 Correspond with K&E team and review
                                                     utilities shutdown.
06/09/20 Lucas W. Brown                         1.30 Draft and revise settlement letters re adequate
                                                     assurance requests (.7); correspond with K&E
                                                     and Alix teams and Company utility providers
                                                     re same (.4); review and revise request tracker
                                                     re same (.2).
06/10/20 Lucas W. Brown                         2.40 Correspond with K&E and Alix teams and
                                                     Company utility providers re adequate
                                                     assurance requests (.4); draft and revise
                                                     settlement letters re same (1.5); telephone
                                                     conference with Company utility providers re
                                                     same (.2); review and revise tracker re same
                                                     (.3).
06/11/20 Lucas W. Brown                         3.90 Draft and revise settlement letters re adequate
                                                     assurance requests (2.3); correspond with
                                                     K&E and Alix teams and Company utility
                                                     providers re same (.7); review and revise
                                                     tracker re same (.9).
06/12/20 Lucas W. Brown                         0.50 Correspond with K&E and Alix teams re
                                                     adequate assurance requests (.2); draft and
                                                     revise settlement letters re same (.3).
06/15/20 Lucas W. Brown                         2.10 Correspond with K&E and Alix team and
                                                     Company utility providers re adequate
                                                     assurance (.6); draft and revise settlement
                                                     letters re same (1.2); draft and revise matter
                                                     tracker re same (.3).




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Legal Services for the Period Ending June 30, 2020             Invoice Number:           1050032378
J.C. Penney Company, Inc.                                       Matter Number:             47223-12
Utilities

Date     Name                                  Hours Description
06/16/20 Lucas W. Brown                         2.90 Correspond with Company utility providers re
                                                     automatic stay (.5); correspond with K&E and
                                                     Alix teams and Company re same (.4);
                                                     correspond with K&E and Alix teams and
                                                     Company utility providers re adequate
                                                     assurance (.6); draft and revise settlement
                                                     letters re same (1.1); draft and revise tracker
                                                     re same (.3).
06/17/20 Lucas W. Brown                         2.50 Draft and revise settlement letters re adequate
                                                     assurance requests (1.4); correspond with
                                                     K&E and Alix teams re same (.4); telephone
                                                     conferences with K&E and Alix teams and
                                                     Company utility providers' counsel re same
                                                     (.7).
06/19/20 Lucas W. Brown                         1.10 Draft and revise settlement letters re adequate
                                                     assurance requests (.7); correspond with KW
                                                     and Alix teams and Company's utility
                                                     providers re same (.4).
06/19/20 Allyson Smith Weinhouse                0.10 Correspond with L. Brown re adequate
                                                     assurance requests.
06/20/20 Lucas W. Brown                         2.00 Review and revise settlement letters re
                                                     adequate assurance requests (1.3); correspond
                                                     with K&E and Alix team and Company re
                                                     same (.5); review and revise case tracker re
                                                     same (.2).
06/22/20 Lucas W. Brown                         1.00 Review and revise tracker re adequate
                                                     assurance requests (.1); correspond with K&E
                                                     and Alix teams re same (.3); review and
                                                     revise settlement letters re same (.3);
                                                     correspond with K&E team and counsel for
                                                     Company utility providers re settlement re
                                                     motion to vacate (.3).
06/23/20 Lucas W. Brown                         0.80 Draft and revise settlement letters re adequate
                                                     assurance requests (.5); review and revise
                                                     tracker re same (.1); correspond with K&E
                                                     and Alix teams re same (.2).
06/24/20 Lucas W. Brown                         0.60 Telephone conference with Company utility
                                                     provider re adequate assurance request (.2);
                                                     correspond with K&E and Alix teams re same
                                                     (.2); review and revise tracker re same (.2).




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Legal Services for the Period Ending June 30, 2020             Invoice Number:           1050032378
J.C. Penney Company, Inc.                                       Matter Number:             47223-12
Utilities

Date     Name                                  Hours Description
06/25/20 Lucas W. Brown                         1.50 Review and revise tracker re adequate
                                                     assurance requests (.2); review and revise
                                                     settlement letters re same (.9); correspond
                                                     with K&E and Alix teams and Company re
                                                     same (.4).
06/25/20 Allyson Smith Weinhouse                0.10 Correspond with L. Brown re adequate
                                                     assurance request.
06/27/20 Lucas W. Brown                         1.60 Draft and revise settlement letters re adequate
                                                     assurance requests (.8); correspond with K&E
                                                     team and Company utility providers re same
                                                     (.4); review and revise tracker re same (.4).
06/29/20 Lucas W. Brown                         1.30 Draft and revise settlement letters re adequate
                                                     assurance requests (.8); correspond with K&E
                                                     and Alix teams and Company utility providers
                                                     re same (.3); review and revise tracker re
                                                     same (.2).
06/30/20 Lucas W. Brown                         4.30 Draft and revise settlement letters re adequate
                                                     assurance requests (2.8); correspond with
                                                     Alix and K&E teams and Company and
                                                     Company utility providers re same (.7);
                                                     telephone conference with utility provider re
                                                     same (.3); review and revise tracker re same
                                                     (.5).
06/30/20 Allyson Smith Weinhouse                0.20 Correspond with L. Brown re adequate
                                                     assurance requests.

Total                                           84.40




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                          FEIN XX-XXXXXXX




September 15, 2020

J.C. Penney Company, Inc.
6501 Legacy Drive
Plano, TX 75024

Attn: Brandy Treadway

                                                                            Invoice Number: 1050032379
                                                                              Client Matter: 47223-13

In the Matter of Schedules / SOFA




For legal services rendered through June 30, 2020
(see attached Description of Legal Services for detail)                                                       $ 49,519.50
Total legal services rendered                                                                                 $ 49,519.50




  Beijing Boston Chicago Dallas Hong Kong Houston London Los Angeles Munich Palo Alto Paris San Francisco Shanghai Washington, D.C.
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Legal Services for the Period Ending June 30, 2020          Invoice Number:   1050032379
J.C. Penney Company, Inc.                                    Matter Number:     47223-13
Schedules / SOFA




                                         Summary of Hours Billed

Name                                                     Hours         Rate     Amount
Margaret R. Alden                                         28.20      610.00    17,202.00
Rebecca Blake Chaikin                                     10.20    1,085.00    11,067.00
Julia R. Foster                                            0.20      340.00        68.00
Paul Stephens Hendrickson                                  0.10      975.00        97.50
Joshua Merrill                                             0.50    1,085.00       542.50
Kimberly Pageau                                            3.10      740.00     2,294.00
Jeffrey S. Quinn                                           0.20    1,375.00       275.00
Tana Ryan, P.C.                                            0.50    1,395.00       697.50
Christian Semonsen                                         8.50    1,235.00    10,497.50
Allyson Smith Weinhouse                                    6.30      965.00     6,079.50
Aparna Yenamandra                                          0.60    1,165.00       699.00

TOTALS                                                    58.40               $ 49,519.50




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Legal Services for the Period Ending June 30, 2020             Invoice Number:            1050032379
J.C. Penney Company, Inc.                                       Matter Number:              47223-13
Schedules / SOFA


                                       Description of Legal Services

Date     Name                                  Hours Description
05/29/20 Margaret R. Alden                      0.20 Correspond with Lazard, Alix, K&E teams re
                                                     global notes.
05/29/20 Julia R. Foster                        0.20 Research precedent re global notes.
06/01/20 Margaret R. Alden                      0.30 Telephone conference with Alix, K&E team
                                                     re global notes.
06/01/20 Allyson Smith Weinhouse                0.40 Telephone conference with Alix team re
                                                     SOFAs.
06/02/20 Margaret R. Alden                      0.60 Revise global notes (.3); correspond with
                                                     K&E, Alix teams re same (.3).
06/05/20 Margaret R. Alden                      1.80 Telephone conference with Company, Alix,
                                                     A. Smith Weinhouse re schedules, SOFA
                                                     (1.1); correspond with same re same (.2);
                                                     research precedent re same (.5).
06/06/20 Margaret R. Alden                      0.70 Correspond with Company, A. Smith
                                                     Weinhouse re schedules, SoFA.
06/12/20 Rebecca Blake Chaikin                  0.30 Telephone conference with M. Slade re
                                                     claims, schedules and statements.
06/15/20 Rebecca Blake Chaikin                  0.20 Telephone conference with R. Robbins re
                                                     schedules and statements.
06/15/20 Kimberly Pageau                        0.60 Review draft schedules and statements.
06/15/20 Christian Semonsen                     2.00 Review input from Company for
                                                     environmental responses to SOFA.
06/16/20 Margaret R. Alden                      1.60 Telephone conference with Company, J.
                                                     Gordon re SOFAs, schedules (.6); telephone
                                                     conference with Alix, K&E team re same (.6);
                                                     correspond with K&E team re same (.4).
06/16/20 Rebecca Blake Chaikin                  0.90 Telephone conference with Alix, K&E team
                                                     re schedules and statements (.6); correspond
                                                     with K. Pageau re same (.3).
06/16/20 Kimberly Pageau                        2.30 Review draft schedules and conference with
                                                     K&E team re same.
06/16/20 Christian Semonsen                     3.00 Review input from Company re
                                                     environmental liabilities (1.7); draft schedules
                                                     to SOFA environmental questions (1.3).
06/17/20 Margaret R. Alden                      1.60 Research schedules, SOFA issues (.2);
                                                     review, analyze same (.3); correspond with
                                                     K&E team re same (.5); revise global notes re
                                                     same (.6).



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Legal Services for the Period Ending June 30, 2020             Invoice Number:           1050032379
J.C. Penney Company, Inc.                                       Matter Number:             47223-13
Schedules / SOFA

Date     Name                                  Hours Description
06/17/20 Christian Semonsen                     2.50 Review correspondence and comments and
                                                     draft revisions to environmental responses to
                                                     SOFA (2.0); review and respond to followup
                                                     questions from AlixPartners re same (.5).
06/18/20 Margaret R. Alden                      1.00 Telephone conference with K&E team, Alix
                                                     re schedules, statements (.4); correspond with
                                                     K&E team, Alix re same (.1); revise
                                                     schedules, statements re same (.5).
06/18/20 Allyson Smith Weinhouse                0.30 Correspond with M. Alden re SOFAs.
06/19/20 Margaret R. Alden                      0.20 Draft, revise global notes (.1); correspond
                                                     with Alix, K&E teams re same (.1).
06/19/20 Allyson Smith Weinhouse                0.10 Correspond with M. Alden re global notes.
06/21/20 Margaret R. Alden                      4.30 Telephone conferences with R. Robbins, A.
                                                     Smith Weinhouse re schedules (.2); review,
                                                     revise global notes (.5); correspond with Alix,
                                                     K&E team re same (.2); review, analyze draft
                                                     schedules (2.7); correspond with Alix, K&E
                                                     team re edits re same (.7).
06/22/20 Margaret R. Alden                      0.10 Correspond with A. Smith Weinhouse re
                                                     SOFA, schedules coordination.
06/22/20 Allyson Smith Weinhouse                0.10 Correspond with M. Alden re SOFAs.
06/23/20 Margaret R. Alden                      0.30 Correspond with Alix, K&E team re global
                                                     notes, SOFA, schedules.
06/23/20 Rebecca Blake Chaikin                  0.60 Telephone conference with Alix, K&E team
                                                     re schedules and statements.
06/23/20 Kimberly Pageau                        0.20 Telephone conference with AlixPartners,
                                                     K&E team re payments to insiders schedule.
06/23/20 Allyson Smith Weinhouse                0.80 Correspond with Alix team re schedules.
06/24/20 Margaret R. Alden                      0.80 Research precedent re global notes issues (.3);
                                                     correspond with K&E team, Alix re
                                                     schedules, SOFA (.5).
06/24/20 Allyson Smith Weinhouse                0.20 Review SOFA materials.
06/25/20 Margaret R. Alden                      1.30 Revise global notes (.3); correspond with
                                                     K&E teams re same (.6); review, analyze
                                                     precedent re same (.4).
06/25/20 Paul Stephens Hendrickson              0.10 Correspond with K&E team re global notes
                                                     and schedules.
06/25/20 Jeffrey S. Quinn                       0.20 Review global notes for comments.
06/25/20 Christian Semonsen                     1.00 Review and comment on final draft of global
                                                     notes and schedules to SOFA environmental
                                                     questions.


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Legal Services for the Period Ending June 30, 2020             Invoice Number:           1050032379
J.C. Penney Company, Inc.                                       Matter Number:             47223-13
Schedules / SOFA

Date     Name                                  Hours Description
06/26/20 Margaret R. Alden                      3.20 Review, analyze schedules, SOFA (1.9);
                                                     revise global notes (.3); correspond with Alix,
                                                     K&E team re global notes, schedules, SOFA
                                                     (1.0).
06/26/20 Rebecca Blake Chaikin                  0.50 Analyze questions re schedules and
                                                     statements.
06/26/20 Tana Ryan, P.C.                        0.50 Telephone conference with K&E team re
                                                     status.
06/27/20 Margaret R. Alden                      2.10 Review, analyze global notes, schedules,
                                                     SOFAs (.8); review, analyze precedent re
                                                     same (.3); correspond with Alix, K&E team re
                                                     comments re same (1.0).
06/27/20 Allyson Smith Weinhouse                1.00 Review, analyze SOFAs.
06/28/20 Margaret R. Alden                      6.60 Review, analyze schedules, SOFA issues
                                                     (3.8); correspond with Alix, K&E teams re
                                                     same (1.8); revise global notes (.4); review,
                                                     analyze precedent re schedules, SOFA (.6).
06/28/20 Rebecca Blake Chaikin                  6.90 Review schedules and statements, global
                                                     notes (4.7); correspond with K&E team, Alix
                                                     re same (1.7); analyze 341 meeting transcripts
                                                     (.5).
06/28/20 Joshua Merrill                         0.50 Correspond with K&E team re JCP schedules
                                                     and SoFA.
06/28/20 Allyson Smith Weinhouse                2.90 Review, analyze SOFAs.
06/29/20 Margaret R. Alden                      1.50 Review, comment on schedules, SOFA (1.1);
                                                     correspond with Alix, K&E team re same (.4).
06/29/20 Rebecca Blake Chaikin                  0.80 Correspond with Alix, M. Allen re schedules
                                                     and statements (.3); review same (.4);
                                                     telephone conference with R. Robbins re
                                                     same (.1).
06/29/20 Allyson Smith Weinhouse                0.50 Correspond with K&E team, Alix, Company
                                                     re SOFAs.
06/30/20 Aparna Yenamandra                      0.60 Correspond re SOFA and schedule issues.

Total                                           58.40




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                          FEIN XX-XXXXXXX




September 15, 2020

J.C. Penney Company, Inc.
6501 Legacy Drive
Plano, TX 75024

Attn: Brandy Treadway

                                                                            Invoice Number: 1050032380
                                                                              Client Matter: 47223-14

In the Matter of US Trustee Issues / Reporting




For legal services rendered through June 30, 2020
(see attached Description of Legal Services for detail)                                                         $ 2,650.00
Total legal services rendered                                                                                   $ 2,650.00




  Beijing Boston Chicago Dallas Hong Kong Houston London Los Angeles Munich Palo Alto Paris San Francisco Shanghai Washington, D.C.
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Legal Services for the Period Ending June 30, 2020          Invoice Number:   1050032380
J.C. Penney Company, Inc.                                    Matter Number:     47223-14
US Trustee Issues / Reporting




                                         Summary of Hours Billed

Name                                                     Hours         Rate    Amount
Lucas W. Brown                                            0.10       610.00      61.00
Chris Ceresa                                              0.20       610.00     122.00
Rebecca Blake Chaikin                                     0.90     1,085.00     976.50
Julia R. Foster                                           0.40       340.00     136.00
Melissa D. Kalka                                          0.50     1,165.00     582.50
Allyson Smith Weinhouse                                   0.80       965.00     772.00

TOTALS                                                     2.90               $ 2,650.00




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Legal Services for the Period Ending June 30, 2020             Invoice Number:          1050032380
J.C. Penney Company, Inc.                                       Matter Number:            47223-14
US Trustee Issues / Reporting


                                       Description of Legal Services

Date     Name                                  Hours Description
05/28/20 Rebecca Blake Chaikin                  0.20 Telephonically attend IDI.
05/28/20 Allyson Smith Weinhouse                0.30 Correspond with JW re IDI (.1); participate in
                                                     IDI (.2).
06/15/20 Melissa D. Kalka                       0.30 Correspond with E. Mossor re requests from
                                                     U.S. Trustee office.
06/16/20 Melissa D. Kalka                       0.20 Correspond with E. Mossor re requests from
                                                     U.S. Trustee office.
06/23/20 Chris Ceresa                           0.20 Correspond with Company, A&M and K&E
                                                     team re reporting requirements.
06/26/20 Lucas W. Brown                         0.10 Correspond with K&E team and Company re
                                                     341 hearing.
06/26/20 Rebecca Blake Chaikin                  0.50 Telephone conference with B. Wafford, Alix,
                                                     JW re 341 preparation.
06/28/20 Allyson Smith Weinhouse                0.50 Review, edit 341 responses.
06/29/20 Rebecca Blake Chaikin                  0.20 Meeting with Company, Alix, JW re 341
                                                     preparation.
06/30/20 Julia R. Foster                        0.40 Research precedent re 2015.3 report.

Total                                            2.90




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                          FEIN XX-XXXXXXX




September 15, 2020

J.C. Penney Company, Inc.
6501 Legacy Drive
Plano, TX 75024

Attn: Brandy Treadway

                                                                            Invoice Number: 1050032381
                                                                              Client Matter: 47223-15

In the Matter of Creditor Committee Issues




For legal services rendered through June 30, 2020
(see attached Description of Legal Services for detail)                                                      $ 109,560.00
Total legal services rendered                                                                                $ 109,560.00




  Beijing Boston Chicago Dallas Hong Kong Houston London Los Angeles Munich Palo Alto Paris San Francisco Shanghai Washington, D.C.
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Legal Services for the Period Ending June 30, 2020          Invoice Number:    1050032381
J.C. Penney Company, Inc.                                    Matter Number:      47223-15
Creditor Committee Issues




                                         Summary of Hours Billed

Name                                                     Hours         Rate      Amount
Margaret R. Alden                                          4.40      610.00      2,684.00
Lucas W. Brown                                             2.40      610.00      1,464.00
Rebecca Blake Chaikin                                      4.80    1,085.00      5,208.00
Alistair Fatheazam                                         3.90      740.00      2,886.00
Julia R. Foster                                            1.70      340.00        578.00
John Thomas Goldman                                        2.00    1,195.00      2,390.00
Jake William Gordon                                        5.00      845.00      4,225.00
Meghan E. Guzaitis                                         1.10      445.00        489.50
Marjorie Melicharek                                        0.60      275.00        165.00
Lekha Menon                                                2.00      725.00      1,450.00
Benjamin O'Connor                                         15.80      970.00     15,326.00
Carrie Therese Oppenheim                                   0.60      445.00        267.00
Nicholas Ruge                                             30.90      835.00     25,801.50
Lisa Santaniello                                          16.50      610.00     10,065.00
Michael B. Slade                                          10.50    1,395.00     14,647.50
Josh Sussberg, P.C.                                        4.50    1,635.00      7,357.50
Gregory Tsonis                                             5.70      970.00      5,529.00
Allyson Smith Weinhouse                                    0.30      965.00        289.50
Aparna Yenamandra                                          7.50    1,165.00      8,737.50

TOTALS                                                   120.20               $ 109,560.00




                                                     2
           Case 20-20182 Document 1418 Filed in TXSB on 09/15/20 Page 308 of 471
Legal Services for the Period Ending June 30, 2020            Invoice Number:           1050032381
J.C. Penney Company, Inc.                                      Matter Number:             47223-15
Creditor Committee Issues


                                       Description of Legal Services

Date     Name                                  Hours Description
05/20/20 Aparna Yenamandra                      0.50 Telephone conference with U.S. Trustee re
                                                     formation meeting.
05/27/20 Jake William Gordon                    0.40 Telephone conference with Committee re
                                                     formation.
05/27/20 Josh Sussberg, P.C.                    0.40 Telephone conference with U.S. Trustee re
                                                     committee formation (.2); correspond re same
                                                     (.2).
05/27/20 Allyson Smith Weinhouse                0.30 Telephone conference with U.S. Trustee re
                                                     committee formation.
05/27/20 Aparna Yenamandra                      0.60 Telephone conference with U.S. Trustee re
                                                     UCC formation (.4); follow up telephone
                                                     conference re same (.2).
05/29/20 Josh Sussberg, P.C.                    0.70 Telephone conference with M. Sirota and R.
                                                     Kanowitz re UCC counsel (.4); correspond re
                                                     UCC (.3).
05/30/20 Lucas W. Brown                         2.40 Research and analyze precedent re UCC non
                                                     disclosure agreements (.7); review and revise
                                                     same (1.2); correspond with K&E team re
                                                     same (.5).
05/30/20 Jake William Gordon                    0.70 Telephone conference with Committee re
                                                     ongoing issues.
05/30/20 Meghan E. Guzaitis                     1.10 Compile production documents re submission
                                                     to UCC (.5); compile case documents for
                                                     attorney review (.6).
06/01/20 Carrie Therese Oppenheim               0.60 Compile precedent re equity committee issues
                                                     (.5); correspond with M. Slade re same (.1).
06/02/20 Rebecca Blake Chaikin                  0.20 Review comments to UCC non disclosure
                                                     agreement.
06/02/20 Jake William Gordon                    0.50 Telephone conference with creditor
                                                     committee re ongoing issues (.2); revise UCC
                                                     non disclosure agreement (.3).
06/03/20 Lisa Santaniello                       0.30 Review draft equity committee letter.
06/03/20 Gregory Tsonis                         5.70 Draft responses and objections to unsecured
                                                     creditor committee requests for production
                                                     and confirm document productions.




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           Case 20-20182 Document 1418 Filed in TXSB on 09/15/20 Page 309 of 471
Legal Services for the Period Ending June 30, 2020            Invoice Number:          1050032381
J.C. Penney Company, Inc.                                      Matter Number:            47223-15
Creditor Committee Issues

Date     Name                                  Hours Description
06/04/20 Alistair Fatheazam                     3.90 Compile shareholder filings (.3); review,
                                                     analyze same re shareholder arguments (1.4);
                                                     review, analyze motion to appoint equity
                                                     committee (1.1); draft summary of findings re
                                                     same (.9); correspond with K&E team re
                                                     same (.2).
06/04/20 Julia R. Foster                        0.30 Research precedent re equity committee
                                                     appointment pleadings.
06/04/20 Lisa Santaniello                       8.00 Correspond with C. Fronk re opposition to
                                                     equity committee motion (.5); review equity
                                                     holder's motions and letters requesting
                                                     appointment of equity committee and
                                                     transcripts re precedent equity committee
                                                     motions (3.9); draft opposition to equity
                                                     committee motion (3.0); review and revise
                                                     same (.6).
06/05/20 Jake William Gordon                    0.50 Review, analyze materials re equity
                                                     committee requests.
06/05/20 Lisa Santaniello                       7.50 Correspond with C. Fronk, J. Gordon and M.
                                                     Weitz re revisions to equity committee
                                                     motion (.5); research re equity committee
                                                     motion (3.9); review transcripts, letters re
                                                     alternate financing proposals (1.2); revise
                                                     equity committee motion (1.9).
06/05/20 Michael B. Slade                       1.70 Correspond with K&E team re shareholder
                                                     motions (.9); revise same (.8).
06/05/20 Josh Sussberg, P.C.                    0.40 Correspond with K&E team re equity
                                                     committee motion.
06/05/20 Aparna Yenamandra                      0.70 Telephone conference with K&E team, Laz re
                                                     equity committee motion.
06/06/20 Rebecca Blake Chaikin                  0.70 Review equity committee motion.
06/06/20 Lisa Santaniello                       0.70 Revise equity committee motion.
06/06/20 Michael B. Slade                       2.20 Attend telephone conference with K&E team
                                                     re shareholders' papers and hearing re same
                                                     (.5); review and revise response brief (1.7).
06/06/20 Aparna Yenamandra                      0.50 Telephone conference re equity committee
                                                     motion.
06/07/20 Benjamin O'Connor                      0.50 Review and analyze precedent re formation of
                                                     equity committee.




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Legal Services for the Period Ending June 30, 2020            Invoice Number:         1050032381
J.C. Penney Company, Inc.                                      Matter Number:           47223-15
Creditor Committee Issues

Date     Name                                  Hours Description
06/07/20 Josh Sussberg, P.C.                    1.10 Telephone conference with M. Slade re equity
                                                     committee motion and 365(d)(3) relief (.4);
                                                     correspond with K&E team re same and status
                                                     (.3); review and revise equity committee
                                                     motion (.4).
06/08/20 Jake William Gordon                    0.60 Correspond with Committee counsel re
                                                     ongoing issues, non disclosure agreement.
06/08/20 Marjorie Melicharek                    0.60 Compile materials re opposition to equity
                                                     committee brief for attorney review.
06/08/20 Benjamin O'Connor                      0.20 Review and analyze exhibits for hearing re
                                                     formation of equity committee.
06/08/20 Nicholas Ruge                          0.20 Review and analyze objection to motion to
                                                     dismiss and to create equity committee.
06/08/20 Michael B. Slade                       2.90 Attend telephone conference with K&E team
                                                     re equity motion (.4); review exhibit and
                                                     witness list (.4); revise brief (.3); review
                                                     materials and prepare for hearing (1.8).
06/08/20 Josh Sussberg, P.C.                    1.50 Review shareholder letters and prepare for
                                                     hearing on equity committee (1.1);
                                                     correspond with K&E team re same (.4).
06/08/20 Aparna Yenamandra                      0.60 Correspond with advisors re committee
                                                     diligence requests.
06/09/20 Julia R. Foster                        0.70 Review and revise agreed order re equity
                                                     committee.
06/09/20 Jake William Gordon                    1.00 Review, analyze issues re UCC production
                                                     (.7); correspond with K&E team re same (.3).
06/09/20 Nicholas Ruge                          0.10 Correspond with B. O'Connor re materials for
                                                     equity committee hearing.
06/09/20 Aparna Yenamandra                      0.60 Telephone conference with UCC advisors,
                                                     K&E team re next steps.
06/10/20 Jake William Gordon                    0.50 Review, analyze production issues re UCC.
06/11/20 John Thomas Goldman                    1.00 Deliver leased and owned property
                                                     optimization plans to UCC.
06/14/20 Nicholas Ruge                          0.20 Review and analyze UCC’s first RFPs.
06/16/20 Rebecca Blake Chaikin                  0.20 Telephone conference with Cooley re
                                                     milestones.
06/16/20 John Thomas Goldman                    0.50 Telephone conference with UCC counsel re
                                                     real estate issues.
06/16/20 Aparna Yenamandra                      1.00 Telephone conference with UCC re DIP/RSA
                                                     milestones (.5); correspond with JW re EC
                                                     NDAs (.5).


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Legal Services for the Period Ending June 30, 2020            Invoice Number:          1050032381
J.C. Penney Company, Inc.                                      Matter Number:            47223-15
Creditor Committee Issues

Date     Name                                  Hours Description
06/17/20 Rebecca Blake Chaikin                  1.50 Attend management presentation to UCC.
06/17/20 Jake William Gordon                    0.80 Review, analyze, respond to committee
                                                     requests.
06/17/20 Lekha Menon                            1.00 Attend telephone conference with M. Slade,
                                                     K&E team, Cooley re document requests.
06/17/20 Benjamin O'Connor                      1.00 Telephone conference and correspond with
                                                     counsel for unsecured creditors' committee re
                                                     document requests.
06/17/20 Nicholas Ruge                          1.00 Review and analyze UCC RFPs (.2);
                                                     correspond with counsel re same (.8).
06/17/20 Aparna Yenamandra                      1.50 Correspond with advisors re UCC meeting
                                                     and materials re same (.6); correspond with
                                                     JW re EC non disclosure agreement and
                                                     dataroom access (.9).
06/18/20 Benjamin O'Connor                      0.30 Review and analyze letter from counsel for
                                                     UCC re meeting re UCC document requests.
06/18/20 Nicholas Ruge                          0.30 Review and analyze D. Kupfer letter re
                                                     meeting with Cooley.
06/18/20 Aparna Yenamandra                      0.90 Correspond with Company re UCC info
                                                     sharing requests.
06/19/20 Rebecca Blake Chaikin                  0.80 Telephone conference with CR3 re diligence
                                                     process (.5); correspond with Alix, Lazard re
                                                     same (.3).
06/19/20 Lekha Menon                            1.00 Attend telephone conference with M. Slade,
                                                     K&E team, Company re UCC document
                                                     requests.
06/19/20 Benjamin O'Connor                      1.60 Review and analyze requests for production
                                                     from UCC (.3); attend telephone conference
                                                     with Brandy Treadway, Glen Morris, M.
                                                     Slade and N. Ruge re same (.8); prepare
                                                     responses to requests for production (.5).
06/19/20 Nicholas Ruge                          2.70 Review and correspond with E. Mossor re
                                                     diligence questions (.3); correspond with
                                                     Company re UCC document requests (1.0);
                                                     review and revise UCC's RFP responses (.4);
                                                     draft responses to UCC's first RFPs (1.0).
06/19/20 Michael B. Slade                       1.80 Attend telephone conference with K&E team
                                                     re UCC document requests (1.0); review and
                                                     compile documents re document requests (.8).




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Legal Services for the Period Ending June 30, 2020             Invoice Number:           1050032381
J.C. Penney Company, Inc.                                       Matter Number:             47223-15
Creditor Committee Issues

Date     Name                                  Hours Description
06/20/20 Benjamin O'Connor                      4.00 Review and analyze document requests from
                                                     UCC (.5); prepare objections and responses to
                                                     document requests (2.4); correspond with N.
                                                     Ruge re objections and responses (.2); review,
                                                     analyze and revise objections and responses
                                                     (.9).
06/20/20 Nicholas Ruge                          4.10 Research responses to Cooley document
                                                     requests (2.0); draft same (2.1).
06/20/20 Michael B. Slade                       1.10 Review and revise responses to document
                                                     requests (.8); correspond with K&E team re
                                                     discovery issues (.3).
06/21/20 Benjamin O'Connor                      0.40 Correspond with J. Gordon, N. Ruge and G.
                                                     Schlicht re UCC access to virtual datarooms.
06/22/20 Margaret R. Alden                      0.50 Telephone conference with Cooley re real
                                                     estate advisors retention (.2); correspond with
                                                     K&E teams re same (.3).
06/22/20 Julia R. Foster                        0.40 Research precedent re 1102 motions.
06/22/20 John Thomas Goldman                    0.50 Correspond re UCC questions on appraisers
                                                     engagement letter.
06/22/20 Benjamin O'Connor                      0.60 Review, analyze and revise objections and
                                                     responses to document requests of UCC.
06/22/20 Nicholas Ruge                          7.90 Correspond with B. O'Connor re responses to
                                                     UCC document requests (.5); review
                                                     Company edits to UCC document request
                                                     responses (.1); review correspondence re
                                                     access to data rooms for UCC document
                                                     requests (.5); correspond with E. Mossor re
                                                     production to independent directors (.1);
                                                     coordinate and research responsive
                                                     documents to UCC RFPs (3.9); revise
                                                     responses to UCC document requests (2.2);
                                                     correspond with M. Schroth re real estate
                                                     related document requests from UCC (.2);
                                                     review, analyze and summarize documents
                                                     produced to independent directors for UCC
                                                     responses (.4).
06/23/20 Nicholas Ruge                          2.10 Review and revise E. Mossor draft
                                                     correspondence to AlixPartners re diligence
                                                     requests (.3); correspond with A. Mitrani re
                                                     diligence requests (.1); coordinate collection
                                                     and review of diligence re responding to UCC
                                                     and independent director document requests
                                                     (1.6); review and revise tracker of diligence
                                                     documents (.1).

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Legal Services for the Period Ending June 30, 2020             Invoice Number:           1050032381
J.C. Penney Company, Inc.                                       Matter Number:             47223-15
Creditor Committee Issues

Date     Name                                  Hours Description
06/23/20 Michael B. Slade                       0.80 Review and revise responses to UCC
                                                     requests.
06/24/20 Rebecca Blake Chaikin                  0.90 Telephone conference with UCC counsel re
                                                     diligence requests (.6); prepare for same (.3).
06/25/20 Rebecca Blake Chaikin                  0.40 Correspond with UCC, K&E team re UCC
                                                     diligence requests.
06/25/20 Benjamin O'Connor                      2.30 Correspond with M. Slade, Y. French, A.
                                                     Yenamandra, T. Hughes, N. Ruge and K&E
                                                     team re production to UCC (.9); review and
                                                     analyze closing sets (.7); correspond with
                                                     counsel for UCC re process for producing
                                                     documents to UCC (.7).
06/25/20 Nicholas Ruge                          1.00 Review proposed production of closing sets to
                                                     UCC (.5); correspond with K&E team re
                                                     coordinating productions to UCC (.5).
06/25/20 Josh Sussberg, P.C.                    0.30 Telephone conference with M. Sirota, S. Van
                                                     Alten and J. Mesterharm re UCC issues.
06/26/20 Rebecca Blake Chaikin                  0.10 Correspond with UCC, K&E team re UCC
                                                     diligence requests.
06/26/20 Julia R. Foster                        0.30 Research precedent re 341 meeting hearing
                                                     transcripts.
06/26/20 Benjamin O'Connor                      3.90 Review, analyze and redact documents to be
                                                     produced to UCC (2.1); correspond with A.
                                                     Yenamandra, T. Hughes, N. Ruge, M.
                                                     Guzaitis and K&E team re production of
                                                     documents (.8); prepare production letter
                                                     (1.0).
06/26/20 Nicholas Ruge                          7.40 Coordinate and manage production of
                                                     documents to UCC (1.7); collect and review
                                                     documents being produced to UCC (5.5);
                                                     draft and revise production letter to UCC (.2).
06/26/20 Aparna Yenamandra                      0.60 Correspond with K&E, Laz team re UCC
                                                     diligence.
06/27/20 Margaret R. Alden                      2.10 Review, analyze 341 meeting precedent (1.0);
                                                     draft, revise internal memorandum re same
                                                     (.9); correspond with K&E team re same (.2).
06/27/20 Josh Sussberg, P.C.                    0.10 Correspond with K&E team re equity
                                                     committee next steps.
06/28/20 Margaret R. Alden                      0.70 Correspond with Company, Alix, K&E teams
                                                     re 341 meeting prep (.4); draft prep questions
                                                     re same (.3).



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Legal Services for the Period Ending June 30, 2020            Invoice Number:          1050032381
J.C. Penney Company, Inc.                                      Matter Number:            47223-15
Creditor Committee Issues

Date     Name                                  Hours Description
06/29/20 Margaret R. Alden                      1.10 Telephone conference with B. Wafford, K&E
                                                     team, Alix team re 341 prep (.3); correspond
                                                     with JW, Company, Alix re same (.8).
06/29/20 Benjamin O'Connor                      1.00 Review and analyze documents in preparation
                                                     for production to UCC (.8); attend telephone
                                                     conference with N. Ruge re upcoming
                                                     production (.2).
06/29/20 Nicholas Ruge                          3.90 Correspond with B. O'Connor re production
                                                     to UCC and work fee hearing (.3); draft
                                                     correspondence for Company re production to
                                                     UCC (.3); research documents for work fee
                                                     hearing (.2); research and review production
                                                     to UCC (2.6); compile additional responsive
                                                     documents re same (.5).

Total                                          120.20




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                          FEIN XX-XXXXXXX




September 15, 2020

J.C. Penney Company, Inc.
6501 Legacy Drive
Plano, TX 75024

Attn: Brandy Treadway

                                                                            Invoice Number: 1050032382
                                                                              Client Matter: 47223-16

In the Matter of Claims Analysis and Objections




For legal services rendered through June 30, 2020
(see attached Description of Legal Services for detail)                                                       $ 12,463.50
Total legal services rendered                                                                                 $ 12,463.50




  Beijing Boston Chicago Dallas Hong Kong Houston London Los Angeles Munich Palo Alto Paris San Francisco Shanghai Washington, D.C.
           Case 20-20182 Document 1418 Filed in TXSB on 09/15/20 Page 316 of 471
Legal Services for the Period Ending June 30, 2020          Invoice Number:   1050032382
J.C. Penney Company, Inc.                                    Matter Number:     47223-16
Claims Analysis and Objections




                                         Summary of Hours Billed

Name                                                     Hours         Rate     Amount
Margaret R. Alden                                         0.20       610.00       122.00
Lucas W. Brown                                            0.50       610.00       305.00
Chris Ceresa                                              1.10       610.00       671.00
Alistair Fatheazam                                        4.80       740.00     3,552.00
Susan D. Golden                                           0.70     1,175.00       822.50
Jake William Gordon                                       1.80       845.00     1,521.00
Miriam A. Peguero Medrano                                 3.70       740.00     2,738.00
Prentis Robinson                                          2.10       610.00     1,281.00
Gregory Tsonis                                            0.70       970.00       679.00
Allyson Smith Weinhouse                                   0.80       965.00       772.00

TOTALS                                                    16.40               $ 12,463.50




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Legal Services for the Period Ending June 30, 2020             Invoice Number:           1050032382
J.C. Penney Company, Inc.                                       Matter Number:             47223-16
Claims Analysis and Objections


                                       Description of Legal Services

Date     Name                                  Hours Description
05/16/20 Prentis Robinson                       0.40 Review, revise bar date motion.
05/17/20 Susan D. Golden                        0.70 Coordinate bar date and NOL publication (.3);
                                                     correspond with A. Miller, A. Fathezeam and
                                                     P. Robinson re same (.4).
05/17/20 Prentis Robinson                       1.40 Revise bar date notice and publication re
                                                     court order (1.1); correspond with S. Golden
                                                     and K&E team re same (.3).
05/22/20 Jake William Gordon                    0.50 Review, analyze potential claimant issue.
05/24/20 Jake William Gordon                    0.10 Review and analyze potential claim.
05/27/20 Alistair Fatheazam                     0.40 Telephone conferences with potential
                                                     claimants re bankruptcy process inquiries.
05/28/20 Alistair Fatheazam                     0.60 Telephone conferences with potential
                                                     claimants re bankruptcy, claims inquiries (.4);
                                                     correspond with claimant and A. Weinhouse
                                                     re same (.2).
05/29/20 Alistair Fatheazam                     0.70 Telephone conferences with potential
                                                     claimants re bankruptcy, claims inquiries.
05/30/20 Alistair Fatheazam                     0.50 Telephone conferences with potential
                                                     claimants re bankruptcy, claims inquiries.
06/01/20 Alistair Fatheazam                     0.40 Telephone conferences with claimants re
                                                     bankruptcy process.
06/02/20 Alistair Fatheazam                     0.70 Telephone conferences with claimants re
                                                     bankruptcy process.
06/03/20 Alistair Fatheazam                     1.00 Telephone conferences with potential
                                                     claimants re bankruptcy and claims process.
06/05/20 Alistair Fatheazam                     0.50 Telephone conferences with claimants re
                                                     bankruptcy process.
06/12/20   Jake William Gordon                  1.20 Review, analyze potential claims issues.
06/16/20   Gregory Tsonis                       0.30 Correspond with Company re claims.
06/17/20   Gregory Tsonis                       0.40 Correspond with Company re pending claims.
06/18/20   Prentis Robinson                     0.30 Review, analyze bar date order (.1);
                                                     correspond with A. Weinhouse re same (.2).
06/18/20 Allyson Smith Weinhouse                0.30 Correspond with P. Robinson re bar date
                                                     order.
06/22/20 Margaret R. Alden                      0.20 Correspond with K&E team re liability, de
                                                     minimis litigation claims.




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Legal Services for the Period Ending June 30, 2020             Invoice Number:            1050032382
J.C. Penney Company, Inc.                                       Matter Number:              47223-16
Claims Analysis and Objections

Date     Name                                  Hours Description
06/24/20 Miriam A. Peguero Medrano              2.20 Correspond with A. Weinhouse, Company re
                                                     claim amount stipulation (.2); research re
                                                     same (1.0); draft same (.7); correspond with
                                                     counsel re same (.2); correspond with A.
                                                     Weinhouse re same (.1).
06/25/20 Miriam A. Peguero Medrano              0.30 Correspond with A. Weinhouse re claim
                                                     stipulation (.1); revise same (.2).
06/26/20 Miriam A. Peguero Medrano              0.30 Correspond with A. Weinhouse re claims
                                                     stipulation (.1); correspond with Prime Clerk
                                                     team, AlixPartners team re same (.2).
06/29/20 Miriam A. Peguero Medrano              0.20 Correspond with claimant re claims
                                                     stipulation.
06/30/20 Lucas W. Brown                         0.50 Telephone conference with A. Smith
                                                     Weinhouse and Jeffries re Company litigation
                                                     claims (.3); correspond with K&E team re
                                                     same (.2).
06/30/20 Chris Ceresa                           1.10 Telephone conference with claimants re filing
                                                     proof of claim.
06/30/20 Miriam A. Peguero Medrano              0.70 Correspond with A. Weinhouse re claims
                                                     stipulation (.2); revise stipulation as a letter
                                                     agreement (.5).
06/30/20 Allyson Smith Weinhouse                0.50 Telephone conference with Jeffries re
                                                     litigation claims (.3); correspond with L.
                                                     Brown re same (.2).

Total                                           16.40




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                          FEIN XX-XXXXXXX




September 15, 2020

J.C. Penney Company, Inc.
6501 Legacy Drive
Plano, TX 75024

Attn: Brandy Treadway

                                                                            Invoice Number: 1050032383
                                                                              Client Matter: 47223-17

In the Matter of K&E Fee & Employment Apps/Objections




For legal services rendered through June 30, 2020
(see attached Description of Legal Services for detail)                                                      $ 133,494.50
Total legal services rendered                                                                                $ 133,494.50




  Beijing Boston Chicago Dallas Hong Kong Houston London Los Angeles Munich Palo Alto Paris San Francisco Shanghai Washington, D.C.
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Legal Services for the Period Ending June 30, 2020          Invoice Number:    1050032383
J.C. Penney Company, Inc.                                    Matter Number:      47223-17
K&E Fee & Employment Apps/Objections




                                         Summary of Hours Billed

Name                                                     Hours         Rate      Amount
John Ackerman                                              9.60      265.00      2,544.00
Margaret R. Alden                                          3.10      610.00      1,891.00
Lucas W. Brown                                             5.40      610.00      3,294.00
Chris Ceresa                                               4.00      610.00      2,440.00
Rebecca Blake Chaikin                                      2.30    1,085.00      2,495.50
Michael Y. Chan                                           43.00      265.00     11,395.00
Allyson N. Dillon                                          0.30      610.00        183.00
Alistair Fatheazam                                        79.50      740.00     58,830.00
Julia R. Foster                                            1.90      340.00        646.00
Jake William Gordon                                        3.50      845.00      2,957.50
Meghan E. Guzaitis                                         3.00      445.00      1,335.00
Nick Krislov                                               5.80      740.00      4,292.00
Corinna Luschini                                          26.60      265.00      7,049.00
Meg McCarthy                                               0.30      340.00        102.00
Eric Nyberg                                               25.00      265.00      6,625.00
Kimberly Pageau                                            3.80      740.00      2,812.00
Miriam A. Peguero Medrano                                  6.00      740.00      4,440.00
Prentis Robinson                                           1.90      610.00      1,159.00
Kenneth Sampson                                            8.50      395.00      3,357.50
Elaine Santucci                                           10.70      395.00      4,226.50
Arissa Scott                                              16.00      230.00      3,680.00
Josh Sussberg, P.C.                                        0.10    1,635.00        163.50
Allyson Smith Weinhouse                                    1.90      965.00      1,833.50
Aparna Yenamandra                                          1.70    1,165.00      1,980.50
Amy Zayed                                                 14.20      265.00      3,763.00

TOTALS                                                   278.10               $ 133,494.50




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Legal Services for the Period Ending June 30, 2020              Invoice Number:            1050032383
J.C. Penney Company, Inc.                                        Matter Number:              47223-17
K&E Fee & Employment Apps/Objections


                                       Description of Legal Services

Date     Name                                  Hours Description
05/17/20 Alistair Fatheazam                      2.00 Review, analyze conflicts reports re K&E
                                                      retention issues.
05/18/20 John Ackerman                           1.70 Organize and prepare parties for conflicts
                                                      searching for creditors, entities submitted as
                                                      taxing authorities (1.1); analyze disclosure of
                                                      creditors, entities submitted as taxing
                                                      authorities (.6).
05/18/20 Alistair Fatheazam                      1.30 Review, revise billing memo (.5); review,
                                                      analyze precedent re same (.4); correspond
                                                      with K&E team re billing issues (.4).
05/18/20 Julia R. Foster                         0.70 Research precedent re fee applications and
                                                      internal billing memoranda.
05/18/20 Corinna Luschini                        4.00 Research for creditors, entities submitted as
                                                      utilities (2.9); organize and prepare parties for
                                                      conflicts searching for creditors, entities
                                                      submitted as taxing authorities (1.1).
05/18/20 Eric Nyberg                             5.00 Organize and prepare parties for conflicts
                                                      searching for creditors, entities submitted as
                                                      benefit providers, banks, administrative agent.
05/18/20 Kenneth Sampson                         2.00 Analyze disclosure of creditors, entities
                                                      submitted as debtors and current directors and
                                                      officers.
05/18/20 Arissa Scott                           10.00 Organize and review disclosures re creditors,
                                                      entities submitted as taxing authorities (3.9);
                                                      organize disclosures re creditors, entities
                                                      submitted as utilities (3.9); review same (2.2)
05/18/20 Allyson Smith Weinhouse                 0.30 Correspond with K&E team re billing
                                                      memorandum.
05/18/20 Aparna Yenamandra                       0.30 Correspond with K&E team re postpetition
                                                      billing memorandum.
05/18/20 Amy Zayed                               3.50 Analyze disclosure of creditors, entities.
05/19/20 Rebecca Blake Chaikin                   0.90 Revise billing memorandum (.4); correspond
                                                      with K&E team re same and matter numbers
                                                      (.5).




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Legal Services for the Period Ending June 30, 2020             Invoice Number:            1050032383
J.C. Penney Company, Inc.                                       Matter Number:              47223-17
K&E Fee & Employment Apps/Objections

Date     Name                                  Hours Description
05/19/20 Alistair Fatheazam                     6.40 Review, revise K&E retention application
                                                     (2.2); review, analyze K&E engagement letter
                                                     and precedent re same (.7); review, revise
                                                     billing memo (.6); correspond with K&E team
                                                     re billing memo (.3); correspond with Alix,
                                                     Lazard and K&E team re conflicts process
                                                     (.3); review, analyze conflicts reports re K&E
                                                     retention issues (2.3).
05/19/20 Corinna Luschini                       5.00 Organize list of parties for conflicts searching
                                                     for creditors, entities submitted as banks,
                                                     benefit providers, restructuring professionals
                                                     and utilities (3.9); prepare re same (1.1).
05/19/20 Eric Nyberg                            4.00 Organize and prepare parties for conflicts
                                                     searching for creditors, entities submitted as
                                                     various categories, names needing more
                                                     clarification (1.5); research for creditors,
                                                     entities submitted as utilities (2.5).
05/19/20 Arissa Scott                           5.00 Organize and review disclosures re creditors,
                                                     entities submitted as utilities.
05/19/20 Amy Zayed                              1.00 Analyze disclosure of creditors, entities.
05/20/20 Rebecca Blake Chaikin                  0.20 Correspond with K&E team re billing matter
                                                     numbers.
05/20/20 Allyson N. Dillon                      0.30 Correspond with K&E team re billing updates
                                                     (.1); review, analyze correspondence re
                                                     reviewer questions on billing (.2).
05/20/20 Alistair Fatheazam                     3.90 Revise billing memo (.3); correspond with
                                                     K&E team re same (.2); correspond with Alix
                                                     re retention and conflicts issues (.2); draft
                                                     K&E retention application (1.4); review,
                                                     analyze precedent and K&E engagement
                                                     letter re same (1.8).
05/20/20 Corinna Luschini                       5.00 Organize and prepare parties for conflicts
                                                     searching for creditors/entities submitted as
                                                     Utilities (2.5); research analysis for
                                                     creditors/entities submitted as Utilities and
                                                     Directors & Officers (2.5).
05/20/20 Kimberly Pageau                        2.00 Review, revise interim comp motion.
05/20/20 Arissa Scott                           1.00 Organize and review disclosures re creditors,
                                                     entities submitted as utilities.
05/20/20 Amy Zayed                              5.00 Analyze disclosure of creditors, entities.
05/21/20 John Ackerman                          1.30 Organize and prepare parties for conflicts
                                                     searching for creditors, entities submitted as
                                                     utilities.

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K&E Fee & Employment Apps/Objections

Date     Name                                  Hours Description
05/21/20 Michael Y. Chan                        3.00 Organize and review disclosures re creditors,
                                                     entities.
05/21/20 Alistair Fatheazam                     4.40 Review, analyze conflicts reports (2.0);
                                                     correspond with K&E team re same (.3); draft
                                                     K&E retention application (1.1); review,
                                                     analyze precedent re same (.8); review,
                                                     analyze parties in interest list re same (.2).
05/21/20 Corinna Luschini                       4.00 Organize and prepare parties for conflicts
                                                     searching for creditors, entities submitted as
                                                     contract counterparties (2.3); research and
                                                     analyze creditors, entities submitted as
                                                     contract counterparties (1.7).
05/21/20 Eric Nyberg                            6.00 Research for creditors, entities submitted as
                                                     utilities (1.5); organize and prepare parties for
                                                     conflicts searching for creditors, entities
                                                     submitted as utilities (3.0); analyze disclosure
                                                     of creditors, entities submitted as utilities
                                                     (1.5).
05/21/20 Aparna Yenamandra                      0.40 Review and revise expense reimbursement
                                                     procedures.
05/21/20 Amy Zayed                              3.20 Analyze disclosure of creditors, entities.
05/22/20 John Ackerman                          1.60 Analyze update for supplemental disclosure
                                                     of creditors, entities submitted as utilities.
05/22/20 Alistair Fatheazam                     4.00 Review, analyze conflicts reports (1.9); draft
                                                     K&E retention application (1.1); review,
                                                     analyze precedent re same (.5); review,
                                                     analyze correspond with K&E team and
                                                     counsel re retention issues (.5).
05/22/20 Kenneth Sampson                        2.00 Organize and review disclosures re creditors,
                                                     entities submitted as landlords.
05/26/20 Alistair Fatheazam                     4.20 Review, revise K&E retention application
                                                     (1.1); review, analyze precedent re same
                                                     (1.4); review, analyze conflicts reports (1.4);
                                                     correspond with A. Weinhouse re same (.3).
05/26/20 Eric Nyberg                            3.00 Organize and prepare parties for conflicts
                                                     searching for creditors, entities submitted as
                                                     top unsecured creditors and bankruptcy
                                                     professionals (1.0); analyze update for
                                                     supplemental disclosure of creditors, entities
                                                     submitted as top unsecured creditors and
                                                     bankruptcy professionals (2.0).




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K&E Fee & Employment Apps/Objections

Date     Name                                  Hours Description
05/26/20 Kenneth Sampson                        3.00 Organize and review disclosures re creditors,
                                                     entities submitted as landlords, letters of
                                                     credit and non-debtor affiliates.
05/27/20 Michael Y. Chan                        5.00 Organize disclosures re creditors, entities
                                                     (3.7); review same (1.3).
05/27/20 Alistair Fatheazam                     2.50 Review, analyze conflicts reports.
05/28/20 Michael Y. Chan                        5.00 Organize and review disclosures re creditors,
                                                     entities.
05/28/20 Alistair Fatheazam                     4.90 Review, analyze conflicts reports (2.7);
                                                     review, analyze correspondence with K&E
                                                     team re same (.3); review, revise K&E
                                                     retention application (1.4); review, analyze
                                                     precedent re same (.5).
05/28/20 Kenneth Sampson                        0.50 Organize and review disclosures re creditors,
                                                     entities submitted as surety bonds.
05/28/20 Elaine Santucci                        3.50 Research and analyze disclosure of creditors
                                                     in preparation for disclosure filing.
05/29/20 Michael Y. Chan                        5.00 Organize and review disclosures re creditors,
                                                     entities (3.9); organize and prepare parties for
                                                     conflicts searching for creditors, entities (1.1).
05/29/20 Alistair Fatheazam                     3.60 Review, analyze conflicts reports (2.2); revise
                                                     K&E conflicts tracker re same (1.1);
                                                     correspond with Alix and K&E team re same
                                                     (.3).
05/29/20 Elaine Santucci                        3.00 Research and analyze disclosure of creditors
                                                     in preparation for disclosure filing.
05/30/20 Michael Y. Chan                        4.50 Organize and review disclosures re creditors,
                                                     entities (2.5); analyze disclosure of creditors,
                                                     entities (2.0).
05/30/20 Alistair Fatheazam                     4.20 Review, analyze conflicts reports (2.2); revise
                                                     conflicts tracker re same (2.0).
05/30/20 Elaine Santucci                        2.90 Research and analyze disclosure of creditors
                                                     in preparation for disclosure filing.
05/31/20 Michael Y. Chan                        3.00 Organize and review disclosures re creditors,
                                                     entities.
05/31/20 Alistair Fatheazam                     7.10 Review, analyze conflicts reports re potential
                                                     K&E retention issues (3.0); review, revise
                                                     K&E retention application (2.7); review,
                                                     analyze precedent re same (.9); correspond
                                                     with A. Weinhouse and K&E team re same
                                                     (.5).
05/31/20 Allyson Smith Weinhouse                1.30 Review, revise K&E retention application.


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K&E Fee & Employment Apps/Objections

Date     Name                                  Hours Description
06/01/20 Alistair Fatheazam                     0.70 Correspond with Alix and K&E team re
                                                     parties in interest list and K&E retention
                                                     issues.
06/02/20 Lucas W. Brown                         0.20 Correspond with K&E team re conflict
                                                     reports.
06/03/20 Alistair Fatheazam                     0.80 Correspond with Alix, K&E team re K&E
                                                     retention issues.
06/03/20 Julia R. Foster                        0.50 Draft first monthly fee statement.
06/03/20 Kimberly Pageau                        0.60 Review, revise interim comp motion and
                                                     prepare for filing re same.
06/04/20 Alistair Fatheazam                     1.50 Review, revise K&E retention application
                                                     (.8); review, analyze precedent and conflict
                                                     reports re same (.7).
06/05/20 Alistair Fatheazam                     2.20 Review, revise K&E retention application
                                                     (.8); review, analyze conflicts reports and
                                                     precedent re same (.9); correspond with A.
                                                     Weinhouse and K&E team re same (.5).
06/06/20 Alistair Fatheazam                     5.20 Review, revise K&E retention application
                                                     (2.0); correspond with A. Weinhouse and A.
                                                     Yenamandra re same (.3); review, analyze
                                                     conflicts reports re same (1.4); review,
                                                     analyze precedent re same (.8); review,
                                                     analyze conflicts list and related
                                                     correspondence re party in interest names (.5);
                                                     correspond with Alix and Cooley re same (.2).
06/07/20 Rebecca Blake Chaikin                  1.20 Revise invoice.
06/07/20 Michael Y. Chan                        1.50 Conduct organization and preparation of
                                                     parties for conflicts searching for
                                                     creditors/entities (.5); conduct parent
                                                     Company research for creditors/entities (1.0).
06/08/20 Michael Y. Chan                        5.00 Conduct parent Company research for
                                                     creditors/entities (.5); conduct organization
                                                     and preparation of parties for conflicts
                                                     searching for creditors/entities (1.5); conduct
                                                     analysis for disclosure of creditors/entities
                                                     (3.0).
06/08/20 Alistair Fatheazam                     7.40 Review, revise K&E retention application
                                                     (3.2); correspond with K&E team re same
                                                     (.5); correspond and telephone conference
                                                     with Alix re K&E retention issues (.6);
                                                     review, analyze conflicts reports and parties
                                                     in interest lists re same (2.5); correspond with
                                                     K&E team re same (.6).


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K&E Fee & Employment Apps/Objections

Date     Name                                  Hours Description
06/08/20 Eric Nyberg                            1.00 Conduct organization and preparation of
                                                     parties for conflicts searching.
06/08/20 Aparna Yenamandra                      1.00 Review and revise retention application (.6);
                                                     correspond with K&E team re same (.4).
06/09/20 Michael Y. Chan                        5.50 Conduct organization and preparation of
                                                     parties for conflicts searching for
                                                     creditors/entities (2.0); conduct analysis for
                                                     disclosure of creditors/entities (1.0); conduct
                                                     organization and review of disclosures
                                                     relating to creditors/entities (2.5).
06/09/20 Alistair Fatheazam                     4.20 Review, analyze master conflicts list (1.1);
                                                     correspond with Alix re same (.6); correspond
                                                     with K&E team re same (.4); correspond with
                                                     K&E team and Company re K&E retention
                                                     application (.2); review, revise K&E retention
                                                     application (1.4); review analyze K&E
                                                     retention precedent re same (.5).
06/09/20 Eric Nyberg                            5.50 Conduct organization and preparation of
                                                     parties for conflicts searching (1.0); conduct
                                                     organization and preparation of parties for
                                                     conflicts searching (1.5); conduct analysis for
                                                     disclosure of creditors/entities (1.5); draft and
                                                     send Request for Contact emails to attorneys
                                                     (1.5).
06/10/20 Alistair Fatheazam                     6.40 Review, revise K&E retention application
                                                     (1.2); correspond with Company, Alix and
                                                     K&E team re same (1.3); correspond with
                                                     K&E team re conflicts issues (.4); review,
                                                     revise master conflicts list (.8); review,
                                                     analyze conflicts schedules (1.1); correspond
                                                     with JW re K&E retention (.4); finalize K&E
                                                     retention application for filing (1.2).
06/10/20 Kenneth Sampson                        1.00 Conduct organization and review of
                                                     disclosures relating to all creditors/entities.
06/11/20 Alistair Fatheazam                     1.60 Finalize K&E retention for filing (.4);
                                                     correspond with Alix re updated master
                                                     conflicts list (.5); review, analyze same (.7).
06/16/20 Margaret R. Alden                      0.70 Review, revise invoices for compliance with
                                                     U.S. Trustee guidelines, privilege.
06/18/20 Margaret R. Alden                      2.00 Review, revise K&E invoices re privilege
                                                     issues, compliance with U.S. Trustee
                                                     guidelines.
06/18/20 Michael Y. Chan                        1.50 Review conflicts email replies.


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K&E Fee & Employment Apps/Objections

Date     Name                                  Hours Description
06/18/20 Jake William Gordon                    0.30 Review, revise K&E invoice.
06/18/20 Prentis Robinson                       0.60 Review, revise invoices per U.S. Trustee
                                                     guidelines and for confidentiality.
06/18/20 Elaine Santucci                        1.30 Conduct organization and preparation of
                                                     parties for conflicts searching for creditors in
                                                     preparation for disclosure filing.
06/19/20 Corinna Luschini                       4.70 Conduct parent Company research for
                                                     creditors/entities submitted as Administrative
                                                     Agents, Restructuring Professionals, Third
                                                     Parties, and Trade Vendors.
06/19/20 Kimberly Pageau                        1.20 Review, revise K&E fee statement for
                                                     privilege and compliance with U.S. Trustee
                                                     guidelines.
06/19/20 Prentis Robinson                       1.30 Review, revise invoices per U.S. Trustee
                                                     guidelines and for confidentiality.
06/20/20 Lucas W. Brown                         0.50 Review and revise billing invoices re U.S.
                                                     Trustee guidelines (.4); correspond with K&E
                                                     team re same (.1).
06/21/20 John Ackerman                          0.20 Conduct organization and preparation of
                                                     parties for conflicts searching for
                                                     creditors/entities submitted as Contract
                                                     Counterparties.
06/21/20 Nick Krislov                           0.60 Review, revise May invoice for privacy and
                                                     per U.S. Trustee guidelines.
06/21/20 Corinna Luschini                       0.70 Conduct parent Company research for
                                                     creditors/entities submitted as Trade Vendors.
06/22/20 John Ackerman                          4.80 Conduct parent Company research for
                                                     creditors/entities submitted as Trader Vendors
                                                     (1.5); conduct organization and preparation of
                                                     parties for conflicts searching for
                                                     creditors/entities submitted as Trader Vendors
                                                     (1.8); conduct analysis update for
                                                     supplemental disclosure of creditors/entities
                                                     submitted as Trader Vendors (1.5).
06/22/20 Margaret R. Alden                      0.20 Review invoices re privilege, compliance
                                                     with U.S. Trustee guidelines (.1); correspond
                                                     with K&E team re same (.1).
06/22/20 Chris Ceresa                           2.70 Review and revise K&E fee statement (2.5);
                                                     correspond with K&E team re same (.2).
06/22/20 Julia R. Foster                        0.70 Draft supplemental Sussberg declaration.
06/22/20 Nick Krislov                           1.00 Review, revise invoice per U.S. Trustee
                                                     guidelines and for confidentiality.


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K&E Fee & Employment Apps/Objections

Date     Name                                  Hours Description
06/22/20 Corinna Luschini                       3.20 Conduct organization and preparation for
                                                     conflicts searching of creditors/entities
                                                     submitted as Administrative Agents/Lender
                                                     (.8); conduct conflicts search and analysis for
                                                     creditors/entities submitted as Administrative
                                                     Agents/Lender (2.4).
06/22/20 Amy Zayed                              1.50 Conduct analysis for disclosure of
                                                     creditors/entities.
06/23/20 Michael Y. Chan                        2.00 Draft schedules 1 & 2 for supplemental
                                                     declaration.
06/23/20 Alistair Fatheazam                     1.00 Correspond with K&E team re supplemental
                                                     filing.
06/23/20 Miriam A. Peguero Medrano              3.60 Telephone conference with A. Weinhouse re
                                                     OCP retention (.2); telephone conference with
                                                     A. Fatheazam re same (.2); review U.S.
                                                     Trustee comments to K&E retention order
                                                     (.2); research re same (.3); revise same (.2);
                                                     correspond with A. Weinhouse re same (.1);
                                                     correspond with K&E team re conflicts search
                                                     for supplemental declaration (.2); draft
                                                     supplemental declaration (1.5); review
                                                     schedules re same (.3); correspond with A.
                                                     Weinhouse re same (.2); revise same (.2).
06/24/20 Michael Y. Chan                        1.50 Review conflicts email replies.
06/24/20 Meghan E. Guzaitis                     1.70 Compile case materials for attorney review in
                                                     preparation for hearing on applications (1.6)
                                                     correspond with K&E team re same (.1).
06/24/20 Meg McCarthy                           0.30 Conference with K&E team re chapter 11
                                                     filing and billing guidelines.
06/24/20 Eric Nyberg                            0.50 Draft and send request for contact emails.
06/24/20 Miriam A. Peguero Medrano              1.60 Correspond with A. Yenamandra re
                                                     supplemental declaration (.1); correspond
                                                     with conflicts re same (.2); revise schedules re
                                                     same (.2); further correspond with A.
                                                     Yenamandra, A. Weinhouse re same (.1);
                                                     revise same (.2); correspond with J. Sussberg
                                                     re same (.1); further revise supplemental
                                                     declaration (.2); correspond with A.
                                                     Weinhouse re same (.1); prepare filing
                                                     version (.2); correspond with JW team re
                                                     same (.2).
06/24/20 Josh Sussberg, P.C.                    0.10 Review supplemental declaration re K&E
                                                     retention.


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K&E Fee & Employment Apps/Objections

Date     Name                                  Hours Description
06/24/20 Allyson Smith Weinhouse                0.30 Review, comment on supplemental
                                                     declaration (.2); correspond with U.S. Trustee
                                                     re hearing on same (.1).
06/25/20 Chris Ceresa                           0.30 Correspond with K&E team re issues related
                                                     to fee statement.
06/26/20 Michael Y. Chan                        0.50 Review conflicts email replies.
06/26/20 Jake William Gordon                    1.30 Review, revise K&E invoice.
06/26/20 Meghan E. Guzaitis                     1.30 Compile case materials for attorney review in
                                                     preparation for hearing on applications.
06/27/20 Miriam A. Peguero Medrano              0.50 Correspond with A. Weinhouse, K&E team re
                                                     K&E revised retention order.
06/28/20 Miriam A. Peguero Medrano              0.30 Correspond with A. Weinhouse re revised
                                                     K&E retention order (.1); correspond with
                                                     conflicts re searched names (.2).
06/29/20 Margaret R. Alden                      0.20 Correspond with K&E team re invoice review
                                                     re conflicts, U.S. Trustee guidelines.
06/29/20 Lucas W. Brown                         4.70 Review and revise billing invoices re U.S.
                                                     Trustee guidelines (3.9); correspond with
                                                     K&E team re same (.8).
06/29/20 Chris Ceresa                           1.00 Review and revise K&E fee statement (.6);
                                                     correspond with K&E team re same (.4).
06/29/20 Nick Krislov                           2.40 Review, revise May invoices for privacy and
                                                     per U.S. Trustee guidelines.
06/30/20 Jake William Gordon                    1.90 Review, revise K&E invoice.
06/30/20 Nick Krislov                           1.80 Review, revise May invoice for privacy and
                                                     U.S. Trustee guidelines (1.7); correspond with
                                                     K&E team re same (.1).

Total                                          278.10




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                          FEIN XX-XXXXXXX




September 15, 2020

J.C. Penney Company, Inc.
6501 Legacy Drive
Plano, TX 75024

Attn: Brandy Treadway

                                                                            Invoice Number: 1050032384
                                                                              Client Matter: 47223-18

In the Matter of Other Fee and Employment Apps/Objections




For legal services rendered through June 30, 2020
(see attached Description of Legal Services for detail)                                                      $ 163,232.00
Total legal services rendered                                                                                $ 163,232.00




  Beijing Boston Chicago Dallas Hong Kong Houston London Los Angeles Munich Palo Alto Paris San Francisco Shanghai Washington, D.C.
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                                         Summary of Hours Billed

Name                                                     Hours         Rate      Amount
Margaret R. Alden                                         36.60      610.00     22,326.00
Lucas W. Brown                                            30.50      610.00     18,605.00
Chris Ceresa                                               0.30      610.00        183.00
Rebecca Blake Chaikin                                      3.00    1,085.00      3,255.00
Michael P. Esser                                          27.20    1,165.00     31,688.00
Alistair Fatheazam                                         8.20      740.00      6,068.00
Julia R. Foster                                            4.40      340.00      1,496.00
John Thomas Goldman                                        4.00    1,195.00      4,780.00
Meghan E. Guzaitis                                         0.70      445.00        311.50
Key Hemyari                                               12.50      845.00     10,562.50
Melissa D. Kalka                                           1.50    1,165.00      1,747.50
Eric Mossor                                               20.30      610.00     12,383.00
Kimberly Pageau                                           40.70      740.00     30,118.00
Prentis Robinson                                           1.90      610.00      1,159.00
Nicholas Ruge                                              0.20      835.00        167.00
Michael B. Slade                                           2.20    1,395.00      3,069.00
Allyson Smith Weinhouse                                    4.40      965.00      4,246.00
Aparna Yenamandra                                          9.50    1,165.00     11,067.50

TOTALS                                                   208.10               $ 163,232.00




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                                       Description of Legal Services

Date     Name                                  Hours Description
05/18/20 Margaret R. Alden                      2.50 Draft real estate advisors retention application
                                                     (1.3); research precedent re same (.8);
                                                     correspond with K&E team re same (.4).
05/18/20 Lucas W. Brown                         2.00 Draft and revise retention application re
                                                     KPMG (1.6); review and analyze precedent re
                                                     same (.4).
05/18/20 Key Hemyari                            5.50 Draft and revise Alix retention application
                                                     (3.9); review and analyze correspondence re
                                                     same (1.6).
05/18/20 Eric Mossor                            3.20 Attend telephone conference re work in
                                                     process (.5); review and coordinate team
                                                     workflow (.5); review and revise ordinary
                                                     course professionals motion (2.2).
05/18/20 Kimberly Pageau                        3.40 Review, revise Lazard retention application
                                                     (2.9); correspond with K&E team re same
                                                     (.5).
05/18/20 Allyson Smith Weinhouse                0.20 Correspond with K&E team re retention
                                                     matters.
05/18/20 Aparna Yenamandra                      0.30 Telephone conference with Lazard re
                                                     retention issues.
05/19/20 Julia R. Foster                        0.60 Review and revise Alix retention application.
05/19/20 Key Hemyari                            4.00 Review and revise Alix retention application
                                                     (2.0); review and revise Mesterherm
                                                     declaration re same (2.0).
05/19/20 Eric Mossor                            6.50 Review and revise ordinary course
                                                     professionals motion.
05/19/20 Kimberly Pageau                        3.70 Review, revise Lazard retention application
                                                     (3.2); correspond with K&E team re same
                                                     (.5).
05/20/20 Lucas W. Brown                         4.60 Draft retention application re KPMG (2.3);
                                                     revise same (.8); review and analyze
                                                     precedent re same (1.2); correspond with
                                                     K&E team re same (.3).
05/20/20 Key Hemyari                            1.00 Review and revise Alix retention documents.
05/20/20 Melissa D. Kalka                       1.30 Review and comment on retention application
                                                     (.5); correspond with K. Hemayri re same
                                                     (.3); review and comment on OCP motion
                                                     (.2); correspond with E. Mossor re same (.3).
05/20/20 Eric Mossor                            2.00 Review and revise ordinary course
                                                     professionals motion.

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Date     Name                                  Hours Description
05/20/20 Aparna Yenamandra                      0.50 Correspond with K&E team re non-K&E
                                                     retention applications to be filed.
05/21/20 Margaret R. Alden                      1.10 Research re real estate advisors retention
                                                     application (.4); correspond with A. Smith
                                                     Weinhouse, C. Ceresa re same (.2); draft,
                                                     revise same (.5).
05/21/20 Lucas W. Brown                         3.60 Draft retention application, order, declaration
                                                     re KPMG (2.2); revise same (.6); correspond
                                                     with K&E team re same (.3); review and
                                                     analyze precedent re same (.5).
05/21/20 Julia R. Foster                        1.60 Draft real estate advisors retention
                                                     application.
05/21/20 Kimberly Pageau                        2.40 Review, revise Lazard retention application
                                                     (1.8); correspond with K&E team, counsel re
                                                     same (.6).
05/22/20 Margaret R. Alden                      0.30 Correspond with C. Ceresa, A. Smith
                                                     Weinhouse re real estate advisors retention.
05/22/20 Alistair Fatheazam                     1.00 Correspond with Lazard and Alix re parties in
                                                     interest (.5); review, analyze and redline
                                                     parties in interest lists for Lazard (.5).
05/22/20 Key Hemyari                            2.00 Prepare filing version of AlixPartners
                                                     Retention Application.
05/22/20 Kimberly Pageau                        6.30 Review, revise Lazard retention application
                                                     (3.9); correspond with K&E team, Debevoise
                                                     re same (.8); prepare for filing re same (1.6).
05/23/20 Eric Mossor                            1.50 Review K&E team comments re ordinary
                                                     course professionals motion and revise
                                                     motion.
05/25/20 Lucas W. Brown                         0.40 Review retention application re KPMG (.3);
                                                     correspond with K&E team re same (.1).
05/26/20 Lucas W. Brown                         5.20 Draft and revise retention application, order,
                                                     and declaration re KPMG (3.3); correspond
                                                     with K&E team re same (.6); review
                                                     precedent re same (1.3).
05/26/20 Julia R. Foster                        0.30 Draft Lazard motion to seal.
05/26/20 Julia R. Foster                        0.20 Research precedent re motion to seal re
                                                     retention applications in SDTX.
05/26/20 Kimberly Pageau                        1.50 Review, revise interim compensation motion.
05/26/20 Allyson Smith Weinhouse                0.90 Review, comment on KPMG retention
                                                     application.
05/26/20 Aparna Yenamandra                      0.60 Review and revise interim compensation
                                                     motion.

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Legal Services for the Period Ending June 30, 2020             Invoice Number:            1050032384
J.C. Penney Company, Inc.                                       Matter Number:              47223-18
Other Fee and Employment Apps/Objections

Date     Name                                  Hours Description
05/27/20 Lucas W. Brown                         0.40 Correspond with K&E team and KPMG re
                                                     retention application and order.
05/27/20 Eric Mossor                            2.20 Review and revise ordinary course
                                                     professionals motion.
05/27/20 Kimberly Pageau                        1.30 Review, revise motion to seal re retention
                                                     applications.
05/28/20 Margaret R. Alden                      1.90 Draft, revise real estate advisors retention
                                                     application (1.7); correspond with A. Smith
                                                     Weinhouse re same (.2).
05/28/20 Melissa D. Kalka                       0.20 Correspond with E. Mossor re ordinary course
                                                     professionals motion.
05/28/20 Kimberly Pageau                        1.50 Review, revise motion to seal re fee
                                                     applications (1.3); correspond with K&E team
                                                     re same (.2).
05/29/20 Margaret R. Alden                      0.10 Correspond with K&E team re real estate
                                                     advisors retention application.
05/29/20 Lucas W. Brown                         0.30 Correspond with K&E team and KPMG team
                                                     re retention application, declaration and order.
05/29/20 Alistair Fatheazam                     0.60 Research re Cushman and Wakefield
                                                     engagement letters.
05/29/20 Eric Mossor                            2.50 Conference with A. Weinhouse and Alix team
                                                     (.7); review and revise ordinary course
                                                     professionals motion (1.8).
05/30/20 Eric Mossor                            0.50 Review and update ordinary course
                                                     professionals motion.
05/31/20 Margaret R. Alden                      0.80 Draft, revise real estate advisors application.
05/31/20 Allyson Smith Weinhouse                0.30 Correspond with Alix, K&E team re ordinary
                                                     course professionals motion.
05/31/20 Allyson Smith Weinhouse                0.60 Review, revise motion to seal.
06/01/20 Lucas W. Brown                         1.20 Review and revise retention application, order
                                                     and declaration re KPMG (.7); review and
                                                     analyze precedent re same (.3); correspond
                                                     with K&E and KPMG teams re same (.2).
06/01/20 Julia R. Foster                        0.20 Prepare AlixPartners and Lazard orders for
                                                     attorney review.
06/01/20 Kimberly Pageau                        0.30 Review, revise motion to seal.
06/02/20 Margaret R. Alden                      0.40 Correspond with K&E team re real estate
                                                     advisors retention application.
06/02/20 Lucas W. Brown                         0.30 Review and revise retention application re
                                                     KPMG.



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Other Fee and Employment Apps/Objections

Date     Name                                  Hours Description
06/02/20 Kimberly Pageau                        1.50 Review, revise motion to seal and correspond
                                                     with K&E team, JW re same.
06/03/20 Margaret R. Alden                      0.60 Draft, revise real estate advisors retention
                                                     application.
06/03/20 Rebecca Blake Chaikin                  0.90 Correspond with K&E team re OCP parties
                                                     and motion (.2); review engagement letters
                                                     for broker and appraiser (.7).
06/03/20 Alistair Fatheazam                     0.60 Telephone conference with Alix re Alix
                                                     retention application (.4); correspond with
                                                     Alix re same (.2).
06/03/20 Allyson Smith Weinhouse                0.20 Correspond with R. Robbins, K&E team,
                                                     client re OCP lists.
06/04/20 Margaret R. Alden                      0.70 Revise real estate retention documents (.5);
                                                     correspond with advisors, K&E team re same
                                                     (.2).
06/04/20 Lucas W. Brown                         2.60 Draft and revise retention application,
                                                     declaration and order re KPMG (2.1);
                                                     correspond with K&E team, KPMG and
                                                     Company re same (.5).
06/04/20 Rebecca Blake Chaikin                  0.60 Telephone conferences with M. Gilbert, JW
                                                     re broker and appraiser retentions (.4);
                                                     correspond with K&E team re same (.2).
06/04/20 Julia R. Foster                        0.70 Research precedent re real estate advisor
                                                     declarations (.4); research precedent re 327
                                                     retention applications (.3).
06/05/20 Margaret R. Alden                      4.70 Research precedent re real estate advisor
                                                     retention application (.4); revise same (1.1);
                                                     correspond with advisors re same (.7);
                                                     correspond with K&E team, Company re
                                                     amendment execution (.8); telephone
                                                     conferences with same re same (.6);
                                                     correspond with JW re same (.2); prepare
                                                     same for filing (.4); review, revise same (.5).
06/05/20 Lucas W. Brown                         0.60 Correspond with K&E and KPMG teams re
                                                     retention application, declaration and order.
06/06/20 Margaret R. Alden                      0.20 Correspond with advisors re filed retention
                                                     applications.
06/07/20 Margaret R. Alden                      0.10 Correspond with Alix re real estate advisors
                                                     retention application.
06/07/20 Rebecca Blake Chaikin                  0.20 Revise broker engagement letter.
06/08/20 Margaret R. Alden                      1.60 Draft, revise real estate advisors declarations
                                                     (1.0); correspond with advisors, A. Smith
                                                     Weinhouse re same (.6).

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Other Fee and Employment Apps/Objections

Date     Name                                  Hours Description
06/08/20 Rebecca Blake Chaikin                  0.30 Correspond with K&E re real estate advisor
                                                     retentions.
06/08/20 Kimberly Pageau                        0.40 Correspondences with K&E team re motion
                                                     to seal re retentions and revise re same.
06/08/20 Aparna Yenamandra                      1.10 Telephone conference re Laz retention (.4);
                                                     correspond with K&E team re parties in
                                                     interest list (.7).
06/09/20 Margaret R. Alden                      1.40 Telephone conference with C&W, K&E team
                                                     re application, conflicts review (.2);
                                                     correspond with A. Smith Weinhouse re same
                                                     (.3); correspond with real estate advisors,
                                                     K&E teams, JW re declarations, conflicts
                                                     review (.4); telephone conference with J.
                                                     Wertz re same (.2); revise declarations re
                                                     same (.3).
06/09/20 Lucas W. Brown                         0.80 Review and revise retention application,
                                                     declaration and order re KPMG (.5);
                                                     correspond with K&E and KPMG teams re
                                                     same (.3).
06/09/20 Alistair Fatheazam                     0.50 Correspond with other advisors re master
                                                     conflicts list.
06/09/20 John Thomas Goldman                    4.00 Coordinate appraisal engagement (3.0);
                                                     telephone conference with C&W re disclosure
                                                     and conflict statements (1.0).
06/09/20 Kimberly Pageau                        1.70 Review, revise motion to seal re retentions
                                                     and correspond with K&E team re same.
06/09/20 Aparna Yenamandra                      0.80 Correspond re interested parties list.
06/10/20 Margaret R. Alden                      3.10 Correspond with real estate advisors, K&E
                                                     team, JW re real estate advisors retention (.9);
                                                     draft, revise declarations re same (.9);
                                                     telephone conferences with JW, C&W re
                                                     same (.5); research precedent re same (.8).
06/10/20 Lucas W. Brown                         3.00 Review and revise retention application,
                                                     declaration, order re KPMG (1.7); correspond
                                                     with K&E, JW and KPMG teams re same
                                                     (.5); compile documents re same (.8).
06/10/20 Alistair Fatheazam                     3.00 Review, revise conflicts master list (1.5);
                                                     correspond and telephone conference with
                                                     Alix re same (.8); correspond with other
                                                     advisors re retention filings (.7).




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J.C. Penney Company, Inc.                                       Matter Number:              47223-18
Other Fee and Employment Apps/Objections

Date     Name                                  Hours Description
06/10/20 Kimberly Pageau                        2.60 Conference with U.S. Trustee, Debevoise,
                                                     K&E team re Lazard retention (.5); review,
                                                     revise motion to seal and prepare for filing re
                                                     same (2.1).
06/11/20 Margaret R. Alden                      6.80 Draft, revise declarations re real estate
                                                     advisors amended application (1.2); revise
                                                     amended application (1.0); telephone
                                                     conferences with JW, Company, K&E team
                                                     re same (.6); correspond with same re same
                                                     (.9); coordinate filing re same (1.8); research
                                                     precedent re same (.4); review, analyze
                                                     conflicts disclosures re same (.9).
06/11/20 Lucas W. Brown                         1.50 Review and revise retention application,
                                                     declaration order re KPMG (.4); correspond
                                                     with K&E, KPMG and JW teams re same
                                                     (.3); compile documents for filing re same
                                                     (.1); review and revise retention application re
                                                     Company real estate advisors (.5); correspond
                                                     with K&E team re same (.2).
06/11/20 Alistair Fatheazam                     0.60 Correspond with other advisors re updated
                                                     master conflicts list.
06/11/20 Kimberly Pageau                        0.40 Prepare for filing motion to seal.
06/12/20 Margaret R. Alden                      1.60 Correspond with Company, JW, K&E team re
                                                     finalizing filing (.7); coordinate same (.9).
06/15/20 Margaret R. Alden                      0.90 Correspond with C&W, K&E team, JW re
                                                     C&W conflicts review (.5); telephone
                                                     conference with C. Ceresa re same (.2);
                                                     review, analyze docket re same (.2).
06/15/20 Chris Ceresa                           0.30 Telephone conference and correspond with
                                                     M. Alden re application issue (.2); correspond
                                                     with K&E team re same (.1).
06/15/20 Eric Mossor                            0.20 Review OCP motion precedent.
06/16/20 Alistair Fatheazam                     0.40 Correspond with Alix and outside counsel re
                                                     conflicts list.
06/16/20 Kimberly Pageau                        0.50 Review U.S. Trustee comments to interim
                                                     comp order and correspond with K&E team,
                                                     JW re same.
06/17/20 Kimberly Pageau                        0.30 Review, revise interim comp order.
06/18/20 Margaret R. Alden                      0.60 Telephone conference with A. Fatheazam re
                                                     C&W supplemental declaration (.1);
                                                     correspond with C&W, K&E team re same
                                                     (.1); correspond with Alix, K&E team, JW re
                                                     real estate advisors retention (.4).

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Other Fee and Employment Apps/Objections

Date     Name                                  Hours Description
06/18/20 Rebecca Blake Chaikin                  1.00 Correspond with A. Weinhouse re B. Riley
                                                     retention.
06/18/20 Alistair Fatheazam                     0.80 Review, analyze conflicts list updates (.5);
                                                     correspond with K&E team re same (.3).
06/18/20 Kimberly Pageau                        1.30 Correspond with K&E team, Jackson Walker,
                                                     Lazard re retentions, motions to seal (.5);
                                                     review precedent, transcripts (.8).
06/19/20 Margaret R. Alden                      1.00 Correspond with JW, K&E teams re real
                                                     estate advisors supplemental declarations.
06/19/20 Julia R. Foster                        0.20 Research precedent re motion to seal retention
                                                     replies.
06/19/20 Kimberly Pageau                        0.50 Review precedent re motion to seal and
                                                     correspond with K&E team re same.
06/19/20 Aparna Yenamandra                      0.80 Correspond with A. Weinhouse re retention
                                                     issues.
06/20/20 Margaret R. Alden                      0.20 Correspond with JW, K&E team, real estate
                                                     advisors re confidential parties.
06/21/20 Aparna Yenamandra                      1.20 Draft interim comp revised order (.7);
                                                     correspond with parties re same (.5).
06/22/20 Margaret R. Alden                      0.40 Telephone conference with B. Riley re
                                                     supplemental declarations (.2); correspond
                                                     with K&E team, C&W, B. Riley re same (.2).
06/22/20 Lucas W. Brown                         0.20 Correspond with K&E and KPMG teams re
                                                     supplemental declaration.
06/22/20 Kimberly Pageau                        0.40 Review, revise interim comp order and
                                                     correspond with K&E team re same.
06/23/20 Margaret R. Alden                      2.00 Draft, revise supplemental declarations (1.6);
                                                     correspond with advisor counsel, K&E team
                                                     re same (.4).
06/23/20 Lucas W. Brown                         0.10 Correspond with K&E and KPMG teams re
                                                     supplemental declaration.
06/23/20 Julia R. Foster                        0.20 Prepare OCP order re June 24, 2020 hearing.
06/23/20 Eric Mossor                            1.50 Review and update OCP motion.
06/23/20 Allyson Smith Weinhouse                2.00 Correspond with Alix, K&E team re OCP
                                                     matters (.3); review, comment on revised
                                                     order (.3); correspond with U.S. Trustee,
                                                     UCC, Milbank, Otterbourg re same (.4);
                                                     review, analyze objection to same (.2);
                                                     telephone conference with objecting party re
                                                     same (.6); revise order re same (.2).
06/23/20 Aparna Yenamandra                      0.50 Correspond with A. Weinhouse re OCP
                                                     objections.

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J.C. Penney Company, Inc.                                      Matter Number:             47223-18
Other Fee and Employment Apps/Objections

Date     Name                                  Hours Description
06/24/20 Margaret R. Alden                      0.90 Revise supplemental declarations (.6);
                                                     correspond with JW, real estate advisors, A.
                                                     Smith Weinhouse re same (.3).
06/24/20 Lucas W. Brown                         1.70 Review and revise KPMG supplemental
                                                     declaration (1.2); correspond with K&E and
                                                     KPMG teams re same (.3); compile
                                                     documents re same (.2).
06/24/20 Alistair Fatheazam                     0.70 Correspond with K&E team, KW and outside
                                                     counsel re supplemental filings.
06/24/20 Kimberly Pageau                        1.00 Review Lazard supplemental declaration and
                                                     correspond with K&E team, Debevoise re
                                                     same.
06/24/20 Prentis Robinson                       1.10 Correspond with Galloway re ordinary course
                                                     professionals procedure (.7); correspond with
                                                     A. Weinhouse re same (.2); review, analyze
                                                     ordinary course professionals motion re same
                                                     (.2).
06/24/20 Allyson Smith Weinhouse                0.20 Review, analyze KPMG declaration (.1);
                                                     correspond re Alix declaration (.1).
06/24/20 Aparna Yenamandra                      0.60 Correspond with K&E team re sealing
                                                     objection.
06/25/20 Margaret R. Alden                      2.00 Correspond with C&W, BRRE, JW, K&E
                                                     team re retention order revisions (.5); revise
                                                     supplemental declarations (.7); prepare for
                                                     filing (.4); correspond with JW, K&E team re
                                                     filing (.4).
06/25/20 Prentis Robinson                       0.80 Correspond with tax counsel re ordinary
                                                     course professionals procedures (.5); review,
                                                     analyze ordinary course professionals re same
                                                     (.3).
06/26/20 Michael P. Esser                       5.70 Prepare for and participate in conference with
                                                     A. Yenamandra re sealing motion re retention
                                                     applications (.6); review and analyze
                                                     pleadings and declarations re same (2.1);
                                                     review and analyze United States Trustee
                                                     objections to retention applications re same
                                                     (1.0); correspond with M. Guzaitis re exhibit
                                                     list re retention application hearing (.5);
                                                     review and analyze argument and evidentiary
                                                     precedent re same (1.5).
06/26/20 Kimberly Pageau                        0.90 Conference with K&E team re motion to seal
                                                     hearing prep (.3); correspond with K&E team
                                                     re same (.6).


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Other Fee and Employment Apps/Objections

Date     Name                                  Hours Description
06/26/20 Michael B. Slade                       0.40 Attend telephone conference with K&E team
                                                     re retention issues.
06/26/20 Aparna Yenamandra                      0.60 Telephone conference re sealing hearing.
06/27/20 Margaret R. Alden                      0.40 Correspond with JW, real estate advisors,
                                                     K&E team re revised order, U.S. Trustee
                                                     discussions re same.
06/27/20 Michael P. Esser                       5.10 Review, analyze, and revise draft direct
                                                     examination of C. Tempke (3.5); review and
                                                     revise witness and exhibit list for sealing
                                                     motion and retention applications hearing
                                                     (1.0); correspond with M. Guzaitis (.6).
06/27/20 Michael P. Esser                       4.10 Review bidder sealing pleadings (2.0); draft
                                                     direct examination of C. Tempke (2.1).
06/27/20 Kimberly Pageau                        1.10 Draft Lazard declaration re motion to seal and
                                                     correspond with K&E team re same.
06/27/20 Nicholas Ruge                          0.20 Compile documents re preparation for
                                                     retention hearing.
06/28/20 Kimberly Pageau                        1.80 Draft Lazard declaration re motion to seal
                                                     (1.1); correspond with K&E team re hearing
                                                     re same (.7).
06/29/20 Margaret R. Alden                      0.30 Correspond with real estate advisors, K&E
                                                     team, JW re conflicts review.
06/29/20 Lucas W. Brown                         1.40 Correspond with K&E team and Company
                                                     OCPs re declarations (.8); draft and revise
                                                     tracker re same (.6).
06/29/20 Michael P. Esser                       7.30 Prepare for and participate in conference with
                                                     S. Statham re motion to seal bidder names in
                                                     connection with retention applications (.5);
                                                     prepare for and participate in conference with
                                                     J. Urban re hearing on sealing motion and
                                                     retention applications (.5); prepare for and
                                                     attend C. Tempke witness preparation
                                                     meeting re sealing motion and retention
                                                     applications (1.0); review and analyze non-
                                                     disclosure agreements re same (1.0); review
                                                     and revise direct examination outline re same
                                                     (2.3); review, revise, and finalize witness and
                                                     exhibit list re same (2.0).
06/29/20 Julia R. Foster                        0.40 Research precedent re motion to seal.
06/29/20 Meghan E. Guzaitis                     0.70 Compile case materials for attorney review in
                                                     preparation for hearing on applications.
06/29/20 Eric Mossor                            0.20 Review OCP motion and coordinate exhibits
                                                     with L. Brown.

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J.C. Penney Company, Inc.                                       Matter Number:               47223-18
Other Fee and Employment Apps/Objections

Date     Name                                  Hours Description
06/29/20 Kimberly Pageau                        3.50 Review, revise supplemental declaration re
                                                     Lazard retention (2.3); correspond with K&E
                                                     team re same (.3); correspond with K&E team
                                                     re motion to seal hearing (.5); conference with
                                                     K&E team, witness re same (.4).
06/29/20 Michael B. Slade                       1.80 Attend telephone conference with K&E team
                                                     re retention hearing (.6); review and revise lift
                                                     stay opposition (.9); attend telephone
                                                     conference with Y. French and M. Esser re
                                                     next steps (.3).
06/29/20 Aparna Yenamandra                      1.20 Telephone conference with Milbank re
                                                     interim comp (.4); correspond with K&E, Laz
                                                     team re sealing issues (.8).
06/30/20 Lucas W. Brown                         0.60 Correspond with K&E team and Company
                                                     OCPs re declarations (.2); review and revise
                                                     tracker re same (.1); review and revise
                                                     declarations (.3).
06/30/20 Michael P. Esser                       5.00 Prepare for and attend C. Tempke witness
                                                     preparation meeting (1.5); review and revise
                                                     live direct examination outline re same (1.8);
                                                     review and analyze objections to retention
                                                     and sealing motions (1.2); prepare for and
                                                     participate in telephone conference with A.
                                                     Weinhouse re arguments re same (.5).
06/30/20 Kimberly Pageau                        2.40 Conference with E&Y counsel re OCP, other
                                                     matters (.3); review, revise Lazard declaration
                                                     (1.1); correspond with K&E team, declarants
                                                     re same, motion to seal hearing (1.0).
06/30/20 Aparna Yenamandra                      1.30 Correspond with various parties re proposed
                                                     interim comp order and modificiations
                                                     thereto.

Total                                          208.10




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                          FEIN XX-XXXXXXX




September 15, 2020

J.C. Penney Company, Inc.
6501 Legacy Drive
Plano, TX 75024

Attn: Brandy Treadway

                                                                            Invoice Number: 1050032385
                                                                              Client Matter: 47223-19

In the Matter of Case Administration




For legal services rendered through June 30, 2020
(see attached Description of Legal Services for detail)                                                      $ 365,967.00
Total legal services rendered                                                                                $ 365,967.00




  Beijing Boston Chicago Dallas Hong Kong Houston London Los Angeles Munich Palo Alto Paris San Francisco Shanghai Washington, D.C.
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J.C. Penney Company, Inc.                                    Matter Number:     47223-19
Case Administration




                                         Summary of Hours Billed

Name                                                     Hours         Rate    Amount
April B. Abrams                                            3.40      460.00    1,564.00
Margaret R. Alden                                          2.20      610.00    1,342.00
Matthew Antinossi                                          0.10    1,375.00      137.50
Jeffrey Ayer                                               5.40    1,165.00    6,291.00
Jenn Betts                                                 1.00    1,035.00    1,035.00
Lucas W. Brown                                            59.40      610.00   36,234.00
Megan Buenviaje                                            8.50      395.00    3,357.50
Daniel Carlomany                                          13.20      610.00    8,052.00
Chris Ceresa                                               5.10      610.00    3,111.00
Rebecca Blake Chaikin                                     10.00    1,085.00   10,850.00
Michael Y. Chan                                            3.50      265.00      927.50
Daniel Cho                                                 3.50      965.00    3,377.50
Lizbeth Cordova                                            3.00      610.00    1,830.00
Tess Elizabeth Dennis                                     12.20      610.00    7,442.00
Alistair Fatheazam                                         2.40      740.00    1,776.00
Jeremy A. Fielding, P.C.                                   1.00    1,295.00    1,295.00
Julia R. Foster                                           38.20      340.00   12,988.00
Jake William Gordon                                       12.30      845.00   10,393.50
Meghan E. Guzaitis                                        11.00      445.00    4,895.00
Key Hemyari                                               15.70      845.00   13,266.50
Walter S. Holzer, P.C.                                     0.30    1,465.00      439.50
Andrew Hurley                                              0.50      845.00      422.50
Melissa D. Kalka                                          11.20    1,165.00   13,048.00
Nick Krislov                                               2.20      740.00    1,628.00
Aisha P. Lavinier                                          1.10    1,135.00    1,248.50
Will Lawley                                                2.00      845.00    1,690.00
Library Factual Research                                   0.50      375.00      187.50
David P. Liebowitz                                         3.00      445.00    1,335.00
Song Lin                                                  17.60      410.00    7,216.00
Christopher Marcus, P.C.                                  21.90    1,635.00   35,806.50
Tiffany T. Mason                                          17.50      740.00   12,950.00
Marjorie Melicharek                                        9.10      275.00    2,502.50


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Case Administration

Name                                                     Hours        Rate      Amount
Lekha Menon                                                0.50     725.00        362.50
Colin Mize                                                22.10     845.00     18,674.50
Eric Mossor                                               84.20     610.00     51,362.00
Tyler E. Neal                                              7.00     740.00      5,180.00
David M. Nemecek, P.C.                                     0.50   1,565.00        782.50
Eric Nyberg                                                4.50     265.00      1,192.50
Kimberly Pageau                                            1.90     740.00      1,406.00
John Phelan                                                2.20     610.00      1,342.00
Scott D. Price, P.C.                                       5.40   1,635.00      8,829.00
Jeffrey S. Quinn                                           0.20   1,375.00        275.00
Claudia Ray                                                0.40   1,295.00        518.00
Jeffrey S. Rheeling                                        3.00   1,385.00      4,155.00
Nicholas Ruge                                              3.50     835.00      2,922.50
Tana Ryan, P.C.                                            3.00   1,395.00      4,185.00
Kenneth Sampson                                            3.00     395.00      1,185.00
Eric L. Schiele, P.C.                                      0.70   1,595.00      1,116.50
Lauren J. Schweitzer                                       0.90   1,025.00        922.50
Christian Semonsen                                         6.50   1,235.00      8,027.50
Josh Sussberg, P.C.                                        7.40   1,635.00     12,099.00
Michael D. Thorpe                                          0.20   1,165.00        233.00
Steve Toth                                                 0.20   1,295.00        259.00
Josh Urban                                                23.80     390.00      9,282.00
Allyson Smith Weinhouse                                    6.10     965.00      5,886.50
Lydia Yale                                                23.50     275.00      6,462.50
Aparna Yenamandra                                          1.40   1,165.00      1,631.00
Victoria M. Zhou                                           4.00   1,085.00      4,340.00
Abbey Zuech                                                7.70     610.00      4,697.00

TOTALS                                                   521.80              $ 365,967.00




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Case Administration


                                       Description of Legal Services

Date     Name                                  Hours Description
05/15/20 Tess Elizabeth Dennis                  4.00 Compile executed agreements/filing
                                                     documents (2.5); update and track signature
                                                     page checklist (.5); correspond with K&E
                                                     team re filing (1.0).
05/15/20 Melissa D. Kalka                       7.00 Correspond with J. Merrill (.3); correspond
                                                     with Company re non-disclosure agreements
                                                     (.5); correspond with K&E team re same (.2);
                                                     correspond with K. Hemyari (.3); prepare for
                                                     and attend to follow-up telephone conferences
                                                     (1.5); review and comment on various
                                                     resolutions and certificates (.8); prepare for
                                                     and attend board telephone conference (.4);
                                                     review signature pages for completion (.4);
                                                     review and comment on filings (.5); review
                                                     and comment on checklist (.2); attend to filing
                                                     matters (1.1); review non-disclosure
                                                     agreement provisions (.3); correspond with
                                                     K&E team (.5).
05/15/20 Will Lawley                            1.00 Review diligence tracker and progress against
                                                     data room (.2); telephone conference with
                                                     team re access to third party advisors for data
                                                     room (.5); review third party lease diligence
                                                     stream and correspond with group re path
                                                     forward (.3).
05/15/20 Christopher Marcus, P.C.               3.10 Board telephone conferences.
05/16/20 Lucas W. Brown                         1.90 Review matter correspondence (.5); draft and
                                                     revise matter working group list re key
                                                     stakeholders (1.2); correspond with K&E
                                                     team re same (.2).
05/16/20 Julia R. Foster                        1.20 Compile recently filed pleadings.
05/16/20 Melissa D. Kalka                       0.50 Correspond with J. Merrill re post-filing
                                                     matters (.3); correspond with K&E team re
                                                     various non-disclosure agreement provisions
                                                     (.2).
05/16/20 Will Lawley                            1.00 Review diligence tracker (.2); coordinate with
                                                     advisor teams re access to Lucernex and
                                                     material non-public information (.8).
05/16/20 David P. Liebowitz                     3.00 Download and review indexes (2.5); revise
                                                     tracker re same (.5).




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Date     Name                                  Hours Description
05/16/20 Nicholas Ruge                          3.50 Coordinate and revise exhibits and exhibit list
                                                     for first day hearing (1.1); assist Y. French
                                                     with pre-first day hearing questions re
                                                     exhibits and motions (.8); telephonically
                                                     attend first day hearing (1.1); review changes
                                                     to interim proposed orders (.5).
05/16/20 Josh Urban                             6.50 Assist with onsite setup and operation of first
                                                     day hearing with M. Slade and Y. French.
05/17/20 Lucas W. Brown                         2.10 Review and revise work in process chart
                                                     (1.9); correspond with K&E team re same
                                                     (.2).
05/17/20 Allyson Smith Weinhouse                1.50 Address immediate post-petition matters,
                                                     service, publication notices, etc. (1.0);
                                                     correspond with K&E team re same (.5).
05/18/20 Margaret R. Alden                      1.20 Draft, revise narrative re transaction (.8);
                                                     correspond with K&E team re same (.4).
05/18/20 Lucas W. Brown                         6.60 Review matter correspondence (.5); draft and
                                                     revise work in process chart (2.7); telephone
                                                     conference with R. Chaikin and K&E team re
                                                     work in process (.5); prepare for same (.2);
                                                     compile and coordinate required notices and
                                                     key time lines with K&E team and Company
                                                     advisors (1.4); draft and revise weekly case
                                                     report (.7); correspond with K&E team re
                                                     same (.3); correspond with Prime Clerk and
                                                     K&E team re notice of commencement (.3).
05/18/20 Megan Buenviaje                        3.00 Correspond with risk team re internal email
                                                     collection (.8); coordinate review workspace
                                                     setup (.7); prepare internal email collection
                                                     for attorney review (1.5).
05/18/20 Chris Ceresa                           0.60 Telephone conference with K&E team re
                                                     work in process.
05/18/20 Rebecca Blake Chaikin                  1.00 Revise priority items list (.4); telephone
                                                     conference with K&E team re same (.6).
05/18/20 Tess Elizabeth Dennis                  1.00 Participate and take notes on work in process
                                                     telephone conference (.5); organize and
                                                     consolidate telephone conference notes (.5).
05/18/20 Alistair Fatheazam                     0.50 Telephone conference with K&E team re
                                                     work in process.
05/18/20 Jeremy A. Fielding, P.C.               0.50 Telephone conference with K&E team to
                                                     strategize re June 2 hearings.




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Date     Name                                  Hours Description
05/18/20 Julia R. Foster                        2.10 Conference with K&E team re work in
                                                     process (.6); draft voicemail log (.3);
                                                     coordinate voicemail box re case inquiries
                                                     (.6); review and revise pleading template (.6).
05/18/20 Jake William Gordon                    2.00 Telephone conferences with K&E team re
                                                     case status (.5); telephone conference with
                                                     various advisors re ongoing issues (1.2);
                                                     correspond with K&E team re same (.3).
05/18/20 Key Hemyari                            0.80 Telephone conference re work in process (.5);
                                                     review and revise notes (.3).
05/18/20 Melissa D. Kalka                       1.70 Telephone conferences and correspond with
                                                     K&E team re status of various administrative
                                                     matters.
05/18/20 Nick Krislov                           0.50 Telephone conference with K&E team re
                                                     work in process.
05/18/20 Marjorie Melicharek                    1.70 Summarize document production status re
                                                     email collections for attorney review.
05/18/20 Allyson Smith Weinhouse                2.90 Telephone conference with K&E team re
                                                     work in process (.6); follow up with K&E
                                                     team, AlixPartners re post-petition matters,
                                                     reporting requirements (.6); correspond with
                                                     Prime Clerk, JW re same (.2); telephone
                                                     conference with Company re supplier
                                                     management (.9); telephone conference with
                                                     advisors re coordination (.6).
05/18/20 Lydia Yale                             0.80 Prepare docket report and distribute same.
05/18/20 Lydia Yale                             0.50 Conference with K&E team re work in
                                                     process.
05/18/20 Aparna Yenamandra                      0.50 Attend standing advisor telephone conference.
05/18/20 Abbey Zuech                            0.70 Participate in telephone conference with K&E
                                                     team re ongoing issue (.5); correspond with T.
                                                     Dennis and E. Mossor re same (.2).
05/19/20 Lucas W. Brown                         1.40 Draft and revise matter working group list
                                                     (.7); correspond with K&E team re same (.2);
                                                     telephone conference with R. Chaikin, K&E
                                                     team and AlixPartners re diligence (.5).
05/19/20 Megan Buenviaje                        1.00 Update document review settings (.7);
                                                     correspond with case team re same (.3).
05/19/20 Chris Ceresa                           0.30 Telephone conference with AlixPartners and
                                                     K&E team re outstanding diligence.




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Date     Name                                  Hours Description
05/19/20 Tess Elizabeth Dennis                  2.00 Telephone conference with K&E team re
                                                     diligence (.5); review notes re same (.5);
                                                     review signature pages and signature page
                                                     tracker (1.0).
05/19/20 Alistair Fatheazam                     0.60 Telephone conference with K&E team and
                                                     AlixPartners re work in process.
05/19/20 Julia R. Foster                        1.30 Review and revise second day pleadings.
05/19/20 Key Hemyari                            0.20 Attend telephone conference with K&E team
                                                     re diligence.
05/19/20 Christopher Marcus, P.C.               0.50 Telephone conference re advisor
                                                     coordination.
05/19/20 Marjorie Melicharek                    1.50 Compile critical pleadings.
05/19/20 Eric Mossor                            1.00 Attend telephone conference re work in
                                                     process (.5); review pleading template and
                                                     docket (.5).
05/19/20 David M. Nemecek, P.C.                 0.50 Participate in telephone conference re various
                                                     workstreams, including DIP.
05/19/20 Kimberly Pageau                        0.30 Attend diligence telephone conference with
                                                     K&E team, Company, AlixPartners.
05/19/20 Lydia Yale                             0.50 Prepare docket report and distribute same.
05/19/20 Abbey Zuech                            0.60 Attend telephone conference with K&E team
                                                     and AlixPartners re diligence.
05/20/20 Lucas W. Brown                         0.90 Correspond with K&E team and Prime Clerk
                                                     re first day order noticing requirements (.5);
                                                     telephone conference with R. Chaikin and
                                                     K&E team re work in process (.4).
05/20/20 Megan Buenviaje                        2.50 Review and analyze production set (1.7);
                                                     correspond with K&E team re production
                                                     conflicts (.8).
05/20/20 Chris Ceresa                           0.40 Telephone conference with K&E team re
                                                     work in process.
05/20/20 Rebecca Blake Chaikin                  0.50 Telephone conference with K&E team re
                                                     priority items.
05/20/20 Tess Elizabeth Dennis                  1.00 Telephone conference re work in process (.5);
                                                     organize and consolidate telephone
                                                     conference notes (.5).
05/20/20 Alistair Fatheazam                     0.60 Telephone conference with K&E team re
                                                     work in process.
05/20/20 Julia R. Foster                        0.90 Conference with K&E team re work in
                                                     process (.6); circulate to K&E team filed first
                                                     day motions and related orders (.3).


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Date     Name                                  Hours Description
05/20/20 Julia R. Foster                        0.50 Review and revise second day motions.
05/20/20 Jake William Gordon                    1.20 Correspond with K&E team re admin issues
                                                     (.3); telephone conferences re ongoing issues
                                                     (.9).
05/20/20 Meghan E. Guzaitis                     0.70 Telephone conference re strategy for
                                                     responding to ad hoc crossholder group's first
                                                     request for production of documents.
05/20/20 Key Hemyari                            0.20 Telephone conference re work in process.
05/20/20 Nick Krislov                           0.40 Telephone conference with K&E team re
                                                     work in process.
05/20/20 Eric Mossor                            0.50 Attend diligence telephone conference.
05/20/20 Kimberly Pageau                        0.30 Attend work in process telephone conference
                                                     with K&E team.
05/20/20 Scott D. Price, P.C.                   1.70 Prepare for and participate in meeting re
                                                     effect of bankruptcy on plans.
05/20/20 Allyson Smith Weinhouse                0.50 Telephone conference with K&E team re
                                                     work in process.
05/20/20 Lydia Yale                             0.80 Prepare docket report and distribute same.
05/20/20 Lydia Yale                             0.50 Conference with K&E team re work in
                                                     process.
05/20/20 Aparna Yenamandra                      0.50 Attend standing telephone conference with
                                                     JCP, K&E team, Laz, AlixPartners.
05/21/20 Lucas W. Brown                         0.30 Review and revise work in process chart (.1);
                                                     revise weekly case report (.1); correspond
                                                     with K&E team re same (.1).
05/21/20 Megan Buenviaje                        2.00 Review and analyze production set (1.3);
                                                     correspond with K&E team re production
                                                     conflicts (.7).
05/21/20 Jeremy A. Fielding, P.C.               0.50 Review and analyze pleadings from Lowe’s
                                                     case.
05/21/20 Julia R. Foster                        0.50 Review and revise second day pleadings.
05/21/20 Meghan E. Guzaitis                     2.50 Begin QC of potential production documents
                                                     (1.2); compile case materials for additional
                                                     review (.8); compile ESI protocol
                                                     specifications for AlixPartners to use in
                                                     document collection and searches (.5).
05/21/20 Library Factual Research               0.50 Locate back issues of Dallas Morning News.
05/21/20 Christopher Marcus, P.C.               0.50 Independent director telephone conference.
05/21/20 Marjorie Melicharek                    2.00 Update pleading compilation for attorney
                                                     review.



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Date     Name                                  Hours Description
05/21/20 Eric Mossor                            0.20 Conference with K&E team and review
                                                     structure chart.
05/21/20 Jeffrey S. Quinn                       0.20 Review master timeline.
05/21/20 Tana Ryan, P.C.                        2.50 Comment on checklists and work in process
                                                     timeline (2.0); correspond with K&E team re
                                                     same (.5).
05/21/20 Lydia Yale                             0.40 Prepare docket report and distribute same.
05/22/20 Lucas W. Brown                         2.20 Revise work in process chart (.3); correspond
                                                     with K&E team re same (.1); revise matter
                                                     working group list (.5); correspond with K&E
                                                     team re same (.2); correspond with K&E team
                                                     re conflicts (.3); research and analyze
                                                     precedent re same (.3); correspond with K&E
                                                     team and Jackson Walker team re first day
                                                     orders (.1); revise weekly case report (.1);
                                                     correspond with K&E team re same (.1);
                                                     correspond with K&E team re creditor matrix
                                                     (.2).
05/22/20 Rebecca Blake Chaikin                  0.90 Revise priority items list.
05/22/20 Julia R. Foster                        0.30 Compile filed first day pleadings and related
                                                     orders (.2); coordinate calendar invite to K&E
                                                     team re May 28 status conference (.1).
05/22/20 Jake William Gordon                    0.90 Telephone conference with Company and
                                                     advisors re ongoing case status.
05/22/20 Song Lin                               5.70 Coordinate preparation of Company
                                                     documents for production.
05/22/20   Christopher Marcus, P.C.             0.50 Board telephone conference.
05/22/20   Eric Mossor                          0.50 Review status of ongoing workstreams.
05/22/20   Lydia Yale                           0.30 Prepare docket report and distribute same.
05/23/20   Lucas W. Brown                       2.80 Revise work in process chart (1.2);
                                                     correspond with K&E team re same (.3);
                                                     revise matter working group list (.5);
                                                     correspond with K&E team re same (.3);
                                                     review matter correspondence (.5).
05/23/20   Christopher Marcus, P.C.             1.00 Coordination telephone conference.
05/24/20   Rebecca Blake Chaikin                0.80 Revise priority items list.
05/25/20   Lucas W. Brown                       0.30 Review matter correspondence.
05/25/20   Jake William Gordon                  0.50 Telephone conference with K&E team re
                                                     ongoing issues.
05/25/20 Song Lin                               1.20 Prepare, execute and validate production logic
                                                     (1.0); correspond with M. Guzaitis re same
                                                     (.2).

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Date     Name                                  Hours Description
05/25/20 Christopher Marcus, P.C.               0.60 Coordination telephone conference.
05/25/20 Allyson Smith Weinhouse                0.50 Telephone conference with A. Yenamandra,
                                                     R. Chaikin, J. Gordon re status.
05/25/20 Aparna Yenamandra                      0.40 Telephone conference with K&E team re
                                                     work in process.
05/26/20 Lucas W. Brown                         0.60 Review matter correspondence (.4); telephone
                                                     conference with A. Smith Weinhouse, K&E
                                                     team and AlixPartners team re diligence (.2).
05/26/20 Chris Ceresa                           0.20 Telephone conference re open diligence
                                                     items.
05/26/20 Tess Elizabeth Dennis                  1.70 Telephone conference re diligence items (.5);
                                                     organize and consolidate telephone
                                                     conference notes (.5); compile executed non-
                                                     disclosure agreements and update non-
                                                     disclosure agreement tracker re same (.7).
05/26/20 Julia R. Foster                        0.50 Organize case documents.
05/26/20 Julia R. Foster                        1.70 Draft June 2 hearing agenda (1.0); draft June
                                                     11 hearing agenda (.7).
05/26/20 Key Hemyari                            5.50 Diligence telephone conference re diligence
                                                     matters (.2); telephone conference with W.
                                                     Lawley re independent director document
                                                     requests (.1); draft JCP-Katten diligence
                                                     tracker and compile various documents (3.9);
                                                     review JCP data room and Katten diligence
                                                     tracker (1.3).
05/26/20 Melissa D. Kalka                       0.50 Prepare for and attend and follow-up from
                                                     status telephone conferences.
05/26/20 Nick Krislov                           0.20 Telephone conference with AlixPartners,
                                                     K&E team re diligence.
05/26/20 Song Lin                               5.50 Prepare, execute and validate production logic
                                                     (3.9); correspond with M. Guzaitis re same
                                                     (1.6).
05/26/20 Eric Mossor                            0.20 Attend telephone conference with K. Hemyari
                                                     re diligence.
05/26/20 Allyson Smith Weinhouse                0.40 Telephone conference with AlixPartners re
                                                     remaining diligence items, workstreams.
05/26/20 Lydia Yale                             0.50 Prepare docket report and distribute same.
05/26/20 Lydia Yale                             0.30 Telephone conference with K&E team re
                                                     work in process.
05/27/20 April B. Abrams                        3.20 Review files in data site (1.0); prepare excel
                                                     spread sheet re same (2.2).


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Date     Name                                  Hours Description
05/27/20 Lucas W. Brown                         1.60 Telephone conference with interested party re
                                                     matter inquiry (.1); correspond with K&E
                                                     team and AlixPartners team re same (.4); draft
                                                     key dates and deadlines graphic re case time
                                                     line (.8); correspond with K&E team re same
                                                     (.3).
05/27/20 Julia R. Foster                        0.40 Review and revise June 2 hearing agenda (.2);
                                                     draft June 2 witness-exhibit list (.2).
05/27/20 Julia R. Foster                        0.30 Research precedent re Pier 1 hearing
                                                     transcripts.
05/27/20 Julia R. Foster                        0.80 Revise creditor voicemail log (.6); circulate to
                                                     K&E team re same (.2).
05/27/20 Jake William Gordon                    0.40 Telephone conference with K&E team re
                                                     ongoing issues.
05/27/20 Key Hemyari                            2.50 Review and revise diligence tracker and
                                                     create folders for independent director review.
05/27/20 Melissa D. Kalka                       0.50 Telephone conferences with K&E team re
                                                     status.
05/27/20 Song Lin                               1.50 Prepare, execute and validate production logic
                                                     (.9); correspond with M. Guzaitis re same
                                                     (.6).
05/27/20 Lauren J. Schweitzer                   0.70 Telephone conference and correspond with C.
                                                     Ray re case background and research re same
                                                     (.5); correspond with J. Perlman and A.
                                                     Mitrani re same (.2).
05/27/20 Lydia Yale                             0.40 Prepare docket report and distribute same.
05/28/20 Lucas W. Brown                         2.90 Revise work in process (.3); correspond with
                                                     K&E team re same (.1); draft and revise
                                                     matter key dates chart (.2); correspond with
                                                     K&E team re same (.2); telephone conference
                                                     with R. Chaikin and K&E team re matter
                                                     status (.3); coordinate office conference with
                                                     K&E team re matter status (.3); correspond
                                                     with AlixPartners team re same (.2); draft and
                                                     revise weekly case report (.5); telephone
                                                     conference with Company surety beneficiary
                                                     re claim against bond (.2); correspond with
                                                     K&E team re same (.2); research and analysis
                                                     re same (.4).
05/28/20 Chris Ceresa                           0.50 Telephone conferences with K&E team re
                                                     work in process and various parties in interest
                                                     re various inquiries (.3); correspond with
                                                     K&E team re inquiries (.2).


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Date     Name                                  Hours Description
05/28/20 Rebecca Blake Chaikin                  0.30 Telephone conference with K&E team re
                                                     work in process.
05/28/20 Tess Elizabeth Dennis                  1.00 Telephone conference re work in process (.5);
                                                     organize and consolidate telephone
                                                     conference notes (.5).
05/28/20 Alistair Fatheazam                     0.30 Telephone conference with K&E team re
                                                     work in process.
05/28/20 Julia R. Foster                        1.40 Review and revise June 2 hearing agenda (.9);
                                                     compile recently filed pleadings (.2);
                                                     conference with K&E team re work in process
                                                     (.3).
05/28/20 Key Hemyari                            2.00 Review and revise diligence tracker and
                                                     create folders for independent director review.
05/28/20 Melissa D. Kalka                       0.50 Telephone conference re work in process.
05/28/20 Song Lin                               3.50 Prepare, execute and validate production logic
                                                     (2.7); correspond with M. Guzaitis re same
                                                     (.8).
05/28/20 Christopher Marcus, P.C.               2.00 Status conference (1.0); board telephone
                                                     conference (1.0).
05/28/20 Eric Mossor                            5.50 Telephone conference with K&E team re
                                                     work in process (.5); conference with J. Foster
                                                     and A. Weinhouse (1.1); review and revise
                                                     ordinary course professionals motion (3.9).
05/28/20 Kimberly Pageau                        0.30 Conference with K&E team re work in
                                                     process.
05/28/20 Lydia Yale                             0.50 Prepare docket report and distribute same.
05/29/20 Jenn Betts                             0.50 Telephone conference with K&E team re
                                                     status update.
05/29/20 Lucas W. Brown                         3.60 Revise work in process chart (.4); correspond
                                                     with K&E team re same (.2); correspond with
                                                     K&E team, Company, and Prime Clerk team
                                                     re noticing documents (.6); draft and revise
                                                     case report (.6); correspond with K&E team
                                                     re same (.3); correspond with interested party
                                                     and AlixPartners team re insurance inquiry
                                                     (.4); draft and revise matter key dates and
                                                     deadlines chart (.8); correspond with K&E
                                                     team re same (.3).
05/29/20 Chris Ceresa                           1.30 Draft talking points for various inquiries (.3);
                                                     revise, analyze draft press releases (.6);
                                                     telephone conference with Company, advisors
                                                     and R. Chaikin re same (.3); correspond with
                                                     R. Chaikin re same (.1).

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Date     Name                                  Hours Description
05/29/20 Julia R. Foster                        1.40 Review and revise June 2 hearing agenda
                                                     (1.2); review and revise June 11 hearing
                                                     agenda (.2).
05/29/20 Key Hemyari                            1.00 Review and revise diligence tracker.
05/29/20 Colin Mize                             5.00 Review, revise non-disclosure agreement
                                                     (3.4); correspond with J. Merrill and M.
                                                     Kalka re same (.5); draft correspondence
                                                     summarizing revisions re same (1.1).
05/29/20 John Phelan                            1.50 Review and revise non-disclosure agreements.
05/29/20 Tana Ryan, P.C.                        0.50 Telephone conference with K&E team re
                                                     status (.3); follow-up re same (.2).
05/29/20 Steve Toth                             0.20 Participate in weekly update telephone
                                                     conference with K&E team.
05/29/20   Allyson Smith Weinhouse              0.10 Review, comment on weekly summary.
05/29/20   Lydia Yale                           0.90 Prepare docket report and distribute same.
05/30/20   Lucas W. Brown                       0.30 Review matter correspondence.
06/01/20   April B. Abrams                      0.20 Locate document for attorney from data site.
06/01/20   Lucas W. Brown                       1.80 Review and revise matter key dates time line
                                                     (.2); correspond with K&E team re same (.1);
                                                     review and revise work in process (.2);
                                                     correspond with K&E team re same (.1);
                                                     correspond with interested party re voicemail
                                                     re matter (.2); correspond with K&E,
                                                     AlixPartners teams re same (.2); review
                                                     matter correspondence (.3); correspond with
                                                     K&E, AlixPartners teams re matter working
                                                     group list (.2); correspond with K&E, Prime
                                                     Clerk teams re noticing documents (.3).
06/01/20 Daniel Carlomany                       3.00 Review and analyze real estate documents
                                                     (2.0); revise real estate tracker (1.0).
06/01/20 Chris Ceresa                           0.50 Telephone conference with inquirers re
                                                     various issues (.3); update materials re same
                                                     (.2).
06/01/20 Rebecca Blake Chaikin                  0.30 Correspond with B. Treadway, B. Buchanan
                                                     re key matter dates.
06/01/20 Lizbeth Cordova                        3.00 Organize real estate due diligence (2.0);
                                                     compile real estate due diligence charts (1.0).
06/01/20 Julia R. Foster                        1.20 Review and revise June 2 hearing agenda (.5);
                                                     review and revise June 4 hearing agenda (.7).
06/01/20 Julia R. Foster                        1.10 Review creditor voicemails (1.0); coordinate
                                                     live line hearing invitations to K&E team (.1).


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06/01/20 Jake William Gordon                    0.60 Telephone conferences with K&E team and
                                                     advisors re ongoing issues.
06/01/20 Key Hemyari                            1.50 Review and revise AlixPartners and Lazard
                                                     retention orders.
06/01/20 Christopher Marcus, P.C.               1.50 Telephone conference with A. Yenamandra re
                                                     status (.5); Kurtz and Mesterharm deposition
                                                     preparation call (1.0).
06/01/20 Colin Mize                             5.70 Review GIC Real Estate's draft of the NDA
                                                     (1.5); draft revisions to GIC NDA (3.3);
                                                     correspond with M. Kalka and J. Merrill re
                                                     same (.3); draft correspondence summarizing
                                                     revisions to GIC NDA (.6).
06/01/20 Eric Mossor                            1.00 Review and revise OCP Motion.
06/01/20 John Phelan                            0.70 Review and revise NDA for sale process.
06/01/20 Christian Semonsen                     3.00 Attention to environmental liabilities,
                                                     responses to SOFA environmental questions
                                                     (2.5); telephone conference with Company re
                                                     same (.5).
06/01/20 Josh Urban                             1.00 Test videoconferencing equipment and
                                                     software for upcoming deposition with M.
                                                     Slade and Y. French.
06/02/20 Lucas W. Brown                         1.60 Correspond with K&E and Prime Clerk teams
                                                     re noticing documents (.5); review matter
                                                     correspondence (.4); review and revise work
                                                     in process (.2); correspond with K&E team re
                                                     same (.2); review and revise matter key dates
                                                     chart (.2); correspond with K&E team re same
                                                     (.1).
06/02/20 Daniel Carlomany                       3.00 Review and analyze real estate documents
                                                     (1.0); review and revise real estate chart (1.4);
                                                     populate real estate chart (.6).
06/02/20 Chris Ceresa                           0.80 Correspond with third parties re inquiries (.3);
                                                     telephone conferences with same re same (.2);
                                                     update materials re same (.1); correspond with
                                                     Prime Clerk, JF, and R. Chaikin re talking
                                                     points for inquiries (.2).
06/02/20 Michael Y. Chan                        1.00 Organize and prepare for parties for conflicts
                                                     searching for creditors/entities (.3); parent
                                                     company research for creditors/entities (.4);
                                                     analysis re disclosure of creditors/entities (.3).
06/02/20 Daniel Cho                             3.50 Review lease agreements and amendments
                                                     (2.7); draft due diligence summary chart (.8).
06/02/20 Julia R. Foster                        0.50 Review creditor voicemails.

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Date     Name                                  Hours Description
06/02/20 Julia R. Foster                        2.40 Review and revise June 2 hearing agenda (.4);
                                                     review and revise June 4 hearing agenda (.7);
                                                     prepare documents for filing re June 4 hearing
                                                     (.7); prepare June 2 hearing agenda for filing
                                                     (.3); prepare revised proposed orders for filing
                                                     (.3).
06/02/20 Christopher Marcus, P.C.               0.50 Telephone conference with K&E team re
                                                     Kurtz deposition.
06/02/20 Tiffany T. Mason                       7.00 Review leases.
06/02/20 Colin Mize                             5.50 Review CIM Group's comments to the NDA
                                                     (1.5); draft revisions to CIM Group NDA
                                                     (3.0); correspond with J. Merrill re same (.4);
                                                     draft correspondence summarizing our
                                                     revisions to CIM Group NDA (.6).
06/02/20 Scott D. Price, P.C.                   1.00 Review severance materials.
06/02/20 Claudia Ray                            0.20 Correspond with J. Perlman and L.
                                                     Schweitzer re status and next steps.
06/02/20 Lauren J. Schweitzer                   0.20 Correspond with J. Perlman, A. Mitrani, and
                                                     C. Ray re questions for Company.
06/02/20 Christian Semonsen                     1.00 Telephone conference with Company re
                                                     environmental liability research and next
                                                     steps.
06/02/20 Josh Urban                             8.80 Setup up, operate, support and tear down
                                                     equipment and software for depositions with
                                                     M. Slade and Y. French.
06/02/20 Lydia Yale                             2.90 Prepare docket report and distribute same.
06/03/20 Lucas W. Brown                         1.70 Telephone conference with K&E team and
                                                     Company's surety bond beneficiary re
                                                     settlement (.3); correspond with K&E team
                                                     and Company re same (.3); review and revise
                                                     NDAs re UCC (.5); correspond with K&E
                                                     team re same (.2); prepare for telephone
                                                     conference re work in process (.2); attend
                                                     same (.2).
06/03/20 Daniel Carlomany                       1.00 Review and analyze real estate documents
                                                     (.6); populate real estate chart (.4).
06/03/20 Rebecca Blake Chaikin                  0.70 Revise priority items list (.5); telephone
                                                     conference with K&E team re work in process
                                                     (.2).
06/03/20 Tess Elizabeth Dennis                  0.30 Telephone conference with K&E team re
                                                     work in process.
06/03/20 Alistair Fatheazam                     0.40 Telephone conference with K&E team re
                                                     work in process.

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Date     Name                                  Hours Description
06/03/20 Julia R. Foster                        4.50 Review and revise June 4 hearing agenda
                                                     (2.2); review and revise postpetition pleading
                                                     template (.3); prepare revised proposed orders
                                                     (.5); review and revise June 11 hearing
                                                     agenda (.2); coordinate calendar invite re June
                                                     4 hearing(.2); draft June 9 hearing agenda
                                                     (.2); draft June 9 hearing witness-exhibit list
                                                     (.2); prepare materials for June 4 hearing (.7).
06/03/20 Julia R. Foster                        0.20 Attend and participate in K&E team
                                                     conference re work in progress.
06/03/20 Julia R. Foster                        0.50 Review creditor voicemails.
06/03/20 Key Hemyari                            1.00 Finalize JCP Independent Director Excel
                                                     Tracker.
06/03/20 Andrew Hurley                          0.50 Review file and attention to correspondence
                                                     re same.
06/03/20 Melissa D. Kalka                       0.50 Prepare for, attend and follow-up from call re
                                                     status of various workstreams.
06/03/20 Nick Krislov                           0.20 Telephone conference with K&E team re
                                                     work in process.
06/03/20 Tiffany T. Mason                       1.50 Review leases.
06/03/20 Colin Mize                             4.70 Review Lionheart Capital's comments to
                                                     NDA (1.0); draft revisions to Lionheart NDA
                                                     (2.5); correspond with M. Kalka and J.
                                                     Merrill re same (.4); draft correspondence
                                                     summarizing our revisions to Lionheart NDA
                                                     (.5); draft revisions to CIM Group NDA per
                                                     input from D. Wolverton (.3).
06/03/20 Eric Mossor                            1.00 Review OCP motion.
06/03/20 Scott D. Price, P.C.                   1.50 Review and discuss severance and other
                                                     benefits issues.
06/03/20 Jeffrey S. Rheeling                    1.50 Work on lease reviews for ground leased
                                                     properties.
06/03/20 Christian Semonsen                     2.00 Draft template for gathering environmental
                                                     responses to SOFA questions (1.0); review
                                                     financial assurance documents and draft
                                                     followup questions re same to Company (1.0).
06/03/20 Lydia Yale                             0.80 Prepare docket report and distribute same.
06/03/20 Lydia Yale                             0.30 Attend and participate in K&E team
                                                     conference meeting re works in progress.
06/03/20 Abbey Zuech                            1.00 Attend telephone conference with K&E team
                                                     and Jackson Walker re work in process (.5);
                                                     correspond with K&E team re same (.5).


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Date     Name                                  Hours Description
06/04/20 Lucas W. Brown                         3.90 Review matter correspondence (.4);
                                                     correspond with K&E and Prime Clerk teams
                                                     re case website (.6); draft and revise weekly
                                                     case report (1.3); correspond with K&E team
                                                     re same (.5); draft and revise working group
                                                     list (.7); correspond with K&E team re same
                                                     (.4).
06/04/20 Daniel Carlomany                       3.70 Review and analyze real estate documents
                                                     (2.4); populate and revise real estate tracker
                                                     (1.3).
06/04/20 Rebecca Blake Chaikin                  0.80 Correspond with K&E team re shareholder
                                                     motion and shareholder inquiries.
06/04/20   Julia R. Foster                      0.20 Open Court line.
06/04/20   Julia R. Foster                      0.70 Review creditor voicemails.
06/04/20   Julia R. Foster                      0.50 Prepare materials for June 4 hearing.
06/04/20   Christopher Marcus, P.C.             1.80 Board call (.8); next steps call and attention to
                                                     emails re same (1.0).
06/04/20 Tiffany T. Mason                       4.00 Review leases.
06/04/20 Tyler E. Neal                          2.00 Review and summarize leases.
06/04/20 Michael D. Thorpe                      0.20 Discuss antitrust issues re process (.1);
                                                     correspond re same (.1).
06/04/20 Josh Urban                             7.50 Setup up, operate, support and tear down
                                                     equipment and software for bankruptcy
                                                     hearing with M. Slade and Y. French.
06/04/20 Lydia Yale                             0.40 Draft a notice template re case status.
06/04/20 Lydia Yale                             2.90 Prepare docket report and distribute same.
06/05/20 Lucas W. Brown                         0.40 Correspond with K&E team re case calendar
                                                     (.2); review and revise same (.2).
06/05/20 Daniel Carlomany                       2.50 Review and analyze real estate documents
                                                     (.9); draft and populate real estate tracker (.8);
                                                     file and organize real estate documents from
                                                     Company data room (.8).
06/05/20 Rebecca Blake Chaikin                  1.40 Revise priority items list (1.0); correspond
                                                     with K&E team re same (.4).
06/05/20 Julia R. Foster                        0.70 Circulate hearing and deposition transcripts to
                                                     K&E team (.2); Prepare list of motions up for
                                                     June 11 hearing (.5).
06/05/20 Julia R. Foster                        1.10 Review creditor voicemails.
06/05/20 Julia R. Foster                        0.80 Review and revise June 11 hearing agenda
                                                     (.5); draft July 1 hearing agenda (.3).



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Date     Name                                  Hours Description
06/05/20 Christopher Marcus, P.C.               1.40 Attention to equity committee pleading (.3);
                                                     attention to next steps emails (1.1).
06/05/20 Tiffany T. Mason                       5.00 Review leases (4.3); revise lease summary
                                                     chart (.7).
06/05/20 Colin Mize                             0.50 Review WHP Global's comments to NDA
                                                     (.2); draft revisions to WHP Global NDA (.3).
06/05/20   Tyler E. Neal                        2.00 Review and summarize leases.
06/05/20   Jeffrey S. Rheeling                  1.50 Work on lease review summaries.
06/05/20   Lydia Yale                           0.70 Prepare docket report and distribute same.
06/06/20   Jeffrey Ayer                         0.20 Emails re competition access to data room.
06/06/20   Jake William Gordon                  1.70 Telephone conferences with K&E team and
                                                     advisors re ongoing issues.
06/06/20 Christopher Marcus, P.C.               1.40 Equity Committee telephone conference (.5);
                                                     telephone conferences with Lazard and AP re
                                                     next steps (.9).
06/06/20 Colin Mize                             0.70 Review WHP Global's comments to NDA
                                                     (.1); draft revisions to WHP Global NDA (.2);
                                                     correspond J. Merrill re same (.4).
06/06/20 Tyler E. Neal                          1.00 Review and summarize leases.
06/06/20 Josh Sussberg, P.C.                    1.50 Telephone conference with Lazard,
                                                     AlixPartners and K&E team re status (.7);
                                                     telephone conference with R. Morgner re
                                                     status (.1); telephone conference with M.
                                                     Sirota and S. Van Alten (.3); correspond with
                                                     Company re status (.1); telephone conference
                                                     with S. Gastwirth (Cush Wake) and
                                                     correspond re same (.2); telephone conference
                                                     with A. Diedertrich re status (.1).
06/07/20 Lucas W. Brown                         0.90 Draft weekly matter update for K&E team
                                                     (.6); correspond with K&E team re same (.3).
06/07/20   Rebecca Blake Chaikin                0.20 Correspond with L. Brown re key dates.
06/07/20   Christopher Marcus, P.C.             0.50 Attention to Equity Committee reply.
06/07/20   Tyler E. Neal                        2.00 Review and summarize leases.
06/07/20   Eric Nyberg                          4.50 Conduct organization and preparation of
                                                     parties for conflicts searching (3.0); analysis
                                                     re disclosure of creditors/entities (1.5).
06/07/20 Kenneth Sampson                        3.00 Review and analyze disclosure of
                                                     creditors/entities submitted as utilities and
                                                     administrative agents.
06/07/20 Josh Sussberg, P.C.                    0.30 Telephone conference with C. Marcus re
                                                     status.


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Date     Name                                  Hours Description
06/08/20 Jeffrey Ayer                           2.00 Review documents for clean room and
                                                     Company real estate task force call (1.3);
                                                     telephone conferences re data room (.7).
06/08/20 Lucas W. Brown                         1.60 Draft and revise weekly matter update (.5);
                                                     correspond with K&E team re same (.3);
                                                     review and revise work in process (.2);
                                                     correspond with K&E team re same (.1);
                                                     review and revise case calendar (.2);
                                                     correspond with K&E team re same (.1);
                                                     review and revise matter working group list
                                                     (.2).
06/08/20 Julia R. Foster                        0.30 Circulate recently filed shareholder letters to
                                                     K&E team.
06/08/20 Julia R. Foster                        0.30 Review creditor voicemails.
06/08/20 Jake William Gordon                    1.20 Telephone conferences with K&E team and
                                                     advisors re case status.
06/08/20 Walter S. Holzer, P.C.                 0.30 Review deal work in process and key dates
                                                     time line.
06/08/20 Christopher Marcus, P.C.               0.50 Update call.
06/08/20 Eric Mossor                            6.70 Review, analyze diligence documents for
                                                     diligence request (5.8); prepare same (.9).
06/08/20 Claudia Ray                            0.20 Communications with J. Perlman re status and
                                                     next steps.
06/08/20 Lydia Yale                             0.90 Prepare docket report and distribute same.
06/09/20 Lucas W. Brown                         0.60 Draft and revise work in process (.4);
                                                     correspond with K&E team re same (.2).
06/09/20 Julia R. Foster                        0.30 Review creditor voicemails.
06/09/20 Julia R. Foster                        0.80 Review and revise June 11, 2020 hearing
                                                     agenda.
06/09/20 Eric Mossor                            5.00 Review, analyze diligence documentation for
                                                     diligence request (3.1); collect diligence
                                                     documentation for diligence request (1.6);
                                                     correspond with W. Lawley (.3).
06/09/20 Scott D. Price, P.C.                   1.20 Discuss mirror plan (.7); review documents
                                                     (.5).
06/09/20 Lydia Yale                             1.00 Prepare docket report and distribute same (.8);
                                                     record message from claimant voice mail for
                                                     attorney response (.2).
06/10/20 Lucas W. Brown                         0.80 Correspond with K&E, Prime Clerk, and
                                                     AlixPartners teams re noticing docs (.5);
                                                     review and revise work in process (.2);
                                                     correspond with K&E team re same (.1).

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Date     Name                                  Hours Description
06/10/20 Michael Y. Chan                        2.50 Conduct organization and preparation of
                                                     parties for conflicts searching for
                                                     creditors/entities (.6); conduct analysis for
                                                     disclosure of creditors/entities (1.2); review
                                                     conflicts email replies (.7).
06/10/20 Jake William Gordon                    0.70 Telephone conferences with K&E team and
                                                     advisors re case status.
06/10/20 Christopher Marcus, P.C.               0.50 Attention to update emails.
06/10/20 Eric Mossor                            4.00 Draft diligence documentation and tracker for
                                                     Quinn (2.4); review and revise re same (1.6).
06/10/20 Lydia Yale                             0.70 Prepare docket report and distribute same.
06/10/20 Abbey Zuech                            2.50 Prepare diligence tracker for Quinn diligence
                                                     requests.
06/11/20 Lucas W. Brown                         2.00 Draft and revise weekly case report (.8);
                                                     correspond with K&E team re same (.2);
                                                     review case docket (.4); review work in
                                                     process re same (.4); correspond with K&E
                                                     team re same (.2).
06/11/20 Julia R. Foster                        0.40 Review creditor voicemails.
06/11/20 Christopher Marcus, P.C.               0.50 Attention to allocation emails.
06/11/20 Eric Mossor                            1.20 Conference with R. Robbins re OCP Motion
                                                     (.2); review and revise diligence tracker and
                                                     collected diligence (1.0).
06/11/20 Eric L. Schiele, P.C.                  0.50 Prepare documents for bidder (.2); related
                                                     calls (.3).
06/11/20 Lydia Yale                             1.60 Prepare docket report and distribute same.
06/11/20 Victoria M. Zhou                       4.00 Review REA summaries (1.7); revise same
                                                     (2.3).
06/11/20 Abbey Zuech                            0.70 Correspond with K&E team re distribution of
                                                     Quinn and Katten diligence responses.
06/12/20 Lucas W. Brown                         1.90 Correspond with K&E team and AlixPartners
                                                     re interested party voice mails and inquiries
                                                     (.4); review and revise work in process (.2);
                                                     correspond with K&E team re same (.2);
                                                     review and revise case key dates calendar
                                                     (.3); correspond with K&E team and
                                                     Company re same (.2); review and revise
                                                     weekly case report (.4); correspond with K&E
                                                     team re same (.2).
06/12/20 Julia R. Foster                        0.10 Review creditor voicemails.
06/12/20 Christopher Marcus, P.C.               1.00 Telephone conference with advisors (.5);
                                                     attention to allocation emails (.5).

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06/12/20 Eric Mossor                            4.70 Review, revise diligence documents,
                                                     diligence tracker (3.4); compile same (.6);
                                                     correspond for diligence requests (.7).
06/12/20 Josh Sussberg, P.C.                    1.70 Update telephone conference with
                                                     management (.5); telephone conference with
                                                     J. Zinman re case status (.3); telephone
                                                     conference with D. Kurtz re same (.3);
                                                     telephone conference with A. Diedertich re
                                                     same (.3); telephone conference with Jackson
                                                     Walker re same (.3).
06/12/20 Lydia Yale                             0.30 Prepare docket report and distribute same.
06/12/20 Abbey Zuech                            2.20 Prepare and update tracker re Quinn diligence
                                                     requests.
06/13/20 Lucas W. Brown                         0.90 Review matter correspondence (.5); review
                                                     and revise work in process (.3); correspond
                                                     with K&E team re same (.1).
06/13/20 Eric Mossor                            1.00 Prepare diligence distribution.
06/14/20 Lucas W. Brown                         1.10 Review and revise work in process (.2);
                                                     correspond with K&E team re same (.1);
                                                     correspond with K&E team re case calendar
                                                     (.3); correspond with K&E and Prime Clerk
                                                     teams re noticing documents (.2); review
                                                     matter correspondence (.3).
06/14/20 Eric Mossor                            5.20 Prepare diligence for distribution.
06/15/20 Jeffrey Ayer                           0.50 Review due diligence data room and emails re
                                                     same (.3); telephone conference re data room
                                                     set up (.2).
06/15/20 Lucas W. Brown                         0.80 Correspond with K&E team re key dates
                                                     calendar (.2); review matter correspondence
                                                     (.3); review and revise matter working group
                                                     list (.2); correspond with K&E team re same
                                                     (.1).
06/15/20 Julia R. Foster                        0.40 Review creditor voicemails.
06/15/20 Eric Mossor                            7.50 Prepare diligence for distribution (7.0);
                                                     review documentation for potential inclusions
                                                     (.5).
06/15/20 Josh Sussberg, P.C.                    1.30 Telephone conference with management re
                                                     status update (.4); telephone conference with
                                                     S. Reisman re status (.3); telephone
                                                     conference with fund and CS re equity trading
                                                     (.3); correspond with K&E team re lender
                                                     information and status (.3).
06/15/20 Lydia Yale                             0.50 Prepare docket report and distribute same.

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06/16/20 Lucas W. Brown                         1.40 Review matter correspondence (.3); review
                                                     and revise work in process (.4); correspond
                                                     with K&E team re same (.2); review and
                                                     revise case calendar (.3); correspond with
                                                     K&E team re same (.2).
06/16/20   Rebecca Blake Chaikin                0.40 Revise priority items list.
06/16/20   Julia R. Foster                      0.30 Review creditor voicemails.
06/16/20   Christopher Marcus, P.C.             0.50 Attention to allocation emails.
06/16/20   Eric Mossor                          7.50 Review diligence request production
                                                     documents (3.1); revise same (3.6); review
                                                     OCP motion and coordinate further OCP
                                                     production for U.S. Trustee (.8).
06/16/20   Lydia Yale                           0.40 Prepare docket report and distribute same.
06/17/20   Lucas W. Brown                       0.10 Review and revise work in process.
06/17/20   Rebecca Blake Chaikin                0.30 Revise priority items list.
06/17/20   Julia R. Foster                      0.30 Coordinate fee application deadline calendar
                                                     invites.
06/17/20 Julia R. Foster                        0.20 Review creditor voicemails.
06/17/20 Jake William Gordon                    1.50 Telephone conferences with Company,
                                                     Advisors, K&E team re case status.
06/17/20 Christopher Marcus, P.C.               1.00 JCP call (.5); Allocation call (.5).
06/17/20 Lekha Menon                            0.50 Attend telephone conference with M. Slade,
                                                     K&E team re work in process.
06/17/20 Eric Mossor                            9.20 Review diligence production documents (4.6);
                                                     revise same (3.6); conference with K.
                                                     Hemyari, N. Ruge re same (1.0).
06/17/20 Lydia Yale                             0.30 Prepare docket report and distribute same.
06/18/20 Margaret R. Alden                      0.90 Telephone conference with K&E team re go-
                                                     forward strategy, work in progress.
06/18/20 Lucas W. Brown                         3.00 Prepare for telephone conference with R.
                                                     Chaikin and K&E team re work in process
                                                     (.2); attend same (.9); review and revise work
                                                     in process (.4); correspond with KW team re
                                                     same (.1); review and revise case calendar
                                                     (.4); correspond with K&E team re same (.2);
                                                     draft and revise weekly case report (.6);
                                                     correspond with K&E team re same (.2).
06/18/20 Chris Ceresa                           0.50 Telephone conference re work in process with
                                                     K&E team including R. Chaikin (.4);
                                                     correspond with Jackson Walker Team re
                                                     case timing (.1).


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Date     Name                                  Hours Description
06/18/20 Rebecca Blake Chaikin                  1.40 Telephone conference with K&E team re
                                                     work in process (1.0); correspond with K&E
                                                     team re same (.4).
06/18/20 Tess Elizabeth Dennis                  1.20 Telephone conference re work in process
                                                     (1.0); organize and consolidate call notes (.2).
06/18/20 Julia R. Foster                        0.60 Review creditor voicemails.
06/18/20 Julia R. Foster                        1.00 Attend and participate in K&E team
                                                     conference meeting re works in progress.
06/18/20 Jake William Gordon                    0.80 Telephone conferences with K&E team re
                                                     case status.
06/18/20 Key Hemyari                            1.00 Telephone conference with K&E team re
                                                     work in process.
06/18/20 Nick Krislov                           0.90 Telephone conference with K&E team re
                                                     work in process.
06/18/20 Christopher Marcus, P.C.               0.50 Attention to allocation emails.
06/18/20 Eric Mossor                            8.00 Review diligence production (4.1); revise
                                                     same (2.9); conference with K. Hemyari, N.
                                                     Ruge, and W. Lawley re same (1.0).
06/18/20 Kimberly Pageau                        1.00 Attend work in process call with K&E team.
06/18/20 Lydia Yale                             0.40 Prepare docket report and distribute same.
06/19/20 Jenn Betts                             0.50 Conference with K&E team re restructuring
                                                     status update.
06/19/20 Lucas W. Brown                         1.50 Review and revise work in process (.2);
                                                     correspond with K&E team re same (.1);
                                                     review and revise case calendar (.4);
                                                     correspond with K&E team re same (.2); draft
                                                     and revise weekly case report (.4); correspond
                                                     with K&E team re same (.2).
06/19/20 Rebecca Blake Chaikin                  0.40 Revise summary of key dates.
06/19/20 Jake William Gordon                    0.60 Telephone conferences with K&E team re
                                                     case status.
06/19/20 Aisha P. Lavinier                      1.10 Review and analyze sources and uses (.5);
                                                     attend conferences re transaction process and
                                                     status (.6).
06/19/20 Eric Mossor                            2.70 Conference with A. Weinhouse and
                                                     AlixPartners Team (.2); review and revise
                                                     diligence request confirmations (2.0);
                                                     coordinate diligence with JCP team (.5).
06/21/20 Lucas W. Brown                         0.30 Correspond with K&E team re case calendar
                                                     (.1); review and revise same (.2).



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J.C. Penney Company, Inc.                                      Matter Number:            47223-19
Case Administration

Date     Name                                  Hours Description
06/21/20 Eric Mossor                            0.20 Review and confirm dataroom privileges for
                                                     diligence parties.
06/22/20 Jeffrey Ayer                           1.00 Review documents for data room (.6);
                                                     correspond with Lazard re same (.4).
06/22/20 Lucas W. Brown                         0.40 Review and revise work in process (.3);
                                                     correspond with K&E team re same (.1).
06/22/20 Julia R. Foster                        0.60 Review creditor voicemails.
06/22/20 Christopher Marcus, P.C.               0.40 Attention to allocation emails.
06/22/20 Marjorie Melicharek                    1.20 Prepare summary re document productions
                                                     for attorney review.
06/22/20 Eric Mossor                            5.50 Review and compile diligence for
                                                     Independent Director Counsel Parties (3.8);
                                                     correspond with JCP deal team (1.7).
06/22/20 Lydia Yale                             0.80 Prepare docket report and distribute same.
06/23/20 Jeffrey Ayer                           1.70 Review materials for data room (1.1); resolve
                                                     data room issues (.6).
06/23/20 Lucas W. Brown                         0.40 Review and revise work in process and case
                                                     calendar (.3); correspond with K&E team re
                                                     same (.1).
06/23/20 Eric Mossor                            2.00 Review, correspond with deal team, and
                                                     revise diligence confirmation for diligence
                                                     requests.
06/23/20 Josh Sussberg, P.C.                    2.10 Telephone conference with D. Kurtz re status
                                                     (.4); correspond re status (.2); telephone
                                                     conference with H2, advisors, JCP and Lazard
                                                     re propco/opco structure and next steps (.6);
                                                     telephone conference with G. Davis re
                                                     potential bidder interest (.4); correspond re
                                                     GOB sales (.2); correspond re sales and use
                                                     tax and real estate matters (.3).
06/23/20 Lydia Yale                             0.30 Prepare docket report and distribute same.
06/24/20 Margaret R. Alden                      0.10 Correspond with L. Brown re work in
                                                     progress.
06/24/20 Lucas W. Brown                         0.80 Review and revise work in process and case
                                                     calendar (.4); correspond with K&E team re
                                                     same (.2); review matter correspondence (.2).
06/24/20 Christopher Marcus, P.C.               0.50 Attention to status email.
06/24/20 Eric Mossor                            0.70 Review diligence response (.5); correspond
                                                     with AlixPartners re diligence requests (.2).
06/24/20 Eric L. Schiele, P.C.                  0.20 Attend to email correspondence.
06/24/20 Allyson Smith Weinhouse                0.10 Correspond with L. Brown re workstreams.


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Case Administration

Date     Name                                  Hours Description
06/24/20 Lydia Yale                             0.20 Prepare docket report and distribute same.
06/25/20 Lucas W. Brown                         0.50 Review and revise work in process and case
                                                     calendar (.1); correspond with K&E team re
                                                     same (.1); draft and revise weekly case report
                                                     (.2); correspond with K&E team re same (.1).
06/25/20 Christopher Marcus, P.C.               0.70 Attention to status email.
06/25/20 Eric Mossor                            1.50 Conference with AlixPartners team re
                                                     diligence production and follow up (.5);
                                                     review internal deck re inter-company
                                                     balances (.5); review UCC production
                                                     documentation (.5).
06/25/20 Lydia Yale                             0.50 Prepare docket report and distribute same.
06/26/20 Lucas W. Brown                         0.70 Review and revise work in process and case
                                                     calendar (.2); correspond with K&E team re
                                                     same (.1); coordinate weekly case update (.1);
                                                     draft and revise weekly case report (.2);
                                                     correspond with K&E team re same (.1).
06/26/20 Julia R. Foster                        0.60 Review creditor voicemails.
06/26/20 Julia R. Foster                        0.20 Prepare pro hac for filing.
06/26/20 Eric Mossor                            0.50 Review diligence documentation (.3);
                                                     conference with N. Ruge re same (.2).
06/26/20 Christian Semonsen                     0.50 Review and respond to questions re draft
                                                     SOFA schedule responses.
06/26/20 Allyson Smith Weinhouse                0.10 Review weekly report.
06/26/20 Lydia Yale                             0.20 Prepare docket report and distribute same.
06/28/20 Matthew Antinossi                      0.10 Review work in progress summary from K&E
                                                     team.
06/28/20 Meghan E. Guzaitis                     2.50 Edit witness/exhibits list (.4) compile case
                                                     materials for exhibit list for attorney review
                                                     (1.8) correspond with team re same (.3).
06/28/20 Josh Sussberg, P.C.                    0.50 Telephone conference with B. Wafford re
                                                     status update.
06/29/20 Rebecca Blake Chaikin                  0.30 Revise priority items list.
06/29/20 Julia R. Foster                        0.40 Review creditor voicemails.
06/29/20 Julia R. Foster                        1.10 Review and revise July 1, 2020 Witness-
                                                     Exhibit List.
06/29/20 Jake William Gordon                    0.20 Telephone conference with Company, K&E,
                                                     Lazard re ongoing case status.




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Case Administration

Date     Name                                  Hours Description
06/29/20 Meghan E. Guzaitis                     2.60 Edit witness/exhibits list (.2); compile case
                                                     materials for exhibit list for attorney review
                                                     (1.8); correspond with K&E team re same
                                                     (.3); correspond with local counsel re filing
                                                     amended exhibit list (.3).
06/29/20 Song Lin                               0.20 Prepare search of key documents for case
                                                     team review.
06/29/20 Marjorie Melicharek                    1.20 Draft summary re productions for attorney
                                                     review.
06/29/20 Lydia Yale                             0.30 Prepare docket report and distribute same.
06/30/20 Lucas W. Brown                         2.80 Review and revise work in process (.4);
                                                     correspond with K&E team re same (.3);
                                                     revise case calendar (.4); correspond with
                                                     K&E team re same (.3); review matter
                                                     correspondence (.4); correspond with
                                                     AlixPartners and K&E team re filing and
                                                     noticing requirements (1.0).
06/30/20 Rebecca Blake Chaikin                  0.30 Correspond with K&E re key upcoming
                                                     hearings and deadlines.
06/30/20 Julia R. Foster                        0.30 Review creditor voicemails.
06/30/20 Julia R. Foster                        2.30 Review and revise July 1, 2020 Witness-
                                                     Exhibit List (1.2); prepare same for filing (.6);
                                                     coordinate calendar invites re July 8, 2020
                                                     Hearing (.3); coordinate calendar invites re
                                                     July 13, 2020 Hearing (.2).
06/30/20 Meghan E. Guzaitis                     2.70 Edit witness/exhibits list (1.5); compile case
                                                     materials for exhibit list for attorney review
                                                     (.8) correspond with K&E team re same (.4).
06/30/20 Christopher Marcus, P.C.               0.50 Attention to update emails.
06/30/20 Marjorie Melicharek                    0.60 Prepare exhibits to amended witness list for
                                                     attorney review.
06/30/20 Marjorie Melicharek                    0.90 Compile case materials for attorney review.
06/30/20 Eric Mossor                            1.20 Review diligence requests and status (.7);
                                                     attend bankruptcy request call with deal team
                                                     (.5).
06/30/20 Lydia Yale                             0.70 Prepare docket report and distribute same (.4);
                                                     organize schedules of assets and liabilities in
                                                     document management system (.3).

Total                                          521.80




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                          FEIN XX-XXXXXXX




September 15, 2020

J.C. Penney Company, Inc.
6501 Legacy Drive
Plano, TX 75024

Attn: Brandy Treadway

                                                                            Invoice Number: 1050032386
                                                                              Client Matter: 47223-20

In the Matter of Hearings




For legal services rendered through June 30, 2020
(see attached Description of Legal Services for detail)                                                      $ 406,542.50
Total legal services rendered                                                                                $ 406,542.50




  Beijing Boston Chicago Dallas Hong Kong Houston London Los Angeles Munich Palo Alto Paris San Francisco Shanghai Washington, D.C.
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J.C. Penney Company, Inc.                                    Matter Number:      47223-20
Hearings




                                         Summary of Hours Billed

Name                                                     Hours         Rate      Amount
Margaret R. Alden                                         15.00      610.00      9,150.00
Lucas W. Brown                                            13.20      610.00      8,052.00
Chris Ceresa                                              10.70      610.00      6,527.00
Rebecca Blake Chaikin                                     14.40    1,085.00     15,624.00
Tess Elizabeth Dennis                                      3.50      610.00      2,135.00
Alistair Fatheazam                                         9.10      740.00      6,734.00
Julia R. Foster                                           23.80      340.00      8,092.00
Yates French                                              28.30    1,165.00     32,969.50
Austin Glassman                                            8.10    1,165.00      9,436.50
Jake William Gordon                                       19.70      845.00     16,646.50
Meghan E. Guzaitis                                        26.50      445.00     11,792.50
Key Hemyari                                                4.50      845.00      3,802.50
Lanchi Huynh                                               1.30    1,305.00      1,696.50
Nick Krislov                                              10.80      740.00      7,992.00
Christopher Marcus, P.C.                                  28.70    1,635.00     46,924.50
Marjorie Melicharek                                       28.90      275.00      7,947.50
Lekha Menon                                               36.10      725.00     26,172.50
David M. Nemecek, P.C.                                     2.00    1,565.00      3,130.00
Benjamin O'Connor                                         14.90      970.00     14,453.00
Kimberly Pageau                                            8.30      740.00      6,142.00
Prentis Robinson                                          13.50      610.00      8,235.00
Nicholas Ruge                                             11.40      835.00      9,519.00
Michael B. Slade                                          19.30    1,395.00     26,923.50
Josh Sussberg, P.C.                                       35.00    1,635.00     57,225.00
Gregory Tsonis                                            18.20      970.00     17,654.00
Josh Urban                                                 6.10      390.00      2,379.00
Allyson Smith Weinhouse                                    7.50      965.00      7,237.50
Lydia Yale                                                15.20      275.00      4,180.00
Aparna Yenamandra                                         20.80    1,165.00     24,232.00
Abbey Zuech                                                5.80      610.00      3,538.00

TOTALS                                                   460.60               $ 406,542.50



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Hearings


                                       Description of Legal Services

Date     Name                                  Hours Description
05/15/20 Yates French                           9.40 Finalize hearing materials (2.2); prepare
                                                     witnesses for hearing (3.5); prepare for first
                                                     day hearing (3.7).
05/15/20 Meghan E. Guzaitis                     4.70 Revise exhibits for exhibit list and hearing
                                                     (2.0); correspond with K&E team re edits to
                                                     same (1.7); correspond with K&E team re
                                                     edits to declarations (1.0).
05/15/20 Meghan E. Guzaitis                     4.70 Prepare and compile pleadings and exhibits to
                                                     be used for first day hearing (2.0); correspond
                                                     with K&E team re amended exhibit list and
                                                     materials re first day hearing (1.0); prepare
                                                     amended materials for filings (1.7).
05/15/20 Christopher Marcus, P.C.               3.90 Prepare for first day hearing.
05/15/20 Marjorie Melicharek                    4.00 Compile filed pleadings for hearing (2.0);
                                                     prepare listing re same (2.0).
05/15/20 Marjorie Melicharek                    4.00 Cite check witness and exhibit list (1.0);
                                                     identify exhibits (.7); compile exhibits (.8);
                                                     prepare exhibits for attorney review (1.5).
05/15/20 Josh Urban                             0.80 Assist with onsite setup of first day hearing
                                                     with M. Slade.
05/16/20 Margaret R. Alden                      5.10 Telephonically attend first day hearing (2.5);
                                                     prepare for same (2.1); revise talking points re
                                                     same (.3); correspond with K&E team re
                                                     same (.2).
05/16/20 Lucas W. Brown                         2.50 Prepare for first day hearing (.2); attend
                                                     telephonic first day hearing (2.3).
05/16/20 Chris Ceresa                           7.50 Revise orders (1.8); correspond with K&E
                                                     team re various issues (1.1); prepare for
                                                     hearing (2.1); attend first day hearing
                                                     telephonically (2.5).
05/16/20 Rebecca Blake Chaikin                  5.70 Prepare for first day hearing (3.1); participate
                                                     in first day hearing (2.6).
05/16/20 Tess Elizabeth Dennis                  3.50 Attend telephonic first day hearing.
05/16/20 Alistair Fatheazam                     2.50 Telephonically attend first day hearing.
05/16/20 Julia R. Foster                        2.20 Attend and assist with May 16 first day
                                                     hearing.
05/16/20 Julia R. Foster                        0.10 Coordinate logistics re May 15 hearing.
05/16/20 Yates French                           6.00 Prepare for and attend first day hearing.
05/16/20 Austin Glassman                        2.10 Attend first day hearing via web conference.

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Hearings

Date     Name                                  Hours Description
05/16/20 Jake William Gordon                     5.40 Prepare for first day hearing (3.1); attend
                                                      dame (2.3).
05/16/20 Meghan E. Guzaitis                      2.50 Telephonically attend First Day hearing.
05/16/20 Meghan E. Guzaitis                      4.70 Prepare and compile pleadings, exhibits re
                                                      first day hearing (2.2); participate in video
                                                      testing, technology prep for first day hearing
                                                      (.5); correspond with K&E team re amended
                                                      exhibit list and materials (1.2); prepare
                                                      amended materials for filings (.8).
05/16/20 Key Hemyari                             2.30 Attend first day hearing.
05/16/20 Nick Krislov                            2.30 Attend first day hearing via telephone.
05/16/20 Christopher Marcus, P.C.               10.70 Prepare for hearing and negotiate cash
                                                      collateral order (1.2); attention to hearing
                                                      preparation (7.0); attend first day hearing
                                                      (2.5).
05/16/20 Marjorie Melicharek                     2.50 Prepare exhibits for attorney review.
05/16/20 Marjorie Melicharek                     4.00 Compile filed pleadings for hearing (2.7);
                                                      prepare listing re same (1.3).
05/16/20 Lekha Menon                             5.70 Review, revise first day hearing presentation
                                                      (3.5); telephonically attend first day hearing
                                                      (2.2).
05/16/20 David M. Nemecek, P.C.                  2.00 Telephonically attend first day hearing.
05/16/20 Benjamin O'Connor                       2.70 Review and analyze first day motions (.4);
                                                      attend first day hearing (2.3).
05/16/20 Kimberly Pageau                         2.50 Telephonically attend first day hearing.
05/16/20 Prentis Robinson                        3.40 Prepare for first day hearing (1.1);
                                                      telephonically attend same (2.3)
05/16/20 Michael B. Slade                        4.70 Telephone conferences to prepare for first day
                                                      hearing (2.4); attend first day hearing (2.3).
05/16/20 Josh Sussberg, P.C.                     8.00 Prepare for first day hearing (3.5); correspond
                                                      re hearing and related matters (.6); telephone
                                                      conferences with A. Yenamandra (.5);
                                                      participate in first day hearing (2.7);
                                                      correspond re next steps and hearing (.7).
05/16/20 Gregory Tsonis                          2.30 Attend first day hearing via telephone
                                                      conference.
05/16/20 Allyson Smith Weinhouse                 7.00 Prepare for first day hearing (3.9);
                                                      telephonically attend same (3.1).
05/16/20 Lydia Yale                              5.00 Prepare materials for May 16 first day
                                                      hearing.



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Hearings

Date     Name                                  Hours Description
05/16/20 Lydia Yale                             2.20 Prepare for and telephonically attend May 16
                                                     hearing.
05/17/20 Christopher Marcus, P.C.               0.50 Attention to first day hearing follow up
                                                     correspondence.
05/19/20 Yates French                           5.50 Coordinate review of documents (1.8);
                                                     prepare for hearing (2.0); attend telephone
                                                     conference re junior creditor objection rights
                                                     (.5); review documents for production (1.2).
05/22/20   Lekha Menon                          3.20 Draft status conference presentation.
05/23/20   Lekha Menon                          1.10 Review, revise status conference presentation.
05/24/20   Lekha Menon                          0.30 Revise status conference presentation.
05/25/20   Jake William Gordon                  0.40 Draft hearing presentation.
05/25/20   Lekha Menon                          1.80 Review, revise status conference presentation.
05/25/20   Aparna Yenamandra                    0.60 Revise status conference deck.
05/26/20   Lekha Menon                          3.20 Review, revise status conference presentation.
05/26/20   Aparna Yenamandra                    0.70 Correspond re status conference slides.
05/27/20   Jake William Gordon                  1.10 Prepare hearing presentation.
05/27/20   Lekha Menon                          3.30 Review, revise status conference presentation.
05/27/20   Josh Sussberg, P.C.                  0.60 Review slides for status conference and
                                                     comment on same.
05/27/20 Aparna Yenamandra                      1.30 Correspond re status conference slides (.6);
                                                     revise same (.7).
05/27/20   Abbey Zuech                          1.00 Attend status conference.
05/28/20   Lucas W. Brown                       0.70 Attend status telephone conference.
05/28/20   Rebecca Blake Chaikin                0.80 Telephonically attend status conference.
05/28/20   Julia R. Foster                      0.60 Correspond with K&E team re witness and
                                                     exhibit list re June 2 hearing.
05/28/20 Jake William Gordon                    0.40 Prepare for status hearing.
05/28/20 Meghan E. Guzaitis                     1.80 Compile case documents for attorney review.
05/28/20 Lanchi Huynh                           1.30 Review Court status conference slides (1.0);
                                                     review associate communications (.3).
05/28/20 Nick Krislov                           0.60 Attend status conference via telephone.
05/28/20 Lekha Menon                            6.80 Review, revise slides for status conference
                                                     (3.8); correspond with J. Gordon, A.
                                                     Yenamandra re same (1.0); revise slides re
                                                     same (1.3); telephonically attend status
                                                     conference (.7).
05/28/20 Kimberly Pageau                        0.80 Telephonically attend status conference.
05/28/20 Nicholas Ruge                          0.80 Attend status conference.


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Hearings

Date     Name                                  Hours Description
05/28/20 Michael B. Slade                       0.80 Attend status conference.
05/28/20 Josh Sussberg, P.C.                    5.10 Review and revise status conference slides
                                                     (.7); telephone conferences with A.
                                                     Yenamandra re same (.3); prepare for status
                                                     conference (.2); participate in status
                                                     conference (.7); telephone conference with D.
                                                     Kurtz re same (.2); telephone conference with
                                                     R. Tysoe re same (.2); review board
                                                     presentation (.2); participate on board update
                                                     telephone conference and discussion of DIP
                                                     (1.1); telephone conference with K. Hansen re
                                                     status (.1); correspond with A. LeBlanc (.1);
                                                     telephone conference with Cushman, B.
                                                     Wafford, B. Treadway, Lazard, Alix and
                                                     K&E team re real estate appraisals (.5);
                                                     telephone conference with Lazard, Alix, M.
                                                     Slade and K&E team re DIP and timing (.6);
                                                     review and revise 365 motion (.2).
05/28/20 Aparna Yenamandra                      1.80 Finalize status conference deck (1.1); attend
                                                     status conference (.7).
06/02/20   Lucas W. Brown                       0.30 Attend hearing re work fee motion.
06/02/20   Rebecca Blake Chaikin                0.40 Attend hearing re work fee motion.
06/02/20   Yates French                         0.40 Attend hearing re work fee motion.
06/02/20   Austin Glassman                      0.90 Prepare for and attend hearing.
06/02/20   Nick Krislov                         0.30 Attend hearing via telephone.
06/02/20   Christopher Marcus, P.C.             1.00 Attend hearing and attention to follow-up
                                                     emails.
06/02/20   Marjorie Melicharek                  1.00 Identify Committee's exhibits for hearing.
06/02/20   Benjamin O'Connor                    0.40 Attend hearing re work fee motion.
06/02/20   Nicholas Ruge                        0.40 Attend work fee motion hearing.
06/02/20   Josh Sussberg, P.C.                  0.90 Telephone conference with A. LeBlanc re
                                                     status conference (.5); attend status
                                                     conference (.4).
06/02/20 Gregory Tsonis                         1.20 Attend work fee motion hearing via
                                                     telephone.
06/02/20 Allyson Smith Weinhouse                0.50 Hearing re work fee motion.
06/02/20 Aparna Yenamandra                      2.00 Prepare for and attend work fee motion
                                                     hearing.
06/02/20 Abbey Zuech                            1.50 Attend virtual hearing re work fee motion.
06/03/20 Rebecca Blake Chaikin                  0.20 Coordinate slides for hearing with K&E team.



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Hearings

Date     Name                                  Hours Description
06/03/20 Christopher Marcus, P.C.               3.70 Pre call (.5); telephone conference re witness
                                                     preparation (.9); prepare for DIP hearing
                                                     (2.3).
06/03/20 Marjorie Melicharek                    2.00 Prepare hearing materials for attorney review.
06/03/20 Marjorie Melicharek                    3.20 Prepare exhibits to be file re exhibit and
                                                     witness list.
06/04/20   Lucas W. Brown                       4.00 Telephonically attend hearing re DIP.
06/04/20   Rebecca Blake Chaikin                1.90 Attend hearing re DIP financing.
06/04/20   Alistair Fatheazam                   4.30 Telephonically attend DIP hearing.
06/04/20   Yates French                         7.00 Prepare for and attend DIP hearing.
06/04/20   Austin Glassman                      5.10 Telephonically attend DIP hearing and
                                                     coordinate with K&E team during related
                                                     proceedings.
06/04/20   Jake William Gordon                  1.90 Telephonically attend DIP hearing.
06/04/20   Meghan E. Guzaitis                   3.00 Attend DIP hearing.
06/04/20   Key Hemyari                          0.80 Attend DIP hearing.
06/04/20   Nick Krislov                         3.10 Attend DIP hearing via telephone.
06/04/20   Christopher Marcus, P.C.             5.90 Attention to hearing preparation (.7); attend
                                                     DIP hearing (5.2).
06/04/20 Lekha Menon                            5.00 Telephonically attend DIP hearing.
06/04/20 Benjamin O'Connor                      6.20 Plan and prepare for DIP financing hearing
                                                     (1.1); attend DIP financing hearing (5.1).
06/04/20   Kimberly Pageau                      1.10 Telephonically attend DIP hearing.
06/04/20   Prentis Robinson                     4.30 Telephonically attend final DIP hearing.
06/04/20   Nicholas Ruge                        4.30 Attend DIP hearing.
06/04/20   Michael B. Slade                     6.70 Prepare for and participate in trial re DIP.
06/04/20   Josh Sussberg, P.C.                  9.90 Prepare for hearing (1.7); telephone
                                                     conference with K. Hansen re settlement (.7);
                                                     telephone conference with D. Kurtz (.4);
                                                     attend DIP hearing (5.1); participate on board
                                                     call (.5); correspond with creditors (.3);
                                                     telephone conference with potential purchaser
                                                     re interest in assets (1.0); correspond re DIP
                                                     order (.2).
06/04/20   Gregory Tsonis                       5.20 Attend DIP hearing.
06/04/20   Lydia Yale                           5.00 Attend hearing re DIP/Cash Collateral.
06/04/20   Aparna Yenamandra                    3.70 Attend DIP hearing.
06/04/20   Abbey Zuech                          2.80 Attend virtual court hearing re DIP.
06/06/20   Josh Sussberg, P.C.                  0.30 Telephone conference re equity committee
                                                     hearing.

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J.C. Penney Company, Inc.                                       Matter Number:             47223-20
Hearings

Date     Name                                  Hours Description
06/08/20 Julia R. Foster                        1.90 Review and revise June 9, 2020 hearing
                                                     agenda (.7); review and revise June 11, 2020
                                                     hearing agenda (1.2).
06/08/20 Aparna Yenamandra                      0.40 Telephone conference re equity committee
                                                     hearing.
06/09/20 Margaret R. Alden                      0.40 Telephonically attend equity committee
                                                     hearing.
06/09/20 Lucas W. Brown                         2.00 Attend equity committee hearing.
06/09/20 Rebecca Blake Chaikin                  1.50 Attend hearing.
06/09/20 Julia R. Foster                        2.00 Attend and assist telephonic June 9, 2020
                                                     hearing.
06/09/20 Jake William Gordon                    3.10 Prepare for, attend Equity committee hearing.
06/09/20 Key Hemyari                            1.40 Attend equity committee hearing.
06/09/20 Nick Krislov                           0.70 Telephonically attend equity committee
                                                     hearing.
06/09/20 Christopher Marcus, P.C.               1.50 Attend equity committee hearing.
06/09/20 Lekha Menon                            2.70 Telephonically attend equity committee
                                                     hearing.
06/09/20 Benjamin O'Connor                      1.00 Attend hearing re formation of equity
                                                     committee.
06/09/20 Kimberly Pageau                        1.10 Telephonically attend equity committee
                                                     hearing.
06/09/20 Prentis Robinson                       1.90 Prepare for and participate in equity
                                                     committee hearing.
06/09/20 Nicholas Ruge                          2.00 Attend equity committee hearing.
06/09/20 Michael B. Slade                       1.90 Prepare for and participate in court hearing.
06/09/20 Josh Sussberg, P.C.                    5.70 Prepare for equity holder committee hearing
                                                     (2.5); attend hearing (1.5); correspond re
                                                     GOB sales and credit agreement waiver (.3);
                                                     review and revise retention application (1.0);
                                                     telephone conference with A. Yenamandra
                                                     (.4).
06/09/20 Gregory Tsonis                         2.70 Attend telephonic and video bankruptcy
                                                     hearing.
06/09/20 Aparna Yenamandra                      4.10 Prepare for and attend equity committee
                                                     hearing (3.0); telephone conference with JF,
                                                     JCP re equity committee talking points (.5);
                                                     correspond with U.S. Trustee, SHs re equity
                                                     committee order (.6).
06/10/20 Margaret R. Alden                      0.60 Draft, revise hearing deck (.5); correspond
                                                     with J. Gordon re same (.1).

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Hearings

Date     Name                                  Hours Description
06/10/20 Julia R. Foster                        3.90 Review and revise June 11, 2020 Hearing
                                                     Agenda (3.2); circulate objections re June 11,
                                                     2020 Hearing (.5); draft June 24, 2020
                                                     Hearing Agenda (.2).
06/11/20 Lucas W. Brown                         3.00 Attend second day hearing.
06/11/20 Chris Ceresa                           3.20 Attend hearing telephonically.
06/11/20 Rebecca Blake Chaikin                  3.90 Present at store closing hearing (3.1); prepare
                                                     for same (.8).
06/11/20 Alistair Fatheazam                     2.30 Attend telephonically (partial) second day
                                                     hearing.
06/11/20 Julia R. Foster                        2.90 Attend and assist with telephonic June 11,
                                                     2020 hearing.
06/11/20 Julia R. Foster                        2.90 Review and revise June 11, 2020 hearing
                                                     agenda.
06/11/20   Jake William Gordon                  3.30 Telephonically attend second day hearing.
06/11/20   Meghan E. Guzaitis                   3.60 Attend hearing re pricing.
06/11/20   Nick Krislov                         3.10 Telephonically attend second day hearing.
06/11/20   Christopher Marcus, P.C.             1.50 Telephonically attend second Day hearing.
06/11/20   Lekha Menon                          2.50 Telephonically attend second day hearing.
06/11/20   Benjamin O'Connor                    3.50 Attend second day hearing.
06/11/20   Kimberly Pageau                      2.30 Prepare for and telephonically attend second
                                                     day hearing.
06/11/20 Prentis Robinson                       3.10 Telephonically attend second day hearing.
06/11/20 Nicholas Ruge                          3.40 Attend hearing on rent deferral and store
                                                     closings.
06/11/20 Michael B. Slade                       3.30 Participate in second day hearing.
06/11/20 Josh Sussberg, P.C.                    4.50 Review hearing presentation (.7); correspond
                                                     with K&E team re same (.4); participate in
                                                     hearing re 365(d)(3) and store closings (3.4).
06/11/20 Gregory Tsonis                         3.50 Attend telephonic and video bankruptcy
                                                     hearing.
06/11/20 Josh Urban                             4.50 Setup up, operate, support and tear down
                                                     equipment and video conferencing
                                                     applications for bankruptcy hearing with M.
                                                     Slade.
06/11/20 Lydia Yale                             3.00 Attend June 11, 2020 hearing.
06/11/20 Aparna Yenamandra                      1.00 Telephone conference with K&E team re
                                                     hearing prep (.4); review business update
                                                     slides re same (.6).



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Hearings

Date     Name                                  Hours Description
06/11/20 Aparna Yenamandra                      2.70 Review business update slides (.3); prepare
                                                     for and attend second day hearing (2.4).
06/12/20 Julia R. Foster                        1.40 Review and revise June 24, 2020 Hearing
                                                     Agenda (.4); review and revise July 1, 2020
                                                     Hearing Agenda (.6); draft June 24, 2020
                                                     witness/exhibit list (.4).
06/15/20 Julia R. Foster                        0.90 Draft July 10, 2020 Hearing Agenda (.4);
                                                     review and revise July 1, 2020 Hearing
                                                     Agenda (.5).
06/15/20 Josh Urban                             0.30 Test and confirm video connection in Join.Me
                                                     for Robb McWilliams for M. Slade.
06/16/20 Lucas W. Brown                         0.70 Attend settlement hearing.
06/16/20 Julia R. Foster                        0.70 Assist with June 16, 2020 hearing.
06/16/20 Julia R. Foster                        0.10 Open conference line re June 16, 2020
                                                     Hearing.
06/16/20 Jake William Gordon                    0.90 Telephonically attend Nike hearing.
06/16/20 Meghan E. Guzaitis                     1.50 Telephonically attend Nike court hearing.
06/16/20 Nick Krislov                           0.70 Prepare for and telephonically attend the 9019
                                                     motion hearing.
06/16/20 Lekha Menon                            0.50 Telephonically attend Nike 9019 hearing.
06/16/20 Benjamin O'Connor                      0.80 Plan and prepare for hearing re trade
                                                     agreement with Nike (.3); telephonically
                                                     attend same (.5).
06/16/20 Kimberly Pageau                        0.50 Telephonically attend hearing on Nike
                                                     settlement.
06/16/20 Prentis Robinson                       0.80 Telephonically attend hearing re Nike
                                                     settlement agreement.
06/16/20   Nicholas Ruge                        0.50 Attend hearing on Nike.
06/16/20   Michael B. Slade                     1.90 Prepare for and attend hearing.
06/16/20   Gregory Tsonis                       0.70 Attend video conference hearing.
06/16/20   Abbey Zuech                          0.50 Attend virtual hearing re Nike 9019.
06/17/20   Margaret R. Alden                    1.80 Correspond with J. Gordon, K&E team re
                                                     hearing deck preparation (.5); research re
                                                     same (.3); draft, revise same (1.0).
06/18/20 Margaret R. Alden                      0.20 Revise hearing deck (.1); correspond with J.
                                                     Gordon re same (.1).
06/19/20 Margaret R. Alden                      0.20 Draft, revise hearing deck (.1); correspond
                                                     with K&E team re same (.1).
06/19/20 Jake William Gordon                    0.40 Prepare slides for hearing.



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Hearings

Date     Name                                  Hours Description
06/22/20 Margaret R. Alden                      1.10 Correspond with J. Gordon, A. Yenamandra
                                                     re hearing deck (.2); draft, revise same (.9).
06/22/20 Julia R. Foster                        0.50 Review and revise June 24, 2020 Hearing
                                                     Agenda (.2); review and revise July 1, 2020
                                                     Hearing Agenda (.3).
06/22/20 Aparna Yenamandra                      0.50 Revise business update slides for hearing (.5).
06/23/20 Margaret R. Alden                      0.80 Draft, revise hearing deck (.4); correspond
                                                     with K&E team re same (.2); correspond with
                                                     Alix team re same (.2).
06/23/20 Julia R. Foster                        0.80 Review and revise June 24, 2020 Hearing
                                                     Agenda (.4); review and revise July 1, 2020
                                                     Hearing Agenda (.4).
06/23/20 Jake William Gordon                    1.20 Prepare presentation for hearings.
06/23/20 Aparna Yenamandra                      0.60 Revise business update slides for hearing.
06/24/20 Julia R. Foster                        0.50 Review and revise July 1, 2020 Hearing
                                                     Agenda (.3); review and revise July 8, 2020
                                                     Hearing Agenda (.2).
06/24/20 Marjorie Melicharek                    1.50 Identify hearing materials re lift stays for
                                                     attorney review.
06/24/20 Gregory Tsonis                         2.60 Prepare for and attend telephone conference
                                                     hearing re Wisconsin litigation.
06/25/20 Julia R. Foster                        0.60 Review and revise July 1, 2020 hearing
                                                     agenda.
06/26/20 Julia R. Foster                        0.60 Prepare materials for July 1, 2020 Hearing.
06/26/20 Marjorie Melicharek                    1.40 Prepare hearing materials for attorney review.
06/28/20 Margaret R. Alden                      0.70 Draft, revise hearing deck (.5); correspond
                                                     with J. Gordon re same (.2).
06/28/20 Julia R. Foster                        0.80 Review and revise July 1, 2020 Witness and
                                                     Exhibit List (.6); compile filing versions of
                                                     First Day Motions (.20).
06/29/20 Margaret R. Alden                      1.00 Revise hearing deck (.7); correspond with J.
                                                     Gordon, L. Huynh re same (.3).
06/29/20 Julia R. Foster                        0.40 Review and revise July 1, 2020 Hearing
                                                     Agenda.
06/29/20   Jake William Gordon                  1.60 Review, analyze hearing presentation.
06/29/20   Marjorie Melicharek                  2.30 Prepare exhibits for attorney review.
06/29/20   Marjorie Melicharek                  1.80 Review exhibit and witness list for edits.
06/29/20   Josh Urban                           0.30 Test and confirm video connection in Join.Me
                                                     for M. Esser.



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Hearings

Date     Name                                  Hours Description
06/30/20 Margaret R. Alden                      3.10 Correspond with B. Riley, K&E team, J.
                                                     Sussberg re hearing deck (1.0); draft, revise
                                                     same (2.1).
06/30/20 Marjorie Melicharek                    1.20 Prepare hearing materials for attorney review.
06/30/20 Benjamin O'Connor                      0.30 Review and analyze documents in virtual data
                                                     rooms to develop summary of documents
                                                     provided to lenders and Committee for status
                                                     hearing with court.
06/30/20 Josh Urban                             0.20 Test and confirm video connection in Join.Me
                                                     for C. Tempke for M. Esser.
06/30/20 Aparna Yenamandra                      1.40 Correspond with K&E team re business
                                                     update slides (.3); review and revise same
                                                     (.5); telephone conference with M. Weitz re
                                                     same (.6).

Total                                          460.60




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                          FEIN XX-XXXXXXX




September 15, 2020

J.C. Penney Company, Inc.
6501 Legacy Drive
Plano, TX 75024

Attn: Brandy Treadway

                                                                            Invoice Number: 1050032387
                                                                              Client Matter: 47223-22

In the Matter of Expenses


For expenses incurred through June 30, 2020
(see attached Description of Expenses for detail)                                                             $ 75,446.32
Total expenses incurred                                                                                       $ 75,446.32




  Beijing Boston Chicago Dallas Hong Kong Houston London Los Angeles Munich Palo Alto Paris San Francisco Shanghai Washington, D.C.
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J.C. Penney Company, Inc.                                         Matter Number:     47223-22
Expenses




                                          Description of Expenses

Description                                                                          Amount
Third Party Telephone Charges                                                        2,274.76
Standard Copies or Prints                                                            2,667.20
Binding                                                                                  6.30
Tabs/Indexes/Dividers                                                                   21.71
Color Copies or Prints                                                               3,328.60
File Conversion                                                                         86.70
OCR Only                                                                               410.61
4" Binders                                                                              52.00
Outside Messenger Services                                                             375.21
Other Travel Expenses                                                                2,344.15
Court Reporter Fee/Deposition                                                        4,090.35
Other Court Costs and Fees                                                               1.00
Outside Printing Services                                                            5,753.15
Outside Copy/Binding Services                                                          545.27
Working Meals/K&E Only                                                                 295.28
Catering Expenses                                                                      276.00
Outside Retrieval Service                                                           14,880.30
Computer Database Research                                                           3,919.66
Westlaw Research                                                                     8,746.83
LexisNexis Research                                                                  3,812.41
Overtime Transportation                                                                 13.50
Document Services Overtime                                                           2,694.81
Miscellaneous Office Expenses                                                       17,975.30
Overnight Delivery - Hard                                                              143.82
Computer Database Research - Soft                                                      731.40

                                                         Total                     $ 75,446.32




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Expenses




                                          Description of Expenses

Third Party Telephone Charges

Date          Description                                                           Amount
05/31/20      Intrado Enterprise Collaboration Inc - Telephone conference with        8.20
              client and outside counsel.
05/31/20      Intrado Enterprise Collaboration Inc - Teleconference                     0.61
05/31/20      Intrado Enterprise Collaboration Inc - conference calls                   4.90
05/31/20      Intrado Enterprise Collaboration Inc - Teleconference                     3.16
05/31/20      Intrado Enterprise Collaboration Inc - Teleconference Calls               4.75
05/31/20      Intrado Enterprise Collaboration Inc - Telephone conferencing - N.        4.92
              Ruge
05/31/20      Intrado Enterprise Collaboration Inc - Teleconference Services            0.02
05/31/20      Intrado Enterprise Collaboration Inc - May Conference Calls              10.31
05/31/20      Intrado Enterprise Collaboration Inc - teleconference                   166.70
05/31/20      Intrado Enterprise Collaboration Inc - Teleconference Services            0.01
05/31/20      Intrado Enterprise Collaboration Inc - Teleconference Services           92.34
05/31/20      Intrado Enterprise Collaboration Inc - Teleconference                     1.81
05/31/20      Intrado Enterprise Collaboration Inc - Teleconference                     1.93
05/31/20      Intrado Enterprise Collaboration Inc - Telephone conferencing            24.29
              service
05/31/20      Intrado Enterprise Collaboration Inc - Telephone conference calls        16.17
05/31/20      Intrado Enterprise Collaboration Inc - Call with Alix team re             3.08
              diligence request lists and diligence process
05/31/20      Intrado Enterprise Collaboration Inc - Telephone conference               1.93
05/31/20      Intrado Enterprise Collaboration Inc - Telephone conference with          6.47
              client and outside counsel.
05/31/20      Intrado Enterprise Collaboration Inc - Conference calls                   0.93
05/31/20      Intrado Enterprise Collaboration Inc - teleconference                     1.71
05/31/20      Intrado Enterprise Collaboration Inc - Teleconference charges.            5.84
05/31/20      Intrado Enterprise Collaboration Inc - Conf call re case status           1.83
05/31/20      Intrado Enterprise Collaboration Inc - May conference call charges        0.39
05/31/20      Intrado Enterprise Collaboration Inc - Teleconference                     3.67
05/31/20      Intrado Enterprise Collaboration Inc - Teleconference services            5.90
05/31/20      Intrado Enterprise Collaboration Inc - Conference Calls                   5.13



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05/31/20      Intrado Enterprise Collaboration Inc - March-May 2020                   110.21
              Teleconferences
05/31/20      Intrado Enterprise Collaboration Inc - May 2020 Teleconference            1.41
              Expenses
05/31/20      Intrado Enterprise Collaboration Inc - May 2020 Teleconference            2.43
              Expenses
05/31/20      Intrado Enterprise Collaboration Inc - May 2020 Teleconference            1.07
              Expenses
05/31/20      Intrado Enterprise Collaboration Inc - May 2020 Teleconference            3.81
              Expenses
05/31/20      Intrado Enterprise Collaboration Inc - May 2020 Teleconference            0.35
              Expenses
05/31/20      Intrado Enterprise Collaboration Inc - May 2020 Teleconference            6.89
              Expenses
05/31/20      Intrado Enterprise Collaboration Inc - May 2020 Teleconference            0.39
              Expenses
05/31/20      Intrado Enterprise Collaboration Inc - May 2020 Teleconference            0.58
              Expenses
05/31/20      Intrado Enterprise Collaboration Inc - May 2020 Teleconference            2.47
              Expenses
05/31/20      Intrado Enterprise Collaboration Inc - Teleconference                     2.97
05/31/20      Intrado Enterprise Collaboration Inc - Teleconference                     1.29
05/31/20      Intrado Enterprise Collaboration Inc - Teleconference                     1.59
05/31/20      Intrado Enterprise Collaboration Inc - May 2020 Teleconference            0.85
              Expenses
05/31/20      Intrado Enterprise Collaboration Inc - May 2020 Teleconference            1.25
              Expenses
05/31/20      Intrado Enterprise Collaboration Inc - May 2020 Teleconference            3.83
              Expenses
05/31/20      Intrado Enterprise Collaboration Inc - May 2020 Teleconference            2.61
              Expenses
05/31/20      Intrado Enterprise Collaboration Inc - Teleconference services for        6.11
              May 2020
05/31/20      Intrado Enterprise Collaboration Inc - Teleconference 5-5-20              1.88
05/31/20      Intrado Enterprise Collaboration Inc - Teleconferences                    1.66
05/31/20      Intrado Enterprise Collaboration Inc - Teleconference                    19.37
05/31/20      Intrado Enterprise Collaboration Inc - teleconference by Sophia           0.96
              Hudson
05/31/20      Intrado Enterprise Collaboration Inc - Teleconference calls.              3.54
05/31/20      Intrado Enterprise Collaboration Inc - conf calls andtaxes               43.37
05/31/20      Intrado Enterprise Collaboration Inc - Conference calls                  84.92

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05/31/20      Intrado Enterprise Collaboration Inc - Telephone conference               25.87
05/31/20      Intrado Enterprise Collaboration Inc - Phone conferences with              1.15
              corporate team re status and issues and real estate leases.
05/31/20      Intrado Enterprise Collaboration Inc - Telephone conferences             114.34
              regarding J.C. Penney.
05/31/20      Intrado Enterprise Collaboration Inc - teleconference                    147.72
05/31/20      Intrado Enterprise Collaboration Inc - G Tsonis telephone                  2.59
              conference May 2020
05/31/20      Intrado Enterprise Collaboration Inc - May invoice                        10.12
05/31/20      Intrado Enterprise Collaboration Inc - Teleconference services for         1.67
              May 2020
05/31/20      Intrado Enterprise Collaboration Inc - Conference calls - May 2020         8.36
05/31/20      Intrado Enterprise Collaboration Inc - Teleconference.                     6.51
05/31/20      Intrado Enterprise Collaboration Inc - Telephone conference calls          4.03
05/31/20      Intrado Enterprise Collaboration Inc - Telephone conference               68.42
              charges for May - Logan Weissler.
06/30/20      Intrado Enterprise Collaboration Inc - Teleconferences                     5.54
06/30/20      Intrado Enterprise Collaboration Inc - Telephone conference                0.89
              services
06/30/20      Intrado Enterprise Collaboration Inc - Teleconference                      2.39
06/30/20      Intrado Enterprise Collaboration Inc - Teleconference                      4.85
06/30/20      Intrado Enterprise Collaboration Inc - Telephone conference with           2.36
              clients and outside counsel.
06/30/20      Intrado Enterprise Collaboration Inc - Conf. re case status               15.10
06/30/20      Intrado Enterprise Collaboration Inc - Telephone conference                5.42
              charges for June - Logan Weissler.
06/30/20      Intrado Enterprise Collaboration Inc - Teleconference                      2.65
06/30/20      Intrado Enterprise Collaboration Inc - Teleconference(s).                  3.19
06/30/20      Intrado Enterprise Collaboration Inc - Teleconference(s).                  0.81
06/30/20      Intrado Enterprise Collaboration Inc - Teleconference(s).                  3.17
06/30/20      Intrado Enterprise Collaboration Inc - Telephone conference               28.32
06/30/20      Intrado Enterprise Collaboration Inc - Teleconference services for        12.26
              June 2020
06/30/20      Intrado Enterprise Collaboration Inc - Conference calls.                   1.53
06/30/20      Intrado Enterprise Collaboration Inc - Conference calls - June 2020       67.26
06/30/20      Intrado Enterprise Collaboration Inc - Teleconference Calls                0.02
06/30/20      Intrado Enterprise Collaboration Inc - Teleconference                      9.25
06/30/20      Intrado Enterprise Collaboration Inc - Teleconference                      5.17
06/30/20      Intrado Enterprise Collaboration Inc - conference calls and taxes         12.80


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06/30/20      Intrado Enterprise Collaboration Inc - teleconference                    24.09
06/30/20      Intrado Enterprise Collaboration Inc - conference calls and taxes         2.29
06/30/20      Intrado Enterprise Collaboration Inc - June 2020 Teleconference          28.74
              Expenses
06/30/20      Intrado Enterprise Collaboration Inc - June 2020 Teleconference           2.86
              Expenses
06/30/20      Intrado Enterprise Collaboration Inc - June 2020 Teleconference           8.34
              Expenses
06/30/20      Intrado Enterprise Collaboration Inc - June 2020 Teleconference           8.22
              Expenses
06/30/20      Intrado Enterprise Collaboration Inc - June 2020 Teleconference           4.63
              Expenses
06/30/20      Intrado Enterprise Collaboration Inc - Telephone conference calls        36.91
06/30/20      Intrado Enterprise Collaboration Inc - conference calls                   5.59
06/30/20      Intrado Enterprise Collaboration Inc - Telephone conferences             25.19
              regarding J.C. Penney Company, Inc.
06/30/20      Intrado Enterprise Collaboration Inc - June Teleconference Invoice        1.00
06/30/20      Intrado Enterprise Collaboration Inc - Conference Calls                   6.36
06/30/20      Intrado Enterprise Collaboration Inc - conference calls and taxes        10.38
06/30/20      Intrado Enterprise Collaboration Inc - Teleconference                     2.92
06/30/20      Intrado Enterprise Collaboration Inc - teleconference                    26.01
06/30/20      Intrado Enterprise Collaboration Inc - Conference calls                  15.73
06/30/20      Intrado Enterprise Collaboration Inc - Teleconference                     3.68
06/30/20      Intrado Enterprise Collaboration Inc - Teleconference                     0.23
06/30/20      Intrado Enterprise Collaboration Inc - Teleconference                     1.35
06/30/20      Intrado Enterprise Collaboration Inc - Conference calling.                2.12
06/30/20      Intrado Enterprise Collaboration Inc - Teleconference.                    6.80
06/30/20      Intrado Enterprise Collaboration Inc - Teleconference services for       18.87
              June 2020
06/30/20      Intrado Enterprise Collaboration Inc - G Tsonis telephone                 1.95
              conference June 2020
06/30/20      Intrado Enterprise Collaboration Inc - Telephone conference               0.99
06/30/20      Intrado Enterprise Collaboration Inc - Telephone conferencing - N.        2.15
              Ruge
06/30/20      Intrado Enterprise Collaboration Inc - Conference Calls                 585.29
06/30/20      Intrado Enterprise Collaboration Inc - teleconference                   152.27
06/30/20      Intrado Enterprise Collaboration Inc - Conference call                    0.33
06/30/20      Intrado Enterprise Collaboration Inc - Teleconference                    18.41



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06/30/20      Intrado Enterprise Collaboration Inc - Teleconference.                  14.49
              Total                                                                2,274.76




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Standard Copies or Prints

Date          Description                                                   Amount
05/16/20      Standard Copies or Prints                                         1.28
05/20/20      Standard Copies or Prints                                        84.16
05/21/20      Standard Copies or Prints                                       161.44
05/21/20      Standard Copies or Prints                                       144.80
05/26/20      CH-10518                                                        295.36
05/27/20      Standard Copies or Prints                                       691.20
05/29/20      Standard Copies or Prints                                       629.44
05/29/20      Standard Copies or Prints                                        16.48
05/29/20      Standard Copies or Prints                                        18.40
06/04/20      Standard Copies or Prints                                       185.92
06/09/20      Standard Copies or Prints                                        27.84
06/10/20      Standard Copies or Prints                                         4.32
06/11/20      Standard Copies or Prints                                         2.88
06/11/20      Standard Copies or Prints                                        43.04
06/19/20      Standard Copies or Prints                                         0.32
06/19/20      Standard Copies or Prints                                       108.80
06/26/20      Standard Copies or Prints                                       172.96
06/26/20      Standard Copies or Prints                                         6.56
06/30/20      Standard Copies or Prints                                        72.00
              Total                                                         2,667.20




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Expenses


Binding

Date          Description                                                   Amount
06/10/20      Binding                                                         4.20
06/11/20      Binding                                                         2.10
              Total                                                           6.30




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Tabs/Indexes/Dividers

Date          Description                                                    Amount
05/16/20      Tabs/Indexes/Dividers                                            19.76
06/11/20      Tabs/Indexes/Dividers                                             1.95
              Total                                                            21.71




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Color Copies or Prints

Date          Description                                                    Amount
05/16/20      Color Copies or Prints                                         2,378.20
05/20/20      Color Copies or Prints                                             1.10
05/21/20      Color Copies or Prints                                             7.15
05/29/20      Color Copies or Prints                                            11.55
05/29/20      Color Copies or Prints                                             7.70
06/04/20      Color Copies or Prints                                            45.65
06/10/20      Color Copies or Prints                                           570.90
06/11/20      Color Copies or Prints                                           278.85
06/11/20      Color Copies or Prints                                             2.20
06/26/20      Color Copies or Prints                                            13.20
06/26/20      Color Copies or Prints                                             9.90
06/30/20      Color Copies or Prints                                             2.20
              Total                                                          3,328.60




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File Conversion

Date          Description                                                    Amount
05/22/20      File Conversion                                                   7.41
05/26/20      File Conversion                                                  66.06
06/30/20      File Conversion                                                  13.23
              Total                                                            86.70




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Expenses


OCR Only

Date          Description                                                    Amount
05/22/20      OCR Only                                                         39.81
05/22/20      OCR Only                                                         66.81
05/26/20      OCR Only                                                         66.06
06/01/20      OCR Only                                                         71.43
06/15/20      OCR Only                                                        102.03
06/30/20      OCR Only                                                         64.47
              Total                                                           410.61




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4" Binders

Date           Description                                                   Amount
05/16/20       4" Binders                                                      52.00
               Total                                                           52.00




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Outside Messenger Services

Date          Description                                                    Amount
05/24/20      COMET MESSENGER SERVICE INC - 300 N LA SALLE to 55               27.53
              E ERIE 05/21/2020
05/24/20      COMET MESSENGER SERVICE INC - 300 N LA SALLE to 55                27.53
              E ERIE 05/21/2020
05/31/20      CROWN DELIVERY & LOGISTICS - Courier Deliveries                   52.80
05/31/20      COMET MESSENGER SERVICE INC - 300 N LA SALLE to 55                21.65
              E ERIE 05/27/2020
05/31/20      COMET MESSENGER SERVICE INC - 300 N LA SALLE to 55                41.29
              E ERIE 05/26/2020
05/31/20      COMET MESSENGER SERVICE INC - 300 N LA SALLE to                   49.28
              303 E CRESCENT AVE 05/29/2020
06/07/20      CROWN DELIVERY & LOGISTICS - Courier Deliveries                   39.00
06/14/20      COMET MESSENGER SERVICE INC - 300 N LA SALLE to 55                18.32
              E ERIE 06/11/2020
06/14/20      COMET MESSENGER SERVICE INC - 300 N LA SALLE to 55                18.32
              E ERIE 06/09/2020
06/21/20      COMET MESSENGER SERVICE INC - 300 N LA SALLE to 55                18.32
              E ERIE 06/19/2020
06/27/20      SPECIAL DELIVERY SERVICE INC - Special Delivery Invoice           24.53
              - sent to M. Kalka
06/28/20      COMET MESSENGER SERVICE INC - 300 N LA SALLE to 55                18.32
              E ERIE 06/23/2020
06/28/20      COMET MESSENGER SERVICE INC - 300 N LA SALLE to 55                18.32
              E ERIE 06/26/2020
              Total                                                            375.21




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Expenses


Other Travel Expenses

Date          Description                                                         Amount
06/02/20      Michael B. Slade - Michael B. Slade, Meeting Room, Offsite           588.10
              deposition due to Chicago office closure. Meeting room rental &
              taxes & fees. 06/02/2020
06/07/20      Michael B. Slade - Michael B. Slade, Meeting Room, Offsite          1,756.05
              deposition due to downtown office closing. 06/07/2020
              Total                                                               2,344.15




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Court Reporter Fee/Deposition

Date          Description                                                    Amount
05/27/20      ESCRIBERS LLC - Copy of Transcript of 5/26/20 hearing.           351.00
06/05/20      TSG REPORTING INC - Deposition of James A. Mesterharm          3,739.35
              Total                                                          4,090.35




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Other Court Costs and Fees

Date          Description                                                    Amount
05/15/20      BMO DINERS CLUB - Saccdourt Crim Records - Document              1.00
              Acquisitions/Filing Fees - Meghan Guzaitis
              Total                                                              1.00




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Expenses


Outside Printing Services

Date          Description                                                       Amount
05/18/20      Inservio 3 LLC - Blowback printing, Binder, Technical Time        1,869.62
06/10/20      Inservio 3 LLC - Blowback Printing                                3,883.53
              Total                                                             5,753.15




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Outside Copy/Binding Services

Date          Description                                                       Amount
05/15/20      Pinnacle Reprographics-Digital LLC - Hearing Binder (TRO)          492.67
06/08/20      Mary Ann Wacker - Mary Ann Wacker, Copies, Back issues              52.60
              ordered from Dallas Morning News for Josh Sussberg - to be
              mailed to his home 06/08/2020
              Total                                                               545.27




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Expenses


Working Meals/K&E Only

Date          Description                                                          Amount
06/02/20      Michael B. Slade - Michael B. Slade, Hotel - Working Meal/K and       109.00
              E Only, Rosemont, IL Offsite deposition due to Chicago office
              closure. Beverages catering. Michael B. Slade, Yates French, Josh
              Urban 06/02/2020
06/02/20      Michael B. Slade - Michael B. Slade, Hotel - Working Meal/K and         95.88
              E Only, Rosemont, IL Offsite deposition due to Chicago office
              closure. Michael B. Slade, Yates French, Josh Urban 06/02/2020
06/07/20      Michael B. Slade - Michael B. Slade, Hotel - Working Meal/K and         90.40
              E Only, Rosemont, IL Offsite deposition due to downtown office
              closing. Michael B. Slade, Yates French, Josh Urban 06/07/2020
              Total                                                                  295.28




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Expenses


Catering Expenses

Date          Description                                                    Amount
06/01/20      FLIK - JCP on 6/11/2020                                          90.00
06/01/20      FLIK - JCP on 6/11/2020                                          15.00
06/01/20      FLIK - JCP on 6/11/2020                                          33.00
06/01/20      FLIK - JCP on 6/11/2020                                          15.00
06/01/20      FLIK - JCP on 6/11/2020                                          33.00
06/01/20      FLIK - JCP on 6/11/2020                                          90.00
              Total                                                           276.00




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Outside Retrieval Service

Date          Description                                                     Amount
05/20/20      CSC - Outside Retrieval Service                                 4,903.15
05/20/20      CSC - Outside Retrieval Service.                                4,573.15
05/29/20      CSC - Outside Retrieval Service.                                1,531.00
06/04/20      CT CORPORATION - Document Retrieval Services                      300.00
06/04/20      CT CORPORATION - Document Retrieval Services                    1,596.00
06/08/20      CT CORPORATION - Outside retrieval service fees.                  300.00
06/08/20      CT CORPORATION - Outside retrieval service fees.                1,677.00
              Total                                                          14,880.30




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Computer Database Research

Date          Description                                                    Amount
06/01/20      CHEMICAL ABSTRACTS SERVICE - STN Usage for 05/2020               33.66
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                  22.00
              Usage on5/25/2020
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                   18.00
              Usage on5/27/2020
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                  538.00
              Usage on5/5/2020
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                   67.00
              Usage on5/9/2020
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                   16.00
              Usage on5/7/2020
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                  111.00
              Usage on5/26/2020
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                  332.00
              Usage on5/19/2020
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                   79.00
              Usage on5/20/2020
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                  141.00
              Usage on5/20/2020
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                   38.00
              Usage on5/20/2020
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                   88.00
              Usage on5/12/2020
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                  187.00
              Usage on5/9/2020
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                   39.00
              Usage on5/1/2020
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                   56.00
              Usage on5/9/2020
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                   97.00
              Usage on5/12/2020
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                   14.00
              Usage on5/9/2020
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                   13.00
              Usage on5/4/2020
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                   29.00
              Usage on5/31/2020



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06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                   69.00
              Usage on5/18/2020
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                   31.00
              Usage on5/10/2020
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                  308.00
              Usage on5/8/2020
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                  121.00
              Usage on5/6/2020
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                   41.00
              Usage on5/18/2020
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                   43.00
              Usage on5/30/2020
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                    5.00
              Usage on5/17/2020
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                   83.00
              Usage on5/11/2020
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                   79.00
              Usage on5/10/2020
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                   43.00
              Usage on5/19/2020
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                   69.00
              Usage on5/18/2020
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                  176.00
              Usage on5/15/2020
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                   16.00
              Usage on5/13/2020
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                   73.00
              Usage on5/13/2020
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                  139.00
              Usage on5/19/2020
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                   16.00
              Usage on5/21/2020
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                   46.00
              Usage on5/21/2020
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                   20.00
              Usage on5/21/2020
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                   68.00
              Usage on5/4/2020
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                  135.00
              Usage on5/29/2020
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                   20.00
              Usage on5/2/2020

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06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                  149.00
              Usage on5/31/2020
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                  150.00
              Usage on5/8/2020
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                   42.00
              Usage on5/13/2020
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                    8.00
              Usage on5/16/2020
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                   10.00
              Usage on5/8/2020
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                   11.00
              Usage on5/24/2020
06/05/20      RESTRUCTURING CONCEPTS LLC - Chapter 11 Dockets                   30.00
              Usage on5/12/2020
              Total                                                          3,919.66




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Westlaw Research

Date          Description                                                    Amount
05/17/20      THOMSON REUTERS - WEST PUBLISHING CORP -                         96.48
              WESTLAW Research Charges by Chaikin, Rebecca on 5/17/2020
05/18/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          87.55
              WESTLAW Research Charges by Menon, Lekha on 5/18/2020
05/18/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          17.53
              WESTLAW Research Charges by Eggert, Mary B. on 5/18/2020
05/19/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          52.53
              WESTLAW Research Charges by Brown, Lucas on 5/19/2020
05/19/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          59.75
              WESTLAW Research Charges by Ceresa, Chris on 5/19/2020
05/19/20      THOMSON REUTERS - WEST PUBLISHING CORP -                         131.87
              WESTLAW Research Charges by Robinson, Prentis on 5/19/2020
05/19/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          17.53
              WESTLAW Research Charges by Eggert, Mary B. on 5/19/2020
05/20/20      THOMSON REUTERS - WEST PUBLISHING CORP -                         414.22
              WESTLAW Research Charges by Robinson, Prentis on 5/20/2020
05/20/20      THOMSON REUTERS - WEST PUBLISHING CORP -                         235.09
              WESTLAW Research Charges by Brown, Lucas on 5/20/2020
05/21/20      THOMSON REUTERS - WEST PUBLISHING CORP -                         218.93
              WESTLAW Research Charges by Ceresa, Chris on 5/21/2020
05/21/20      THOMSON REUTERS - WEST PUBLISHING CORP -                         350.95
              WESTLAW Research Charges by Fronk, Casey R. on 5/21/2020
05/22/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          94.77
              WESTLAW Research Charges by Ceresa, Chris on 5/22/2020
05/22/20      THOMSON REUTERS - WEST PUBLISHING CORP -                         376.99
              WESTLAW Research Charges by Robinson, Prentis on 5/22/2020
05/22/20      THOMSON REUTERS - WEST PUBLISHING CORP -                         245.41
              WESTLAW Research Charges by Gordon, Jake William on
              5/22/2020
05/22/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          49.96
              WESTLAW Research Charges by Pageau, Kimberly Nicole on
              5/22/2020
05/25/20      THOMSON REUTERS - WEST PUBLISHING CORP -                         134.93
              WESTLAW Research Charges by Ceresa, Chris on 5/25/2020
05/26/20      THOMSON REUTERS - WEST PUBLISHING CORP -                         102.60
              WESTLAW Research Charges by Gordon, Jake William on
              5/26/2020



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05/26/20      THOMSON REUTERS - WEST PUBLISHING CORP -                         249.66
              WESTLAW Research Charges by Robinson, Prentis on 5/26/2020
05/26/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          24.12
              WESTLAW Research Charges by Ceresa, Chris on 5/26/2020
05/27/20      THOMSON REUTERS - WEST PUBLISHING CORP -                         175.46
              WESTLAW Research Charges by Robinson, Prentis on 5/27/2020
05/27/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          92.20
              WESTLAW Research Charges by Fatheazam, Alistair on
              5/27/2020
05/27/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          52.53
              WESTLAW Research Charges by Brown, Lucas on 5/27/2020
05/27/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          14.95
              WESTLAW Research Charges by Hendrickson, Paul on 5/27/2020
05/27/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          52.53
              WESTLAW Research Charges by Ceresa, Chris on 5/27/2020
05/28/20      THOMSON REUTERS - WEST PUBLISHING CORP -                         175.29
              WESTLAW Research Charges by O'Connor, Benjamin on
              5/28/2020
05/28/20      THOMSON REUTERS - WEST PUBLISHING CORP -                         185.45
              WESTLAW Research Charges by Schweitzer, Lauren on
              5/28/2020
05/29/20      THOMSON REUTERS - WEST PUBLISHING CORP -                         116.85
              WESTLAW Research Charges by Schweitzer, Lauren on
              5/29/2020
05/29/20      THOMSON REUTERS - WEST PUBLISHING CORP -                         187.46
              WESTLAW Research Charges by Robinson, Prentis on 5/29/2020
05/29/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          35.06
              WESTLAW Research Charges by O'Connor, Benjamin on
              5/29/2020
05/30/20      THOMSON REUTERS - WEST PUBLISHING CORP -                         102.48
              WESTLAW Research Charges by Menon, Lekha on 5/30/2020
05/30/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          17.53
              WESTLAW Research Charges by O'Connor, Benjamin on
              5/30/2020
05/31/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          35.02
              WESTLAW Research Charges by Menon, Lekha on 5/31/2020
05/31/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          17.53
              WESTLAW Research Charges by Gordon, Jake William on
              5/31/2020
05/31/20      THOMSON REUTERS - WEST PUBLISHING CORP -                         190.03
              WESTLAW Research Charges by Yenamandra, Apama on
              5/31/2020


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06/01/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          17.89
              WESTLAW Research Charges by Robinson, Prentis on 6/1/2020
06/01/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          76.38
              WESTLAW Research Charges by Hendrickson, Paul on 6/1/2020
06/01/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          17.89
              WESTLAW Research Charges by Ceresa, Chris on 6/1/2020
06/01/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          17.89
              WESTLAW Research Charges by Brown, Lucas on 6/1/2020
06/01/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          35.81
              WESTLAW Research Charges by Tsonis, Gregory on 6/1/2020
06/02/20      THOMSON REUTERS - WEST PUBLISHING CORP -                         132.38
              WESTLAW Research Charges by Taylor, Steven Brett on
              6/2/2020
06/02/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          89.43
              WESTLAW Research Charges by Yenamandra, Apama on
              6/2/2020
06/03/20      THOMSON REUTERS - WEST PUBLISHING CORP -                         230.26
              WESTLAW Research Charges by Brown, Lucas on 6/3/2020
06/03/20      THOMSON REUTERS - WEST PUBLISHING CORP -                         214.63
              WESTLAW Research Charges by Yenamandra, Apama on
              6/3/2020
06/03/20      THOMSON REUTERS - WEST PUBLISHING CORP -                         375.59
              WESTLAW Research Charges by Menon, Lekha on 6/3/2020
06/03/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          17.91
              WESTLAW Research Charges by Gordon, Jake William on
              6/3/2020
06/03/20      THOMSON REUTERS - WEST PUBLISHING CORP -                         501.67
              WESTLAW Research Charges by Robinson, Prentis on 6/3/2020
06/03/20      THOMSON REUTERS - WEST PUBLISHING CORP -                         214.87
              WESTLAW Research Charges by O'Connor, Benjamin on
              6/3/2020
06/03/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          54.09
              WESTLAW Research Charges by Ruge, Nicholas on 6/3/2020
06/04/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          35.77
              WESTLAW Research Charges by Menon, Lekha on 6/4/2020
06/05/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          33.14
              WESTLAW Research Charges by Pageau, Kimberly Nicole on
              6/5/2020
06/05/20      THOMSON REUTERS - WEST PUBLISHING CORP -                         179.06
              WESTLAW Research Charges by Santaniello, Lisa on 6/5/2020
06/05/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          27.02
              WESTLAW Research Charges by Brown, Lucas on 6/5/2020


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06/07/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          99.43
              WESTLAW Research Charges by Brown, Lucas on 6/7/2020
06/07/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          17.89
              WESTLAW Research Charges by Ceresa, Chris on 6/7/2020
06/07/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          35.81
              WESTLAW Research Charges by O'Connor, Benjamin on
              6/7/2020
06/08/20      THOMSON REUTERS - WEST PUBLISHING CORP -                         110.44
              WESTLAW Research Charges by Brown, Lucas on 6/8/2020
06/08/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          68.91
              WESTLAW Research Charges by Ceresa, Chris on 6/8/2020
06/08/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          17.89
              WESTLAW Research Charges by Robinson, Prentis on 6/8/2020
06/08/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          17.89
              WESTLAW Research Charges by Pageau, Kimberly Nicole on
              6/8/2020
06/08/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          33.14
              WESTLAW Research Charges by Mitrani, Adine on 6/8/2020
06/09/20      THOMSON REUTERS - WEST PUBLISHING CORP -                         131.70
              WESTLAW Research Charges by Ceresa, Chris on 6/9/2020
06/10/20      THOMSON REUTERS - WEST PUBLISHING CORP -                         155.72
              WESTLAW Research Charges by Pageau, Kimberly Nicole on
              6/10/2020
06/10/20      THOMSON REUTERS - WEST PUBLISHING CORP -                         155.72
              WESTLAW Research Charges by Alden, Margaret on 6/10/2020
06/10/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          71.54
              WESTLAW Research Charges by Robinson, Prentis on 6/10/2020
06/11/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          76.30
              WESTLAW Research Charges by Ceresa, Chris on 6/11/2020
06/11/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          35.77
              WESTLAW Research Charges by Pageau, Kimberly Nicole on
              6/11/2020
06/16/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          93.41
              WESTLAW Research Charges by Tsonis, Gregory on 6/16/2020
06/16/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          29.14
              WESTLAW Research Charges by Brown, Lucas on 6/16/2020
06/17/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          17.91
              WESTLAW Research Charges by Tsonis, Gregory on 6/17/2020
06/20/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          79.38
              WESTLAW Research Charges by Ruge, Nicholas on 6/20/2020




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06/24/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          17.89
              WESTLAW Research Charges by Pageau, Kimberly Nicole on
              6/24/2020
06/24/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          71.54
              WESTLAW Research Charges by Alden, Margaret on 6/24/2020
06/26/20      THOMSON REUTERS - WEST PUBLISHING CORP -                         563.22
              WESTLAW Research Charges by Tsonis, Gregory on 6/26/2020
06/26/20      THOMSON REUTERS - WEST PUBLISHING CORP -                          17.89
              WESTLAW Research Charges by Pageau, Kimberly Nicole on
              6/26/2020
06/30/20      THOMSON REUTERS - WEST PUBLISHING CORP -                         145.38
              WESTLAW Research Charges by Tsonis, Gregory on 6/30/2020
              Total                                                          8,746.83




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J.C. Penney Company, Inc.                                   Matter Number:     47223-22
Expenses


LexisNexis Research

Date          Description                                                     Amount
05/18/20      LEXISNEXIS - LexisNexis Research on 5/18/2020 by Mary            254.72
              Eggert
05/19/20      LEXISNEXIS - LexisNexis Research on 5/19/2020 by Chris            394.13
              Ceresa
05/20/20      LEXISNEXIS - LexisNexis Research on 5/20/2020 by Chris            208.52
              Ceresa
05/21/20      LEXISNEXIS - LexisNexis Research on 5/21/2020 by Chris             78.37
              Ceresa
05/22/20      LEXISNEXIS - LexisNexis Research on 5/22/2020 by Chris             78.37
              Ceresa
05/24/20      LEXISNEXIS - LexisNexis Research on 5/24/2020 by Chris            629.25
              Ceresa
05/26/20      LEXISNEXIS - LexisNexis Research on 5/26/2020 by Chris             51.77
              Ceresa
05/27/20      LEXISNEXIS - LexisNexis Research on 5/27/2020 by Chris            338.65
              Ceresa
06/01/20      LEXISNEXIS - LexisNexis Research on 6/1/2020 by Kimberly          740.33
              Pageau
06/08/20      LEXISNEXIS - LexisNexis Research on 6/8/2020 by Chris Ceresa       89.96
06/09/20      LEXISNEXIS - LexisNexis Research on 6/9/2020 by Chris Ceresa      501.56
06/10/20      LEXISNEXIS - LexisNexis Research on 6/10/2020 by Chris             89.96
              Ceresa
06/11/20      LEXISNEXIS - LexisNexis Research on 6/11/2020 by Kimberly         356.82
              Pageau
              Total                                                           3,812.41




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Overtime Transportation

Date          Description                                                         Amount
05/16/20      Josh Urban - Josh Urban, Parking, 111 W Kinzie St. - Sterling         13.50
              Garage, Chicago, IL Parking for weekend hearing in Chicago
              office. 05/16/2020
              Total                                                                  13.50




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Expenses


Document Services Overtime

Date          Description                                                       Amount
05/15/20      Create Adobe PDF, Excel Format/Clean Up. - Jessica Hylton            4.73
05/19/20      Revise/Update MS Excel. - Ok-Kyun Chung                            110.94
05/19/20      Create Adobe PDF. - Cate Jackson                                    10.75
05/20/20      Word Format/Clean Up. - Alexandra Lifshin                           21.50
05/20/20      Create Adobe PDF, OCR Adobe PDF. - Erika Herzog                     35.69
05/23/20      Create Adobe PDF, OCR Adobe PDF. - Allison Miller                   64.07
05/23/20      Cold Read Proofread, Revise/Update MS Word. - James Caulfield       93.74
05/23/20      Conversion Proofread, PDF to Word Convert Document. - Donna        175.87
              M. Desideri
05/23/20      Conversion Proofread, PDF to Word Convert Document. - Jessica        54.61
              Hylton
05/23/20      Create Adobe PDF, OCR Adobe PDF. - Tom Koscal                        54.18
05/23/20      Conversion Proofread, PDF to Word Convert Document. -                38.70
              Michelle R. McCallop
05/23/20      Cold Read Proofread, Revise/Update MS Word. - Lindsay Fredin         31.82
05/23/20      Conversion Proofread, PDF to Word Convert Document. - Tom            30.53
              Koscal
05/24/20      Caulfield                                                            58.48
05/24/20      Conversion Proofread, PDF to Word Convert Document. -                21.50
              Michelle R. McCallop
05/24/20      Conversion Proofread, PDF to Word Convert Document. - Jessica        10.75
              Hylton
05/24/20      Conversion Proofread, PDF to Word Convert Document. - James         110.94
              Caulfield
05/24/20      Revise/Update MS Word. - Lindsay Fredin                              27.52
05/25/20      Excel Format/Clean Up. - Michelle R. McCallop                        10.75
05/26/20      Revise/Update MS Excel. - Patricia Yu                                19.78
05/27/20      Create MS Excel, Excel Change-Pro Compare. - Alexandra Lifshin       10.75
05/27/20      Revise/Update MS Excel. - Erika Herzog                               33.11
05/27/20      Word Format/Clean Up. - Cate Jackson                                 10.75
05/27/20      Excel Change-Pro Compare. - Ok-Kyun Chung                            10.75
05/27/20      Revise/Update MS Excel. - Neal Nguyen                                17.20
05/28/20      PDF to Word Convert Document, Revise/Update MS Excel. -              22.36
              Wanda Roots
05/28/20      Help Desk Troubleshoot. - Alexandra Lifshin                          13.76


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05/29/20      Revise/Update MS Word, Word Format/Clean Up. - Sharon M.          16.34
              Malayter
05/31/20      Conversion Proofread, PDF to Word Convert Document, Word         258.00
              Format/Clean Up. - Bunmi Adeyeri
06/01/20      Revise/Update MS Excel. - Wanda Roots                             45.15
06/01/20      Excel Change-Pro Compare. - Alexandra Lifshin                     10.75
06/01/20      Conversion Proofread, PDF to Word Convert Document, Word         340.99
              Format/Clean Up. - James Caulfield
06/01/20      Conversion Proofread, PDF to Word Convert Document, Word         116.96
              Format/Clean Up. - Donna M. Desideri
06/01/20      Conversion Proofread, PDF to Word Convert Document, Word         180.60
              Format/Clean Up. - Wanda Roots
06/02/20      Revise/Update MS Word, Word Format/Clean Up. - Sharon M.          57.19
              Malayter
06/02/20      Conversion Proofread, PDF to Word Convert Document, Word          38.70
              Format/Clean Up. - Wanda Roots
06/05/20      Convert Document, Proofread. - Jen Gibertini                      48.59
06/05/20      Convert Document, Proofread. - Sharon M. Malayter                109.65
06/08/20      Revise/Update MS Word. - Gabrielle Ruggiero                        9.89
06/23/20      Export DMS, Zip Files. - Patricia Yu                             134.59
06/24/20      Export DMS, Zip Files. - Wanda Roots                             176.30
06/24/20      Export DMS, Zip Files. - Jacky Yeung                              45.58
              Total                                                          2,694.81




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Expenses


Miscellaneous Office Expenses

Date          Description                                                          Amount
05/16/20      Josh Urban - Josh Urban, Software, Purchased a "Pro" account to       197.90
              allow for hosting sessions with webcam streams, annotations tools
              and window sharing. Will be used in all upcoming bankruptcy
              hearings with the court. 05/16/2020
06/02/20      Michael B. Slade - Michael B. Slade, Hotel - Other, Offsite            672.00
              deposition due to Chicago office closure. Audio & Visual tech set
              up. 06/02/2020
06/18/20      Jake William Gordon - Jake William Gordon, Other, JCP               17,105.40
              Bankruptcy Notice - Miller Advertising Agency, Inc. 06/18/2020
              Total                                                               17,975.30




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Overnight Delivery - Hard

Date          Description                                                    Amount
05/25/20      FEDERAL EXPRESS - 770486041734                                   15.64
05/25/20      FEDERAL EXPRESS - 770516620327                                   15.64
06/08/20      FEDERAL EXPRESS - 770623566776                                   15.88
06/22/20      FEDERAL EXPRESS - FedEx Invoice - sent to J. Sussberg            96.66
              Total                                                           143.82




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Computer Database Research - Soft

Date          Description                                                     Amount
06/01/20      PACER Usage for 06/2020                                           99.40
06/01/20      PACER Usage for 06/2020                                            3.00
06/01/20      PACER Usage for 06/2020                                           46.10
06/01/20      PACER Usage for 06/2020                                           12.10
06/01/20      PACER Usage for 06/2020                                          243.60
06/01/20      PACER Usage for 06/2020                                           20.80
06/01/20      PACER Usage for 06/2020                                            6.00
06/01/20      PACER Usage for 06/2020                                            3.00
06/01/20      PACER Usage for 06/2020                                           36.20
06/01/20      PACER Usage for 06/2020                                          261.20
              Total                                                            731.40

TOTAL EXPENSES                                                              $ 75,446.32




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                          FEIN XX-XXXXXXX




September 15, 2020

J.C. Penney Company, Inc.
6501 Legacy Drive
Plano, TX 75024

Attn: Brandy Treadway

                                                                            Invoice Number: 1050032388
                                                                              Client Matter: 47223-23

In the Matter of REIT - Property Analysis




For legal services rendered through June 30, 2020
(see attached Description of Legal Services for detail)                                                      $ 828,384.00
Total legal services rendered                                                                                $ 828,384.00




  Beijing Boston Chicago Dallas Hong Kong Houston London Los Angeles Munich Palo Alto Paris San Francisco Shanghai Washington, D.C.
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J.C. Penney Company, Inc.                                    Matter Number:     47223-23
REIT - Property Analysis




                                         Summary of Hours Billed

Name                                                     Hours         Rate     Amount
April B. Abrams                                            4.00      460.00     1,840.00
Margaret R. Alden                                          1.00      610.00       610.00
Taylor John Anthony                                        1.70      965.00     1,640.50
Kevin S. Beckoff                                          14.70      740.00    10,878.00
Mike Beinus, P.C.                                         12.80    1,745.00    22,336.00
Justin Bender                                              8.50    1,275.00    10,837.50
Scott A. Berger, P.C.                                      1.20    1,595.00     1,914.00
Jenn Betts                                                 2.50    1,035.00     2,587.50
Jessica Bihl                                              33.20      845.00    28,054.00
Andres Cantero Jr.                                        39.30      845.00    33,208.50
Daniel Carlomany                                          48.20      610.00    29,402.00
Chris Ceresa                                               6.30      610.00     3,843.00
Rebecca Blake Chaikin                                      0.90    1,085.00       976.50
Daniel Cho                                                10.60      965.00    10,229.00
Jacob R. Clark                                            23.30      965.00    22,484.50
Lizbeth Cordova                                           35.50      610.00    21,655.00
Ian Craig                                                  3.10    1,135.00     3,518.50
Allyson N. Dillon                                         14.80      610.00     9,028.00
Justin C. Elliott                                          1.20    1,195.00     1,434.00
Joshua Faulkner                                            6.50    1,165.00     7,572.50
Josh Fintel                                                0.90      740.00       666.00
Travis C. Fleming                                          4.00    1,275.00     5,100.00
Jake Flood                                                20.00      740.00    14,800.00
John Thomas Goldman                                       99.60    1,195.00   119,022.00
Vanessa Gomez                                             52.60      740.00    38,924.00
Jake William Gordon                                        0.60      845.00       507.00
Jae Ha                                                     0.30      610.00       183.00
Joshua P. Hanna, P.C.                                      0.70    1,415.00       990.50
Walter S. Holzer, P.C.                                     2.20    1,465.00     3,223.00
Lanchi Huynh                                              14.50    1,305.00    18,922.50
Sohil Khurana                                             24.10      740.00    17,834.00
Talia Krause                                              29.30      610.00    17,873.00


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REIT - Property Analysis

Name                                                     Hours        Rate      Amount
Aisha P. Lavinier                                          4.00   1,135.00      4,540.00
Will Lawley                                               34.70     845.00     29,321.50
David P. Liebowitz                                         3.90     445.00      1,735.50
Mark Steven Lipschultz                                     8.00     845.00      6,760.00
Mike Lowes                                                 5.70     845.00      4,816.50
Christopher Marcus, P.C.                                   1.50   1,635.00      2,452.50
Tiffany T. Mason                                          47.40     740.00     35,076.00
Roberto S. Miceli                                          5.40   1,385.00      7,479.00
Tyler E. Neal                                             10.10     740.00      7,474.00
Tarah Lorraine Perkins                                    12.70     610.00      7,747.00
Daniel Perlman, P.C.                                       1.10   1,535.00      1,688.50
Callie Jones Poorman                                       3.00     845.00      2,535.00
Jeffrey S. Rheeling                                       31.80   1,385.00     44,043.00
Katie Roddy                                                6.50   1,085.00      7,052.50
Alexander Romano                                          17.40     610.00     10,614.00
Laurie Ruxton                                              3.30     445.00      1,468.50
Tana Ryan, P.C.                                            6.80   1,395.00      9,486.00
Jonathan A. Schechter, P.C.                               24.40   1,525.00     37,210.00
Stephanie Goldkopf Scheer                                  0.50     740.00        370.00
Edward J. Schneidman, P.C.                                16.50   1,595.00     26,317.50
Matthew A. Schroth                                        35.40     740.00     26,196.00
Kathryn Adele Scott                                        6.50     275.00      1,787.50
Anthony Vincenzo Sexton                                    0.20   1,265.00        253.00
Conrad Steele                                              9.50   1,085.00     10,307.50
Christopher Thomas, P.C.                                   0.50   1,215.00        607.50
Stephen G. Tomlinson, P.C.                                22.00   1,535.00     33,770.00
Steve Toth                                                 0.40   1,295.00        518.00
Logan Weissler                                             2.40     740.00      1,776.00
Aparna Yenamandra                                          0.60   1,165.00        699.00
Nancy Zambrana                                             5.40     845.00      4,563.00
Samuel Zaretsky                                            8.00     845.00      6,760.00
Eric Zhi                                                  17.20     740.00     12,728.00
Victoria M. Zhou                                          12.50   1,085.00     13,562.50
Abbey Zuech                                                7.50     610.00      4,575.00

TOTALS                                                   890.90              $ 828,384.00


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J.C. Penney Company, Inc.                                       Matter Number:              47223-23
REIT - Property Analysis


                                       Description of Legal Services

Date     Name                                  Hours Description
05/15/20 April B. Abrams                        4.00 Review data site and pull relevant documents
                                                     for various real property sites.
05/15/20 Jacob R. Clark                         4.20 Review correspondence from J. Goldman,
                                                     K&E team and Company (2.1); draft real
                                                     estate analysis summary (2.1).
05/15/20 John Thomas Goldman                    6.00 Review and analyze landlord request
                                                     presentation (1.5); coordinate and discuss
                                                     diligence (1.0); review diligence templates
                                                     (1.0); correspond and telephone conferences
                                                     re real estate issues (2.5).
05/15/20 Sohil Khurana                          0.50 Organize real property documents (.2);
                                                     correspond with A. Dillon re same (.3).
05/15/20 Talia Krause                           3.50 Organize materials for real estate diligence
                                                     issues (2.5); review title, survey (1.0).
05/15/20 Jonathan A. Schechter, P.C.            0.50 Analyze real estate matters and related
                                                     correspondence.
05/15/20 Matthew A. Schroth                     1.50 Analyze due diligence review.
05/17/20 Scott A. Berger, P.C.                  0.20 Miscellaneous correspondence (.1); follow-up
                                                     re status on real estate spin-off (.1).
05/17/20 Sohil Khurana                          1.00 Review real property documents (.7);
                                                     organize relevant documents (.3).
05/17/20 Edward J. Schneidman, P.C.             1.00 Correspond with J. Betts and A. Lavinie re
                                                     REIT corporate governance.
05/18/20 Mike Beinus, P.C.                      0.70 Review REIT term sheet and related tax
                                                     matters.
05/18/20 Lizbeth Cordova                        6.00 Participate in conference with K&E team re
                                                     real estate due diligence (2.0); prepare real
                                                     estate due diligence charts (3.0); organize real
                                                     estate due diligence for assigning (1.0).
05/18/20 Allyson N. Dillon                      4.00 Correspond with K&E team re property
                                                     diligence documents (.5); review, analyze
                                                     correspondence re master real estate tracker
                                                     (.1); revise same (.2); review existing
                                                     property diligence documents (2.7); attend
                                                     telephone conference with J. Goldman re real
                                                     estate work streams (.5).
05/18/20 John Thomas Goldman                    3.00 Telephone conferences re REIT strategy and
                                                     process.
05/18/20 Walter S. Holzer, P.C.                 0.20 Telephone conference with K&E team re
                                                     REIT matters.

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REIT - Property Analysis

Date     Name                                  Hours Description
05/18/20 Talia Krause                           6.60 Organize real estate due diligence material
                                                     (3.9); review inventory title, survey
                                                     documents (2.7).
05/18/20 Christopher Marcus, P.C.               1.00 Telephone conference re real estate issues.
05/18/20 Jonathan A. Schechter, P.C.            2.00 Review form PSA and lease amendment.
05/18/20 Matthew A. Schroth                     9.00 Telephone conference re store liquidation
                                                     process (.5); revise landlord term sheet (3.1);
                                                     telephone conference with real estate advisors
                                                     (.3); analyze due diligence review (3.9);
                                                     telephone conference re real estate work
                                                     stream coordination (.7); telephone
                                                     conference re real estate due diligence (.5).
05/18/20 Kathryn Adele Scott                    6.50 Prepare summary chart re leased properties
                                                     (3.5); review, analyze relevant documents re
                                                     same (2.2); correspond with A. Levy re same
                                                     (.8).
05/19/20 Lizbeth Cordova                        6.50 Participate in telephone conference with K&E
                                                     team re real estate due diligence (1.5);
                                                     organize lease review diligence (4.5); review
                                                     existing title, survey and environmental
                                                     reports (.5).
05/19/20 John Thomas Goldman                    3.00 Telephone conferences with K&E team re
                                                     REIT Structuring and coordination (2.0);
                                                     correspond re REIT valuation process and
                                                     related issues (1.0).
05/19/20 Sohil Khurana                          0.70 Correspond re document review with L.
                                                     Cordova (.2); review title and survey
                                                     documents, save relevant documents to
                                                     internal system for further review (.5).
05/19/20 Talia Krause                           3.00 Coordinate and organize real estate due
                                                     diligence material.
05/19/20 David P. Liebowitz                     1.50 Download and review indexes (.7); download,
                                                     review and rename title, survey and
                                                     environmental reports (.5); revise tracker (.3).
05/19/20 Mike Lowes                             1.00 Review and analyze real estate lease
                                                     background materials.
05/19/20 Tana Ryan, P.C.                        2.00 Telephone conferences re REIT matters (1.5);
                                                     follow up re same (.5).




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REIT - Property Analysis

Date     Name                                  Hours Description
05/19/20 Jonathan A. Schechter, P.C.            4.00 Telephone conference with Company and
                                                     advisors re REIT spin and real estate items
                                                     (1.0); telephone conference with 1L creditors
                                                     re REIT spin and real estate items (1.0);
                                                     telephone conferences re REIT spin and real
                                                     estate matters (1.0); review, analyze RSA re
                                                     same (1.0).
05/19/20 Edward J. Schneidman, P.C.             0.50 Correspond with J. Goldman, A. Lavinier and
                                                     T. Ryan re real estate work streams and
                                                     property analysis.
05/19/20 Matthew A. Schroth                     7.00 Analyze due diligence review (3.9); prepare
                                                     for and attend telephone conference with
                                                     K&E team re landlord negotiation deck and
                                                     REIT selection process (2.1); telephone
                                                     conference with lenders re landlord
                                                     negotiation deck and REIT selection process
                                                     (1.0).
05/19/20 Christopher Thomas, P.C.               0.50 Telephone conference re REIT matters.
05/19/20 Nancy Zambrana                         0.20 Correspond with K&E team re real estate
                                                     diligence.
05/19/20 Eric Zhi                               5.10 Retrieve and review ground lease and REA
                                                     documents.
05/20/20 Kevin S. Beckoff                       4.00 Review lease agreements and completion of
                                                     lease review chart.
05/20/20 Lizbeth Cordova                        1.00 Correspond with K&E team re real estate due
                                                     diligence.
05/20/20 Ian Craig                              1.80 Correspond re real estate diligence matters
                                                     (.5); review diligence charts (.4); review
                                                     changes to lease term sheet (.6); correspond re
                                                     foregoing (.3).
05/20/20 Josh Fintel                            0.50 Telephone conference with L. Cordova re
                                                     ground lease review (.3); prepare chart re
                                                     material terms of two ground lease sites (.2).
05/20/20 Jake Flood                             5.50 Draft and revise lease review chart.
05/20/20 John Thomas Goldman                    3.00 Telephone conferences re REIT structure and
                                                     coordination (2.0); review tax related property
                                                     info and valuation materials (1.0).
05/20/20 Vanessa Gomez                          1.00 Review data site lease and REA documents
                                                     for assigned lease property real estate review.
05/20/20 Jae Ha                                 0.30 Review schedule 4.13 re real estate.
05/20/20 Walter S. Holzer, P.C.                 0.20 Telephone conference with K&E team re
                                                     lease review.


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REIT - Property Analysis

Date     Name                                  Hours Description
05/20/20 Talia Krause                           2.00 Organize RE due diligence material (1.0);
                                                     inventory title, survey documents (1.0).
05/20/20 Will Lawley                            5.30 Review, analyze diligence re third party lease
                                                     documents.
05/20/20 David P. Liebowitz                     2.40 Access worksite and locate properties (.2);
                                                     download and review indexes (1.0);
                                                     download, review title, survey and
                                                     environmental reports (.8); revise tracker (.4).
05/20/20 Mike Lowes                             1.20 Review, analyze lease agreements.
05/20/20 Tiffany T. Mason                       1.50 Review third party leases.
05/20/20 Laurie Ruxton                          3.30 Review instructions re diligence review (.2);
                                                     correspond with A. Dillon re scope of
                                                     diligence review (.2); review data site (1.5);
                                                     prepare chart of relevant documents for
                                                     specific sites (1.4).
05/20/20 Matthew A. Schroth                     5.80 Attend telephone conference with P. Foshee
                                                     re ongoing real estate responsibilities (.5);
                                                     attend telephone conference with J. Goldman
                                                     re ongoing real estate responsibilities (.5);
                                                     analyze due diligence review (3.8); revise
                                                     lease amendment term sheet (.5); analyze key
                                                     real estate milestones presentation (.5).
05/20/20 Anthony Vincenzo Sexton                0.20 Correspond with K&E team re REIT tax basis
                                                     issues.
05/20/20 Conrad Steele                          0.60 Correspond with K&E team re real estate
                                                     lease review (.2); coordinate internal
                                                     document management (.4).
05/20/20 Nancy Zambrana                         0.30 Review, analyze real estate due diligence
                                                     documents.
05/20/20 Samuel Zaretsky                        6.00 Review and analyze lease.
05/20/20 Eric Zhi                               5.70 Review, analyze and organize lease
                                                     documents.
05/20/20 Abbey Zuech                            7.50 Prepare board deck re real estate milestones
                                                     and consent, consult rights.
05/21/20 Kevin S. Beckoff                       3.50 Review, analyze real property ground leases
                                                     and reciprocal easement agreements (2.8);
                                                     revise, update summary chart re same (.7).
05/21/20 Jessica Bihl                           1.00 Collect lease review documentation for
                                                     review of certain stores.
05/21/20 Daniel Carlomany                       4.50 Review and analyze lease documents (3.5);
                                                     populate real estate summary chart (1.0).



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REIT - Property Analysis

Date     Name                                  Hours Description
05/21/20 Daniel Cho                             2.70 Review and analyze indenture of leases,
                                                     ancillary documents and operating agreement.
05/21/20 Jacob R. Clark                         1.30 Review correspondence re real estate issues
                                                     (.3); draft and revise issues list of same (1.0).
05/21/20 Allyson N. Dillon                      5.30 Correspond re property document diligence
                                                     (.1) review existing property diligence
                                                     documents (2.6); organize existing property
                                                     diligence documents (2.6).
05/21/20 Josh Fintel                            0.40 Correspond with L. Cordova and T. Krause re
                                                     ground lease review (.3); prepare chart re
                                                     material terms of two ground lease sites (.1).
05/21/20 Jake Flood                             3.50 Draft and revise lease summary.
05/21/20 John Thomas Goldman                    3.00 Review and revise work in process list (.9);
                                                     telephone conferences re REIT process and
                                                     coordination (2.1).
05/21/20 Vanessa Gomez                          4.60 Review lease documents for store (3.4); draft
                                                     summary of material lease terms for lease
                                                     review chart (1.2).
05/21/20 Sohil Khurana                          3.50 Prepare for and participate in telephone
                                                     conferences with L. Cordova and A. Dillon re
                                                     real property review (.5); review and analyze
                                                     leases, REAs and related real property
                                                     documents (2.0); draft summary re diligence
                                                     findings re same (1.0).
05/21/20 Sohil Khurana                          2.50 Review leases and REAs, declarations and
                                                     restrictive covenant agreements re Company
                                                     real property holdings (1.0); draft summary re
                                                     use restrictions, operating covenants,
                                                     financing restrictions and related prohibitions
                                                     (1.5).
05/21/20 Sohil Khurana                          1.50 Review and analyze title, survey and
                                                     environmental documents re each store (1.0);
                                                     retrieve relevant title and survey documents
                                                     and inventory in document management
                                                     system (.5).
05/21/20 Talia Krause                           7.30 Correspond with L. Cordova, M. Schroth re
                                                     organize real estate due diligence material
                                                     (4.0); organize inventory title, survey
                                                     documents (3.3).
05/21/20 Will Lawley                            3.50 Review due diligence on third party leases.
05/21/20 Mike Lowes                             1.60 Review and analyze lease agreements.
05/21/20 Tiffany T. Mason                       6.00 Review and analyze third party leases (3.9);
                                                     summarize same (2.1).

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REIT - Property Analysis

Date     Name                                  Hours Description
05/21/20 Callie Jones Poorman                    3.00 Review and analyze owned property
                                                      operating agreements.
05/21/20 Katie Roddy                             1.00 Review and analyze REAs and related
                                                      documents for owned real property (.5);
                                                      prepare REA summary chart (.5).
05/21/20 Alexander Romano                        4.00 Review and analyze terms of lease
                                                      agreements and lease-related documents.
05/21/20 Stephanie Goldkopf Scheer               0.50 Review, analyze ground leases and prepare
                                                      lease chart.
05/21/20 Matthew A. Schroth                      5.50 Coordinate real estate due diligence process
                                                      (1.5); conduct real estate due diligence review
                                                      (4.0).
05/21/20 Conrad Steele                           0.30 Review real estate lease summary.
05/21/20 Nancy Zambrana                          0.30 Correspond with K&E team re real estate
                                                      diligence.
05/21/20 Samuel Zaretsky                         1.50 Review, analyze leases.
05/21/20 Victoria M. Zhou                        4.50 Correspond with K&E team re REA review
                                                      instruction (.7); review REA and summarize
                                                      material provisions (3.8).
05/22/20 Kevin S. Beckoff                        4.50 Review real property ground leases,
                                                      reciprocal easement agreements and draft
                                                      summary chart re same.
05/22/20 Jessica Bihl                           10.80 Review, analyze and summarize lease
                                                      documentation for store 838 (1.3); review and
                                                      summarize lease documentation for store 852
                                                      (1.3); review and summarize lease
                                                      documentation for store 870 (1.3); review and
                                                      summarize lease documentation for store 881
                                                      (1.3); review and summarize lease
                                                      documentation for store 882 (1.4); review and
                                                      summarize lease documentation for store 890
                                                      (1.4); review and summarize lease
                                                      documentation for store 899 (1.4); review and
                                                      summarize lease documentation for store 902
                                                      (1.4).
05/22/20 Andres Cantero Jr.                      3.50 Analyze construction, operation and
                                                      reciprocal easement agreement.
05/22/20 Daniel Carlomany                        6.20 Review and analyze lease documents (3.6);
                                                      populate real estate tracker (1.7); file and
                                                      organize lease documents (.9).




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REIT - Property Analysis

Date     Name                                  Hours Description
05/22/20 Daniel Cho                             2.50 Review and analyze lease documents and
                                                     amendments (1.8); review due diligence
                                                     material on data site (.5); correspond with
                                                     K&E team re due diligence review scope (.2).
05/22/20 Jacob R. Clark                         2.10 Draft issue and response list re real estate
                                                     issues.
05/22/20 Lizbeth Cordova                        8.00 Review lease documents (3.0); analyze same
                                                     (3.0); prepare summary re same (2.0).
05/22/20 Allyson N. Dillon                      5.00 Correspond re document diligence (.3);
                                                     review property diligence documents (2.1);
                                                     organize property diligence documents (2.1);
                                                     compile review property diligence documents
                                                     into master tracker (.5).
05/22/20 Jake Flood                             3.00 Draft and revise lease review chart.
05/22/20 John Thomas Goldman                    2.00 Telephone conferences re coordination and
                                                     REIT work streams.
05/22/20 Vanessa Gomez                          4.00 Draft summary of material terms under lease
                                                     review chart (1.5); review lease documents
                                                     (1.1); draft summary of material terms under
                                                     lease review chart (1.4).
05/22/20 Sohil Khurana                          3.10 Review and analyze diligence materials re
                                                     real property holdings (2.7); prepare for and
                                                     participate in telephone conference with A.
                                                     Dillon and K. Beckoff re ground leases (.4).
05/22/20 Sohil Khurana                          1.40 Review and analyze title, survey and
                                                     environmental documents re each store (.8);
                                                     pull relevant title and survey documents and
                                                     inventory in document management system
                                                     (.6).
05/22/20 Sohil Khurana                          0.80 Prepare for and participate in telephone
                                                     conference with K. Beckoff re certain
                                                     restrictive covenants and declarations
                                                     affecting prohibited uses of Company's real
                                                     property holdings (.3); review and analyze
                                                     diligence materials re same (.5).
05/22/20 Sohil Khurana                          3.10 Review and analyze leases, REAs and other
                                                     restrictive covenants and declarations re
                                                     Company's ground leased properties (2.8);
                                                     prepare for and participate in telephone
                                                     conference with M. Schroth re prohibitions on
                                                     certain uses and financing restrictions re same
                                                     (.3).



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REIT - Property Analysis

Date     Name                                  Hours Description
05/22/20 Sohil Khurana                          3.00 Review diligence materials re Company's
                                                     owned and ground leases properties (2.0);
                                                     chart findings from diligence review (.8);
                                                     prepare for and participate in telephone
                                                     conference with L. Cordova re declarations
                                                     and restrictive covenants encumbering certain
                                                     properties (.2).
05/22/20 Talia Krause                           2.00 Review and analyze leases.
05/22/20 Will Lawley                            7.30 Review diligence re third party leases (3.6);
                                                     analyze same (3.7).
05/22/20 Mark Steven Lipschultz                 8.00 Review, analyze diligence re ground lease
                                                     sites (3.9); draft summary chart (3.8); follow
                                                     up re same (.3).
05/22/20 Mike Lowes                             1.90 Review and summarize real estate leases.
05/22/20 Tiffany T. Mason                       8.50 Review and analyze lease agreements.
05/22/20 Tyler E. Neal                          3.30 Pull and organize lease documentation (1.5);
                                                     organize and review lease documentation
                                                     (1.8).
05/22/20 Alexander Romano                       1.40 Draft summary re lease agreements and
                                                     related documents.
05/22/20 Alexander Romano                       4.00 Review and analyze terms of lease
                                                     agreements and lease-related documents.
05/22/20 Alexander Romano                       4.00 Draft summary re terms of lease agreements
                                                     and lease-related documents.
05/22/20 Alexander Romano                       4.00 Review and analyze terms of lease
                                                     agreements and related documents.
05/22/20 Tana Ryan, P.C.                        0.50 Telephone conference with K&E teams re
                                                     status and process (.3); follow up re same (.2).
05/22/20 Jonathan A. Schechter, P.C.            2.50 Telephone conference with K&E team re
                                                     REIT spin and market test (.5); attend RE
                                                     telephone conference (.5); review, analyze
                                                     REIT structured items (.5); review, analyze
                                                     DIP agreement for real estate items (1.0).
05/22/20 Edward J. Schneidman, P.C.             0.50 Participate in telephone conference with K&E
                                                     team re real estate transfers and REIT
                                                     formation.
05/22/20 Nancy Zambrana                         4.50 Review real estate due diligence documents
                                                     (3.5); prepare summary chart re same (1.0).
05/22/20 Nancy Zambrana                         0.10 Correspond with K&E team re real estate
                                                     diligence.
05/22/20 Samuel Zaretsky                        0.50 Review, analyze leases.
05/22/20 Eric Zhi                               3.70 Organize and review lease documents.

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REIT - Property Analysis

Date     Name                                  Hours Description
05/22/20 Victoria M. Zhou                        8.00 Review REA documents and summarize
                                                      material provisions.
05/23/20 Jessica Bihl                            4.80 Review and summarize all lease
                                                      documentation for store 838 (.5); review and
                                                      summarize all lease documentation for store
                                                      852 (.5); review and summarize all lease
                                                      documentation for store 870 (.5); review and
                                                      summarize all lease documentation for store
                                                      881 (.5); review and summarize all lease
                                                      documentation for store 882 (.5); review and
                                                      summarize all lease documentation for store
                                                      890 (.5); review and summarize all lease
                                                      documentation for store 899 (.5); review and
                                                      summarize all lease documentation for store
                                                      902 (1.3).
05/23/20 Andres Cantero Jr.                      3.00 Analyze construction, operation and
                                                      reciprocal easement agreement.
05/23/20 Daniel Carlomany                        2.20 Review and analyze real estate documents
                                                      (1.7); revise and populate real estate diligence
                                                      chart (.5).
05/23/20 Daniel Cho                              2.20 Review and analyze due diligence items and
                                                      lease agreements.
05/23/20 Lizbeth Cordova                        10.00 Review existing property diligence
                                                      documents (3.0); prepare summary re same
                                                      (2.0); review lease documents (3.0); prepare
                                                      summary re same (2.0).
05/23/20 Ian Craig                               1.10 Correspond re real estate assets and lease
                                                      review (.5); correspond re landlord term
                                                      sheets (.1); correspond re credit agreement
                                                      (.5).
05/23/20 John Thomas Goldman                     2.50 Telephone conference with advisors re
                                                      coordination of RE work streams (1.0);
                                                      correspond and telephone conferences re
                                                      diligence and RE work streams (1.5).
05/23/20 Vanessa Gomez                           4.30 Review lease documents for store 2399 (1.7);
                                                      draft summary of material lease terms for the
                                                      lease review chart re same (1.5); review lease
                                                      documents for store 2414 (1.1).
05/23/20 Vanessa Gomez                           4.70 Draft summary of material lease terms for
                                                      store 2414 (1.2); review lease documents for
                                                      store 2507 (1.8); draft summary of material
                                                      lease terms for store 2507 (1.0); review lease
                                                      documents for store 2522 (.7).
05/23/20 Eric Zhi                                2.70 Review and analyze ground lease and REA.

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REIT - Property Analysis

Date     Name                                  Hours Description
05/24/20 Andres Cantero Jr.                     4.50 Analyze construction, operation and
                                                     reciprocal easement agreement re Store #1590
                                                     (2.2); analyze construction, operation and
                                                     reciprocal easement agreement re Store #1831
                                                     (2.3).
05/24/20 Daniel Carlomany                       1.00 Review and analyze real estate documents
                                                     (.7); update and revise real estate tracker (.3).
05/24/20 Daniel Cho                             1.50 Review property index and lease agreements
                                                     (.2); draft lease summary (1.3).
05/24/20 John Thomas Goldman                    2.00 Telephone conferences re REIT process and
                                                     coordination.
05/24/20 Vanessa Gomez                          4.50 Draft summary of material lease terms re
                                                     Store 2527 under lease review chart (1.0);
                                                     review lease documents and reciprocal
                                                     easement agreements re Store 2529 (2.2);
                                                     draft summary of material lease terms re Store
                                                     2529 (1.3).
05/24/20 Vanessa Gomez                          5.50 Review lease documents re Store 2522 (.6);
                                                     draft summary of material lease terms re Store
                                                     2522 (1.5); review lease documents re Store
                                                     2524 (1.4); draft summary of material lease
                                                     terms re Store 2524 (1.0); review lease
                                                     documents re Store 2527 (1.0).
05/24/20 Sohil Khurana                          3.00 Review and analyze diligence materials re
                                                     Company's leasehold and owned properties
                                                     (2.5); compile and organize title and survey
                                                     documents (.5).
05/24/20 Tiffany T. Mason                       6.00 Review and analyze lease agreements.
05/24/20 Jonathan A. Schechter, P.C.            0.30 Review, analyze REIT spin items and related
                                                     correspondence.
05/24/20 Conrad Steele                          3.30 Review lease documents re Store 130 (1.0);
                                                     draft lease review chart re Store 130 (.5);
                                                     review lease documents re Store 157 (1.3);
                                                     draft lease review chart re Store 157 (.5).
05/25/20 Andres Cantero Jr.                     9.30 Analyze construction, operation and
                                                     reciprocal easement agreement for Store
                                                     #1942 (2.0); analyze construction, operation
                                                     and reciprocal easement agreement for Store
                                                     #1951 (2.5); analyze construction, operation
                                                     and reciprocal easement agreement for Store
                                                     #2083 (1.8); analyze construction, operation
                                                     and reciprocal easement agreement for Store
                                                     #2108 (3.0).


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REIT - Property Analysis

Date     Name                                  Hours Description
05/25/20 John Thomas Goldman                     2.50 Telephone conference with K&E team re
                                                      REIT precedent transactions (1.0); telephone
                                                      conferences coordinating REIT process (1.5).
05/25/20 John Thomas Goldman                     2.00 Telephone conferences re lease diligence
                                                      questions and coordination.
05/25/20 Vanessa Gomez                           3.40 Review reciprocal easement agreement terms
                                                      (2.3); draft summary of material terms re
                                                      same (1.1).
05/25/20 Katie Roddy                             5.50 Review and analyze REAs and related
                                                      documents re Company's owned real property
                                                      (3.5); draft REA summary chart (2.0).
05/25/20 Conrad Steele                           5.30 Review lease documents for Store 161 (1.1);
                                                      complete lease review chart for Store 161
                                                      (.4); review lease documents for Store 171
                                                      (1.2); complete lease review chart for Store
                                                      171 (.6); review lease documents for Store
                                                      220 (1.4); complete lease review chart for
                                                      Store 220 (.6).
05/26/20 Jessica Bihl                            4.00 Review and analyze lease documentation for
                                                      stores (2.9); draft summary re same (1.1).
05/26/20 Daniel Carlomany                        1.20 Review and analyze real estate documents.
05/26/20 John Thomas Goldman                     5.00 Review and analyze diligence summaries
                                                      (1.5); telephone conferences with advisor
                                                      teams re process re same (.8); coordinate
                                                      same (.7); review and analyze lease portfolio
                                                      operations issues (2.0).
05/26/20 Vanessa Gomez                           3.10 Review reciprocal easement agreement
                                                      documents (1.9); draft summary of material
                                                      terms re same (1.2).
05/26/20 Joshua P. Hanna, P.C.                   0.70 Correspond with K&E team re real estate
                                                      lease and conveyancing strategy.
05/26/20   Christopher Marcus, P.C.              0.50 Telephone conference with Lazard re leases.
05/26/20   Tiffany T. Mason                     10.20 Review and analyze leases.
05/26/20   Daniel Perlman, P.C.                  1.10 Analyze real estate strategies.
05/26/20   Jonathan A. Schechter, P.C.           2.50 Telephone conference with Millbank re REIT
                                                      (.4); review, analyze diligence and REIT
                                                      precedent materials (2.1).
05/26/20 Jonathan A. Schechter, P.C.             1.00 Telephone conference with K&E team re real
                                                      estate due diligence.
05/26/20 Edward J. Schneidman, P.C.              1.00 Telephone conference re coordination re
                                                      structure matters (.5); review Opco-Propco
                                                      emergence framework (.5).


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Date     Name                                  Hours Description
05/26/20 Steve Toth                             0.40 Telephone conference with Milbank and K&E
                                                     team re corporate and REIT workstreams.
05/26/20 Aparna Yenamandra                      0.60 Correspond with K&E team re PSA issues.
05/27/20 Jessica Bihl                           2.00 Review, analyze lease documentation.
05/27/20 Daniel Carlomany                       2.20 Review and analyze real estate documents
                                                     (1.4); populate and update real estate tracker
                                                     (.8).
05/27/20 Chris Ceresa                           0.30 Telephone conference with Company and
                                                     advisors re real estate work in process.
05/27/20 John Thomas Goldman                    2.50 Telephone conferences re REIT Master Lease
                                                     term sheet and lease process (1.5); review
                                                     same (1.0).
05/27/20 John Thomas Goldman                    1.10 Coordinate lease diligence.
05/27/20 Vanessa Gomez                          2.80 Review lease documentation and reciprocal
                                                     easement agreement (1.6); draft summary of
                                                     material terms for reviewed lease
                                                     documentation (1.2).
05/27/20   Tiffany T. Mason                     4.00 Review leases.
05/27/20   Tyler E. Neal                        2.70 Review and summarize leases.
05/27/20   Tarah Lorraine Perkins               4.50 Review leases (2.3); analyze same (2.2).
05/27/20   Jeffrey S. Rheeling                  2.00 Review and analyze lease summaries re
                                                     ground leased properties.
05/27/20 Jonathan A. Schechter, P.C.            1.50 Review, analyze real estate diligence queries
                                                     and responses.
05/27/20 Stephen G. Tomlinson, P.C.             3.00 Review master lease background materials.
05/28/20 Scott A. Berger, P.C.                  1.00 Telephone conference with J. Goldman re
                                                     status and proposed action items (.5); follow-
                                                     up discussion (.5).
05/28/20 Jessica Bihl                           5.80 Review, analyze lease documentation (3.9);
                                                     summarize same (1.9).
05/28/20 Andres Cantero Jr.                     5.30 Analyze store documents (1.5); analyze store
                                                     REA and ancillary documents (2.0); analyze
                                                     store REA and ancillary documents (1.8).
05/28/20 Daniel Carlomany                       1.50 Review and analyze Company's real estate
                                                     documents (.9); populate real estate tracker
                                                     (.6).
05/28/20 Jacob R. Clark                         7.80 Review lease summaries (3.1); review
                                                     easement summaries (1.2); draft comments to
                                                     lease and easement summaries (2.8);
                                                     correspond with K&E team re lease review
                                                     (.7).


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Date     Name                                  Hours Description
05/28/20 Lizbeth Cordova                        4.00 Review and analyze lease documents (2.0);
                                                     draft summary re same (2.0).
05/28/20 Ian Craig                              0.20 Review lease summary.
05/28/20 Allyson N. Dillon                      0.50 Revise master real estate tracker.
05/28/20 Jake Flood                             5.50 Draft lease review chart (1.6); revise same
                                                     (3.9).
05/28/20 John Thomas Goldman                    2.00 Telephone conference re master lease and
                                                     term sheet (.9); telephone conference re
                                                     property valuation and structure status (1.1).
05/28/20 Vanessa Gomez                          3.40 Review lease documents and reciprocal
                                                     easement agreements (2.4); draft summary of
                                                     material terms for reviewed documents (1.0).
05/28/20 Talia Krause                           4.90 Coordinate due diligence re owned and leased
                                                     properties (1.0); review same (3.9).
05/28/20   Will Lawley                          4.00 Review, analyze third party lease diligence.
05/28/20   Tiffany T. Mason                     4.20 Review leases.
05/28/20   Tyler E. Neal                        1.80 Review and summarize leases.
05/28/20   Tarah Lorraine Perkins               2.80 Review various leases and update lease
                                                     review chart.
05/29/20 Margaret R. Alden                      0.60 Research re appraisal engagement letter (.4);
                                                     correspond with C. Ceresa, K&E team re
                                                     same (.2).
05/29/20 Jessica Bihl                           2.30 Review, analyze and summarize lease
                                                     documentation for stores.
05/29/20 Andres Cantero Jr.                     8.10 Review store #304's REA and ancillary
                                                     documents (1.2); analyze store #334's REA
                                                     and ancillary documents (1.3); analyze store
                                                     #246's REA and ancillary documents (1.7);
                                                     analyze #355's REA and ancillary documents
                                                     (1.8); analyze store #424's REA and ancillary
                                                     documents (1.0); review store #439's REA
                                                     and ancillary documents (1.1).
05/29/20 Daniel Carlomany                       4.00 Review and analyze Company's real estate
                                                     documents (2.2); populate and revise real
                                                     estate tracker (1.8).
05/29/20   Chris Ceresa                         0.70 Research re engagement letter terms.
05/29/20   Jacob R. Clark                       2.50 Review and update lease summaries.
05/29/20   Jake Flood                           2.50 Draft and revise lease review chart.
05/29/20   John Thomas Goldman                  2.00 Telephone conference with real estate task
                                                     force re deal property issues (1.0); coordinate
                                                     diligence review (1.0).


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REIT - Property Analysis

Date     Name                                  Hours Description
05/29/20 Vanessa Gomez                          5.60 Review lease documents and reciprocal
                                                     easement agreements(1.7); draft summary of
                                                     material terms for reviewed documents re
                                                     same (.8); review lease documents and
                                                     reciprocal easement agreements (2.1); draft
                                                     summary of material terms for reviewed
                                                     documents re same (1.0).
05/29/20 Will Lawley                            6.30 Review third party lease review (3.3); analyze
                                                     same (3.0).
05/29/20 Tiffany T. Mason                       7.00 Review and analyze leases (3.1); summarize
                                                     same (3.2); correspond with K&E team re
                                                     same (.7).
05/29/20   Tyler E. Neal                        2.30 Review and summarize leases.
05/29/20   Tarah Lorraine Perkins               2.80 Review leases and update lease review chart.
05/29/20   Jeffrey S. Rheeling                  1.50 Review lease summaries.
05/29/20   Edward J. Schneidman, P.C.           0.30 Participate in telephone conference with T.
                                                     Ryan, J. Betts, A. Lavinier and J. Goldman re
                                                     real estate matters.
05/29/20 Matthew A. Schroth                     2.70 Revise lease term sheets (1.3); revise form of
                                                     lease amendment (1.4).
05/29/20 Stephen G. Tomlinson, P.C.             1.00 Telephone conferences with S. Zaretsky and
                                                     review MGM and Caesars precedents.
05/30/20 Margaret R. Alden                      0.40 Review, analyze markup to appraiser
                                                     engagement letter (.2); correspond with C.
                                                     Ceresa re same (.2).
05/30/20 Jessica Bihl                           2.50 Review, analyze and summarize lease
                                                     documentation for stores.
05/30/20 Andres Cantero Jr.                     5.60 Review Store # 439's REA and ancillary
                                                     documents (1.2); analyze Store #466's REA
                                                     and ancillary documents (2.2); analyze Store
                                                     #478's REA and ancillary documents (2.2).
05/30/20 Chris Ceresa                           0.70 Revise engagement letter for appraisals (.4);
                                                     draft response to inquiry (.3).
05/30/20 Jacob R. Clark                         3.30 Review and update lease summaries.
05/30/20 Vanessa Gomez                          5.70 Review lease documents and reciprocal
                                                     easement agreements for store (1.8); draft
                                                     summary of material terms re same (1.0);
                                                     review lease documents and reciprocal
                                                     easement agreements for store 933 (2.0); draft
                                                     summary of material terms re same (.9).
05/31/20 Jacob R. Clark                         2.10 Review and update lease summaries.



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REIT - Property Analysis

Date     Name                                  Hours Description
05/31/20 John Thomas Goldman                    1.00 Review and analyze diligence summaries and
                                                     comments.
05/31/20 Will Lawley                            0.20 Review feedback from real estate on third
                                                     party lease review against tracker.
05/31/20 Tarah Lorraine Perkins                 2.60 Compile leases.
06/01/20 Chris Ceresa                           0.80 Correspond with K&E team re property
                                                     appraisal engagement letter (.3); telephone
                                                     conference re real estate work in process (.5).
06/01/20 John Thomas Goldman                    1.00 Discuss REIT mater lease/term sheet.
06/01/20 Edward J. Schneidman, P.C.             0.70 Review communication from Lazard team on
                                                     REIT analysis (.2); review process letter for
                                                     market test from Lazard (.5).
06/01/20 Stephen G. Tomlinson, P.C.             0.50 Analyze issues re precedent review.
06/02/20 John Thomas Goldman                    2.50 Telephone conference re REIT model (1.0);
                                                     review and revise owned property
                                                     optimization plan (1.5).
06/02/20 Jonathan A. Schechter, P.C.            0.50 Analyze master lease items.
06/03/20 Chris Ceresa                           0.50 Review and analyze engagement letter re
                                                     appraisals (.4); correspond with K&E team re
                                                     same (.1).
06/03/20 Stephen G. Tomlinson, P.C.             1.00 Telephone conference with S. Zaretsky and T.
                                                     Krause re term sheet comments.
06/04/20 John Thomas Goldman                    2.00 Telephone conference re REIT process and
                                                     optimization plan (1.0); review and discuss
                                                     REIT model (1.0).
06/04/20 John Thomas Goldman                    2.00 Review lease diligence (1.0); telephone
                                                     conference with K&E team re same (1.0).
06/04/20 Stephen G. Tomlinson, P.C.             1.00 Review lease re termination, re capture, re
                                                     development.
06/05/20 Chris Ceresa                           0.90 Revise sale document recitals.
06/05/20 John Thomas Goldman                    1.00 Review and discuss REIT plan.
06/05/20 John Thomas Goldman                    2.00 Review lease diligence and correspond re
                                                     same.
06/05/20 Jonathan A. Schechter, P.C.            0.50 Telephone conference re real estate and
                                                     corporate issues.
06/05/20 Edward J. Schneidman, P.C.             0.70 Participate in telephone conference with K&E
                                                     teams re REIT set up (.2); review draft of real
                                                     estate optimization prepared by advisors (.5).
06/05/20 Stephen G. Tomlinson, P.C.             1.00 Complete review of precedent and comment
                                                     on term sheet re same.



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REIT - Property Analysis

Date     Name                                  Hours Description
06/06/20 John Thomas Goldman                    2.00 Review and correspond re REIT model (1.0);
                                                     correspond with K&E team re REIT status
                                                     and next steps (1.0).
06/06/20 John Thomas Goldman                    1.50 Correspond with task force re valuation and
                                                     engagement process.
06/08/20 Mike Beinus, P.C.                      1.20 Review and analysis re real estate matters
                                                     (.6); related analysis (.3); telephone
                                                     conference with Company and KPMG (.3).
06/08/20 Daniel Carlomany                       1.00 Review and analyze real estate documents
                                                     (.6); revise real estate diligence tracker (.4).
06/08/20 John Thomas Goldman                    4.00 Review and coordinate appraisal engagement
                                                     letter (2.0); correspond and telephone
                                                     conferences re landlord issues (1.0); review
                                                     and discuss lease renegotiation status and
                                                     summary (1.0).
06/08/20 Walter S. Holzer, P.C.                 0.40 Correspond with K&E team re REIT and
                                                     potential sale matters and related transactions
                                                     and key dates re same.
06/08/20 Jeffrey S. Rheeling                    3.50 Review lease review summaries.
06/09/20 John Thomas Goldman                    2.00 Telephone conferences and correspond re
                                                     potential REIT properties.
06/10/20 Daniel Cho                             0.50 Review leases (.4); correspond with K&E
                                                     team re lease review requirements (.1).
06/10/20 John Thomas Goldman                    2.00 Coordinate diligence status and process and
                                                     telephone conference re same.
06/10/20 Jeffrey S. Rheeling                    2.00 Review lease summaries.
06/11/20 Daniel Carlomany                       1.70 Review and analyze real estate documents
                                                     (.9); populate and revise real estate diligence
                                                     tracker (.8).
06/11/20 Jonathan A. Schechter, P.C.            0.50 Telephone conference with Milbank re real
                                                     estate items.
06/12/20 Daniel Carlomany                       2.20 Review and analyze Company real estate
                                                     documents (1.2); populate and update real
                                                     estate tracker (1.0).
06/12/20 Jonathan A. Schechter, P.C.            0.50 Telephone conference with K&E team re
                                                     REIT and other items.
06/12/20 Jonathan A. Schechter, P.C.            1.00 Analyze to real estate due diligence items,
                                                     related correspondence (.5); analyze rent
                                                     payment default correspondence and related
                                                     items (.5).




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REIT - Property Analysis

Date     Name                                  Hours Description
06/12/20 Edward J. Schneidman, P.C.             0.30 Participate in telephone conference with K&E
                                                     teams re real estate and Propco-Opco
                                                     structure.
06/14/20 Kevin S. Beckoff                       0.70 Attention to Ground Lease Estoppel
                                                     Provisions.
06/14/20 John Thomas Goldman                    1.00 Correspond re REIT tax issues and structure.
06/15/20 Daniel Carlomany                       3.20 Review and analyze Company real estate
                                                     documents (2.0); populate and update real
                                                     estate diligence chart (1.2).
06/15/20 John Thomas Goldman                    2.00 Coordinate lease diligence and assignment
                                                     documentation (1.5); telephone conference
                                                     with K&E team re same (.5).
06/16/20 Daniel Carlomany                       2.20 Analyze and review Company real estate
                                                     documents (1.2); update and populate real
                                                     estate diligence tracker (1.0).
06/17/20 Daniel Carlomany                       2.20 Review and analyze Company real estate
                                                     documents (1.2); populate and draft real estate
                                                     diligence tracker (1.0).
06/17/20 Jeffrey S. Rheeling                    3.50 Review ground lease summaries.
06/18/20 Daniel Carlomany                       2.00 Review and analyze Company real estate
                                                     documents (1.4); populate and revise real
                                                     estate diligence tracker (.6).
06/18/20 Chris Ceresa                           0.50 Telephone conference with Company,
                                                     advisors and K&E team re real estate issues.
06/18/20 Chris Ceresa                           0.40 Telephone conference with Company,
                                                     advisors, and K&E team including J.
                                                     Goldman re real estate issues.
06/18/20 John Thomas Goldman                    1.00 Telephone conference with Milbank re REIT
                                                     status, consents and open issues.
06/18/20 Edward J. Schneidman, P.C.             0.50 Participate in telephone conference with
                                                     Milbank and K&E team re real estate teams.
06/18/20 Stephen G. Tomlinson, P.C.             3.00 Review term sheet mark-up and related
                                                     precedent.
06/19/20 Jeffrey S. Rheeling                    2.50 Work on ground lease reviews.
06/19/20 Edward J. Schneidman, P.C.             0.50 Participate in telephone conference with K&E
                                                     teams.
06/21/20 John Thomas Goldman                    1.00 Review 1L REIT proposal.
06/22/20 Mike Beinus, P.C.                      2.00 Review REIT matters.
06/22/20 Justin Bender                          1.50 Review master lease term sheet (.7);
                                                     telephone conference re same (.8).



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REIT - Property Analysis

Date     Name                                  Hours Description
06/22/20 Daniel Carlomany                       1.00 Review and analyze Company real estate
                                                     documents (.8); update and populate real
                                                     estate diligence tracker (.2).
06/22/20 John Thomas Goldman                    2.00 Telephone conference re REIT process and
                                                     next steps (.9); review 1L proposal (1.1).
06/22/20 Aisha P. Lavinier                      4.00 Prepare REIT spinoff checklist and attention
                                                     to related timelines and conferences re same.
06/22/20 Jeffrey S. Rheeling                    4.20 Review of lease summaries.
06/22/20 Jonathan A. Schechter, P.C.            0.50 Telephone conference with K&E team re
                                                     REIT next steps.
06/22/20 Edward J. Schneidman, P.C.             1.50 Review materials sent by Lazard re Propco
                                                     property selection (.8); telephone conference
                                                     with K&E team re Opco-Propco structure
                                                     (.2); distribute document checklist and
                                                     precedent formation tracker and tasks to set
                                                     up REIT (.5).
06/22/20 Stephen G. Tomlinson, P.C.             2.00 Telephone conference re OpCo/PropCo split
                                                     (.8); review comments to master lease term
                                                     sheet (1.2).
06/23/20 Mike Beinus, P.C.                      2.20 Review Propco/Opco (1.0); review REIT
                                                     matters (.9); telephone conference re same
                                                     (.3).
06/23/20 Jenn Betts                             0.80 Meeting re REIT checklist (.5); prepare for
                                                     meeting (.3).
06/23/20 Chris Ceresa                           0.30 Telephone conference with Company,
                                                     advisors and K&E team re real estate task
                                                     force work in process.
06/23/20 Chris Ceresa                           0.40 Update calendar for real estate related items
                                                     in the next two weeks (.3); correspond with J.
                                                     Gordon re same (.1).
06/23/20 John Thomas Goldman                    2.00 Review 1L master lease term sheet.
06/23/20 John Thomas Goldman                    4.00 Correspond with K&E team re lease
                                                     amendment status and process (1.5);
                                                     telephone conference with same re same (.5);
                                                     telephone conference with H2 re overall plan
                                                     (1.0); summarize same (1.0).
06/23/20 Walter S. Holzer, P.C.                 0.80 Attend telephone conference re Opco/Propco
                                                     structure (.5); review master lease (.3).
06/23/20 Will Lawley                            4.90 Review and analyze transaction structuring re
                                                     REIT checklist.
06/23/20 Roberto S. Miceli                      1.20 Review reciprocal easement agreement and
                                                     corresponding summary for Store #631.


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REIT - Property Analysis

Date     Name                                  Hours Description
06/23/20 Jonathan A. Schechter, P.C.            0.50 Analyze issue re Opco/Propco structure.
06/23/20 Edward J. Schneidman, P.C.             2.50 Telephone conference with Lazard, DB,
                                                     creditors and K&E team re PropCo issues
                                                     (1.0); work with W. Cawley to prepare
                                                     document checklist for PropCo set up (1.5).
06/23/20 Stephen G. Tomlinson, P.C.             2.50 Review master lease term sheet and related
                                                     exhibits (1.3); telephone conference re master
                                                     lease REIT structure (1.2).
06/24/20 Justin Bender                          1.50 Review master lease term sheet (.7);
                                                     telephone conference re same (.8).
06/24/20 Chris Ceresa                           0.60 Update materials re work in process re real
                                                     estate items.
06/24/20 John Thomas Goldman                    3.00 Review and discuss REIT lease term sheets
                                                     (2.0); discuss and review checklist and next
                                                     steps (1.0).
06/24/20 Lanchi Huynh                           2.60 Review and comment on REIT spin-off
                                                     checklist.
06/24/20 Roberto S. Miceli                      1.00 Review reciprocal easement agreement and
                                                     corresponding summary for Store #634.
06/24/20 Jeffrey S. Rheeling                    3.00 Review of lease summaries.
06/24/20 Jonathan A. Schechter, P.C.            0.50 Review Opco/Propco issues and related
                                                     correspondence.
06/24/20 Edward J. Schneidman, P.C.             1.00 Review documents checklist re Opco-Propco.
06/24/20 Stephen G. Tomlinson, P.C.             1.50 Analyze initial comments on term sheet from
                                                     1L.
06/24/20 Logan Weissler                         1.00 Review and revise REIT spin-off checklist
                                                     (.4); conference with L. Huynh re same (.6).
06/25/20 Mike Beinus, P.C.                      2.30 Review leases and checklist (1.3); review re
                                                     REIT analysis (1.0).
06/25/20 Justin Bender                          1.50 Review master lease term sheet (.9);
                                                     telephone conference re same (.6).
06/25/20 Daniel Carlomany                       4.20 Review and analyze Company real estate
                                                     documents (2.2); revise real estate diligence
                                                     tracker (2.0).
06/25/20 Chris Ceresa                           0.20 Telephone conference with Company,
                                                     advisors and R. Chaikin re real estate issues.
06/25/20 John Thomas Goldman                    5.00 Discuss and coordinate master lease term
                                                     sheet revisions and Company feedback (1.8);
                                                     review and revise term sheet draft issues list
                                                     chart (1.9); review updated strawman
                                                     proposal (1.3).


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Date     Name                                  Hours Description
06/25/20 Roberto S. Miceli                      2.20 Review reciprocal easement agreement and
                                                     corresponding summary for Store #658 (1.0);
                                                     review reciprocal easement agreement and
                                                     corresponding summary for Store #699 (1.2).
06/25/20 Jeffrey S. Rheeling                    3.20 Review of lease summaries.
06/25/20 Jonathan A. Schechter, P.C.            1.00 Attend telephone conference with K&E team
                                                     (.5); attention to master lease items and
                                                     related correspondence (.5).
06/25/20 Edward J. Schneidman, P.C.             2.00 Telephone conference with K&E team and
                                                     Milbank re property selection process and
                                                     structure issues.
06/25/20 Stephen G. Tomlinson, P.C.             2.00 Review and revise term sheet comparison
                                                     (1.2); telephone conference re same (.8).
06/26/20 Taylor John Anthony                    0.90 Attend telephone conference with K&E team
                                                     re potential REIT spinoff and SEC
                                                     registration process (.5); review and analyze
                                                     checklist in connection with same (.4).
06/26/20 Mike Beinus, P.C.                      2.50 Review and analysis re lease matters (1.0);
                                                     REIT checklist (.5); analyze structure and
                                                     attention to model (1.0).
06/26/20 Justin Bender                          2.50 Review master lease term sheet (1.5);
                                                     telephone conference with J. Goldman and S.
                                                     Tomlinson re same (1.0).
06/26/20 Daniel Carlomany                       3.00 Review and analyze Company real estate
                                                     documents (1.5); populate real estate
                                                     diligence tracker (1.0); review and file
                                                     relevant real estate documents (.5).
06/26/20 Justin C. Elliott                      1.20 Correspond with K&E team (.3); review and
                                                     comment on real estate diligence charts and
                                                     review underlying documentation in
                                                     connection therewith (.9).
06/26/20 John Thomas Goldman                    6.00 Review and discuss lease term sheets and
                                                     property, rent info (3.0); review and discuss
                                                     checklist and next steps (1.0); telephone
                                                     conference with Company to review REIT
                                                     term sheet (2.0).
06/26/20 Lanchi Huynh                           6.10 Review issues relating to REIT spin-off (3.0);
                                                     analyze re same (2.6); conference with K&E
                                                     team re REIT spin-off (.5).
06/26/20 Will Lawley                            1.50 Review and revise checklist for REIT
                                                     structuring (1.0); attend telephone conference
                                                     with K&E team re listing requirements and
                                                     considerations for REIT (.5).

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Date     Name                                  Hours Description
06/26/20 Roberto S. Miceli                      1.00 Review reciprocal easement agreement and
                                                     corresponding summary for Store #718.
06/26/20 Jeffrey S. Rheeling                    2.70 Review of lease summaries.
06/26/20 Jonathan A. Schechter, P.C.            1.60 Attention to optimization strategies and
                                                     correspondence re same (.8); attention to
                                                     Opco/Propco and master lease items (.8).
06/26/20 Edward J. Schneidman, P.C.             2.00 Telephone conference with K&E team re
                                                     coordination and OpCo-PropCo (.5); set-up
                                                     checklist with K&E teams (.5); prepare
                                                     additional section for checklist on operational
                                                     tasks for REIT formation and distribution to
                                                     K&E team (1.0).
06/26/20 Matthew A. Schroth                     1.80 Attend telephone conference with K&E team
                                                     re REIT model.
06/26/20 Stephen G. Tomlinson, P.C.             1.50 Review outline re negotiation framework for
                                                     puts/calls/cap ex.
06/26/20 Stephen G. Tomlinson, P.C.             1.00 Telephone conferences re term sheet
                                                     comparison and comments to same.
06/27/20 Daniel Carlomany                       1.00 Review and analyze real estate documents
                                                     (.5); file real estate documents (.5).
06/27/20 John Thomas Goldman                    2.00 Review optimization plans.
06/27/20 Tana Ryan, P.C.                        0.50 Review and comment on updated REIT
                                                     checklist.
06/27/20 Matthew A. Schroth                     0.30 Correspond with Company re REIT.
06/28/20 Travis C. Fleming                      4.00 Review Lease summaries and prepare
                                                     comments to same.
06/28/20 Matthew A. Schroth                     1.80 Telephone conference re lease term sheet
                                                     straw man.
06/29/20 Taylor John Anthony                    0.80 Prepare for and attend telephone conference
                                                     with K&E team re potential REIT spinoff
                                                     transaction structure and timing.
06/29/20 Mike Beinus, P.C.                      1.30 Telephone conference re REIT matters and
                                                     related analysis (1.0); review re modeling (.3).
06/29/20 Justin Bender                          1.50 Review master lease term sheet (.9);
                                                     telephone conference re same (.6).
06/29/20 Jenn Betts                             1.70 Conference with K&E team re REIT process
                                                     (.5); conference with K&E team, Lazard,
                                                     Alix, Milbank re REIT process and structure
                                                     (.5); review and revise REIT process steps
                                                     (.7).
06/29/20 Rebecca Blake Chaikin                  0.90 Telephone conference re REIT with
                                                     Company, lenders and advisors.

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Date     Name                                  Hours Description
06/29/20 John Thomas Goldman                    3.00 Review and discuss REIT term sheet and
                                                     proposed comments/issues (2.0); discuss and
                                                     review REIT plan with Corp and JCP team
                                                     (1.0).
06/29/20 John Thomas Goldman                    1.00 Correspond re diligence and lease
                                                     amendments.
06/29/20 Jake William Gordon                    0.60 Review REIT documents.
06/29/20 Walter S. Holzer, P.C.                 0.60 Conference with K&E team, Lazard, Alix and
                                                     Milbank re REIT structure and steps.
06/29/20 Lanchi Huynh                           5.80 Review issues relating to REIT spin-off (1.3);
                                                     review business plan draft and issues relating
                                                     to same (3.9); conference with Milbank and
                                                     K&E teams re REIT spin-off (.6).
06/29/20 Will Lawley                            1.10 Attend telephone conference with K&E team
                                                     and Lazard re REIT process (.5); attend K&E
                                                     team telephone conference re REIT process
                                                     and next steps (.6).
06/29/20 Jeffrey S. Rheeling                    3.70 Review of lease summaries.
06/29/20 Tana Ryan, P.C.                        3.80 Status telephone conference with Lazard
                                                     (1.4); follow up re same (.9); REIT telephone
                                                     conference with lenders and Milbank (.7);
                                                     follow up re same (.8).
06/29/20 Jonathan A. Schechter, P.C.            1.50 Telephone conference with Lazard re
                                                     Opco/Propco (.5); telephone conference with
                                                     Milbank re Opco/Propco (.5); analyze master
                                                     lease framework (.5).
06/29/20 Jonathan A. Schechter, P.C.            0.50 Review real estate DD items and related
                                                     correspondence.
06/29/20 Edward J. Schneidman, P.C.             1.00 Telephone conference with Lazard and K&E
                                                     team re status and checklist (.5); telephone
                                                     conference with Milbank, Lazard,
                                                     AlixPartners and Company re Propco-Opco
                                                     structural matters and process (.5).
06/29/20 Stephen G. Tomlinson, P.C.             1.00 Attend to comments to negotiation
                                                     framework.
06/29/20 Logan Weissler                         1.40 Correspond with L. Huynh and Milbank re
                                                     business plan cleansing, NDA expiration and
                                                     potential REIT spinoff (1.1); attend telephone
                                                     conference re REIT spinoff transaction steps
                                                     (.3).
06/30/20 Kevin S. Beckoff                       2.00 Revise Lease Property Chart.
06/30/20 Mike Beinus, P.C.                      0.60 Review REIT and restructuring matters.


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Legal Services for the Period Ending June 30, 2020            Invoice Number:           1050032388
J.C. Penney Company, Inc.                                      Matter Number:             47223-23
REIT - Property Analysis

Date     Name                                  Hours Description
06/30/20 Daniel Carlomany                       1.70 Review and analyze Company real estate
                                                     documents.
06/30/20 Daniel Cho                             1.20 Review and organize lease document and
                                                     reciprocal easement agreements.
06/30/20 Joshua Faulkner                        6.50 Review diligence materials re store chart.
06/30/20 John Thomas Goldman                    2.00 Coordinate diligence process and review.
06/30/20 Will Lawley                            0.60 Telephone conference with Company re REIT
                                                     formation and structure (.1); attend telephone
                                                     conference re REIT structure with counsel for
                                                     independent directors (.5).
06/30/20 Jonathan A. Schechter, P.C.            1.00 Telephone conference with advisors re
                                                     Opco/Propco.
06/30/20 Edward J. Schneidman, P.C.             0.50 Telephone conference with Katten.

Total                                          890.90




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                          FEIN XX-XXXXXXX




September 15, 2020

J.C. Penney Company, Inc.
6501 Legacy Drive
Plano, TX 75024

Attn: Brandy Treadway

                                                                            Invoice Number: 1050032389
                                                                              Client Matter: 47223-25

In the Matter of REIT - Expenses


For expenses incurred through June 30, 2020
(see attached Description of Expenses for detail)                                                                 $ 208.94
Total expenses incurred                                                                                           $ 208.94




  Beijing Boston Chicago Dallas Hong Kong Houston London Los Angeles Munich Palo Alto Paris San Francisco Shanghai Washington, D.C.
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Legal Services for the Period Ending June 30, 2020               Invoice Number:   1050032389
J.C. Penney Company, Inc.                                         Matter Number:     47223-25
REIT - Expenses




                                          Description of Expenses

Description                                                                         Amount
Third Party Telephone Charges                                                         17.14
Standard Copies or Prints                                                             25.92
Color Copies or Prints                                                                72.05
Westlaw Research                                                                      53.72
Overtime Meals - Attorney                                                             39.11
Computer Database Research - Soft                                                      1.00

                                                         Total                      $ 208.94




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Legal Services for the Period Ending June 30, 2020             Invoice Number:   1050032389
J.C. Penney Company, Inc.                                       Matter Number:     47223-25
REIT - Expenses




                                          Description of Expenses

Third Party Telephone Charges

Date          Description                                                         Amount
05/31/20      Intrado Enterprise Collaboration Inc - Teleconference services         1.13
06/30/20      Intrado Enterprise Collaboration Inc - Conf. re case status           15.09
06/30/20      Intrado Enterprise Collaboration Inc - June 2020 Teleconference        0.92
              Total                                                                 17.14




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Legal Services for the Period Ending June 30, 2020       Invoice Number:   1050032389
J.C. Penney Company, Inc.                                 Matter Number:     47223-25
REIT - Expenses


Standard Copies or Prints

Date          Description                                                   Amount
06/26/20      Standard Copies or Prints                                       25.92
              Total                                                           25.92




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Legal Services for the Period Ending June 30, 2020       Invoice Number:   1050032389
J.C. Penney Company, Inc.                                 Matter Number:     47223-25
REIT - Expenses


Color Copies or Prints

Date          Description                                                   Amount
06/26/20      Color Copies or Prints                                          72.05
              Total                                                           72.05




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Legal Services for the Period Ending June 30, 2020       Invoice Number:   1050032389
J.C. Penney Company, Inc.                                 Matter Number:     47223-25
REIT - Expenses


Westlaw Research

Date          Description                                                   Amount
06/25/20      THOMSON REUTERS - WEST PUBLISHING CORP -                        53.72
              WESTLAW Research Charges by Mosquera, Clara C on
              6/25/2020
              Total                                                            53.72




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Legal Services for the Period Ending June 30, 2020             Invoice Number:   1050032389
J.C. Penney Company, Inc.                                       Matter Number:     47223-25
REIT - Expenses


Overtime Meals - Attorney

Date          Description                                                         Amount
06/14/20      Eric Zhi - Eric Zhi, Overtime Meals - Attorney, Chicago               39.11
              Document Review Eric Zhi 06/14/2020
              Total                                                                  39.11




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Legal Services for the Period Ending June 30, 2020       Invoice Number:   1050032389
J.C. Penney Company, Inc.                                 Matter Number:     47223-25
REIT - Expenses


Computer Database Research - Soft

Date          Description                                                   Amount
06/01/20      PACER Usage for 06/2020                                         1.00
              Total                                                           1.00

TOTAL EXPENSES                                                              $ 208.94




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                          FEIN XX-XXXXXXX




September 15, 2020

J.C. Penney Company, Inc.
6501 Legacy Drive
Plano, TX 75024

Attn: Brandy Treadway

                                                                            Invoice Number: 1050032390
                                                                              Client Matter: 47223-26

In the Matter of Tax




For legal services rendered through June 30, 2020
(see attached Description of Legal Services for detail)                                                      $ 142,281.50
Total legal services rendered                                                                                $ 142,281.50




  Beijing Boston Chicago Dallas Hong Kong Houston London Los Angeles Munich Palo Alto Paris San Francisco Shanghai Washington, D.C.
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Legal Services for the Period Ending June 30, 2020          Invoice Number:    1050032390
J.C. Penney Company, Inc.                                    Matter Number:      47223-26
Tax




                                         Summary of Hours Billed

Name                                                     Hours         Rate      Amount
Margaret R. Alden                                          0.40      610.00        244.00
Mike Beinus, P.C.                                          9.20    1,745.00     16,054.00
Chris Ceresa                                               0.20      610.00        122.00
Rebecca Blake Chaikin                                      0.50    1,085.00        542.50
John Thomas Goldman                                        2.00    1,195.00      2,390.00
Paul Stephens Hendrickson                                 87.50      975.00     85,312.50
Lanchi Huynh                                               0.50    1,305.00        652.50
Natalie Kannan                                             4.90      645.00      3,160.50
Library Factual Research                                   2.00      375.00        750.00
Todd F. Maynes, P.C.                                       0.50    1,845.00        922.50
Anthony Vincenzo Sexton                                   25.40    1,265.00     32,131.00

TOTALS                                                   133.10               $ 142,281.50




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Legal Services for the Period Ending June 30, 2020                  Invoice Number:            1050032390
J.C. Penney Company, Inc.                                            Matter Number:              47223-26
Tax


                                       Description of Legal Services

Date       Name                                Hours        Description
05/16/20   Lanchi Huynh                         0.50        Analyze issues relating to NOL plan.
05/16/20   Anthony Vincenzo Sexton              0.20        Correspond with K&E team re tax issues.
05/18/20   Paul Stephens Hendrickson            1.80        Correspond with K&E team re first-day
                                                            orders and related SEC filing (.2); correspond
                                                            with Company and K&E team re ongoing tax
                                                            analysis (.1); telephone conference with
                                                            Company re same (1.2); review and assess
                                                            most recent REIT modeling from Company's
                                                            outside accountants (.3).
05/18/20 Anthony Vincenzo Sexton                 1.00       Telephone conference with Company re tax
                                                            modeling outcomes.
05/19/20 Mike Beinus, P.C.                       1.20       Review restructuring matters (.5); related
                                                            correspondence and analysis (.7).
05/19/20 Paul Stephens Hendrickson               2.00       Correspond with A. Sexton and Company's
                                                            outside accountants re tax rules (.2); research
                                                            same (1.6); correspond with K&E team re
                                                            work in process (.2).
05/19/20 Todd F. Maynes, P.C.                    0.50       Prepare correspondence re term sheet
                                                            discussion.
05/20/20 Paul Stephens Hendrickson               1.50       Research tax rules re basis and cancellation of
                                                            indebtedness income (1.0); correspond with
                                                            K&E team re REIT structure (.4) correspond
                                                            with K&E team re various matter updates (.1).
05/21/20 Paul Stephens Hendrickson               0.50       Correspond with Company's outside
                                                            restructuring advisors, certain creditors and
                                                            K&E team re tax diligence issues.
05/21/20 Anthony Vincenzo Sexton                 0.20       Review and analyze tax modeling materials.
05/22/20 Paul Stephens Hendrickson               0.20       Correspond with creditors and A. Sexton re
                                                            tax diligence issues.
05/25/20 Paul Stephens Hendrickson               1.20       Revise tax markup re tax modeling materials.
05/26/20 Paul Stephens Hendrickson               5.50       Correspond with Company re ongoing tax
                                                            workstreams (.1); research rules re asset basis
                                                            reduction in connection with cancellation of
                                                            indebtedness income (1.9); research tax rules
                                                            re amortization of future rights to receive
                                                            services (3.5).




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Legal Services for the Period Ending June 30, 2020             Invoice Number:           1050032390
J.C. Penney Company, Inc.                                       Matter Number:             47223-26
Tax

Date     Name                                  Hours Description
05/27/20 Paul Stephens Hendrickson              9.00 Prepare for and participate in telephone
                                                     conference with Company re ongoing tax
                                                     workstreams (.3); correspond with A. Sexton
                                                     re worthless stock deduction issue (.1);
                                                     review, analyze, and mark up same with tax
                                                     comments (.7); research rules re capitalization
                                                     under Code section 263 and related treasury
                                                     regulations (4.1); research tax law re
                                                     treatment of advertising, marketing
                                                     expenditures (3.8).
05/27/20 Anthony Vincenzo Sexton                0.20 Telephone conference with Company re status
                                                     of modeling and related issues.
05/28/20 Rebecca Blake Chaikin                  0.50 Telephone conference re taxes with
                                                     Company, Alix.
05/28/20 Paul Stephens Hendrickson              9.10 Research tax law re treatment of advertising,
                                                     marketing expenditures (1.5); research tax
                                                     rules re accounting methods and timing for
                                                     taking expenditures into account (4.4);
                                                     research interaction of tax rules re
                                                     capitalization, deduction, accounting methods
                                                     and prepaid expenses (3.2).
05/29/20 Mike Beinus, P.C.                      0.50 Review credit agreement matters (.3);
                                                     correspondence (.2).
05/29/20 Paul Stephens Hendrickson              9.70 Research precedent fee letters (.4); review,
                                                     analyze, and mark up with tax comments draft
                                                     fee letters in present matter (.5); correspond
                                                     with K&E team re same (.3); review, analyze,
                                                     and mark up same with tax comments (2.8);
                                                     correspond with A. Sexton re same (.2);
                                                     revise same based on others’ comments (.8);
                                                     correspond with K&E team re draft security
                                                     agreement (.1); research interaction of tax
                                                     rules re capitalization, deduction, accounting
                                                     methods, and prepaid expenses (3.0); analyze
                                                     same (1.6).
05/30/20 Paul Stephens Hendrickson              1.00 Review and analyze draft pledge and security
                                                     agreement (.8); correspond with A. Sexton re
                                                     same (.1); correspond with K&E team re
                                                     same (.1).




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Legal Services for the Period Ending June 30, 2020             Invoice Number:             1050032390
J.C. Penney Company, Inc.                                       Matter Number:               47223-26
Tax

Date     Name                                  Hours Description
06/01/20 Paul Stephens Hendrickson              4.10 Research tax rules re capitalization,
                                                     deduction, accounting methods and prepaid
                                                     expenses (2.4); draft analysis of how the same
                                                     operates in the context of prepaid advertising
                                                     expenses (1.1); correspond with A. Sexton re
                                                     same (.3); arrange telephone conference with
                                                     creditor re tax diligence issues (.2);
                                                     correspond with financial advisors re draft
                                                     process letter (.1).
06/01/20 Anthony Vincenzo Sexton                0.40 Review and analyze accounting method
                                                     attribute reduction issues.
06/02/20 Paul Stephens Hendrickson              1.40 Prepare for and attend telephone conference
                                                     with creditor re tax diligence issues (.8); draft
                                                     spreadsheet to track tax-related diligence
                                                     requests (.3); correspond with A. Sexton re
                                                     analysis on capitalization of prepaid
                                                     advertising/marketing expenses (.2);
                                                     correspond with K&E team and financial
                                                     advisors re draft process letter (.1).
06/02/20 Anthony Vincenzo Sexton                0.50 Telephone conference with creditor counsel re
                                                     tax attribute planning (.4); review and analyze
                                                     materials re same (.1).
06/03/20 Mike Beinus, P.C.                      0.60 Review status and documents (.3); analyze
                                                     same (.3).
06/03/20 Paul Stephens Hendrickson              1.40 Research and analyze issue re attribute
                                                     reduction for prepaid expenses (.4);
                                                     correspond with A. Sexton re same (.2);
                                                     prepare for and participate in telephone
                                                     conference with Company re ongoing tax
                                                     workstreams (.8).
06/03/20 Anthony Vincenzo Sexton                0.70 Standing telephone conference with company
                                                     and KPMG re modeling and analysis issues
                                                     (.7).
06/06/20 Paul Stephens Hendrickson              0.10 Correspond with K&E team re process letter.
06/06/20 Anthony Vincenzo Sexton                0.80 Review and analyze real estate materials (.5);
                                                     review and analyze tax modeling information
                                                     (.3).
06/08/20 Paul Stephens Hendrickson              1.60 Prepare for and attend telephone conference
                                                     with Company re ongoing tax work streams
                                                     (.7); prepare for and attend telephone
                                                     conference with creditor re tax attributes,
                                                     structure (.8); correspond with K&E team re
                                                     working group and general matter and work
                                                     stream updates (.1).

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Legal Services for the Period Ending June 30, 2020             Invoice Number:           1050032390
J.C. Penney Company, Inc.                                       Matter Number:             47223-26
Tax

Date     Name                                  Hours Description
06/08/20 Anthony Vincenzo Sexton                0.70 Telephone conference with KPMG and
                                                     Company re tax modeling issues.
06/09/20 Paul Stephens Hendrickson              1.90 Research tax rules re debt fungibility (.3);
                                                     review DIP funding tax issues (1.6).
06/10/20 Paul Stephens Hendrickson              1.90 Prepare for and attend telephone conference
                                                     with Company and accountants re ongoing
                                                     tax work streams (.5); correspond with
                                                     Company re REIT modeling and tax
                                                     allocation issues (.2); review and assess
                                                     updated REIT model (.4); review and assess
                                                     tax allocation summary (.5); correspond with
                                                     K&E team re property selection, valuation
                                                     issues and equity committee hearing (.3).
06/10/20 Anthony Vincenzo Sexton                1.10 Telephone conference with KPMG and
                                                     Company re tax modeling and related issues
                                                     (.4); review and analyze materials re same
                                                     (.7).
06/11/20 Mike Beinus, P.C.                      1.20 Review re proposals and related analysis.
06/12/20 Mike Beinus, P.C.                      1.90 Review and analyze structuring (1.0);
                                                     telephone conference with KPMG (.9).
06/12/20 Paul Stephens Hendrickson              0.60 Prepare for and attend telephone conference
                                                     with Company and its outside accountants re
                                                     valuation issues (.5); correspond with K&E
                                                     team re sources and uses (.1).
06/12/20 Anthony Vincenzo Sexton                1.30 Telephone conference with KPMG re tax
                                                     modeling issues (.6); review and analyze
                                                     issues re same (.7).
06/14/20 Anthony Vincenzo Sexton                1.00 Review and analyze tax modeling issues.
06/15/20 Mike Beinus, P.C.                      1.70 Review analysis and related correspondence
                                                     (.7); telephone conference with KPMG (1.0).
06/15/20 John Thomas Goldman                    2.00 Review and discuss tax diligence questions
                                                     and issues.
06/15/20 Paul Stephens Hendrickson              6.90 Correspond with tax team re legal issues re
                                                     Section 382 (.6); correspond with N. Kannan
                                                     re same (.3); research same (3.2); prepare for
                                                     and attend telephone conference with
                                                     Company re valuation, Section 382 issues
                                                     (1.5); correspond with K&E team re work in
                                                     process (.1); correspond with K&E team,
                                                     Company re tax diligence questions (.8);
                                                     correspond with K&E team re valuation
                                                     issues (.4).



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Legal Services for the Period Ending June 30, 2020            Invoice Number:           1050032390
J.C. Penney Company, Inc.                                      Matter Number:             47223-26
Tax

Date     Name                                  Hours Description
06/15/20 Anthony Vincenzo Sexton                1.90 Telephone conference with KPMG re
                                                     modeling (1.3); review and analyze tax
                                                     modeling and related issues (.6).
06/16/20 Paul Stephens Hendrickson              2.30 Correspond with A. Sexton, Company and
                                                     creditor’s tax counsel re rules re ownership
                                                     change (.5); research same (1.0); correspond
                                                     with N. Kannan re same (.4); correspond with
                                                     K&E team re Opco/Propco structure (.1);
                                                     correspond with Company and K&E team re
                                                     unclaimed property (.2); correspond with
                                                     Company’s outside accountants re tax
                                                     diligence questions (.1).
06/16/20 Anthony Vincenzo Sexton                0.80 Review and analyze tax modeling issues.
06/17/20 Paul Stephens Hendrickson              3.80 Correspond with tax team and advisors re
                                                     issues with tax treatment of DIP loans (.3);
                                                     research tax rules re same (.8); correspond
                                                     with K&E team re valuation issues (.7);
                                                     correspond with K&E team re lease
                                                     optimization structure (.2); review and
                                                     analyze same (.9); prepare for and attend
                                                     telephone conference with M. Schroth re
                                                     same (.1); prepare for and attend telephone
                                                     conference with Company and advisors re
                                                     ongoing tax work streams (.8).
06/17/20 Natalie Kannan                         2.20 Research re tax consideration.
06/17/20 Anthony Vincenzo Sexton                1.30 Telephone conference with KPMG and
                                                     Company re tax modeling and related analysis
                                                     (.6); review and analyze materials re same
                                                     (.7).
06/18/20 Paul Stephens Hendrickson              3.50 Correspond with K&E team and advisors re
                                                     valuation issues (.3); draft spreadsheet
                                                     comparing values re properties (1.6);
                                                     correspond with advisors re valuation issues
                                                     (.2); correspond with creditor advisors re
                                                     structure (.2); correspond with advisors re
                                                     updated real estate transactions models (.3);
                                                     review and analyze same (.9).
06/18/20 Natalie Kannan                         0.30 Research relevant tax consideration.
06/18/20 Anthony Vincenzo Sexton                0.80 Review and analyze tax modeling materials.
06/19/20 Paul Stephens Hendrickson              0.60 Correspond with N. Kannan re Section 382
                                                     research (.3); correspond with advisors re tax
                                                     issues with fungibility (.2); telephone
                                                     conference with advisors re same (.1).
06/19/20 Natalie Kannan                         2.40 Research relevant tax considerations.

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Legal Services for the Period Ending June 30, 2020             Invoice Number:           1050032390
J.C. Penney Company, Inc.                                       Matter Number:             47223-26
Tax

Date     Name                                  Hours Description
06/19/20 Anthony Vincenzo Sexton                0.20 Telephone conference with K&E team re
                                                     property sorting.
06/22/20 Paul Stephens Hendrickson              3.80 Prepare for and attend telephone conference
                                                     with K&E team re OpCo/PropCo structure
                                                     (.7); prepare for and attend telephone
                                                     conference with creditor’s counsel re tax
                                                     modeling (.8); correspond with K&E team re
                                                     OpCo/PropCo structure and valuation issues
                                                     (.6); review and assess updated valuation and
                                                     structure materials (1.2); correspond with
                                                     advisors re issue price issues, OpCo/PropCo
                                                     structure and valuation issues (.4); correspond
                                                     with creditor’s counsel re same (.1).
06/22/20 Anthony Vincenzo Sexton                1.90 Telephone conference with K&E team re
                                                     transaction structuring (.6); review and
                                                     analyze materials re same (.8); telephone
                                                     conference with Milbank re tax structuring
                                                     (.5).
06/23/20 Chris Ceresa                           0.20 Correspond with Alix re outstanding tax
                                                     claims.
06/23/20 Anthony Vincenzo Sexton                1.60 Telephone conference re Propco/Opco
                                                     proposal (1.0); review materials re same (.2);
                                                     correspond with K&E team re same (.4).
06/24/20 Mike Beinus, P.C.                      1.60 Review Propco (.5); related review and
                                                     correspondence (1.1).
06/24/20 Paul Stephens Hendrickson              5.10 Correspond with K&E team re general matter
                                                     updates, REIT PropCo/OpCo implementation
                                                     checklist, and true lease opinion issues (.6);
                                                     review and assess REIT PropCo/OpCo
                                                     implementation checklist (.4); correspond
                                                     with A. Sexton re same (.1); review and
                                                     assess others’ comments to same (.2);
                                                     correspond with tax team re PropCo/OpCo
                                                     structure, true lease opinion issues (.5);
                                                     prepare for and attend telephone conference
                                                     with Company re ongoing tax workstreams
                                                     (.6); research precedent true lease documents
                                                     (1.7); correspond with Company re updated
                                                     real estate transactions model (.1); review and
                                                     assess same (.9).
06/24/20 Anthony Vincenzo Sexton                1.60 Telephone conference with KPMG and
                                                     Company re tax modeling (.5); review and
                                                     analyze materials re same (.4); correspond
                                                     with K&E team re same (.2); review and
                                                     revise structuring materials (.5).

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Legal Services for the Period Ending June 30, 2020             Invoice Number:            1050032390
J.C. Penney Company, Inc.                                       Matter Number:              47223-26
Tax

Date     Name                                  Hours Description
06/25/20 Paul Stephens Hendrickson              1.10 Correspond with tax team re REIT
                                                     PropCo/OpCo implementation checklist and
                                                     true lease opinion issues (.4); correspond with
                                                     K&E team re research of precedent true lease
                                                     documents (.7).
06/25/20 Library Factual Research               2.00 Identify REIT spinoff documents.
06/25/20 Anthony Vincenzo Sexton                0.20 Review and revise structuring materials.
06/26/20 Paul Stephens Hendrickson              1.10 Prepare for and attend telephone conference
                                                     with corporate and real estate teams re
                                                     OpCo/PropCo structure, REIT modeling, etc.
                                                     (.8); correspond with K&E team, Company re
                                                     updated information with respect to REIT
                                                     modeling and tax restructuring analysis (.3).
06/26/20 Anthony Vincenzo Sexton                1.60 Telephone conference with K&E team re deal
                                                     status issues and checklist (.5); review and
                                                     revise checklist materials (.2); review tax
                                                     modeling materials (.9).
06/27/20 Mike Beinus, P.C.                      0.50 Telephone conference with KPMG re model.
06/27/20 Paul Stephens Hendrickson              1.30 Prepare for and attend telephone conference
                                                     with Company re tax modeling, issue price of
                                                     the DIP, and other open tax issues.
06/27/20 Anthony Vincenzo Sexton                2.30 Telephone conference with KPMG re
                                                     modeling materials (1.0); review and analyze
                                                     materials re same (.8); correspond with K&E
                                                     team re same (.5).
06/28/20 Paul Stephens Hendrickson              2.20 Prepare for and attend telephone conference
                                                     with the Company's financial advisors re
                                                     valuation issues (1.1); correspond with tax
                                                     team, Company advisors, Company and
                                                     creditor’s counsel re valuation issues,
                                                     property selection and issue price issues (1.0);
                                                     correspond with K&E team re general matter
                                                     updates (.1).
06/28/20 Anthony Vincenzo Sexton                1.20 Telephone conference with K&E team and
                                                     Lazard re tax modeling issues (.7); review and
                                                     analyze materials re same (.5).
06/29/20 Paul Stephens Hendrickson              1.00 Prepare for and attend telephone conference
                                                     with K&E team, creditor’s counsel, Company
                                                     and Company advisors re OpCo/PropCo
                                                     structure and implementation checklist (.8);
                                                     correspond with K&E team re tax modeling
                                                     for business plan and REIT PropCo/OpCo
                                                     implementation checklist (.2).


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Legal Services for the Period Ending June 30, 2020            Invoice Number:           1050032390
J.C. Penney Company, Inc.                                      Matter Number:             47223-26
Tax

Date     Name                                  Hours Description
06/29/20 Anthony Vincenzo Sexton                0.80 Telephone conference with K&E team,
                                                     Lazard, Milbank and others re deal structuring
                                                     and to-dos (.6); review tax modeling materials
                                                     (.2).
06/30/20 Margaret R. Alden                      0.40 Review, analyze taxes order re authorization
                                                     re consultants (.2); correspond with K.
                                                     Pageau, Alix re same (.2).
06/30/20 Paul Stephens Hendrickson              0.30 Correspond with K&E team re unclaimed
                                                     property letter and tax diligence items.
06/30/20 Anthony Vincenzo Sexton                1.10 Correspond with K&E team and Lazard re
                                                     status of tax modeling (.3); review and
                                                     research WSD issues (.8).

Total                                          133.10




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                                                          300 North LaSalle
                                                          Chicago, IL 60654

                                                           FEIN XX-XXXXXXX




September 15, 2020

J.C. Penney Company, Inc.
6501 Legacy Drive
Plano, TX 75024

Attn: Brandy Treadway

                                                                              Invoice Number: 1010073798
                                                                                Client Matter: 47223-27

In the Matter of Client vs. Amend, Michael, et al.




For legal services rendered through June 30, 2020
(see attached Description of Legal Services for detail)                                                        $ 46,068.50
Total legal services rendered                                                                                  $ 46,068.50




  Beijing Boston Dallas Hong Kong Houston London Los Angeles Munich New York Palo Alto Paris San Francisco Shanghai Washington, D.C.
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Legal Services for the Period Ending June 30, 2020          Invoice Number:   1010073798
J.C. Penney Company, Inc.                                    Matter Number:     47223-27
Client vs. Amend, Michael, et al.




                                         Summary of Hours Billed

Name                                                     Hours         Rate     Amount
Matthew Antinossi                                         6.10     1,375.00     8,387.50
Chris Burkhalter                                          5.30       835.00     4,425.50
Jeremy A. Fielding, P.C.                                  3.80     1,295.00     4,921.00
Michael Kalis                                             6.30     1,025.00     6,457.50
Joseph A. Loy, P.C.                                       1.00     1,285.00     1,285.00
Adine Mitrani                                             0.50       965.00       482.50
Jessie Perlman                                            1.50       610.00       915.00
Claudia Ray                                               6.20     1,295.00     8,029.00
Lauren J. Schweitzer                                      7.70     1,025.00     7,892.50
Seth Traxler, P.C.                                        1.80     1,495.00     2,691.00
Gregory Tsonis                                            0.60       970.00       582.00

TOTALS                                                    40.80               $ 46,068.50




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Legal Services for the Period Ending June 30, 2020            Invoice Number:           1010073798
J.C. Penney Company, Inc.                                      Matter Number:             47223-27
Client vs. Amend, Michael, et al.


                                       Description of Legal Services

Date     Name                                  Hours Description
05/26/20 Jessie Perlman                         0.50 Correspond with A. Mitrani and K. Horne re
                                                     IP diligence.
05/27/20 Adine Mitrani                          0.50 Correspond with C. Ray re IP diligence.
05/27/20 Claudia Ray                            1.70 Conference and correspond with J. Perlman
                                                     and A. Mitrani re intercompany IP issues (.5);
                                                     correspond and conference with L.
                                                     Schweitzer re research re same (.7); review
                                                     and analyze agreements, trademark schedule
                                                     and claims memorandum (.5).
05/29/20 Matthew Antinossi                      1.50 Review M. Amend benefit claim and
                                                     correspondence from Company team re same
                                                     (.5); telephone conference with M. Slade, J.
                                                     Fielding and M. Kalis re same (.5);
                                                     correspond with G. Bair re plan documents
                                                     (.3); review same (.2).
05/29/20 Michael Kalis                          0.50 Participate in telephone conference with K&E
                                                     team re case status and response to letter re
                                                     mirror plan.
05/29/20 Claudia Ray                            0.50 Correspond with L. Schweitzer re research re
                                                     trademark issues.
05/29/20 Lauren J. Schweitzer                   4.50 Research re intercompany trademark issues
                                                     (3.2); draft summary of same (.8); correspond
                                                     with C. Ray re same (.5).
05/30/20 Matthew Antinossi                      2.50 Review mirror plan documents and executive
                                                     termination agreement (1.5); draft
                                                     memorandum to K&E team re same (.5); draft
                                                     proposed response to participant attorney re
                                                     benefit plan payments (.5).
06/01/20 Jeremy A. Fielding, P.C.               0.50 Review background documents and draft
                                                     response letter.
06/03/20 Matthew Antinossi                      0.20 Review correspondence from J. Fielding re
                                                     company response to amend claim.
06/03/20 Jeremy A. Fielding, P.C.               0.90 Review legal summary by M Antinossi (.5);
                                                     correspond re summary and recommendation
                                                     to G. Morris (.4).
06/10/20 Michael Kalis                          0.50 Review correspondence and draft letter re
                                                     mirror plan response (.3); correspond with J.
                                                     Fielding re same (.2).




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J.C. Penney Company, Inc.                                      Matter Number:            47223-27
Client vs. Amend, Michael, et al.

Date     Name                                  Hours Description
06/11/20 Matthew Antinossi                      0.80 Review M. Amend claim and draft response
                                                     (.3); correspond with K&E team re same (.1);
                                                     telephone conference with G. Morris and
                                                     K&E team re same (.4).
06/11/20 Jeremy A. Fielding, P.C.               1.50 Review complaint, Baker Botts demand letter,
                                                     and related contracts between Amend and
                                                     JCP (.6); strategize with M. Kalis re next
                                                     steps (.3); telephone conference with G.
                                                     Morris re next steps (.3); review and revise
                                                     letters to amend (.3).
06/11/20 Michael Kalis                          3.30 Telephone conferences with J. Fielding, M.
                                                     Antinossi and G. Morris re mirror plan
                                                     response letter.
06/12/20 Matthew Antinossi                      0.80 Review and analyze revised response to
                                                     benefit claim (.5); draft memorandum to M.
                                                     Kalis and J. Fielding re same (.3).
06/13/20 Michael Kalis                          0.50 Review and revise letters re Amend’s demand
                                                     for mirror plan payments.
06/14/20 Michael Kalis                          0.50 Review and revise letters re Amend’s demand
                                                     for mirror plan payments (.2); correspond
                                                     with J. Fielding re same (.3).
06/15/20 Matthew Antinossi                      0.30 Review and analyze revised proposed
                                                     response to M. Amend claim (.2); review
                                                     correspondence from M. Kalis to G. Morris re
                                                     same (.1).
06/15/20 Jeremy A. Fielding, P.C.               0.30 Review and revise response letters to amend
                                                     demand.
06/15/20 Claudia Ray                            0.20 Correspond with J. Perlman re next steps re
                                                     trademark issues.
06/17/20 Claudia Ray                            0.20 Correspond with J. Perlman and L.
                                                     Schweitzer re next steps re trademark issues.
06/17/20 Lauren J. Schweitzer                   0.20 Correspond with C. Ray, J. Perlman, and A.
                                                     Mitrani re telephone conference with
                                                     Company for fact investigation.
06/17/20   Seth Traxler, P.C.                   0.20 Patent settlement analysis.
06/19/20   Seth Traxler, P.C.                   0.50 Review patent litigation matter.
06/22/20   Seth Traxler, P.C.                   0.50 Correspond with Quinn re IP questions.
06/23/20   Claudia Ray                          0.20 Correspond with J. Perlman and L.
                                                     Schweitzer re trademark use issues (.1);
                                                     review and analyze additional information re
                                                     same (.1).



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Legal Services for the Period Ending June 30, 2020            Invoice Number:           1010073798
J.C. Penney Company, Inc.                                      Matter Number:             47223-27
Client vs. Amend, Michael, et al.

Date     Name                                  Hours Description
06/23/20 Lauren J. Schweitzer                   0.50 Revise questions for Company interview (.3);
                                                     correspond with C. Ray re same (.2).
06/24/20 Claudia Ray                            1.20 Prepare for and participate in telephone
                                                     conference with Company re practices and
                                                     agreements re intercompany trademark uses
                                                     and questions re same (.5); correspond with L.
                                                     Schweitzer and IP transactions team re prep
                                                     for same and issues for follow-up in light of
                                                     additional info from call with clients (.3);
                                                     review and revise list of questions for call
                                                     with Company re trademark issues (.4).
06/24/20 Lauren J. Schweitzer                   1.50 Telephone conference with J. Rosman, D.
                                                     Wolverton, S. Lewis-Bullitt, A. Mitrani, J.
                                                     Perlman, and C. Ray re trademark licensing
                                                     and use issues (.5); telephone conference with
                                                     C. Ray re same and re next steps (.3); draft
                                                     summary of call and communicate with J.
                                                     Perlman, A. Mitrani, and C. Ray re same and
                                                     re patent settlement research (.7).
06/24/20 Gregory Tsonis                         0.60 Correspond with Company re intercompany
                                                     claims IP issues.
06/26/20 Jeremy A. Fielding, P.C.               0.60 Telephone conference with client re appellate
                                                     filing (.3); strategize and legal research re
                                                     next steps (.3).
06/26/20 Michael Kalis                          0.50 Telephone conferences re defendants' notice
                                                     of bankruptcy filing.
06/28/20 Seth Traxler, P.C.                     0.10 Registered IP questions.
06/29/20 Chris Burkhalter                       2.20 Review and analyze law related to automatic
                                                     stay provision of the bankruptcy code.
06/29/20 Michael Kalis                          0.20 Review research from C. Burkhalter.
06/29/20 Jessie Perlman                         1.00 Review and analyze domain name ownership
                                                     correspondence and materials.
06/29/20 Claudia Ray                            0.70 Review and analyze MOU and related
                                                     information re patent litigation settlement
                                                     (.5); correspond with L. Schweitzer, J.
                                                     Perlman and A. Mitrani re same (.2).
06/29/20 Lauren J. Schweitzer                   0.50 Analyze settlement agreement and
                                                     memorandum of understanding and
                                                     communicate with C. Ray re same (.3);
                                                     correspond with J. Perlman re same (.2).
06/29/20 Seth Traxler, P.C.                     0.20 Review questions re IP ownership.
06/30/20 Chris Burkhalter                       3.10 Draft motion to reinstate.
06/30/20 Michael Kalis                          0.30 Review motion to reinstate.

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Legal Services for the Period Ending June 30, 2020            Invoice Number:           1010073798
J.C. Penney Company, Inc.                                      Matter Number:             47223-27
Client vs. Amend, Michael, et al.

Date     Name                                  Hours Description
06/30/20 Joseph A. Loy, P.C.                    1.00 Review and analyze settlement agreement
                                                     with CXT (.4); review EDTX docket re same
                                                     (.2); review orders dismissing counts I-III
                                                     with prejudice (.1); review order dismissing
                                                     case with prejudice (.1); telephone conference
                                                     with C. Ray re case strategy and scope of
                                                     additional potential research (.2).
06/30/20 Claudia Ray                            1.50 Conference with L. Schweitzer and TIPT
                                                     team re possible contract, preclusion and
                                                     patent issues re settlement agreement and
                                                     strategy/next steps re same (1.3); conference
                                                     with J. Loy re same (.2).
06/30/20 Lauren J. Schweitzer                   0.50 Telephone conference with C. Ray, J.
                                                     Perlman, A. Mitrani, A, Petravicius, and S.
                                                     Traxler re patent settlement agreement.
06/30/20 Seth Traxler, P.C.                     0.30 Review and analyze patent settlement.

Total                                           40.80




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                                                        601 Lexington Avenue
                                                         New York, NY 10022

                                                          FEIN XX-XXXXXXX




September 15, 2020

Client Z
6501 Legacy Drive
Plano, TX 75024

Attn: Brandy Treadway

                                                                            Invoice Number: 1050032391
                                                                              Client Matter: 47223-28

In the Matter of IP Asset Maintenance / Operations




For legal services rendered through June 30, 2020
(see attached Description of Legal Services for detail)                                                         $ 2,105.00
Total legal services rendered                                                                                   $ 2,105.00




  Beijing Boston Chicago Dallas Hong Kong Houston London Los Angeles Munich Palo Alto Paris San Francisco Shanghai Washington, D.C.
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Legal Services for the Period Ending June 30, 2020          Invoice Number:   1050032391
Client Z                                                     Matter Number:     47223-28
IP Asset Maintenance / Operations




                                         Summary of Hours Billed

Name                                                     Hours         Rate    Amount
Jessie Perlman                                            1.00       610.00      610.00
Seth Traxler, P.C.                                        1.00     1,495.00    1,495.00

TOTALS                                                     2.00               $ 2,105.00




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Legal Services for the Period Ending June 30, 2020            Invoice Number:          1050032391
Client Z                                                       Matter Number:            47223-28
IP Asset Maintenance / Operations


                                       Description of Legal Services

Date     Name                                  Hours Description
06/03/20 Seth Traxler, P.C.                     1.00 Analyze issues re Oracle.
06/28/20 Jessie Perlman                         1.00 Review and analyze registered IP schedules.

Total                                            2.00




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                                   Certificate of Service

       I certify that on September 15, 2020, I caused a copy of the foregoing document to be
served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas.

                                                   /s/ Matthew D. Cavenaugh
                                                   Matthew D. Cavenaugh
